Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF OHIO

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Discovery Tours Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6501 Wilson Mills Road, Suite B1
                                  Mayfield Village, OH 44143
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cuyahoga                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       tourwithdiscovery.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Discovery Tours Inc.                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Discovery Tours Inc.                                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                                                                        50,001-100,000
                                                                                     5001-10,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Discovery Tours Inc.                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 7, 2018
                                                  MM / DD / YYYY


                             X   /s/ Alfred A Cipolletti                                                  Alfred A Cipolletti
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Julie E. Rabin                                                        Date May 7, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Julie E. Rabin (0006592)Ohio
                                 Printed name

                                 Rabin & Rabin Co. LPA
                                 Firm name

                                 55 Public Square
                                 Suite 1750
                                 Cleveland, OH 44113
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     216-771-8084                  Email address      jrabin@rabinandrabin.com

                                 (0006592)Ohio OH
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Discovery Tours Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 7, 2018                             X /s/ Alfred A Cipolletti
                                                                       Signature of individual signing on behalf of debtor

                                                                       Alfred A Cipolletti
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Discovery Tours Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                                                                         Check if this is an
                                                                                                                                                                                         amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                     12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                    $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                       $        1,374,871.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                      $        1,374,871.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                    $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                       $        2,724,746.95

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                               +$        1,207,584.65


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                             $           3,932,331.60




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                   page 1
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 Fill in this information to identify the case:

 Debtor name         Discovery Tours Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                              $5,912.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Citizens                                                checking                        6085                                             $0.00




           3.2.     PayPal Reserve                                          other                                                                            $0.00




           3.3.     PNC                                                     checking                        9582                                             $0.00


                    Key Bank 7311 (account was
                    overdrawn and closed by bank but now
           3.4.     has positive balance)                                   checking                                                                 $7,500.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $13,412.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor           Discovery Tours Inc.                                                              Case number (If known)
                  Name


        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security Deposit - leased premises                                                                                         $2,228.00




           7.2.     Prepaid Tour Expenses                                                                                                    $27,550.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                              $29,778.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 16,614.00   -                                 0.00 = ....               $16,614.00
                                              face amount                             doubtful or uncollectible accounts



           11a. 90 days old or less:                                      0.00   -                                 0.00 = ....                 Unknown
                                              face amount                             doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                              $16,614.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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 Debtor         Discovery Tours Inc.                                                          Case number (If known)
                Name



 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 39.        Office furniture

 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            Computer equipment                                                        $85,948.00                                          Unknown


            Office furniture, equipment & supplies                                    $31,528.00                                          Unknown



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                                   $0.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor         Discovery Tours Inc.                                                         Case number (If known)
                Name



 61.        Internet domain names and websites
            Web Site                                                                        $0.00                                       Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            customer list (schools)                                                         $0.00                                       Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            Net operating loss carryforward                                                    Tax year 2017                      $1,315,067.00



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

            possible cause of action against Hyatt Regency Dulles                                                                       Unknown
            Nature of claim         breach of contract
            Amount requested                            $0.00



 75.        Other contingent and unliquidated claims or causes of action of
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 4
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 Debtor         Discovery Tours Inc.                                                         Case number (If known)
                Name

           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                 $1,315,067.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 5
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 Debtor          Discovery Tours Inc.                                                                                Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $13,412.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $29,778.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $16,614.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $1,315,067.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,374,871.00            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,374,871.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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 Fill in this information to identify the case:

 Debtor name         Discovery Tours Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Discovery Tours Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $385.00         $385.00
           Raja Abbennagari                                          Check all that apply.
           3098 Willowbrook Drive                                       Contingent
           Reminderville, OH 44202                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $460.00         $460.00
           Cassandra Abbott                                          Check all that apply.
           14429 Hillside Dr                                            Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $455.00    $455.00
          Mary Abbott                                                Check all that apply.
          6190 Seminole Trail                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Lynnette Abbuhl                                            Check all that apply.
          5344 Pisces ST SW                                             Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $340.00    $340.00
          Lisa Abdelmalak                                            Check all that apply.
          12169 Springview Dr.                                          Contingent
          Burton, OH 44021                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          LaShonda Abdussatar                                        Check all that apply.
          45 Bellmore Street                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $495.00    $495.00
          Demesew Abebe                                              Check all that apply.
          2706 Hartfield Lane                                           Contingent
          Mason, OH 45040                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $750.00    $750.00
          Linda Abel                                                 Check all that apply.
          63 main Po box 611                                            Contingent
          Addyston, OH 45001                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $385.00    $385.00
          LaToya Abercrombie                                         Check all that apply.
          1383 Silverdale Circle                                        Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $745.00    $745.00
          Melissa Abhyankar                                          Check all that apply.
          213 White Pines Dr                                            Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $140.00    $140.00
          Daniel Abood                                               Check all that apply.
          1544 carriage hill dr                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $385.00    $385.00
          Carolyn Abrams                                             Check all that apply.
          10400 Andover Dr                                              Contingent
          Twinsburg, OH 44087-3328                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $440.00    $440.00
          Eric Absten                                                Check all that apply.
          5080 west lake shore drive                                    Contingent
          Port clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $435.00    $435.00
          Hazar AbuTaleb                                             Check all that apply.
          27050 Cedar RD Apt 611                                        Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Cheryl Acapulco                                            Check all that apply.
          8968 Emerald Hill Dr                                          Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $185.00    $185.00
          Jill Acitelli                                              Check all that apply.
          980 Tradewinds Cove                                           Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $205.00    $205.00
          Jill Acitelli                                              Check all that apply.
          980 Tradewinds Cove                                           Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $635.00    $635.00
          GADDIEL ACKAH                                              Check all that apply.
          58 PROVIDENCE DR                                              Contingent
          FAIRFIELD, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $140.00    $140.00
          Denise Ackerman                                            Check all that apply.
          2992 Chamberlin Blvd.                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $410.00    $410.00
          Ellen Ackerman                                             Check all that apply.
          7360 Valerie Lane                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Sara Ackerman                                              Check all that apply.
          400 Sylvia Dr                                                 Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Dwayne Ackley                                              Check all that apply.
          4892 Arbomont Rd                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Caryn Acuff                                                Check all that apply.
          6075 Sidley Road                                              Contingent
          Thompson, OH 44086                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $495.00    $495.00
          Tony Adamic                                                Check all that apply.
          11610 woodiebrook rd                                          Contingent
          chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $465.00    $465.00
          Bret Adams                                                 Check all that apply.
          200 glen rd                                                   Contingent
          moreland hills, OH 44022                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $505.00    $505.00
          Cheree Adams                                               Check all that apply.
          6980 Som Center Road                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $780.00    $780.00
          Donna Adams                                                Check all that apply.
          6609 Madeira Hills Dr                                         Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $385.00    $385.00
          ELLIS ADAMS                                                Check all that apply.
          8676 Hadden Rd                                                Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $230.00    $230.00
          Greg Adams                                                 Check all that apply.
          531 Centerfield Dr                                            Contingent
          Maumee, OH 43537                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $882.80    $882.80
          Gwennan Adams                                              Check all that apply.
          1187 Royal Oak Drive                                          Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $165.00    $165.00
          Jennifer Adams                                             Check all that apply.
          1692 Riverwood Tr                                             Contingent
          Kings Mills, OH 45034                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $165.00    $165.00
          Lawrence Adams                                             Check all that apply.
          3908 Everett Dr 45140                                         Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $780.00    $780.00
          Lori Adams                                                 Check all that apply.
          6059 Johnson St                                               Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $750.00    $750.00
          Sherry Adams                                               Check all that apply.
          153 Mount Nebo Rd                                             Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $185.00    $185.00
          Stacey Adams                                               Check all that apply.
          90 Shawondassee                                               Contingent
          Timberlake, OH 44095                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $205.00    $205.00
          Thomas Adams                                               Check all that apply.
          7945 Wildwood Dr                                              Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Lisa Adcock                                                Check all that apply.
          5228 Edgerton Rd.                                             Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $385.00    $385.00
          Katherine Adick                                            Check all that apply.
          9372 Sarah Court                                              Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $440.00    $440.00
          Paula Adkins                                               Check all that apply.
          714 Jackson Drive                                             Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $505.00    $505.00
          Amy Adler                                                  Check all that apply.
          7308 Winchester Drive                                         Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $140.00    $140.00
          Christina Adler                                            Check all that apply.
          5395 Towbridge Dr                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $495.00    $495.00
          Jill Adler                                                 Check all that apply.
          4135 Oak Tree Court                                           Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $505.00    $505.00
          Patricia Adornetto                                         Check all that apply.
          5467 Brainard Rd                                              Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $635.00    $635.00
          Elizabeth Adu-Gyamfi                                       Check all that apply.
          6192 Spring Lake Drive                                        Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $505.00    $505.00
          Mukesh Agarwal                                             Check all that apply.
          38745 flanders dr None                                        Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $455.00    $455.00
          Laetitia Agnew                                             Check all that apply.
          6141 Iroquois Trl                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Beth Agourrame                                             Check all that apply.
          2634 bold venture dr                                          Contingent
          Lewis center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Hilda Aguirre                                              Check all that apply.
          639 Academy Dr                                                Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Erin Ahrens                                                Check all that apply.
          6056 Rothchester Dr                                           Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $455.00    $455.00
          Kimberly Aikey                                             Check all that apply.
          6393 Meadowbrook Dr                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Elise Aitken                                               Check all that apply.
          312 Karen Dr. none                                            Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $465.00    $465.00
          Shannon Ake                                                Check all that apply.
          135 W Summit St                                               Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $505.00    $505.00
          Maggie Akerley                                             Check all that apply.
          6225 Richmond Rd.                                             Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Jennifer Akers                                             Check all that apply.
          13974 Oak Brook Drive                                         Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $675.00    $675.00
          Shawn Akers                                                Check all that apply.
          312 South Park Street                                         Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $505.00    $505.00
          Tania Alamir                                               Check all that apply.
          5461 Banbury Drive                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $455.00    $455.00
          Amy Alan                                                   Check all that apply.
          6613 North Palmerston dr                                      Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $410.00    $410.00
          Carrie Albrecht                                            Check all that apply.
          7590 Bendleton Drive                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $385.00    $385.00
          Kevin Albrecht                                             Check all that apply.
          1323 Sharonbrook                                              Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $635.00    $635.00
          Michael Albrecht                                           Check all that apply.
          1574 Christine Drive                                          Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Jeanette Albright                                          Check all that apply.
          13834 Oak Brook Drive                                         Contingent
          North Royatlon, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Beth Albu                                                  Check all that apply.
          104 Hawthorne Dr                                              Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $140.00    $140.00
          Maria Alers                                                Check all that apply.
          5012 Lake View Dr                                             Contingent
          Peninsula, OH 44264                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $455.00    $455.00
          Jamie Alesci                                               Check all that apply.
          6431 Meadowbrook Dr.                                          Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Kiersten Alexander                                         Check all that apply.
          12895 Walden Oaks Dr                                          Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $470.00    $470.00
          Megan Alexander                                            Check all that apply.
          643 S. Kensington Rd.                                         Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $390.00    $390.00
          Shasta Alexander                                           Check all that apply.
          1048 heritage court                                           Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $645.00    $645.00
          Tisha Alexander                                            Check all that apply.
          6666 Feder Rd                                                 Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Amber Algeri                                               Check all that apply.
          4732 Edgerton Road                                            Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Jennifer Alheit                                            Check all that apply.
          134 Bellfield Ave                                             Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.71     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Sajid Ali                                                  Check all that apply.
          2334 Walborn Dr                                               Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.72     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $165.00    $165.00
          Alicia Allen                                               Check all that apply.
          9039 rich woods ct                                            Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.73     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $635.00    $635.00
          Bronwyn Allen                                              Check all that apply.
          3456 Berrywood Ct                                             Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.74     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Cathi Allen                                                Check all that apply.
          5530 Houchard Rd                                              Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.75     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $165.00    $165.00
          Chris Allen                                                Check all that apply.
          1749 Westport Drive                                           Contingent
          Kings Mills, OH 45054                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.76     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $495.00    $495.00
          Christina Allen                                            Check all that apply.
          15000 Bates Creek Drive                                       Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.77     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $410.00    $410.00
          Cynthia Allen                                              Check all that apply.
          1817 E Haymarket Way                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.78     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Gwen Allen                                                 Check all that apply.
          6330 Dodge Rd SW                                              Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.79     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Gwen Allen                                                 Check all that apply.
          6330 Dodge Rd SW                                              Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.80     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $330.00    $330.00
          Linda Allen                                                Check all that apply.
          265 s mary ellen                                              Contingent
          south lebanon, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.81     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $635.00    $635.00
          Lora Allen                                                 Check all that apply.
          3163 Roesch Blvd. #5                                          Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.82     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $750.00    $750.00
          Ruthann Allen                                              Check all that apply.
          4009 walker drive                                             Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.83     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Lisa Allender                                              Check all that apply.
          2833 Pleasant Colony Dr                                       Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.84     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Sean Allio                                                 Check all that apply.
          8699 Oak Creek Dr                                             Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.85     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $140.00    $140.00
          Lisa Allison                                               Check all that apply.
          62 stratford road                                             Contingent
          hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.86     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $810.00    $810.00
          Shana Allison                                              Check all that apply.
          2050 Shenandoah Drive                                         Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.87     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $810.00    $810.00
          Shana Allison                                              Check all that apply.
          2050 Shenandoah Drive                                         Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.88     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $675.00    $675.00
          Ginger Allmon                                              Check all that apply.
          1000 garfield ave. lot 91                                     Contingent
          bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.89     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Aneta Almajali                                             Check all that apply.
          13626 oak brook dr                                            Contingent
          North royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.90     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $340.00    $340.00
          Katia Almanzar                                             Check all that apply.
          12982 CHILLICOTHE RD                                          Contingent
          CHESTERLAND, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.91     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $810.00    $810.00
          Julie Almeida                                              Check all that apply.
          2755 Silver Maple Ct                                          Contingent
          Troy, OH 45373-4565                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.92     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $810.00    $810.00
          Julie Almeida                                              Check all that apply.
          2755 Silver Maple Ct                                          Contingent
          Troy, OH 45373-4565                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.93     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Rhoda Alnazer                                              Check all that apply.
          12823 Kingston way                                            Contingent
          North royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.94     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Zainab Alobosi                                             Check all that apply.
          3065 hemlock edge drive                                       Contingent
          hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.95     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $230.00    $230.00
          Christine Alt                                              Check all that apply.
          1208 Anderson                                                 Contingent
          Maumee, OH 43537                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.96     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $635.00    $635.00
          Sandra Alter                                               Check all that apply.
          5359 Rentschler Estates Dr.                                   Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.97     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Lisa Althouse                                              Check all that apply.
          8077 Thornhurst Drive                                         Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.98     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Samuel Altimore                                            Check all that apply.
          716 Western Ave SW                                            Contingent
          Canton, OH 44710                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.99     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Kelli Alting                                               Check all that apply.
          5896 Collier Hill Drive                                       Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.100    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          David Altman                                               Check all that apply.
          341 Meadow Ash Dr.                                            Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.101    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Melissa Altman                                             Check all that apply.
          114 Sugarbush glen                                            Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.102    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $505.00    $505.00
          Ketaki Alurkar                                             Check all that apply.
          32778 S Roundhead Dr                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.103    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $695.00    $695.00
          Martha Alvarado                                            Check all that apply.
          4114 kenridge rd                                              Contingent
          Columbus, OH 43220                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.104    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $695.00    $695.00
          Mohyeddin Alyounes                                         Check all that apply.
          5243 Lexi Lane South                                          Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.105    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Breydi Amador                                              Check all that apply.
          4665 Brixshire Dr                                             Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.106    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $340.00    $340.00
          Cheryl Amans                                               Check all that apply.
          12425 Harold Dr.                                              Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.107    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $465.00    $465.00
          Anne Amata                                                 Check all that apply.
          516 Woodland Ct                                               Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.108    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Kathleen Amato                                             Check all that apply.
          10565 Alyssa Court                                            Contingent
          Concord Twp, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.109    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $435.00    $435.00
          Lori Ambriola                                              Check all that apply.
          2650 Meadoway Drive                                           Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.110    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $495.00    $495.00
          Lillian Ammons                                             Check all that apply.
          111 Chardon Ave.                                              Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.111    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $580.00    $580.00
          Jason Amos                                                 Check all that apply.
          2722 Twp Rd. 236                                              Contingent
          Van Buren, OH 45889                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.112    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Hemlata Anand                                              Check all that apply.
          304 Olentangy Meadows                                         Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.113    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Molly Anders                                               Check all that apply.
          4118 State Rd.                                                Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.114    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $165.00    $165.00
          Amie Anderson                                              Check all that apply.
          4514 River Cv                                                 Contingent
          Kings Mills, OH 45034                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.115    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Errin Anderson                                             Check all that apply.
          7978 Orange Station Loop                                      Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.116    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $435.00    $435.00
          Laura Anderson                                             Check all that apply.
          23600 East Groveland Road                                     Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.117    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $440.00    $440.00
          Monica Anderson                                            Check all that apply.
          330 e 3rd st                                                  Contingent
          port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.118    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $385.00    $385.00
          Sandra Anderson                                            Check all that apply.
          1780 Westwood Drive                                           Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.119    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Stephanie Anderson                                         Check all that apply.
          3111 Buckwalter Dr SW                                         Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.120    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $410.00    $410.00
          Karen Andrachik                                            Check all that apply.
          5691 Abbyshire Dr                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.121    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $780.00    $780.00
          Jean Andre                                                 Check all that apply.
          7431 Juler Ave                                                Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.122    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Lena Andrea                                                Check all that apply.
          950 tollis pkwy apt 514                                       Contingent
          Broadview Heights, OH 44147                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.123    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $810.00    $810.00
          Greg Andrews                                               Check all that apply.
          2778 Southside Dr                                             Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.124    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $810.00    $810.00
          Greg Andrews                                               Check all that apply.
          2778 Southside Dr                                             Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.125    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Heidi Andrews                                              Check all that apply.
          6778 Melridge Drive                                           Contingent
          Concord Twp, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.126    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Karen Andrews                                              Check all that apply.
          12841 Tradewinds Dr                                           Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.127    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $455.00    $455.00
          Lita Andrews                                               Check all that apply.
          4767 Marigold Rd                                              Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.128    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $465.00    $465.00
          Colleen Angel                                              Check all that apply.
          100 anglers dr                                                Contingent
          south russell, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.129    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $675.00    $675.00
          Daniela Angel                                              Check all that apply.
          412 N Main St                                                 Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.130    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $385.00    $385.00
          Heide Antequisa                                            Check all that apply.
          3317 Blossom Trail                                            Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.131    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Rachael Anthony                                            Check all that apply.
          7712 frailey rd                                               Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.132    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          ELIZABETH APPIAH                                           Check all that apply.
          9097 misty dawn drive Columbus                                Contingent
          Ohio                                                          Unliquidated
          Columbus, OH 43240                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.133    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          William Appleton                                           Check all that apply.
          395 Cummings Road                                             Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.134    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $500.00    $500.00
          Eugenia Aranovsky                                          Check all that apply.
          115 Oberlin Rd                                                Contingent
          Oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.135    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $700.00    $700.00
          Jennifer Archambeau                                        Check all that apply.
          1610 Eastfield Dr                                             Contingent
          Maumee, OH 43537                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.136    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $410.00    $410.00
          Joan Archer                                                Check all that apply.
          5705 Young Rd                                                 Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.137    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $410.00    $410.00
          Joan Archer                                                Check all that apply.
          5705 Young Rd                                                 Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.138    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Tonya Arellano                                             Check all that apply.
          2900 Bailey St NW                                             Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.139    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $505.00    $505.00
          Jennifer Arenschield                                       Check all that apply.
          6495 Solon Blvd                                               Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.140    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Luda Arkhipov                                              Check all that apply.
          10311 Foxwood Drive                                           Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.141    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $695.00    $695.00
          Ernest Arkorful                                            Check all that apply.
          5369 Valley lane East                                         Contingent
          Columbus, OH 43231                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.142    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $750.00    $750.00
          Elizabeth Armstrong-Stamey                                 Check all that apply.
          7870 Surreywood Drive                                         Contingent
          North Bend, OH 45052                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.143    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Shawn Arnett                                               Check all that apply.
          5090 Breckenhurst Drive                                       Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.144    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Jen Arnone                                                 Check all that apply.
          561 Beechwood Lane                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.145    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $505.00    $505.00
          Rachel Arnopolin                                           Check all that apply.
          33281 Popham Ln                                               Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.146    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Alfred Arockiasamy                                         Check all that apply.
          7743 Royal Park Dr                                            Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.147    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $780.00    $780.00
          Heather Arredondo                                          Check all that apply.
          6450 Dawson Rd                                                Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.148    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $505.00    $505.00
          Jennifer Arth                                              Check all that apply.
          35599 Aurora Rd                                               Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.149    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $185.00    $185.00
          Stacey Artino                                              Check all that apply.
          7570 Hunting Lake                                             Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.150    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $205.00    $205.00
          Stacey Artino                                              Check all that apply.
          7570 Hunting Lake                                             Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.151    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Sherri Artis                                               Check all that apply.
          4859 Driffield Ct                                             Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.152    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $165.00    $165.00
          Danielle Aruri                                             Check all that apply.
          4138 Oak Tree Court                                           Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.153    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Daniel Asante                                              Check all that apply.
          8680 Olenbrook Dr                                             Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.154    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $505.00    $505.00
          Sarah Asbury                                               Check all that apply.
          6880 Waterpepper Circle                                       Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.155    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Patricia Ashburn                                           Check all that apply.
          75 Country Lane                                               Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.156    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $495.00    $495.00
          Kathleen Ashton                                            Check all that apply.
          109 Bentwood drive                                            Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.157    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $440.00    $440.00
          Leah Ashton                                                Check all that apply.
          332 east 6th                                                  Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.158    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $140.00    $140.00
          David Ashurst                                              Check all that apply.
          168 Atterbury Blvd                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.159    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Candice Askwith                                            Check all that apply.
          4360 SHIRE COVE ROAD                                          Contingent
          HILLIARD, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.160    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $385.00    $385.00
          Jason Aspinall                                             Check all that apply.
          2414 Sandalwood Dr                                            Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.161    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $465.00    $465.00
          Heidi Asplin                                               Check all that apply.
          1116 Sheerbrook Drive                                         Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.162    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $165.00    $165.00
          Nancy Astacio                                              Check all that apply.
          7554 Marsh Creek Lane                                         Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.163    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $495.00    $495.00
          Veronika Astapenko                                         Check all that apply.
          8736 Hedgerow Ln                                              Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.164    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $455.00    $455.00
          KATHRYN ASTON                                              Check all that apply.
          8003 CARRIAGE CIR APT B                                       Contingent
          MENTOR, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.165    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $495.00    $495.00
          Antoinette Atchley                                         Check all that apply.
          12435 Fowlers Mill Rd                                         Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.166    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $385.00    $385.00
          Jacki Atienza                                              Check all that apply.
          3872 Nautilus Trail                                           Contingent
          Reminderville, OH 44202                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.167    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $750.00    $750.00
          Suzanne Atkinson                                           Check all that apply.
          7834 Bridgetown Road                                          Contingent
          North Bend, OH 45052                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.168    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $505.00    $505.00
          Maher Atwah                                                Check all that apply.
          37860 Flanders Drive                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.169    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Valeri Audino                                              Check all that apply.
          6625 Crossbow Ct.                                             Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.170    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $780.00    $780.00
          Sharon Audretch                                            Check all that apply.
          7276 Rita Lane                                                Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.171    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $230.00    $230.00
          Tisha Augustyniak                                          Check all that apply.
          226 West Wayne Street                                         Contingent
          Maumee, OH 43537                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.172    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $440.00    $440.00
          Ronald Aukerman                                            Check all that apply.
          1003 Taft St                                                  Contingent
          Port Clinron, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.173    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $470.00    $470.00
          Mary Aulisio                                               Check all that apply.
          19970 Roslyn Dr                                               Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.174    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Melanie Ault                                               Check all that apply.
          3153 Cassey St.                                               Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.175    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $635.00    $635.00
          Wendi Austerman                                            Check all that apply.
          2995 calusa dr                                                Contingent
          hamitlon, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.176    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          May Austin                                                 Check all that apply.
          338 13th Street                                               Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.177    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $440.00    $440.00
          Nicole Auvil                                               Check all that apply.
          750 Kaspar St                                                 Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.178    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $675.00    $675.00
          Ana A Avalos                                               Check all that apply.
          1105 Lost Creek Drive                                         Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.179    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Lisa Aveni                                                 Check all that apply.
          7235 Sowul Drive                                              Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.180    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $465.00    $465.00
          Lauren Avery                                               Check all that apply.
          170 GREY FOX RUN                                              Contingent
          Chagrin Falls, OH 44022-3397                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.181    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $440.00    $440.00
          Jamie Avis                                                 Check all that apply.
          521 east 2nd street                                           Contingent
          Port clinton, OH 43453                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.182    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Ann Aycock                                                 Check all that apply.
          2337 Reeves Ave                                               Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.183    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $340.00    $340.00
          Mike Aziz                                                  Check all that apply.
          7386 ceadercreast trl                                         Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.184    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $780.00    $780.00
          Corrado Azzarita                                           Check all that apply.
          6230 Kenwood Road                                             Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.185    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Darlene Baad                                               Check all that apply.
          1942 University commons drive SE                              Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.186    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $780.00    $780.00
          Lynn Babcock                                               Check all that apply.
          6901 Shawnee Run Road                                         Contingent
          Cincinnati, OH 45243-2519                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.187    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $780.00    $780.00
          Lynn Babcock                                               Check all that apply.
          6901 Shawnee Run Road                                         Contingent
          Cincinnati, OH 45243-2519                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.188    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          DERIKA BABICS                                              Check all that apply.
          3327 CROWNPOINT N.W.                                          Contingent
          MASSILLON, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.189    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $140.00    $140.00
          Carrie Babitsky                                            Check all that apply.
          2060 Jesse Drive                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.190    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $385.00    $385.00
          Katie Bach                                                 Check all that apply.
          9883 E Idlewood Dr                                            Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.191    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $455.00    $455.00
          Daniel Bachnicki                                           Check all that apply.
          6330 Dawson Blvd.                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.192    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Lisa Bacon                                                 Check all that apply.
          7919 Manorgate Street                                         Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.193    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Amy Badertscher                                            Check all that apply.
          3111 Wattova Dr NW                                            Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.194    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $385.00    $385.00
          Quiana Badley                                              Check all that apply.
          8804 ray court #1                                             Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.195    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $140.00    $140.00
          Eunny Bae                                                  Check all that apply.
          251 Boston Mills Rd                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.196    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $495.00    $495.00
          Sarah Baggott                                              Check all that apply.
          115 Maple Ave                                                 Contingent
          Chardon, OH 44024-9681                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.197    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $635.00    $635.00
          Amanda Bahe                                                Check all that apply.
          3271 Greenwich Dr                                             Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.198    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Jodie Bailey                                               Check all that apply.
          5967 Winslow Ct.                                              Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.199    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $385.00    $385.00
          Kelly Bailey                                               Check all that apply.
          2943 steffan woods drive                                      Contingent
          twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.200    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $455.00    $455.00
          Laura Bailey                                               Check all that apply.
          6162 Seminole Trl                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.201    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $165.00    $165.00
          Tara Bailey                                                Check all that apply.
          2818 RED TAIL LN                                              Contingent
          MASON, OH 45040                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.202    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Stephanie Baily                                            Check all that apply.
          8027 Roberts Road                                             Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.203    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $695.00    $695.00
          Melissa Bair                                               Check all that apply.
          700 Marburn Dr                                                Contingent
          Columbus, OH 43214                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.204    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Jane Baird                                                 Check all that apply.
          3268 Darbyshire Dr.                                           Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.205    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $209.60    $209.60
          John Baird                                                 Check all that apply.
          12646 Lovers Lane                                             Contingent
          Spencer, OH 44275                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.206    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $385.00    $385.00
          Rene Bajarias                                              Check all that apply.
          2226 Sherwin Drive                                            Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.207    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $675.00    $675.00
          Angel Baker                                                Check all that apply.
          804 Ridgeview Drive                                           Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.208    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          David Baker                                                Check all that apply.
          214 North Hambden Street                                      Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.209    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Evelyn Baker                                               Check all that apply.
          410 ontario st                                                Contingent
          Huron, OH 44839                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.210    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $810.00    $810.00
          Heather Baker                                              Check all that apply.
          2725 Broken Woods Drive                                       Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.211    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Julie Baker                                                Check all that apply.
          12075 summerwood dr                                           Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.212    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $505.00    $505.00
          Liana Baker                                                Check all that apply.
          6741 Duneden Ave                                              Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.213    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Mendy Baker                                                Check all that apply.
          2553 Charoe Street                                            Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.214    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Michele Baker                                              Check all that apply.
          7155 south Meadow drive                                       Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.215    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $465.00    $465.00
          Patricia Baker                                             Check all that apply.
          49 East Summit Street                                         Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.216    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $470.00    $470.00
          Roshana Baker                                              Check all that apply.
          21921 River Oaks                                              Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.217    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Taryn Baker                                                Check all that apply.
          769 Parkgrove Way                                             Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.218    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Stacey Bakos                                               Check all that apply.
          305 Hilliard Road                                             Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.219    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Arun Balakrishnan                                          Check all that apply.
          5705 Eden Bridge Drive                                        Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.220    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Jennifer Ball                                              Check all that apply.
          781 Georgetown Ave.                                           Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.221    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $470.00    $470.00
          Mary Balla                                                 Check all that apply.
          22389 Bartlett dr                                             Contingent
          Rocky river, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.222    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $495.00    $495.00
          Michael Ballard                                            Check all that apply.
          4465 Blue Jay Way                                             Contingent
          Mason, OH 45040                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.223    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $445.00    $445.00
          Misty Ballard                                              Check all that apply.
          8377 Island Lane                                              Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.224    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Sarah Ballard                                              Check all that apply.
          313 Wilson Mills Rd                                           Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.225    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $495.00    $495.00
          Tina Ballash                                               Check all that apply.
          438 North Street 5B                                           Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.226    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Leslie Baltimore                                           Check all that apply.
          7701 Morris Rd                                                Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.227    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $465.00    $465.00
          Meghan Bando                                               Check all that apply.
          1541 Bell Road                                                Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.228    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $385.00    $385.00
          Kaustab Banerjee                                           Check all that apply.
          10266 Belmeadow Drive                                         Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.229    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $185.00    $185.00
          Denise Bangasser                                           Check all that apply.
          11435 Saddlewood Ln                                           Contingent
          Concord Twp, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.230    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $205.00    $205.00
          Denise Bangasser                                           Check all that apply.
          11435 Saddlewood Ln                                           Contingent
          Concord Twp, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.231    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $455.00    $455.00
          Matthew Bangerter                                          Check all that apply.
          8 Meadowlawn Drive #18                                        Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.232    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $410.00    $410.00
          Sharon Banko                                               Check all that apply.
          5970 Brewster Drive                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.233    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Kelly Banks                                                Check all that apply.
          4477 Swenson St                                               Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.234    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $465.00    $465.00
          Janet Bannerman                                            Check all that apply.
          457 Bell Street                                               Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.235    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $645.00    $645.00
          Erica Banta                                                Check all that apply.
          4164 Maystar Way                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.236    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $140.00    $140.00
          Leslie Banweg                                              Check all that apply.
          7533 Whitemarsh Way                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.237    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $140.00    $140.00
          Reka Barabas                                               Check all that apply.
          81 Clairhaven Dr.                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.238    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Heather Barajas-Anguiano                                   Check all that apply.
          10326 Auburn Rd                                               Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.239    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Terry Barbera                                              Check all that apply.
          5938 Perry Hills Drive                                        Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.240    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Regina Barger                                              Check all that apply.
          261 Fox Ridge Circle                                          Contingent
          Powell, OH 43065                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.241    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $435.00    $435.00
          Ginni Baris                                                Check all that apply.
          3426 Old green 201                                            Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.242    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $435.00    $435.00
          Ginni Baris                                                Check all that apply.
          3426 Old green 201                                            Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.243    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $140.00    $140.00
          Cate Barker                                                Check all that apply.
          2210 Weir Drive                                               Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.244    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $495.00    $495.00
          Eva Barker                                                 Check all that apply.
          10690 Locust Grove Dr.                                        Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.245    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Michelle Barkoot                                           Check all that apply.
          222 South Settlers Lane                                       Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.246    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Crystal Barnes                                             Check all that apply.
          6991 Woodthrush Ave                                           Contingent
          Painesville, OH 44077-2309                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.247    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $330.00    $330.00
          Carolyn Barnett                                            Check all that apply.
          7805 Strawberry Hill Ln                                       Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.248    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $635.00    $635.00
          Kristi Barnett                                             Check all that apply.
          8510 Ethan Ct                                                 Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.249    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $810.00    $810.00
          Lori Barnett                                               Check all that apply.
          1517 Beekman Dr                                               Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.250    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Adrian Barnhart                                            Check all that apply.
          1211 Westwood Dr.                                             Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.251    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Ron Barnicoat                                              Check all that apply.
          1022 Carson Street                                            Contingent
          Painesville Twp, OH 44077                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.252    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Debby Barone                                               Check all that apply.
          2433 Maxwell Avenue                                           Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.253    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $455.00    $455.00
          Jennifer Baroni                                            Check all that apply.
          9470 Whalers Cove                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.254    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $635.00    $635.00
          Anna Barrett                                               Check all that apply.
          5560 Kingsbury Road                                           Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.255    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Kim Barrett                                                Check all that apply.
          5938 Groff Court                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.256    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Tanya Barrett                                              Check all that apply.
          1430 Fireside Trail                                           Contingent
          Broadview Heights, OH 44147                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.257    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $140.00    $140.00
          Tonia Barry                                                Check all that apply.
          2708 Blue Heron Drive                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.258    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Tara Bartholomew                                           Check all that apply.
          9001 Marchbank ln                                             Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.259    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $645.00    $645.00
          Michael Bartle                                             Check all that apply.
          1003 Cliff Creek Drive                                        Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.260    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $500.00    $500.00
          Dawn Bartlebaugh                                           Check all that apply.
          78 Berger Ct.                                                 Contingent
          oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.261    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Jennifer Bartlebaugh                                       Check all that apply.
          1241 Beechview Dr.                                            Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.262    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $340.00    $340.00
          Christopher Bartlett                                       Check all that apply.
          13083 Stratford Trail                                         Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.263    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Elizabeth Bartlett                                         Check all that apply.
          6156 Althea Dr                                                Contingent
          Concord Twp, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.264    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $140.00    $140.00
          Kelly Bartlett                                             Check all that apply.
          68 Nantucket Drive                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.265    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $780.00    $780.00
          CHRISTY BARTON                                             Check all that apply.
          917 MONASTERY ST                                              Contingent
          CINCINNATI, OH 45202                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.266    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $580.00    $580.00
          Nicole Barton                                              Check all that apply.
          2030 Westgate Drive                                           Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.267    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $455.00    $455.00
          Michele Barton-Verdi                                       Check all that apply.
          6111 Brownstone Court                                         Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.268    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $410.00    $410.00
          Sheryl Barylak                                             Check all that apply.
          4832 Lake View Drive                                          Contingent
          Peninsula, OH 44264                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.269    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Jack Basford                                               Check all that apply.
          148 Coen rd                                                   Contingent
          vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.270    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Amy Bashforth                                              Check all that apply.
          5446 Hessler Cir                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.271    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $695.00    $695.00
          Erica Basich                                               Check all that apply.
          1772 Rhoda Ave                                                Contingent
          Columbus, OH 43212                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.272    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Maged Baskhron                                             Check all that apply.
          13151 morning star drive                                      Contingent
          north royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.273    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Pamela Bast                                                Check all that apply.
          6833 Cincinnat Dr SW                                          Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.274    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $455.00    $455.00
          Deanna Bateman                                             Check all that apply.
          6036 E Valley View Ct                                         Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.275    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $495.00    $495.00
          Jenny Bates                                                Check all that apply.
          12875 Vista Pointe Dr.                                        Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.276    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Mark Battistelli                                           Check all that apply.
          830 Master Dr                                                 Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.277    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Christina Bauer                                            Check all that apply.
          10454 Ravenwood Lane                                          Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.278    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $340.00    $340.00
          Nancy Bauer                                                Check all that apply.
          11262 chillicothe rd                                          Contingent
          chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.279    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Roger Bauer                                                Check all that apply.
          3357 Fishinger road                                           Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.280    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $140.00    $140.00
          David Baughman                                             Check all that apply.
          2400 Danbury Lane                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.281    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $695.00    $695.00
          Kendra Baumann                                             Check all that apply.
          5880 Sedgwick Road                                            Contingent
          Columbus, OH 43235                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.282    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $635.00    $635.00
          Melinda Baumann                                            Check all that apply.
          1797 Gloucester Dr.                                           Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.283    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $385.00    $385.00
          Donna Baumiller                                            Check all that apply.
          1342 Gill Court                                               Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.284    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $635.00    $635.00
          Dawn Baur                                                  Check all that apply.
          4185 River road                                               Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.285    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $455.00    $455.00
          Jamie Baur                                                 Check all that apply.
          8064 Hackney Court Apt D                                      Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.286    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $495.00    $495.00
          Natalie Baxter                                             Check all that apply.
          1649 River Shore Ct                                           Contingent
          Kings Mills, OH 45034                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.287    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $750.00    $750.00
          Angie Bayer                                                Check all that apply.
          8135 Jordan Club Court                                        Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.288    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $580.00    $580.00
          Jackie Bayes                                               Check all that apply.
          1201 Muirfield Dr                                             Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.289    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $140.00    $140.00
          Callie Baylor                                              Check all that apply.
          839 Virginia Dr                                               Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.290    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $140.00    $140.00
          Lori Baylor                                                Check all that apply.
          2098 Jonathan Court                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.291    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $465.00    $465.00
          Jill Bazzone                                               Check all that apply.
          624 Falls Rd                                                  Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.292    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Audrey Beacom                                              Check all that apply.
          232 Hideaway Ct                                               Contingent
          Powell, OH 43065                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.293    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Mollie Beam                                                Check all that apply.
          1751 Branton Court                                            Contingent
          Broadview Heights, OH 44147                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.294    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $410.00    $410.00
          Michelle Beard                                             Check all that apply.
          1789 Haymarket Way                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.295    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $495.00    $495.00
          Patricia Beard                                             Check all that apply.
          13043 Livery Lane                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.296    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Nancy Beasley                                              Check all that apply.
          750 Graylock Ct                                               Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.297    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Amy Beaver                                                 Check all that apply.
          1730 Pinecone Ct                                              Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.298    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $165.00    $165.00
          Elena Beber                                                Check all that apply.
          7481 Marsh Creek Ln                                           Contingent
          Maneville, OH 45039                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.299    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $470.00    $470.00
          Anthony Bebie                                              Check all that apply.
          3975 Mark Ave.                                                Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.300    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $165.00    $165.00
          Lauren Bebout                                              Check all that apply.
          3104 Stony Hollow Ct                                          Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.301    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $440.00    $440.00
          Mark Bechtel                                               Check all that apply.
          5561 Bertram Dr.                                              Contingent
          Port Clinton, OH 42452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.302    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Molly Beck                                                 Check all that apply.
          2203 Bold Venture Drive                                       Contingent
          Lewis Center, OH 43045                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.303    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Eileen Becker                                              Check all that apply.
          8088 Fernway Court                                            Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.304    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          James Becker                                               Check all that apply.
          211 Basquin Dr                                                Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.305    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $455.00    $455.00
          Jennifer Becker                                            Check all that apply.
          7988 Bellflower rd                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.306    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Alice Beckett                                              Check all that apply.
          13711 Oak Brook Dr Apt 208                                    Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.307    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Theresa Beckett                                            Check all that apply.
          119 Huntington Circle                                         Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.308    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $505.00    $505.00
          LISA BEDNARSKI                                             Check all that apply.
          32751 BALDWIN RD                                              Contingent
          SOLON, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.309    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $185.00    $185.00
          Lisa Bedrick                                               Check all that apply.
          8188 Timberlane                                               Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.310    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $205.00    $205.00
          Lisa Bedrick                                               Check all that apply.
          8188 Timberlane                                               Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.311    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $140.00    $140.00
          Susan Beebe                                                Check all that apply.
          5315 Wilshire Park Drive                                      Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.312    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $410.00    $410.00
          Colleen Beegle                                             Check all that apply.
          2217 Middleton Road                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.313    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          Jodi Beekman                                               Check all that apply.
          9030 Tabernash Dr                                             Contingent
          Columbus, OH 43240                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.314    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $500.00    $500.00
          Sherry Beetler                                             Check all that apply.
          64 North Park Street                                          Contingent
          Oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.315    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $635.00    $635.00
          Samantha Begley                                            Check all that apply.
          7532 Red Coat Dr                                              Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.316    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $101.40    $101.40
          Christine Begovic                                          Check all that apply.
          6070 Nature View Court                                        Contingent
          Concord Township, OH 44077                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.317    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $205.00    $205.00
          Christine Begovic                                          Check all that apply.
          6070 Nature View Court                                        Contingent
          Concord Township, OH 44077                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.318    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $505.00    $505.00
          Moriom Begum                                               Check all that apply.
          7208 Selworthey lane                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.319    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $870.00    $870.00
          David Behre                                                Check all that apply.
          2108 Hayer Court                                              Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.320    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $505.00    $505.00
          Jeffrey Belcher                                            Check all that apply.
          33210 Arlesford Dr                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.321    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $435.00    $435.00
          Jean Belfiore                                              Check all that apply.
          24925 Hilltop Dr.                                             Contingent
          Beachwoow, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.322    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $410.00    $410.00
          Aimee Bell                                                 Check all that apply.
          5635 Nicholson Drive                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.323    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          April Bell                                                 Check all that apply.
          240 Morgan Dr                                                 Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.324    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $780.00    $780.00
          Elizabeth Bell                                             Check all that apply.
          7825 Greenbriar Lane                                          Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.325    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $165.00    $165.00
          Gordon Bell                                                Check all that apply.
          3200 Shadow Ridge Dr                                          Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.326    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $635.00    $635.00
          Portia Bell                                                Check all that apply.
          2721 Nadir Ct.                                                Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.327    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $140.00    $140.00
          Cynthia Beltran                                            Check all that apply.
          467 Inverness Ct                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.328    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $465.00    $465.00
          Loren Bendall                                              Check all that apply.
          5401 Liberty Road                                             Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.329    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Ashley Bender                                              Check all that apply.
          133 Roosevelt St                                              Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.330    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $750.00    $750.00
          Brian Bender                                               Check all that apply.
          8280 Jordan ridge dr                                          Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.331    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Tina Bender                                                Check all that apply.
          15098 Rock Creek Rd                                           Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.332    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Amy Benefiel                                               Check all that apply.
          11801 Nottingham Pkwy                                         Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.333    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $460.00    $460.00
          Patricia Benevento                                         Check all that apply.
          971 Howard Dr                                                 Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.334    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Melinda Benford                                            Check all that apply.
          892 Oakwood Blvd                                              Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.335    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $780.00    $780.00
          Jill Benintendi                                            Check all that apply.
          7034 Dawson Road                                              Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.336    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $325.00    $325.00
          Nancy Benitez                                              Check all that apply.
          4977 Avery Rd #39                                             Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.337    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $495.00    $495.00
          Marijana Benjamin                                          Check all that apply.
          113 Middle Post Pointe                                        Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.338    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $750.00    $750.00
          Amy Benkert                                                Check all that apply.
          7314 Bridgetown rd                                            Contingent
          Cincinnati, OH 45248                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.339    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $810.00    $810.00
          Lorrie Bennett                                             Check all that apply.
          1375 Sterling Dr                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.340    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $490.00    $490.00
          Rebecca Bennett                                            Check all that apply.
          9970 Rosewood Drive                                           Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.341    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.00    $520.00
          Tracy Bennett                                              Check all that apply.
          13518 painesville Warren rd                                   Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.342    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $410.00    $410.00
          Michael Bennici                                            Check all that apply.
          5733 Williamsburg circle                                      Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.343    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Jennifer Benore                                            Check all that apply.
          1679 East Sapphire Dr                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.344    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Jennifer Benore                                            Check all that apply.
          1679 East Sapphire Dr                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.345    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Don Benson                                                 Check all that apply.
          7815 Salem Dr                                                 Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.346    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Lindsay Benz                                               Check all that apply.
          65 Church Street                                              Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.347    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Sasikumar Benzigar                                         Check all that apply.
          9927 Darrow Park Drive Apt #209N                              Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.348    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Sandy Beorn                                                Check all that apply.
          9892 Old State Road                                           Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.349    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Denise Berdis                                              Check all that apply.
          8550 Sharp Ln                                                 Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.350    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          JENNIFER BEREND                                            Check all that apply.
          2252 MAXWELL AVE.                                             Contingent
          LEWIS CENTER, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.351    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Oxana Berezkina                                            Check all that apply.
          9246 Windy Creek Dr.                                          Contingent
          Columbus, OH 43240                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.352    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Aaron Berg                                                 Check all that apply.
          20563 Beachwood Drive                                         Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.353    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Jamie BERG                                                 Check all that apply.
          4009 Riley st                                                 Contingent
          South lebanon, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.354    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Ellen Bergman                                              Check all that apply.
          24375 Woodside Lane                                           Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.355    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Aimee Bergquist                                            Check all that apply.
          21358 Endsley Avenue                                          Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.356    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          BOB BERICHON                                               Check all that apply.
          1695 GOSHEN DR                                                Contingent
          HUDSON, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.357    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          BOB BERICHON                                               Check all that apply.
          1695 GOSHEN DR                                                Contingent
          HUDSON, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.358    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Kristie Berish                                             Check all that apply.
          19 N Oviatt St                                                Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.359    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          KaWa Berman                                                Check all that apply.
          827 Claycross Ct                                              Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.360    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Leonid Berman                                              Check all that apply.
          2654 Blue Heron Drive                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.361    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Michael Berman                                             Check all that apply.
          6765 Forest Glen Ave                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.362    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Melanie Bernava                                            Check all that apply.
          893 Candy Ln                                                  Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.363    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Paola Bernazzani                                           Check all that apply.
          80 West Washington                                            Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.364    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Jodi Bernhard                                              Check all that apply.
          28697 North Village Lane                                      Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.365    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Dianne BERNS                                               Check all that apply.
          36985 PETTIBONE RD                                            Contingent
          SOLON, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.366    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Tracy Bernstein                                            Check all that apply.
          24119 Woodway Road                                            Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.367    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Lindsey Berrigan                                           Check all that apply.
          3447 Bryant St                                                Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.368    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Danita Berry                                               Check all that apply.
          1975 Augusta Circle SE                                        Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.369    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Kate Berry                                                 Check all that apply.
          949 Master Drive                                              Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.370    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          John Bertke                                                Check all that apply.
          1114 mystic ln S                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.371    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          John Bertke                                                Check all that apply.
          1114 mystic ln S                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.372    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Stacey Bertleff                                            Check all that apply.
          9716 Burton drive                                             Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.373    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Carol Bertone                                              Check all that apply.
          668 Second St. #4                                             Contingent
          Fairport Harbor, OH 44077                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.374    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Carol Bertone                                              Check all that apply.
          668 Second St. #4                                             Contingent
          Fairport Harbor, OH 44077                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.375    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Gennine Berwald                                            Check all that apply.
          6068 West Valleyview Ct.                                      Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.376    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Michelle Besett                                            Check all that apply.
          12077 Riley Court                                             Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.377    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Amy Beskid                                                 Check all that apply.
          7976 Deborah Ct                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.378    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Janell Bess                                                Check all that apply.
          5115 13th Street SW                                           Contingent
          Canton, OH 44710                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.379    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Becky Besselman                                            Check all that apply.
          1226 Foxfire Drive                                            Contingent
          Painesville Township, OH 44077                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.380    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Amy Best                                                   Check all that apply.
          1832 Cadbury St. NW                                           Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.381    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Gary Best                                                  Check all that apply.
          14847 Glen Valley Dr                                          Contingent
          Middlefield, OH 44062                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.382    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Kimberly Bethel                                            Check all that apply.
          1751 Glenwood Dr.                                             Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.383    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Kelly Betlejewski                                          Check all that apply.
          12754 Gardenside Dr                                           Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.384    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Ramesh Bettaiah                                            Check all that apply.
          37795 Flanders Drive                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.385    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Jerry Betts                                                Check all that apply.
          44 Township Road 229                                          Contingent
          North Baltimore, OH 45872                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.386    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Sara Beucler                                               Check all that apply.
          50 S Hayden Pkwy                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.387    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Yogish Bevinahallyshivabasappa                             Check all that apply.
          5989 Varwyne Dr                                               Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.388    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Yogish Bevinahallyshivabasappa                             Check all that apply.
          5989 Varwyne Dr                                               Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.389    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Yogish Bevinahallyshivabasappa                             Check all that apply.
          5989 Varwyne Dr                                               Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.390    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Mandeep Bhargava                                           Check all that apply.
          37138 Tidewater Dr                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.391    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Simran Bhullar                                             Check all that apply.
          9919 darrow prk dr.apt.211P                                   Contingent
          twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.392    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          MaryAnn Bibro                                              Check all that apply.
          7370 Creekwood Dr                                             Contingent
          North Royalton, OH 44130                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.393    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Kim Bican                                                  Check all that apply.
          14620 Chatham Glen Drive                                      Contingent
          Novelty, OH 44072                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.394    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Michelle Bice                                              Check all that apply.
          729 Hubbard Rd                                                Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.395    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Adrienne Bickerstaff                                       Check all that apply.
          6830 som center rd                                            Contingent
          solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.396    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Shannon Biehl                                              Check all that apply.
          2640 Fairfield Ridge Dr                                       Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.397    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Beth Bigham                                                Check all that apply.
          2284 Herrick Cr.                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.398    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Ina Biliunas                                               Check all that apply.
          7614 Palmerston Dr.                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.399    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Ina Biliunas                                               Check all that apply.
          7614 Palmerston Dr.                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.400    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Sabrina Billman                                            Check all that apply.
          2430 Brooklyn Ave SW                                          Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.401    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          LaToya Binford                                             Check all that apply.
          5584 Cherrywood Road                                          Contingent
          COLUMBUS, OH 43229                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.402    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Elizabeth Binns                                            Check all that apply.
          7349 Wellfleet Drive                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.403    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Michelle Biondi                                            Check all that apply.
          5770 birdie lane                                              Contingent
          mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.404    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Jeffrey Birdwell                                           Check all that apply.
          300 Portland Dr.                                              Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.405    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Kim Bischof                                                Check all that apply.
          7435 Harding St                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.406    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Brian Bishop                                               Check all that apply.
          2357 Hudson Aurora Rd                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.407    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Erika Bishop                                               Check all that apply.
          2009 Nicklaus Drive                                           Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.408    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Erika Bishop                                               Check all that apply.
          2009 Nicklaus Drive                                           Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.409    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Tim Bittner                                                Check all that apply.
          10223 Danvers Dr                                              Contingent
          Concord Twp, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.410    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Erin Bivens                                                Check all that apply.
          110 Quartz Ave                                                Contingent
          Peninsula, OH 44264                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.411    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Courtney Bixby                                             Check all that apply.
          12 Steepleview Drive                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.412    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $230.00    $230.00
          Jennifer Bixler                                            Check all that apply.
          515 East Dudley                                               Contingent
          Maumee, OH 43537                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.413    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Heather Bizub                                              Check all that apply.
          2141 Hiram Lane                                               Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.414    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Nina Bjerkreim-Hanssen                                     Check all that apply.
          24610 Duffield Rd.                                            Contingent
          BEACHWOOD, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.415    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Jamie Black                                                Check all that apply.
          11851 Whitestone Court                                        Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.416    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Suzy Black                                                 Check all that apply.
          102 Pepperbush Dr                                             Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.417    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Ericka Blackburn                                           Check all that apply.
          7449 Trotwood Drive                                           Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.418    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Cinthia Blackman                                           Check all that apply.
          7581 Fern Dr.                                                 Contingent
          Mentor on the Lake, OH 44060                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.419    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Carolyn Blackmon                                           Check all that apply.
          6001 Conneaut Light Dr.                                       Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.420    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Tracey Blackwelder                                         Check all that apply.
          6751 Rosecrest Ave                                            Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.421    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Belinda Blackwell                                          Check all that apply.
          9791 Firelands Drive                                          Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.422    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Belinda Blackwell                                          Check all that apply.
          9791 Firelands Drive                                          Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.423    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $330.00    $330.00
          Pam Blaich                                                 Check all that apply.
          5120 Riverview Dr                                             Contingent
          South Lebanon, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.424    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Cleva Blair                                                Check all that apply.
          450 Kristina Dr Apt 11D                                       Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.425    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Kevin Blair                                                Check all that apply.
          47 Cleveland St.                                              Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.426    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Tracey Blair                                               Check all that apply.
          2678 Arroyo Ridge Court                                       Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.427    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Christina Blankenship                                      Check all that apply.
          732 University Ave                                            Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.428    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Catherina Blann                                            Check all that apply.
          1768 Messner Dr                                               Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.429    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Darci Blaskis                                              Check all that apply.
          12550 Bass Lake Road                                          Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.430    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Nikki Blasko                                               Check all that apply.
          8237 Albion Road                                              Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.431    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Jamie Blatnik                                              Check all that apply.
          13133 Hampton Club Drive 103                                  Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.432    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Michelle Blaugrund                                         Check all that apply.
          31851 N. Roundhead Dr                                         Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.433    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Jason Blevens                                              Check all that apply.
          117 Lindale Dr.                                               Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.434    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Caryn Blevins                                              Check all that apply.
          6823 esther ln                                                Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.435    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Greg Bleyl                                                 Check all that apply.
          10022 Bissell Dr.                                             Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.436    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Gina Blickenderfer                                         Check all that apply.
          219 Marion Ave                                                Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.437    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Regina Block                                               Check all that apply.
          720 S Clay St                                                 Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.438    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Christine Blogna                                           Check all that apply.
          2225 Eastwood Ave                                             Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.439    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $330.00    $330.00
          Hazel Bloomfield                                           Check all that apply.
          5088 Riverbend Dr                                             Contingent
          Kings Mills, OH 45034                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.440    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Christina Blow                                             Check all that apply.
          34616 South Side Park Drive                                   Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.441    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Thomas Blue                                                Check all that apply.
          20520 Detroit Rd                                              Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.442    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Darlene Blum                                               Check all that apply.
          269 Miles Rd                                                  Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.443    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Alan Blumenthal                                            Check all that apply.
          2397 Allen Blvd                                               Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.444    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Nicole Bluso                                               Check all that apply.
          6254 Paderborne Drive                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.445    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Cassandra Blyler                                           Check all that apply.
          1456 Timber Trail                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.446    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Marianne Blystone                                          Check all that apply.
          8050 Harbor Creek Dr Unit 2302                                Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.447    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Samantha Boardwine                                         Check all that apply.
          16011 Sperry Rd.                                              Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.448    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Kelly Bobeczko                                             Check all that apply.
          8010 Butler Hill Drive                                        Contingent
          Concord Twp, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.449    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Jennifer Bock                                              Check all that apply.
          2411 Candlemakers Lane                                        Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.450    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Carrie Bode                                                Check all that apply.
          423 Creekborough Court                                        Contingent
          South Lebanon, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.451    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Megan Bodley                                               Check all that apply.
          2828 RED TAIL LN                                              Contingent
          MASON, OH 45040                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.452    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Bernadette Bodzenta                                        Check all that apply.
          3091 Stoney Creek Drive                                       Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.453    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Samantha Boehringer                                        Check all that apply.
          1210 S Mulberry St                                            Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.454    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Michelle Boerger                                           Check all that apply.
          1177 Aintree Ct                                               Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.455    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Ramona Boggins                                             Check all that apply.
          22449 Lake Rd. F403                                           Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.456    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Sharon Bohland                                             Check all that apply.
          11007 Drake Road                                              Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.457    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Stephen Bohm                                               Check all that apply.
          396 Karen Drive                                               Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.458    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Cheryl Bohr                                                Check all that apply.
          10985 Stonewycke dr                                           Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.459    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Cheryl Bohr                                                Check all that apply.
          10985 Stonewycke dr                                           Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.460    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Samantha Bojc                                              Check all that apply.
          7512 Dahlia Dr                                                Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.461    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Kristen Boka                                               Check all that apply.
          116 Fernwood Rd                                               Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.462    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Kristen Bolam                                              Check all that apply.
          240 Albany Dr NW                                              Contingent
          Canton, OH 44708                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.463    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Kathy Boldt                                                Check all that apply.
          1531Newton Pass                                               Contingent
          Broadview Hts, OH 44147                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.464    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Jessica Boling                                             Check all that apply.
          1004 S Market St                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.465    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Melissa Bolte                                              Check all that apply.
          4756 Idleview Dr.                                             Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.466    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Michelle BOLTON                                            Check all that apply.
          8766 Arrowood Dr                                              Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.467    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Kasey Bonifacio                                            Check all that apply.
          1730 S County Rd 25a                                          Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.468    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Jack Bonnette                                              Check all that apply.
          6595 Ebury Cir                                                Contingent
          hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.469    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Stephanie Bonnizzio                                        Check all that apply.
          1503 Waynesboro Drive                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.470    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Alicia Booker                                              Check all that apply.
          6235 Arbor Glen Ct                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.471    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Cynthia Booker                                             Check all that apply.
          10350                                                         Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.472    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Shelley Bookheimer                                         Check all that apply.
          130 Edgefield Drive                                           Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.473    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          DYLAN BOOKMAN                                              Check all that apply.
          21235 LAKE RD                                                 Contingent
          ROCKY RIVER, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.474    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Robyn Bookman                                              Check all that apply.
          5822 Hopkins Rd                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.475    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Jeanne Boral                                               Check all that apply.
          531 Manorbrook Drive                                          Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.476    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Nancy Bordo                                                Check all that apply.
          5728 Parkside Crossing                                        Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.477    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Elizabeth Borkosky                                         Check all that apply.
          1033 Twp Rd 142                                               Contingent
          Van Buren, OH 45889                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.478    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Christine Borlaug                                          Check all that apply.
          1328 Birchview dr                                             Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.479    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Nikki Bornhorst                                            Check all that apply.
          5569 Reebok Drive                                             Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.480    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Jean Boron                                                 Check all that apply.
          10211 Regatta Trail                                           Contingent
          Reminderville, OH 44202                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.481    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Shannon Borris                                             Check all that apply.
          675 Outrigger Cove                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.482    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Sherry Bortnick                                            Check all that apply.
          9371 Jordan Drive                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.483    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Becki Bosson                                               Check all that apply.
          2046 Maxwell Ave                                              Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.484    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Brad Bostelman                                             Check all that apply.
          5671 Birdie Ln.                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.485    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Susan Boswell                                              Check all that apply.
          7615 Brakeman rd                                              Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.486    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Lori Botkins                                               Check all that apply.
          1078 merrimar circle n A                                      Contingent
          Columbus, OH 43220                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.487    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Natalie Bottomley                                          Check all that apply.
          1460 Fireside Trail                                           Contingent
          Broadview Heights, OH 44147                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.488    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Renelle Bouffard                                           Check all that apply.
          8280 Cambden Crossing Way                                     Contingent
          Concord Township, OH 44077                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.489    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $330.00    $330.00
          Kimberly Boumis                                            Check all that apply.
          1187 Craig Court                                              Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.490    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Jackie Bourgeix                                            Check all that apply.
          202 Ohio st                                                   Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.491    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Frances Bourne                                             Check all that apply.
          103 Locust Lane                                               Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.492    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Nichole Bourquin                                           Check all that apply.
          999 Prescot Ave                                               Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.493    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Coshell Boustani                                           Check all that apply.
          9457 Pam Court                                                Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.494    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Kimberly Bova                                              Check all that apply.
          10038 Primrose Circle                                         Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.495    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Theresa Bowen                                              Check all that apply.
          27655 Pergl Rd.                                               Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.496    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Charles Bowers                                             Check all that apply.
          3870 East Surrey Court                                        Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.497    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Lindsay Bowers                                             Check all that apply.
          1016 Nutmeg Sq S                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.498    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Mary Bowersock                                             Check all that apply.
          44 S Hayden Pkwy                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.499    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Lilian Bowing                                              Check all that apply.
          3597 Beacon Drive                                             Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.500    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Andrea Bowling                                             Check all that apply.
          7715 jandaracres dr Apt c                                     Contingent
          Cincinnati, OH 45248                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.501    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Jillian Bowman                                             Check all that apply.
          2471 Charles Mill Drive                                       Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.502    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Shannon Bowman                                             Check all that apply.
          6383 Sara Court                                               Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.503    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Brenda Bowser                                              Check all that apply.
          102 North Street                                              Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.504    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Leslie Bowser                                              Check all that apply.
          1685 GROTON DR                                                Contingent
          HUDSON, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.505    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Gregory Box                                                Check all that apply.
          7392 Burntwood Way                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.506    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Casey Boyd-Swan                                            Check all that apply.
          2224 Jesse Drive                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.507    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Christine Boyko                                            Check all that apply.
          3406 magnolia way                                             Contingent
          BroadviewHeights, OH 44147                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.508    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Cindy Boyle                                                Check all that apply.
          8030 Sweetgum Trail                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.509    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Cindy Boyle                                                Check all that apply.
          8030 Sweetgum Trail                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.510    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Jason Bozarth                                              Check all that apply.
          3384 Ridge Gap Rd                                             Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.511    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Cheryl Bracken                                             Check all that apply.
          6283 Hopkins Rd                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.512    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Heather Bracken                                            Check all that apply.
          2485 wilmington ave se                                        Contingent
          massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.513    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Bethany Bradford                                           Check all that apply.
          225 Genoa rd apt 8                                            Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.514    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Donna Bradley                                              Check all that apply.
          6014 Hampton Corners North                                    Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.515    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Juwonna Bradley                                            Check all that apply.
          1220 Midway Avenue                                            Contingent
          Columbus, OH 43207                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.516    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Renee Bradley                                              Check all that apply.
          12135 Quartermane Circle                                      Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.517    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Charles Bradshaw                                           Check all that apply.
          6250 Bryson Dr                                                Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.518    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Amanda Brady                                               Check all that apply.
          7607 Manor Drive                                              Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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              Name

 2.519    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Carol Brafford                                             Check all that apply.
          909 Oakwood Blvd.                                             Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.520    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Kaleelah Branche                                           Check all that apply.
          6615 Solon Blvd.                                              Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.521    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Tammy Brand                                                Check all that apply.
          3032 Cabot Way                                                Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.522    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Lea Brandt                                                 Check all that apply.
          40 4th street                                                 Contingent
          MADISON, OH 44057                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.523    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Todd Brandt                                                Check all that apply.
          19440 Riverwood Ave.                                          Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.524    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Danielle Brass                                             Check all that apply.
          1115 Arrowhead Drive                                          Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.525    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Michael Brass                                              Check all that apply.
          1115 Arrowhead dr                                             Contingent
          vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.526    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Mandy Braun                                                Check all that apply.
          714 Erin St                                                   Contingent
          Lewis Center, OH 04305                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.527    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Suzanne Braun                                              Check all that apply.
          7379 Sharonlee Dr.                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.528    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Nikki Brauning                                             Check all that apply.
          3943 Parkside Court                                           Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.529    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Jenny Braunstein                                           Check all that apply.
          18 Highmeadows Circle                                         Contingent
          Powell, OH 43065                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.530    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Silvia Bravo                                               Check all that apply.
          2504 Country Ridge Dr                                         Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.531    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Danielle Breach                                            Check all that apply.
          12954 Carter Rd                                               Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.532    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Patricia Breedlove                                         Check all that apply.
          14252 Rock Creek Rd P.O. Box 475                              Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.533    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Karen Breit                                                Check all that apply.
          7176 Juniperview Lane                                         Contingent
          Madeira, OH 45243                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.534    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Renee Breit                                                Check all that apply.
          5881 Benjamin St SW                                           Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.535    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Jamie Bremer                                               Check all that apply.
          5940 Heritage Farms Dr                                        Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.536    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Hazel Brendler                                             Check all that apply.
          3077 descent ct                                               Contingent
          hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.537    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $330.00    $330.00
          Stephanie Breneman                                         Check all that apply.
          947 Ascot Dr                                                  Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.538    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Danielle Brennan                                           Check all that apply.
          7692 Keystone Drive                                           Contingent
          Concord Twp, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.539    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Christine Brenner                                          Check all that apply.
          1107 Jackson Drive                                            Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.540    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Dana Bresser                                               Check all that apply.
          4054 Durango Green Dr                                         Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.541    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Jason Brewer                                               Check all that apply.
          6912 Fox Hill Ln                                              Contingent
          Cincinnati, OH 45236                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.542    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Jason Brewer                                               Check all that apply.
          970 Jackson st.                                               Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.543    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Megan Brewer                                               Check all that apply.
          2016 Wren Haven Drive                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.544    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Sarah Brewer                                               Check all that apply.
          3715 Hamilton Mason Rd                                        Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.545    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          APRIL BREWSTER                                             Check all that apply.
          12090 S Wintergreen Dr                                        Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.546    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Shannon Brewster                                           Check all that apply.
          521 Shaftsbury Rd                                             Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.547    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Nicole Brey                                                Check all that apply.
          6289 GLENWOOD DR                                              Contingent
          MENTOR, OH 44060-2455                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.548    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Nicole Brey                                                Check all that apply.
          6289 GLENWOOD DR                                              Contingent
          MENTOR, OH 44060-2455                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.549    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Barb Breznay                                               Check all that apply.
          10999 Bridle Trl.                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.550    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Ivonne Brickell                                            Check all that apply.
          10446 Buckeye Rd                                              Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.551    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Pamela Brickey                                             Check all that apply.
          1246 Warble Dr                                                Contingent
          Columbus, OH 43204                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.552    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Tina Brickman                                              Check all that apply.
          209 fox pointe dr                                             Contingent
          chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.553    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Dionne Bridges                                             Check all that apply.
          4777 Ascot Dr                                                 Contingent
          Columbus, OH 43229                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.554    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          DeAnn Brierley                                             Check all that apply.
          9594 Vista Drive                                              Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.555    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Marty Briggs                                               Check all that apply.
          5126 Ridgeglen Cir NW                                         Contingent
          Canton, OH 44708                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.556    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Olga Briggs                                                Check all that apply.
          5330 Dellbrook Drive                                          Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.557    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Cary Bright                                                Check all that apply.
          7403 Southwood Dr                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.558    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Maria Bright                                               Check all that apply.
          6497 Lafayette Dr                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.559    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Scott Brihn                                                Check all that apply.
          14130 Florence Lane                                           Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.560    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Charles Brill                                              Check all that apply.
          10675 Butternut Road                                          Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.561    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          David Brill                                                Check all that apply.
          6065 Homewell Street                                          Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.562    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $330.00    $330.00
          Yevette Brinegar                                           Check all that apply.
          3686 Lebanon Road                                             Contingent
          South Lebanon, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.563    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Kimberly Brinson                                           Check all that apply.
          3469 south green rd apt 10b                                   Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.564    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Amy Britnell                                               Check all that apply.
          10030 Stone Hollow Rd.                                        Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.565    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Jennifer Brletic                                           Check all that apply.
          579A Woodside Avenue                                          Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.566    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Amy Broadwater                                             Check all that apply.
          314 Bucknell Court                                            Contingent
          Broadview Heights, OH 44147                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.567    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Robert Brockman                                            Check all that apply.
          5399 Sherry Lane                                              Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.568    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Tammy Brodbeck                                             Check all that apply.
          5794 Bradford Way                                             Contingent
          hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.569    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Tammy Brodbeck                                             Check all that apply.
          5794 Bradford Way                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.570    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Amy Brodsky                                                Check all that apply.
          10000 Windjammer Trail                                        Contingent
          Reminderville, OH 44202                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.571    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Hope Brogan                                                Check all that apply.
          6315 Meaghan dr.                                              Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.572    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Elena Brokhman                                             Check all that apply.
          28870 Blue Pond Trail                                         Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.573    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Janell Brookes                                             Check all that apply.
          127 Miles Ave NW                                              Contingent
          Canton, OH 44708                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.574    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Millissa Brosch                                            Check all that apply.
          11870 Stonegate Drive                                         Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.575    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Caroline Brosnan                                           Check all that apply.
          555 Solon Rd.                                                 Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.576    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Sarah Bross                                                Check all that apply.
          213 Newpine Drive                                             Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.577    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Jaclyn Brossia                                             Check all that apply.
          7726 Hickory Ln                                               Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.578    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Susan Brothers                                             Check all that apply.
          6991 Hayden Run Rd                                            Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.579    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Kristy Brough                                              Check all that apply.
          416 Washington St                                             Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.580    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Tracy Browder                                              Check all that apply.
          5928 Emerald Lake Dr.                                         Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.581    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Amy Brown                                                  Check all that apply.
          2132 East Sand road                                           Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.582    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Anthony Brown                                              Check all that apply.
          23511 Chagrin Blvd 510                                        Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.583    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Bradley Brown                                              Check all that apply.
          1184 Catawba Bay Dr                                           Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.584    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Christie Brown                                             Check all that apply.
          9855 Breckenridge Dr.                                         Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.585    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Daniel Brown                                               Check all that apply.
          430 S. Walnut St.                                             Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.586    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Dave Brown                                                 Check all that apply.
          12307 Carroll Dr                                              Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.587    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          David Brown                                                Check all that apply.
          4782 Circle Drive                                             Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.588    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Jackie Brown                                               Check all that apply.
          6577 Solon blvd                                               Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.589    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $90.00    $90.00
          Jacque Brown                                               Check all that apply.
          115 Bard Dr                                                   Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.590    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Jacque Brown                                               Check all that apply.
          115 Bard Dr                                                   Contingent
          Hudson, OH 44236-3921                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.591    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Kara Brown                                                 Check all that apply.
          13450 walking stick lane                                      Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.592    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Kathleen Brown                                             Check all that apply.
          3665 Glenbar Dr                                               Contingent
          Fairview Park, OH 44126                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.593    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Kevin Brown                                                Check all that apply.
          217 Claridon Road                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.594    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Kimlicia Brown                                             Check all that apply.
          9977 Darrow Park Drive 212A                                   Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.595    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Marcia Brown                                               Check all that apply.
          7116 Hearthwood Drive                                         Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.596    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Patrick Brown                                              Check all that apply.
          829 Bayberry Dr NW                                            Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.597    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Patti Brown                                                Check all that apply.
          12025 Clark Rd                                                Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.598    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Roynette Brown                                             Check all that apply.
          3711 Mack Road H5                                             Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.599    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Ryan Brown                                                 Check all that apply.
          1835 Bishop Ln                                                Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.600    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Sandy Brown                                                Check all that apply.
          3478 Arbor Hill Lane                                          Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.601    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Sara Brown                                                 Check all that apply.
          412 pepper tree lane                                          Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.602    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Steven Brown                                               Check all that apply.
          2317 Leo ave sw                                               Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.603    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Tracy Brown                                                Check all that apply.
          251 Ohio st.                                                  Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.604    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Doug Brubaker                                              Check all that apply.
          14778 Thornton Dr.                                            Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.605    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Yayoi Brubeck                                              Check all that apply.
          3694 Kilkenny Dr.                                             Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.606    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Kristy Brueggeman                                          Check all that apply.
          6585 ivana ct                                                 Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.607    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $500.00    $500.00
          Mindy Brueggemann                                          Check all that apply.
          309 Reamer Place                                              Contingent
          Oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.608    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Patricia Bruemmer                                          Check all that apply.
          6208 Caribou Ct                                               Contingent
          Cincinnati, OH 45243-2906                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.609    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Heather Brumfield                                          Check all that apply.
          4697 crystal lake dr                                          Contingent
          hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.610    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Michael Bruner                                             Check all that apply.
          2862 Lakeview Ave                                             Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.611    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Jessica Brunn                                              Check all that apply.
          8557 Akins Road                                               Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.612    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Rhonda Brunney                                             Check all that apply.
          3411 Column Dr                                                Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.613    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Melissa Bruns                                              Check all that apply.
          3037 walnut grove dr                                          Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.614    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Ashley Bryant                                              Check all that apply.
          1406 Red Maple Drive                                          Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.615    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Bethany Bryant                                             Check all that apply.
          10172 Bissell Drive                                           Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.616    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Danielle Bryant                                            Check all that apply.
          33860 Country View Lane                                       Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.617    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Nikia Bryant                                               Check all that apply.
          5633 Van Wer Dr                                               Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.618    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Ross Bryndal                                               Check all that apply.
          4680 Marigold Rd                                              Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.619    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Meganne Brzygot                                            Check all that apply.
          5753 Piper Glen Drive                                         Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.620    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Courtney Buchner                                           Check all that apply.
          10234 Johnnycake Ridge Rd                                     Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.621    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jennifer Buckey                                            Check all that apply.
          8090 Conestoga Trl                                            Contingent
          Mentor, OH 44060-6870                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.622    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Craig Buckner                                              Check all that apply.
          4599 Brixshire Dr                                             Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.623    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Naomi Buehrle                                              Check all that apply.
          19781 Riverview Ave.                                          Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.624    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Patti Buell                                                Check all that apply.
          7361 cedar rd                                                 Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.625    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Angela Buerger                                             Check all that apply.
          3516 Alfred Ct                                                Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.626    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Lisa Buescher                                              Check all that apply.
          419 Bentleyville rd                                           Contingent
          Chagrin falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.627    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Emily Buffa                                                Check all that apply.
          12745 Kingston Way                                            Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.628    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Sheri Buirley                                              Check all that apply.
          8121 Jordan Valley Court                                      Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.629    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Jayna Bukvic                                               Check all that apply.
          2575 Easthaven dr.                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.630    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Patty Bumbalough                                           Check all that apply.
          5954 state route 292 north                                    Contingent
          zanesfield, OH 43360                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.631    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Alisha Bumgarner                                           Check all that apply.
          10144 Flagstone Dr.                                           Contingent
          Reminderville, OH 44087                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.632    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Emily Bundy                                                Check all that apply.
          7514 Forthampton Cir                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.633    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Andrea Bunting                                             Check all that apply.
          6652 Springmeadow Drive                                       Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.634    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Mariya Burban                                              Check all that apply.
          6821 iron gate drive                                          Contingent
          north royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.635    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          John Burchard                                              Check all that apply.
          264 Monticello Dr.                                            Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.636    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Christopher Burdick                                        Check all that apply.
          11932 Greyfriars Circle                                       Contingent
          North Royalton, OH 44133-6129                                 Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.637    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Cindy Burdick                                              Check all that apply.
          3273 Triplecrown Dr                                           Contingent
          North Bend, OH 45052                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.638    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Nicole Burgbacher                                          Check all that apply.
          1300 Red Maple Drive                                          Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.639    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Randy Burge                                                Check all that apply.
          107 Creswell Drive                                            Contingent
          Van Buren, OH 45889                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.640    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Steve Burger                                               Check all that apply.
          3937 Durango Green Dr.                                        Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.641    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Andrea Burgess                                             Check all that apply.
          1770 WRIGHT AVE                                               Contingent
          ROCKY RIVER, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.642    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          BevAnn Burgess                                             Check all that apply.
          216 Belle Ave NW                                              Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.643    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Kasie Burgess                                              Check all that apply.
          178 Sorrelwood Lane                                           Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.644    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Marie Burgess                                              Check all that apply.
          10362 Merriam Lane                                            Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.645    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $860.10    $860.10
          Roland Burghardt                                           Check all that apply.
          303 S. Ridge Ave                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.646    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Bob Burke                                                  Check all that apply.
          5876 Ogilby Drive                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.647    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Jennifer Burke                                             Check all that apply.
          5745 Argyle Drive                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.648    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Katy Burke                                                 Check all that apply.
          35780 Brushwood Dr.                                           Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.649    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Valerie Burke                                              Check all that apply.
          9444 Johnnycake Ridge                                         Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.650    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Jennifer Burkholder                                        Check all that apply.
          239 Park Road                                                 Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.651    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Margaret Burling                                           Check all that apply.
          6009 Heather Lane                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.652    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Christine Burlison                                         Check all that apply.
          11539 Woodiebrook rd.                                         Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.653    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Janet Burnett                                              Check all that apply.
          429 Hilliard Rd.                                              Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.654    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Matt Burnett                                               Check all that apply.
          770 Outrigger Cove                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.655    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Denene Burnette                                            Check all that apply.
          1790 Parker Lane                                              Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.656    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Dawn Burney                                                Check all that apply.
          7585 Pinecrest Lane                                           Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.657    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Amy Burns                                                  Check all that apply.
          2075 Maxwell Ave                                              Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.658    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Megan Burns                                                Check all that apply.
          7879 Woodview Ct.                                             Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.659    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Shelley Burns                                              Check all that apply.
          7663 Diagonal Rd                                              Contingent
          Kent, OH 44240                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.660    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Angelique Burnside                                         Check all that apply.
          2684 Columbia Trail                                           Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.661    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Angelique Burnside                                         Check all that apply.
          2684 Columbia Trail                                           Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.662    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Kathy Burnside                                             Check all that apply.
          661 Morris Rd.                                                Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.663    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Michelle Burr                                              Check all that apply.
          4051 Alton Darby Creek Rd                                     Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.664    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          BRIAN BURTON                                               Check all that apply.
          106 FLORAL COURT                                              Contingent
          ELYRIA, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.665    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Karl Busch                                                 Check all that apply.
          10216 Stonehedge Dr                                           Contingent
          Concord Township, OH 44077                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.666    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Francie Buschur                                            Check all that apply.
          6244 George Fox Drive                                         Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.667    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Allyson Bussey                                             Check all that apply.
          2887 Cheshire Cir SW                                          Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.668    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Maleeka Bussey                                             Check all that apply.
          2984 Trisch Cir                                               Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.669    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Amanda Bustle                                              Check all that apply.
          196 king ave                                                  Contingent
          south lebanon, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.670    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Breanne Buterbaugh                                         Check all that apply.
          2445 Olde Farm Lane                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.671    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Sharon Butina                                              Check all that apply.
          3001 Mayapple Drive                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.672    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $445.00    $445.00
          Racheal Butschie                                           Check all that apply.
          9818 Hickory Dr                                               Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.673    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Alison Buza                                                Check all that apply.
          11300 Somersetv Dr. #242D                                     Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.674    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Kara Buzzelli                                              Check all that apply.
          316 Simon Rd.                                                 Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.675    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Kara Buzzelli                                              Check all that apply.
          316 Simon Rd                                                  Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.676    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Jim Byall                                                  Check all that apply.
          21101 Morewood Pkwy                                           Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.677    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Hillary Byrer                                              Check all that apply.
          2320 Neff Lane                                                Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.678    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Hillary Byrer                                              Check all that apply.
          2320 Neff Lane                                                Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.679    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Erin Byrne                                                 Check all that apply.
          3180 Scioto Estates Court                                     Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.680    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Patricia Byrnes                                            Check all that apply.
          6963 Pennywhistle Circle                                      Contingent
          Concord Twp, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.681    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Patricia Byrnes                                            Check all that apply.
          6963 Pennywhistle Circle                                      Contingent
          Concord Twp, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.682    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Junior Cabrera                                             Check all that apply.
          1346 Mentor Ave # 514                                         Contingent
          Painsville, OH 44077                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.683    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Aizel Cabungcal                                            Check all that apply.
          2145 Omaha Place                                              Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.684    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Francisco Caceres                                          Check all that apply.
          6110 LAKOTA DR                                                Contingent
          CINCINNATI, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.685    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Dan Cahl                                                   Check all that apply.
          164 Nottingham Drive                                          Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.686    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Dee Cain                                                   Check all that apply.
          3035 Abrams dr                                                Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.687    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Karen Cain                                                 Check all that apply.
          1220 Orchard Park Dr.                                         Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.688    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Hanna Cajan                                                Check all that apply.
          7427 Woodyard Rd                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.689    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Lindsey Cake                                               Check all that apply.
          251 Princeton Ave                                             Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.690    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          JIM CALABRESE                                              Check all that apply.
          4293 charles ct                                               Contingent
          hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.691    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Samuel Calabrese                                           Check all that apply.
          302 Fox Way                                                   Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.692    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Chuck Calder                                               Check all that apply.
          91 W. Belmeadow Ln                                            Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.693    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Anabel Calderon                                            Check all that apply.
          201 N Hayes St                                                Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.694    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Michelle Calderwood                                        Check all that apply.
          1269 Homeland Drive                                           Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.695    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Julia Caldwell                                             Check all that apply.
          250 east state rd.                                            Contingent
          cincinnati, OH 45002                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.696    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Mollie Caldwell                                            Check all that apply.
          8882 Lakefield ct                                             Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.697    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Mike Calhoun                                               Check all that apply.
          14005 Painesville Warren Road                                 Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.698    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Teresa Calhoun                                             Check all that apply.
          1925 Buchtel Street                                           Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.699    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Amy Call                                                   Check all that apply.
          5613 Primavera Drive                                          Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.700    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Faith Call                                                 Check all that apply.
          2921 Delaware circle                                          Contingent
          Piqua, OH 45356                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.701    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Michelle Callahan                                          Check all that apply.
          9954 Windjammer Trail                                         Contingent
          Aurora, OH 44202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.702    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Paula Campanelli                                           Check all that apply.
          98 Aurora St                                                  Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.703    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Heidi Campbell                                             Check all that apply.
          13117 Kevin ln.                                               Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.704    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Deborah Campbell-sauer                                     Check all that apply.
          3537 oarlock ct                                               Contingent
          hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.705    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Jessica Campi                                              Check all that apply.
          2069 Jesse Dr                                                 Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.706    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Dina Campola                                               Check all that apply.
          11447 Viceroy Street                                          Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.707    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Ruth Campos                                                Check all that apply.
          10409 Fox Hollow Circle                                       Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.708    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Becky Camposo                                              Check all that apply.
          12111 Arborwood Way                                           Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.709    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Jen Canary                                                 Check all that apply.
          4417 Knickel Dr                                               Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.710    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Amy Candella                                               Check all that apply.
          560 Riverbend Ct                                              Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.711    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Monica Canestraro                                          Check all that apply.
          6618 Baronscourt Loop                                         Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.712    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jennie Canganelli                                          Check all that apply.
          7425 Jeremy Ave                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.713    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Melinda Canino                                             Check all that apply.
          3365 Wessex Ct.                                               Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.714    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $500.00    $500.00
          Cristina Canseco                                           Check all that apply.
          73 N Pleasant St                                              Contingent
          oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.715    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Amy Cantor                                                 Check all that apply.
          6883 Silkwood Ln                                              Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.716    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Giovanna Cantor                                            Check all that apply.
          37 SUGAR BUSH LN                                              Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.717    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Hope Cantrall                                              Check all that apply.
          8558 High Trail Ct                                            Contingent
          Mason, OH 45040                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.718    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Nicole Cantrell                                            Check all that apply.
          501 Manhattan Pkwy                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.719    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Jayme Cantu                                                Check all that apply.
          9793 west oak harbor southeast                                Contingent
          road                                                          Unliquidated
          Oak harbor, OH 43449                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.720    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Shannon Capers                                             Check all that apply.
          5977 Paron Place                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.721    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Thomas Cappello                                            Check all that apply.
          12049 Clay Street                                             Contingent
          Huntsburg, OH 44046                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.722    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Anthony Capuozzo                                           Check all that apply.
          26200 Zeman Avenue                                            Contingent
          Euclid, OH 44132                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.723    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Patricia Caputo                                            Check all that apply.
          7400 VALERIE LN                                               Contingent
          HUDSON, OH 44236-1824                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.724    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Patricia Caputo                                            Check all that apply.
          7400 Valerie Lane                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.725    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Miguel Caraballo                                           Check all that apply.
          P.O. Box 602748                                               Contingent
          Cleveland, OH 44102                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.726    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Phil Carbone                                               Check all that apply.
          451 Birchwood Lane                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.727    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Phil Carbone                                               Check all that apply.
          451 Birchwood Lane                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.728    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Jodi Carcamo                                               Check all that apply.
          7965 Gladshire Blvd                                           Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.729    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Tara Carcioppolo                                           Check all that apply.
          6910 S Camelot Dr                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.730    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Angela Cardwell                                            Check all that apply.
          8826 Crestwater Dr                                            Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.731    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Krista Carl                                                Check all that apply.
          5221 LYNNCREST STREET SW                                      Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.732    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Krista Carlozzi                                            Check all that apply.
          6480 Liberty Rd                                               Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.733    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Ronald Carlson                                             Check all that apply.
          850 Outrigger Cove                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.734    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Ronald Carlson                                             Check all that apply.
          850 Outrigger Cove                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.735    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Ronald Carlson                                             Check all that apply.
          850 Outrigger Cove                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.736    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Shelly Carlson                                             Check all that apply.
          9900 Pebble Beach Cove                                        Contingent
          Aurora, OH 44202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.737    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Roberta Carlton                                            Check all that apply.
          6275 Sharondale Dr                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.738    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          JoEllen Carlucci                                           Check all that apply.
          1467 GOLDEN LN                                                Contingent
          BROADVIEW HEIGHTS, OH 44147                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.739    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          LaVona Carpenter                                           Check all that apply.
          22674 Halburton Road                                          Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.740    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Stacey Carpenter                                           Check all that apply.
          116 E. Spruce Ave.                                            Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.741    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Peter Carper                                               Check all that apply.
          129 Wrexham ave sw C                                          Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.742    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Elaine Carr                                                Check all that apply.
          1620 Deer Creek Dr                                            Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.743    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Elaine Carr                                                Check all that apply.
          1620 Deer Creek Dr                                            Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.744    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Shari Carr                                                 Check all that apply.
          12430 willshire ln                                            Contingent
          chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.745    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Erica Carrano                                              Check all that apply.
          3700 Fox Hunt Trail                                           Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.746    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Tammy Carrington                                           Check all that apply.
          2203 Pebble creek dr apt 102I                                 Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.747    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Christin Carroll                                           Check all that apply.
          10171 Weathersfield Drive                                     Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.748    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Elizabeth Carroll                                          Check all that apply.
          433 north Main street                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.749    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          LETITIA CARROLL                                            Check all that apply.
          13026 HAMPTON CLUB DRIVE                                      Contingent
          #103                                                          Unliquidated
          NORTH ROYALTON, OH 44133                                      Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.750    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Michele Carroll                                            Check all that apply.
          1888 Lakeshore Drive                                          Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.751    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Kim Carson                                                 Check all that apply.
          8815 Meadow Grass Ln                                          Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.752    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Roberta Carson                                             Check all that apply.
          8691 Camelot Dr                                               Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.753    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Theresa Carson                                             Check all that apply.
          11120 Clark Rd                                                Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.754    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Jessica Carter                                             Check all that apply.
          611 Perry Dr NW                                               Contingent
          Canton, OH 44708                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.755    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          JULIE CARTER                                               Check all that apply.
          17 E. Water St.                                               Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.756    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Scott Carter                                               Check all that apply.
          21261 Maplewood Ave                                           Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.757    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Susan Carter                                               Check all that apply.
          205 newpine drive                                             Contingent
          CLEVES, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.758    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Wayne Carter                                               Check all that apply.
          725 N Detroit st                                              Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.759    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Lindsay Caruso                                             Check all that apply.
          1161 Bunker Hill Blvd Apt B                                   Contingent
          Columbus, OH 43220                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.760    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Orestes Carvalho                                           Check all that apply.
          5016 Lake View Dr                                             Contingent
          Peninsula, OH 44264                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.761    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Becky Carver                                               Check all that apply.
          5301 Royalwood Rd Apt 202                                     Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.762    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Deena Casagrande                                           Check all that apply.
          4572 Wyndtree Drive #161                                      Contingent
          West Chester, OH 45069                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.763    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Rachel Casanta                                             Check all that apply.
          1746 River Shore ct                                           Contingent
          Kings Mills, OH 45034                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.764    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          MARINA CASEY                                               Check all that apply.
          10622 YORK ROAD                                               Contingent
          NORTH ROYALTON, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.765    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Jeff Cashell                                               Check all that apply.
          4754 Coltview Ct                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.766    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Michelle Cashier                                           Check all that apply.
          7271 Julia Dr                                                 Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.767    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Alicia Cassady                                             Check all that apply.
          276 Bon air ave                                               Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.768    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Jennifer Casselberry                                       Check all that apply.
          4111 Shepler Church Ave SW                                    Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.769    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Brittney Cassell                                           Check all that apply.
          7680 Dog Trot rd                                              Contingent
          Cincinnati, OH 45248                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.770    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Tracy Castelluccio                                         Check all that apply.
          135 Grey Fox Run                                              Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.771    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Tara Catalano                                              Check all that apply.
          13123 Marilyn Dr                                              Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.772    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Kristen Catania                                            Check all that apply.
          41 Ambrose Drive                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.773    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Kristen Catania                                            Check all that apply.
          41 Ambrose Drive                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.774    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Jenny Catoe                                                Check all that apply.
          100 Ambrose Drive                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.775    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Jenny Catoe                                                Check all that apply.
          100 Ambrose Drive                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.776    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Jennifer Catri                                             Check all that apply.
          7605 Berks Way                                                Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.777    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          CHRIS CATRON                                               Check all that apply.
          2624 RUNWAY AVE                                               Contingent
          BETHEL, OH 45106                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.778    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Ernie Cavasinni                                            Check all that apply.
          12610 Hovey Drive                                             Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.779    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Kris Cave                                                  Check all that apply.
          3793 Wenwood Dr                                               Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.780    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Angie Cavera                                               Check all that apply.
          520 McKinley Dr.                                              Contingent
          Bowling Green, OH 43402                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.781    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Angie Cavera                                               Check all that apply.
          520 McKinley Dr.                                              Contingent
          Bowling Green, OH 43402                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.782    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Julie Ceccanese                                            Check all that apply.
          2671 Lombardi Ave                                             Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.783    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Michelle Cecconi                                           Check all that apply.
          7358 Beechwood Dr                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.784    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Tonya Cecil                                                Check all that apply.
          7727 Feder Rd                                                 Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.785    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Rubina Celeste                                             Check all that apply.
          5872 Birch Lane                                               Contingent
          Mentor-on-the-Lake, OH 44060                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.786    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Romi Celleghin                                             Check all that apply.
          23580 Bryden Rd.                                              Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.787    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Karen Censoprano                                           Check all that apply.
          7574 Elderkin Court                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.788    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Karen Censoprano                                           Check all that apply.
          7574 Elderkin Court                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.789    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Katrina Centeno                                            Check all that apply.
          1029 Eileen ave. Sw                                           Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.790    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          April Centric                                              Check all that apply.
          3167 Kaylyn lane                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.791    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          April Centric                                              Check all that apply.
          3167 Kaylyn lane                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.792    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Susan Cerny                                                Check all that apply.
          13951 Aspen Oval                                              Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.793    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Tanya Cerrato                                              Check all that apply.
          10155 Foxwood Dr.                                             Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.794    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Andrea Cerutti                                             Check all that apply.
          2211 Jesse Drive 2211 Jesse Drive                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.795    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Tammera Cervi                                              Check all that apply.
          8011 Coldharbor Blvd                                          Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.796    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Ilene Cesa                                                 Check all that apply.
          14024 Sweetbriar Lane                                         Contingent
          Novelty, OH 44072                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.797    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Lacy Chadwick                                              Check all that apply.
          1276 Glen cove way                                            Contingent
          Columbus, OH 43204                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.798    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Shannon Chadwick                                           Check all that apply.
          12665 Hovey Dr                                                Contingent
          chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.799    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $1,022.40    $1,022.40
          JAGANNATH Chalasani                                        Check all that apply.
          8836 Emerald hill dr                                          Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.800    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Brian Chalfin                                              Check all that apply.
          9426 Concord Ct                                               Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.801    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $500.00    $500.00
          Heidi Chambers                                             Check all that apply.
          14050 West Rd.                                                Contingent
          Oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.802    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Keiona Chambers                                            Check all that apply.
          1135 Reese ave                                                Contingent
          Lima, OH 45804                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.803    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Amylynn Chamblin                                           Check all that apply.
          2975 stonequarry rd                                           Contingent
          Dayton, OH 45414                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.804    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Caijian Chan                                               Check all that apply.
          6549 Copley Ave                                               Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.805    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Tamara Chandler                                            Check all that apply.
          54 Cohasset Drive                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.806    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Amy Chaney                                                 Check all that apply.
          4656 Crystal Ball Drive                                       Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.807    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Christina Chaney                                           Check all that apply.
          728 N Dorset Drive                                            Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.808    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Niki Chaney                                                Check all that apply.
          740 Chappel Creek Court                                       Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.809    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Ann Chang                                                  Check all that apply.
          28937 N. Village Ln.                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.810    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Amy Chapman                                                Check all that apply.
          1535 Greenfield LN                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.811    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Elizabeth Chapman                                          Check all that apply.
          7853 Zion Hill Rd                                             Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.812    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Janel Chapman                                              Check all that apply.
          7525 Hayden Run Rd                                            Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.813    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Sarah Chapman                                              Check all that apply.
          312 W Third St                                                Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.814    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Tamra Chapman                                              Check all that apply.
          6174 Meadow Wood Ln                                           Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.815    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Maria Charles                                              Check all that apply.
          13295 Spruce Run Dr Apt 102                                   Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.816    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Dianne Charlton                                            Check all that apply.
          6235 Chagrin River Rd                                         Contingent
          Bentleyville, OH 44022                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.817    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Linda Charlton                                             Check all that apply.
          1572 Valley Crest Drive                                       Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.818    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Courtney Charney                                           Check all that apply.
          8 Eleven River                                                Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.819    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Erica Charriere                                            Check all that apply.
          7190 Jonathan Drive                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.820    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Catherine Chase                                            Check all that apply.
          1511 lyndhurst rd                                             Contingent
          Lyndhurst, OH 44124                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.821    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Rebecca Chatman                                            Check all that apply.
          153 Edgefield Drive                                           Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.822    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Sara Cheeseman                                             Check all that apply.
          787 Mary Lane Ext                                             Contingent
          South Lebanon, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.823    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Enxin Chen                                                 Check all that apply.
          6190 Glade Run Rd                                             Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.824    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Su Chen                                                    Check all that apply.
          6216 Tall Oaks Dr                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.825    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Shirley Cheng                                              Check all that apply.
          23402 Greenlawn Ave.                                          Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.826    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Victoria Chepelsky                                         Check all that apply.
          1400 SEARAY CV                                                Contingent
          PAINESVILLE, OH 44077-7916                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.827    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Rachel Cherubini                                           Check all that apply.
          7477 Bent Oak Court                                           Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.828    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Jason Chesko                                               Check all that apply.
          1880 Quail Nest Ct                                            Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.829    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Jason Chesko                                               Check all that apply.
          1880 Quail Nest Ct                                            Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.830    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Mark Chesser                                               Check all that apply.
          382 wilson mills rd.                                          Contingent
          chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.831    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Virgil Chichernea                                          Check all that apply.
          7692 St. James Dr.                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.832    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Samantha Childress                                         Check all that apply.
          6001 marine parkway Apt G106                                  Contingent
          Mentor on the lake, OH 44060                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.833    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Ellen Childs                                               Check all that apply.
          8605 Doris Place                                              Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.834    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Adam Chioromonte                                           Check all that apply.
          12574 ward drive                                              Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.835    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Ryan Chipley                                               Check all that apply.
          2431 RENWICK WAY                                              Contingent
          TROY, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.836    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Umesh Chitnis                                              Check all that apply.
          33085 Seneca Dr                                               Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.837    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Jeff CHITWOOD                                              Check all that apply.
          7870 DEERHURST PL                                             Contingent
          MAINEVILLE, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.838    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          David Chizek                                               Check all that apply.
          23919 edgehill dr                                             Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.839    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Seung Choi                                                 Check all that apply.
          13258 SPRUCE RUN DR Apt.102                                   Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.840    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Heather Chollett                                           Check all that apply.
          112 Gentry Ct                                                 Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.841    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Sonja Chom-Cesen                                           Check all that apply.
          130 Hickory Hill Rd                                           Contingent
          Painesville, OH 44077-5138                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.842    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Sonja Chom-Cesen                                           Check all that apply.
          130 Hickory Hill Rd                                           Contingent
          Painesville, OH 44077-5138                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.843    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Vikas Chopra                                               Check all that apply.
          8801 Honey Ash                                                Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.844    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Colleen Christensen                                        Check all that apply.
          1354 Bridget Lane                                             Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.845    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Matt Christian                                             Check all that apply.
          7360 Davis Rd                                                 Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.846    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Natalie Christie                                           Check all that apply.
          11780 Julie Drive                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.847    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Michael Chuparkoff                                         Check all that apply.
          196 Brandywine Drive                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.848    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Niki Churchwell                                            Check all that apply.
          7752 Oxgate Ct.                                               Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.849    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Heather Cigoi                                              Check all that apply.
          1461 Parkview Lane                                            Contingent
          Broadview Hts, OH 44147                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.850    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Jennifer Cimperman                                         Check all that apply.
          33 Westover Dr.                                               Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.851    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Alieta Ciocea                                              Check all that apply.
          9801 Sunrise Blvd. O-30                                       Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.852    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Rochelle Ciora                                             Check all that apply.
          11820 Jason Ave                                               Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.853    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Joe Cipolletti                                             Check all that apply.
          6501 wilson mills rd                                          Contingent
          Mayfield Village, OH 44143                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.854    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Joe Cipolletti                                             Check all that apply.
          6501 wilson mills rd                                          Contingent
          Mayfield Village, OH 44143                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.855    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Joe Cipolletti                                             Check all that apply.
          6501 wilson mills rd                                          Contingent
          Mayfield Village, OH 44143                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.856    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Joe Cipolletti                                             Check all that apply.
          6501 wilson mills rd                                          Contingent
          Mayfield Village, OH 44143                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.857    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $463.65    $463.65
          City of Mayfield Heights                                   Check all that apply.
          6154 Mayfield Road                                            Contingent
          Mayfield Heights, OH 44124                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2018                                                       withholding
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.858    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Andrea Ciulli                                              Check all that apply.
          3193 Meadow Lane                                              Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.859    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Tammy Clague                                               Check all that apply.
          489 Crocker Blvd.                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.860    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Kate Clancy-LeVan                                          Check all that apply.
          139 Bersham Dr                                                Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.861    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Jennifer Clapper                                           Check all that apply.
          2247 Olde Farm Lane                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.862    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Chris Clark                                                Check all that apply.
          65 Greentree Road                                             Contingent
          Moreland Hills, OH 44022                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.863    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Christine Clark                                            Check all that apply.
          9815 TUDOR PL                                                 Contingent
          CHARDON, OH 44024-8514                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.864    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Christine Clark                                            Check all that apply.
          7626 Manor Dr                                                 Contingent
          Mentor-on-the-Lake, OH 44060                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.865    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Crystal Clark                                              Check all that apply.
          1770 Township Road 232                                        Contingent
          Van Buren, OH 45889                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.866    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Dawn Clark                                                 Check all that apply.
          8680 Camelot Drive                                            Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.867    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Jeff Clark                                                 Check all that apply.
          100 Greentree Rd                                              Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.868    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Keith Clark                                                Check all that apply.
          24106 e baintree                                              Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.869    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Krista Clark                                               Check all that apply.
          6242 Fulsher Lane                                             Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.870    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Mark Clark                                                 Check all that apply.
          5800 Springwood Court                                         Contingent
          Mentor on the Lake, OH 44060                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.871    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Marsha Clark                                               Check all that apply.
          4679 RAVEN CT                                                 Contingent
          HILLIARD, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.872    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Nickolas Clark                                             Check all that apply.
          8090 Royalton Rd 185                                          Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.873    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Paul Clark                                                 Check all that apply.
          11090 abbey rd                                                Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.874    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Rebecca Clark                                              Check all that apply.
          9394 Old Village Drive                                        Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.875    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Roy Clark                                                  Check all that apply.
          9505 Hinsdale                                                 Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.876    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Tiffany Clark                                              Check all that apply.
          383 barlow                                                    Contingent
          hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.877    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          William Clark                                              Check all that apply.
          809 w third st                                                Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.878    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Cathie Clarke                                              Check all that apply.
          7146 N Jester Pl                                              Contingent
          Concord Twp, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.879    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jeffrey Clarke                                             Check all that apply.
          7095 Windmill Lane                                            Contingent
          Concord, OH 44060                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.880    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Mary Clarke                                                Check all that apply.
          67 great oak drive                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.881    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Cathy Clary                                                Check all that apply.
          1375 Aniko Ave                                                Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.882    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $500.00    $500.00
          Becky Clawson                                              Check all that apply.
          763 E Lorain St                                               Contingent
          Oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.883    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $829.20    $829.20
          Dave Clawson                                               Check all that apply.
          1955 Fox Run                                                  Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.884    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Dave Clawson                                               Check all that apply.
          1955 Fox Run                                                  Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.885    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Danielle Clay                                              Check all that apply.
          23513 Fairmount Blvd                                          Contingent
          Shaker Heights, OH 44122-2261                                 Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.886    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Josh Clay                                                  Check all that apply.
          3282 Jupiter Dr                                               Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.887    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Holly Clayton                                              Check all that apply.
          635 Georgetown Ave.                                           Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.888    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Kimberly Clayton                                           Check all that apply.
          7643 Bridgetown Road                                          Contingent
          Cincinnati, OH 45248                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.889    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Stacey Clayton                                             Check all that apply.
          1224 Reservoir Road                                           Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.890    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Natalie Clemens                                            Check all that apply.
          7615 Yennicook Way                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.891    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Danielle Clement                                           Check all that apply.
          1711 Poplar Lane                                              Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.892    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Kent Clemson                                               Check all that apply.
          14732 rock creek                                              Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.893    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Margaret Cleveland                                         Check all that apply.
          10111 Pirates Trl                                             Contingent
          Aurora, OH 44202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.894    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Debra Clevenger                                            Check all that apply.
          107 Kings Chapel DR S                                         Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.895    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Tom Clifford                                               Check all that apply.
          7395 Ravenna Rd                                               Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.896    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Astrid Cline                                               Check all that apply.
          4380 river rd                                                 Contingent
          fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.897    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          JoEllen Cline                                              Check all that apply.
          4365 Kendale Court                                            Contingent
          Columbus, OH 43220                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.898    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Joy Cline                                                  Check all that apply.
          3105 Andrew James Dr                                          Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.899    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Joy Cline                                                  Check all that apply.
          3105 Andrew James Dr                                          Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.900    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          LAURA CLINE                                                Check all that apply.
          9436 MONTICELLO DRIVE                                         Contingent
          TWINSBURG, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.901    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Kelli Close                                                Check all that apply.
          347 Scala Drive                                               Contingent
          Stow, OH 44224                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.902    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Kelli Close                                                Check all that apply.
          347 Scala Drive                                               Contingent
          Stow, OH 44224                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.903    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Nicole Clouser                                             Check all that apply.
          7590 Pelham Drive                                             Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.904    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $1,049.20    $1,049.20
          Sherri Clute                                               Check all that apply.
          2418 Rufus Ct.                                                Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.905    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Maria Coble                                                Check all that apply.
          12906 WOODIN RD                                               Contingent
          CHARDON, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.906    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Ellen Cochran                                              Check all that apply.
          13965 Chillicothe Road                                        Contingent
          Novelty, OH 44072                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.907    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Renee Cochran                                              Check all that apply.
          10477 Penton Court                                            Contingent
          Reminderville, OH 44202                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.908    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Andrei Cocieru                                             Check all that apply.
          35 Steepleview Dr                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.909    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Dawn Cockerham                                             Check all that apply.
          336 Pleasant Dr                                               Contingent
          South Lebanon, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.910    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Tara Codella                                               Check all that apply.
          91 Keswick Dr                                                 Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.911    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          KC Coe                                                     Check all that apply.
          3500 Turnberry Dr.                                            Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.912    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Sandra Coelho                                              Check all that apply.
          3484 Darby Glen Blvd                                          Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.913    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Anne Coffey                                                Check all that apply.
          180 Kenton Road                                               Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.914    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          JOLIE COFFEY                                               Check all that apply.
          13535 TOWNSHIP ROAD 218                                       Contingent
          VAN BUREN, OH 45889                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.915    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Kelly Coffey                                               Check all that apply.
          3 Desales ct                                                  Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.916    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Jeffrey Cohen                                              Check all that apply.
          7547 MIAMI AVE                                                Contingent
          CINCINNATI, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.917    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Robert Cohen                                               Check all that apply.
          32693 jefferson dr                                            Contingent
          solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.918    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Linda Cohn                                                 Check all that apply.
          6681 Edgemoor Avenue                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.919    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Kimberly Cola                                              Check all that apply.
          6355 Clearair Dr                                              Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.920    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Michael Colabianchi                                        Check all that apply.
          9531 Rainbow Lane                                             Contingent
          NORTH ROYALTON, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.921    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Meg Colafella                                              Check all that apply.
          289 Bicknell Drive                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.922    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Scott Colburn                                              Check all that apply.
          2857 Standish Ave SW                                          Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.923    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Kelly Cole                                                 Check all that apply.
          2457 Middleton Road                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.924    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          William Cole                                               Check all that apply.
          1904 Westwood Drive                                           Contingent
          Lewis CENTER, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.925    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Ben Collado                                                Check all that apply.
          10 Bryn Mawr Dr                                               Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.926    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Isabel Collica                                             Check all that apply.
          10252 Spinnaker Run                                           Contingent
          Aurora, OH 44202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.927    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Dan Collins                                                Check all that apply.
          8060 Barberry Hill Dr.                                        Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.928    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Elizabeth Collins                                          Check all that apply.
          7330 Dixon dr                                                 Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.929    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Jessie Collins                                             Check all that apply.
          3054 Dunlavin Glen Rd.                                        Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.930    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Kelly Collins                                              Check all that apply.
          24 Prescott Drive                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.931    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Kristin Collins                                            Check all that apply.
          5175 Devontry Ln.                                             Contingent
          Columbus, OH 43220                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.932    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $285.00    $285.00
          Mark Collins                                               Check all that apply.
          1051 Arrowhead Drive                                          Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.933    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Megan Collins                                              Check all that apply.
          8352 Union Drive                                              Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.934    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Tammi Collins                                              Check all that apply.
          3447 S Green Rd apt 12B                                       Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.935    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Tara Colombini                                             Check all that apply.
          2770 Lake Hollow Rd                                           Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.936    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Melissa Colucci-Hayes                                      Check all that apply.
          8488 Misty Woods Cir                                          Contingent
          Powell, OH 43065                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.937    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Nancy Colvin                                               Check all that apply.
          5155 BRITTON FARMS DR                                         Contingent
          HILLIARD, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.938    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Jane Comber                                                Check all that apply.
          36895 Halton Court                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.939    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Steve Combs                                                Check all that apply.
          3550 Townsley Drive                                           Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.940    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Paul Comfort                                               Check all that apply.
          726 Coy Ln                                                    Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.941    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Julie Compliment                                           Check all that apply.
          2520 State Route 718                                          Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.942    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jim Compton                                                Check all that apply.
          8150 Chadwick Ct.                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.943    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Melanie Comstock                                           Check all that apply.
          7623 Newton Drive                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.944    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Melanie Conaway                                            Check all that apply.
          689 Mystic Pointe Drive                                       Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.945    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Marica Condric                                             Check all that apply.
          7865 St. James Dr.                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.946    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Kim Coneglio                                               Check all that apply.
          13024 W Geauga Trail                                          Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.947    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Melissa Confer                                             Check all that apply.
          7010 BEAGLE CT                                                Contingent
          HAMILTON, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.948    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Jennifer Congdon                                           Check all that apply.
          7640 Northwick Court                                          Contingent
          Novelty, OH 44072                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.949    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Amanda Conley                                              Check all that apply.
          565 Linwood Dr                                                Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.950    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Amanda Conley                                              Check all that apply.
          565 Linwood Dr                                                Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.951    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Holly Conley                                               Check all that apply.
          1517 White Ash Dr.                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.952    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Lena Conley                                                Check all that apply.
          3205 Longspur Drive                                           Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.953    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Lena Conley                                                Check all that apply.
          3205 Longspur Drive                                           Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.954    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Traci Conley                                               Check all that apply.
          16191 Sherwood road                                           Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.955    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Heather Conn-Lawrence                                      Check all that apply.
          1756 Hickory Hill Dr                                          Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.956    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Elizabeth Connell                                          Check all that apply.
          3663 GOLDENROD ST                                             Contingent
          HILLIARD, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.957    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Tiffany Connelly                                           Check all that apply.
          21114 Stratford Ave                                           Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.958    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Laura Conner                                               Check all that apply.
          6511 Euclid Avenue                                            Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.959    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Brian Connor                                               Check all that apply.
          26310 North Woodland Rd                                       Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.960    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Charles Conrad                                             Check all that apply.
          1603 Orchard Grove Avenue                                     Contingent
          Lakewood, OH 44107                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.961    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Heather Conrad                                             Check all that apply.
          4984 Britton Farms Dr                                         Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.962    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Michael Conrad                                             Check all that apply.
          1725 Blempoton Rd NW                                          Contingent
          Massillion, OH 44646                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.963    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Alex Constable                                             Check all that apply.
          7332 Granby                                                   Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.964    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Barbara Contorno                                           Check all that apply.
          6350 Fay rd                                                   Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.965    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Amy H Conway                                               Check all that apply.
          11 Chelsea Court                                              Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.966    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Letra Conwell                                              Check all that apply.
          938 forestbrook                                               Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.967    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Eric Coode                                                 Check all that apply.
          10120 Pinecrest Rd                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.968    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Ann Cook                                                   Check all that apply.
          2655 Aikin Circle South                                       Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.969    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Barbara Cook                                               Check all that apply.
          6494 Glenallen Ave                                            Contingent
          Solon, OH 44139-4007                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.970    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Christine Cook                                             Check all that apply.
          7644 Appleblossom Lane                                        Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.971    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Jennifer Cook                                              Check all that apply.
          7427 Hudson Park Dr                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.972    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $90.00    $90.00
          Violet Cook                                                Check all that apply.
          100 Keenan Rd. Lot Cedar 29                                   Contingent
          Penisnula, OH 44264                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.973    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Amanda Cooke                                               Check all that apply.
          1077 Hornsby Dr                                               Contingent
          Columbus, OH 43240                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.974    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Julia Cooke                                                Check all that apply.
          415 Creekborough Ct.                                          Contingent
          South Lebanon, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.975    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Jonathan Coombes                                           Check all that apply.
          8418 E WOODLAND TRL                                           Contingent
          FINDLAY, OH 45840-7745                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.976    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          David Cooney                                               Check all that apply.
          10531 Bentley Drive                                           Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.977    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Christina Cooper                                           Check all that apply.
          3352 Mill Run Drive                                           Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.978    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Danielle Cooper                                            Check all that apply.
          7834 Curberry Dr                                              Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.979    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Michael Cooper                                             Check all that apply.
          242 Roxboro Rd                                                Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.980    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Stephanie Cooper                                           Check all that apply.
          5975 Dunlap Rd                                                Contingent
          Cincinnati, OH 45252                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.981    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Sarah Corbett                                              Check all that apply.
          1124 Michigan                                                 Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.982    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Laurie Corbin                                              Check all that apply.
          1250 Manor Ave SW                                             Contingent
          Canton, OH 44710                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.983    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Amanda Corcino                                             Check all that apply.
          901 Douglas St                                                Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.984    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $330.00    $330.00
          Aubrey Corcoran                                            Check all that apply.
          424 Creekborough Ct.                                          Contingent
          South Lebanon, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.985    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Michelle Cordle                                            Check all that apply.
          3880 Farm Brook Lane                                          Contingent
          Columbus, OH 43204                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.986    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Curt Cordray                                               Check all that apply.
          5452 Grace drive                                              Contingent
          mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.987    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $337.50    $337.50
          Clifton Core                                               Check all that apply.
          517 East Brown Avenue                                         Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.988    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $337.50    $337.50
          Clifton Core                                               Check all that apply.
          517 East Brown Avenue                                         Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.989    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Effie Core                                                 Check all that apply.
          5999 Waterview Drive                                          Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.990    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Roger Corey                                                Check all that apply.
          2360 Rufus Court                                              Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.991    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Bevin Cormack                                              Check all that apply.
          12855 Opalocka Dr                                             Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.992    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Jessica Cornell                                            Check all that apply.
          123 Elm Street                                                Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.993    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Debbie Corona                                              Check all that apply.
          13061 Mariner Dr.                                             Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.994    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Lindsey Corrigan                                           Check all that apply.
          8 Meadowlawn Drive Unit 22                                    Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.995    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Natasha Corrigan                                           Check all that apply.
          1128 westridge dr                                             Contingent
          Troy, OH 45373-3831                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.996    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Natasha Corrigan                                           Check all that apply.
          1128 westridge dr                                             Contingent
          Troy, OH 45373-3831                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.997    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Billie Corson                                              Check all that apply.
          3047 Gilridge Drive                                           Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.998    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Doug Corwin                                                Check all that apply.
          105 Beech Ave                                                 Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.999     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Douglas Corwin                                            Check all that apply.
           7589 Bishop Court                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1000    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Leonard Cosentino                                         Check all that apply.
           7640 Holyoke Avenue                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1001    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Tabitha Cote                                              Check all that apply.
           1411 Rolling Meadows Drive                                   Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1002    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Mary Cottom                                               Check all that apply.
           19463 Rye Gate Dr                                            Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1003    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Candice Cottongim                                         Check all that apply.
           254 Ilene Avenue                                             Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1004    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Jill Cottrill                                             Check all that apply.
           4653 Crystal Clear Drive                                     Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1005    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Kimberly Couch                                            Check all that apply.
           7594 Fern Drive                                              Contingent
           Mentor on the Lake, OH                                       Unliquidated
           44060-3213                                                   Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1006    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Margaret Couch                                            Check all that apply.
           5238 Maple Springs Dr                                        Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1007    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Jodi Coughlin                                             Check all that apply.
           9942 High Country Drive                                      Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1008    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Sheila Counts                                             Check all that apply.
           3487 Topgallant Ct                                           Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1009    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Christine Courtwright                                     Check all that apply.
           1050 Bates Road                                              Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1010    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Rhonda Coutinho                                           Check all that apply.
           7334 Township Road 212                                       Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1011    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Rhonda Coutinho                                           Check all that apply.
           7334 Township Road 212                                       Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1012    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Heather Covill                                            Check all that apply.
           1801 sedwick ave nw                                          Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1013    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Krystal Covington                                         Check all that apply.
           2285 Rockingham Dr                                           Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1014    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Rich Cowie                                                Check all that apply.
           6138 Norwood Dr                                              Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1015    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           James Cowin                                               Check all that apply.
           681 Spring Valley Dr                                         Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1016    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Diane Cowles                                              Check all that apply.
           12628 Harold Drive                                           Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1017    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Michael Cox                                               Check all that apply.
           1326 Chelsea Rd                                              Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1018    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Betsy Coy                                                 Check all that apply.
           190 Senlac Hills Drive                                       Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1019    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Matthew Coy                                               Check all that apply.
           7846 Pinehill Road                                           Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1020    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Catherine Coyne                                           Check all that apply.
           6036 Reynolds Road                                           Contingent
           Mentor on the Lake, OH 44060                                 Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1021    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Colin Coyne                                               Check all that apply.
           20995 Hilliard Blvd.                                         Contingent
           ROCKY RIVER, OH 44116-3310                                   Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1022    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Monica Cozmyk                                             Check all that apply.
           9621 Applewood Dr                                            Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1023    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Rebecca Cozzens                                           Check all that apply.
           9361 Chesapeake Drive                                        Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1024    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Darren Craddock                                           Check all that apply.
           6035 Heritage Farms Drive                                    Contingent
           HILLIARD, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1025    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Donna Craddock                                            Check all that apply.
           PO Box 563                                                   Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1026    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Ronald Craft                                              Check all that apply.
           150 Littlejohn Road                                          Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1027    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Donn Craig                                                Check all that apply.
           810 Branford Rd                                              Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1028    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kim Craig                                                 Check all that apply.
           113 Tinkers Trail                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1029    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Mark Craig                                                Check all that apply.
           5120 Leona Ave SW                                            Contingent
           Navarre, OH 44662                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1030    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Jaclyn Cramer                                             Check all that apply.
           4207 Pueblo drive                                            Contingent
           Lorain, OH 44053                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1031    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Pam Cramer                                                Check all that apply.
           6121 Glenworth Ct.                                           Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1032    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Stephanie Cramer                                          Check all that apply.
           8600 Township Road 112                                       Contingent
           McComb, OH 45858                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1033    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Stephanie Cramer                                          Check all that apply.
           8600 Township Road 112                                       Contingent
           McComb, OH 45858                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1034    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Roleen Crane                                              Check all that apply.
           6400 CREEKSIDE TRL                                           Contingent
           SOLON, OH 44139-3104                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1035    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $475.00    $475.00
           Angela Crawford                                           Check all that apply.
           4777 Hoseah St                                               Contingent
           Columbus, OH 43228                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1036    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Danielle Crawford                                         Check all that apply.
           5799 Privilege Dr                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1037    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Elizabeth Crawford                                        Check all that apply.
           6400 center st #89                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1038    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $890.30    $890.30
           Jennifer Crawford                                         Check all that apply.
           2505 Seneca Dr.                                              Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1039    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jennifer Crawford                                         Check all that apply.
           2505 Seneca Dr.                                              Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1040    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Sandee Crawford                                           Check all that apply.
           1196 Autumn Run Drive                                        Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1041    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Paul Creel                                                Check all that apply.
           23206 Cedar rd                                               Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1042    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Katie Creveling                                           Check all that apply.
           63 Lincoln Blvd.                                             Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1043    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Maria Creviston                                           Check all that apply.
           13630 Braeburn Lane                                          Contingent
           Russell Center, OH 44072                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1044    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Crystal Crews                                             Check all that apply.
           6402 Brooks Blvd                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1045    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Lacee Cripe                                               Check all that apply.
           410 Old Willow Ct.                                           Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1046    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Anita Crnjac                                              Check all that apply.
           11580 Moon Beam                                              Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1047    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Anita Crnjac                                              Check all that apply.
           11580 Moon Beam                                              Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1048    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Kathryn Croasdaile                                        Check all that apply.
           315 Grey Fox Run                                             Contingent
           chagrin falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1049    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Chet Croce                                                Check all that apply.
           5880 Privilege Dr.                                           Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1050    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Raylene Crofts                                            Check all that apply.
           873 Wilder Ave                                               Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1051    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Chad Cron                                                 Check all that apply.
           9635 Kelly Dr                                                Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1052    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Jason Crook                                               Check all that apply.
           828 Ashbrooke Way                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1053    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Tarra Crook                                               Check all that apply.
           2810 E. Cove Ct.                                             Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1054    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Becki Crookston                                           Check all that apply.
           3128 Roanoke St. NW                                          Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1055    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Bunista Cropenbaker                                       Check all that apply.
           3050 Drew Dr.                                                Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1056    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           James Crosby                                              Check all that apply.
           2530 Richmond Rd                                             Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1057    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Kimberly Cross                                            Check all that apply.
           6055 Hampton Corners South                                   Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1058    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Scott Cross                                               Check all that apply.
           6406 Westward Drive                                          Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1059    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Heather Crossin                                           Check all that apply.
           3397 Ridge Gap Rd                                            Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1060    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Cynthia Crowder                                           Check all that apply.
           811 Miles Ave. NW                                            Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1061    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Fei Crowe                                                 Check all that apply.
           1972 Aurora Ave                                              Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1062    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Susan Crowe                                               Check all that apply.
           9431 Langdon lane                                            Contingent
           North royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1063    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Beverly Crowley                                           Check all that apply.
           128 Downing Dr. Chardon Ohio                                 Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1064    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Patrick Crtalic                                           Check all that apply.
           9463 Whalers Cove                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1065    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Carla Crumley                                             Check all that apply.
           9284 HELEN LN                                                Contingent
           TWINSBURG, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1066    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Jennifer Cruze                                            Check all that apply.
           227 Eldon Ave                                                Contingent
           Columbus, OH 43204                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1067    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Jennifer Cruze                                            Check all that apply.
           227 Eldon Ave                                                Contingent
           Columbus, OH 43204                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1068    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Rebecca Crysler                                           Check all that apply.
           1777 Pinecone Ct                                             Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1069    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Amy Cseh                                                  Check all that apply.
           10080 HOBBY HORSE LANE                                       Contingent
           MENTOR, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1070    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Kristen Csincsar                                          Check all that apply.
           8521 albion rd                                               Contingent
           NORTH ROYALTON, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1071    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Carlos Cuadrado                                           Check all that apply.
           2420 Tyre Dr                                                 Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1072    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Andrea Cuff                                               Check all that apply.
           7087 Dogwood Ln                                              Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1073    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Michael Cullers                                           Check all that apply.
           37980 Flanders Drive                                         Contingent
           SOLON, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1074    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Jim Cummings                                              Check all that apply.
           338 Northview Drive                                          Contingent
           Powell, OH 43065                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1075    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Julie Cummings                                            Check all that apply.
           2160 Lyndway Rd                                              Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1076    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Laura Cummins                                             Check all that apply.
           6275 Miami road                                              Contingent
           CINCINNATI, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1077    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Lori Cundiff                                              Check all that apply.
           301 Freeman ave nw                                           Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1078    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Darcy Cunningham                                          Check all that apply.
           5112 Riverview Dr.                                           Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1079    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Don Cunningham                                            Check all that apply.
           7398 hart st                                                 Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1080    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Justin Cunningham                                         Check all that apply.
           5368 Sandstone Dr                                            Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1081    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Kurtisene Cunningham                                      Check all that apply.
           3136 Liberty Ledges                                          Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1082    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Michele Cunningham                                        Check all that apply.
           6598 Minnewaukan Dr                                          Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1083    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Rae Cunningham                                            Check all that apply.
           7246 Davis Rd                                                Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1084    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Heather Currall                                           Check all that apply.
           6983 Ridgemont Ct                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1085    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Tracy Curry                                               Check all that apply.
           5782 Beech Dr.                                               Contingent
           Mentor on the Lake, OH 44060                                 Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1086    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Tricia Cusick                                             Check all that apply.
           5595 Chateau Way                                             Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1087    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Tricia Cusma                                              Check all that apply.
           1655 Jennifer dr                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1088    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Jennifer Custer                                           Check all that apply.
           1775 Hickory Hill Dr                                         Contingent
           Columbus, OH 43228                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1089    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Kathleen Custy                                            Check all that apply.
           64 N Hayden Pkwy                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1090    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           David Cutright                                            Check all that apply.
           5450 Little Turtle Drive                                     Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1091    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jill Cutwright                                            Check all that apply.
           14885 Crimson King Trail                                     Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1092    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           David Cuxil                                               Check all that apply.
           4004 Atwood terrace                                          Contingent
           Columbus, OH 43224                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1093    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jennifer Cvetichan                                        Check all that apply.
           8273 Beaumont Dr.                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1094    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Kathleen Daberko                                          Check all that apply.
           2508 Cedarwood Ct.                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1095    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Marchell Dace                                             Check all that apply.
           5 Pinehurst ct.                                              Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1096    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Daniela Dadante                                           Check all that apply.
           9558 Graystone Lane                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1097    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Maryann Daffeh                                            Check all that apply.
           3711 Lifford Ct                                              Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1098    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           PAM DAFFNER                                               Check all that apply.
           1130 SUMMIT AVE                                              Contingent
           TROY, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1099    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Maria Dahl-Rosa                                           Check all that apply.
           PO Box 531                                                   Contingent
           Grand River, OH 44045                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1100    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Jennifer Dahmen                                           Check all that apply.
           12684 Ponderosa Dr                                           Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1101    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Lori Dailey                                               Check all that apply.
           127 Bard Dr                                                  Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1102    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Heather Dalessandro                                       Check all that apply.
           57 Olive Street                                              Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1103    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Angie Daley                                               Check all that apply.
           2988 Pleasant Colony Dr                                      Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1104    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Shawna Dallas-Rose                                        Check all that apply.
           621 N. Detroit St.                                           Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1105    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Sara Damante                                              Check all that apply.
           1681 Mayflower Lane                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1106    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Lisa Dame                                                 Check all that apply.
           6147 Woodsboro Drive                                         Contingent
           Columbus, OH 43228                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1107    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Erin Dance                                                Check all that apply.
           6779 Dawson Rd                                               Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1108    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Revathi Danda                                             Check all that apply.
           8152 S. Chariot St                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1109    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Gretchen Daniel                                           Check all that apply.
           11135 Beechnut Lane                                          Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1110    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kristie Daniel                                            Check all that apply.
           328 Locke Ave SW                                             Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1111    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Tracey Daniel                                             Check all that apply.
           6324 Riverstone Dr                                           Contingent
           Columbus, OH 43228                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1112    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Jack Daniels                                              Check all that apply.
           35287 quartermane cir                                        Contingent
           solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1113    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Matt Daniluk                                              Check all that apply.
           764 Delverne ace sw                                          Contingent
           Canton, OH 44710                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1114    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Brian Danison                                             Check all that apply.
           10216 Mayfield Rd                                            Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1115    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Daniel Danszczak                                          Check all that apply.
           9255 Gem Rd                                                  Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1116    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $230.00    $230.00
           Erin Darah                                                Check all that apply.
           517 meadow springs rd                                        Contingent
           Maumee, OH 43537                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1117    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Heather Dardeen                                           Check all that apply.
           765 Mary Lane Extension                                      Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1118    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Debbie Darden                                             Check all that apply.
           137 Teaberry Circle                                          Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1119    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Paul Daro                                                 Check all that apply.
           139 Antioch Dr                                               Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1120    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Annie Darone                                              Check all that apply.
           11810 clark road                                             Contingent
           chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1121    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Teresa Dart                                               Check all that apply.
           8118 jordan valley court                                     Contingent
           cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1122    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Stacy DaSilva                                             Check all that apply.
           7295 Partridge Dr                                            Contingent
           Dublin, OH 21873                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1123    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Janeen Daugherty                                          Check all that apply.
           426 Falls Road                                               Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1124    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Stacy Daugherty                                           Check all that apply.
           3165 Buckwalter Dr. SW                                       Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1125    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Stefanie Daugherty                                        Check all that apply.
           115 South Pleasant Street                                    Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1126    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           John Davenport                                            Check all that apply.
           6233 Karl Rd                                                 Contingent
           Columbus, OH 43229                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1127    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Heather Davey                                             Check all that apply.
           1640 Surrey Rd                                               Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1128    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Kristine Davidson                                         Check all that apply.
           5175 Homestead dr                                            Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1129    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Kyle Davidson                                             Check all that apply.
           7353 Hillendale Rd                                           Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1130    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Amy Davies                                                Check all that apply.
           7475 Jasani Ct.                                              Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
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 2.1131    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Michelle Davies                                           Check all that apply.
           314 Amber Wood Way                                           Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1132    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Pete Davies                                               Check all that apply.
           465 ATTERBURY BLVD                                           Contingent
           HUDSON, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1133    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Adam Davis                                                Check all that apply.
           125 Woodland Rd                                              Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1134    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Akacia Davis                                              Check all that apply.
           302 Pennslyvania Ave                                         Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1135    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Akacia Davis                                              Check all that apply.
           302 Pennslyvania Ave                                         Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1136    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           AN'DREA DAVIS                                             Check all that apply.
           9961 DARROW PK DR 221 D                                      Contingent
           TWINSBURG, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1137    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Brenda Davis                                              Check all that apply.
           4555 Marcellus St NW                                         Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1138    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Bryan Davis                                               Check all that apply.
           3215 Honeysuckle Drive                                       Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1139    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Carrie Davis                                              Check all that apply.
           1325 Bridget Lane                                            Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1140    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Cathy Davis                                               Check all that apply.
           4600 Astral Drive                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1141    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Christina Davis                                           Check all that apply.
           6214 Coachlite Way                                           Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1142    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Dan Davis                                                 Check all that apply.
           11410 Woodiebrook Rd.                                        Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1143    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Dana Davis                                                Check all that apply.
           4349 Jennydawn Place                                         Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1144    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Denise Davis                                              Check all that apply.
           7341 Ridgestone Dr                                           Contingent
           Madeira, OH 45243                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1145    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Gabrielle Davis                                           Check all that apply.
           3152 shadow Creek Court                                      Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1146    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Janice Davis                                              Check all that apply.
           5975 Liberty Fairfield Rd.                                   Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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              Name

 2.1147    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Jennifer Davis                                            Check all that apply.
           22349 Bartlett Drive                                         Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1148    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Jenny Davis                                               Check all that apply.
           7441 Shewango Way                                            Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1149    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Kathleen Davis                                            Check all that apply.
           7270 Summerhill Drive                                        Contingent
           Concord Twp, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1150    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Kathleen Davis                                            Check all that apply.
           7270 Summerhill Drive                                        Contingent
           Concord Twp, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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              Name

 2.1151    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           MaryJo Davis                                              Check all that apply.
           7520 Chillicothe Rd                                          Contingent
           mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1152    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Allyson Davy                                              Check all that apply.
           1953 baltic ave                                              Contingent
           lewis center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1153    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Mohammad Dawood                                           Check all that apply.
           6790 sherwood trail                                          Contingent
           north royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1154    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Carla Dawson                                              Check all that apply.
           8454 Markwood Dr.                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
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 2.1155    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Chris Dawson                                              Check all that apply.
           321 Chardon Ave..                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1156    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Stephanie Dawson                                          Check all that apply.
           3731 Mack Road                                               Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1157    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Lisa Dawson-Knight                                        Check all that apply.
           9215 Windy Creek Drive                                       Contingent
           Columbus, OH 43240                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1158    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Angela Day                                                Check all that apply.
           11775 Auburn rd                                              Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 2.1159    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Steve Dayonchik                                           Check all that apply.
           36323 Derby Downs Dr                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1160    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Alan Dayringer                                            Check all that apply.
           11645 lyman rd                                               Contingent
           chesterland, OH 44124                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1161    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Valeria Dazey                                             Check all that apply.
           2264 Perry Dr S.W.                                           Contingent
           CANTON, OH 44706                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1162    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Angeles De ~La ~Rosa                                      Check all that apply.
           7059 Dawson Rd. Lot 49                                       Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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              Name

 2.1163    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Jessica Dean                                              Check all that apply.
           276 Berkshire Rd                                             Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1164    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Meredith Dean                                             Check all that apply.
           2057 Maxwell Ave                                             Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1165    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Kitty DeBella                                             Check all that apply.
           1517 Covent Road                                             Contingent
           TROY, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1166    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Jennifer DeBoo                                            Check all that apply.
           1717 County Road 139                                         Contingent
           McComb, OH 45858                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
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 2.1167    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Jennifer DeBoo                                            Check all that apply.
           1717 County Road 139                                         Contingent
           McComb, OH 45858                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1168    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Jennifer DeBoo                                            Check all that apply.
           1717 County Road 139                                         Contingent
           McComb, OH 45858                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1169    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Heather DeCarlo                                           Check all that apply.
           8449 Squad Drive                                             Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1170    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Laurie Deck                                               Check all that apply.
           2062 Aurora Ave                                              Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1171    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Dana Decker                                               Check all that apply.
           390 Thomas Alva Dr                                           Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1172    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Angela Defranco                                           Check all that apply.
           7055 Sturbridge dr                                           Contingent
           Concord Twp, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1173    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Antonia Deignan                                           Check all that apply.
           16405 majestic oaks dr                                       Contingent
           chagrin falls, OH 44023                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1174    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Jennifer Deiter                                           Check all that apply.
           13939 Township Road 215                                      Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1175    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Christine Dekowski                                        Check all that apply.
           930 Marion AVE NW                                            Contingent
           MASSILLON, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1176    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Jaime Delapaz                                             Check all that apply.
           6558 dunbarton dr                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1177    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Sasha Delarosa                                            Check all that apply.
           1832 Ridgebury dr                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1178    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Kelly Delegram                                            Check all that apply.
           1103 Waldo Way                                               Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1179    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Lourdes DeLeon                                            Check all that apply.
           893 Pebble Beach Cove                                        Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1180    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Stacy DeLeone                                             Check all that apply.
           8305 Kylie Court                                             Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1181    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Regina Delphia                                            Check all that apply.
           6470 Som Center Road                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1182    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $90.00    $90.00
           Jessyca DeLuna                                            Check all that apply.
           443 Bat Road Apt. 202                                        Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1183    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Mark Delventhal                                           Check all that apply.
           46 Buckingham Rd                                             Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1184    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Stacey DelZoppo                                           Check all that apply.
           8799 Arrowood Drive                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1185    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Jeffrey Demaree                                           Check all that apply.
           536 Laurelwood Drive                                         Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1186    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Olga Dembek                                               Check all that apply.
           5875 Sequoia Ct.                                             Contingent
           Mentor on the Lake, OH 44060                                 Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1187    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Stephanie Dembski                                         Check all that apply.
           5888 Thorngate Dr                                            Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1188    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Jennifer Demianenko                                       Check all that apply.
           8584 Squad Dr                                                Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1189    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Joyce DeMichele                                           Check all that apply.
           10568 Ridgewater Dr.                                         Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1190    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Cher DeMore                                               Check all that apply.
           10049 Bissell Dr                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1191    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Lisa DeMore                                               Check all that apply.
           802 Lost Pond Pkwy                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1192    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Todd Demshar                                              Check all that apply.
           8280 Ravenna Road                                            Contingent
           Concord Twp, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1193    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Kim Den Braber                                            Check all that apply.
           5159 Chillicothe Rd                                          Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1194    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Danielle Denney                                           Check all that apply.
           4580 Paxton Dr S                                             Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1195    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Erika Dennison                                            Check all that apply.
           8223 Morris Rd.                                              Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1196    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Terese Denton                                             Check all that apply.
           32087 hamilton ct                                            Contingent
           solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1197    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Tamara DeProfio                                           Check all that apply.
           648 Riverbend Ave                                            Contingent
           Powell, OH 43065                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1198    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Tamara DeProfio                                           Check all that apply.
           648 Riverbend Ave                                            Contingent
           Powell, OH 43065                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1199    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Kendra Derganc                                            Check all that apply.
           7979 independence dr unit D                                  Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1200    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Erinn Dersom                                              Check all that apply.
           7903 Norma Court                                             Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1201    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Michelle Deruytter                                        Check all that apply.
           113 Spring Drive                                             Contingent
           C.F., OH 44022                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1202    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Al DeSalvo                                                Check all that apply.
           11532 Worthington Way                                        Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1203    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Brant Desatnik                                            Check all that apply.
           24014 east silsby rd                                         Contingent
           beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1204    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Domenic Desciscio                                         Check all that apply.
           14535 Caves Road                                             Contingent
           Novelty, OH 44072                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1205    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Sonya DeSilva                                             Check all that apply.
           3438 St Charles Lane                                         Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1206    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Jim Destro                                                Check all that apply.
           94 Hamden Dr                                                 Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1207    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Christine Destry                                          Check all that apply.
           2783 Martin Rd #325                                          Contingent
           Dublin, OH 43017                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1208    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Mike Detherage                                            Check all that apply.
           8909 Eagleview Drive #4                                      Contingent
           West Chester, OH 45069                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1209    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Greg Detweiler                                            Check all that apply.
           13054 Coachman Dr                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1210    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Lori Deuberry                                             Check all that apply.
           71 Fox Trace Lane                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1211    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Lori Deuberry                                             Check all that apply.
           71 Fox Trace Ln                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1212    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Erica Deutsch                                             Check all that apply.
           7562 Foxdale Circle                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1213    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Gina DeVito-Staub                                         Check all that apply.
           32977 Charmwood Oval                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1214    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Kaymarie Devorace                                         Check all that apply.
           21625 Hilliard Blvd                                          Contingent
           ROCKY RIVER, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1215    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $230.00    $230.00
           Tracy Devries                                             Check all that apply.
           1045 Scribner St                                             Contingent
           Maumee, OH 43537                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1216    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Sanjeev Dewangan                                          Check all that apply.
           2198 Reeves Ave                                              Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1217    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Kimberly DeZellar                                         Check all that apply.
           5837 Glendavon Ct                                            Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1218    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Narinderjit Dhaliwal                                      Check all that apply.
           3286 Darien Lane                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1219    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Kavitha Dhayananth                                        Check all that apply.
           5716 Lakeside Xing                                           Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1220    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Manjit Dhillon                                            Check all that apply.
           26785 Fairmount BLVD                                         Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1221    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Assita Diarra                                             Check all that apply.
           656 Riverview Dr Apt B                                       Contingent
           Columbus, OH 43202                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1222    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Amanda DiBenedetto                                        Check all that apply.
           2121 Valley View Dr.                                         Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1223    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Christopher Dick                                          Check all that apply.
           7155 Hart Str Apartment D25                                  Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1224    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Lynn Dickens                                              Check all that apply.
           50 Ambrose Dr.                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1225    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Christopher Dickerson                                     Check all that apply.
           5313 Red Flower Ln.                                          Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1226    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Kelly Dickerson                                           Check all that apply.
           3001 Ravenna Street                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1227    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Micah Dickerson                                           Check all that apply.
           5576 Edie Dr                                                 Contingent
           HILLIARD, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1228    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Shawn Dickess                                             Check all that apply.
           8135 San Marco Court                                         Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1229    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Kim Dickson                                               Check all that apply.
           11259 Heritage Dr                                            Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1230    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Nathalie Dickson                                          Check all that apply.
           1596 Woodland Ct                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1231    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Madhuri Diddi                                             Check all that apply.
           943 little bear loop                                         Contingent
           lewis center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1232    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Kurt Dieckmann                                            Check all that apply.
           1819 Storrow Drive                                           Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1233    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Janice Diederich                                          Check all that apply.
           2324 Croydon Rd                                              Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1234    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $230.00    $230.00
           Christy Diegel                                            Check all that apply.
           515 Arlene Drive                                             Contingent
           Maumee, OH 43537                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1235    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Tona Diehl                                                Check all that apply.
           2919 Legionary Street Unit 303                               Contingent
           Columbus, OH 43207                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1236    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Tim Diehr                                                 Check all that apply.
           2176 Omaha Place                                             Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1237    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Craig Diekmann                                            Check all that apply.
           9578 Graystone Lane                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1238    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Jill DIETZ                                                Check all that apply.
           5597 Liberty Rd                                              Contingent
           Bentleyville, OH 44022-3525                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1239    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Scott DiFranco                                            Check all that apply.
           39147 Johnnycake Ridge Rd                                    Contingent
           Willoughby, OH 44094                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1240    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Vanessa Difranco                                          Check all that apply.
           12345 valley vista drive                                     Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1241    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Dessa DiGeronimo                                          Check all that apply.
           7327 Burntwood Way                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1242    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Angela DiGiacomo                                          Check all that apply.
           7438 Wetherburn Way                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1243    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Summer Dilbone                                            Check all that apply.
           1655 Fox Run                                                 Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1244    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Donna DiLiberto                                           Check all that apply.
           6582 Dellhaven Ave                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1245    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Kevin Dilley                                              Check all that apply.
           1660 Mayflower Lane                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1246    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           George Dillon                                             Check all that apply.
           6224 Chestnut St.                                            Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1247    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Susan DiMassa                                             Check all that apply.
           11293 Abbey Road                                             Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1248    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Jennifer DiMuzio                                          Check all that apply.
           6399 Deerglen Drive                                          Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1249    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Kim DiMuzio                                               Check all that apply.
           10407 Oviatt Lane                                            Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1250    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Wendi Dines                                               Check all that apply.
           2021 Presidential Pkwy 56                                    Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1251    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Tang Ding                                                 Check all that apply.
           6006 Nicholson Dr.                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1252    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Tracy Dingrs                                              Check all that apply.
           12220 Huntoon Rd                                             Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1253    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Wendy Diotale                                             Check all that apply.
           4432 11th st nw                                              Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1254    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Teresa DiRenzo                                            Check all that apply.
           6173 Firwood Rd                                              Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1255    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Melissa DiRienzo                                          Check all that apply.
           3719 Kilmuir Drive                                           Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1256    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           April Dirker                                              Check all that apply.
           2466 Cottager Dr                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1257    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Jacqueline Disidoro                                       Check all that apply.
           9987 Parkland Dr.                                            Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1258    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Sam Dispenza                                              Check all that apply.
           6795 Georgetown Dr                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1259    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Colleen DiStefano                                         Check all that apply.
           13147 Woodcrest Lane                                         Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1260    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Mike Dittman                                              Check all that apply.
           8893 Pembrooke Street                                        Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1261    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Stephanie Dittman                                         Check all that apply.
           5172 Tallawanda Drive                                        Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1262    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Amy DiTullio                                              Check all that apply.
           58 Jefferson Drive                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1263    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Sabrina Dix                                               Check all that apply.
           31698 Sedgefield Oval                                        Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1264    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Wanda Dixon                                               Check all that apply.
           5184 Southminster Road                                       Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1265    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Predrag Djordjevic                                        Check all that apply.
           8231 Ridge Road                                              Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1266    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Quyen Do                                                  Check all that apply.
           1600 E 34th Cleveland ohio 44114                             Contingent
           Cleveland, OH 44114                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1267    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Elizabeth Doan                                            Check all that apply.
           2801 Sulgrave Rd                                             Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1268    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $923.20    $923.20
           Ken Dobay                                                 Check all that apply.
           1827 Westwood Drive                                          Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1269    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Anthony Dobbert                                           Check all that apply.
           9419 Grace Dr                                                Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1270    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Angela Dobbins-Rivera                                     Check all that apply.
           9435 lost pond drive 46d                                     Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1271    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Kelly Dobek                                               Check all that apply.
           700 Jackson Dr                                               Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1272    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Deb Dobelhoff                                             Check all that apply.
           6200 Margo Lane                                              Contingent
           Cincinnati, OH 45227                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1273    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Stacey Dodgion                                            Check all that apply.
           3880 smiley rd                                               Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1274    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Kristi Doerflein                                          Check all that apply.
           3392 Alta Vista Ave.                                         Contingent
           Cincinnati, OH 45211                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1275    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Carol Dolan                                               Check all that apply.
           57 Water Street                                              Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1276    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Angela Dolney                                             Check all that apply.
           11439 Ravenna road                                           Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1277    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Monica Dominguez                                          Check all that apply.
           149 napoli ct                                                Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1278    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Chad Donahue                                              Check all that apply.
           1520 valerie ave n.e.                                        Contingent
           massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1279    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Jeff Donohoe                                              Check all that apply.
           7234 Castle Pine Drive                                       Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1280    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Julie Donovan                                             Check all that apply.
           7491 Madeira Pines Dr.                                       Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1281    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Jessica Dooley                                            Check all that apply.
           4763 Eastport Drive                                          Contingent
           Kings Mills, OH 45034                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1282    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Tiffani Dorfmueller                                       Check all that apply.
           8526 Southland Drive                                         Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1283    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Julie Dorko                                               Check all that apply.
           6354 Brooks Blvd                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1284    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Kristen Dorony                                            Check all that apply.
           828 Norbury Drive                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1285    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Allyson Dorsey                                            Check all that apply.
           6004 Collins rd                                              Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1286    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Samantha Dotson                                           Check all that apply.
           112 Cedar Glen                                               Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1287    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Anne Douglas                                              Check all that apply.
           22160 Detroit Rd                                             Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1288    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Colleen Douglas                                           Check all that apply.
           11510 Boxwood Circle                                         Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1289    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Windy Douglas                                             Check all that apply.
           2842 Lombardi Ave Sw                                         Contingent
           Canton, OH 44706                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1290    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Molly Douglass                                            Check all that apply.
           10249 Mayfield Rd                                            Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1291    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Stephanie Dowling                                         Check all that apply.
           2628 Pickerington Way                                        Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1292    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Derrick Downie                                            Check all that apply.
           7600 Herrick Park Dr                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1293    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Hugh Downs                                                Check all that apply.
           9873 Gabriel's Way                                           Contingent
           Concord Twp, OH 44060                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1294    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Lisa Downs                                                Check all that apply.
           2133 Ben Brush Place                                         Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1295    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Melissa Downs                                             Check all that apply.
           108 North St.                                                Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1296    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Lauri Doxsey                                              Check all that apply.
           9719 E. Idlewood Dr.                                         Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1297    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Danielle Doyle                                            Check all that apply.
           1651 Ridgewood CT                                            Contingent
           Twinsbuer, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1298    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Cheryl Drake                                              Check all that apply.
           4371 County Road 220                                         Contingent
           findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1299    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Dana Drayer                                               Check all that apply.
           12966 Chillicothe Rd                                         Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1300    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Dan Drees                                                 Check all that apply.
           2542 Arborwood Dr                                            Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1301    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jason Dreier                                              Check all that apply.
           1006 Stonyridge Ave                                          Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1302    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Kurt Drescher                                             Check all that apply.
           4867 wiltshire rd                                            Contingent
           north royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1303    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Michelle Drew                                             Check all that apply.
           107 Western Hill Drive                                       Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1304    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Carrie Dreyer                                             Check all that apply.
           7847 Zion Hill Road                                          Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1305    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Lauren Drobnjak                                           Check all that apply.
           929 Silverberry Lane                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1306    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Vel Drobnjak                                              Check all that apply.
           929 Silverberry Lane                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1307    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Connie Drochak                                            Check all that apply.
           166 Lafayette street                                         Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1308    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Juliet Drotleff                                           Check all that apply.
           113 Squires Ln                                               Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1309    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Holly Dryer                                               Check all that apply.
           12895 Greenbrier Dr                                          Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1310    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Fei Duan                                                  Check all that apply.
           23511 E.Silsby                                               Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1311    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kimberly Duchon                                           Check all that apply.
           10010 Ravenna Rd                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1312    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Laura Duckett                                             Check all that apply.
           924 Salem ave                                                Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1313    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Michelle Dudas                                            Check all that apply.
           10164 Chipmunk Ridge Drive                                   Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1314    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Michele Duer                                              Check all that apply.
           228 Wrexham Ave SW                                           Contingent
           MASSILLON, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1315    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Rebecca Duesenberg                                        Check all that apply.
           19856 Roslyn Drive Rocky River                               Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1316    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           David Duesing                                             Check all that apply.
           1208 Waterfront Pl                                           Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1317    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Deborah Duffy                                             Check all that apply.
           1558 Jennifer Drive                                          Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1318    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Candace Duke                                              Check all that apply.
           7246 Juler Ave                                               Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1319    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Jamie Dulcie                                              Check all that apply.
           1646 CARRIAGE HILL AVE NW                                    Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1320    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Chris Duliga                                              Check all that apply.
           5688 Abbyshire Dr.                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1321    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Chris Duliga                                              Check all that apply.
           5688 Abbyshire Dr.                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1322    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Colleen Dumm                                              Check all that apply.
           15065 GAR HWY                                                Contingent
           CHARDON, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1323    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Rebecca Duncan                                            Check all that apply.
           23040 Halburton Road                                         Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1324    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Charise Dunewood                                          Check all that apply.
           9151 Tahoma Street                                           Contingent
           Columbus, OH 43240                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1325    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Lisa Dunlap                                               Check all that apply.
           7320 morley rd 2                                             Contingent
           PAINESVILLE, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1326    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Yvonne Dunlap                                             Check all that apply.
           1021 Bayridge Drive                                          Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1327    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Anne Dunn                                                 Check all that apply.
           7177 Juniperview Lane                                        Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1328    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Mathew Dunn                                               Check all that apply.
           27853 Edgepark Dr                                            Contingent
           North Olmsted, OH 44070                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1329    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Aimee Dunphy                                              Check all that apply.
           4475 Hemingway Ct                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1330    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Linh Duong                                                Check all that apply.
           35914 Spatterdock Ln                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1331    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Rebecca Dupaix                                            Check all that apply.
           3406 Waterpoint Dr                                           Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1332    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Nicole Durachinsky                                        Check all that apply.
           2365 Woodacre Dr                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1333    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Michael Durbin                                            Check all that apply.
           4605 12th St NW                                              Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1334    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Steve Durian                                              Check all that apply.
           510 Kitts Hill Ct                                            Contingent
           Centerville, OH 45459                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1335    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Kathy Duricky                                             Check all that apply.
           9262 Thomas Ct                                               Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1336    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Kathy Duricky                                             Check all that apply.
           9262 Thomas Ct                                               Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1337    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Michelle Duricky                                          Check all that apply.
           6330 RAMBLEWOOD DR                                           Contingent
           MENTOR, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1338    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Lisa Durkin                                               Check all that apply.
           1525 Winchell Dr                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1339    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Laura Durliat                                             Check all that apply.
           4369 CR 140                                                  Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1340    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           ELISA Duron                                               Check all that apply.
           5216 Ritchey Lane                                            Contingent
           SOUTH LEBANON, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1341    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Lori Dutton                                               Check all that apply.
           5968 Hamton Corners North                                    Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1342    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Tonya Dutton                                              Check all that apply.
           4127 N Main St                                               Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1343    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Sastry Duvvuri                                            Check all that apply.
           9180 Davis Way                                               Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1344    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Bill Dvorak                                               Check all that apply.
           15180 bates creek dr                                         Contingent
           chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1345    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Elizabeth Dvorscak                                        Check all that apply.
           956 Wilder Ave.                                              Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1346    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Christa Dwertman                                          Check all that apply.
           4444 Shire Mill Rd                                           Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1347    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Catherine Dye                                             Check all that apply.
           2586 Haines Rd.                                              Contingent
           Madison, OH 44057                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1348    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Catherine Dye                                             Check all that apply.
           2586 Haines Rd.                                              Contingent
           Madison, OH 44057                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1349    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           John Dye                                                  Check all that apply.
           3599 Darby Knolls Blvd                                       Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1350    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Robin Dygart                                              Check all that apply.
           4817 larwell dr                                              Contingent
           columbus, OH 43220                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1351    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Steve Dzanko                                              Check all that apply.
           7477 Harding                                                 Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1352    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Kristen Dziedziak                                         Check all that apply.
           5286 White Swan Court                                        Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1353    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Jaycee Dzugan                                             Check all that apply.
           497 N ASHWOOD LN                                             Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1354    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Diane Dzurik                                              Check all that apply.
           17239 Waterbridge Dr                                         Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1355    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Holly Dzurko                                              Check all that apply.
           13091 County Line Road                                       Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1356    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Lyubov Dzyuban                                            Check all that apply.
           11980 Harbour Light Dr.                                      Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1357    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Rachel Lang Eader                                         Check all that apply.
           730 E. Columbus Ave                                          Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1358    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Aimie Earle                                               Check all that apply.
           4866 3rd Street N.W.                                         Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1359    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Adam Earnest                                              Check all that apply.
           6218 Ambleside Drive Apt. B                                  Contingent
           Columbus, OH 43229                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1360    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Amy Eberlein                                              Check all that apply.
           21891 Avalon Drive                                           Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1361    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Katherine Eberlein                                        Check all that apply.
           310 Argyle Rd                                                Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1362    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Katie Eckles                                              Check all that apply.
           7368 button road                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1363    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Brian Eckliff                                             Check all that apply.
           504 Beechwood lane                                           Contingent
           painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1364    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Denise Eckman                                             Check all that apply.
           21199 Kenwood Avenue                                         Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1365    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Christy Eckstein                                          Check all that apply.
           815 Claycross Court                                          Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1366    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           David Eddy                                                Check all that apply.
           19781 Westover Ave                                           Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1367    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Diana Edgar                                               Check all that apply.
           7901 Crescent Drive                                          Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1368    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jennifer Edgell                                           Check all that apply.
           9399 Kellogg Creek Dr                                        Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1369    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jenn Edger                                                Check all that apply.
           1329 Lee Rd.                                                 Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1370    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jenn Edger                                                Check all that apply.
           1329 Lee Rd.                                                 Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1371    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Josh Edmonds                                              Check all that apply.
           8393 Cedar Rd                                                Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1372    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jennifer Edwards                                          Check all that apply.
           8206 Baythorne Dr.                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1373    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Jill Edwards                                              Check all that apply.
           6701 spicewood Ct                                            Contingent
           columbus, OH 43228                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1374    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Laura Edwards                                             Check all that apply.
           2699 Stone Mill Way                                          Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
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 2.1375    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Nicole Edwards                                            Check all that apply.
           10365 Penniman Dr                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1376    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Amy Eells                                                 Check all that apply.
           5621 Abbyshire Dr                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1377    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Kristin Egan                                              Check all that apply.
           16233 Waterford Dr.                                          Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1378    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Maria Eggert                                              Check all that apply.
           9973 Lynn Dr                                                 Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1379    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           ALAN EGOLF                                                Check all that apply.
           6296 CORLEY DR                                               Contingent
           DUBLIN, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1380    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Lori Ehinger                                              Check all that apply.
           7391 Briarwood Dr.                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1381    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Terri Ehrie                                               Check all that apply.
           7755 Orange Station Loop                                     Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1382    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Janice Eichelberger                                       Check all that apply.
           3286 Triplecrown                                             Contingent
           North Bend, OH 45052                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1383    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Kevin Eichelberger                                        Check all that apply.
           13004 Mason Road                                             Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1384    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Kristen Eickert                                           Check all that apply.
           4325 e laurel ridge drive 43452                              Contingent
           port clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1385    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Lisa Eickman                                              Check all that apply.
           2411 New Castle Dr                                           Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1386    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Rachel Eiding                                             Check all that apply.
           7985 Brichford Rd                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1387    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Courtney Eisel                                            Check all that apply.
           585 salisbury rd                                             Contingent
           Columbus, OH 43204                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1388    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Jennifer Elam                                             Check all that apply.
           1249 Harkers Run                                             Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1389    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Hollie Elam-LaMar                                         Check all that apply.
           5831 Coldcreek Dr                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1390    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Wally Elayan                                              Check all that apply.
           10983 Spear rd                                               Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1391    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           George Elbel                                              Check all that apply.
           6414 Glenallen Ave                                           Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1392    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Charlotte Elconin                                         Check all that apply.
           75 Grey Fox Run                                              Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1393    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Reem Elgemiey                                             Check all that apply.
           481 Wilmington drive                                         Contingent
           Broadview Heights, OH                                        Unliquidated
           44147-4405                                                   Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1394    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Jennifer Elias                                            Check all that apply.
           2640 Myrick Lane                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1395    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Ashley Elleman                                            Check all that apply.
           177 a mckeestown rd                                          Contingent
           bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1396    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Dustin Ellenberger                                        Check all that apply.
           7565 Highgate Drive                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1397    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Tess Ellenberger                                          Check all that apply.
           7565 Highgate Drive                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1398    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Chris Elliott                                             Check all that apply.
           4839 Glenhurst St SW                                         Contingent
           Canton, OH 44706                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1399    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Janet Elliott                                             Check all that apply.
           7686 Oxgate Ct                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1400    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Janet Elliott                                             Check all that apply.
           7686 oxgate ct                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1401    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Shana Elliott                                             Check all that apply.
           3017 Seeger Street                                           Contingent
           Columbus, OH 43228                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1402    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Shanna Elliott                                            Check all that apply.
           2486 Thornhill Dr                                            Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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              Name

 2.1403    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Tara Elliott                                              Check all that apply.
           161 Mt.Marie Ave. NW                                         Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1404    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Theresa Elliott-Bryant                                    Check all that apply.
           10514 Old State Road                                         Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1405    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Jennifer Ellis                                            Check all that apply.
           14714 Darrow Road                                            Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1406    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Lisa Ellis                                                Check all that apply.
           1970 Masters Point Circle SE                                 Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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              Name

 2.1407    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Mario Ellis                                               Check all that apply.
           6155 Loch Lomond Ct.                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1408    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           KIMBERLY ELLISON                                          Check all that apply.
           2863 Quailview Ln                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1409    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Renee Ellman                                              Check all that apply.
           6529 Copley Ave.                                             Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1410    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Renee Ellman                                              Check all that apply.
           6529 Copley Ave.                                             Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1411    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Melissa Ellsworth                                         Check all that apply.
           2768 Kingsbury Dr.                                           Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1412    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Christi Elly                                              Check all that apply.
           640 Lanark Lane                                              Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1413    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Theresa Elmajdoubi                                        Check all that apply.
           5697 Pleasant Hill Drive                                     Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1414    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Carmel Elmer                                              Check all that apply.
           4425 Huntwicke Dr.                                           Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1415    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Daren Elosh                                               Check all that apply.
           3232 Benbrook Pond Dr.                                       Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1416    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           John Elseser                                              Check all that apply.
           8003 Dovegate Circle                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1417    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Elizabeth Embrescia                                       Check all that apply.
           484 Laurelbrook Drive                                        Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1418    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Michael Emch                                              Check all that apply.
           740 Newport Lane Apt 107                                     Contingent
           Streetsboro, OH 44241                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1419    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Erin Emerich                                              Check all that apply.
           10949 Oberlin Rd                                             Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1420    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Carrie Emerick                                            Check all that apply.
           1244 Fairlane Ave SW                                         Contingent
           Canton, OH 44710                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1421    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Daniel Emerine                                            Check all that apply.
           7630 Westwood Road                                           Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1422    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Jessica Emerson                                           Check all that apply.
           1212 Arapaho Dr.                                             Contingent
           Morrow, OH 45152                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1423    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           ALISHA EMMERT                                             Check all that apply.
           3968 Clayford dr                                             Contingent
           columbus, OH 43204                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1424    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Christopher Endl                                          Check all that apply.
           4606 crystal clear dr                                        Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1425    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Jewel Engle                                               Check all that apply.
           740 Timberview Dr                                            Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1426    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Chris English                                             Check all that apply.
           7628 Mountain Park Drive                                     Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1427    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Kathy English                                             Check all that apply.
           4812 Vinson Court                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1428    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Molly English                                             Check all that apply.
           4139 Duffy Ct                                                Contingent
           Fairfield Twp, OH 45011                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1429    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Hope Engroff                                              Check all that apply.
           812 Heritage Court #21                                       Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1430    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Lisa Enneking                                             Check all that apply.
           3272 Benbrook Pond Dr                                        Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1431    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Sheila Enneking                                           Check all that apply.
           2882 Red Oak Circle                                          Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1432    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Sheila Enneking                                           Check all that apply.
           2882 Red Oak Circle                                          Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1433    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Diane Ensinger-Trottnow                                   Check all that apply.
           10272 Foxwood Drive                                          Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1434    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jenea Epstein                                             Check all that apply.
           6473 Elmwood Road                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1435    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Raquel Erb                                                Check all that apply.
           12185 Parker Drive                                           Contingent
           Chesterland, OH 44026-1912                                   Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1436    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Tom Erdy                                                  Check all that apply.
           4248 Wayne St                                                Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1437    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Angie Erhard                                              Check all that apply.
           977 Master Dr                                                Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1438    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Kelly Erickson                                            Check all that apply.
           891 shady lane                                               Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1439    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           VESNA ERNJAKOVIC                                          Check all that apply.
           3596 Mercury Dr.                                             Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1440    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Heather Erwin                                             Check all that apply.
           809 Thorncrest Ct                                            Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1441    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Karrie Erwin                                              Check all that apply.
           8900 PENFIELD WAY                                            Contingent
           MAINEIVILLE, OH 45039                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1442    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Kelli Eschbach                                            Check all that apply.
           1296 Avalon Dr                                               Contingent
           MAINEVILLE, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1443    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Lisa Eschbacher                                           Check all that apply.
           3244 Brendan Drive                                           Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1444    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Matthew Eschenauer                                        Check all that apply.
           928 Howard Drive                                             Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1445    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Deborah Escobar                                           Check all that apply.
           5925 Beaty Lane                                              Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1446    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Tom Eshelman                                              Check all that apply.
           6323 keller Dr S.W.                                          Contingent
           Canton, OH 44706                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1447    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Sara Eskins                                               Check all that apply.
           8540 Mansion Blvd                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1448    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Lisa Eslinger                                             Check all that apply.
           4604 farley dr                                               Contingent
           mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1449    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Teresa Ess                                                Check all that apply.
           2217 11th Street                                             Contingent
           Cuyahoga Falls, OH 44221                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1450    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kristine Essinger                                         Check all that apply.
           950 Bayberry str nw                                          Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1451    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kristine Essinger                                         Check all that apply.
           950 Bayberry str nw                                          Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1452    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Cathy Estes                                               Check all that apply.
           1417 Barberry Court                                          Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1453    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Sheila Etmans                                             Check all that apply.
           275 Sycamore LN apt 146                                      Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1454    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Cole Ettinger                                             Check all that apply.
           103 Lakeview Ln                                              Contingent
           Chagrin Falls, OH 44022-4229                                 Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1455    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Stephanni Eubanks                                         Check all that apply.
           712 perry dr nw                                              Contingent
           canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1456    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Dawn Eustache                                             Check all that apply.
           7265 Butternut Lane                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1457    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Nellie Evan                                               Check all that apply.
           14833 Overlook Drive                                         Contingent
           Newbury, OH 44065                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1458    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Nellie Evan                                               Check all that apply.
           14833 Overlook Drive                                         Contingent
           Newbury, OH 44065                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1459    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Sarah Evangelista                                         Check all that apply.
           11731 Jennifer Court                                         Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1460    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Chelsy Evans                                              Check all that apply.
           735 Sawmill TRl NE                                           Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1461    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Christina Evans                                           Check all that apply.
           625 DushaneDr                                                Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1462    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Dawn Evans                                                Check all that apply.
           6792 Perennial Lanr                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1463    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jeff Evans                                                Check all that apply.
           3201 Grand Falls Blvd.                                       Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1464    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jennifer Evans                                            Check all that apply.
           254 Woodiebrook Rd.                                          Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1465    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Kristen Evans                                             Check all that apply.
           2272 Herrick Circle                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1466    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Megan Evans                                               Check all that apply.
           203 E Weber Road                                             Contingent
           Columbus, OH 43202                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1467    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Michelle Evans                                            Check all that apply.
           7543 Woodland Ave.                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1468    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Michelle Evans                                            Check all that apply.
           7543 Woodland Ave.                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1469    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Sheri Evans                                               Check all that apply.
           921 Livermore Lane                                           Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1470    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Alex Evdokimenko                                          Check all that apply.
           5625 Janet Blvd.                                             Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1471    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Jonetta Eversole                                          Check all that apply.
           3759 Treadway Trail                                          Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1472    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Amy Eves                                                  Check all that apply.
           105 Tilden Ave                                               Contingent
           CHARDON, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1473    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Cheri Eyink                                               Check all that apply.
           9124 CHAMBERLIN RD                                           Contingent
           TWINSBURG, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1474    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jill Faber                                                Check all that apply.
           105 Middle Post Pointe                                       Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1475    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Gina Fabregas                                             Check all that apply.
           3706 Shattuck Ave                                            Contingent
           Columbus, OH 43220                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1476    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Hudson Fagan                                              Check all that apply.
           6092 Nicholson Dr                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1477    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Sarah Fahrni                                              Check all that apply.
           300 Wrexham Ave SW                                           Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1478    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Scott Faini                                               Check all that apply.
           2830 Myrick Lane                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1479    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Diana Fair                                                Check all that apply.
           5648 Van Wert Dr                                             Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1480    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Keith Fair                                                Check all that apply.
           8329 edgewood rd                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1481    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Nick Fairbanks                                            Check all that apply.
           975 outrigger cove                                           Contingent
           painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1482    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Travis Fankhauser                                         Check all that apply.
           6000 Buckboard Lane                                          Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1483    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Colleen Fantini                                           Check all that apply.
           8878 Pembrooke St.                                           Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1484    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           James Farabaugh                                           Check all that apply.
           4758 Drayton Rd.                                             Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1485    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Mary Farley                                               Check all that apply.
           264 Cheshire Road                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1486    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Mary Farley                                               Check all that apply.
           264 Cheshire Road                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1487    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Michelle Farley                                           Check all that apply.
           5699 Grovewood Dr                                            Contingent
           Mentor, OH 44060-2056                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1488    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Lisa Farmer                                               Check all that apply.
           3220 Sulgrave Rd                                             Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1489    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Kristin Farrell                                           Check all that apply.
           6720 Eleck Place                                             Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1490    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Erick Farrier                                             Check all that apply.
           480 N.Dorset Rd                                              Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1491    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Erick Farrier                                             Check all that apply.
           480 N.Dorset Rd                                              Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1492    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kris Farrow                                               Check all that apply.
           11828 Auburn Rd                                              Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1493    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Jennifer Farthing                                         Check all that apply.
           30700 Miles Road                                             Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1494    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Jill Fate                                                 Check all that apply.
           2415 Pleasant Colony Dr                                      Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1495    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Vicki Fatur                                               Check all that apply.
           108 Middle Post Pt                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1496    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Laura Faust                                               Check all that apply.
           5750 Nicholson Dr.                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1497    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Lori Fauver                                               Check all that apply.
           7397 Hudson park drive                                       Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1498    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Yetunde Fawole                                            Check all that apply.
           8550 Clover Glade drive                                      Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1499    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Darren Fay                                                Check all that apply.
           1105 Ascot Drive                                             Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1500    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jenny Fay                                                 Check all that apply.
           10478 Wilson Mills Road                                      Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1501    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Alissa Fazio                                              Check all that apply.
           12761 North Star Dr.                                         Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1502    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Jessica Feal                                              Check all that apply.
           8825 Canoe Dr.                                               Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1503    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Lorie Fearing                                             Check all that apply.
           3106 Gilridge Drive                                          Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1504    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Kimberly Feasel                                           Check all that apply.
           841 Bright Rd.                                               Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1505    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Lance Fecher                                              Check all that apply.
           1840 quail nest ct                                           Contingent
           troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1506    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Lance Fecher                                              Check all that apply.
           1840 quail nest ct                                           Contingent
           troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1507    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Todd Fecto                                                Check all that apply.
           1500 Rolling Meadows Dr.                                     Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1508    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Maria Federico                                            Check all that apply.
           8403 Chagrin Mills Rd                                        Contingent
           Novelty, OH 44072                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1509    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Michelle Federico                                         Check all that apply.
           7859 Champaign Dr                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1510    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Margaret Fedio                                            Check all that apply.
           7954 Holderman St.                                           Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1511    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Robert Fedorko                                            Check all that apply.
           1682 E Sapphire Dr                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1512    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Gary Fee                                                  Check all that apply.
           7980 stoneybrook                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1513    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Matt Fehr                                                 Check all that apply.
           8526 Honor Ct                                                Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1514    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Brian Fehrenbach                                          Check all that apply.
           19945 Laurel Ave.                                            Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1515    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Qing Fei                                                  Check all that apply.
           27030 Cedar Road Apt.420                                     Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1516    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Jeffrey Feiler                                            Check all that apply.
           4828 McGreevy Drive                                          Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1517    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Matthew Fein                                              Check all that apply.
           1312 Shawnee Dr                                              Contingent
           Morrow, OH 45152                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1518    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Barbara Feisthamel                                        Check all that apply.
           1748 E Sapphire Dr                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1519    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Ryan Felchlin                                             Check all that apply.
           2291 Omaha Pl.                                               Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1520    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Beth Felger                                               Check all that apply.
           11140 Courtney Ct.                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1521    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kelly Feller                                              Check all that apply.
           215 canfield drive                                           Contingent
           chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1522    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Christina Fellows                                         Check all that apply.
           7416 Sherwood Dr                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1523    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Angie Fenstermaker                                        Check all that apply.
           12528 TR 114                                                 Contingent
           Van Buren, OH 45889                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1524    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Angie Fenstermaker                                        Check all that apply.
           12528 TR 114                                                 Contingent
           Van Buren, OH 45889                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1525    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Melissa Ferchill                                          Check all that apply.
           21017 Aberdeen Rd Rocky River                                Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1526    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Heather Ferencie                                          Check all that apply.
           34731 PETTIBONE RD                                           Contingent
           SOLON, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1527    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Leigh Ann Ferguson                                        Check all that apply.
           83 West Belmeadow Lane                                       Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1528    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Wanda Ferguson                                            Check all that apply.
           145 Edgefield Dr.                                            Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1529    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Brunilda Ferko                                            Check all that apply.
           5478 pearson court                                           Contingent
           hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1530    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Adelia Fernandes                                          Check all that apply.
           36965 Valley Forge Dr                                        Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1531    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Rudolph Fernandes                                         Check all that apply.
           283 meadow view drive 283                                    Contingent
           Powell, OH 43065                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1532    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Cathy Fernandez                                           Check all that apply.
           65 CLAYTON CT                                                Contingent
           HUDSON, OH 44236-4728                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1533    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Amy Ferrell                                               Check all that apply.
           11421 Labrador Lane                                          Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1534    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Amy Ferrell                                               Check all that apply.
           11421 Labrador Lane                                          Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1535    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Heather Ferris                                            Check all that apply.
           5869 Briarhill Dr                                            Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1536    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Tonya Ferritto                                            Check all that apply.
           7960 Newell Creek Drive                                      Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1537    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Bradley Fertig                                            Check all that apply.
           7280 thomas dr                                               Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1538    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Julie Fetchik                                             Check all that apply.
           12155 Arbrowood Way                                          Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1539    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Julie Fetchik                                             Check all that apply.
           12155 Arbrowood Way                                          Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1540    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Erin Fetzer                                               Check all that apply.
           3152 BENBROOK POND DR                                        Contingent
           HILLIARD, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1541    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Lisa Feucht                                               Check all that apply.
           14 W Bel Meadow Lane                                         Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1542    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Lisa Feucht                                               Check all that apply.
           14 W Bel Meadow Lane                                         Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1543    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Lisa Feucht                                               Check all that apply.
           14 W Bel Meadow Lane                                         Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1544    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Brenda Feudo                                              Check all that apply.
           6269 N. Huntington Dr.                                       Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1545    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           James Field                                               Check all that apply.
           1445 White Ash Drive                                         Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1546    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Ossian Field                                              Check all that apply.
           18055 Kenston lake dr                                        Contingent
           Chagrin falls, OH 44023                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1547    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Calvinia Fields                                           Check all that apply.
           27150 Tinkers Valley Drive                                   Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1548    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Shawn Fields                                              Check all that apply.
           P.O. Box 952                                                 Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1549    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Scott Fierman                                             Check all that apply.
           109 waverly lane                                             Contingent
           south russell, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1550    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Alexander Figurov                                         Check all that apply.
           3015 Highpoint Dr                                            Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1551    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Kathleen Filippelli                                       Check all that apply.
           10002 Sweetleaf Lane                                         Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1552    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Melissa Fink                                              Check all that apply.
           10760 Nollwood Dr                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1553    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Melissa Fink                                              Check all that apply.
           10760 Nollwood Dr                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1554    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Jason Finneran                                            Check all that apply.
           9003 newmills ln                                             Contingent
           Lewis center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1555    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Diane Finnerty                                            Check all that apply.
           226 Turner Drive                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1556    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Scott Finney                                              Check all that apply.
           6192 Durban Drive                                            Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1557    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Eric Finnicum                                             Check all that apply.
           1042 Pheasant Grove                                          Contingent
           Massillion, OH 44646                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1558    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Renee Finucan                                             Check all that apply.
           8960 Perkins Dr                                              Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1559    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Cherese Fiorina                                           Check all that apply.
           34725 Sherbrook Park Dr. Solon                               Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1560    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           DAN FIORTA                                                Check all that apply.
           8251 JohnnyCake Ridge Rd                                     Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1561    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Suzette Firehammer                                        Check all that apply.
           98 Hall Street                                               Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1562    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Allison Fischer                                           Check all that apply.
           7220 Cardinal Lane                                           Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1563    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Carol Fischer                                             Check all that apply.
           8849 Honey Ash Rd                                            Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1564    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           KIMBERLY FISCHER                                          Check all that apply.
           328 e pike st                                                Contingent
           south lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1565    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Rachel Fischione                                          Check all that apply.
           6773 WATERFORD LN                                            Contingent
           MENTOR, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1566    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Amy Fisher                                                Check all that apply.
           144 Fairlawn ave. S.W.                                       Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1567    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Dean Fisher                                               Check all that apply.
           219 Walnut Street                                            Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1568    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Jennifer Fisher                                           Check all that apply.
           5636 Londonairy Blvd                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1569    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Quentin Fisher                                            Check all that apply.
           11840 Stonegate Drive                                        Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1570    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Samantha Fisher                                           Check all that apply.
           5891 Briarhill Dr.                                           Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1571    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Danielle Fishleigh                                        Check all that apply.
           6061 Maplewood Rd                                            Contingent
           MENTOR ON LK, OH 44060                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1572    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Meghan Fiske                                              Check all that apply.
           6858 Beacon Dr. Apt 71-A                                     Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1573    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Crystal Fitch                                             Check all that apply.
           475 N DORSET Rd                                              Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1574    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Rebecca Fitz                                              Check all that apply.
           2110 Samson Circle                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1575    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Laurie Flagel                                             Check all that apply.
           9727 Country Trail                                           Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1576    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Chris Flanagan                                            Check all that apply.
           8135 Oakbrook Court                                          Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1577    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Marsha Fledderjohn                                        Check all that apply.
           2845 Saturn Dr                                               Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1578    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Nicole Flesher                                            Check all that apply.
           1771 SOM Center rd                                           Contingent
           Gates Mills, OH 44040                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1579    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Suzanne Fletcher                                          Check all that apply.
           13777 Marlin dr                                              Contingent
           hambden, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1580    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Shanna Flick                                              Check all that apply.
           9244 Ravenna Rd.                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1581    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Julie Flinchbaugh                                         Check all that apply.
           9709 FIrelands Drive                                         Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1582    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Sheila Flores                                             Check all that apply.
           5762 Glendavon Place                                         Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1583    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Tieraney Flores                                           Check all that apply.
           7450 S. Timberlane Dr.                                       Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1584    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Dawn Florio                                               Check all that apply.
           8136 Maplegrove Avenue                                       Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1585    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Heather Floro                                             Check all that apply.
           9354 Ashcroft Lane                                           Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1586    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Daniel Flottemesch                                        Check all that apply.
           7812 Buckeye Crescent                                        Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1587    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Gregg Flowers                                             Check all that apply.
           1770 Pinecone Ct                                             Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1588    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Sheila Floyd                                              Check all that apply.
           9403 Hyde Park dr                                            Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1589    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Charesia Foley                                            Check all that apply.
           5985 Kingslake Drive                                         Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1590    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Kara Folkerth                                             Check all that apply.
           321 Glenwood Ave Kara                                        Contingent
           Piqua, OH 45356                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1591    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Tracy Fondale                                             Check all that apply.
           4001 Wallings Road                                           Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1592    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Michelle Fontalbert                                       Check all that apply.
           595 Hedgebrooke Ave. Unit D                                  Contingent
           Columbus, OH 43214                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1593    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Bonnie Forbes                                             Check all that apply.
           7774 CHANCE DR                                               Contingent
           CLEVES, OH 45002-8615                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1594    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Sharon Forchione                                          Check all that apply.
           921 Bayberry St. N.W.                                        Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1595    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Connie Ford                                               Check all that apply.
           1970 Kirtstone Terrace                                       Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1596    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Diane Ford                                                Check all that apply.
           9550 Grantham lane                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1597    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Laura Ford                                                Check all that apply.
           150 E Forest Ave                                             Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1598    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Susan Ford                                                Check all that apply.
           6626 Hopkins rd                                              Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1599    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Mark Forker                                               Check all that apply.
           224 N. Hambden St.                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1600    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Beth Forst                                                Check all that apply.
           1778 East Sapphire Dr                                        Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1601    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Brooke Forsyth                                            Check all that apply.
           1410 Hollow Tree Drive                                       Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1602    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Amy Foster                                                Check all that apply.
           9672 OLD STATE RD                                            Contingent
           CHARDON, OH 44024-9260                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1603    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Bridgette Foster                                          Check all that apply.
           608 Scott Street                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1604    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Chris Foster                                              Check all that apply.
           9453 Whalers Cove                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1605    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Sara Foster                                               Check all that apply.
           1380 Sterling Dr                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1606    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Tammy Fouts                                               Check all that apply.
           284 Ilene Avenue                                             Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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              Name

 2.1607    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Allison Fowler                                            Check all that apply.
           14793 Thornton Dr.                                           Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1608    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Alyson Fowler                                             Check all that apply.
           7926 Deerhurst Place                                         Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1609    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Bryan Fowler                                              Check all that apply.
           3162 Rowmont Ave SW                                          Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1610    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Amanda Fox                                                Check all that apply.
           10750 Ellison creek dr                                       Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1611    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jennifer Fox                                              Check all that apply.
           7627 Buchanan Court                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1612    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Marlinda Fox                                              Check all that apply.
           202 Edgefield Dr.                                            Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1613    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Theresa Frabotta                                          Check all that apply.
           1160 Fireside Trail                                          Contingent
           Broadview Heights, OH 44147                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1614    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $230.00    $230.00
           Cassandra Fraker                                          Check all that apply.
           2227 Greenrose Court                                         Contingent
           Toledo, OH 43614                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1615    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Kathryn Francis                                           Check all that apply.
           11560 Twin Oaks Trail                                        Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1616    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Courtney Franco                                           Check all that apply.
           3 Stratford rd                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1617    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Vincenzo Franco                                           Check all that apply.
           293 W Prospect St None                                       Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1618    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Delphine Francois                                         Check all that apply.
           18771 e shoreland av                                         Contingent
           rocky river, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1619    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Lisa Frank                                                Check all that apply.
           838 Eddy Court                                               Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1620    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Monica Frank                                              Check all that apply.
           298 east college street                                      Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1621    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Patty Frank                                               Check all that apply.
           89 Stratford Road                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1622    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Susan E Frank                                             Check all that apply.
           15765 North Ridge Drive                                      Contingent
           Novelty, OH 44072                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1623    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Wendy Frankmann                                           Check all that apply.
           12727 Barfield Drive                                         Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1624    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Brian Frantz                                              Check all that apply.
           1459 Greenfield Lane                                         Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1625    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Rachel Franz                                              Check all that apply.
           5456 Port Chester Drive                                      Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1626    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Kim Fraser                                                Check all that apply.
           9500 Graystone Lane                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1627    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Amy Frazer                                                Check all that apply.
           8718 prairie frost lane                                      Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1628    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Al Frazier                                                Check all that apply.
           14508 Alder ave                                              Contingent
           East Cleveland, OH 44112                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1629    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Jenna Frazier                                             Check all that apply.
           15507 Hallauer Rd                                            Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1630    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Mary Frazier                                              Check all that apply.
           3507 Beulah Road                                             Contingent
           Columbus, OH 43224                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1631    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Heidi Freas                                               Check all that apply.
           318 west LORAIN street                                       Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1632    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Heidi Freas                                               Check all that apply.
           318 west LORAIN street                                       Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1633    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Karen Frecker                                             Check all that apply.
           4143 Spring Mill Way                                         Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1634    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Christina Frederick                                       Check all that apply.
           15775 Brookview Trail                                        Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1635    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Chris Freeman                                             Check all that apply.
           P.O. Box 263                                                 Contingent
           twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1636    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Debbie Freeman                                            Check all that apply.
           236 Northfield dr                                            Contingent
           elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1637    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $230.00    $230.00
           Kelly Freeman                                             Check all that apply.
           1221 Shaker Dr                                               Contingent
           Maumee, OH 43537                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1638    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Sharon Freeman                                            Check all that apply.
           2789 southside dr.                                           Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1639    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Sharon Freeman                                            Check all that apply.
           2789 southside dr.                                           Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1640    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Tonya Freeman                                             Check all that apply.
           5115 Cheswick Drive                                          Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1641    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           John Freese                                               Check all that apply.
           5824 Heirship Court                                          Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1642    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Angela Frentzel                                           Check all that apply.
           1634 Miles Ave NW                                            Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1643    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Dan Frey                                                  Check all that apply.
           13206 State Route 613                                        Contingent
           Van Buren, OH 45889                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1644    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Kimberly Frias                                            Check all that apply.
           431 W. 3rd St.                                               Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1645    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Kelly Fricano                                             Check all that apply.
           223 Elmwood Road                                             Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1646    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Todd Friedberg                                            Check all that apply.
           4551 Glenmawr Ave                                            Contingent
           Columbus, OH 43224                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1647    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Kristy Frieden                                            Check all that apply.
           14970 Crimson King Trail                                     Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1648    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Becky Frim                                                Check all that apply.
           8931 Stillwater Drive                                        Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1649    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jennifer Frimel                                           Check all that apply.
           9070 Arden Drive                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1650    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Colleen Fritz                                             Check all that apply.
           30 skyline drive                                             Contingent
           chagrin falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1651    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $230.00    $230.00
           Kristen Fritz                                             Check all that apply.
           723 Inwood Pl                                                Contingent
           Maumee, OH 43537                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1652    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Shannon Fritz                                             Check all that apply.
           58 East Washington Street                                    Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1653    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Shelly Fritz                                              Check all that apply.
           431 Parklawn Drive                                           Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1654    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Andrea Froah                                              Check all that apply.
           4942 Whispering Creek Court                                  Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1655    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Todd Frohnapfel                                           Check all that apply.
           109 Overlook rd                                              Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1656    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Shon Frost                                                Check all that apply.
           846 Madter Drive                                             Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1657    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Susan Frost                                               Check all that apply.
           20032 frazier dr                                             Contingent
           rocky river, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1658    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Kathlene Fruscella                                        Check all that apply.
           10236 Belmeadow Drive                                        Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1659    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Lance Fry                                                 Check all that apply.
           40125 Bainbridge Rd.                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1660    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Kelly Fryan                                               Check all that apply.
           7197 CHILLICOTHE RD                                          Contingent
           MENTOR, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1661    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Lisa Fuentes                                              Check all that apply.
           9463 Lister Ln                                               Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1662    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Migiwa Fujita                                             Check all that apply.
           1335 Trade winds Dr #205                                     Contingent
           Columbus, OH 43204                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1663    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Amiee Fulker                                              Check all that apply.
           135 S. Oxford St.                                            Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1664    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jenny Fullum                                              Check all that apply.
           11575 Hosford Road                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1665    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Jenny Fullum                                              Check all that apply.
           11575 Hosford Road                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1666    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Pamela Fulmer                                             Check all that apply.
           769 Township Road 190 W                                      Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1667    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Lisa Fulton                                               Check all that apply.
           490 Crickett Rd                                              Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1668    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Serena Funai                                              Check all that apply.
           8959 Holquest Drive                                          Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1669    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Robert Funk                                               Check all that apply.
           7733 Salem Drive                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1670    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Brandy Funni                                              Check all that apply.
           10024 Delsy Dr                                               Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1671    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Lee Furbeck                                               Check all that apply.
           9256 West Hampton Drive                                      Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1672    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Desiree Furcron                                           Check all that apply.
           128 Louisiana ave                                            Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1673    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Susan Gabanic                                             Check all that apply.
           9962 High Country Drive                                      Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1674    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Erin Gabay                                                Check all that apply.
           5880 Deepwood Trail                                          Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1675    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Julie Gable                                               Check all that apply.
           7700 Mary Lane                                               Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1676    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Mary Gadd                                                 Check all that apply.
           2368 Limestone Way                                           Contingent
           Columbus, OH 43228                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1677    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Meredith GadsbyPeterson                                   Check all that apply.
           283 Morgan Street                                            Contingent
           OBERLIN, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1678    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Michael Gaewsky                                           Check all that apply.
           70 Ravine Rd                                                 Contingent
           Powell, OH 43065                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1679    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Charisse Gage                                             Check all that apply.
           33050 Aurora Rd Apt 3                                        Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1680    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Louis Gagliano                                            Check all that apply.
           10256 Foxwood Dr                                             Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1681    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Lisa Gaines                                               Check all that apply.
           3067 Scioto Estates court                                    Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1682    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Kellann GainesEl                                          Check all that apply.
           31375 Arthur Road                                            Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1683    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Kellann GainesEl                                          Check all that apply.
           31375 Arthur Road                                            Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1684    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Charles Galati                                            Check all that apply.
           424 N. Hambden St.                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1685    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Edie Galiardi                                             Check all that apply.
           9170 sarah ct                                                Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1686    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Cynthia Galindo                                           Check all that apply.
           4565 Crystal Clear Dr.                                       Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1687    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Jeanne Gallagher                                          Check all that apply.
           20863 Stratford Avenue                                       Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1688    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Katie Gallagher                                           Check all that apply.
           7951 Willowbrook Drive                                       Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1689    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Marianne Gallagher                                        Check all that apply.
           25 high court                                                Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1690    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Mary Gallagher                                            Check all that apply.
           12520 Deer Creek Dr 312                                      Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1691    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Michelle Gallite                                          Check all that apply.
           2981 Socialville Foster RD                                   Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1692    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Lauren Galloway                                           Check all that apply.
           7427 S Chestnut Commons Drive                                Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1693    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Michele Galluppi                                          Check all that apply.
           2790 Haggett Dr.                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1694    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Lisa Galvin                                               Check all that apply.
           10271 W Sprague Road                                         Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1695    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Tricia Galvin                                             Check all that apply.
           8204 Dartmoor                                                Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1696    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Christopher Gamble                                        Check all that apply.
           160 Virginia Dr.                                             Contingent
           West Liberty, OH 43357                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1697    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Julie Gambrell                                            Check all that apply.
           2500 Greenlawn Drive                                         Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1698    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Ashish Gandhi                                             Check all that apply.
           po box 36389                                                 Contingent
           cincinnati, OH 45236                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1699    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Jack Gangadin                                             Check all that apply.
           1191 Craig Court                                             Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1700    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Christine Gangale                                         Check all that apply.
           12609 Athena Dr                                              Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1701    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Heather Gansler                                           Check all that apply.
           9892 Oakwood Dr                                              Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1702    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Dorit Ganson                                              Check all that apply.
           144 Shipherd Circle                                          Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1703    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           YELENA GANTMAN                                            Check all that apply.
           32462 SPRINGSIDE LANE                                        Contingent
           SOLON, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1704    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Meizhu Gao                                                Check all that apply.
           7631 pleasant colony ct                                      Contingent
           Lewis center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1705    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Kristine Garber                                           Check all that apply.
           1136 Winchester Dr                                           Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1706    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Julie Garcia                                              Check all that apply.
           5542 Navarre rd se                                           Contingent
           Canton, OH 44706                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1707    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Liz Garcia                                                Check all that apply.
           3720 N Hogan Dr                                              Contingent
           lorain, OH 44053                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1708    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Oscar Garcia                                              Check all that apply.
           7204 hosbrook rd                                             Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1709    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           ANTHONY GARDNER                                           Check all that apply.
           5594 WANDA WAY                                               Contingent
           HAMILTON, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1710    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Steve Garfield                                            Check all that apply.
           6809 Mayapple Circle                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1711    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Laura Gariety                                             Check all that apply.
           2361 Girard Ln W                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1712    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Iris Garman                                               Check all that apply.
           1797 Normandy Lane                                           Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1713    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Iris Garman                                               Check all that apply.
           1797 Normandy Lane                                           Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1714    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Amy Garner                                                Check all that apply.
           1412 Perry Dr SW                                             Contingent
           Canton, OH 44710                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1715    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           John Garrabrant                                           Check all that apply.
           9666 Old State Rd                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1716    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Holly Garrard                                             Check all that apply.
           8850 S Hartshorn Rd                                          Contingent
           Lakeside Marblehead, OH                                      Unliquidated
           43440-2563                                                   Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1717    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Denise Garrett                                            Check all that apply.
           8550 Kirkwood Dr.                                            Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1718    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Jaclyn Garrett                                            Check all that apply.
           218 TUCKMERE DR                                              Contingent
           PAINESVILLE, OH 44077-2472                                   Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1719    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           John Garter                                               Check all that apply.
           1706 Kings Court                                             Contingent
           Kings Mills, OH 45034                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1720    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Dawn Gartner                                              Check all that apply.
           33150 Rockford Drive                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1721    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Michelle Gaskins                                          Check all that apply.
           7032 Ashwood Knolls Dr                                       Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1722    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Hrach Gasparyan                                           Check all that apply.
           South Harbor Drive                                           Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1723    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Ann Gasser                                                Check all that apply.
           213 Monticello Dr.                                           Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1724    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Jefferson Gaston                                          Check all that apply.
           3745 Grosvenor RD                                            Contingent
           South Euclid, OH 44118                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1725    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $890.00    $890.00
           Lindsay Gatchel                                           Check all that apply.
           2137 Ben Brush Pl                                            Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1726    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Adam Gatts                                                Check all that apply.
           180 Overmont Avenue SW                                       Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1727    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Mary Gause                                                Check all that apply.
           959 Kenwood Lane                                             Contingent
           Columbus, OH 43220                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1728    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Jodie Gaut                                                Check all that apply.
           4921 Kemary Ave SW                                           Contingent
           Navarre, OH 44662                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1729    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Devin Gaymon                                              Check all that apply.
           32875 Aspen Glen Dr                                          Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1730    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Amber Geary                                               Check all that apply.
           4876 15th St SW                                              Contingent
           Canton, OH 44710                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1731    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Andrew Gebby                                              Check all that apply.
           9236 Helen Lane                                              Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1732    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Lisa Geber                                                Check all that apply.
           12130 hotchkiss rd                                           Contingent
           Burton, OH 44021                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1733    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Orjada Gecaj                                              Check all that apply.
           2450 Jameston dr Rocky River                                 Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1734    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Tammy Geckle                                              Check all that apply.
           4510 cr 236                                                  Contingent
           arcadia, OH 44804                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1735    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Liz Gee                                                   Check all that apply.
           549 Chardonnay Ln                                            Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1736    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Gregg Gehring                                             Check all that apply.
           6768 Trafalgar Loop                                          Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1737    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Stephanie Gehring                                         Check all that apply.
           7513 Creekwood Drive                                         Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1738    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Stephanie Gehring                                         Check all that apply.
           7513 Creekwood Drive                                         Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1739    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Pat Gehrisch                                              Check all that apply.
           7137 TR 212                                                  Contingent
           findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1740    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Cathy Gehrke                                              Check all that apply.
           12130 Falls Rd                                               Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1741    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Alison Geiser                                             Check all that apply.
           9609 St Rt 613                                               Contingent
           Van Buren, OH 45889                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1742    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Alison Geiser                                             Check all that apply.
           9609 St Rt 613                                               Contingent
           Van Buren, OH 45889                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1743    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Amanda Geiser                                             Check all that apply.
           370 Windsor Drive                                            Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1744    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Cassie Geizer                                             Check all that apply.
           4794 marigold rd                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1745    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Rebecca Gellin                                            Check all that apply.
           283 miles rd                                                 Contingent
           chagrin falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1746    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Bev Genova                                                Check all that apply.
           1632 Kasserine                                               Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1747    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Carlee Genovese                                           Check all that apply.
           1346 Sharonbrook Dr.                                         Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1748    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Abby Gentis                                               Check all that apply.
           3499 Wilson Woods Drive                                      Contingent
           columbus, OH 43204                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1749    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Catherine George                                          Check all that apply.
           18902 Colahan Drive                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1750    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Jennifer George                                           Check all that apply.
           1809 Pine Knoll Avenue NW                                    Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1751    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Kari George                                               Check all that apply.
           1143 Lee Ave                                                 Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1752    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Samuel Georgejr                                           Check all that apply.
           8751 oakvillage blvd                                         Contingent
           lewis center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1753    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Steven Georgiadi                                          Check all that apply.
           5653 Spring Grove Dr                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1754    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Missy Gerbick                                             Check all that apply.
           5028 Lakeview Drive                                          Contingent
           Peninsula, OH 44264                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1755    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Michael Geregach                                          Check all that apply.
           3025 Valley Lane Dr                                          Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1756    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Janet Gerity                                              Check all that apply.
           4932c friar rd                                               Contingent
           Stow, OH 44224                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1757    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           RACHEL GERLICA                                            Check all that apply.
           10183 CHARDON RD                                             Contingent
           CHARDON, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1758    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           RACHEL GERLICA                                            Check all that apply.
           10183 CHARDON RD                                             Contingent
           CHARDON, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1759    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Sandi Germ-Dewey                                          Check all that apply.
           308 sylvia dr                                                Contingent
           chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1760    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Brooke Germaine                                           Check all that apply.
           3062 Walkerview dr.                                          Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1761    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Holly German                                              Check all that apply.
           5376 Ohio St                                                 Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1762    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Karen German                                              Check all that apply.
           33720 Carriage Park Drive                                    Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1763    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Christina Germovsek                                       Check all that apply.
           10925 Copperleaf Drive                                       Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1764    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Marti Gerome                                              Check all that apply.
           32140 tracy lane                                             Contingent
           solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1765    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Nora Gerson                                               Check all that apply.
           8002 Dovegate Circle                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1766    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Jessica Gerwels                                           Check all that apply.
           321 E Chillicothe Ave                                        Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1767    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Lisa Getz-Cammel                                          Check all that apply.
           2541 Wildflower Lane NE                                      Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1768    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Anindita Ghosh                                            Check all that apply.
           37282 tidewater drive                                        Contingent
           solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1769    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           MARIA GIALLANZA                                           Check all that apply.
           3432 HERON COURT                                             Contingent
           REMINDERVILLE, OH 44202                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1770    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Amanda Giannattasio                                       Check all that apply.
           119 E. Summit Street                                         Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1771    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Kristy Gibbs                                              Check all that apply.
           424 North Park Street                                        Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1772    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Amanda Gibson                                             Check all that apply.
           992 linwood Drive                                            Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1773    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Amanda Gibson                                             Check all that apply.
           992 linwood Drive                                            Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1774    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Laura Gibson                                              Check all that apply.
           5044 Belle Meadow Rd.                                        Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1775    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Megan Gibson                                              Check all that apply.
           4827 corduroy Rd                                             Contingent
           mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1776    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Michelle Gibson                                           Check all that apply.
           2541 Dale Ave                                                Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1777    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Seana Gibson                                              Check all that apply.
           917 South Walnut Street                                      Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1778    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Troy Gibson                                               Check all that apply.
           7664 Lydia Drive                                             Contingent
           Lewis Center, OH 43035-8078                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1779    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Emily Gielink                                             Check all that apply.
           10089 Patton St                                              Contingent
           Twinsburg, OH 44087-1011                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1780    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Barbara Gifford                                           Check all that apply.
           19948 Purnell Ave                                            Contingent
           Rocky river, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1781    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Al Gilbert                                                Check all that apply.
           6226 Dawson Blvd                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1782    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Vicky Gilbey                                              Check all that apply.
           6855 Georgetown Drive                                        Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1783    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Elizabeth Gill                                            Check all that apply.
           2540 Trillium Cir NE                                         Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1784    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Melissa Gill                                              Check all that apply.
           5759 Thorngate Drive                                         Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1785    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Russell Gill                                              Check all that apply.
           8025 Patterson Rd                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1786    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Michael Gillen                                            Check all that apply.
           2228 croydon rd                                              Contingent
           twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1787    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jennifer Gilles                                           Check all that apply.
           11583 Auburn Road                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1788    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Cheryl Gillespie                                          Check all that apply.
           11239 prouty rd                                              Contingent
           concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1789    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Cheryl Gillespie                                          Check all that apply.
           11239 prouty rd                                              Contingent
           concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1790    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Chris Gillespie                                           Check all that apply.
           1306 westwood drive                                          Contingent
           lewis center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1791    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Tina Gilliand                                             Check all that apply.
           3039 elora lane                                              Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1792    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Beth Gillman                                              Check all that apply.
           714 taft st                                                  Contingent
           port clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1793    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kathryn Giltz                                             Check all that apply.
           514 Rachel Cir NW                                            Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1794    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Silvana Gina                                              Check all that apply.
           2830 Carmen Drive                                            Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1795    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Beth Ginther                                              Check all that apply.
           2536 Cedarwood Court                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1796    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Karen Gioffredo                                           Check all that apply.
           928 State Street                                             Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1797    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Scott Giomini                                             Check all that apply.
           20342 Parkview Ave                                           Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1798    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Laura Giordano                                            Check all that apply.
           9787 Barnswood Lane                                          Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1799    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Luann Gips                                                Check all that apply.
           24600 S. Woodland Rd.                                        Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1800    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Julie Gittins                                             Check all that apply.
           10501 sawmill drive                                          Contingent
           chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1801    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Kristina Glassford                                        Check all that apply.
           3795 Fallen Timbers Way                                      Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1802    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Mark Glatley                                              Check all that apply.
           7039 Navajo Trail                                            Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1803    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Mike Glatzer                                              Check all that apply.
           3823 Tuxedo                                                  Contingent
           Parma, OH 44134                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1804    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Mary Glauser                                              Check all that apply.
           125 Claridon Rd                                              Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1805    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Darren Glenn                                              Check all that apply.
           32147 Hamilton court #106                                    Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1806    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Jeannette Glenn                                           Check all that apply.
           10243 Sandalwood Ln                                          Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1807    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Tiffany Glenn                                             Check all that apply.
           2711 Sheila Dr.                                              Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1808    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Nicola Glew                                               Check all that apply.
           13345 Foxmoor Tr                                             Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1809    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Caroline Glickberg                                        Check all that apply.
           14147 kimrose LN                                             Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1810    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Rick Glime                                                Check all that apply.
           455 Olivet Dr                                                Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1811    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $315.00    $315.00
           Doxie Glinatsis                                           Check all that apply.
           326 Northcliff Dr 326 Northcliff Dr                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1812    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Kristina Glusauskas                                       Check all that apply.
           6395 Liberty Rd                                              Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1813    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Michelle Goad                                             Check all that apply.
           7438 Andover Way                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1814    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Krista Godwin                                             Check all that apply.
           1150 Pond View Dr                                            Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1815    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Krista Godwin                                             Check all that apply.
           1150 Pond View Dr                                            Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1816    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Dawn Goedde                                               Check all that apply.
           5800 Saucony Dr                                              Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1817    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Janet Goeldner                                            Check all that apply.
           7625 Zion Hill Rd                                            Contingent
           Cleves, OH 45002-9609                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1818    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Kim Goellner                                              Check all that apply.
           10620 Alyssa court                                           Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1819    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Chrissy Goelz                                             Check all that apply.
           8682 Sweetwater Ct                                           Contingent
           Powell, OH 43065                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1820    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Heather Goetz                                             Check all that apply.
           2015 Edgewood Drive                                          Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1821    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Kelly Goff                                                Check all that apply.
           3762 Kilbride Ct.                                            Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1822    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Rena Golan                                                Check all that apply.
           24326 Maidstone LN                                           Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1823    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Marjorie Gold                                             Check all that apply.
           174 Smith Street                                             Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1824    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Steven Goldberg                                           Check all that apply.
           5680 Woodsmore Drive                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1825    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Igor Goldman                                              Check all that apply.
           3363 Shale Dr                                                Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1826    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Rhoda Goldschmidt                                         Check all that apply.
           25085 Twickenham Dr.                                         Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1827    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Joanna Goldslager                                         Check all that apply.
           236 N. Hayden Parkway                                        Contingent
           HUDSON, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1828    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Inga Golubitsky                                           Check all that apply.
           6712 Winston ln                                              Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1829    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Rebecca Gomersal                                          Check all that apply.
           6161 Willow Lake Dr.                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1830    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Paul Gonder                                               Check all that apply.
           2855 Roanoke st nw                                           Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1831    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Xiong Gong                                                Check all that apply.
           6628 Westpoint Dr.                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1832    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Leah Gonia                                                Check all that apply.
           7857 Rutland Drive                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1833    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Virginia Gonzales                                         Check all that apply.
           506 Falls Rd                                                 Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1834    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Angela Gonzalez                                           Check all that apply.
           429 N. Finley St.                                            Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1835    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Antonio Gonzalez                                          Check all that apply.
           2051 Garden Ln                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1836    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Jesus Gonzalez                                            Check all that apply.
           149 bellfield avenue                                         Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1837    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Karin Gonzalez                                            Check all that apply.
           7393 Hollywood Drive                                         Contingent
           West Chester, OH 45069                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1838    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Sharon Gonzalez                                           Check all that apply.
           218 Ellis St.                                                Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1839    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Christine Good                                            Check all that apply.
           2880 Chippendale Dr.                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1840    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jeremy Good                                               Check all that apply.
           6090 Reynolds Road                                           Contingent
           Mentor On the Lake, OH 44060                                 Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1841    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Dawn Goodfield                                            Check all that apply.
           8247 Hemingway Ln                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1842    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Dawn Goodfield                                            Check all that apply.
           8247 Hemingway Ln                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1843    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Julie Goodill                                             Check all that apply.
           2307 winfield ave                                            Contingent
           Rocky river, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1844    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $450.00    $450.00
           Mindy Goodin                                              Check all that apply.
           148 Paw Paw Lake Drive                                       Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1845    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $450.00    $450.00
           Mindy Goodin                                              Check all that apply.
           148 Paw Paw Lake Drive                                       Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1846    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $480.00    $480.00
           Sandra Goodin                                             Check all that apply.
           161 S. Franklin Street                                       Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1847    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Jenny Goodman                                             Check all that apply.
           8860 Edgewood Drive                                          Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1848    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Kristine Goodman                                          Check all that apply.
           3092 ADENA POINT CT                                          Contingent
           COLUMBUS, OH 43221-4709                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1849    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Laura Goodman                                             Check all that apply.
           7771 Carriage House Ct                                       Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1850    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Cherise Goodrich                                          Check all that apply.
           9485 Hinsdale Dr                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1851    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Betsy Goodrum                                             Check all that apply.
           10060 College Park Dr                                        Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1852    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kristen Goodson                                           Check all that apply.
           2781 Lombardi Ave SW                                         Contingent
           Canton, OH 44706                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1853    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Mike Goodwin                                              Check all that apply.
           906 Lost Pond Pkwy                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1854    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Ann Gordos                                                Check all that apply.
           491 Bell Rd                                                  Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1855    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Holly Gorski                                              Check all that apply.
           27900 Cannon Road                                            Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1856    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jeff Goss                                                 Check all that apply.
           7647 Goldenrod Dr                                            Contingent
           Mentor on the Lake, OH 44060                                 Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1857    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Sally Goss                                                Check all that apply.
           518 Falls Rd                                                 Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1858    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Shannon Goss                                              Check all that apply.
           5673 Londonairy Blvd                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1859    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Corinne Gostel                                            Check all that apply.
           7139 Overton Way                                             Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1860    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           David Gottlieb                                            Check all that apply.
           6185 Penfield Lane                                           Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1861    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Ed Gottschalk                                             Check all that apply.
           200 Industrial Pkwy Ste 1                                    Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1862    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Suresh Govindarajulu                                      Check all that apply.
           865 Claytonbend dr.                                          Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1863    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Andrea Grabowski                                          Check all that apply.
           138 Preston St                                               Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1864    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Marnie Grabowski                                          Check all that apply.
           2995 Pirates Cove                                            Contingent
           Reminderville, OH 44202                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1865    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Laura Gracon                                              Check all that apply.
           11153 Winding Brook Lane                                     Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1866    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Heidi Grady                                               Check all that apply.
           6414 Canterbury Drive                                        Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1867    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Paul Graf                                                 Check all that apply.
           1300 Cottonwood Drive                                        Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1868    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           David Graham                                              Check all that apply.
           1603 Bristol Commons Pl                                      Contingent
           Columbusbus, OH 43240                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1869    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Melissa Graham                                            Check all that apply.
           6582 Iroquois tr                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1870    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Amy Grainger                                              Check all that apply.
           6332 Durban Dr                                               Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1871    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Kristen Grande                                            Check all that apply.
           7052 Merlin Way                                              Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1872    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           David Granger                                             Check all that apply.
           2038 Edgewood Drive                                          Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1873    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Cindy Gray                                                Check all that apply.
           12255 waterfowl lane                                         Contingent
           chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1874    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Megan Graybill                                            Check all that apply.
           64 Blackberry Dr                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1875    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Starshine Graziadei                                       Check all that apply.
           7040 Cherrywood Cir                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1876    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Kassi Greaf                                               Check all that apply.
           612 Mckaig Ave                                               Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1877    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Christina Greco                                           Check all that apply.
           2647 Sandstone Path                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1878    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Christina Greco                                           Check all that apply.
           2647 Sandstone Path                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1879    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Christina Greco                                           Check all that apply.
           2647 Sandstone Path                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1880    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Janice Greco                                              Check all that apply.
           15020 Steelhead Run                                          Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1881    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Lisa Greco                                                Check all that apply.
           9925 Gabriella Drive                                         Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1882    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Ed Grecol                                                 Check all that apply.
           121 Atterbury Blvd                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1883    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Andrea Green                                              Check all that apply.
           115 Bath Street                                              Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1884    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Cecelia Green                                             Check all that apply.
           530 Canford Ave NW                                           Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1885    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Marilyn Green                                             Check all that apply.
           34900 Park E Dr A-201                                        Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1886    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Shawn Green                                               Check all that apply.
           3955 Euclid Ave (Quincy Place)                               Contingent
           Cleveland, OH 44115                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1887    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Tom Green                                                 Check all that apply.
           12760 Big Creek Ridge                                        Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1888    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Vickie Green                                              Check all that apply.
           6108 Jimson Drive                                            Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1889    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kristina Greene                                           Check all that apply.
           4110 Kropf Avenue SW                                         Contingent
           Canton, OH 44706                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1890    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Aimee Greenfield                                          Check all that apply.
           20851 Endsley Ave                                            Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1891    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Piper Greenlee                                            Check all that apply.
           5652 Primavera Drive                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1892    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Ann Greenwood                                             Check all that apply.
           6318 Morrisey PL                                             Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1893    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Heather Greenwood                                         Check all that apply.
           10353 Madison Rd                                             Contingent
           Montville, OH 44064                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1894    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Jennifer Grega                                            Check all that apply.
           241 Boston Mills Road                                        Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1895    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Dale Gregan                                               Check all that apply.
           1016 Barclay Dr                                              Contingent
           GALLOWAY, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1896    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Susan Gregory                                             Check all that apply.
           1659 Sheffield Terrace                                       Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1897    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Laura Greiner                                             Check all that apply.
           11754 Ivy Ridge Drive                                        Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1898    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Melissa Gremm                                             Check all that apply.
           8250 Crystal Creek Dr                                        Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1899    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Tamara Grether                                            Check all that apply.
           1600 Amboy Drive                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1900    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Tyra Grier-Coleman                                        Check all that apply.
           3320 Darien Lane                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1901    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Chad Grieser                                              Check all that apply.
           12752 Chickory Drive                                         Contingent
           Van Buren, OH 45889                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1902    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Traci Grieser                                             Check all that apply.
           115 east 11th st                                             Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1903    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Brandi Griffin                                            Check all that apply.
           5572 Wind Drift Dr                                           Contingent
           Powell, OH 43065                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1904    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Danielle Griffin                                          Check all that apply.
           9415 Sarah Court                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1905    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Nicole Griffin                                            Check all that apply.
           120 Arrowfeather Lane                                        Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1906    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Marlene Grigger                                           Check all that apply.
           11356 Albion Road                                            Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1907    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Amy Griggs                                                Check all that apply.
           527 S. Market st.                                            Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1908    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Melissa Grignon                                           Check all that apply.
           5620 Spring Grove Dr.                                        Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1909    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Gwendolyn Grimes                                          Check all that apply.
           1916 Stanford St                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1910    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Sarah Grimm                                               Check all that apply.
           2470 Renwick Way                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1911    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Stephanie Gripp                                           Check all that apply.
           893 Silverberry Lane                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1912    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Kimberly Grise-Smith                                      Check all that apply.
           7100 Fowler Ave                                              Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1913    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Julie Groenke                                             Check all that apply.
           3381 Blossom Trail                                           Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1914    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Chi-hua Groff                                             Check all that apply.
           7238 Selworthy Lane                                          Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1915    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Janelle Groff                                             Check all that apply.
           908 River Forest Drive                                       Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1916    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Tiffany Groff                                             Check all that apply.
           3272 Persia cir sw                                           Contingent
           massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1917    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Sarah Grogan                                              Check all that apply.
           5235 Concord Mill Place                                      Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1918    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Kathleen Groger                                           Check all that apply.
           1080 Pebble Brook Dr                                         Contingent
           Columbus, OH 43240                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1919    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Monique Groot                                             Check all that apply.
           2980 Pine Trails Circle                                      Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1920    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Elizabeth Gross                                           Check all that apply.
           7783 ranett ave                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1921    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Beth Grossberg                                            Check all that apply.
           7096 Southwoods lane                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1922    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Eric Grothaus                                             Check all that apply.
           2434 Poppy Dr                                                Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1923    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Jessica Grove                                             Check all that apply.
           4418 Chevron circle sw                                       Contingent
           massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1924    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Tiffany Grow                                              Check all that apply.
           520 E. Sandusky Ave.                                         Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1925    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Jeanne Gruden                                             Check all that apply.
           4811 Trailpath dr                                            Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1926    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Denise Grugle                                             Check all that apply.
           13048 Hampton Club Drive #103                                Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1927    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Naomi Grunzweig                                           Check all that apply.
           36311 Blue Grass Oval                                        Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1928    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Naomi Grunzweig                                           Check all that apply.
           36311 Blue Grass Oval                                        Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1929    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Kelly Gruver                                              Check all that apply.
           2506 Thornhill dr                                            Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1930    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Ronghui Gu                                                Check all that apply.
           3838 River Lane                                              Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1931    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Carl Guendelsberger                                       Check all that apply.
           8012 risden road                                             Contingent
           vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1932    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Rosario Guerrero                                          Check all that apply.
           12860 Mayfield Rd Lot 122                                    Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1933    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Kim Guerrieri                                             Check all that apply.
           6150 Firwood Rd                                              Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1934    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Zhiwu Gui                                                 Check all that apply.
           6845 Silkwood ln                                             Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1935    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Liz Guibord                                               Check all that apply.
           219 Stone Brook Way                                          Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1936    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Liz Guibord                                               Check all that apply.
           219 Stone Brook Way                                          Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1937    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Michele Guiffre                                           Check all that apply.
           2388 Mount Union Ave SE                                      Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1938    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $395.00    $395.00
           Nicki Guistino                                            Check all that apply.
           89 Bard Dr.                                                  Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1939    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Mike Gulitz                                               Check all that apply.
           1355 Fireside Trail                                          Contingent
           Broadview Heights, OH 44147                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1940    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jessica Gullett                                           Check all that apply.
           404R South Walnut Street                                     Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1941    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jessica Gullett                                           Check all that apply.
           404R South Walnut Street                                     Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1942    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Timothy Gullo                                             Check all that apply.
           10767 Chardon Road                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1943    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           VIRGINIA GUNN                                             Check all that apply.
           138 W. Lincoln Street                                        Contingent
           OBERLIN, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1944    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Susan Gura                                                Check all that apply.
           20030 Parkview Ave.                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1945    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Brenda Gurepko                                            Check all that apply.
           12744 Ridge road                                             Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1946    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Victoria Guscoff                                          Check all that apply.
           4885 auroura 4885 auroura                                    Contingent
           canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1947    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Catrina Guthrie                                           Check all that apply.
           301 W 6th St                                                 Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1948    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Lisa Guttman                                              Check all that apply.
           8793 Creekwood Ln                                            Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1949    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Shelby Guttu                                              Check all that apply.
           9115 Sugarbush Dr.                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1950    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Dorothy Gyekenyesi                                        Check all that apply.
           2670 Carmen Dr                                               Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1951    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Christine Haas                                            Check all that apply.
           234 Colonial Drive                                           Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1952    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Jodi Habel                                                Check all that apply.
           1338 Briarshore Way                                          Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1953    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Heather Haberman                                          Check all that apply.
           11486 Viceroy St.                                            Contingent
           Concord Twp, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1954    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kristin Hackenbracht                                      Check all that apply.
           3878 Groveland Ave SW                                        Contingent
           Navarre, OH 44662                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1955    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Wendy Hacker                                              Check all that apply.
           2635 Arborwood Dr.                                           Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1956    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Margie Hackett                                            Check all that apply.
           2493 Gasser Blvd.                                            Contingent
           Rocky River, OH 44116-2532                                   Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1957    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Pascale Hadchiti                                          Check all that apply.
           11138 Hempstead Lane                                         Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1958    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Lisa Haddix                                               Check all that apply.
           10122 Timothy Ln                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1959    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Joanne Hadfield                                           Check all that apply.
           1564 Carriage Hill Drive                                     Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1960    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Naoual Hadri                                              Check all that apply.
           1336 palmer house court                                      Contingent
           columbus, OH 43235                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1961    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Tammie Hagedorn                                           Check all that apply.
           2581 Westmoor Road                                           Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1962    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Hodge Hager                                               Check all that apply.
           617 N. Main St.                                              Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1963    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Sara Haggard                                              Check all that apply.
           4417 Jennydawn Pl                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1964    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Nicole Hahn                                               Check all that apply.
           909 Wagar Rd                                                 Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1965    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Daniel Haines                                             Check all that apply.
           3014 Landen Farm Rd. E.                                      Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1966    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Robert Haines                                             Check all that apply.
           7570 Dahlia Dr.                                              Contingent
           Mentor-on-the-Lake, OH 44060                                 Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1967    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Tracy Hajjar                                              Check all that apply.
           11175 Clark Road                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1968    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Melinda Hale                                              Check all that apply.
           122 creemer st                                               Contingent
           cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1969    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Jami Haley                                                Check all that apply.
           9768 Scottsdale Drive                                        Contingent
           Broadview Heights, OH 44147                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1970    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $445.00    $445.00
           Tabatha Haley                                             Check all that apply.
           9778 Hayfield Ct                                             Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1971    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $445.00    $445.00
           Tabatha Haley                                             Check all that apply.
           9778 Hayfield Ct                                             Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1972    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Sarah Halford                                             Check all that apply.
           1921 Regan Ct.                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1973    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Adam Hall                                                 Check all that apply.
           7673 Daytona st                                              Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1974    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Cindy Hall                                                Check all that apply.
           108 E. Tenth Street                                          Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1975    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Cynthia Hall                                              Check all that apply.
           865 Barnhart Road                                            Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1976    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Deborah Hall                                              Check all that apply.
           5915 Longview St. SW                                         Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1977    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Katie Hall                                                Check all that apply.
           5010 Hollow Oak Court                                        Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1978    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Kim Hall                                                  Check all that apply.
           35 Cohasset Drive                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1979    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Rebecca Hall                                              Check all that apply.
           451 Whitman Blvd                                             Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1980    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Suzanne Hall                                              Check all that apply.
           35755 solon rd                                               Contingent
           solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1981    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Tamara Hall                                               Check all that apply.
           6134 Willow Lake Drive                                       Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1982    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Cindy Hallgren                                            Check all that apply.
           2432 Libra Cir SW                                            Contingent
           Canton, OH 44706                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1983    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Cheryl Halsey                                             Check all that apply.
           1483 N. Edgewater Dr.                                        Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1984    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Kory Halstead                                             Check all that apply.
           2286 Wellington Cir                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1985    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Marlo Hamby                                               Check all that apply.
           5832 Island Dr                                               Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1986    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Moe Hamdan                                                Check all that apply.
           30 Martingale CT                                             Contingent
           Bentleyville, OH 44022                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1987    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Susan Hamdan                                              Check all that apply.
           20773 evergreen trail                                        Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1988    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Sonya Hamed                                               Check all that apply.
           2399 Oakthorpe Drive                                         Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1989    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Jeremy Hamel                                              Check all that apply.
           3732 Charfield Ln.                                           Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1990    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Dana Hamilton                                             Check all that apply.
           6221 Barley Oaks road                                        Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1991    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Lori Hamm                                                 Check all that apply.
           7244 Osceoloa Dr                                             Contingent
           Madeira, OH 45243                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1992    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Jennifer Hammarlund                                       Check all that apply.
           20020 Mercedes Avenue                                        Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1993    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Darlena Hammons                                           Check all that apply.
           26 Edison Street                                             Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1994    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Melisssa Hamms                                            Check all that apply.
           7505 Storrington Place                                       Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1995    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Manar Hamodeh                                             Check all that apply.
           1800 Wooster Rd                                              Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1996    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Pam Hamor                                                 Check all that apply.
           27 Hickory Lane                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1997    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Pamela Hamor                                              Check all that apply.
           27 Hickory Lane                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.1998    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Tracy Hamor                                               Check all that apply.
           12120 Caves Rd                                               Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.1999    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Dan Hampshire                                             Check all that apply.
           1590 Beechwood Dr.                                           Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2000    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Dan Hampshire                                             Check all that apply.
           1590 Beechwood Dr.                                           Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2001    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Matt Hamulak                                              Check all that apply.
           106 Sugarbush Glen                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2002    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Sunyoung Han                                              Check all that apply.
           90 hidden lake ln                                            Contingent
           peninsula, OH 44264                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2003    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Chris Hancock                                             Check all that apply.
           425 east franklin street                                     Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2004    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           MARY HANCOCK                                              Check all that apply.
           9572 RIDGE RD                                                Contingent
           NORTH ROYALTON, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2005    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           JulieAnn Hancsak                                          Check all that apply.
           60 Division St                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2006    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Shawna Haney                                              Check all that apply.
           5480 Hiawatha ct                                             Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2007    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Natalie Hanks                                             Check all that apply.
           3357 woodland dr                                             Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2008    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Krystal Hanley                                            Check all that apply.
           4545 Coolbrook Dr.                                           Contingent
           hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2009    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Audrey Hanlin                                             Check all that apply.
           936 Forestbrook Lane                                         Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2010    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Gina Hann                                                 Check all that apply.
           7610 Westcot Lane                                            Contingent
           Novelty, OH 44072                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2011    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Jennifer Hann                                             Check all that apply.
           7620 Westcot Lane                                            Contingent
           Novelty, OH 44072                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2012    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Patricia Hanna                                            Check all that apply.
           9345 WINCHESTER VLY                                          Contingent
           CHESTERLAND, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2013    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Tamela Hanna                                              Check all that apply.
           1527 SANFORD ST                                              Contingent
           VERMILION, OH 44089-1556                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2014    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Andrea Hannan                                             Check all that apply.
           725 Delverne Ave SW                                          Contingent
           Canton, OH 44710                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2015    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Greg Hannan                                               Check all that apply.
           129 s Hayden. Pkwy                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2016    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Mollie Hannon                                             Check all that apply.
           584 Indian Summer Dr.                                        Contingent
           Columbus, OH 43214                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2017    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Karen Hannum                                              Check all that apply.
           70 College Street                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2018    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Debra Hanslik                                             Check all that apply.
           8011 Colonial Drive Unit C                                   Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2019    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Greg Hanson                                               Check all that apply.
           8588 Carter Road                                             Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2020    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Melissa Hanson                                            Check all that apply.
           3655 E Oak Lake Drive                                        Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2021    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Anne Hanzel                                               Check all that apply.
           22340 Hilliard Blvd                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2022    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Dina Harder                                               Check all that apply.
           4685 Hayden Run Rd                                           Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2023    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Jim Harjo                                                 Check all that apply.
           4050 Millikin Rd                                             Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2024    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Sanna Harjusola-Webb                                      Check all that apply.
           17 Blackberry Dr                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2025    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Laura Harlan                                              Check all that apply.
           1646 Cedar Knoll St. NW                                      Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2026    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kim Harland                                               Check all that apply.
           410 Cayuga Circle NW                                         Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2027    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Kerry Harman                                              Check all that apply.
           3192 Menzola Drive                                           Contingent
           Columbus, OH 43228                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2028    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Christi Harmer                                            Check all that apply.
           26520 N. Woodland Rd.                                        Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2029    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Christi Harmer                                            Check all that apply.
           26520 N. Woodland Rd.                                        Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2030    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Heather Harmon                                            Check all that apply.
           15755 Harmony Falls Lane                                     Contingent
           Novelty, OH 44072                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2031    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Wendy Harmon                                              Check all that apply.
           5944 longview st sw                                          Contingent
           massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2032    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           HEATHER HARNIST                                           Check all that apply.
           89 CLAIRMONT DR                                              Contingent
           PAINESVILLE, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2033    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Dianna Harrahill                                          Check all that apply.
           856 Shawhan Rd.                                              Contingent
           MOrrow, OH 45152                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2034    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Sonya Harrell                                             Check all that apply.
           389 South Professor St                                       Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2035    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Robyn Harrigan                                            Check all that apply.
           3075 Andrew James Dr                                         Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2036    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Robyn Harrigan                                            Check all that apply.
           3075 Andrew James Dr                                         Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2037    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Sarah Harrington                                          Check all that apply.
           7903 Dellinger Rd                                            Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2038    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Amanda Harris                                             Check all that apply.
           6342 Morrisey Place                                          Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2039    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Chad Harris                                               Check all that apply.
           4917 Farber Row                                              Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2040    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Chris Harris                                              Check all that apply.
           1251 Homeland Drive                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2041    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Elliott Harris                                            Check all that apply.
           1775 Galleon Blvd                                            Contingent
           HILLIARD, OH 43026-8468                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2042    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Lesli Harris                                              Check all that apply.
           3793 Township Rd 180                                         Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2043    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Paul Harris                                               Check all that apply.
           916 pebble beach cove                                        Contingent
           painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2044    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Paul Harris                                               Check all that apply.
           916 pebble beach cove                                        Contingent
           painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2045    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Shana Harris                                              Check all that apply.
           3330 Honeysuckle dr                                          Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2046    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Steve Harris                                              Check all that apply.
           4329 fangboner rd.                                           Contingent
           fremont, OH 43420                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2047    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Victoria Harris                                           Check all that apply.
           1330 Golden Eagle Dr                                         Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2048    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Felicia Harrison                                          Check all that apply.
           6705 willow tree lane                                        Contingent
           glenwillow, OH 44139                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2049    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Jessica Harrison                                          Check all that apply.
           912 Orchardglow Close                                        Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2050    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Terence Harrison                                          Check all that apply.
           165 Mill Morr Dr                                             Contingent
           Painesville TWP, OH 44077                                    Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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              Name

 2.2051    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Chenette Hart                                             Check all that apply.
           10994 Kile rd                                                Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2052    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Jen Harte                                                 Check all that apply.
           313 e auburn ave                                             Contingent
           bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2053    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Rebecca Hartline                                          Check all that apply.
           2226 Tamarisk Court                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2054    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Anne Hartman                                              Check all that apply.
           21297 Endsley Ave                                            Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2055    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Jeffrey Hartwig                                           Check all that apply.
           3708 Rivervail Dr                                            Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2056    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Charlene Harvey                                           Check all that apply.
           3090 neille lane                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2057    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Christina Harvey                                          Check all that apply.
           9034 Jordan Rd                                               Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2058    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Elizabeth Harvey                                          Check all that apply.
           5671 Abbyshire dr                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2059    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Gretchen Harwood                                          Check all that apply.
           27020 Cedar Rd. #101                                         Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2060    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Shannon Hasak                                             Check all that apply.
           9695 Alder Ct.                                               Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2061    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Abul Hashem                                               Check all that apply.
           5311 Towbridge Drive                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2062    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Heather Hashman                                           Check all that apply.
           5797 Camhurst Court                                          Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2063    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Veronica Hatcher                                          Check all that apply.
           3330 Mill Run Dr.                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2064    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Kristen Hatchett                                          Check all that apply.
           36 Jefferson Dr                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2065    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Christiopher Hatfield                                     Check all that apply.
           11630 Lawnview Ave                                           Contingent
           cincinnati, OH 45246                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2066    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Tim Hatridge                                              Check all that apply.
           13188 Paddock Dr.                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2067    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Shannon Hatt                                              Check all that apply.
           315 W Fifth St                                               Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2068    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Bridget Hauser                                            Check all that apply.
           5538 Wanda Way                                               Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2069    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kim Hauser                                                Check all that apply.
           11585 Mayfield rd                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2070    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Monica Havens                                             Check all that apply.
           7563 Lakedge Ct.                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2071    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Rebecca Haverstick                                        Check all that apply.
           32539 Seneca Drive                                           Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2072    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Tricia Haviland                                           Check all that apply.
           136 Colonial Drive                                           Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2073    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Carrie Hawk                                               Check all that apply.
           147 Hawthorne Dr.                                            Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2074    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Windy Hawkins                                             Check all that apply.
           5451 Old Coble St                                            Contingent
           Canal Winchester, OH 43110                                   Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2075    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Adriana Hawks                                             Check all that apply.
           1671 Glenwood Dr                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2076    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Jennifer Hawley                                           Check all that apply.
           6044 Paula Blvd                                              Contingent
           north ridgeville, OH 44039                                   Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2077    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Julie Hawrylo                                             Check all that apply.
           6191 Brooks blvd                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2078    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Jennifer Hayes                                            Check all that apply.
           2976 Pirates Cove                                            Contingent
           Reminderville, OH 44202                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2079    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $475.00    $475.00
           Lucinda Hayes                                             Check all that apply.
           5440 Ramblehurst Ct                                          Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2080    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Megan Hayes                                               Check all that apply.
           4797 Seeman St Sw                                            Contingent
           Navarre, OH 44662                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2081    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Melissa Hayes                                             Check all that apply.
           5754 Nike Dr                                                 Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2082    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Stacey Hayes                                              Check all that apply.
           126 caroline st                                              Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2083    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Judson Haynes                                             Check all that apply.
           6653 Clovis Drive                                            Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2084    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Tarah Haynes                                              Check all that apply.
           305 Lincoln Drive                                            Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2085    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Amber Hays                                                Check all that apply.
           12908 Westchester Trl                                        Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2086    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Brittany Hays                                             Check all that apply.
           129 Horizon Court                                            Contingent
           Delaware, OH 43015                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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              Name

 2.2087    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Shane Hayslett                                            Check all that apply.
           731 Meadow Lane                                              Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2088    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Shane Hayslett                                            Check all that apply.
           731 Meadow Lane                                              Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2089    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Suzie Hazel                                               Check all that apply.
           8506 Olenbrook Dr.                                           Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2090    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Tao He                                                    Check all that apply.
           33201 Ashdown Dr                                             Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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              Name

 2.2091    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Sherry Headen                                             Check all that apply.
           6730 Andre Lane                                              Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2092    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jennifer Healan                                           Check all that apply.
           8142 Yorkshire Drive                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2093    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Seana Heard                                               Check all that apply.
           Cedar road 27020                                             Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2094    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Tenisha Heard                                             Check all that apply.
           26200 George Zeinger Dr. Apt.103                             Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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              Name

 2.2095    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Amanda Hearn                                              Check all that apply.
           7331 Striker Rd                                              Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2096    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Victoria Heasley                                          Check all that apply.
           8256 Rushton Dr                                              Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2097    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Heather Heater                                            Check all that apply.
           4746 Beth Ave SW                                             Contingent
           Canton, OH 44706                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2098    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Amy and Steve Heath                                       Check all that apply.
           116 Greenridge Drive                                         Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2099    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Tara Heath                                                Check all that apply.
           5953 Ancestor Dr                                             Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2100    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Alexandra Hebner                                          Check all that apply.
           7473 Belvedere Dr.                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2101    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Heather Heckathorn                                        Check all that apply.
           315 1/5 Wilson Ave                                           Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2102    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Suzanne Heckroth                                          Check all that apply.
           2007 Weston Dr                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2103    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Tiffani Hedgepeth                                         Check all that apply.
           3191 Andrew James Dr                                         Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2104    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Timothy Hedrick                                           Check all that apply.
           6340 Riverstone dr                                           Contingent
           Columbus, OH 43228                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2105    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jerry Heffner                                             Check all that apply.
           2522 Aberdeen court                                          Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2106    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Vishvas Hegde                                             Check all that apply.
           6343 Canterbury Drive                                        Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2107    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Gregg Heidrick                                            Check all that apply.
           5535 Richmond Road                                           Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2108    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Kurt Heilmann                                             Check all that apply.
           3664 North Delwood Drive                                     Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2109    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Kurt Heilmann                                             Check all that apply.
           3664 North Delwood Drive                                     Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2110    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Kurt Heilmann                                             Check all that apply.
           3664 North Delwood Drive                                     Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2111    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Kurt Heilmann                                             Check all that apply.
           3664 North Delwood Drive                                     Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2112    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Kurt Heilmann                                             Check all that apply.
           3664 North Delwood Drive                                     Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2113    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Laurie Heintz                                             Check all that apply.
           11652 Clark Road                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2114    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Donna Heinz                                               Check all that apply.
           1963 Boxwood Trl                                             Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2115    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Nikki Held                                                Check all that apply.
           9901 Cynthia Dr.                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2116    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Katy Heller                                               Check all that apply.
           4049 Bremen Pass                                             Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2117    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Amy Helm                                                  Check all that apply.
           5297 Chateau Way                                             Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2118    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Juliet Helmer                                             Check all that apply.
           2415 Rufus Ct.                                               Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2119    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Juliet Helmer                                             Check all that apply.
           2415 Rufus Ct.                                               Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2120    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Katy Helms                                                Check all that apply.
           21727 Walnut Lane                                            Contingent
           rocky river, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2121    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Tearany Helms                                             Check all that apply.
           102 East Market St.                                          Contingent
           VanBuren, OH 45889                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2122    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Kelsey Helton                                             Check all that apply.
           5753 Reswin Drive                                            Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2123    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Melinda Helton                                            Check all that apply.
           505 Virginia Ave                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2124    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Suzette Heltzel                                           Check all that apply.
           5353 Portland St 103                                         Contingent
           Columbus, OH 43235                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2125    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Jennifer Hembree                                          Check all that apply.
           260 Cummings rd                                              Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2126    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Angie Hemly                                               Check all that apply.
           10535 penniman dr                                            Contingent
           chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2127    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Ann Hemm                                                  Check all that apply.
           2720 Huntington Dr                                           Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2128    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Ann Hemm                                                  Check all that apply.
           2720 Huntington Dr                                           Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2129    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Stephanie Hemmerick                                       Check all that apply.
           6239 Caribou Ct.                                             Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2130    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Stacie Hemmert                                            Check all that apply.
           4421 Chukbuk Court                                           Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2131    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Aimee Hempker                                             Check all that apply.
           321 N. West St.                                              Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2132    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Heidi Henderhan                                           Check all that apply.
           731 Buckwalter Dr.                                           Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2133    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Tom Hendershot                                            Check all that apply.
           1429 Hawthorne Ct                                            Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2134    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jamie Henderson                                           Check all that apply.
           9348 South Brown RD                                          Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2135    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Michael Henderson                                         Check all that apply.
           6898 Traymore Court                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2136    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Tracy Henderson                                           Check all that apply.
           961 Lee Rd                                                   Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2137    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Matt Henneman                                             Check all that apply.
           12510 Deer Creek Dr #312                                     Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2138    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Christopher Henry                                         Check all that apply.
           1028 Co. Rd. 257                                             Contingent
           Fostoria, OH 44830                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2139    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Doug Henry                                                Check all that apply.
           25901 Annesley Rd                                            Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2140    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Michael Hensler                                           Check all that apply.
           154 Western Ridge Dr                                         Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2141    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Amy Hensley                                               Check all that apply.
           71 Manor Drive                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2142    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Becky Hensley                                             Check all that apply.
           65 Colony Drive                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2143    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Dennis Hensley                                            Check all that apply.
           65 Colony Drive                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2144    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Tracy Hensley                                             Check all that apply.
           100 Keenan rd Lot A-14                                       Contingent
           Peninsula, OH 44264                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2145    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Valerie Hensley                                           Check all that apply.
           932 North Main Street                                        Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2146    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Jennifer Henson                                           Check all that apply.
           10645 Fincherie Dr.                                          Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2147    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Jennifer Henson                                           Check all that apply.
           10645 Fincherie Dr.                                          Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2148    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Kera Hepke                                                Check all that apply.
           3080 Neille Ln                                               Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2149    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Stephanie Herbert                                         Check all that apply.
           708thornwoodst.                                              Contingent
           elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2150    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Tammy Herbruck                                            Check all that apply.
           12175 Waterfowl ln                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2151    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Joshua Herchl                                             Check all that apply.
           5819 Bradford Way                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2152    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Angela Herczeg                                            Check all that apply.
           7629 morley rd                                               Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2153    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           David Herman                                              Check all that apply.
           222 High Street                                              Contingent
           Chargin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2154    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Carmen Hernandez                                          Check all that apply.
           12860 Mayfield Rd. #140                                      Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2155    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Sara Hernandez                                            Check all that apply.
           94 South Street                                              Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2156    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Kristie Heron                                             Check all that apply.
           9951 Juniper Ct                                              Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2157    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Angela Hershberger                                        Check all that apply.
           114 Lagoon Cir.                                              Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2158    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Candice Herst                                             Check all that apply.
           11001 Leader Rd                                              Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2159    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Lora Hertel                                               Check all that apply.
           19800 State Road                                             Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2160    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Jennifer Hertzfeld                                        Check all that apply.
           2236 Omaha Place                                             Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2161    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Michelle Hervey                                           Check all that apply.
           816 Norbury Dr                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2162    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Dusti Herz                                                Check all that apply.
           1477 Township Road 14                                        Contingent
           Van Buren, OH 45889                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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              Name

 2.2163    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Paul Heslep                                               Check all that apply.
           244 n. professor st                                          Contingent
           oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2164    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Jenny Hess                                                Check all that apply.
           1098 Chatham Place                                           Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2165    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Katherine Hess                                            Check all that apply.
           7866 Manorgate Street                                        Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2166    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Reyma Hess                                                Check all that apply.
           5865 Saucony Drive                                           Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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              Name

 2.2167    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Michael Hessler                                           Check all that apply.
           5710 Canehill Lane                                           Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2168    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Elizabeth Hester                                          Check all that apply.
           34545 Bainbridge Road                                        Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2169    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           CONNIE HEUBLEIN                                           Check all that apply.
           8120 HUMPHREY HILL DRIVE                                     Contingent
           CONCORD, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2170    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           CONNIE HEUBLEIN                                           Check all that apply.
           8120 HUMPHREY HILL DRIVE                                     Contingent
           CONCORD, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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              Name

 2.2171    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Kimberly Heyman                                           Check all that apply.
           6321 Corley Dr                                               Contingent
           DUBLIN, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2172    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Theresa Hibbard                                           Check all that apply.
           5562 Monica Drive                                            Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2173    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Taleia Hibdon                                             Check all that apply.
           9939 Darrow Park Dr Apt 207K                                 Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2174    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Jackie Hicks                                              Check all that apply.
           34200 Ada Dr.                                                Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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              Name

 2.2175    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Rachel Hicks                                              Check all that apply.
           9573 Ridge Rd                                                Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2176    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Angela Higgins                                            Check all that apply.
           524 Highmeadows Village Drive                                Contingent
           Powell, OH 43065                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2177    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           MaryAnn Higgins                                           Check all that apply.
           744 Knight Court                                             Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2178    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Linda High                                                Check all that apply.
           6265 Corley Dr                                               Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2179    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Bill Hildebrand                                           Check all that apply.
           10136 Valleydale St                                          Contingent
           Magnolia, OH 44646                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2180    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Stephanie Hileman                                         Check all that apply.
           1775 Barlow Road                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2181    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Annette Hill                                              Check all that apply.
           1824 Messner Drive                                           Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2182    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           James Hill                                                Check all that apply.
           2618 Barlow Road                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2183    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Jay Hill                                                  Check all that apply.
           7471 Woodspring Ln                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2184    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Jay Hill                                                  Check all that apply.
           7471 Woodspring Ln                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2185    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Jenneva Hill                                              Check all that apply.
           1780 Wright Ave.                                             Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2186    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Kimberly Hill                                             Check all that apply.
           894 Barwick Court                                            Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2187    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Susan Hill                                                Check all that apply.
           20880 Beaconsfield Blvd                                      Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2188    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Teresa Hill                                               Check all that apply.
           6756 Forest Glen                                             Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2189    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Tiffany Hill                                              Check all that apply.
           3090 Gilridge Dr                                             Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2190    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Timothy Hilt                                              Check all that apply.
           1601 Bending Willow Lane                                     Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2191    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Billi Hinkle                                              Check all that apply.
           850 Bonnie Lane Apt 718                                      Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2192    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Alex Hirsh                                                Check all that apply.
           7058 Southwoods Ln                                           Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2193    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Kelley Hixson                                             Check all that apply.
           10323 Johnnycake Ridge Rd                                    Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2194    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Neilson Hixson                                            Check all that apply.
           301 S Ridge Ave                                              Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2195    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Lea Hlifka                                                Check all that apply.
           11480 Aquilla Rd                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2196    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Susann Hocanson                                           Check all that apply.
           1161 Claudia Lane Apt. C                                     Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2197    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Evanthia Hocevar                                          Check all that apply.
           2790 Loreto Dr.                                              Contingent
           Willoughby Hills, OH 44094                                   Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2198    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Lisa Hocking                                              Check all that apply.
           2310 valley View Dr                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2199    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Lisa Hocking                                              Check all that apply.
           2310 valley View Dr                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2200    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Sarah Hockman                                             Check all that apply.
           768 Range Dr                                                 Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2201    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Steve Hockstra                                            Check all that apply.
           119 Keswick Drive                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2202    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Melvia Hodges                                             Check all that apply.
           1535 gelhot dr #141                                          Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2203    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Karen Hodgkiss                                            Check all that apply.
           2216 Reeves Avenue                                           Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2204    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Kristin Hodgson                                           Check all that apply.
           4065 Schirtzinger Rd                                         Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2205    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Lisa Hoefer                                               Check all that apply.
           493 Shepherds Way                                            Contingent
           Morrow, OH 45152                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2206    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Kelly Hoellein                                            Check all that apply.
           9397 Canterbury Ln                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2207    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Ann Hoelzel                                               Check all that apply.
           54 Morningside Dr.                                           Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2208    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Tammie Hoerig                                             Check all that apply.
           15389 Bent Tree Drive                                        Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2209    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Tammie Hoerig                                             Check all that apply.
           15389 Bent Tree Drive                                        Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2210    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Eric Hofacker                                             Check all that apply.
           316 W 6th St                                                 Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2211    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Matt Hofacre                                              Check all that apply.
           12090 PHEASANT CT                                            Contingent
           CHARDON, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2212    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Lisa Hoffman                                              Check all that apply.
           6518 Coen Road                                               Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2213    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Lori Hoffman                                              Check all that apply.
           1313 Nantucket Ave                                           Contingent
           Columbus, OH 43235                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2214    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Margaret Hoffman                                          Check all that apply.
           220 East Streetsboro Street                                  Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2215    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Nathan Hoffman                                            Check all that apply.
           P.O. Box 141505                                              Contingent
           Columbus, OH 43224                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2216    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Kimberly Hoffmann                                         Check all that apply.
           10055 Brookfield Dr.                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2217    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Matthew Hoffmann                                          Check all that apply.
           10019 Ezra Court                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2218    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Michelle Hofmeister                                       Check all that apply.
           8211 Coldharbor Blvd.                                        Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2219    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Andrea Hogan                                              Check all that apply.
           1787 river shore court                                       Contingent
           Kings mills, OH 45034                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2220    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Rebecca Hogue                                             Check all that apply.
           479 Thistleview Drive                                        Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2221    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Amy Hoinke                                                Check all that apply.
           8110 Jordan Ridge Dr                                         Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2222    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Amy Holbrook                                              Check all that apply.
           117 central court street                                     Contingent
           BELLEFONTAINE, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2223    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Amy Holbrook                                              Check all that apply.
           117 central court street                                     Contingent
           BELLEFONTAINE, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2224    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Heather Holbrook                                          Check all that apply.
           8938 fairmount road                                          Contingent
           novelty, OH 44072                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2225    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jacob Holbrook                                            Check all that apply.
           3432 Lilac ln                                                Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2226    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Heather Holcomb                                           Check all that apply.
           3014 Simecek Drive                                           Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2227    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Michele Holcomb                                           Check all that apply.
           2315 herrick cir                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2228    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Scott Holdren                                             Check all that apply.
           10113 Patton Street                                          Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2229    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Ellen Holland                                             Check all that apply.
           5720 Bonaly ct                                               Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2230    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Jen Hollinger                                             Check all that apply.
           1031 Minuteman Ave NW                                        Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2231    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Joan Hollis                                               Check all that apply.
           103 Alderwood Trail                                          Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2232    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Marie Holloway                                            Check all that apply.
           8511 forestview ave                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2233    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Len Hollowell                                             Check all that apply.
           6844 Meadowdale Circle                                       Contingent
           Madeira, OH 45243                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2234    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Ron Hollowell                                             Check all that apply.
           10010 Kile Rd.                                               Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2235    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Erica Holman                                              Check all that apply.
           7533 Estate Ave                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2236    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Judy Holman                                               Check all that apply.
           138 West Prospect St.                                        Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2237    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Heather Holmes                                            Check all that apply.
           7895 Wilderness Drive                                        Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2238    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Nichol Holpuch                                            Check all that apply.
           130 Center St 6B                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2239    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Melissa Holt                                              Check all that apply.
           13016 KEVIN LN F 11                                          Contingent
           CHARDON, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2240    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Teala Holt                                                Check all that apply.
           134 Belle ave nw                                             Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2241    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Kelly Holtz                                               Check all that apply.
           402 Deer Court                                               Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2242    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Paula Holubek                                             Check all that apply.
           13101 Mariner Drive                                          Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2243    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Erika Holubetz                                            Check all that apply.
           1877 RIVERWOOD TRAIiL                                        Contingent
           Kings Mills, OH 45034                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2244    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Stephanie Homorody                                        Check all that apply.
           7595 Pinehill Rd.                                            Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2245    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Krissy Honeycutt                                          Check all that apply.
           2626 Shady Tree Dr.                                          Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2246    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Justin Hons                                               Check all that apply.
           2567 Edgewood rd                                             Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2247    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Susan Hoover                                              Check all that apply.
           12841 Patricia Dr                                            Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2248    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jen Hopkins                                               Check all that apply.
           412 Chardon Ave                                              Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2249    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Karen Hopkins                                             Check all that apply.
           6950 LONGVIEW DR                                             Contingent
           SOLON, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2250    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Angela Hoppes                                             Check all that apply.
           6161 Burr Oak Way                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2251    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Bridgette Hopson                                          Check all that apply.
           1781 Rolling Hills Dr. Apt E                                 Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2252    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Shawnlisa Hopson                                          Check all that apply.
           9013 Gettysburg Dr.                                          Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2253    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Sherry Horan                                              Check all that apply.
           5840 Buckeye Ln Apt 3                                        Contingent
           Mentor on the lake, OH 44060                                 Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2254    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Jason Horne                                               Check all that apply.
           700 Township Road 179 Apt7C                                  Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2255    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           CRISTINA HORNIK                                           Check all that apply.
           12822 KINGSTON WAY                                           Contingent
           NORTH ROYALTON, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2256    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Hileri Hornyak                                            Check all that apply.
           8711 carmichael drive                                        Contingent
           chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2257    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Laura Horoszko                                            Check all that apply.
           7215 Allendale Dr.                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2258    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Robert Horrocks                                           Check all that apply.
           9655 Shadow Hill Trail                                       Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2259    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Tina Horschler                                            Check all that apply.
           37785 Aurora Rd                                              Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2260    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Debbie Horton                                             Check all that apply.
           406 Downing Drive                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2261    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Lori Horton                                               Check all that apply.
           4809 Parkside Dr --                                          Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2262    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Rachel Horton                                             Check all that apply.
           698 Washington Ave                                           Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2263    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Brent Horvath                                             Check all that apply.
           2173 Dorset Ln                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2264    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Ashley Hoschar                                            Check all that apply.
           2008 E Highgate Ct                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2265    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Edward Hosni                                              Check all that apply.
           6581 Sherry Ln                                               Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2266    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Mohammad Hossain                                          Check all that apply.
           10570 Penny Ln                                               Contingent
           Reminderville, OH 44202                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2267    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Christina Hough                                           Check all that apply.
           1592 Bending Willow Ln                                       Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2268    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Lisa Housley                                              Check all that apply.
           1610 Arlington Ave                                           Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2269    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Alex Hove                                                 Check all that apply.
           9100 Terrace Park Drive                                      Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2270    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Carrie Hover                                              Check all that apply.
           2328 Charoe St.                                              Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2271    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Renee Howard                                              Check all that apply.
           23511 Chagrin Blvd Apt #516                                  Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2272    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Brian Howell                                              Check all that apply.
           9901 Beechwood Drive                                         Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2273    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Donna Howell                                              Check all that apply.
           820 Sugarbush Court                                          Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2274    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Nicole Howell                                             Check all that apply.
           7970 Mentor Ave. K4 K4                                       Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2275    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Allison Howenstine                                        Check all that apply.
           3947 Cedric Ln                                               Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2276    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Marci Hower                                               Check all that apply.
           3250 Nelson Park Dr                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2277    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Donna Howes                                               Check all that apply.
           2448 Candlemakers Ln.                                        Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2278    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Lindita Hoxha-Kocinare                                    Check all that apply.
           1470 Wagar Rd #310                                           Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2279    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Kelly Hoy                                                 Check all that apply.
           308 Fox Way                                                  Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2280    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Jennifer Hoying                                           Check all that apply.
           4783 Coltview Court                                          Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2281    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jeannine Hoynes                                           Check all that apply.
           12275 Bean Road                                              Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2282    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Katrina Hruby                                             Check all that apply.
           33851 linden dr                                              Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2283    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Jin Hu                                                    Check all that apply.
           2567 Cedarwood Ct                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2284    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Jyh-Tzong Huang                                           Check all that apply.
           5770 Elm Hill Dr.                                            Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2285    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Xuan Huang                                                Check all that apply.
           103 Champion Lane                                            Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2286    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Xuemei Huang                                              Check all that apply.
           32560 Stony Brook Lane                                       Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2287    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Ying Huang                                                Check all that apply.
           2684 Dale Ave                                                Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2288    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Virgil Hubbard                                            Check all that apply.
           3728 Quadrant Drive                                          Contingent
           North Bend, OH 45052                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2289    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Annie Huber                                               Check all that apply.
           6535 Sherborne Lane                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2290    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Heather Huber                                             Check all that apply.
           5224 ritchey lane                                            Contingent
           south lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2291    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Mari Hudgel                                               Check all that apply.
           2349 Rose Road                                               Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2292    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Kristin Hudok                                             Check all that apply.
           109 Elm                                                      Contingent
           Van Buren, OH 45889                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2293    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Barbie Hudson                                             Check all that apply.
           870 Oberlin Dr.                                              Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2294    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Erin Hudy                                                 Check all that apply.
           5614 Weeping Willow Dr.                                      Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2295    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Amanda Huecker                                            Check all that apply.
           9708 Kelly Drive                                             Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2296    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Chad Huffman                                              Check all that apply.
           4398 Jennydawn place                                         Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2297    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Brandon Hughes                                            Check all that apply.
           1828 Milden Rd                                               Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2298    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Jennifer Hughes                                           Check all that apply.
           4979 Edgeley Dr                                              Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2299    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Jessica Hughes                                            Check all that apply.
           481 Manhattan Pkwy                                           Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2300    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Maria Hughes                                              Check all that apply.
           1325 Sunflower st                                            Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2301    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Robert Humbarger                                          Check all that apply.
           7891 Jessies                                                 Contingent
           Fairfield Township, OH 45011                                 Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2302    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Rola Humeidan                                             Check all that apply.
           2993 Hemlock edge drive                                      Contingent
           hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2303    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Heidi Huminsky                                            Check all that apply.
           2662 Ellsworth Hill Drive                                    Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2304    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jean Humphrey                                             Check all that apply.
           10880 Forest Oaks Drive                                      Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2305    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Karen Hunady                                              Check all that apply.
           6025 Bayleaf Lane                                            Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2306    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Andrea Hunkar                                             Check all that apply.
           4012 Deacon Court                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2307    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           James Hunnell                                             Check all that apply.
           1010 Sweetbriar Drive                                        Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2308    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Jason Hunt                                                Check all that apply.
           1260 Tw Rd 186                                               Contingent
           Westliberty, OH 43357                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2309    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Jennifer Hunt                                             Check all that apply.
           5693 Stockton Way                                            Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2310    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Sally Hunter                                              Check all that apply.
           10116 Brookfield Dr.                                         Contingent
           MENTOR, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2311    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Lindsey Huntley                                           Check all that apply.
           10790 Mulberry Rd                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2312    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Lori Hunziker                                             Check all that apply.
           5661 Alliance Way                                            Contingent
           Columbus, OH 43228                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2313    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Krista Hupp                                               Check all that apply.
           7090 E Jefferson Dr                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2314    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Stacey Hupp                                               Check all that apply.
           2275 Cyprus Dr SE                                            Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2315    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Susan Hura                                                Check all that apply.
           200 Pheasant Run Drive                                       Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2316    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Chad Hurley                                               Check all that apply.
           1148 Arbor Ln                                                Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2317    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Roxanne Hurley                                            Check all that apply.
           7803 Locust Lane                                             Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2318    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Vasyl Husar                                               Check all that apply.
           7684 Creekwood ln.                                           Contingent
           North Royalton, OH 44133-3863                                Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2319    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Doris Huskey                                              Check all that apply.
           203 w. 3rd st.                                               Contingent
           Port clintion, OH 43452                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2320    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Patricia Huskey                                           Check all that apply.
           408 West 3rd Street                                          Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2321    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Lala Hussain                                              Check all that apply.
           308 Forest EdgeDrive                                         Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2322    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Hamdi Hussein                                             Check all that apply.
           1437 crossing green ln                                       Contingent
           Columbus, OH 43228                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2323    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Roxann Hustek                                             Check all that apply.
           8111 Coronada Dr                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2324    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Amy Huston                                                Check all that apply.
           7277 Hayward Rd                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2325    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Elizabeth Huston                                          Check all that apply.
           4717 Farley Dr                                               Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2326    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Dartel Hutcherson                                         Check all that apply.
           6257 Dunbar Dr                                               Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2327    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Dartel Hutcherson                                         Check all that apply.
           6257 Dunbar Dr                                               Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2328    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Connie Hutchins                                           Check all that apply.
           9418 State Route 613                                         Contingent
           Van Buren, OH 45889                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2329    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Tameshia Hutchinson                                       Check all that apply.
           6526 Som Center Road                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2330    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Kristen Hutson                                            Check all that apply.
           8129 Jordan Rd                                               Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2331    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Ted Huziak                                                Check all that apply.
           789 solverberry                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2332    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Ted Huziak                                                Check all that apply.
           789 silverberry                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2333    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Krystel Hyer                                              Check all that apply.
           7431 Madeira Pines Dr                                        Contingent
           Maderia, OH 45243                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2334    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Shoshana Hyer                                             Check all that apply.
           27020 Cedar Rd Apt 304                                       Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2335    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Amy Hyland                                                Check all that apply.
           6596 MADEIRA HILLS DR                                        Contingent
           CINCINNATI, OH 45243-3124                                    Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2336    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Nicki Ice                                                 Check all that apply.
           7923 Gallowae C                                              Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2337    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Frank Ignazzitto                                          Check all that apply.
           6565 SEMINOLE TRAIL                                          Contingent
           MENTOR, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2338    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Violet Imre                                               Check all that apply.
           9705 State Road                                              Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2339    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Noelia Inacua                                             Check all that apply.
           2083 Maxwell Ave                                             Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2340    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Nitin Ingale                                              Check all that apply.
           1510 Little Bear Loop                                        Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2341    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Brenda Ingram                                             Check all that apply.
           3646 E. State Rd                                             Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2342    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Erika Ingram                                              Check all that apply.
           151 Bard Dr 151                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2343    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Renee Ingram                                              Check all that apply.
           9057 Ravenna Road                                            Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2344    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $12,197.28    $12,197.28
           Internal Revenue Service                                  Check all that apply.
           PO Box 7346                                                  Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2018                                                      withholding
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2345    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $190.88    $190.88
           Internal Revenue Service                                  Check all that apply.
           PO Box 7346                                                  Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2018                                                      FUTA
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2346    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Teresa Ionno                                              Check all that apply.
           7332 Burntwood Way                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2347    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Rose Ioppolo                                              Check all that apply.
           11530 Monarch Ct                                             Contingent
           Concord Twp, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2348    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Mary Iovine                                               Check all that apply.
           93-B Meadows Dr                                              Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2349    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Thomas Irick                                              Check all that apply.
           601 N. Main Street                                           Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2350    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Jennifer Irwin                                            Check all that apply.
           1156 Sunset                                                  Contingent
           Mayfield Heights, OH 44124                                   Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2351    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Latrice Isaac                                             Check all that apply.
           8796 Ray court #1                                            Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2352    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Timothy Isabella                                          Check all that apply.
           11719 Harrow Place                                           Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2353    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Joanne Ischay                                             Check all that apply.
           14855 Crimson King Trail                                     Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2354    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Masaki Ishizaka                                           Check all that apply.
           26900 George Zeiger DR #308                                  Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2355    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           BETH IVANOVICS                                            Check all that apply.
           11466 OAK HOLLOW DR                                          Contingent
           CHARDON, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2356    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Jennifer Ives                                             Check all that apply.
           35599 Quartermane Circle                                     Contingent
           Bentleyville, OH 44139                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2357    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Deonna Ivey                                               Check all that apply.
           7385 Foxmill Rd B                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2358    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Leigha Ivey                                               Check all that apply.
           169 North Hayden Pkwy                                        Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2359    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Jodie Izzo                                                Check all that apply.
           7604 Worlington Drive                                        Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2360    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Fadi Jabbour                                              Check all that apply.
           5387 Wilshire Park Drive                                     Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2361    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Ann Jackson                                               Check all that apply.
           1428 Hollow Tree Drive                                       Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2362    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Ann Jackson                                               Check all that apply.
           1428 Hollow Tree Drive                                       Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2363    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Ashley Jackson                                            Check all that apply.
           10347 Dugan gap rd                                           Contingent
           North bend, OH 45052                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2364    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Chelsie Jackson                                           Check all that apply.
           111 Bentwood Dr                                              Contingent
           Chardon, OH 44024-1398                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2365    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Cynthia Jackson                                           Check all that apply.
           2057 Co Rd 11                                                Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2366    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Elisha Jackson                                            Check all that apply.
           1257 W. FREMONT RD. AptB                                     Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2367    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Sandy Jackson                                             Check all that apply.
           1614 Cedar Knoll NW                                          Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2368    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Valerie Jackson                                           Check all that apply.
           6965 W. Lakeshore Drive                                      Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2369    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $920.00    $920.00
           Becki Jacob                                               Check all that apply.
           2339 Ratcliff Ct                                             Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2370    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Krista Jacob                                              Check all that apply.
           5676 Stockton Way                                            Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2371    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Amanda Jacobs                                             Check all that apply.
           70 Township Road 14                                          Contingent
           Van Buren, OH 45889                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2372    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Amanda Jacobs                                             Check all that apply.
           70 Township Road 14                                          Contingent
           Van Buren, OH 45889                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2373    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Catherine Jacobs                                          Check all that apply.
           3088 Liberty Ledges Dr                                       Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2374    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Shana Jacobs                                              Check all that apply.
           4425 baunach st nw                                           Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2375    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Carol Jacoby                                              Check all that apply.
           11240 Somerset Dr 251                                        Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2376    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Merrill Jacques                                           Check all that apply.
           21516 Hilliard Blvd                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2377    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Leesa Jacubenta                                           Check all that apply.
           11352 Worthington Way                                        Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2378    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Ruba Jadallah                                             Check all that apply.
           943 ashbrooke way                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2379    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Frederick Jahn                                            Check all that apply.
           26 Chadbourne Dr.                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2380    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Greg Jahnke                                               Check all that apply.
           11428 Auburn Road                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2381    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Greg Jahnke                                               Check all that apply.
           11428 Auburn Road                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2382    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jamie Jahnke                                              Check all that apply.
           7398 Cadle Ave                                               Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2383    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Padma Jambunath                                           Check all that apply.
           27030 Cedar Road #504-2                                      Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2384    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Asia James                                                Check all that apply.
           8820 Ray Ct #2                                               Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2385    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Diane James                                               Check all that apply.
           71 Steepleview Drive                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2386    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Laurie James                                              Check all that apply.
           122 Geoppert Road                                            Contingent
           Peninsula, OH 44264                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2387    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Laurie James                                              Check all that apply.
           122 Geoppert Road                                            Contingent
           Peninsula, OH 44264                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2388    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Nyesha James                                              Check all that apply.
           3465 Berrywood Ct.                                           Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2389    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Therese James                                             Check all that apply.
           1857 MESSNER DRIVE                                           Contingent
           HILLIARD, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2390    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Matt Jamison                                              Check all that apply.
           1973 Trailwood Drive                                         Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2391    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Darlene Janke                                             Check all that apply.
           8301 Cedar Rd                                                Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2392    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Amy Jansen                                                Check all that apply.
           110 South Franklin Street                                    Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2393    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Allison Jantonio                                          Check all that apply.
           6170 ravenhill road                                          Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2394    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           James Jarrell                                             Check all that apply.
           2026 Jasper Lane                                             Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2395    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Linsey Jasinski                                           Check all that apply.
           11579 Moonbeam Ln.                                           Contingent
           Concord Twp., OH 44077                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2396    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Jamie Jazbec                                              Check all that apply.
           113 Pine Hollow Circle                                       Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2397    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Tina Jelen                                                Check all that apply.
           4919 McKenna Court                                           Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2398    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Antony Jenkin                                             Check all that apply.
           67 fairgrounds rd                                            Contingent
           painesville townshio, OH 44077                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2399    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           April Jenkins                                             Check all that apply.
           112 E. Palmer Rd                                             Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2400    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Jennifer Jenkins                                          Check all that apply.
           2314 Amity Rd.                                               Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2401    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Jill Jenkins                                              Check all that apply.
           3853 Stonesthrow Ct W                                        Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2402    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Kristine Jenkins                                          Check all that apply.
           7625 Vinemont Ct.                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2403    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Michael Jenkins                                           Check all that apply.
           412north madriver street                                     Contingent
           bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2404    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Marla Jenks                                               Check all that apply.
           6597 Regal Woods Dr                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2405    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Stephan Jennings                                          Check all that apply.
           6248 cherokee dr                                             Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2406    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Monica Jensen                                             Check all that apply.
           2736 E Sand Rd                                               Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2407    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Hyojin Jeong                                              Check all that apply.
           10601 Worrell Rd.                                            Contingent
           Kirtland, OH 44060                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2408    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Kelly Jervis                                              Check all that apply.
           6300 George Fox Dr.                                          Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2409    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Rachele Jeunnette                                         Check all that apply.
           11962 Sandgate Drive                                         Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2410    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Milind Jhaveri                                            Check all that apply.
           4085 Morley Drive                                            Contingent
           Reminderville, OH 44202                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2411    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Tina Jira                                                 Check all that apply.
           2267 Gary Dr.                                                Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2412    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           John Joaquin                                              Check all that apply.
           213 Woodbridge Lane                                          Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2413    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Kelly Johanssen                                           Check all that apply.
           4448 Anchorage Ct                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2414    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Sarah Johanssen                                           Check all that apply.
           3854 Stonesthrow Ln.                                         Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2415    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $865.10    $865.10
           Amy Johns                                                 Check all that apply.
           2508 Foxchase Ct W                                           Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2416    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Barbara Johnson                                           Check all that apply.
           1116 bayridge dr                                             Contingent
           Lewis center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2417    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Beth Johnson                                              Check all that apply.
           11550 Bass Lake rd                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2418    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Beth Johnson                                              Check all that apply.
           8225 Coldharbor Blvd.                                        Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2419    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Charles Johnson                                           Check all that apply.
           186 Sandstone Drive                                          Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2420    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Christine Johnson                                         Check all that apply.
           1865 Carver Lane                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2421    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Christopher Johnson                                       Check all that apply.
           7241 berwood drive                                           Contingent
           cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2422    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Ebony Johnson                                             Check all that apply.
           9939 Darrow Park Dr Apt 108                                  Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2423    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Emily Johnson                                             Check all that apply.
           32927 Lisa Lane                                              Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2424    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Hallie Johnson                                            Check all that apply.
           2994 Mathers Way Twinsburg                                   Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2425    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Jeffrey Johnson                                           Check all that apply.
           715 Harrison Street                                          Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2426    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jessie Johnson                                            Check all that apply.
           350 Boone Dr                                                 Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2427    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jessie Johnson                                            Check all that apply.
           350 Boone Dr                                                 Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2428    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jodi Johnson                                              Check all that apply.
           9950 Weathersfield Dr                                        Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2429    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $70.00    $70.00
           Kate Johnson                                              Check all that apply.
           2718 Stonebridge Court                                       Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2430    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Leedella Johnson                                          Check all that apply.
           1518 Covent Road                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2431    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Leigh Johnson                                             Check all that apply.
           7102 Fox Hill Drive                                          Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2432    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Liz Johnson                                               Check all that apply.
           13415 Walnut Trace                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2433    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Loren Johnson                                             Check all that apply.
           8099 valley view rd                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2434    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Mary Johnson                                              Check all that apply.
           167 Spicewood Ln                                             Contingent
           Powell, OH 43065                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2435    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Michele Johnson                                           Check all that apply.
           518 Locke Ave SW                                             Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2436    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Natalie Johnson                                           Check all that apply.
           6580 Dalmore Lane                                            Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2437    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Nettie Johnson                                            Check all that apply.
           8785 Foothill Road                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2438    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Rancia Johnson                                            Check all that apply.
           34890 Solon Rd                                               Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2439    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Sharee Johnson                                            Check all that apply.
           12146 Waywood Drive                                          Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2440    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Shavonne Johnson                                          Check all that apply.
           10216 Pirates Trail                                          Contingent
           Aurora, OH 44202                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2441    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Shelley Johnson                                           Check all that apply.
           9462 Lister Lane                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2442    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Stephanie Johnson                                         Check all that apply.
           3655 Tammy Rae Ct.                                           Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2443    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Stephanie Johnson                                         Check all that apply.
           5294 Triple Crown Ct.                                        Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2444    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Tara Johnson                                              Check all that apply.
           2811 co rd 220                                               Contingent
           van buren, OH 45889                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2445    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Venessa Johnson                                           Check all that apply.
           12 chelsea ct                                                Contingent
           Chagrin falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2446    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Rachel Johnston                                           Check all that apply.
           2411 N Main St. Apt A                                        Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2447    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Ingrid Johnstone                                          Check all that apply.
           321 S EAST ST                                                Contingent
           LEBANON, OH 45036                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2448    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Arunas Joksas                                             Check all that apply.
           5850 Mallard Ct                                              Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2449    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Lisa Joles                                                Check all that apply.
           6408 Fay Rd                                                  Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2450    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Anissa Jones                                              Check all that apply.
           5958 Pepperridge Court                                       Contingent
           Maineville, OH 45039-7270                                    Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2451    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Beverly Jones                                             Check all that apply.
           158 Indiana Ave                                              Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2452    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Bobby Jones                                               Check all that apply.
           1010 EAGENS CREEK CT                                         Contingent
           OVIEDO, FL 32765-5653                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2453    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Brad Jones                                                Check all that apply.
           7555 Foxdale Cir.                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2454    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Brian Jones                                               Check all that apply.
           1917 E Beaumont Rd                                           Contingent
           Columbus, OH 43224                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2455    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Jenell Jones                                              Check all that apply.
           11819 Harrow place                                           Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2456    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Jennifer Jones                                            Check all that apply.
           218 essex rd.                                                Contingent
           vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2457    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Joy Jones                                                 Check all that apply.
           2136 Campus Road                                             Contingent
           Beachwood, OH 04412                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2458    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Kelly Jones                                               Check all that apply.
           5033 Riverwalk Dr                                            Contingent
           Kings Mills, OH 45034                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2459    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Lauren Jones                                              Check all that apply.
           1076 Sheerbrook Dr.                                          Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2460    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Mark Jones                                                Check all that apply.
           2388 Pleasant Colony Dr                                      Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2461    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Melissa Jones                                             Check all that apply.
           1724 Stonington Drive                                        Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2462    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Melissa Jones                                             Check all that apply.
           1724 Stonington Drive                                        Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2463    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Nicole Jones                                              Check all that apply.
           1665 Beechwood Dr                                            Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2464    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Nicole Jones                                              Check all that apply.
           1665 Beechwood Dr                                            Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2465    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Patty Jones                                               Check all that apply.
           714 Edgewood Ave SW                                          Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2466    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Treasa Jones                                              Check all that apply.
           7471 Victoria Falls Ave                                      Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2467    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Trenda Jones                                              Check all that apply.
           6476 Coleridge Rd.                                           Contingent
           Concord Township, OH 44077                                   Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2468    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Jennifer Jordan                                           Check all that apply.
           907 Stone Court                                              Contingent
           Milford, OH 45150                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2469    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Mindy Jordan                                              Check all that apply.
           6087 Edson St                                                Contingent
           Vermilioin, OH 44089                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2470    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Beth Joseph                                               Check all that apply.
           6217 Lampton Pond Drive                                      Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2471    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Douglas Joseph                                            Check all that apply.
           5 hopewell                                                   Contingent
           moreland hills, OH 44022                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2472    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Nevenka Josipovic                                         Check all that apply.
           7398 Truman Court                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2473    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Mike Jost                                                 Check all that apply.
           13468 Bass Lake Rd                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2474    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           John Joyce                                                Check all that apply.
           18716 Inglewood Avenue                                       Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2475    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Kristen Joyce                                             Check all that apply.
           506 N. Main St                                               Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2476    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Anita Judy                                                Check all that apply.
           2100 Augusta Blvd #138                                       Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2477    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Heather Juker                                             Check all that apply.
           12260 Bradfaord Dr.                                          Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2478    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Tiffanie Julian                                           Check all that apply.
           12662 harold                                                 Contingent
           chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2479    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Meredith Junko                                            Check all that apply.
           6760 pheasants ridge                                         Contingent
           hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2480    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Traci Just                                                Check all that apply.
           7570 Hudson Park Drive                                       Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2481    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Allison Kaas                                              Check all that apply.
           105 Waverly Lane                                             Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2482    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Jennifer Kabat                                            Check all that apply.
           78 york dr                                                   Contingent
           hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2483    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Amy Kabealo                                               Check all that apply.
           7879 Charline Court                                          Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2484    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Elizabeth Kachele                                         Check all that apply.
           2894 Mossy Brink Ct.                                         Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2485    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Tim Kachmarik                                             Check all that apply.
           11739 Ivy Ridge Drive                                        Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2486    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Tracie Kacir                                              Check all that apply.
           1093 Sheerbrook Drive                                        Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2487    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Cindy Kadas                                               Check all that apply.
           9127 Leah ct                                                 Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2488    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Lisa Kafka                                                Check all that apply.
           4548 Brixshire Drive                                         Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2489    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Kris Kaiser                                               Check all that apply.
           1213 Red Maple Drive                                         Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2490    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Kris Kaiser                                               Check all that apply.
           1213 Red Maple Drive                                         Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2491    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Paul Kaiser                                               Check all that apply.
           2667 Stonebridge                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2492    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Paul Kaiser                                               Check all that apply.
           2667 Stonebridge                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2493    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Vidyasagar Kalahasti                                      Check all that apply.
           37280 Cherrybank drive                                       Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2494    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Renee Kalis                                               Check all that apply.
           10945 copperleaf                                             Contingent
           chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2495    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Thomas Kall                                               Check all that apply.
           7385 Goldenrod dr.                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2496    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Shaun Kallay                                              Check all that apply.
           925 NEWELL ST                                                Contingent
           PAINESVILLE, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2497    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Amy Kaminski                                              Check all that apply.
           2501 reeves ave                                              Contingent
           lewis center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2498    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Jordan Kaminsky                                           Check all that apply.
           24549 Meldon Blvd                                            Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2499    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Carrie Kandes                                             Check all that apply.
           4999 Lake View Drive                                         Contingent
           Peninsula, OH 44264                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2500    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Kristin Kane                                              Check all that apply.
           6544 Westpoint Drive                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2501    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Wendy Kang                                                Check all that apply.
           38360 flanders drive                                         Contingent
           solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2502    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Valerie Kanieski                                          Check all that apply.
           9561 Tilby Road                                              Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2503    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Emmanuel Kaodiechi                                        Check all that apply.
           2124 RIPPLE ROAD                                             Contingent
           HILLIARD, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2504    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Madhavi Kapa                                              Check all that apply.
           3050 Cabot Way                                               Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2505    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Dori Kaplansky                                            Check all that apply.
           255-B Solon Road                                             Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2506    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Lavanya Karanam                                           Check all that apply.
           33128 S Roundhead Dr                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2507    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           EVA KARAS                                                 Check all that apply.
           7778 VALLEY VIEW RD                                          Contingent
           HUDSON, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2508    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Rebecca Karb                                              Check all that apply.
           3720 Simpson Trace                                           Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2509    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Erin Karchefsky                                           Check all that apply.
           10180 S Hampton Ct                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2510    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Umidakhan Karimova                                        Check all that apply.
           3513 Montgomery Rd. Apt. 11                                  Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2511    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Charlotte Karmilowicz                                     Check all that apply.
           5573 Tayside Cir                                             Contingent
           Dublin, OH 43016-9433                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2512    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Michelle Karsama                                          Check all that apply.
           7247 Osceola Dr.                                             Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2513    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Kelly Kashmarek                                           Check all that apply.
           22269 Blossom Drive                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2514    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Sastry Kasibhatla                                         Check all that apply.
           10098 Dayflower Dr.                                          Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2515    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Kellie Kasten                                             Check all that apply.
           1429 Peach tree Ct                                           Contingent
           Columbus, OH 43204                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2516    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Sharon Kastor                                             Check all that apply.
           11820 Sun Ridge Circle                                       Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2517    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Kellie Kasubienski                                        Check all that apply.
           15203 Darrow Rd                                              Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2518    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Aaron Kauffman                                            Check all that apply.
           1120 Hilary Ln Apt M                                         Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2519    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Aaron Kauffman                                            Check all that apply.
           1120 Hilary Ln Apt M                                         Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2520    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Andria Kauffman                                           Check all that apply.
           7472 Bridgetown Road                                         Contingent
           Cincinnati, OH 45248                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2521    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Jamie Kauffman                                            Check all that apply.
           7601 Juler Ave                                               Contingent
           Madeira, OH 45243                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2522    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Dana Kaufman                                              Check all that apply.
           8676 Cliffwood Ct.                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2523    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Gregory Kaufman                                           Check all that apply.
           4631 Cutwater Ln                                             Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2524    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Melissa Kaufman                                           Check all that apply.
           3630 Dayspring Dr                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2525    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Melissa Kaufman                                           Check all that apply.
           3630 Dayspring Dr                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2526    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Amandeep Kaur                                             Check all that apply.
           7550pinecrest Ln                                             Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2527    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Baljeet Kaur                                              Check all that apply.
           2052 Meadowood Blvd                                          Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2528    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Malkeet Kaur                                              Check all that apply.
           White Marsh Dr.                                              Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2529    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Susan Kautz                                               Check all that apply.
           12555 Valley View Drive                                      Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2530    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Jen Kay                                                   Check all that apply.
           25505 Halburton                                              Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2531    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Michelle Kazemaini                                        Check all that apply.
           8292 Hemingway lane                                          Contingent
           mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2532    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Usman Kazim                                               Check all that apply.
           355 solon rd #303 355 solon rd                               Contingent
           #303                                                         Unliquidated
           Chagrin Falls, OH 44022                                      Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2533    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           ERic Keener                                               Check all that apply.
           6435 Old Barn Ct.                                            Contingent
           Maderia, OH 45243                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2534    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Veronica Keeney                                           Check all that apply.
           4346 Jennydawn Place                                         Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2535    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Malati Keerthipati                                        Check all that apply.
           7600 Affirmed Ct                                             Contingent
           Lewis center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2536    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Jennifer Keith                                            Check all that apply.
           1599 Bridle Path                                             Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2537    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Jennifer Keith                                            Check all that apply.
           3735 Durango Green Dr.                                       Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2538    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Jessica Keith                                             Check all that apply.
           2111 Bluestone Dr.                                           Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2539    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Gail Keitlen                                              Check all that apply.
           1020 Hamilton Drive                                          Contingent
           Broadview Heights, OH 44147                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2540    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Gail Keitlen                                              Check all that apply.
           1020 Hamilton Drive                                          Contingent
           Broadview Heights, OH 44147                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2541    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           David Kekish                                              Check all that apply.
           11435 Clearfield Lane                                        Contingent
           Chardon, OH 44024-9051                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2542    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           David Kekish                                              Check all that apply.
           11435 Clearfield Lane                                        Contingent
           Chardon, OH 44024-9051                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2543    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Jennifer Kelch                                            Check all that apply.
           7483 Madeira Pines Drive                                     Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2544    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Shelli Kellar                                             Check all that apply.
           3464 Ensign Cove                                             Contingent
           Reminderville, OH 44202                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2545    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Erin Keller                                               Check all that apply.
           1580 Becker Dr                                               Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2546    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Kathleen Keller                                           Check all that apply.
           20595 Stratford Ave                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2547    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Kerri Keller                                              Check all that apply.
           2241 Jesse Drive                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2548    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Lisa Keller                                               Check all that apply.
           5542 Grace Dr                                                Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2549    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Traci Keller                                              Check all that apply.
           11721 Concord Hambden Rd                                     Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2550    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Sonja KellerBircher                                       Check all that apply.
           7568 Deerpath Trail                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2551    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Lisa Kelley                                               Check all that apply.
           4437 E. Terrace Circle                                       Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2552    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Maria Kellis                                              Check all that apply.
           118 Bell Tower Court                                         Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2553    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Stephanie Kellner                                         Check all that apply.
           7970 mentor ave j8                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2554    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Virginia Kellum                                           Check all that apply.
           188 King Ave                                                 Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2555    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Brian Kelly                                               Check all that apply.
           6717 Elmer Drive                                             Contingent
           Harborcreek, PA 16421                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2556    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Cadi Kelly                                                Check all that apply.
           8644 Kelso Dr                                                Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2557    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           CAROL KELLY                                               Check all that apply.
           19240 BATTERSEA                                              Contingent
           ROCKY RIVER, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2558    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Dawn Kelly                                                Check all that apply.
           1586 Royalwood rd                                            Contingent
           Broadview Heights, OH 44147                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2559    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Jennifer Kelly                                            Check all that apply.
           230 east king st                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2560    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Patricia Kelly                                            Check all that apply.
           861 Kimberly Circle                                          Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2561    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Patricia Kelly                                            Check all that apply.
           387 Cornwall Road                                            Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2562    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Sueanne Kelly                                             Check all that apply.
           1391 county rd 5 north                                       Contingent
           Zanesfield, OH 43360                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2563    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Valarie Kelly                                             Check all that apply.
           1560 Tree Fern Court                                         Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2564    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Cera Kemeliotis                                           Check all that apply.
           6640 Harborside Landing                                      Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2565    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Brian Kemp                                                Check all that apply.
           1527 North Rd A                                              Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2566    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Brian Kemp                                                Check all that apply.
           1527 North Rd A                                              Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2567    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Robin Kempf                                               Check all that apply.
           2449 Cambridge Dr.                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2568    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Laurie Kendel                                             Check all that apply.
           7052 Cornell lane                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2569    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Hollie Kennedy                                            Check all that apply.
           5842 BRADFORD WAY                                            Contingent
           HUDSON, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2570    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Kristy Kennedy                                            Check all that apply.
           4010 Bremen Pass                                             Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2571    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Mary Kennedy                                              Check all that apply.
           5048 Highland Meadows Dr                                     Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2572    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Heather Kenneweg                                          Check all that apply.
           7535 Angel Falls Ln                                          Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2573    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Becky Kent                                                Check all that apply.
           7871 Morris Road                                             Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2574    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           LaTanya Kent                                              Check all that apply.
           32407 Hamilton Court Apt 205B                                Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2575    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Danielle Keown                                            Check all that apply.
           330 Abels Ave                                                Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2576    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Rick Kepler                                               Check all that apply.
           1638 Bramblebush St. NW                                      Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2577    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Andrew Kern                                               Check all that apply.
           19438 Battersea Blvd                                         Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2578    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Shawna Kern                                               Check all that apply.
           5195 Horseshoe Bend Rd.                                      Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2579    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Nancy Kerniskey                                           Check all that apply.
           5881 S Shandle Blvd                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2580    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Lauri Kerr                                                Check all that apply.
           22807 Halburton Road                                         Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2581    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Katie Kerrey                                              Check all that apply.
           7061 Juniperview Lane                                        Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2582    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Aimee Kessick                                             Check all that apply.
           5893 suNSET DRIVE                                            Contingent
           HUDSON, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2583    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Barb Kessler                                              Check all that apply.
           13005 Bass Lake Rd                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2584    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Anne Kesterson                                            Check all that apply.
           7011 Ballantrae Loop                                         Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2585    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Fouad Khalife                                             Check all that apply.
           21481 Hilliard Blvd                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2586    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Ghazala Khan                                              Check all that apply.
           6212 Chagrin Highlands Dr.                                   Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2587    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Ghazala Khan                                              Check all that apply.
           6212 Chagrin Highlands Dr.                                   Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2588    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Rajashree Khedekar                                        Check all that apply.
           1803 Little Bear Loop                                        Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2589    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Jennifer Kick                                             Check all that apply.
           10830 claridon troy rd                                       Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2590    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Jennifer Kidd                                             Check all that apply.
           8921 Auburn Rd.                                              Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2591    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Tina Kidd                                                 Check all that apply.
           5617 washington ave                                          Contingent
           mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2592    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Kristan Kidder                                            Check all that apply.
           4166 Townsley Dr                                             Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2593    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Cheryl Kienle                                             Check all that apply.
           5455 Riverport Dr                                            Contingent
           Hilliard, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2594    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jeff Kiggins                                              Check all that apply.
           7506 Crossfield Ave                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2595    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Joe Kiggins                                               Check all that apply.
           15975 Moseley Rd.                                            Contingent
           Madison, OH 44057                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2596    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Kimberly Kilby                                            Check all that apply.
           78 Paw Paw Lake Dr.                                          Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2597    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Heather Kilfoyle                                          Check all that apply.
           11370 Parkside Rd.                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2598    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Kristen Kilfoyle                                          Check all that apply.
           249 Ravenna St                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2599    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Beth Killeen                                              Check all that apply.
           300 Bicknell Drive                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2600    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jill Kilpeck                                              Check all that apply.
           8492 Hilltop Dr.                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2601    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jill Kilpeck                                              Check all that apply.
           8492 Hilltop Dr.                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2602    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Brenda Kim                                                Check all that apply.
           33107 Springside Lane                                        Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2603    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Esther Kim                                                Check all that apply.
           510 Glenside Lane                                            Contingent
           Powell, OH 43065                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2604    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Eunjoo Kim                                                Check all that apply.
           3157 Heather Meadow Pl                                       Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2605    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Jinsub Kim                                                Check all that apply.
           33017 Springside Ln                                          Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2606    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Narith Kim                                                Check all that apply.
           799 GRAYLOCK CT                                              Contingent
           GALLOWAY, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2607    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Thomas Kim                                                Check all that apply.
           8653 smokey hollow drive                                     Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2608    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Nancy Kimmel                                              Check all that apply.
           10035 Parmalee Dr                                            Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2609    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Rachel Kincaid                                            Check all that apply.
           126 Edgefield Drive                                          Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2610    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Alan King                                                 Check all that apply.
           1613 Carrol Court                                            Contingent
           Lebanon, OH 45036                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2611    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Allison King                                              Check all that apply.
           116 MOUNT NEBO RD                                            Contingent
           CLEVES, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2612    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Amanda King                                               Check all that apply.
           7569 Bendleton Dr.                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2613    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Bobbie King                                               Check all that apply.
           7403 Wesselman Road                                          Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2614    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Carmelita King                                            Check all that apply.
           977 tradewinds cove                                          Contingent
           painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2615    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Deanna King                                               Check all that apply.
           44143 Russia Rd                                              Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2616    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Dorothy King                                              Check all that apply.
           525 South Abbe M8                                            Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2617    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Linda King                                                Check all that apply.
           7840 Wilderness Dr                                           Contingent
           Mentor, OH 44060-7142                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2618    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Rick King                                                 Check all that apply.
           4948 13TH SW                                                 Contingent
           CANTON, OH 44710                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2619    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Stacy King                                                Check all that apply.
           801 s clay st                                                Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2620    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Allison Kingsley                                          Check all that apply.
           4696 BRITTONHURST DR                                         Contingent
           HILLIARD, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2621    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Gary Kinney                                               Check all that apply.
           8259 Faller Rd                                               Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2622    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Denise Kintop                                             Check all that apply.
           5681 Birdie Ln                                               Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2623    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Dave Kinzel                                               Check all that apply.
           7446 Highwood Way                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2624    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Kacy Kirby                                                Check all that apply.
           324 E. Auburn Avenue                                         Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2625    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           SUZANNE KIRCHNER                                          Check all that apply.
           30 N. Westhaven Dr.                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2626    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Sherri Kirk                                               Check all that apply.
           755 Military Drive                                           Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2627    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Bruce Kirkbride                                           Check all that apply.
           1314 41st. St. NW                                            Contingent
           Canton, OH 44709                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2628    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Sandra Kirkpatrick                                        Check all that apply.
           509 Cooper avenue                                            Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2629    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Linda Kirkwood                                            Check all that apply.
           5103Rockport Cove                                            Contingent
           Stow, OH 44224                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2630    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Alan Kirsh                                                Check all that apply.
           12095 Burlington Glen Dr                                     Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2631    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jacki Kirtley                                             Check all that apply.
           433 S Dorset Rd                                              Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2632    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $230.00    $230.00
           Michelle Kiser                                            Check all that apply.
           1317 Gettysburg Dr                                           Contingent
           Maumee, OH 43537                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2633    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Sam Kish                                                  Check all that apply.
           9065 Johnnycake Ridge Rd                                     Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2634    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Monica Kisley                                             Check all that apply.
           10480 Locust Grove                                           Contingent
           Chradon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2635    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Jonna Kisor                                               Check all that apply.
           3137 Sullivant Ave                                           Contingent
           Columbus, OH 43204                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2636    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Jeffrey Kissinger                                         Check all that apply.
           9485 Glen Drive                                              Contingent
           Brecksville, OH 44141                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2637    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Abby Kitay                                                Check all that apply.
           33240 coachman lane                                          Contingent
           solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2638    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Catherine Kitchen                                         Check all that apply.
           8411 Military Ct.                                            Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2639    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Stacy Kitchen                                             Check all that apply.
           1191 Swailes Rd.                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2640    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Stacy Kitchen                                             Check all that apply.
           1191 Swailes Rd.                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2641    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Tamara Kitko                                              Check all that apply.
           12165 Waterfowl Lane                                         Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2642    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Sarah Klausing                                            Check all that apply.
           306 W Barrington Dr                                          Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2643    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Sharon Klausing                                           Check all that apply.
           14901 County Road 109                                        Contingent
           Van Buren, OH 45889                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2644    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Casey Kleckner                                            Check all that apply.
           9007 White Oak Drive                                         Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2645    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Danielle Klein                                            Check all that apply.
           11801 Christian Ave                                          Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2646    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Danielle Klein                                            Check all that apply.
           11801 Christian Ave                                          Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2647    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Jennifer Klein                                            Check all that apply.
           836 Ridgewood Blvd                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2648    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jennifer Klein                                            Check all that apply.
           9341 Trillium lane                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2649    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Kerri Klein                                               Check all that apply.
           7712 Callow Rd                                               Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2650    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Melisa Klein                                              Check all that apply.
           9956 Johnnycake Ridge Rd Unit                                Contingent
           E-10                                                         Unliquidated
           Concord, OH 44077                                            Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2651    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Rebecca Kleinhenz                                         Check all that apply.
           100 Swailes Road                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2652    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Chad Klemens                                              Check all that apply.
           2557 Brunswick Ln                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2653    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Chad Klemens                                              Check all that apply.
           2557 Brunswick Ln                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2654    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Amy Kline                                                 Check all that apply.
           5951 Stow Road                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2655    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Heather Kline-Ruminski                                    Check all that apply.
           11380 Mourning Dove                                          Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2656    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Staci Kling                                               Check all that apply.
           8200 Ripley road                                             Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2657    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Debra Klocker                                             Check all that apply.
           12882 Heath Road                                             Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2658    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Jolee Klugherz                                            Check all that apply.
           6683 Winston Lane                                            Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2659    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Lisa Knapp                                                Check all that apply.
           228 Hideaway Ct.                                             Contingent
           Powell, OH 43065                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2660    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Jenny Knarr                                               Check all that apply.
           7657 Squirrel Creek                                          Contingent
           Cincinnati, OH 45247                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2661    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Michele Kneisel                                           Check all that apply.
           1167 Waldo Way                                               Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2662    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Misty Knepp                                               Check all that apply.
           5649 Londonairy Blvd                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2663    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Roman Kniahynyckyj                                        Check all that apply.
           4870 Oak Hill Blvd.                                          Contingent
           Lorain, OH 44053                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2664    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Danielle Knight                                           Check all that apply.
           8371 Hermitage Rd                                            Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2665    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Danielle Knight                                           Check all that apply.
           8371 Hermitage Rd                                            Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2666    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $220.00    $220.00
           Heather Knisley                                           Check all that apply.
           116 S. Short St.                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2667    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Melissa Knodel                                            Check all that apply.
           7474 Hill Gail Ct                                            Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2668    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           LINDA KOBIE                                               Check all that apply.
           868 W RIVER RD N                                             Contingent
           ELYRIA, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2669    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Nicole Kochensparger                                      Check all that apply.
           324 Laurel Ave                                               Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2670    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Amie Kocher                                               Check all that apply.
           9624 Old Village Drive                                       Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2671    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Kristin Koczan                                            Check all that apply.
           7383 Dahlia Dr                                               Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2672    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Erin Koehler                                              Check all that apply.
           573 Deerwood Ct                                              Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2673    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Rachelle Koehnke                                          Check all that apply.
           2140 Township Road 232                                       Contingent
           Van Buren, OH 45889                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2674    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Stacey Koelsch                                            Check all that apply.
           PO BOX 1134                                                  Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2675    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Ellen Koenig                                              Check all that apply.
           9659 Country Trail                                           Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2676    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Michelle Koenig                                           Check all that apply.
           11454 Viceroy St.                                            Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2677    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Michelle Koenig                                           Check all that apply.
           11454 Viceroy St.                                            Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2678    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Emily Kolakowski                                          Check all that apply.
           2384 Murphy Ln W                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2679    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Emily Kolakowski                                          Check all that apply.
           2384 Murphy Ln W                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2680    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Karen Kolar                                               Check all that apply.
           4411 Sir John Ave                                            Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2681    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Kristen Kolar                                             Check all that apply.
           2297 Kate Cir                                                Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2682    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Tim Kolek                                                 Check all that apply.
           9775 Ridgeview Trail                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2683    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Laurie Kolenz                                             Check all that apply.
           440 Carrington Lane                                          Contingent
           Broadview Heights, OH 44147                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2684    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           John Koll                                                 Check all that apply.
           11180 Somerset Drive Apt 256                                 Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2685    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Thaddeus Kollar                                           Check all that apply.
           2591 Bridgeton Dr.                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2686    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Leslie Kolschetzky                                        Check all that apply.
           6539 Carter Blvd.                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2687    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Rebecca Koluder                                           Check all that apply.
           10515 Locust Grove Dr                                        Contingent
           CHARDON, OH 44024-8862                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2688    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Dennis Komm                                               Check all that apply.
           32951 CHARMWOOD OVAL                                         Contingent
           SOLON, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2689    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           DeAnna Konick                                             Check all that apply.
           9516 Fairmount Rd                                            Contingent
           Novelty, OH 44072                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2690    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Todd Kooken                                               Check all that apply.
           37775 Flanders Dr                                            Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2691    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Erica Koons                                               Check all that apply.
           4637 Heather Ridge Dr                                        Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2692    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Miki Kopocs                                               Check all that apply.
           13201 Darrow Rd.                                             Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2693    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Christine Koprowski                                       Check all that apply.
           11381 Villa Grande Dr.                                       Contingent
           N Royalton, OH 44133                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2694    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Christopher Korff                                         Check all that apply.
           107 Cheshire Road                                            Contingent
           HUDSON, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2695    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Eric Korley                                               Check all that apply.
           3069 Rainier Avenue                                          Contingent
           Columbus, OH 43231                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2696    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Lisa Kornspan                                             Check all that apply.
           25227 Duffield Rd.                                           Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2697    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Tiffany Kort                                              Check all that apply.
           2244 Times Ave SW                                            Contingent
           Canton, OH 44706                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2698    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Susanne Kortan                                            Check all that apply.
           15070 Waterford Dr                                           Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2699    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Marianne Kosa                                             Check all that apply.
           5930 Eastham Way                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2700    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Mindy Kosir                                               Check all that apply.
           11275 Woodie Glen Drive                                      Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2701    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Lisa Koski                                                Check all that apply.
           6507 Creekside Trail                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2702    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Jennifer Kostik                                           Check all that apply.
           910 Bates Rd.                                                Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2703    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Letvia Kotchkoski                                         Check all that apply.
           8108 Orange Station Loop                                     Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2704    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Angela Kotek                                              Check all that apply.
           10614 Cutty Sark Dr                                          Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2705    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Wendy Kotnik                                              Check all that apply.
           8334 Windsong Trail                                          Contingent
           Concord Township, OH 44077                                   Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2706    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Katie Kovac                                               Check all that apply.
           4505 10th St NW                                              Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2707    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Shelley Kovach                                            Check all that apply.
           911 Douglas St                                               Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2708    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $950.80    $950.80
           Michelle Kovacs                                           Check all that apply.
           685 Sedgwick Way                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2709    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Kristy Kovalak                                            Check all that apply.
           112 Larchwood Dr                                             Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2710    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Kristy Kovalak                                            Check all that apply.
           1341 Hamilton Dr                                             Contingent
           Broadview Hts, OH 44147                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2711    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Michael Kovalak                                           Check all that apply.
           9402 Euclid Chardon Road                                     Contingent
           Kirtland, OH 44094                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2712    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Callene Kovats                                            Check all that apply.
           11100 Courtney Ct                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2713    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Michael Kowalski                                          Check all that apply.
           942 Salem Ave                                                Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2714    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Keith Kozak                                               Check all that apply.
           10283 Clipper Cove                                           Contingent
           Aurora, OH 44202                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2715    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Milan Kozul                                               Check all that apply.
           3234 Fallen Brook Ln                                         Contingent
           Brunswick, OH 44212                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2716    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Michelle Kraft                                            Check all that apply.
           6042 Morganwood Square                                       Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2717    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Dina Krakora                                              Check all that apply.
           11430 Linden Way                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2718    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Heather Kramer                                            Check all that apply.
           15695 Chillicothe Rd                                         Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2719    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Michelle Kramer                                           Check all that apply.
           5002 Lake forest dr                                          Contingent
           Peninsula, OH 44264                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2720    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Patrick Kramer                                            Check all that apply.
           9079 Hidden Glen Drive                                       Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2721    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Patrick Kramer                                            Check all that apply.
           9079 Hidden Glen Drive                                       Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2722    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Michele Krampitz                                          Check all that apply.
           3640 Archwood Drive                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2723    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Sterrin Kraska                                            Check all that apply.
           10165 Candlestick Lane                                       Contingent
           Concord Township, OH 44077                                   Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2724    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Amy Kraus                                                 Check all that apply.
           4626 15th St SW                                              Contingent
           Canton, OH 44710                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2725    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Barak Kraus                                               Check all that apply.
           5763 Reserve Ln                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2726    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Brian Kraus                                               Check all that apply.
           160 Bersham Drive                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2727    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           John Krause                                               Check all that apply.
           19131 Tanglewood Dr                                          Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2728    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Aimee Kremser                                             Check all that apply.
           2254 Jesse Dr.                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2729    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Rainie Krenn                                              Check all that apply.
           3500 adaline drive                                           Contingent
           Stow, OH 44224                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2730    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Stacy Kresic                                              Check all that apply.
           7321 Hunters Tr                                              Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2731    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Stacy Kresic                                              Check all that apply.
           7321 Hunters Tr                                              Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2732    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Elisa Kretschman                                          Check all that apply.
           11300 Pine Acres Ln                                          Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2733    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Danielle Krider                                           Check all that apply.
           508 w.                                                       Contingent
           W. Main St., OH 45858                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2734    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Kym Krimmel                                               Check all that apply.
           372 Far Hill dr                                              Contingent
           Charodn, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2735    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Nicole Krish                                              Check all that apply.
           2334 Valley View Dr                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2736    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Subha Krishnamoorthy                                      Check all that apply.
           28974 North Village Lane                                     Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2737    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Amy Krissinger                                            Check all that apply.
           32287 Hamilton Court Apt 203                                 Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2738    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Wess Kroll                                                Check all that apply.
           7383 Windsor Meadow Dr                                       Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2739    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Allison Kronenfeld                                        Check all that apply.
           36425 Churchill Dr                                           Contingent
           SOLON, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2740    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Renee Kroto                                               Check all that apply.
           8127 Butler Hill Drive                                       Contingent
           Concord Twp., OH 44077                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2741    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Allison Krueger                                           Check all that apply.
           37159 Deer Run                                               Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2742    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Mark Krueger                                              Check all that apply.
           6767 camelot dr                                              Contingent
           mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2743    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Mark Krueger                                              Check all that apply.
           6767 camelot dr                                              Contingent
           mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2744    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Stephanie Krummel                                         Check all that apply.
           6089 Broadwell Ct                                            Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2745    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Todd Kruse                                                Check all that apply.
           38 Ridgecrest Drive                                          Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2746    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Donajean Kubacki                                          Check all that apply.
           11501 Hunt Road                                              Contingent
           Huntsburg, OH 44046                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2747    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Jennifer Kubinski                                         Check all that apply.
           52 Trumbull Drive                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2748    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Michelle Kuch                                             Check all that apply.
           6085 Iroquois Trail                                          Contingent
           Mentor on the Lake, OH 44060                                 Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2749    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Michelle Kuch                                             Check all that apply.
           6085 Iroquois Trail                                          Contingent
           Mentor on the Lake, OH 44060                                 Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2750    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Elaine Kuhl                                               Check all that apply.
           10340 Mayfield Road                                          Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2751    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Amy Kuhn                                                  Check all that apply.
           517 Hillcrest Drive                                          Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2752    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $475.00    $475.00
           Jamie Kuhn                                                Check all that apply.
           3374 Brendan Drive                                           Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2753    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kristi Kuhnle                                             Check all that apply.
           12105 Pheasant Ct                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2754    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           PRAVEEN KUMAR                                             Check all that apply.
           7978 Crescent Drive                                          Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2755    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Brian Kuminkoski                                          Check all that apply.
           1322 Atterbury dr                                            Contingent
           Macedonia, OH 45056                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2756    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Enrique Kundla                                            Check all that apply.
           3467 Vintage Woods Dr                                        Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2757    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Kelly Kundla                                              Check all that apply.
           2316 croydon rd                                              Contingent
           twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2758    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Kelly Kundla                                              Check all that apply.
           2316 croydon rd                                              Contingent
           twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2759    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Monique Kundtz                                            Check all that apply.
           7715 Chillicothe Rd                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2760    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Rachael Kunkel                                            Check all that apply.
           33103 Cromwell Drive                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2761    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Gina Kupczyk                                              Check all that apply.
           4618 Boston Road                                             Contingent
           Brecksville, OH 44141                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2762    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Tomoko Kuramoto                                           Check all that apply.
           2369 Meadowpoint Drive Apt D                                 Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2763    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Anthony Kurz                                              Check all that apply.
           7229 Camargowoods Dr                                         Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2764    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Jeffrey Kurzawa                                           Check all that apply.
           7395 Portage Street                                          Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2765    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Sally Kuss                                                Check all that apply.
           6943 hunting hollow lane east                                Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2766    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Mary Kutchin                                              Check all that apply.
           5346 Port Chester Drive                                      Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2767    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           De Anna Kuzma                                             Check all that apply.
           620 Kaspar                                                   Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2768    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Andrea Kwan                                               Check all that apply.
           14150 Caves Rd                                               Contingent
           Novelty, OH 44072                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2769    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $230.00    $230.00
           Deanna Kwiatkowski                                        Check all that apply.
           609 Orchard View Drive                                       Contingent
           Maumee, OH 43537                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2770    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           ALLAN KWIZERA                                             Check all that apply.
           8723 Arrowtip Lane                                           Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2771    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Megan Kyser                                               Check all that apply.
           666 Lucille Drive                                            Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2772    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Angela Laanani                                            Check all that apply.
           5807 Chanwick Drive                                          Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2773    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $230.00    $230.00
           Susan LaChapelle                                          Check all that apply.
           1013 W Wayne St.                                             Contingent
           Maumee, OH 43537                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2774    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           AMIL LADADWA                                              Check all that apply.
           11989 FIREFLY DR                                             Contingent
           NORTH ROYALTON, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2775    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Jill Lagerstedt                                           Check all that apply.
           11530 Riding Trail                                           Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2776    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           BETHANY LAGROTTERIA                                       Check all that apply.
           221 PINEHURST AVE                                            Contingent
           ELYRIA, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2777    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Sarah Lahmann                                             Check all that apply.
           422 VINNEDGE ave                                             Contingent
           FAIRFIELD, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2778    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Brian Laird                                               Check all that apply.
           6354 Carolyn Dr                                              Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2779    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jennifer Lakes                                            Check all that apply.
           8240 Deepwood Blvd #14                                       Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2780    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $475.00    $475.00
           Jose Lalama                                               Check all that apply.
           5765 Parkside Crossing                                       Contingent
           DUBLIN, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2781    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Amber Lally                                               Check all that apply.
           2706 boron st                                                Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2782    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Elizabeth Lally                                           Check all that apply.
           6600 Brookland Avenue                                        Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2783    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Lynn Lally                                                Check all that apply.
           3432 Middle Post Lane                                        Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2784    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           David Lam                                                 Check all that apply.
           12803 Kingston Way                                           Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2785    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Danielle LaMadeleine                                      Check all that apply.
           121 Maple Ave                                                Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2786    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Heather LaManna                                           Check all that apply.
           9958 aspen court                                             Contingent
           concord, OH 44060                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2787    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Jillian Lamb                                              Check all that apply.
           439 morrow rd 114                                            Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2788    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Kelly Lambrych                                            Check all that apply.
           4408 Swenson St                                              Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2789    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Jill Lammi                                                Check all that apply.
           6990 Roespark Blvd                                           Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2790    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Sarah Lance                                               Check all that apply.
           728 Delverne Ave sw                                          Contingent
           canton, OH 44710                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2791    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Tonya Landgraf                                            Check all that apply.
           919 Balboa Ct                                                Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2792    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Laurie Landies                                            Check all that apply.
           108 Allynd Blvd                                              Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2793    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Michael Landsberg                                         Check all that apply.
           4259 Rowanne Rd                                              Contingent
           Columbus, OH 43214                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2794    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Michael Lanese                                            Check all that apply.
           25350 Briardale avenue                                       Contingent
           Euclid, OH 44132                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2795    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Sarah Lang                                                Check all that apply.
           19530 Argyle Oval                                            Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2796    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Patrick Lange                                             Check all that apply.
           3725 Chrisfield Drive                                        Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2797    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Tom Lange                                                 Check all that apply.
           7356 Pickway Drive                                           Contingent
           Cincinnati, OH 45233                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2798    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           William Lange                                             Check all that apply.
           279 Hayer Drive                                              Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2799    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Adam Langham                                              Check all that apply.
           5832 South st                                                Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2800    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Adam Langham                                              Check all that apply.
           5832 South st                                                Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2801    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Adam Langham                                              Check all that apply.
           5832 South st                                                Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2802    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Mark Langlois                                             Check all that apply.
           251 Copperfield ct                                           Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2803    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Brian Langlotz                                            Check all that apply.
           10296 Mayfield Rd                                            Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2804    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Brian Langlotz                                            Check all that apply.
           10296 Mayfield Rd                                            Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2805    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Katie Lanham                                              Check all that apply.
           8162 Jordan Ridge Drive                                      Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2806    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Ronald Lanham                                             Check all that apply.
           5410 Wilshire Park Dr                                        Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2807    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Elizabeth Lanning                                         Check all that apply.
           75 cedar glen dr                                             Contingent
           painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2808    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Melissa Lanza                                             Check all that apply.
           9795 Burton Drive                                            Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2809    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Brian Lapikas                                             Check all that apply.
           24 David Ave NE                                              Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2810    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           KERRY LAPKA                                               Check all that apply.
           12807 Darrow Road                                            Contingent
           vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2811    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Denise Larbes                                             Check all that apply.
           385 Blackburn Ave.                                           Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2812    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Andrea Larick                                             Check all that apply.
           8267 Hemingway Lane                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2813    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Bianca Lark                                               Check all that apply.
           10459 Woodchuck Ct                                           Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2814    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Richard Larouere                                          Check all that apply.
           6269 highland meadows dr                                     Contingent
           medina, OH 44256                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2815    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Soledad Larry                                             Check all that apply.
           4668 anderson road                                           Contingent
           South Euclid, OH 44121                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2816    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Anne Larsen                                               Check all that apply.
           62 Lake Forest dr                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2817    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Anne Larsen                                               Check all that apply.
           62 Lake Forest dr                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2818    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $230.00    $230.00
           Jeanette Larsen                                           Check all that apply.
           1114 Hunt St                                                 Contingent
           Maumee, OH 43537                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2819    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Monica Larsen                                             Check all that apply.
           1521 Royal Oak Drive                                         Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2820    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Nicole Lascko                                             Check all that apply.
           8261 Royalton Rd                                             Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2821    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $601.00    $601.00
           Katie LaScola                                             Check all that apply.
           242 Olive Street                                             Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2822    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Sarah Lasko                                               Check all that apply.
           7594 Greenthorn Dr                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2823    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Kristi Laslo                                              Check all that apply.
           6227 Kingview Dr.                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2824    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Peter Laszlo                                              Check all that apply.
           11237 Worthington Way                                        Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2825    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Julie Lather                                              Check all that apply.
           1736 Cottonwood Drive                                        Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2826    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Zachary Latimer                                           Check all that apply.
           1183 Township Road 190 E                                     Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2827    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Whitney Latour                                            Check all that apply.
           3328 McGuffey rd                                             Contingent
           Columbus, OH 43224                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2828    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Heather Lauderback                                        Check all that apply.
           7511 Tall Pine Dr                                            Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2829    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jennifer Laughlin                                         Check all that apply.
           7350 Connie Dr.                                              Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2830    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $977.90    $977.90
           Joey Laughman                                             Check all that apply.
           1565 Saratoga Drive                                          Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2831    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Joey Laughman                                             Check all that apply.
           1565 Saratoga Drive                                          Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2832    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Andy Laurel                                               Check all that apply.
           1483 E. Lockwood Rd.                                         Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2833    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Matthew Laurich                                           Check all that apply.
           6674 Edgemoor Avenue                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2834    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jamie Lautenschlager                                      Check all that apply.
           514 w. Main St.                                              Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2835    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Jill Laverdiere                                           Check all that apply.
           3106 Willowbrook Dr                                          Contingent
           Reminderville, OH 44202                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2836    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Cynthia Lavo                                              Check all that apply.
           15055 Bates Creek Drive                                      Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2837    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Richard Lavoie                                            Check all that apply.
           7165 Colesbrooke Drive                                       Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2838    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Melinda Lawhead                                           Check all that apply.
           5806 Clover Groff Drive                                      Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2839    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Dennis Lawler                                             Check all that apply.
           89 Division St                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2840    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Cathleen Lawlor                                           Check all that apply.
           5950 Liberty Road                                            Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2841    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Kimberly Lawrence                                         Check all that apply.
           1204 central ave                                             Contingent
           Sandusky, OH 44870                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2842    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Stephanie Lawrence                                        Check all that apply.
           3703 Kilkenny Dr                                             Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2843    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           William Lawrence                                          Check all that apply.
           7301 Windsor Park Dr.                                        Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2844    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Meghan Laws                                               Check all that apply.
           826 Sun Ridge Lane                                           Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2845    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Brian Lawson                                              Check all that apply.
           5368 tallawanda dr                                           Contingent
           fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2846    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Laura Lazzaro                                             Check all that apply.
           1201 Woodside Drive                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2847    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Grace Leach                                               Check all that apply.
           7901 Wildwood drive                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2848    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Sarah Leach                                               Check all that apply.
           5186 Driftwood Dr.                                           Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2849    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Stephanie Leach                                           Check all that apply.
           5671 Preston Woods Rd                                        Contingent
           Columbus, OH 43235                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2850    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Amy Leacock                                               Check all that apply.
           2513 Punderson Dr.                                           Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2851    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Ellen Leamon                                              Check all that apply.
           3849 East Surrey Ct.                                         Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2852    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Gina Lear                                                 Check all that apply.
           528 Hartford drive                                           Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2853    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Michelle Leatherman                                       Check all that apply.
           113 North Stanley Street                                     Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2854    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Molly LeBel                                               Check all that apply.
           7880 Pinehill Road                                           Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2855    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Shelly Leck                                               Check all that apply.
           10951 Burlington Ridge Dr.                                   Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2856    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Linn Leclair                                              Check all that apply.
           1910 lakeview ave                                            Contingent
           rocky river, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2857    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Chrishone LEE                                             Check all that apply.
           5252 Copper Creek Drive                                      Contingent
           DUBLIN, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2858    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           CHRISTINE LEE                                             Check all that apply.
           2804 RICHMOND RD                                             Contingent
           BEACHWOOD, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2859    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Christine Lee                                             Check all that apply.
           305 Stewart Ave NW                                           Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2860    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Craig Lee                                                 Check all that apply.
           5920 PORTSIDE DR                                             Contingent
           HILLIARD, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2861    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Holly Lee                                                 Check all that apply.
           8072 Rainbow Drive                                           Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2862    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Jessica Lee                                               Check all that apply.
           11825 Wellesley Lane                                         Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2863    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Jong Lee                                                  Check all that apply.
           5732 Stockton Way                                            Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2864    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Mija Lee                                                  Check all that apply.
           5691 Nicholson dr                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2865    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Andi Leesburg                                             Check all that apply.
           2552 Punderson Drive                                         Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2866    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Eric Lefebvre                                             Check all that apply.
           7335 Iuka Ave                                                Contingent
           Madeira, OH 45243                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2867    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Kelly Lehmkuhl                                            Check all that apply.
           6642 Buttonbush Ct                                           Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2868    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Andrew Lehner                                             Check all that apply.
           803 Outrigger Cove                                           Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2869    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Mary Leibold                                              Check all that apply.
           166 Lakeview Lane                                            Contingent
           South Russell, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2870    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Jennifer Leigey                                           Check all that apply.
           8253 Winthrop Ct                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2871    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Jennifer Leigey                                           Check all that apply.
           8253 Winthrop Ct                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2872    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Kathleen Leigh                                            Check all that apply.
           82 E Streetsboro St                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2873    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Lisa Leighton                                             Check all that apply.
           7183 Jonathan Drive                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2874    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Dawn Leko                                                 Check all that apply.
           7032 kingswood drive                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2875    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Laura Lekson                                              Check all that apply.
           7276 Waterfowl Way                                           Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2876    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Vincent Lemle                                             Check all that apply.
           5597 Cabot Cove Dr                                           Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2877    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Joshua Lemr                                               Check all that apply.
           9726 Martinique Dr.                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2878    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Sherry Lenehan                                            Check all that apply.
           5331 River Rd.                                               Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2879    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Julie Lenhart                                             Check all that apply.
           204 Miami Ave                                                Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2880    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Aimee Lennerth                                            Check all that apply.
           3839 Nautilus Trail                                          Contingent
           Reminderville, OH 44202                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2881    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Leslie Lenney                                             Check all that apply.
           5729 Walnut St                                               Contingent
           Kings Mills, OH 45034                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2882    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Michelle Leo                                              Check all that apply.
           3990 Wiltshire Road                                          Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2883    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Jennifer Leopold                                          Check all that apply.
           850 Tappan Circle Vermilion                                  Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2884    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Mark Leopold                                              Check all that apply.
           138 Lee Road                                                 Contingent
           Painesville Twp, OH 44077                                    Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2885    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Mark Leopold                                              Check all that apply.
           138 Lee Road                                                 Contingent
           Painesville Twp, OH 44077                                    Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2886    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Christy Leow                                              Check all that apply.
           924 Madison St                                               Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2887    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Kim Lesko                                                 Check all that apply.
           1054 Rosealee Ave                                            Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2888    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Stephanie Lessick                                         Check all that apply.
           9500 Tanager Dr.                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2889    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           LeAnne Letany                                             Check all that apply.
           72 Meadowview Ct.                                            Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2890    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Cathy Letterio                                            Check all that apply.
           10629 Buckingham Pl                                          Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2891    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Cathy Letterio                                            Check all that apply.
           10629 Buckingham Pl                                          Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2892    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Amy LeVan                                                 Check all that apply.
           1010 Dellwood Drive                                          Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2893    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Amy LeVan                                                 Check all that apply.
           1010 Dellwood Drive                                          Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2894    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $775.00    $775.00
           Megann LeVan                                              Check all that apply.
           649 Cooper Ave.                                              Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2895    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Abigail Levi                                              Check all that apply.
           136 Ravine Rd.                                               Contingent
           Powell, OH 43065                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2896    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Peter Levites                                             Check all that apply.
           5136 Pebble Lane                                             Contingent
           Columbus, OH 43220                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2897    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $70.00    $70.00
           Kelley Levy                                               Check all that apply.
           1890 Middleton Rd.                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2898    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Susan Levy                                                Check all that apply.
           38505 Mcdowell Dr                                            Contingent
           solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2899    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Amy Lewis                                                 Check all that apply.
           5908 Saucony Drive                                           Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2900    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $420.00    $420.00
           Cassandra Lewis                                           Check all that apply.
           22134 River Oaks Drive apt 2c                                Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2901    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Catalina Lewis                                            Check all that apply.
           640 Georgetown ave.                                          Contingent
           ElyriaElyria, OH 44035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2902    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Jessica Lewis                                             Check all that apply.
           7757 Emmanuel Drive                                          Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2903    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Joanna Lewis                                              Check all that apply.
           14741 Hitching Post Ln                                       Contingent
           Novelty, OH 44072                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2904    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Kara Lewis                                                Check all that apply.
           7579 Berks Way                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2905    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Kara Lewis                                                Check all that apply.
           7579 Berks Way                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2906    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Karen Lewis                                               Check all that apply.
           8695 Royale Oak Ct                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2907    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           KRISTEN LEWIS                                             Check all that apply.
           6041 DRENTA CIR SW                                           Contingent
           NAVARRE, OH 44662                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2908    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Lora Lewis                                                Check all that apply.
           23671 Letchworth Road                                        Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2909    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Paul Lewis                                                Check all that apply.
           6955 Richmond Rd                                             Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2910    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Sarita Lewis                                              Check all that apply.
           1943 Fowl Road C11                                           Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2911    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Stoney Lewis                                              Check all that apply.
           5357 sunlight ct                                             Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2912    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           David Lex                                                 Check all that apply.
           163 N. Hayden Pkwy                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2913    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Rebecca Leydon                                            Check all that apply.
           32 King St.                                                  Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2914    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           David Leyva                                               Check all that apply.
           350 Washington Cir.                                          Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2915    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Deborah Li                                                Check all that apply.
           7219 Winchester Dr.                                          Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2916    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Hua Li                                                    Check all that apply.
           35980 Michael Drive                                          Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2917    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Jianbo Li                                                 Check all that apply.
           5334 Denise CT                                               Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2918    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Qing Liang                                                Check all that apply.
           2174 Weston Dr.                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2919    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Haijiao Liao                                              Check all that apply.
           6573 Forest Glen Ave.                                        Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2920    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Amy Libby                                                 Check all that apply.
           359 W. Streetsboro Street                                    Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2921    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Leigha Libecap                                            Check all that apply.
           1325 S.Clay St                                               Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2922    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Edward Libens                                             Check all that apply.
           22375 Sunnyhill Drive                                        Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2923    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Laura Licek                                               Check all that apply.
           318 Bucknell Court                                           Contingent
           Broadview Heights, OH 44147                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2924    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Mui Lie                                                   Check all that apply.
           13841 Oakbrook dr. #206                                      Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2925    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Stephen Lieber                                            Check all that apply.
           37105 Deer Run                                               Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2926    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Stephen Lieber                                            Check all that apply.
           37105 Deer Run                                               Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2927    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Aimee Liebert                                             Check all that apply.
           7830 Thomas Drive                                            Contingent
           Madeira, OH 45243                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2928    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Karlyn Liebhardt                                          Check all that apply.
           9090 oakstone trail                                          Contingent
           chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2929    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Joanna Liedel                                             Check all that apply.
           2366 Woodacre Dr.                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2930    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Tammy Lieu                                                Check all that apply.
           10296 smugglers cove                                         Contingent
           Aurora, OH 44202                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2931    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           John Lifford                                              Check all that apply.
           8875 Mulberry Rd                                             Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2932    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Joshua Lightle                                            Check all that apply.
           915 rush avenue                                              Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2933    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Michael Likovetz                                          Check all that apply.
           333 Oldham Way                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2934    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Tracy Limbert                                             Check all that apply.
           93 East Case Drive                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2935    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           YanBing Lin                                               Check all that apply.
           98 South settlers Ln.                                        Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2936    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Joe Linahan                                               Check all that apply.
           8729 Landen Drive                                            Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2937    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Tom Lindberg                                              Check all that apply.
           3232 Crownpoint St NW                                        Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2938    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Melissa Lindley                                           Check all that apply.
           5784 Timberline Trail                                        Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2939    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Jeri Lindner                                              Check all that apply.
           6620 River Road                                              Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2940    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Haritha Lingichetty                                       Check all that apply.
           1821 little bear loop                                        Contingent
           lewis center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2941    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           JILL LINGO                                                Check all that apply.
           6065 Havenwood Ct.                                           Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2942    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Lori Lingo                                                Check all that apply.
           1940 N Ridge Rd                                              Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2943    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Karla Lining                                              Check all that apply.
           5965 South Shandle Blvd.                                     Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2944    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Brian Link                                                Check all that apply.
           4811 Willowbrook drive                                       Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2945    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Ed Link                                                   Check all that apply.
           5673 Marine Parkway                                          Contingent
           Mentor on the Lake, OH 44060                                 Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2946    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Annemarie Linnert                                         Check all that apply.
           8068 Rainbow Dr.                                             Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2947    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Annemarie Linnert                                         Check all that apply.
           8068 Rainbow Dr.                                             Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2948    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Stacey Lipchek                                            Check all that apply.
           3531 Hawthorne trail                                         Contingent
           broadview Heights, OH 44147                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2949    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Jessica Lippoli                                           Check all that apply.
           1272 Deer Lake Court                                         Contingent
           Columbus, OH 43204                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2950    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Cheryl Liptak                                             Check all that apply.
           3060 Bear Oval                                               Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2951    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jason Lisy                                                Check all that apply.
           9601 Brayes Manor Dr                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2952    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Blossom Litteken                                          Check all that apply.
           6455 Taylor Trace Lane                                       Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2953    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Andrea Littlejohn                                         Check all that apply.
           1195 Longwood dr                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2954    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Andrea Littlejohn                                         Check all that apply.
           1195 Longwood dr                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2955    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Bo Liu                                                    Check all that apply.
           38963 Glenlivet CT                                           Contingent
           solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2956    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Hongyan Liu                                               Check all that apply.
           5360 Wilshire Park Drive                                     Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2957    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Qin Liu                                                   Check all that apply.
           790 Patriot Ct                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2958    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Todd Livengood                                            Check all that apply.
           10430 Locust Grove Dr                                        Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2959    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Amarda Llanaj                                             Check all that apply.
           22449 Lake Rd. Apt.305f                                      Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2960    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Shawn Lloyd                                               Check all that apply.
           564 N. Park St.                                              Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2961    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Jessie Lobaza                                             Check all that apply.
           10281 Foxwood Dr.                                            Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2962    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Charles LoBello                                           Check all that apply.
           13831 Rustic Dr                                              Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2963    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $230.00    $230.00
           Brandon Loboschefski                                      Check all that apply.
           1330 Old Trail Rd                                            Contingent
           Maumee, OH 43537                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2964    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Cynthia Lockemer                                          Check all that apply.
           3271 Darien Ln                                               Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2965    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Rhonda Lockett                                            Check all that apply.
           32500 Monroe Court # 102                                     Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2966    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Michele Lockhart                                          Check all that apply.
           5204 13th st sw                                              Contingent
           Canton, OH 44710                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2967    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Nelly Lockhart                                            Check all that apply.
           9844 Old Johnnycake Ridge Road                               Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2968    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           George Locklear                                           Check all that apply.
           44863 Parsons Rd.                                            Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2969    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Karen Lockman                                             Check all that apply.
           6533 copley avenue                                           Contingent
           solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2970    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Sharon Lockman                                            Check all that apply.
           32935 Charmwood Oval                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2971    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Gina Lococo                                               Check all that apply.
           10901 Bridle Trail                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2972    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Lisa LoConti                                              Check all that apply.
           8140 Mount Royal Drive                                       Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2973    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Lisa LoConti                                              Check all that apply.
           8140 Mount Royal Drive                                       Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2974    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Deborah Lodewyck                                          Check all that apply.
           3270 Myrtle Dr.                                              Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2975    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Samantha LoDuca                                           Check all that apply.
           7630 Brainard Ct                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2976    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Tia Loduca                                                Check all that apply.
           12010 sperry rd.                                             Contingent
           chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2977    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Melissa Loera                                             Check all that apply.
           261 Elberta Drive                                            Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2978    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           John Logan                                                Check all that apply.
           4612 Barbie Ave SW                                           Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2979    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Ante Logarusic                                            Check all that apply.
           897 Pebble Beach Cove                                        Contingent
           Painesville Twp, OH 44077                                    Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2980    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Erin Logsdon                                              Check all that apply.
           174 Crestview Rd.                                            Contingent
           Columbus, OH 43202                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2981    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Rebecca Logston                                           Check all that apply.
           6740 Duneden Avenue                                          Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2982    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Jonathan Logue                                            Check all that apply.
           365 Edison Dr                                                Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2983    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           VERA LOGVYNETS                                            Check all that apply.
           1742 Wagar Rd #211                                           Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2984    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Brent Lohr                                                Check all that apply.
           10425 Barchester Dr.                                         Contingent
           Concord Twp., OH 44077-2262                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2985    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Stacy Loizos                                              Check all that apply.
           21755 Lake rd                                                Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2986    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Robyn Lojek                                               Check all that apply.
           6231 Tina Dr                                                 Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2987    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Lisa Lombardo                                             Check all that apply.
           10224 Wilson Mills Rd                                        Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2988    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Nancy London                                              Check all that apply.
           46984 W. Hamilton St                                         Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2989    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Clarice Long                                              Check all that apply.
           4436 Akins Rd                                                Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2990    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Debra Long                                                Check all that apply.
           6700 Auburn Rd.                                              Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2991    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Lisa Long                                                 Check all that apply.
           1872 Dooridge Drive Dooridge                                 Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2992    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Lorrie Long                                               Check all that apply.
           217 Stone Ridge Blvd.                                        Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2993    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Tammy Long                                                Check all that apply.
           135 Saratoga Ave SW                                          Contingent
           Canton, OH 44710                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2994    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Rondallyn Longley                                         Check all that apply.
           2891 Bold Venture Dr.                                        Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2995    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Jennifer Longo                                            Check all that apply.
           116 Walnut Street                                            Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2996    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Jennifer Looks                                            Check all that apply.
           615 Woodside Avenue                                          Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2997    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Juana Lopez                                               Check all that apply.
           3109 lynch st sw                                             Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2998    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Lissa Lopez                                               Check all that apply.
           317 Longfellow St.                                           Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.2999    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Maria Lopez                                               Check all that apply.
           141 Westland ave nw                                          Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3000    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Maria Lopez                                               Check all that apply.
           447 Windamere ave nw                                         Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3001    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Norma Lopez                                               Check all that apply.
           5579 Farmhouse ln                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3002    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Steven Lopez                                              Check all that apply.
           1089 Sedgwick Court                                          Contingent
           Columbus, OH 43235                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3003    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Valerie Lopez                                             Check all that apply.
           2725 Blue Heron Drive                                        Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3004    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Chena Lord                                                Check all that apply.
           1030 Citadel Ave NW                                          Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3005    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Christine Loretan                                         Check all that apply.
           884 Ridgewood Blvd.                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3006    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Elisa Loring                                              Check all that apply.
           7674 bergen court                                            Contingent
           hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3007    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Donna Losiewicz                                           Check all that apply.
           15405 Bent Tree Drive                                        Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3008    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Donna Losiewicz                                           Check all that apply.
           15405 Bent Tree Drive                                        Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3009    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Latika Lott                                               Check all that apply.
           6480 Zoellners Place                                         Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3010    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Tina Lotts                                                Check all that apply.
           316 East Brown Avenue                                        Contingent
           BELLEFONTAINE, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3011    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Chris Loucks                                              Check all that apply.
           6232 richville drive sw                                      Contingent
           Navarre, OH 44662                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3012    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Kelley Love                                               Check all that apply.
           651 Rothmoore                                                Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3013    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Tracy Love                                                Check all that apply.
           27255 Tinkers Valley Dr                                      Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3014    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Paul Lovell                                               Check all that apply.
           3242 Springview Dr                                           Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3015    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Pete Lowe                                                 Check all that apply.
           2831 Bold Venture Dr                                         Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3016    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Aimee Lowrance                                            Check all that apply.
           4221 Chatsworth Dr.                                          Contingent
           Mason, OH 45040                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3017    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Charles Loy                                               Check all that apply.
           1800 barnhart rd                                             Contingent
           troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3018    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Michelle Lozina                                           Check all that apply.
           82 Sussex Rd                                                 Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3019    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Amy Lucas                                                 Check all that apply.
           2406 Highland Court                                          Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3020    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Kim Lucas                                                 Check all that apply.
           8752 Cliffwood Ct                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3021    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Linnea Lucas                                              Check all that apply.
           414 Peppertree Lane                                          Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3022    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Lori Lucas                                                Check all that apply.
           322 Olentangy Meadows Drive                                  Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3023    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Nicole Lucas                                              Check all that apply.
           2574 Brooklyn ave sw                                         Contingent
           Canton, OH 44706                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3024    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Wayne Lucas                                               Check all that apply.
           1641 cedarcrest ave s.w.                                     Contingent
           massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3025    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Jacquelyn Luczywo                                         Check all that apply.
           180 Salt Creek Run                                           Contingent
           Peninsula, OH 44264                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3026    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Penny Luda                                                Check all that apply.
           8216 Edgerton Rd                                             Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3027    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Tami Ludewig                                              Check all that apply.
           7050 Kate Dr.                                                Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3028    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Christopher Ludwig                                        Check all that apply.
           8624 Ravenna Road                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3029    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Jeff Lugar                                                Check all that apply.
           113 Lafayette St                                             Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3030    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Monica Lujan                                              Check all that apply.
           8082 Mayfield Rd                                             Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3031    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Cari Lukcso                                               Check all that apply.
           3485 Nautilus Trail                                          Contingent
           Reminderville, OH 44202                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3032    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Bonnie Luker                                              Check all that apply.
           5851 Brewster Dr.                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3033    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Tara Luling                                               Check all that apply.
           7929 Pinehill Road                                           Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3034    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Heather Lulow                                             Check all that apply.
           6968 Auburn RD                                               Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3035    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Natasha Luma                                              Check all that apply.
           616 Laurel Avenue                                            Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3036    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Julie Lundin                                              Check all that apply.
           22790 Laramie Dr.                                            Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3037    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Krista Lung                                               Check all that apply.
           2378 Omaha Pl                                                Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3038    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Doan Luong                                                Check all that apply.
           3607 Hoskins Circle                                          Contingent
           Fairfield, OH 45011                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3039    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Angelique Luptak                                          Check all that apply.
           9956 Johnnycake Ridge Rd. E5                                 Contingent
           Concord Twp, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3040    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Brian Lutes                                               Check all that apply.
           7901 Locust Lane                                             Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3041    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Karen Luther                                              Check all that apply.
           7410 Madeira Pines Dr                                        Contingent
           Madeira, OH 45243                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3042    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Tammy Lutterbie                                           Check all that apply.
           3741 Winter Hill Drive                                       Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3043    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Amy Luttrell                                              Check all that apply.
           6526 Vonnie Vale Ct                                          Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3044    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Kristin Lutzke                                            Check all that apply.
           6041 Nature View Ct                                          Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3045    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           VICKY LUVISON                                             Check all that apply.
           8331 Sheltered Cove                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3046    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           MItch Luxenburg                                           Check all that apply.
           2166 Lyndway Road                                            Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3047    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Christine Lyden                                           Check all that apply.
           2904 Alling Drive                                            Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3048    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Caroline Lydon                                            Check all that apply.
           20695 Stratford                                              Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3049    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Brenda Lynch                                              Check all that apply.
           9362 Clopton Court                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3050    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Brenda Lynch                                              Check all that apply.
           9362 Clopton Court                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3051    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Douglas Lynch                                             Check all that apply.
           3587 Dockside Ct.                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3052    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jill Lynch                                                Check all that apply.
           7876 Wainwright Lane                                         Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3053    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Margaret Lynch                                            Check all that apply.
           15 DAISY LN                                                  Contingent
           CHAGRIN FALLS, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3054    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Michael Lynch                                             Check all that apply.
           7930 Newell Creek                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3055    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Mindy Lynch                                               Check all that apply.
           9663 Kelly Dr.                                               Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3056    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Stacie Lynch                                              Check all that apply.
           5509 Tayside Circle                                          Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3057    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Stacy Lynch                                               Check all that apply.
           6804 Glencairn Ct.                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3058    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Barry Lynn                                                Check all that apply.
           7985 Sweetgum Trail                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3059    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Monica Lynn                                               Check all that apply.
           7557 Woodland Avenue                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3060    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Monica Lynn                                               Check all that apply.
           7557 Woodland Avenue                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3061    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Patti Lysaght                                             Check all that apply.
           8265 Jordan Ridge Drive                                      Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3062    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Casondra Lytle                                            Check all that apply.
           7066 Constantine Court                                       Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3063    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Jin Ma                                                    Check all that apply.
           5229 Wilshire Park Drive                                     Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3064    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Susan Ma                                                  Check all that apply.
           38495 Flanders dr                                            Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3065    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Tetyana Maciech                                           Check all that apply.
           7097 Cedar St                                                Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3066    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Heather Macik                                             Check all that apply.
           170 W Carriage Dr APT # 204                                  Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3067    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Dannielle Mack                                            Check all that apply.
           1679 Jennifer Drive Twinsburg                                Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3068    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Sheryl Mack                                               Check all that apply.
           7831 Kingman Place                                           Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3069    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Lisa MacKay                                               Check all that apply.
           6484 Olde Eight Road                                         Contingent
           Peninsula, OH 44264                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3070    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Tammy Macke                                               Check all that apply.
           3687 Wood Trail Drive                                        Contingent
           Mason, OH 45040                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3071    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Randall MacKim                                            Check all that apply.
           722 Kolpwood AVE NW                                          Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3072    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Bill Madan                                                Check all that apply.
           8850 Camelot Dr                                              Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3073    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Kathy Madar                                               Check all that apply.
           5800 Bridgewater Blvd.                                       Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3074    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Mariea Madea                                              Check all that apply.
           7559 King Memorial Road                                      Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3075    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Mary Madeja                                               Check all that apply.
           6405 Vrooman Rd                                              Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3076    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Mary Madeja                                               Check all that apply.
           6405 Vrooman Rd                                              Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3077    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Heather Mader                                             Check all that apply.
           408 W MARKET ST                                              Contingent
           TROY, OH 45373-3964                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3078    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Heather Mader                                             Check all that apply.
           408 W MARKET ST                                              Contingent
           TROY, OH 45373-3964                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3079    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Karl Maersch                                              Check all that apply.
           100 CHURCH STREET                                            Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3080    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Laurie Maersch                                            Check all that apply.
           5110 Lansdowne Drive                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3081    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Melissa Maghes                                            Check all that apply.
           2855 Hudson Aurora Road                                      Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3082    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Mia Mahaffee                                              Check all that apply.
           8556 juniper drive                                           Contingent
           lewis center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3083    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Megan Maher                                               Check all that apply.
           20932 Morewood Pkwy                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3084    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Sara Mahon                                                Check all that apply.
           4807 Slade Dr                                                Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3085    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Amanda Mahoney                                            Check all that apply.
           7405 Jeremy Avenue                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3086    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Litz Main                                                 Check all that apply.
           9539 Old Village Dr                                          Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3087    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Denise Maiorana                                           Check all that apply.
           38170 McDowell Drive                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3088    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Shahina Majed                                             Check all that apply.
           810 Prairie Rd                                               Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3089    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Nancy MAKSOUD-WALLACE                                     Check all that apply.
           7819 Maple Leaf Dr                                           Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3090    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Kevin Malarkey                                            Check all that apply.
           8640 West Point Drive                                        Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3091    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Sabrina Malcolm                                           Check all that apply.
           7640 Pinecrest Ln                                            Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3092    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Sherri Malek                                              Check all that apply.
           25100 Bryden RD                                              Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3093    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Melinda Malicki                                           Check all that apply.
           2670 Jameston Drive                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3094    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Hanan Maliki                                              Check all that apply.
           139 Meadowlands Dr. E1                                       Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3095    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Nizzar Malkieh                                            Check all that apply.
           12927 Hampton Club Dr Apt 103                                Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3096    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Kathleen Mallott                                          Check all that apply.
           4376 darrow road #7                                          Contingent
           stow, OH 44224                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3097    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Antonia Malnar                                            Check all that apply.
           5266 corduroy road                                           Contingent
           mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3098    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Mike Malnar                                               Check all that apply.
           9616 Venus dr                                                Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3099    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jennifer Malone                                           Check all that apply.
           11725 Overlook Rd                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3100    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Annette Malott                                            Check all that apply.
           2390 Seneca Drive                                            Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3101    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Deana Maltby                                              Check all that apply.
           689 Bowhall Road                                             Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3102    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Melissa Maltry                                            Check all that apply.
           7817 Ellington Place                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3103    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Barbara Mancari                                           Check all that apply.
           7696 Ellington Place                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3104    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Stacy Mancuso                                             Check all that apply.
           6577 forest glen ave                                         Contingent
           solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3105    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Melannie Maneri                                           Check all that apply.
           7609 King Memorial Rd                                        Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3106    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Sam Maniar                                                Check all that apply.
           5208 Wilshire Park Drive                                     Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3107    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Terri Mankin                                              Check all that apply.
           4591 Richville Dr SW                                         Contingent
           Canton, OH 44706                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3108    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Sarah Mann                                                Check all that apply.
           9636 Kim Drive                                               Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3109    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           AnneMarie MAnngard                                        Check all that apply.
           7715 Lydia Dr                                                Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3110    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Kelly Manning                                             Check all that apply.
           6547 Willow Hollow Lane                                      Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3111    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Laura Mantle                                              Check all that apply.
           4701 Wiltshire Rd                                            Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3112    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Octavia Manuel                                            Check all that apply.
           2380 Croydon Road                                            Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3113    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Kristie Marbury                                           Check all that apply.
           6618 Copley Ave                                              Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3114    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Elena Marcano                                             Check all that apply.
           1549 Little Bear Loop                                        Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3115    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           David Marcum                                              Check all that apply.
           113 north Springhill street                                  Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3116    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Paul Mardula                                              Check all that apply.
           11800 Julie drive                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3117    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           MICHAEL MARES                                             Check all that apply.
           510 E. THIRD ST.                                             Contingent
           PORT CLINTON, OH 43452-3971                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3118    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Kelley Marginean                                          Check all that apply.
           4890 Pondloop dr                                             Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3119    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Enrico Mariani                                            Check all that apply.
           1446 Bordner Ave SW                                          Contingent
           Canton, OH 44710                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3120    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Kelly Marigney                                            Check all that apply.
           37135 Deer Run                                               Contingent
           Son, OH 44139                                                Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3121    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Aaron Marinelli                                           Check all that apply.
           150 Quail Hollow Drive                                       Contingent
           Moreland Hills, OH 44022                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3122    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Amy Marino                                                Check all that apply.
           12120 W Shiloh Drive                                         Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3123    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Melissa Marino                                            Check all that apply.
           8720 Summer Wind Lane                                        Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3124    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Alyssa Markell                                            Check all that apply.
           9 Meadowlawn Dr #8                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3125    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kristina Marker                                           Check all that apply.
           9309 Brakeman Rd                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3126    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Stephanie Marker                                          Check all that apply.
           528 Brookwood Dr                                             Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3127    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Neil Markey                                               Check all that apply.
           113 Church Street                                            Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3128    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Becky Markley                                             Check all that apply.
           8324 Dartmoor Rd                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3129    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Hallie Markowitz                                          Check all that apply.
           3426 Old Green Rd                                            Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3130    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Kelly Markowitz                                           Check all that apply.
           28975 North Park Blvd                                        Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3131    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Todd Markowski                                            Check all that apply.
           5496 Primavera Dr                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3132    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Dimitri Marku                                             Check all that apply.
           21012 Halworth Rd                                            Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3133    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Alissa Markusic                                           Check all that apply.
           655 Academy Dr                                               Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3134    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Danielle Marn                                             Check all that apply.
           7584 hunting lake dr                                         Contingent
           painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3135    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Danielle Marn                                             Check all that apply.
           7584 hunting lake dr                                         Contingent
           painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3136    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Kelly Maron                                               Check all that apply.
           401 Greenfield lane                                          Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3137    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Carrie Maronde                                            Check all that apply.
           15040 Regents Way                                            Contingent
           chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3138    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Kathleen Maroon                                           Check all that apply.
           3360 Delmar Drive                                            Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3139    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Kathleen Maroon                                           Check all that apply.
           3360 Delmar Drive                                            Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3140    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Marietta Marquart                                         Check all that apply.
           333 Simon Road                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3141    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Wendy Marquez                                             Check all that apply.
           946 Midway Blvd                                              Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3142    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Kara Marquis                                              Check all that apply.
           1758 glenwood dr                                             Contingent
           twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3143    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Robert Marquis                                            Check all that apply.
           1513 Saratoga Dr                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3144    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Ryan Marquis                                              Check all that apply.
           7842 Hidden Hollow Dr                                        Contingent
           MENTOR, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3145    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Gina Marrali                                              Check all that apply.
           9990 Forest Drive                                            Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3146    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Jerald Marshall                                           Check all that apply.
           131 Prentice Rd                                              Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3147    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Melanie Marshall                                          Check all that apply.
           7454 Andover Way                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3148    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Rachel Marshall                                           Check all that apply.
           8035 Plains Road                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3149    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Robin Marshall                                            Check all that apply.
           120 North Street                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3150    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Tara Marshall                                             Check all that apply.
           1455 Hunter Ct                                               Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3151    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Christine Marsiglio                                       Check all that apply.
           6193 Dunbar Drive                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3152    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Christine Marsiglio                                       Check all that apply.
           6193 Dunbar Drive                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3153    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Charles Martin II                                         Check all that apply.
           430 Fulton Street                                            Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3154    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Christine Martin                                          Check all that apply.
           10262 Pratt Lane                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3155    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Erica Martin                                              Check all that apply.
           365 Chestnut St.                                             Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3156    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Erica Martin                                              Check all that apply.
           365 Chestnut St.                                             Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3157    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Heather Martin                                            Check all that apply.
           3239 Rayanna St NW                                           Contingent
           Massillon, OH 44646-3011                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3158    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Janelle Martin                                            Check all that apply.
           5208 sara way                                                Contingent
           hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3159    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           MaryPat Martin                                            Check all that apply.
           9211 Brakeman Rd.                                            Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3160    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Scott Martin                                              Check all that apply.
           8351 Twin Creek Ct                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3161    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Edgar Martinez                                            Check all that apply.
           8168 Appleridge Dr.                                          Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3162    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Jill Martinez                                             Check all that apply.
           5497 North Fairway Drive                                     Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3163    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Lori Martini                                              Check all that apply.
           7591 Dog Trot Rd.                                            Contingent
           Cincinnati, OH 45248                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3164    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Sharlene Marty                                            Check all that apply.
           2727 Hampton Road                                            Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3165    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Tracie Maschke                                            Check all that apply.
           405 Reserve Trail                                            Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3166    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Deya Mashal                                               Check all that apply.
           7224 Holderman St                                            Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3167    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Scott Masiella                                            Check all that apply.
           388 Oldham Way                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3168    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Jennifer Masink                                           Check all that apply.
           1509 Callander Dr.                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3169    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Carey Mason                                               Check all that apply.
           8695 Old Village Ln                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3170    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Paul Mason                                                Check all that apply.
           5635 Mapleridge Drive                                        Contingent
           Cincinnati, OH 45227                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3171    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Peter Mason                                               Check all that apply.
           298 Forest Edge Drive                                        Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3172    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Margaret Massaro                                          Check all that apply.
           2116 Aurora Ave.                                             Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3173    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           JESSE MASSEY                                              Check all that apply.
           201 WINDSOR DR                                               Contingent
           ELYRIA, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3174    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Kelly Massie                                              Check all that apply.
           6200 E River Rd                                              Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3175    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jason Massingill                                          Check all that apply.
           1320 Stonycreek Rd.                                          Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3176    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jason Massingill                                          Check all that apply.
           1320 Stonycreek Rd.                                          Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3177    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Qiana Massingill                                          Check all that apply.
           2215 Pebble Creek Dr Apt 205J                                Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3178    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Arianne Mastandrea                                        Check all that apply.
           8803 evergreen dr                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3179    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Tara Masters                                              Check all that apply.
           505 Westland Ave SW                                          Contingent
           massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3180    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $110.00    $110.00
           Nicole Matanin                                            Check all that apply.
           2340 Lakeview Ave                                            Contingent
           Rocky river, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3181    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kim Matasich                                              Check all that apply.
           5064 Dresden Dr. NW                                          Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3182    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Karie Matejka                                             Check all that apply.
           6446 Deer Haven Dr.                                          Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3183    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Kerry Matejka                                             Check all that apply.
           1533 Clipper Cove                                            Contingent
           Painesville Twp., OH 44077                                   Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3184    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Kerry Matejka                                             Check all that apply.
           1533 Clipper Cove                                            Contingent
           Painesville Twp., OH 44077                                   Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3185    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Laura Mateyo                                              Check all that apply.
           90 Bishop Dr.                                                Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3186    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Dale Matheny                                              Check all that apply.
           8356 Finch Shelter Drive                                     Contingent
           Columbus, OH 43235                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3187    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Johanna Matheny                                           Check all that apply.
           5691 Pleasant Hill Dr.                                       Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3188    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Sam Mathew                                                Check all that apply.
           1430 Hunting Hollow                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3189    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Amy Mathews                                               Check all that apply.
           3261 prairie gardens ct                                      Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3190    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Denise Mathews                                            Check all that apply.
           3414 River Landings Blvd.                                    Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3191    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           James Mathews                                             Check all that apply.
           1161 E337th st                                               Contingent
           Eastlake, OH 44095                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3192    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Michelle Mathews                                          Check all that apply.
           3350 Wind Song Ln                                            Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3193    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Carolina Mathis                                           Check all that apply.
           7321 Granby Drive                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3194    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Karen Matier                                              Check all that apply.
           6712 pinebrooke                                              Contingent
           hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3195    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Lindsey Matlack                                           Check all that apply.
           6568 Westpoint Dr                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3196    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Tiffany Matlock                                           Check all that apply.
           4984 Dublin Dr                                               Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3197    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Sharon Matolka                                            Check all that apply.
           7640 Hudson Park Drive                                       Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3198    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Heidi Mattlin                                             Check all that apply.
           7321 Shelford Dr                                             Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3199    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Diana Mattson                                             Check all that apply.
           3670 Shadow Ridge Drive                                      Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3200    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Jerrel Mattson                                            Check all that apply.
           111 Fox Trail                                                Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3201    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Guido Matuschek                                           Check all that apply.
           26205 Seville Drive Appartment                               Contingent
           #302                                                         Unliquidated
           Beachwood, OH 44122                                          Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3202    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Scott Matyac                                              Check all that apply.
           7587 Affirmed ct                                             Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3203    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Mike Mauceri                                              Check all that apply.
           7172 Bunker Cv                                               Contingent
           Mentor, OH 44060-5336                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3204    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Kelly Mauk                                                Check all that apply.
           1865 Pheasant Pt CT                                          Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3205    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Kelly Mauk                                                Check all that apply.
           1865 Pheasant Pt CT                                          Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3206    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Mark Mauldin                                              Check all that apply.
           5767 SOM Center Road                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3207    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Amanda Maus                                               Check all that apply.
           5800 Brooke Meadows Ct                                       Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3208    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Bridgette Mauter                                          Check all that apply.
           220 Wintergreen Hill Drive                                   Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3209    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Julie Mawaka                                              Check all that apply.
           6178 Burr Oak Way                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3210    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $230.00    $230.00
           Amy Maxwell                                               Check all that apply.
           716 N High St                                                Contingent
           Maumee, OH 43537                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3211    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Gwen Maxwell                                              Check all that apply.
           3616 Spencer Rd.                                             Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3212    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Holli Maxwell                                             Check all that apply.
           333 18th St.                                                 Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3213    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Chris May                                                 Check all that apply.
           4605 Jessica Lane                                            Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3214    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Kelly May                                                 Check all that apply.
           62 Walnut Street                                             Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3215    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Michele May                                               Check all that apply.
           11293 Wilson Mills Rd                                        Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3216    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Stephanie Mayle                                           Check all that apply.
           321 Lynn Cir NW                                              Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3217    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Craig Mayo                                                Check all that apply.
           5561 orchid ave.                                             Contingent
           mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3218    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Nicole Mazon                                              Check all that apply.
           2806 Pheasant Field Dr                                       Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3219    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Gwyn Mazuk                                                Check all that apply.
           6087 Morris Rd                                               Contingent
           Hamilton, OH 45011-5139                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3220    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Ron Mazurek                                               Check all that apply.
           9426 FREEPORT LN                                             Contingent
           MENTOR, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3221    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Angela McAtee                                             Check all that apply.
           3067 Maddie Ct                                               Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3222    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Dawn McBain                                               Check all that apply.
           3954 Medford Sq                                              Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3223    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Renee McCabe                                              Check all that apply.
           2755 Parkside Drive                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3224    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Bill Mccale                                               Check all that apply.
           4984 timberview dr.                                          Contingent
           vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3225    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Jean McCall                                               Check all that apply.
           7425 Herrick Park Dr                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3226    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Jean McCall                                               Check all that apply.
           7425 Herrick Park Dr                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3227    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Nicole McCallCash                                         Check all that apply.
           2165 White Marsh Dr                                          Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3228    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Carrie McCallister                                        Check all that apply.
           444 Windamere Ave.                                           Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3229    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Barbara McCann                                            Check all that apply.
           5513 Primavera Dr                                            Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3230    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Kevin McCann                                              Check all that apply.
           1064 Evadell Dr                                              Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3231    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $230.00    $230.00
           Carol McCarthy                                            Check all that apply.
           410 E Wayne St. 410 E Wayne St                               Contingent
           Maumee, OH 43537                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3232    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Kathryn McCartney                                         Check all that apply.
           731 Drummond ct                                              Contingent
           Columbus, OH 43214                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3233    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Nancy McCauley                                            Check all that apply.
           8900 Auburn Rd                                               Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3234    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           CIELO MCCLAIN                                             Check all that apply.
           9 River Side Drive                                           Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3235    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Joseph McClanahan                                         Check all that apply.
           10772 Collins Riley Rd                                       Contingent
           Blanchester, OH 45107                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3236    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Daniel McClelland                                         Check all that apply.
           233 BERSHAM DR                                               Contingent
           HUDSON, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3237    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Gloria McClendon                                          Check all that apply.
           1497 mallard cove                                            Contingent
           twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3238    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Deborah McClure                                           Check all that apply.
           8109 Puritan Dr. Unit A                                      Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3239    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Rebecca Mccollum                                          Check all that apply.
           5601 Planet Dr                                               Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3240    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Susan McCollum                                            Check all that apply.
           8129 Jordan Valley Ct.                                       Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3241    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Michelle McComas                                          Check all that apply.
           1462 Silver Pine Lane                                        Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3242    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Michelle McComas                                          Check all that apply.
           1462 Silver Pine Lane                                        Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3243    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Robert McConnell                                          Check all that apply.
           5500 Reebok Drive                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3244    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Stephanie McConoughey                                     Check all that apply.
           3071 Darien Ln                                               Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3245    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Jim McCorkle                                              Check all that apply.
           8319 Woodbridge Ln                                           Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3246    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Kristi McCormick                                          Check all that apply.
           9691 Firelands Dr                                            Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3247    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Pam McCormick                                             Check all that apply.
           1706 East Haymarket Way                                      Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3248    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Pam McCormick                                             Check all that apply.
           1706 East Haymarket Way                                      Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3249    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jani McCoy                                                Check all that apply.
           346 Lake St.                                                 Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3250    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jani McCoy                                                Check all that apply.
           346 Lake St.                                                 Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3251    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Julie McCoy                                               Check all that apply.
           2236 Croydon Rd.                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3252    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Timothy McCracken                                         Check all that apply.
           947 Martini Rd.                                              Contingent
           Cincinnati, OH 45233                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3253    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Melissa McCray                                            Check all that apply.
           6000 Bradford Way                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3254    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Ben McDavid                                               Check all that apply.
           8895 Emerald Hill Dr                                         Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3255    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Alexander McDonald                                        Check all that apply.
           14401 Radcliffe Rd                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3256    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Angi Mcdonald                                             Check all that apply.
           6601 N. Palmerston Dr.                                       Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3257    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Cassandra McDonald                                        Check all that apply.
           1807 Curry Lane                                              Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3258    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Dawn McDonald                                             Check all that apply.
           6207 Iroquois Trail                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3259    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           John McDonald                                             Check all that apply.
           200 Boulder Blvd.                                            Contingent
           Peninsula, OH 44264                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3260    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Kim McDonald                                              Check all that apply.
           1341 Shawnee Trace                                           Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3261    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Vickie McDonald                                           Check all that apply.
           7180 Green Valley Dr                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3262    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Wendy Mcdonnellwe                                         Check all that apply.
           6630 Queens way                                              Contingent
           North royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3263    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Brittany McDonough                                        Check all that apply.
           3930 Cidermill drive                                         Contingent
           Columbus, OH 43204                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3264    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           James McDonough                                           Check all that apply.
           4710 Brittonhurst Drive                                      Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3265    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Shannon McDonough                                         Check all that apply.
           2764 Goldwood Drive                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3266    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           John McDougal                                             Check all that apply.
           5770 OHIO ST                                                 Contingent
           VERMILION, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3267    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $840.00    $840.00
           Kirsta McElfresh                                          Check all that apply.
           708 W. Market St                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3268    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Karen McFee                                               Check all that apply.
           7973 Stillwater Court                                        Contingent
           Concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3269    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Andrea McGee                                              Check all that apply.
           12828 Pearl Rd                                               Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3270    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Melissa McGee                                             Check all that apply.
           325 Saratoga Ave. NW                                         Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3271    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Nichole McGee                                             Check all that apply.
           6578 Seminole Trail                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3272    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           AnneLisa McGinnis                                         Check all that apply.
           193 Boston Mills Rd                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3273    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Laura McGinnis                                            Check all that apply.
           11307 West Walnut Ridge                                      Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3274    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Tom McGinty                                               Check all that apply.
           7837 Lynford Way                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3275    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Corinne McGowan                                           Check all that apply.
           7913 Gallowae Ct                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3276    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Meghan McGowan                                            Check all that apply.
           9044 Charles Court                                           Contingent
           TWINSBURG, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3277    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kasondra McGrady                                          Check all that apply.
           2871 Lombardi Ave SW                                         Contingent
           Canton, OH 44706                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3278    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Michelle McGreevy                                         Check all that apply.
           12926 Ravenna Road                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3279    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Thomas McGuire                                            Check all that apply.
           134 Miami Ave                                                Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3280    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Connie McIntire                                           Check all that apply.
           438 W Chillicothe Ave                                        Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3281    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Cathy McKee                                               Check all that apply.
           13781 Rustic Dr                                              Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3282    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Craig McKee                                               Check all that apply.
           6308 Kenwood Rd                                              Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3283    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Jennifer McKee                                            Check all that apply.
           537 Falls Rd.                                                Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3284    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Erica McKelvey                                            Check all that apply.
           10590 Locust Grove Drive                                     Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3285    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Jesse McKendry                                            Check all that apply.
           91 Bishop Dr                                                 Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3286    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Melissa McKenna                                           Check all that apply.
           3847 County Road 220                                         Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3287    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Megan McKeown                                             Check all that apply.
           21348 Stratford Ave.                                         Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3288    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Scott McKeown                                             Check all that apply.
           14101 Township Road 213                                      Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3289    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Scott McKeown                                             Check all that apply.
           14101 Township Road 213                                      Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3290    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $939.30    $939.30
           Mark Mckibbin                                             Check all that apply.
           2425 Merrimont Dr                                            Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3291    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $966.70    $966.70
           Mark Mckibbin                                             Check all that apply.
           2425 Merrimont Dr                                            Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3292    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Mark Mckibbin                                             Check all that apply.
           2425 Merrimont Dr                                            Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3293    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Karen McKinney                                            Check all that apply.
           412 Westgate Drive                                           Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3294    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Karen McKinney                                            Check all that apply.
           412 Westgate Drive                                           Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3295    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Shawn McKinney                                            Check all that apply.
           2771 Chatham Dr                                              Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3296    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Shawn McKinney                                            Check all that apply.
           2771 Chatham Dr                                              Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3297    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Erin McKnight                                             Check all that apply.
           10609 Jubilee Drive                                          Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3298    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Richard McLaughlin                                        Check all that apply.
           6358 W LITTLE PORTAGE EAST                                   Contingent
           RD                                                           Unliquidated
           OAK HARBOR, OH 43449                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3299    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Patricia McLean                                           Check all that apply.
           730 Mohawk Ave NW                                            Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3300    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Mary McMichael-Liston                                     Check all that apply.
           652 E Whittier St                                            Contingent
           Columbus, OH 43206                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3301    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Nancy McMillin                                            Check all that apply.
           9780 Hoose Rd.                                               Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3302    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Andrea McMullen                                           Check all that apply.
           10155 Timothy Lane                                           Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3303    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           JENNIFER McMullen                                         Check all that apply.
           8644 Olenbrook Dr                                            Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3304    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Kimberly McNally                                          Check all that apply.
           2818 Kingsbury Drive                                         Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3305    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Amber McNeal                                              Check all that apply.
           28820 Naylor dr.                                             Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3306    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Maureen McNulty                                           Check all that apply.
           20042 Laurel Avenue                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3307    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Kim McPherson                                             Check all that apply.
           809 Lost Pond Pkwy                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3308    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Karen McStay                                              Check all that apply.
           845 Virginia Drive                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3309    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Kevin McSween                                             Check all that apply.
           938 Fremont Ave                                              Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3310    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Wendy Meadors                                             Check all that apply.
           9472 Lawnfield                                               Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3311    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Codie Mealey                                              Check all that apply.
           1297 Birchview dr                                            Contingent
           VERMILION, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3312    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Nicole Mealle                                             Check all that apply.
           5980 Marine Parkway apt E107                                 Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3313    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           SUSAN MEDALIS                                             Check all that apply.
           20844 EVERGREEN TRAIL                                        Contingent
           NORTH ROYALTON, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3314    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Andrea Mediate                                            Check all that apply.
           21246 Maplewood Ave                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3315    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Christina Medinger                                        Check all that apply.
           6377 mentor park blvd                                        Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3316    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jessica Medvec                                            Check all that apply.
           12666 Ravenna Road                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3317    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Robyn Meeker                                              Check all that apply.
           33 E. Main Street                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3318    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Beth Meese                                                Check all that apply.
           266 S. Main St.                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3319    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $20.00    $20.00
           MaryCay Megyesi                                           Check all that apply.
           7129 N Nightingale Pl                                        Contingent
           Concord Township, OH                                         Unliquidated
           44077-9588                                                   Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3320    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Deana Meinke                                              Check all that apply.
           5800 Birdie Lane                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3321    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Ellie Meisenbach                                          Check all that apply.
           3469 Lakewood Ct.                                            Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3322    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Holly Meister                                             Check all that apply.
           5962 Morganwood Sq                                           Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3323    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Holly Meister                                             Check all that apply.
           5962 Morganwood Sq                                           Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3324    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Michelle Meleski                                          Check all that apply.
           301 Water St                                                 Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3325    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $475.00    $475.00
           Brittany Melick                                           Check all that apply.
           4237 Winterringer St                                         Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3326    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Kellie Melin                                              Check all that apply.
           11290 Brentwood Lane                                         Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3327    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Lesia Mellie                                              Check all that apply.
           5200 4th st nw                                               Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3328    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Katina Mellon                                             Check all that apply.
           115 Blackberry Dr.                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3329    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Xiaozhong Men                                             Check all that apply.
           6920 Silkwood Ln                                             Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3330    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Honorio Mendoza                                           Check all that apply.
           55 Chatham Dr                                                Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3331    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Julie Menendez                                            Check all that apply.
           16 Blackberry Drive                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3332    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Ronn Meredith                                             Check all that apply.
           3279 Fairhill Drive                                          Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3333    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           MaryBeth Merinar                                          Check all that apply.
           5485 Mooreland                                               Contingent
           Mentor on the Lake, OH 44060                                 Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3334    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Jennifer Merklin                                          Check all that apply.
           7015 Jennifer Ann Dr                                         Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3335    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Nicole Merriman                                           Check all that apply.
           3379 Paxton Ct                                               Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3336    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $993.40    $993.40
           Lisa Merritt                                              Check all that apply.
           2645 Shady Tree Drive                                        Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3337    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Lisa Merritt                                              Check all that apply.
           2645 Shady Tree Drive                                        Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3338    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Teresa Mers                                               Check all that apply.
           1608 Old Schoolhouse Rd                                      Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3339    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Thomas Mersch                                             Check all that apply.
           3769 Tower Rd                                                Contingent
           Cincinnati, OH 45248                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3340    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Jennifer Mertes                                           Check all that apply.
           4990 Lake View Drive                                         Contingent
           Peninsula, OH 44264                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3341    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Cheryl Messenger                                          Check all that apply.
           2859 Bold Venture Drive                                      Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3342    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Michele Messmer                                           Check all that apply.
           37091 Tidewater Drive                                        Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3343    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Michele Messmer                                           Check all that apply.
           37091 Tidewater Drive                                        Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3344    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Tonya Mestemaker                                          Check all that apply.
           5379 Kings Ridge Way                                         Contingent
           Kings Mills, OH 45034                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3345    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Lori Metoki                                               Check all that apply.
           5606 Londonairy Blvd                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3346    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Cheryl Mettler                                            Check all that apply.
           704 Westbrook Way                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3347    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Maria Metzler                                             Check all that apply.
           4344 Creekbend                                               Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3348    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Marilu Metzler                                            Check all that apply.
           8812 Emerald Hill Dr.                                        Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3349    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Maria Metzung                                             Check all that apply.
           9982 Concord Pt Ct                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3350    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           ANDREA MEYER                                              Check all that apply.
           7591 OAK HILL DR                                             Contingent
           CHESTERLAND, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3351    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Debora Meyer                                              Check all that apply.
           10430 Locust Grove Dr                                        Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3352    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Steve Meyer                                               Check all that apply.
           5989 White Oak Drive                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3353    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Ashley Michael                                            Check all that apply.
           3230 Myrtle Dr                                               Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3354    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $475.00    $475.00
           Carla Michael                                             Check all that apply.
           4166 Stargrass Ct                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3355    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $475.00    $475.00
           Carla Michael                                             Check all that apply.
           4166 Stargrass Ct                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3356    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Donald Michaels                                           Check all that apply.
           5667 King Rd SW                                              Contingent
           Stone Creek, OH 43840                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3357    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Heather Michalski                                         Check all that apply.
           8215 Eastmoor Road                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3358    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Judi Michalski                                            Check all that apply.
           2334 Croydon Road                                            Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3359    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           DiAnna Michel                                             Check all that apply.
           6033 Morganwood Square                                       Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3360    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Leigh Michelsen                                           Check all that apply.
           7312 Osceola Dr                                              Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3361    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Cathy Middaugh                                            Check all that apply.
           251 Oak Drive                                                Contingent
           West Liberty, OH 43357                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3362    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Katie Miele                                               Check all that apply.
           1761 Forest Oaks Dr                                          Contingent
           hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3363    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           RAUL MieryTeran                                           Check all that apply.
           180 sammy drive                                              Contingent
           fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3364    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Tom Mignogna                                              Check all that apply.
           7760 e washington                                            Contingent
           chagrin falls, OH 44023                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3365    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Joe Mihalek                                               Check all that apply.
           1845 ASHLEY DR                                               Contingent
           HUDSON, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3366    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Rebecca Mihevic                                           Check all that apply.
           10315 Locust Grove                                           Contingent
           Hambden, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3367    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Natalie Mikes                                             Check all that apply.
           12650 Chesterfield Lane                                      Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3368    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Lori Mikulka                                              Check all that apply.
           9355 Gettysburg                                              Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3369    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Tatjana Milenkovich                                       Check all that apply.
           9508 Scottsdale Drive                                        Contingent
           Broadview Heights, OH 44147                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3370    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Elia Milite                                               Check all that apply.
           8690 Sherman Rd.                                             Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3371    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Erin Milius                                               Check all that apply.
           20051 Beach Cliff Blvd.                                      Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3372    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Andrea Miller                                             Check all that apply.
           11830 TR 109                                                 Contingent
           Van Buren, OH 45889                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3373    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Angie Miller                                              Check all that apply.
           5336 Oakvale St SW                                           Contingent
           Canton, OH 44706                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3374    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           April Miller                                              Check all that apply.
           8669 oak creek dr                                            Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3375    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Ashley Miller                                             Check all that apply.
           11Lois Lane                                                  Contingent
           Chardon, OH 44065                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3376    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Barb Miller                                               Check all that apply.
           143 woodrush circle                                          Contingent
           chagrin falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3377    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Brian Miller                                              Check all that apply.
           12600 Ashton Trail                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3378    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Catherine Miller                                          Check all that apply.
           10669 Devonshire Drive                                       Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3379    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Charr Miller                                              Check all that apply.
           7422 Avon Dr.                                                Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3380    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Christine Miller                                          Check all that apply.
           1278 Bear Run Way                                            Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3381    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Elizabeth Miller                                          Check all that apply.
           509 West Race Street                                         Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3382    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Francis Miller                                            Check all that apply.
           8179 JOHNNYCAKE RIDGE RD                                     Contingent
           MENTOR, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3383    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Guendolyn Miller                                          Check all that apply.
           3059 Cabot Way                                               Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3384    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jeanne Miller                                             Check all that apply.
           8759 Warrendale Dr                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3385    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Jeffrey Miller                                            Check all that apply.
           5209 Headgates Road                                          Contingent
           Hamilton, OH 45011                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3386    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Jennifer Miller                                           Check all that apply.
           120 E 11th Street                                            Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3387    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Jeremy Miller                                             Check all that apply.
           668 Wynstone Dr                                              Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3388    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jonathan Miller                                           Check all that apply.
           1345 Mckaign Ave                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3389    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Kelly Miller                                              Check all that apply.
           6057 Manshire Ct                                             Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3390    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Kristi Miller                                             Check all that apply.
           2364 Victoria Parkway                                        Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3391    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Laura Miller                                              Check all that apply.
           4117 Ford Lane Vermilion                                     Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3392    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Lisa Miller                                               Check all that apply.
           6960 Mildon Dr                                               Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3393    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Lisa Miller                                               Check all that apply.
           3391 Watersilk Court                                         Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3394    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Liz Miller                                                Check all that apply.
           13382 Walnut Trace                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3395    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Margaret Miller                                           Check all that apply.
           85 Manor Drive                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3396    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Margaret Miller                                           Check all that apply.
           7505 Mountain Park Dr                                        Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3397    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Mark Miller                                               Check all that apply.
           1211 BATES RD                                                Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3398    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Mary Miller                                               Check all that apply.
           3057 List St NW                                              Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3399    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Michelle Miller                                           Check all that apply.
           4933 Forest road                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3400    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Michelle Miller                                           Check all that apply.
           6599 Glenallen Ave                                           Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3401    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Peggy Miller                                              Check all that apply.
           2115 Presidential Parkway Unit 2                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3402    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Ryan Miller                                               Check all that apply.
           1294 Nantucket Ave                                           Contingent
           Columbus, OH 43235                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3403    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Sallie Miller                                             Check all that apply.
           8914 Lakefield Ct                                            Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3404    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Tara Miller                                               Check all that apply.
           119 Penn Rd.                                                 Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3405    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Traci Miller                                              Check all that apply.
           2991 Ravenna St                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3406    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           William Miller                                            Check all that apply.
           1491 Greystone Lane                                          Contingent
           Milford, OH 45150                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3407    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Kelly Millet                                              Check all that apply.
           5114 Cheswick Drive                                          Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3408    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $445.00    $445.00
           Dana Mills                                                Check all that apply.
           8854 Pembroke St                                             Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3409    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Kelly Millstone                                           Check all that apply.
           36675 Pepper Dr                                              Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3410    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Hope Milthaler                                            Check all that apply.
           3237 South Cove Ct                                           Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3411    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Michelle Minadeo                                          Check all that apply.
           8229 Johnnycake Ridge Rd.                                    Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3412    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Jessica Mindlin                                           Check all that apply.
           4360 E. Chatham Drive Port                                   Contingent
           Clinton                                                      Unliquidated
           Port Clinton, OH 43452                                       Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3413    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Sarah Mindlin                                             Check all that apply.
           49 Lyndale Dr                                                Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3414    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Deidra Minerd                                             Check all that apply.
           8881 Mountain View Drive                                     Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3415    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Deidra Minerd                                             Check all that apply.
           8881 Mountain View Drive                                     Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3416    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kimberly Mingus                                           Check all that apply.
           347 36th St NW                                               Contingent
           Canton, OH 44709                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3417    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Ann Minor                                                 Check all that apply.
           6021 Baronscourt way                                         Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3418    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Denise Minor                                              Check all that apply.
           16131 West 130th Street                                      Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3419    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Jennifer Minor                                            Check all that apply.
           3209 Darien Lane                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3420    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Joy Minor                                                 Check all that apply.
           5340 Briggle Ave SW                                          Contingent
           East Sparta, OH 44626                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3421    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Katy Miozzi                                               Check all that apply.
           6187 Richmond Rd                                             Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3422    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Ayman Mirghani                                            Check all that apply.
           8323 Orange Station Loop                                     Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3423    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Darlene Mismas                                            Check all that apply.
           1421 Barlow Rd                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3424    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Rebecca Missig                                            Check all that apply.
           5489 Haley Street                                            Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3425    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           HISASHI MITAMURA                                          Check all that apply.
           7479 Lascala Dr                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3426    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Ann Mitchell                                              Check all that apply.
           380 Bell Street                                              Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3427    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Brian Mitchell                                            Check all that apply.
           10272 Wildflower Way                                         Contingent
           Broadview Heights, OH 44147                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3428    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Chaundria Mitchell                                        Check all that apply.
           27050 cedar rd                                               Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3429    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Cynthia Mitchell                                          Check all that apply.
           10648 Prouty rd                                              Contingent
           concord, OH 44077                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3430    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Danna Mitchell                                            Check all that apply.
           121 Smith St.                                                Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3431    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jennie Mitchell                                           Check all that apply.
           10098 Welk Rd                                                Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3432    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Jennie Mitchell                                           Check all that apply.
           10098 Welk Rd                                                Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3433    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Julie Mitchell                                            Check all that apply.
           9454 Meadow Trl                                              Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3434    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $775.00    $775.00
           Robert Mitchell                                           Check all that apply.
           213 Greenridge                                               Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3435    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Teala Mitchell                                            Check all that apply.
           7587 goldenrod                                               Contingent
           Mentor on the lake, OH 44060                                 Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3436    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Jill Mitrey                                               Check all that apply.
           36650 Pepper Dr                                              Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3437    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Mike Mobley                                               Check all that apply.
           13144 Dorothy Dr                                             Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3438    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Brian Mocny                                               Check all that apply.
           7933 Stockbridge Rd.                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3439    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Michelle Moegling                                         Check all that apply.
           7704 Ohio St                                                 Contingent
           mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3440    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           VAL MOFFA                                                 Check all that apply.
           202 BRANDYWINE DRIVE                                         Contingent
           HUDSON, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3441    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Carolyn Moffitt                                           Check all that apply.
           5938 Stone Road                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3442    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Naimo Mohamed                                             Check all that apply.
           1295 wild oats dr                                            Contingent
           columbus, OH 43204                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3443    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Zahra Mohamed                                             Check all that apply.
           8143 apple ridge drive                                       Contingent
           lewis center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3444    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Ashraf Mohammed                                           Check all that apply.
           187 Boulder Blvd                                             Contingent
           Peninsula, OH 44264                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3445    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Jennifer Moissis                                          Check all that apply.
           15914 Laurel Rd                                              Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3446    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Shelley Molchak                                           Check all that apply.
           36455 Pettibone Road                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3447    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Patty Mold                                                Check all that apply.
           10418 Belmeadow Dr.                                          Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3448    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Allison Molesky                                           Check all that apply.
           10104 Brookfield Dr.                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3449    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Lori Molfenter                                            Check all that apply.
           8746 Simpson CT                                              Contingent
           Mason, OH 45040                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3450    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Denise Molinari                                           Check all that apply.
           939 Summerdale Ave NW                                        Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3451    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Julie Molinyawe                                           Check all that apply.
           8091 Lakeshore Blvd                                          Contingent
           Mentor-on-the-lake, OH 44060                                 Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3452    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Laura Mommers                                             Check all that apply.
           2547 Hampton Road                                            Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3453    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Anthony Monago                                            Check all that apply.
           7895 Norma Ct                                                Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3454    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Amy Mondi                                                 Check all that apply.
           8888 falls ln                                                Contingent
           Broadview hts, OH 44147                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3455    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Michelle Mondora                                          Check all that apply.
           7573 Woodland Ave                                            Contingent
           Hudson, OH 04436                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3456    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Cynthia Mong                                              Check all that apply.
           4415 Chukbuk Court                                           Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3457    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Lisa Montag                                               Check all that apply.
           9769 Silverleaf Drive                                        Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3458    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Jennifer Montique                                         Check all that apply.
           10320 Flagstone Drive                                        Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3459    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Nicole Montoney                                           Check all that apply.
           5899 Shadow Lake Circle                                      Contingent
           Columbus, OH 43234                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3460    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Anne Harvey Montowski                                     Check all that apply.
           2157 N. Wedgewood Circle                                     Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3461    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Joanne Montz                                              Check all that apply.
           5300 Liberty Rd.                                             Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3462    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Christopher Moody                                         Check all that apply.
           9423 Meadow Trail                                            Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3463    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Loretta Moody                                             Check all that apply.
           777 Township Road 190 East                                   Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3464    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Loretta Moody                                             Check all that apply.
           777 Township Road 190 East                                   Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3465    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Annette Moon                                              Check all that apply.
           13314 green drive                                            Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3466    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Sujin Moon                                                Check all that apply.
           32255 Tracy Ln.                                              Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3467    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Jamey Mooney                                              Check all that apply.
           5311 Porter St                                               Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3468    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $445.00    $445.00
           Belinda Moore                                             Check all that apply.
           80 west broadway st                                          Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3469    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Danielle Moore                                            Check all that apply.
           206 Linway Ave NW                                            Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3470    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Dave Moore                                                Check all that apply.
           6000 Nob Hill Rd. #116                                       Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3471    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Diana Moore                                               Check all that apply.
           5224 Hollister Street                                        Contingent
           Columbus, OH 43235                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3472    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Elaine Moore                                              Check all that apply.
           13711 Chillicothe Road                                       Contingent
           Novelty, OH 44072                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3473    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Jen Moore                                                 Check all that apply.
           3712 N Karwood Dr                                            Contingent
           Port clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3474    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Kristen Moore                                             Check all that apply.
           821 Purdue Ave                                               Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3475    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Mary Moore                                                Check all that apply.
           20560 Erie Road                                              Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3476    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Lynelle Moore-Zahler                                      Check all that apply.
           9581 Amberwood Ct.                                           Contingent
           Broadview Hts, OH 44147                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3477    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Samuel Mora                                               Check all that apply.
           1621 Corrib Ave NW                                           Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3478    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Amy Moran                                                 Check all that apply.
           3138 Rosemont ave sw                                         Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3479    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Katy Moran                                                Check all that apply.
           9070 Cabriolet Avenue                                        Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3480    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Katy Moran                                                Check all that apply.
           9070 Cabriolet Avenue                                        Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3481    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Kelly Moran                                               Check all that apply.
           34085 Pettibone Road                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3482    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Rocio Moran                                               Check all that apply.
           145 Grey Fox Run                                             Contingent
           Bentleyville, OH 44022                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3483    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Ashley Moreno                                             Check all that apply.
           501 S. Mulberry St.                                          Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3484    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Deysi Moreno                                              Check all that apply.
           480 Nelmar Dr                                                Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3485    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Betsy Morgan                                              Check all that apply.
           9219 Cherrystone Dr.                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3486    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Betsy Morgan                                              Check all that apply.
           9219 Cherrystone Dr.                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3487    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Betsy Morgan                                              Check all that apply.
           9219 Cherrystone Dr.                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3488    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Betsy Morgan                                              Check all that apply.
           9219 Cherrystone Dr.                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3489    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           David Morgan                                              Check all that apply.
           430 Longfellow st                                            Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3490    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Gail Morgan                                               Check all that apply.
           6336 Canterbury Dr                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3491    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Jodi Morgan                                               Check all that apply.
           7579 Herrick Park                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3492    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Sandi Morgan                                              Check all that apply.
           5816 Glendavon Loop                                          Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3493    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Mary Moriarity                                            Check all that apply.
           7866 Mulberry Road                                           Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3494    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Amy Morley                                                Check all that apply.
           10442 White Ash Trail Twinsburg                              Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3495    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Amanda Mormino                                            Check all that apply.
           6215 Simon Ln                                                Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3496    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Erica Morris                                              Check all that apply.
           1626 County Road 11                                          Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3497    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Heidi Morris                                              Check all that apply.
           12110 Cora Ct                                                Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3498    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jennifer Morris                                           Check all that apply.
           8119 MIDLAND RD                                              Contingent
           MENTOR, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3499    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Mary Morris                                               Check all that apply.
           6775 Perennial Lane                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3500    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Michael Morris                                            Check all that apply.
           2380 Wittenberg Ave SE                                       Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3501    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Michael Morris                                            Check all that apply.
           3040 Conover St NW                                           Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3502    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Shannon Morris                                            Check all that apply.
           1500 Hunting Hollow Dr                                       Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3503    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Shannon Morris                                            Check all that apply.
           1500 Hunting Hollow Dr                                       Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3504    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Shari Morris                                              Check all that apply.
           4965 lake view dr                                            Contingent
           peninsula, OH 44264                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3505    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Tom Morris                                                Check all that apply.
           2697 E. Asplin Drive                                         Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3506    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Vanessa Morris                                            Check all that apply.
           6414 Antoinette Drive                                        Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3507    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Anna Morrison                                             Check all that apply.
           20 Woodside Rd                                               Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3508    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Chad Morrison                                             Check all that apply.
           9058 Longstone Dr                                            Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3509    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Desiree Morrison                                          Check all that apply.
           13006 Meadowood Dr                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3510    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Matt Morrison                                             Check all that apply.
           110 Virginia ave                                             Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3511    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Elizabeth Morscher                                        Check all that apply.
           5707 Ivy Drive                                               Contingent
           Mentor on the lake, OH 44060                                 Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3512    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           BENJAMIN MORSE                                            Check all that apply.
           587 Hidden Harbor Dr                                         Contingent
           Fairport Harbor, OH 44077-5592                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3513    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Eric Morse                                                Check all that apply.
           44482 Butternut Ridge                                        Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3514    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Shelly Morvay                                             Check all that apply.
           3080 Landen Farm Rd E                                        Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3515    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Bethany Moseley                                           Check all that apply.
           1476 Park Ridge Ave                                          Contingent
           Twinsburg, OH 44087-4324                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3516    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Michelle Moser                                            Check all that apply.
           8991 Barley Loft drive                                       Contingent
           Columbus, OH 43240                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3517    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           ELIZABETH MOSES                                           Check all that apply.
           7648 Goldenrod Dr                                            Contingent
           Mentor-on-the-Lake, OH 44060                                 Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3518    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Erin Moses                                                Check all that apply.
           7670 king Memorial                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3519    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Elena Mosley                                              Check all that apply.
           2170 Apt 201A Pebble Creek Drive                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3520    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           LaCola Mosley                                             Check all that apply.
           3606 Concord Dr                                              Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3521    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           James Moss                                                Check all that apply.
           7422 Woodyard Road                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3522    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Shadi Motasem                                             Check all that apply.
           3210 Cassey Street                                           Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3523    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Kari Mott                                                 Check all that apply.
           6208 George Fox Drive                                        Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3524    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Leah Motz                                                 Check all that apply.
           6385 Seneca tr 6366 Iroquois tr                              Contingent
           mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3525    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Penny Mouse                                               Check all that apply.
           136 Sunset Drive                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3526    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Kristin Movius                                            Check all that apply.
           19558 Battersea Blvd                                         Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3527    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Shelly Mudry                                              Check all that apply.
           14860 Thornton Drive                                         Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3528    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           LeeAnn Mueller                                            Check all that apply.
           5389 Little Turtle Dr                                        Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3529    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Jill Muencz                                               Check all that apply.
           24912 Wimbledon                                              Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3530    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Niki Muenz                                                Check all that apply.
           4826 Marigold Road                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3531    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Heather Muhlenthaler                                      Check all that apply.
           2549 Carla Drive                                             Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3532    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Kathy Mukherjee                                           Check all that apply.
           721 Norbury Dr.                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3533    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Lucille Muldrow                                           Check all that apply.
           6364 Stonewall Ln                                            Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3534    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Alison Mulholland                                         Check all that apply.
           7206 Osceola dr                                              Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3535    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           ANIL KUMAR MULLAPUDI                                      Check all that apply.
           7712 Blackford Dr                                            Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3536    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Marilee Mullen                                            Check all that apply.
           8746 hilltop drive                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3537    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Sandra Mullet                                             Check all that apply.
           5695 Rachel ct                                               Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3538    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           David Mullett                                             Check all that apply.
           13356 Auburn Rd.                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3539    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Dawn Mullins                                              Check all that apply.
           32519 jefferson drive                                        Contingent
           solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3540    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Stephanie Mullins                                         Check all that apply.
           3597 Newell Dr                                               Contingent
           Columbus, OH 43228                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3541    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Shannon Mullner                                           Check all that apply.
           7636 Oxgate Court                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3542    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Nicole Mulloy                                             Check all that apply.
           14413 Watt Road                                              Contingent
           Novelty, OH 44072                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3543    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Laura Mulvaney                                            Check all that apply.
           34370 Seminole Way                                           Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3544    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Christine Munroe                                          Check all that apply.
           131 Beverly Court                                            Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3545    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Jacqueline Munroe                                         Check all that apply.
           36374 Lakeshore Avenue                                       Contingent
           Eastlake, OH 44095                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3546    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Sheryl Munson                                             Check all that apply.
           3700 Rivervail Dr.                                           Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3547    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Nicole Muntean                                            Check all that apply.
           530 Elizabeth ave sw                                         Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3548    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Valerie Munz                                              Check all that apply.
           6015 Parkland Dr.                                            Contingent
           Chagrin falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3549    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Maya Muralidharan                                         Check all that apply.
           33905 Camberly Ct                                            Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3550    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Lindsey Muranda                                           Check all that apply.
           7489 Primrose                                                Contingent
           mentor on the lake, OH 44060                                 Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3551    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Krista Muro                                               Check all that apply.
           260 Crestview Dr                                             Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3552    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jamie Murphy                                              Check all that apply.
           736 Berkshire Rd.                                            Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3553    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Marla Murphy                                              Check all that apply.
           3202 Woodlake Court                                          Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3554    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Mary Murphy                                               Check all that apply.
           1740 Wooster rd                                              Contingent
           Rocky river, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3555    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Rawn Murphy                                               Check all that apply.
           23305 Greenlawn Ave                                          Contingent
           Cleveland, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3556    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Shannon Murphy                                            Check all that apply.
           116 Ashleigh Drive                                           Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3557    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Brannon Murray                                            Check all that apply.
           32178 South Roundhead Dr                                     Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3558    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Elizabeth Murray                                          Check all that apply.
           8991 Lake Overlook Drive                                     Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3559    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jennifer Murray                                           Check all that apply.
           8870 Ravenna Rd                                              Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3560    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Kristi Murray                                             Check all that apply.
           8569 Carbine Place                                           Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3561    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Roxie Murray                                              Check all that apply.
           3705 Middle Post Lane                                        Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3562    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Sawsan Musa                                               Check all that apply.
           5989 Pinto Pass Dr                                           Contingent
           Columbus, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3563    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $890.00    $890.00
           Shannan Musgrove                                          Check all that apply.
           2358 Pleasant Colony Dr                                      Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3564    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Scott Mussari                                             Check all that apply.
           5367 Riverwalk Drive                                         Contingent
           Kings Mills, OH 45034                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3565    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Daniella Mustafa                                          Check all that apply.
           8950 State Rd                                                Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3566    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Ashley Muth                                               Check all that apply.
           3456 Nautilus Trail                                          Contingent
           Aurora, OH 44202                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3567    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Amy Myers                                                 Check all that apply.
           210 Grey Fox Run                                             Contingent
           Bentleyville, OH 44022                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3568    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Coleen Myers                                              Check all that apply.
           2190 Pleasant View Drive                                     Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3569    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Eric Myers                                                Check all that apply.
           9181 Robinson Rd                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3570    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Eric Myers                                                Check all that apply.
           9181 Robinson Rd                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3571    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Jennifer Myers                                            Check all that apply.
           5316 Bay Meadows Ct                                          Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3572    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Jessica Myers                                             Check all that apply.
           1176 Sharonbrook Dr                                          Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3573    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           KATHY MYERS                                               Check all that apply.
           1334 CEDAR CREEK CT                                          Contingent
           PAINESVILLE, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3574    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Matthew Myers                                             Check all that apply.
           2234 Cross Creek Court                                       Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3575    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Chris Myslenski                                           Check all that apply.
           20026 Parklane Drive                                         Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3576    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Jason Naber                                               Check all that apply.
           8391 Payson Dr                                               Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3577    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Adelle Nader                                              Check all that apply.
           696 Morris Drive                                             Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3578    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Ken Nadsady                                               Check all that apply.
           4353 Westchester Ct                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3579    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Katy Nagaj                                                Check all that apply.
           100 Middle Post Pt                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3580    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Tracy Nagaj                                               Check all that apply.
           1941 E. Hines Hill Rd                                        Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3581    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Tsugumi Nagase                                            Check all that apply.
           2630Alexander ct                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3582    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Nancy Naghavi                                             Check all that apply.
           897 Ridgewood Blvd                                           Contingent
           Hudson, TX 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3583    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Dawn Naglich                                              Check all that apply.
           8721 Ranch Dr                                                Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3584    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Alyson Nagy                                               Check all that apply.
           9658 E. Idlewood Dr                                          Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3585    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Eileen Nagy                                               Check all that apply.
           5512 Mooreland Avenue                                        Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3586    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Shishir Naik                                              Check all that apply.
           2428 Tucker trl                                              Contingent
           Lewis center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3587    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Charles Nail                                              Check all that apply.
           7267 Winchester Dr                                           Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3588    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Kavitha Nallathambi                                       Check all that apply.
           655 Stinchcomb Dr. Apt 7                                     Contingent
           Columbus, OH 43202                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3589    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Terri Nameth-Thomas                                       Check all that apply.
           5261 Brookhaven drive                                        Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3590    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Demeatrice Nance                                          Check all that apply.
           27060 Cedar Rd Apt. 210-3                                    Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3591    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Erin Nanni                                                Check all that apply.
           1487 Rockland Avenue                                         Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3592    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Navaneethakrishnan                                        Check all that apply.
           Narayanasamy                                                 Contingent
           7409 Jamaica Way Apt 4                                       Unliquidated
           Maineville, OH 45039                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3593    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Maria Narvaez                                             Check all that apply.
           8513 herrick Dr #4                                           Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3594    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Angel Nash                                                Check all that apply.
           7215 pinehill rd                                             Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3595    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Vincent Naska                                             Check all that apply.
           7336 Lascala Drive                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3596    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Premalatha Natarajan                                      Check all that apply.
           5456 Stone Creek Drive                                       Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3597    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Joshua Nathanson                                          Check all that apply.
           38465 McDowell Drive                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3598    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Susan Nault                                               Check all that apply.
           5434 Larkwood Road                                           Contingent
           Columbus, OH 43229                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3599    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Tonia Naunheimer                                          Check all that apply.
           1699 Cottonwood Drive                                        Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3600    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Bledi Ndoni                                               Check all that apply.
           22460 Berry Dr                                               Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3601    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Angela Nebe                                               Check all that apply.
           7980 Morley Road                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3602    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Ellen Nedlik                                              Check all that apply.
           7129 Andover Dr                                              Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3603    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Corrine Needham                                           Check all that apply.
           4817 East Miami River Road Apt G                             Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3604    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Jonathan Neeld                                            Check all that apply.
           1329 Turner Rd                                               Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3605    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Andy Neer                                                 Check all that apply.
           513 Center Avenue                                            Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3606    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Misty Neff                                                Check all that apply.
           3037 West River Rd. North Apt. 1                             Contingent
           Elyria, OH 44035                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3607    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Mary Nehls                                                Check all that apply.
           2974 NE Catawba Road                                         Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3608    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Amanda Neill                                              Check all that apply.
           994 Jimson Court                                             Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3609    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Christina Neill                                           Check all that apply.
           616 Heritage Dr                                              Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3610    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Lori Neill                                                Check all that apply.
           721 Township Road 190 E                                      Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3611    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Kara Neimeister                                           Check all that apply.
           5961 Vandeleur Pl                                            Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3612    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Hollie Nejad                                              Check all that apply.
           336 Cornwall Road                                            Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3613    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           MaryLou Nellett                                           Check all that apply.
           231 Lincoln Drive                                            Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3614    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Julie Nelligan                                            Check all that apply.
           4644 Aurora St NW                                            Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3615    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           CYNTHIA NELLS                                             Check all that apply.
           8321 Cambden Crossing Way                                    Contingent
           Concord Township, OH 44077                                   Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3616    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Amy Nelson                                                Check all that apply.
           7199 Chillicothe Road                                        Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3617    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Kevin Nelson                                              Check all that apply.
           72 Clairhaven Dr                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3618    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Kristie Nelson                                            Check all that apply.
           9835 Tudor Place                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3619    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Michelle Nelson                                           Check all that apply.
           310 South St                                                 Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3620    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Valerie Nelson                                            Check all that apply.
           8156 Leeshore Dr.                                            Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3621    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Loida Nemec                                               Check all that apply.
           10668 Durrey Court                                           Contingent
           Reminderville, OH 44202                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3622    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jennifer Nemeth                                           Check all that apply.
           4839 Orchard Rd                                              Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3623    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Cheryl Nemunaitis                                         Check all that apply.
           25 Pine River Dr                                             Contingent
           Bentleyville, OH 44022                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3624    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Tabitha Neth                                              Check all that apply.
           154 Floral Ave                                               Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3625    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Wendy Neto                                                Check all that apply.
           9171 Davis way                                               Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3626    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           April Neu-Fausnaugh                                       Check all that apply.
           645 Darlene pl                                               Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3627    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           David Neumann                                             Check all that apply.
           425 Norwich Drive                                            Contingent
           Broadview Heights, OH 44147                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3628    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           David Neumann                                             Check all that apply.
           425 Norwich Drive                                            Contingent
           Broadview Heights, OH 44147                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3629    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Elke Neumeyer                                             Check all that apply.
           33 SUGAR BUSH LN                                             Contingent
           CHAGRIN FALLS, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3630    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Courtney Neville                                          Check all that apply.
           912 ASHBROOKE WAY                                            Contingent
           HUDSON, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3631    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           David Neville                                             Check all that apply.
           2456 Bold Venture Drive                                      Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3632    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Kerry Neville                                             Check all that apply.
           444 Meadow View Dr                                           Contingent
           Powell, OH 43065                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3633    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Christine New                                             Check all that apply.
           19285 Bennett Rd                                             Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3634    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Jerome Newby                                              Check all that apply.
           5765 Elm Hill Drive                                          Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3635    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Robert Newby                                              Check all that apply.
           2167 Weston Drive                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3636    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Sharyce Newby                                             Check all that apply.
           9390 Goodell Ct                                              Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3637    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Joan Newell                                               Check all that apply.
           22 chelsea ct                                                Contingent
           chagrin falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3638    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Brandy Newland                                            Check all that apply.
           2723 twp rd 179                                              Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3639    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Heather Newman                                            Check all that apply.
           7346 Presley Ave                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3640    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Tamara Newton                                             Check all that apply.
           2400 Winfield ave                                            Contingent
           Rocky River, OH 44126                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3641    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Anthony Nguyen                                            Check all that apply.
           3225 Prairie Gardens Drive                                   Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3642    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Tim Nguyen                                                Check all that apply.
           Willowbrook Dr. 3064                                         Contingent
           Aurora, OH 44202                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3643    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Trish Nguyen                                              Check all that apply.
           7822 orange station loop                                     Contingent
           lewis center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3644    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Douglas Nicholl                                           Check all that apply.
           7616 Palmerston Drive                                        Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3645    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Christy Nichols                                           Check all that apply.
           452 Bayberry Ct                                              Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3646    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Lisa Nichols                                              Check all that apply.
           408 Washington Ave                                           Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3647    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Cathy Nicholson                                           Check all that apply.
           153 Overmont Ave SW                                          Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3648    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Richard NIckels                                           Check all that apply.
           12170 catalpa Dr                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3649    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Nicole Niebauer                                           Check all that apply.
           1178 Craig Ct.                                               Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3650    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Laura Niederst                                            Check all that apply.
           14845 GAR Hwy.                                               Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3651    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Scott Niederst                                            Check all that apply.
           38125 Flanders Drive                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3652    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Jessa Niemeyer                                            Check all that apply.
           3701 Chestnut Park                                           Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3653    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Krista Nightwine                                          Check all that apply.
           128 Fairview Rd                                              Contingent
           ChAgrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3654    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Tony Niksick                                              Check all that apply.
           15105 GAR hwy                                                Contingent
           chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3655    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Amy Nilsen                                                Check all that apply.
           3244 Vinton Park Place                                       Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3656    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           James Niple                                               Check all that apply.
           8835 Patterson Rd                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3657    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Yingren Niu                                               Check all that apply.
           22350 Bartlett Drive                                         Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3658    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Justin Noble                                              Check all that apply.
           7050 Walters Rd                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3659    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $500.00    $500.00
           Naomi Noble                                               Check all that apply.
           13620 Quarry RD                                              Contingent
           Oberlin, OH 44074                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3660    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Kristin Nock                                              Check all that apply.
           21295 Stratford Ave.                                         Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3661    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Karie Nodar                                               Check all that apply.
           280 Ravenna Street                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3662    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Heidi Noerr                                               Check all that apply.
           11145 courtney court                                         Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3663    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Deanna Noertker                                           Check all that apply.
           5193 Ritchey Lane                                            Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3664    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Kelly Noeth                                               Check all that apply.
           594 Laurelwood Dr                                            Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3665    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Shana Nold                                                Check all that apply.
           5757 Bridgewater Blvd                                        Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3666    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Jaime Nordman                                             Check all that apply.
           208 Olentangy Meadows Dr                                     Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3667    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Shannon Norris                                            Check all that apply.
           702 Netherwood Ave NW                                        Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3668    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Lance North                                               Check all that apply.
           187 oneida nw                                                Contingent
           canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3669    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Shannon North                                             Check all that apply.
           5741 Hargus Ct                                               Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3670    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Johanna Northcutt                                         Check all that apply.
           828 Bright Rd                                                Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3671    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Mike Norwalk                                              Check all that apply.
           4770 Oakridge Dr.                                            Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3672    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Mike Norwalk                                              Check all that apply.
           4770 Oakridge Dr.                                            Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3673    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jeffrey Norwood                                           Check all that apply.
           9785 Old Johnnycake Ridge Rd                                 Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3674    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Michelle Nosker                                           Check all that apply.
           2586 Peebles Road                                            Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3675    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Michelle Nosker                                           Check all that apply.
           2586 Peebles Road                                            Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3676    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Angela Notturno                                           Check all that apply.
           717 whipple ave Sw                                           Contingent
           Canton, OH 44710                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3677    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Joy Novak                                                 Check all that apply.
           1181 Dartmouth Dr.                                           Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3678    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $185.00    $185.00
           Joy Novak                                                 Check all that apply.
           1181 Dartmouth Dr.                                           Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3679    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Joy Novak                                                 Check all that apply.
           1181 Dartmouth Dr.                                           Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3680    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $205.00    $205.00
           Joy Novak                                                 Check all that apply.
           1181 Dartmouth Dr.                                           Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3681    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Kimberly Novak                                            Check all that apply.
           11023 Old State Road                                         Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3682    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Sandy Novak                                               Check all that apply.
           7504 Demshar Dr                                              Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3683    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Stephanie Novak                                           Check all that apply.
           9115 Jody Lynn Lane                                          Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3684    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Shannon Novaria                                           Check all that apply.
           5332 Portland St                                             Contingent
           Columbus, OH 43235                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3685    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Erik Novey                                                Check all that apply.
           11697 Harbour Light Dr                                       Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3686    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Barney Nowicki                                            Check all that apply.
           4409 Kenwood Drive                                           Contingent
           Broadview Heights, OH 44147                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3687    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Tiffany Null                                              Check all that apply.
           2415 Augusta dr se                                           Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3688    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Kalyani Numburi                                           Check all that apply.
           7338 Glenwillow Pl                                           Contingent
           solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3689    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $250.00    $250.00
           Almira Nurmuhamedova                                      Check all that apply.
           3515 Montgomery Rd #10                                       Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3690    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Dave Nurre                                                Check all that apply.
           1148 Cheltenham Place                                        Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3691    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Michelle Nurrenbrock                                      Check all that apply.
           428 west market street                                       Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3692    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Amy Nutt                                                  Check all that apply.
           3298 HeatherStone Drive                                      Contingent
           Troy, OH 45737                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3693    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Tena Nutting                                              Check all that apply.
           6330 Cambridge Park Dr                                       Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3694    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Valerie Nuttle                                            Check all that apply.
           4314 crestview dr                                            Contingent
           loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3695    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Devon Nyktas                                              Check all that apply.
           3892 Tweedsmuir Dr                                           Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3696    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Erin O'Brien                                              Check all that apply.
           11420 Woodiebrook Rd                                         Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3697    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Carol O'Connell                                           Check all that apply.
           800 Ashbrooke Way                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3698    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Holly O'Connor                                            Check all that apply.
           30 Paw Paw Lake Dr                                           Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3699    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Sherry O'Donnell                                          Check all that apply.
           9269 Old Village Dr.                                         Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3700    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Iris O'Malley                                             Check all that apply.
           2225 Nettleton Lane                                          Contingent
           Broadview Heights, OH 44147                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3701    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Maureen O'Malley                                          Check all that apply.
           4161 Leona Drive                                             Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3702    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Katharine O'Neil                                          Check all that apply.
           602 Doe Court                                                Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3703    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Rebecca O'Reilly                                          Check all that apply.
           PO Box1042                                                   Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3704    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Katie O'Toole                                             Check all that apply.
           107 W Pointe Ct                                              Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3705    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Dawn Oates                                                Check all that apply.
           1227 S Mulberry St                                           Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3706    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Dawn Oates                                                Check all that apply.
           1227 S Mulberry St                                           Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3707    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Chatia Obeng                                              Check all that apply.
           785 Oberlin dr                                               Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3708    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Jessie Obert                                              Check all that apply.
           76 Parmelee Drive                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3709    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Kim Oblinger                                              Check all that apply.
           4852 Augustus Ct                                             Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3710    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Mary Oblisk                                               Check all that apply.
           323 N.Miami Ave. Apt A                                       Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3711    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Dawn OBrien                                               Check all that apply.
           4888 Wake Robin Rd                                           Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3712    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Sarah Ochieng                                             Check all that apply.
           5236 Captains Ct                                             Contingent
           Columbus, OH 43220-2463                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3713    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $230.00    $230.00
           Danessa Ochoa                                             Check all that apply.
           1027 Kinder                                                  Contingent
           Toledo, OH 43615                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3714    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           MiHui Ochsenbein                                          Check all that apply.
           47 Sussex                                                    Contingent
           HUDSON, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3715    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           David Ocker                                               Check all that apply.
           155 Chadwick Ct                                              Contingent
           Chagrin Falls, OH 44023                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3716    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Patrick OConnell                                          Check all that apply.
           6061 Willow Lake Drive                                       Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3717    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Thomas OConnor                                            Check all that apply.
           9275 Breezy Way Dr                                           Contingent
           Belle Center, OH 43310                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3718    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Jennifer Oddenino                                         Check all that apply.
           2871 Chamberlin Blvd                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3719    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Karen Odetallah                                           Check all that apply.
           15050 Waterford Drive                                        Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3720    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Jennifer ODonnell                                         Check all that apply.
           18500 High Parkway                                           Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3721    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Carol Oelker                                              Check all that apply.
           9604 Brower road                                             Contingent
           North Bend, OH 45052                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3722    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           David Oen                                                 Check all that apply.
           7829 Strawberry Hill Lane                                    Contingent
           Maineville, OH 45039                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3723    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Rachel Oettinger                                          Check all that apply.
           379 Bell Street                                              Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3724    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Shannon Ogden                                             Check all that apply.
           7586 Deerpath Tr                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3725    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Lyudmila Ogonovskiy                                       Check all that apply.
           4940 Bunker Road                                             Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3726    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Cheryl Oh                                                 Check all that apply.
           11274 Wilson Mills Rd                                        Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3727    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Kyounghwa Oh                                              Check all that apply.
           3156 Richmond Rd                                             Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3728    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $668.37    $668.37
           Ohio Department of Jobs & Fam                             Check all that apply.
           Srvs                                                         Contingent
           Attn: Collections Department                                 Unliquidated
           PO Box 182404                                                Disputed
           Columbus, OH 43218-2404
           Date or dates debt was incurred                           Basis for the claim:
           2018                                                      contribution
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.3729    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Roseline Okon                                             Check all that apply.
           6210 Cedar Ct                                                Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3730    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Sandy Oldenburg                                           Check all that apply.
           forest glen 6622 forest glen 6622                            Contingent
           solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3731    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Joshua Olgin                                              Check all that apply.
           7415 Capilanio Dr                                            Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3732    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Andrea Oliver-Burkey                                      Check all that apply.
           4888 Pineview Dr                                             Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3733    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Robyn Olivo                                               Check all that apply.
           5531 Crestview Drive                                         Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3734    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Terri Olix                                                Check all that apply.
           8025 edgewood                                                Contingent
           mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3735    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Susan Ollila                                              Check all that apply.
           74 Paw Paw Lake Dr                                           Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3736    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Richard Olsafsky                                          Check all that apply.
           143 Boston Mills Rd.                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3737    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Daniela Olson-Perko                                       Check all that apply.
           5914 Winslow Court                                           Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3738    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           CONNIE Olthaus                                            Check all that apply.
           515 E. STATE RD                                              Contingent
           CLEVES, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3739    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Janet Olvera                                              Check all that apply.
           38800 Willoughby Hills Chardon rd                            Contingent
           Willoughby, OH 44094                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3740    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Bryan OMaley                                              Check all that apply.
           8828 Logger Place                                            Contingent
           Mason, OH 45040                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3741    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Katherine Omlor                                           Check all that apply.
           207 Elm St                                                   Contingent
           Van Buren, OH 45889                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3742    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Tamzin ONeil                                              Check all that apply.
           21151 West Wagar Circle None                                 Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3743    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Kristin Onesko                                            Check all that apply.
           241 Prestwick Drive                                          Contingent
           Broadview Heights, OH 44147                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3744    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Grace Onimoe                                              Check all that apply.
           30430 woodall drive                                          Contingent
           solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3745    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Susan Oppelt                                              Check all that apply.
           1535 E Hines hill Rd                                         Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3746    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           DANIEL OPRIS                                              Check all that apply.
           22074 RIVER OAKS DR. # 8-C                                   Contingent
           ROCKY RIVER, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3747    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           DANIEL OPRIS                                              Check all that apply.
           22074 RIVER OAKS DR. # 8-C                                   Contingent
           ROCKY RIVER, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3748    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Laurie Organiscak                                         Check all that apply.
           11300 Stratford Ridge Lane                                   Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3749    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Dina Oriani                                               Check all that apply.
           12110 Arborwood Way                                          Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3750    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Heather Orlando                                           Check all that apply.
           5220 Edgerton Rd                                             Contingent
           north royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3751    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Cindy Orley                                               Check all that apply.
           175 Kendall Park Rd                                          Contingent
           Peninsula, OH 44264                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3752    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Michael Orloski                                           Check all that apply.
           11689 Lyman Rd.                                              Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3753    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Andrea Orlowski                                           Check all that apply.
           9399 Monticello Drive                                        Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3754    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Andrea Orr                                                Check all that apply.
           11633 Harbour Light Drive                                    Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3755    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Angela Orr                                                Check all that apply.
           3610 Smiley Road                                             Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3756    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Darrin Orr                                                Check all that apply.
           3379 Noreen Drive                                            Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3757    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           RICHARD ORSULIC                                           Check all that apply.
           31500 RONALD DR                                              Contingent
           WILLOWICK, OH 44095                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3758    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Silvia Orsulic-Jeras                                      Check all that apply.
           7670 Keystone Drive                                          Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3759    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Silvia Orsulic-Jeras                                      Check all that apply.
           7670 Keystone Drive                                          Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3760    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Christopher Osborne                                       Check all that apply.
           1100 Fanwood Court                                           Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3761    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Daniel Osborne                                            Check all that apply.
           9019 East Mountain View dr                                   Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3762    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Richard Osbourne                                          Check all that apply.
           5952 Alturas way                                             Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3763    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Frances Osowski                                           Check all that apply.
           13951 Stoney Creek Drive                                     Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3764    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Valerie Ott                                               Check all that apply.
           5912 Chatham Way                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3765    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Tami Otteson                                              Check all that apply.
           6619 Winston Lane                                            Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3766    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Barbara Ottman                                            Check all that apply.
           11819 Caves Road                                             Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3767    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jodi Ours                                                 Check all that apply.
           8665 Johnnycake Ride Road                                    Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3768    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Elizabeth Overbay                                         Check all that apply.
           1352 Sheridan CT                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3769    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Elizabeth Overbay                                         Check all that apply.
           1352 Sheridan CT                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3770    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Darrin Overly                                             Check all that apply.
           821 Eastern Ave                                              Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3771    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Amanda Overmyer                                           Check all that apply.
           8164 Newberry Drive                                          Contingent
           Findlay, OH 45840                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3772    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Stacy Overmyer                                            Check all that apply.
           215 Carriage Crossing Way                                    Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3773    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Amy Owen                                                  Check all that apply.
           613 Carson Farms Blvd                                        Contingent
           Delaware, OH 43015                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3774    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Denise Owens                                              Check all that apply.
           5161 Portage dr                                              Contingent
           vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3775    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Kathy Owens                                               Check all that apply.
           2550 Tucker Trail                                            Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3776    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Matthew Owens                                             Check all that apply.
           1110 Sheerbrook Drive                                        Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3777    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           William Owens                                             Check all that apply.
           25466 Bryden Road                                            Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3778    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Meiko Ozanich                                             Check all that apply.
           5238 towbridge drive                                         Contingent
           hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3779    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Lisa Ozello                                               Check all that apply.
           7638 Stow Road                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3780    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           John Pacholski                                            Check all that apply.
           1421 Hamilton Dr                                             Contingent
           Brodview Hts, OH 44147                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3781    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Sheila Pacsi                                              Check all that apply.
           2486 Victoria Parkway                                        Contingent
           Irvine, CA 92603                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3782    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Claudia Padilla                                           Check all that apply.
           5130 Preferred Place Apt 106                                 Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3783    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Angel Padillo                                             Check all that apply.
           13326 Spruce Run Dr 311                                      Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3784    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Devendrakumar Padole                                      Check all that apply.
           32445 Franklin Drive Apt. 108                                Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3785    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Elizabeth Paduano                                         Check all that apply.
           7273 Allendale Drive                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3786    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Michelle Pagan                                            Check all that apply.
           13781 Monica Dr.                                             Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3787    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Michelle Pagan                                            Check all that apply.
           13781 Monica Dr.                                             Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3788    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           ERIN PAGLIO                                               Check all that apply.
           7540 HOBBY HORSE LANE                                        Contingent
           MENTOR, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3789    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Shawn Pagniano                                            Check all that apply.
           1039 Barclay Drive                                           Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3790    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Leanne Pairan                                             Check all that apply.
           911 Slagle Place                                             Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3791    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Munirah Paknazhad                                         Check all that apply.
           2392 Walborn Drive                                           Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3792    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $120.00    $120.00
           Elena Pal-Wal                                             Check all that apply.
           2435 Brian drive                                             Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3793    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Elizabeth Palchick                                        Check all that apply.
           11730 Pinewood Trail                                         Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3794    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Kim Palivec                                               Check all that apply.
           8716 mulberry road                                           Contingent
           chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3795    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Crystal Paller                                            Check all that apply.
           9655 Juniper Drive                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3796    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Kimberly Palmer                                           Check all that apply.
           5486 Port Chester Drive                                      Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3797    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Jennifer Palmieri                                         Check all that apply.
           1716 MAYFLOWER LN                                            Contingent
           HUDSON, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3798    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Silvia Palmiero                                           Check all that apply.
           9394 Chesapeake Drive                                        Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3799    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Melissa Palmisano                                         Check all that apply.
           2690 Coshocton Court                                         Contingent
           Cincinnati, OH 45233                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3800    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Kelly Pamer                                               Check all that apply.
           6514 Dunbarton Dr.                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3801    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Kimberly Pandy                                            Check all that apply.
           48 E Bel Meadow Lane                                         Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3802    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Dolleen Panichi                                           Check all that apply.
           8520 Yorkview Drive                                          Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3803    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Maureen Paoletta                                          Check all that apply.
           7157 Sugar Bush Lane                                         Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3804    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Giulia Paolino                                            Check all that apply.
           11950 Nottingham Parkway                                     Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3805    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Tammi Pape                                                Check all that apply.
           6994 Mayfield Ave                                            Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3806    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           John Papini                                               Check all that apply.
           680 cornell drive                                            Contingent
           broadview heights, OH 44147                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3807    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Suzanne Pappano                                           Check all that apply.
           180 Aurora Street                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3808    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Pam Paradiso                                              Check all that apply.
           6170 Thunderbird Dr.                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3809    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Vanitha Param                                             Check all that apply.
           10886 Shawnee Circle                                         Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3810    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Alford Parish                                             Check all that apply.
           6575 Edgemoor Ave                                            Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3811    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Andrew Park                                               Check all that apply.
           31500 Cheswick Place                                         Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3812    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Mun Park                                                  Check all that apply.
           2618 Deptford Drive                                          Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3813    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           TAEWAN PARK                                               Check all that apply.
           6725 Duneden Ave                                             Contingent
           Solon, OH 44139-4049                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3814    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Jennifer Parker                                           Check all that apply.
           1659 Miami St Apt A                                          Contingent
           Kings Mills, OH 45034                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3815    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Jennifer Parker                                           Check all that apply.
           13285 Spruce Run Dr. #310                                    Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3816    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Kelly Parker                                              Check all that apply.
           7588 stow rd                                                 Contingent
           hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3817    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Laura Parker                                              Check all that apply.
           6567 Copley Avenue                                           Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3818    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           NICOLE PARKER                                             Check all that apply.
           417 EAST SPRING AVENUE                                       Contingent
           BELLEFONTAINE, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3819    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Sally Parker                                              Check all that apply.
           4553 river cove                                              Contingent
           Kings mills, OH 45034                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3820    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Luellen Parkinson                                         Check all that apply.
           7121 Maple St.                                               Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3821    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Tiffany Parks                                             Check all that apply.
           8432 Grenway Dr.                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3822    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Mirjana Parlov                                            Check all that apply.
           8866 Meadow Dr                                               Contingent
           Mason, OH 45040                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3823    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Sheri Parnell                                             Check all that apply.
           1564 Carriage Hill Dr.                                       Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3824    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Suzy Parnell                                              Check all that apply.
           21669 Kenwood Ave                                            Contingent
           Rocky RIver, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3825    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Kathleen Parrino                                          Check all that apply.
           7051 Pine Street                                             Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3826    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Nicole Parsell                                            Check all that apply.
           8391 Squad Drive                                             Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3827    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $580.00    $580.00
           Roxanne Parsell                                           Check all that apply.
           11820 Buckeye Ridge Road                                     Contingent
           Van Buren, OH 45889                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3828    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           John Parsons                                              Check all that apply.
           9202 Cherry Rd                                               Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3829    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Tiffany Parsons                                           Check all that apply.
           8898 Sedona Ct                                               Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3830    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Christine Partain                                         Check all that apply.
           83 Maple Hill Dr.                                            Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3831    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Abbey Partee                                              Check all that apply.
           955 Amity Rd                                                 Contingent
           Galloway, OH 43119                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3832    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $635.00    $635.00
           Beth Partin                                               Check all that apply.
           5589 Lake Michigan                                           Contingent
           Fairfield, OH 45014                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3833    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Shannon Partin                                            Check all that apply.
           98 Cortland Cir                                              Contingent
           Amherst, OH 44001                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3834    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Christie Partlow                                          Check all that apply.
           7599 Goldenrod                                               Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3835    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Coby Pascoe                                               Check all that apply.
           12229 Shiloh Dr.                                             Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3836    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Deborah Paskell                                           Check all that apply.
           5159 Hemmington Blvd.                                        Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3837    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Joan Paskert                                              Check all that apply.
           7295 Royal Portrush Drive                                    Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3838    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Paula Pason                                               Check all that apply.
           9611 Gratham LN                                              Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3839    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Paula Pason                                               Check all that apply.
           9611 Gratham LN                                              Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3840    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Petra Paspalovski                                         Check all that apply.
           5865 Heritage Ct                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3841    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Thomas Pastijn                                            Check all that apply.
           29 Clayton Court                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3842    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Bhavna Patel                                              Check all that apply.
           4530 Howard drive                                            Contingent
           Vermilion, OH 44089                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3843    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Chirag Patel                                              Check all that apply.
           6784 Stow Rd.                                                Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3844    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Hinaben Patel                                             Check all that apply.
           5530 Mirage Dr.                                              Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3845    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jayshree Patel                                            Check all that apply.
           9930 Campton ridge drive                                     Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3846    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Jessica Patel                                             Check all that apply.
           3250 Walkerview Dr                                           Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3847    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           KAL PATEL                                                 Check all that apply.
           8257 JOHNNYCAKE RIDGE RD                                     Contingent
           mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3848    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           KINTESH PATEL                                             Check all that apply.
           2994 AUTUMN APPLAUSE DRIVE                                   Contingent
           LEWIS CENTER, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3849    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Rajesh Patel                                              Check all that apply.
           7535 Harley Hills Dr                                         Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3850    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           RITESH PATEL                                              Check all that apply.
           5445 Snell Dr                                                Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3851    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Sonal Patel                                               Check all that apply.
           6852 Kings Way                                               Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3852    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Cherie Paterson                                           Check all that apply.
           12737 Klatka Dr.                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3853    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Robert Patete                                             Check all that apply.
           13111 Westchester Trail                                      Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3854    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Dayna Patrick                                             Check all that apply.
           1789 Westport Drive                                          Contingent
           Kings Mills, OH 45034                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3855    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Monica Patrick                                            Check all that apply.
           8868 Williams Rd                                             Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3856    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Cynthia Patrzyk                                           Check all that apply.
           10124 Andover Drive                                          Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3857    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Bill Patterson                                            Check all that apply.
           11380 Caves Rd                                               Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3858    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Carla Patterson                                           Check all that apply.
           2350 Malone Ave. SE                                          Contingent
           Massillon, OH 44646                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3859    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Denise Patterson                                          Check all that apply.
           11442 Worthington Way                                        Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3860    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Jen Patterson                                             Check all that apply.
           9238 Cedar Gate Drive                                        Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3861    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $780.00    $780.00
           Joseph Patterson                                          Check all that apply.
           6832 Meadowdale Cir                                          Contingent
           Cincinnati, OH 45243                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3862    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Julie Patterson                                           Check all that apply.
           PO Box 294                                                   Contingent
           Novelty, OH 44072                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3863    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $440.00    $440.00
           Paul Patterson                                            Check all that apply.
           710 Jackson Dr.                                              Contingent
           Port Clinton, OH 43452                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3864    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Susan Patterson                                           Check all that apply.
           14620 Russell Lane                                           Contingent
           Russell, OH 44072                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3865    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Tanneil Patterson                                         Check all that apply.
           9345 Sherman Lane                                            Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3866    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Nick Patti                                                Check all that apply.
           10995 Forest Oaks Dr.                                        Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3867    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Shannon Paul                                              Check all that apply.
           1651 Mentor Ave. apt. 1512                                   Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3868    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Dino Paulesc                                              Check all that apply.
           2147 Nettleton Ln                                            Contingent
           Broadview Heights, OH 44147                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3869    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Christen Pavia                                            Check all that apply.
           977 Ashbrooke Way                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3870    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Christy Pavia                                             Check all that apply.
           977 Ashbrooke Way                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3871    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Lesley Pawar                                              Check all that apply.
           35365 Quartermane Circle                                     Contingent
           Bentleyville, OH 44139                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3872    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           David Pawlowski                                           Check all that apply.
           20252 Westhaven Lane                                         Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3873    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Julie Pawlowski                                           Check all that apply.
           6548 Canterbury Drive                                        Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3874    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Bethany Payne                                             Check all that apply.
           3191 Neille Lane                                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3875    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Bobbi Payne                                               Check all that apply.
           1505 corrib ave nw                                           Contingent
           Canton, OH 44708                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3876    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Kathleen Payne                                            Check all that apply.
           9749 Silverleaf Drive                                        Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3877    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Natosha Payne                                             Check all that apply.
           268 Vincent Ave                                              Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3878    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Tina Payne                                                Check all that apply.
           2051 Presidential Pkwy 32                                    Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3879    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Edward Paynter                                            Check all that apply.
           104 W Pointe Court                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3880    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Fouseena Pazheri                                          Check all that apply.
           6235 Lochmoor ct                                             Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3881    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Matt Pazzelli                                             Check all that apply.
           5634 Tynecastle Loop                                         Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3882    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           NICOLE Pearce                                             Check all that apply.
           11505 Bass Lake Rd                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3883    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $675.00    $675.00
           Christina Pearson                                         Check all that apply.
           416 s. Detroit st.                                           Contingent
           Bellefontaine, OH 43311                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3884    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Laura Pearson                                             Check all that apply.
           606 Ledgeview Ct                                             Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3885    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $505.00    $505.00
           Melissa Pece                                              Check all that apply.
           6985 Woodlands Lane                                          Contingent
           Solon, OH 44139                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3886    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $100.00    $100.00
           MICHAEL PECJAK                                            Check all that apply.
           498 CHERRYWOOD LN                                            Contingent
           PAINESVILLE, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3887    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $160.60    $160.60
           MICHAEL PECJAK                                            Check all that apply.
           498 CHERRYWOOD LN                                            Contingent
           PAINESVILLE, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3888    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Kelly Peck                                                Check all that apply.
           8574 Sugar Tree Drive                                        Contingent
           Novelty, OH 44072                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3889    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $465.00    $465.00
           Marlo Peck                                                Check all that apply.
           50 Heather Ct                                                Contingent
           Chagrin Falls, OH 44022                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3890    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Cesar Pedraza                                             Check all that apply.
           1781 e 34th street                                           Contingent
           lorain, OH 44055                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3891    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $520.00    $520.00
           Cesar Pedraza                                             Check all that apply.
           1781 e 34th street                                           Contingent
           lorain, OH 44055                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3892    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Dana Peeden                                               Check all that apply.
           1791 Curry Lane                                              Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3893    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Kari Peek                                                 Check all that apply.
           12702 Heath Rd                                               Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3894    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Denise Peel                                               Check all that apply.
           1718 Royal Oaks Cir                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3895    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $410.00    $410.00
           Cynthia Peeples                                           Check all that apply.
           2010 Abner Lane                                              Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3896    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jessica Pelini                                            Check all that apply.
           2483 Renwick Way                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3897    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $810.00    $810.00
           Jessica Pelini                                            Check all that apply.
           2483 Renwick Way                                             Contingent
           Troy, OH 45373                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3898    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Michelle Pelles                                           Check all that apply.
           8418 Haines Ct                                               Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3899    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Michelle Pelleschi                                        Check all that apply.
           4931 Calico Court                                            Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3900    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Charity Pelletier                                         Check all that apply.
           2138 Samson Circle                                           Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3901    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Kristine Peltz                                            Check all that apply.
           12788 Lynn Dr                                                Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3902    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Lea Pemberton                                             Check all that apply.
           8526 Misty Woods Circle                                      Contingent
           Powell, OH 43065                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3903    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Shulan Peng                                               Check all that apply.
           22614 Halburton Road                                         Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3904    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Joanne Penkalski                                          Check all that apply.
           9554 Vista Drive                                             Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3905    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Geri Penkowski                                            Check all that apply.
           7917 Glen Arbor Court                                        Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3906    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Ann Penn                                                  Check all that apply.
           4519 Earman Dr                                               Contingent
           Hilliard, OH 43026-3801                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3907    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Michael Pennell                                           Check all that apply.
           438 north st apt 1a                                          Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3908    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Allen Pennington                                          Check all that apply.
           8280 Starburst Road                                          Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3909    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $165.00    $165.00
           Edward Pennington                                         Check all that apply.
           3893 Wood Trail Dr                                           Contingent
           Mason, OH 45040                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3910    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Jennifer Penny                                            Check all that apply.
           6398 Brooks Blvd                                             Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3911    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Lesli Peoples                                             Check all that apply.
           12-4 Meadowlawn Drive                                        Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3912    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Suzana Pepanian                                           Check all that apply.
           2005 Presidential Parkway Apt 83                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3913    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $870.00    $870.00
           Michael Perdue                                            Check all that apply.
           1350 Briarshore Way                                          Contingent
           Lewis Center, OH 43035                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3914    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Khema Perera                                              Check all that apply.
           2215 Pebble Creek Drive APT 201J                             Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3915    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $455.00    $455.00
           Marian Perez                                              Check all that apply.
           8793 Evergreen Drive                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3916    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $695.00    $695.00
           Sonia Perez                                               Check all that apply.
           2376 north star rd. Apt. 3 e                                 Contingent
           Columbus s, OH 43221                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3917    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Rebecca Perich                                            Check all that apply.
           9765 Parkland Drive                                          Contingent
           Twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3918    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Joyce Perrico                                             Check all that apply.
           408 Chardon Avenue                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3919    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Saundra Perrin                                            Check all that apply.
           1196 waldoway                                                Contingent
           twinsburg, OH 44087                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3920    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Angela Perry                                              Check all that apply.
           4491 Sir John Avenue                                         Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3921    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $95.00    $95.00
           Grace Perryman                                            Check all that apply.
           23719 woodway road                                           Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3922    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Selina Persad                                             Check all that apply.
           4945 wallington dr                                           Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3923    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $645.00    $645.00
           Sheila Persall                                            Check all that apply.
           6610 Strathern Court                                         Contingent
           Dublin, OH 43016                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3924    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jaime Perz                                                Check all that apply.
           11855 Clarkwood Drive                                        Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3925    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $340.00    $340.00
           Kristine Pesho                                            Check all that apply.
           7625 Westcot Lane                                            Contingent
           Novelty, OH 44072                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3926    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $750.00    $750.00
           Tom Pessler                                               Check all that apply.
           590 Laurelwood Dr                                            Contingent
           Cleves, OH 45002                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3927    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Angela Peters                                             Check all that apply.
           5088 Wainfleet Court                                         Contingent
           Columbus, OH 43221                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3928    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $330.00    $330.00
           Katina Peters                                             Check all that apply.
           9036 Country View Lane                                       Contingent
           Loveland, OH 45140                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3929    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           Holly Petersen                                            Check all that apply.
           11580 regent park drive                                      Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3930    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Lisa Petersen                                             Check all that apply.
           8121 Butler Hill Dr                                          Contingent
           Painesville, OH 44077                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3931    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $325.00    $325.00
           Vicki Petersen                                            Check all that apply.
           6017 Macnabb Ct.                                             Contingent
           Hilliard, OH 43026                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3932    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           Kelli Peterson                                            Check all that apply.
           1206 Wagar Rd                                                Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3933    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $140.00    $140.00
           Leah Peterson                                             Check all that apply.
           124 Keswick Drive                                            Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3934    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $385.00    $385.00
           Shawna Peterson                                           Check all that apply.
           2386 Old Mill Rd                                             Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3935    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $470.00    $470.00
           SaraJean Petite                                           Check all that apply.
           19425 Telbir Ave                                             Contingent
           Rocky River, OH 44116                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3936    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $435.00    $435.00
           Marla Petti                                               Check all that apply.
           25465 Cardington Drive                                       Contingent
           Beachwood, OH 44122                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3937    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Yolanda Pettiegrew                                        Check all that apply.
           12660 Pebblebrook Trail                                      Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3938    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $460.00    $460.00
           Joan Pettinelli                                           Check all that apply.
           4491 Sir Robert Avenue                                       Contingent
           North Royalton, OH 44133                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3939    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $490.00    $490.00
           April Petty                                               Check all that apply.
           5805 Patrick St SW                                           Contingent
           Canton, OH 44706                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3940    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Tiffanie Petty                                            Check all that apply.
           11225 Elk Run Road                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3941    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Melissa Pettyjohn                                         Check all that apply.
           13173 Redcliffe rd                                           Contingent
           Chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3942    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $495.00    $495.00
           Jen Pezzuto                                               Check all that apply.
           101 sawmill bnd                                              Contingent
           chardon, OH 44024                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3943   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Michelle Pfaff                                             Check all that apply.
          22415 Berry Drive                                             Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3944   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Max Pfeifer                                                Check all that apply.
          7438 Cadle Ave                                                Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3945   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Nyioka Phalen                                              Check all that apply.
          4649 Cox-Smith Road                                           Contingent
          Mason, OH 45040                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3946   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          DU PHAM                                                    Check all that apply.
          6439 Dorset Lane                                              Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3947   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Devona Phares                                              Check all that apply.
          3917 Kul Circle South                                         Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3948   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Chris Pheiffer                                             Check all that apply.
          7808 Gladshire Blvd                                           Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3949   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Carrie Phelan                                              Check all that apply.
          14747 Sisson Rd.                                              Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3950   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Lisa Phelps                                                Check all that apply.
          7708 Storrington Place                                        Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3951   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Saysong Phetlasymongkhon                                   Check all that apply.
          2575 Punderson Drive                                          Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3952   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Saysong Phetlasymongkhon                                   Check all that apply.
          2575 Punderson Drive                                          Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3953   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Amanda Phillips                                            Check all that apply.
          309 Lawrence St                                               Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3954   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Amy Phillips                                               Check all that apply.
          2318 Pleasant Colony Drive                                    Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3955   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Beth Phillips                                              Check all that apply.
          2610 Amberwick Place                                          Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3956   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Carolina Phillips                                          Check all that apply.
          22134 River Oaks Dr Apt 2c                                    Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3957   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Christina Phillips                                         Check all that apply.
          3426 Woodland Drive                                           Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3958   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Erika Phillips                                             Check all that apply.
          11435 Glenmora Dr.                                            Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3959   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Lori Piazza                                                Check all that apply.
          13824 oakbrook dr                                             Contingent
          north royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3960   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Leslie Piccolomini                                         Check all that apply.
          13831 Lodge Drive                                             Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3961   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Marjorie Piccolomini                                       Check all that apply.
          15397 Ridge                                                   Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3962   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Lori Pickering                                             Check all that apply.
          674 Oxford Dr                                                 Contingent
          Broadview Heights, OH 44147                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3963   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Adrienne Pierce                                            Check all that apply.
          2584 Lombardi Ave SW                                          Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3964   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Cathy Pierce                                               Check all that apply.
          9818 hickory dr                                               Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3965   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Kelly Pierce                                               Check all that apply.
          436 Meadow View Dr                                            Contingent
          Powell, OH 43065                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3966   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Lisa Pierce                                                Check all that apply.
          6776 St. Regis Blvd                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3967   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Lisa Pierce                                                Check all that apply.
          6102 Dodge Rd sw                                              Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3968   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Lisa Pierce                                                Check all that apply.
          6776 St. Regis Blvd                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3969   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Tara Pierce                                                Check all that apply.
          29 W. Market St.                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3970   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Lori Pierce-Cohen                                          Check all that apply.
          14781 Caves Road                                              Contingent
          Novelty, OH 44072                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3971   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Jennifer Pierson                                           Check all that apply.
          4490 HIGHLAND MEADOWS CT                                      Contingent
          HILLIARD, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3972   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Angela Pigman                                              Check all that apply.
          9010 Emerald Hill Dr                                          Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3973   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Valerie Piguet                                             Check all that apply.
          1287 Chatham Pl                                               Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3974   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Mike Piks                                                  Check all that apply.
          7381 Hart St.                                                 Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3975   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Mike Pilotti                                               Check all that apply.
          6970 Sturbridge Dr.                                           Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3976   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          John Pina                                                  Check all that apply.
          2899 Cr 18                                                    Contingent
          Arcadia, OH 44804                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3977   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          John Pina                                                  Check all that apply.
          2899 Cr 18                                                    Contingent
          Arcadia, OH 44804                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3978   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Rosario Pina                                               Check all that apply.
          5919 Portside Dr 5919 Portside Dr                             Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3979   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Anna Pineda                                                Check all that apply.
          4824 Lakeview Drive                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3980   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Jeffrey Pinkerton                                          Check all that apply.
          5001 Northview Ct                                             Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3981   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Michele Pirc                                               Check all that apply.
          5301 e heisley rd                                             Contingent
          mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3982   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Mary Pisano                                                Check all that apply.
          9080 Cabriolet Ave                                            Contingent
          Concord, OH 44060                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3983   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Alisa Pistone                                              Check all that apply.
          8900 Ranch Dr                                                 Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3984   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Jason Pitteroff                                            Check all that apply.
          6058 Joneswood Drive                                          Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3985   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $475.00    $475.00
          Shelley Pittman                                            Check all that apply.
          556 Aston View Ln                                             Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3986   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Amanda Pitts                                               Check all that apply.
          12614 w lake rd                                               Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3987   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Rose Pitzer                                                Check all that apply.
          3959 Bear Lane                                                Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3988   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Sandra Piwinski                                            Check all that apply.
          5103 Driftwood Dr                                             Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3989   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Kim Pizzuti                                                Check all that apply.
          3944 Kul Circle North                                         Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3990   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Chris Place                                                Check all that apply.
          2911 Maureen Ct                                               Contingent
          loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3991   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jason Place                                                Check all that apply.
          7969 Champaign Dr.                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3992   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Andrea Planck                                              Check all that apply.
          1832 Walker Rd.                                               Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3993   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Michael Plant                                              Check all that apply.
          7855 Chillicothe Rd                                           Contingent
          MENTOR, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3994   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Jeffrey Platko                                             Check all that apply.
          6949 Highview Drive                                           Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3995   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Mark Platt                                                 Check all that apply.
          314 Wilson Mills Rd.                                          Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3996   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jan Plaxico                                                Check all that apply.
          7155 Hart Street F-43                                         Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3997   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Michele Plessinger                                         Check all that apply.
          6626 Shawnee Run Road                                         Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.3998   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Christie Plickert                                          Check all that apply.
          3784 Pleasantbrook dr                                         Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.3999   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Christie Plickert                                          Check all that apply.
          3784 Pleasantbrook dr                                         Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4000   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Jennifer Plikerd                                           Check all that apply.
          517 East Sandusky Ave                                         Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4001   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Lori Plinke                                                Check all that apply.
          4001                                                          Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4002   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Courtney Ploskunak                                         Check all that apply.
          7555 Huntington Rd                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4003   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Amanda Plymel                                              Check all that apply.
          5870 Birch Lane                                               Contingent
          Mentor on the lake, OH 44060                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4004   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Amanda Plymel                                              Check all that apply.
          5870 Birch Lane                                               Contingent
          Mentor on the lake, OH 44060                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4005   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Rob Poelking                                               Check all that apply.
          8370 Kinsman Road                                             Contingent
          Novelty, OH 44072                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4006   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Kelly Pohto-Bush                                           Check all that apply.
          7882 Richwood Drive                                           Contingent
          Mentor on the Lake, OH 44060                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4007   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Danielle Poirier                                           Check all that apply.
          1209 Whipple Ave SW                                           Contingent
          Canton, OH 44710                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4008   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Tara Polanco                                               Check all that apply.
          6985 Charlesfield Ln                                          Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4009   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Tara Polanco                                               Check all that apply.
          6985 Charlesfield Ln                                          Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4010   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Jennifer Polar                                             Check all that apply.
          1978 Thornwood ln                                             Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4011   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Arthur Poling                                              Check all that apply.
          240 Columbus st.                                              Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4012   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Philip Pollitt                                             Check all that apply.
          2129 Jeffey Drive                                             Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4013   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Coleen Pollock                                             Check all that apply.
          2665 Brunswick Lane                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4014   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Erin Pollock                                               Check all that apply.
          7415 Hillside lane                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4015   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Rachelle Pollock                                           Check all that apply.
          10078 N Surfside Cir                                          Contingent
          Reminderville, OH 44202                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4016   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Sarah Polly                                                Check all that apply.
          19764 Riverview                                               Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4017   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Jessica Polverini                                          Check all that apply.
          255 floral acres dr                                           Contingent
          Tipp city, OH 45371                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4018   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Beth Pong                                                  Check all that apply.
          846 Winding River Blvd                                        Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4019   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Natasha Pongonis                                           Check all that apply.
          2765 Lake Hollow Rd                                           Contingent
          HILLIARD, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4020   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Aaron Pool                                                 Check all that apply.
          750 CR 32 North                                               Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4021   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Christa Poole                                              Check all that apply.
          23809 East Silsby Rd                                          Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4022   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Erica Pooler                                               Check all that apply.
          1115 long st                                                  Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4023   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Aimee Pope                                                 Check all that apply.
          401 E. Brown Ave                                              Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4024   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Lisa Pope                                                  Check all that apply.
          67 May Court                                                  Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4025   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Sheri Popik                                                Check all that apply.
          9899 East Idlewood Dr.                                        Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4026   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Julie Popovich                                             Check all that apply.
          31866 S. Roundhead Drive                                      Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4027   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Debbie Porach                                              Check all that apply.
          7586 Estate Ave.                                              Contingent
          hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4028   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Christina Porinchok                                        Check all that apply.
          722 MALLARD CIR NW                                            Contingent
          MASSILLON, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4029   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Cynthia Porter                                             Check all that apply.
          4616 Winterset dr                                             Contingent
          Columbus, OH 43220                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4030   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Jennifer Porter                                            Check all that apply.
          9373 Chesapeake Dr.                                           Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4031   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Greg Portier                                               Check all that apply.
          1356 deerlick dr                                              Contingent
          columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4032   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Patty Posante                                              Check all that apply.
          7675 Oak Hill Drive                                           Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4033   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Julie Post                                                 Check all that apply.
          3108 Killingworth Lane                                        Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4034   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jennifer Potoczak                                          Check all that apply.
          6505 Bryson Drive                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4035   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Rosanne Potter                                             Check all that apply.
          1300 Bridget Lane                                             Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4036   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Heather Potts                                              Check all that apply.
          6539 Canterbury Dr                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4037   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Justin Powell                                              Check all that apply.
          2579 Bernice Ct.                                              Contingent
          Melbourne, FL 32935                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4038   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Karie Powell                                               Check all that apply.
          5120 Grosse Pointe Ln.                                        Contingent
          Cincinnati, OH 45238                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4039   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Michele Powell                                             Check all that apply.
          2159 Hayer Court                                              Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4040   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Rebecca Powell                                             Check all that apply.
          336 South Hambden St                                          Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4041   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Thomas Powell                                              Check all that apply.
          8835 Oakbrook Circle                                          Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4042   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Tina Powell                                                Check all that apply.
          5291 Taylor Lane Ave.                                         Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4043   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Amanda Powers                                              Check all that apply.
          5633 Maple Dell Ct.                                           Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4044   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Gary Powers                                                Check all that apply.
          2139 fenway                                                   Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4045   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Swati Pradhan                                              Check all that apply.
          1848 little bear loop                                         Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4046   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Ashley Prado                                               Check all that apply.
          2288 Kate Circle                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4047   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Nicole Prater                                              Check all that apply.
          3651 Stoneboat Ct                                             Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4048   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Danielle Pratt                                             Check all that apply.
          2089 Steffi Drive                                             Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4049   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Sean Pratt                                                 Check all that apply.
          4961 Glennlodge rd.                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4050   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Shannon Prendergast                                        Check all that apply.
          6804 palmerston dr                                            Contingent
          mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4051   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          John Prentice                                              Check all that apply.
          7340 Colt Drive                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4052   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Tina Preseren                                              Check all that apply.
          7622 Gentry Circle                                            Contingent
          Cocord Twp, OH 44077                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4053   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Tina Preseren                                              Check all that apply.
          7622 Gentry Circle                                            Contingent
          Cocord Twp, OH 44077                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4054   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Chris Preslock                                             Check all that apply.
          1 Owens Corning Parkway                                       Contingent
          Toledo, OH 43659                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4055   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Angel Preston                                              Check all that apply.
          10147 Pirates Trail                                           Contingent
          Reminderville, OH 44202                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4056   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Silvia Pretto                                              Check all that apply.
          5350 Camelot Dr. #7                                           Contingent
          Cincinnati, OH 45014                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4057   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Amy Preuer                                                 Check all that apply.
          8688 prairie grass lane                                       Contingent
          mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4058   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Stacey Prevost                                             Check all that apply.
          PO Box 953                                                    Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4059   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Nadis Prewitt                                              Check all that apply.
          2995 Steffan Woods Dr                                         Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4060   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Krista Prexta                                              Check all that apply.
          14725 Russell Lane                                            Contingent
          Novelty, OH 44072                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4061   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Krista Prexta                                              Check all that apply.
          14725 Russell Lane                                            Contingent
          Novelty, OH 44072                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4062   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Brian Price                                                Check all that apply.
          5723 Williamsburg Cir                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4063   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Linda Price                                                Check all that apply.
          3790 Wenwood Dr                                               Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4064   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          TERRI PRICE                                                Check all that apply.
          5613 TOWNSHIP ROAD 243                                        Contingent
          FINDLAY, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4065   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Kodi Pride                                                 Check all that apply.
          7896 Wildel Dr                                                Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4066   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Victoria Priester                                          Check all that apply.
          12715 Carter Rd                                               Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4067   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Ranicia Prisock                                            Check all that apply.
          3470 crooked tree circle                                      Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4068   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Cassandra Pritikin                                         Check all that apply.
          980 Bernard Road                                              Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4069   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Lisa Proffitt                                              Check all that apply.
          2618 Copperwood Rd                                            Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4070   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Beth Prontiker                                             Check all that apply.
          4593 Cox Drive Unit B                                         Contingent
          Stow, OH 44224                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4071   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Katie Proszek                                              Check all that apply.
          14531 Sisson Road                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4072   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Allison Prucha                                             Check all that apply.
          340 Cheshire Rd.                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4073   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Tricia Ptak                                                Check all that apply.
          12000 Firefly Dr                                              Contingent
          N Royalton, OH 44133-6100                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4074   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Liz Puffenbarger                                           Check all that apply.
          1085 Outrigger Cove                                           Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4075   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Christina Pugh                                             Check all that apply.
          805 Lost Pond Pkwy                                            Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4076   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Jennifer Puhl                                              Check all that apply.
          888 Ashbrooke way                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4077   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Monica Puleo                                               Check all that apply.
          14137 Kimrose Lane                                            Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4078   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Amy Pulfer                                                 Check all that apply.
          116 East Williams avenue                                      Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4079   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Raul Pulido                                                Check all that apply.
          5476 Lakeside Dr                                              Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4080   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          THOMAS PULLUMPALLIL                                        Check all that apply.
          4878 Davidson Run Dr                                          Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4081   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Alison Pulte                                               Check all that apply.
          40 Quail Ridge Drive                                          Contingent
          Bentleyville, OH 44022                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4082   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Barbara Pulte                                              Check all that apply.
          6549 Sherborne Lane                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4083   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Barbara Pulte                                              Check all that apply.
          6549 Sherborne Lane                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4084   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Lynda Pumphrey                                             Check all that apply.
          8544 Louise Dr                                                Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4085   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Damaris Punales-Alpizar                                    Check all that apply.
          7446 Kinsman Road                                             Contingent
          Novelty, OH 44072                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4086   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Joenee Purcell                                             Check all that apply.
          1332 Turner Road                                              Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4087   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Jennifer Purchase                                          Check all that apply.
          13370 Green Dr                                                Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4088   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Tiesha Purnell                                             Check all that apply.
          815 Frost Road 1203                                           Contingent
          Streetsboro, OH 44241                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4089   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Mara Purnhagen                                             Check all that apply.
          39 Forest Drive                                               Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4090   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Michelle Putney                                            Check all that apply.
          5723 Charmar Drive                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4091   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Mark Quaiser                                               Check all that apply.
          1250 Eriewood Dr.                                             Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4092   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Sabra Qualls                                               Check all that apply.
          8411 Morris Road                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4093   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Jennifer Quinn                                             Check all that apply.
          9909 State Rd                                                 Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4094   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Kellie Quinn                                               Check all that apply.
          1573 Greenfield Ln.                                           Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4095   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Kristan Quinn                                              Check all that apply.
          9642 Mentor Rd                                                Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4096   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Sherri Racine                                              Check all that apply.
          1375 Lee Rd                                                   Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4097   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Mindaugas Rackaitis                                        Check all that apply.
          1549 Plantation Dr.                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4098   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Michelle Radatz                                            Check all that apply.
          11625 county line road                                        Contingent
          gates mills, OH 44040                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4099   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Barbara Radekevich                                         Check all that apply.
          9307 Jovanna Court                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4100   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Stephanie Radziewicz                                       Check all that apply.
          7468 Mckinley St.                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4101   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Robert Rafalke                                             Check all that apply.
          5001 Oakview Dr                                               Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4102   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Tonya Rafalke                                              Check all that apply.
          4912 orchard rd                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4103   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Ann Raglow                                                 Check all that apply.
          8807 Pinewood Ct.                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4104   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Tania Rahaman                                              Check all that apply.
          1315 prentis house CT                                         Contingent
          Columbus, OH 43235                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4105   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Michelle Rahija                                            Check all that apply.
          5392 Lorrey Place                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4106   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Michelle Rahija                                            Check all that apply.
          5392 Lorrey Place                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4107   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Nicole Rainsberger                                         Check all that apply.
          4394 Chevron Circle SW                                        Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4108   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Priya Raj                                                  Check all that apply.
          2169 Halcyon Road                                             Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4109   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Andjela Rajic                                              Check all that apply.
          7970 Mentor Ave. D3                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4110   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $380.00    $380.00
          Kim Rako                                                   Check all that apply.
          1779 Stoney Hill Drive                                        Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4111   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Tracey Ralph                                               Check all that apply.
          13082 Fairfield Trail                                         Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4112   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Rakesh Ramachandran                                        Check all that apply.
          7123 Longview Dr                                              Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4113   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Gopal Ramakrishnan                                         Check all that apply.
          5164 Hemmington Blvd                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4114   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Joe RAMEY                                                  Check all that apply.
          266 BRENTWOOD DR                                              Contingent
          HUDSON, OH 44236-1656                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4115   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Meghan Ramey                                               Check all that apply.
          6335 Bryson dr                                                Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4116   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Lorena Ramirez                                             Check all that apply.
          2226 Puma Place                                               Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4117   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          STACIA RAMIREZ                                             Check all that apply.
          1250 ANIKO AVENUE                                             Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4118   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Chad Ramlow                                                Check all that apply.
          7509 Berks Way                                                Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4119   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Melissa Rammel                                             Check all that apply.
          890 Farnham Way                                               Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4120   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Sue Ramming                                                Check all that apply.
          12381 Summerwood Dr.                                          Contingent
          Concord Township, OH 44077                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4121   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Steven Ramos                                               Check all that apply.
          10211 Chipmunk Ridge Road                                     Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4122   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Jeff Rampe                                                 Check all that apply.
          12531 County Rd 109                                           Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4123   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Karen Rampe                                                Check all that apply.
          5450 Pinehill Dr                                              Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4124   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Cindy Ramsey                                               Check all that apply.
          2299 Wellington Circle                                        Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4125   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Cindy Ramsey                                               Check all that apply.
          2299 Wellington Circle                                        Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4126   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Jacque Ramsey                                              Check all that apply.
          5826 Privilege Drive                                          Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4127   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Jaime Ramsey                                               Check all that apply.
          4881 Parkmoor Drive                                           Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4128   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Angie Ranallo                                              Check all that apply.
          9721 mayfield rd                                              Contingent
          chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4129   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Tai Ranallo                                                Check all that apply.
          11075 spear rd                                                Contingent
          painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4130   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Tai Ranallo                                                Check all that apply.
          11075 spear rd                                                Contingent
          painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4131   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Jennifer Randolph                                          Check all that apply.
          246 Fox Ridge Circle                                          Contingent
          Powell, OH 43065                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4132   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Jen Randulic                                               Check all that apply.
          6703 List St NW                                               Contingent
          Canton, OH 44708                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4133   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Faith Ransom                                               Check all that apply.
          8014 Peardale Dr                                              Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4134   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Beth Rapien                                                Check all that apply.
          3837 Bremen Pass                                              Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4135   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Georgeanna Rapp                                            Check all that apply.
          3734 Tillman St. NW                                           Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4136   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Shannon Raquet                                             Check all that apply.
          3399 Muskopf ct                                               Contingent
          fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4137   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Lydia Raser                                                Check all that apply.
          9611 Brayes Manor Dr                                          Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4138   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Amir Rashid                                                Check all that apply.
          6705 Edgemoor Ave                                             Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4139   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Nancy Rasoul                                               Check all that apply.
          4484 McCullough Ln                                            Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4140   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Paulina Raspovic                                           Check all that apply.
          7441 Ford Dr                                                  Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4141   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Jamie Ratcliffe                                            Check all that apply.
          12281 Girdled Rd                                              Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4142   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Maryanne Ratka                                             Check all that apply.
          6572 Copley Avenue                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4143   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Samantha Ratleff                                           Check all that apply.
          3984 Clayford Dr                                              Contingent
          Columbus, OH 43204                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4144   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          John Ratliff                                               Check all that apply.
          2423 southway st sw                                           Contingent
          massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4145   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Jennifer Raubenolt                                         Check all that apply.
          7956 Augusta Ln                                               Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4146   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Michelle Rauer                                             Check all that apply.
          11801 Jason Avenue                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4147   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Jane Rawlings                                              Check all that apply.
          2954 Pine Grove Lane                                          Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4148   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Heather Rawlins                                            Check all that apply.
          715 Lindridge Dr                                              Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4149   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Lynda Ray                                                  Check all that apply.
          5112 Sassafras Rd                                             Contingent
          Columbus, OH 43229                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4150   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Malinda Ray                                                Check all that apply.
          601 S. Dorset Rd.                                             Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4151   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Colleen Raynewater                                         Check all that apply.
          21368 BEACHWOOD DR                                            Contingent
          ROCKY RIVER, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4152   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Angela Razidlo                                             Check all that apply.
          5938 Galleon Court                                            Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4153   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Melissa Read                                               Check all that apply.
          8594 Baker Ave                                                Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4154   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Colleen Ready                                              Check all that apply.
          7563 Red Fox Trail                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4155   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Patrick Reagan                                             Check all that apply.
          13902 Sweetbriar Ln                                           Contingent
          Novelty, OH 44072                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4156   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Kelley Ream                                                Check all that apply.
          2438 OLDE FARM LN                                             Contingent
          HUDSON, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4157   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Erin Reaper                                                Check all that apply.
          2278 Jesse Dr                                                 Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4158   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Kate Reber                                                 Check all that apply.
          6164 Burr Oak Way                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4159   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Kate Reber                                                 Check all that apply.
          6164 Burr Oak Way                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4160   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Michelle Recker                                            Check all that apply.
          4769 E wood duck ct                                           Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4161   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Samantha Reda                                              Check all that apply.
          8539 Oak Village Blvd                                         Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4162   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Alice Redd                                                 Check all that apply.
          1700 Beckwith Drive                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4163   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00     $325.00
          Harish Reddy                                               Check all that apply.
          5661 Gadston way                                              Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4164   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00     $340.00
          Andrea Reed                                                Check all that apply.
          13994 E. Willard Rd.                                          Contingent
          Novelty, OH 44072                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4165   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,298.00    $1,298.00
          Brittany Reed                                              Check all that apply.
          1342 Mckaig 1342mckaig                                        Contingent
          troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4166   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00     $810.00
          Brittany Reed                                              Check all that apply.
          1342 Mckaig 1342mckaig                                        Contingent
          troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4167   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Eileen Reed                                                Check all that apply.
          464 Whitman Blvd                                              Contingent
          elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4168   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Joe Reed                                                   Check all that apply.
          8265 Kristin Ct.                                              Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4169   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Stacy Reed                                                 Check all that apply.
          8116 Saddleback Pl                                            Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4170   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Tonya Reed                                                 Check all that apply.
          413 Superior St                                               Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4171   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Kendra Reeg                                                Check all that apply.
          5611 Deerborn Ave                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4172   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Joanna Reese                                               Check all that apply.
          6640 Westpoint Drive                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4173   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Kimberly Reese                                             Check all that apply.
          11950 Abbey Road                                              Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4174   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Michelle Reese                                             Check all that apply.
          25434 Wimbledon Rd.                                           Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4175   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Catherine Reesman                                          Check all that apply.
          5409 Banbury Dr                                               Contingent
          Columbus, OH 43235                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4176   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Mary Reeves                                                Check all that apply.
          2018 Levelgreen Dr                                            Contingent
          Columbus, OH 43219                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4177   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Denise Regenbogen                                          Check all that apply.
          4750 Coolbrook Drive                                          Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4178   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Kristine Regula-Ness                                       Check all that apply.
          4334 Huntwicke Court                                          Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4179   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Kelly Reich                                                Check all that apply.
          2534 Blue Heron Drive                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4180   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Christina Reid                                             Check all that apply.
          21 Kenton Road                                                Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4181   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          M Reider                                                   Check all that apply.
          2321 North Park Boulevard -                                   Contingent
          Cleveland Heights, OH 44106                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4182   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Carol Reidy                                                Check all that apply.
          411 Peppertree ln                                             Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4183   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Kristy Reifinger                                           Check all that apply.
          576 Riverside Dr                                              Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4184   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Amber Reigelsperger                                        Check all that apply.
          325 Dye Mill Rd                                               Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4185   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Karen Reinart                                              Check all that apply.
          20980 Morewood Pkwy                                           Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4186   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Angela Reineck                                             Check all that apply.
          4534 E Laurel Ridge Dr                                        Contingent
          Port Clinton, OH 43452-4005                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4187   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Cheryl Reineke                                             Check all that apply.
          1820 Silver Creek Dr                                          Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4188   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Jill Reiter                                                Check all that apply.
          697 Dogwood Lane                                              Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4189   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Beth Reitz                                                 Check all that apply.
          131 Woodview Drive                                            Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4190   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Thomas Rembowski                                           Check all that apply.
          4851 Persimmon Lane                                           Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4191   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          James Reminder                                             Check all that apply.
          10570 Fincherie Dr                                            Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4192   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Carolyn Remington                                          Check all that apply.
          8325 Sumner Rd.                                               Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4193   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          LIHONG REN                                                 Check all that apply.
          2350 Twickenham Dr                                            Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4194   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Jordan Renna                                               Check all that apply.
          144 Keswick Dr.                                               Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4195   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Dan Renner                                                 Check all that apply.
          8140 Edgerton Road                                            Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4196   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Gary Rensi                                                 Check all that apply.
          6049 MANSHIRE COURT                                           Contingent
          GALLOWAY, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4197   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Michelle Renton                                            Check all that apply.
          939 riverbend ave                                             Contingent
          powell, OH 43065                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4198   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Michelle Renton                                            Check all that apply.
          939 riverbend ave                                             Contingent
          powell, OH 43065                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4199   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Daniel Renz                                                Check all that apply.
          5737 Bonaly Court                                             Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4200   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Kate Repola                                                Check all that apply.
          1550 Sanford Street                                           Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4201   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Kristen Reppeto                                            Check all that apply.
          325 Forest Edge Dr                                            Contingent
          South Lebanon, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4202   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Debra Reske                                                Check all that apply.
          6041 Heather Lane                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4203   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Nicki Resko                                                Check all that apply.
          7911 Cemetery Rd                                              Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4204   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Gregory Resnick                                            Check all that apply.
          2404 Allen Blvd                                               Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4205   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Judy Ressler                                               Check all that apply.
          6264 Stonewood Lane                                           Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4206   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Kara Restorick                                             Check all that apply.
          5252 Tyner Ave NW                                             Contingent
          Canton, OH 44708                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4207   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Tricia Retallick                                           Check all that apply.
          15085 Steelhead Run                                           Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4208   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Kara Reutter                                               Check all that apply.
          10776 Ellison creek dr                                        Contingent
          Concors, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4209   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Heather Reynolds                                           Check all that apply.
          9622 Lasalle Lane                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4210   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Nicole Reynolds                                            Check all that apply.
          5834 Lake Rd                                                  Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4211   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Patrice Reynolds                                           Check all that apply.
          11300 Palmer Lane                                             Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4212   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Victoria Reznik                                            Check all that apply.
          9279 HELEN LN TWINSBURG                                       Contingent
          TWINSBURG                                                     Unliquidated
          TWINSBURG, OH 44087                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4213   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Tonya Reznor                                               Check all that apply.
          826 Branford Rd                                               Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4214   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Heidi Rhoades                                              Check all that apply.
          1512 S Main St                                                Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4215   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Victoria Rhoades                                           Check all that apply.
          429 Cherrywood Lane                                           Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4216   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Andrea Rhodes                                              Check all that apply.
          71 parmelee dr                                                Contingent
          hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4217   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Kelli Rhyan                                                Check all that apply.
          954 Chara Lane                                                Contingent
          Columbus, OH 43240                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4218   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Adrian Ribovich                                            Check all that apply.
          7988 Princewood Drive                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4219   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Tiffany Ricci                                              Check all that apply.
          7071 Brightwood Dr.                                           Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4220   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Christine Rice                                             Check all that apply.
          6091 thunderbird dr                                           Contingent
          Mentor on the lake, OH 44060                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4221   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Nick Rice                                                  Check all that apply.
          8475 roberts rd                                               Contingent
          galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4222   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Judy Rich                                                  Check all that apply.
          7260 Dursley Court                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4223   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Mark Rich                                                  Check all that apply.
          8522 Argee Dr                                                 Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4224   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Jennifer Richard                                           Check all that apply.
          878 Overbrook Ave                                             Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4225   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Brenda Richards                                            Check all that apply.
          9882 High Country Drive                                       Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4226   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Danette Richards                                           Check all that apply.
          342 Plum St.                                                  Contingent
          Fairport Harbor, OH 44077                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4227   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Danette Richards                                           Check all that apply.
          342 Plum St.                                                  Contingent
          Fairport Harbor, OH 44077                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4228   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Danette Richards                                           Check all that apply.
          342 Plum St.                                                  Contingent
          Fairport Harbor, OH 44077                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4229   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Danette Richards                                           Check all that apply.
          342 Plum St.                                                  Contingent
          Fairport Harbor, OH 44077                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4230   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Aaron Richardson                                           Check all that apply.
          6188 Timberbrook Ln                                           Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4231   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $290.00    $290.00
          Brenda Richardson                                          Check all that apply.
          23305 Chagrin Blvd #301s                                      Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4232   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Chevae Richardson                                          Check all that apply.
          24205 East Groveland Road                                     Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4233   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Deryck Richardson                                          Check all that apply.
          4843 Drayton Rd                                               Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4234   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          MARISSA RICHARDSON                                         Check all that apply.
          1871 HICKORY HILL DR                                          Contingent
          COLUMBUS, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4235   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Tonya Rick                                                 Check all that apply.
          5016 Brooksdale Rd                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4236   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Meagan Ricketti-AlGhamdi                                   Check all that apply.
          21621 Detroit                                                 Contingent
          Rocky river, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4237   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Adriana Rickon                                             Check all that apply.
          1731 Arbutus Dr.                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4238   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          JENNIFER Ridgley                                           Check all that apply.
          4546 Huntwicke Dr                                             Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4239   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Jennifer Riegle                                            Check all that apply.
          12320 County Rd 109                                           Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4240   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Mary Riga                                                  Check all that apply.
          3372 Muskopf Ct                                               Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4241   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Colleen Rigo                                               Check all that apply.
          5782 Nearing Circle                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4242   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Beth Riley                                                 Check all that apply.
          23416 E. Baintree RD                                          Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4243   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Cathy Riley                                                Check all that apply.
          6600 Miami Avenue                                             Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4244   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Elizabeth Riley                                            Check all that apply.
          34875 Lakeview Dr.                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4245   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Erica Riley                                                Check all that apply.
          3551 Banyan St. NW                                            Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4246   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Susan Riley                                                Check all that apply.
          1895 Case Western dr. SE                                      Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4247   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Ione Rindler                                               Check all that apply.
          2720 Southside Dr.                                            Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4248   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Brooke Ringler                                             Check all that apply.
          3375 Lake Crest Drive                                         Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4249   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Bridget Rini                                               Check all that apply.
          97 Elm Court                                                  Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4250   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Kimbelry Rinkes                                            Check all that apply.
          13488 Ravenna Road                                            Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4251   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Kathy RiordanPfeifer                                       Check all that apply.
          3560 Kings Post Parkway                                       Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4252   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Candelario Rios                                            Check all that apply.
          12860 Mayfield Road lot 74                                    Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4253   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Jen Rischitelli                                            Check all that apply.
          7604 Bendleton Drive                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4254   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Jen Rischitelli                                            Check all that apply.
          7604 Bendleton Drive                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4255   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Laurel Risko                                               Check all that apply.
          7858 Rutland                                                  Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4256   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Kristy Ristoff                                             Check all that apply.
          152 Cayuga Ave nw                                             Contingent
          Canton, OH 44708                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4257   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Susan Ritt                                                 Check all that apply.
          8230 Yorkshire Dr.                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4258   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          JOSEPH RITTER                                              Check all that apply.
          2088 MAXWELL AVE                                              Contingent
          LEWIS CENTER, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4259   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Brittany Rittgers                                          Check all that apply.
          3009 Seeger Street                                            Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4260   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Michelle Ritz                                              Check all that apply.
          117 Middle Post Pointe                                        Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4261   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Anthony Rivers                                             Check all that apply.
          8842 Crestwater Drive                                         Contingent
          GALLOWAY, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4262   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Marland Rivers                                             Check all that apply.
          3226 Bidlington Dr.                                           Contingent
          Columbus, OH 43224                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4263   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Guadalupe Rizo                                             Check all that apply.
          6615 st AptC112                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4264   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Ali Rizvi                                                  Check all that apply.
          2101 Eton St                                                  Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4265   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Brenda Robbins                                             Check all that apply.
          9900 Nantucket Cove                                           Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4266   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Karen Robejsek                                             Check all that apply.
          8296 Fairfax Drive                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4267   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Christine Roberts                                          Check all that apply.
          7410 Capilano Dr                                              Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4268   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Doug Roberts                                               Check all that apply.
          3724 Stunsail Lane                                            Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4269   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jennifer Roberts                                           Check all that apply.
          7569 Ruth St.                                                 Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4270   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Jennifer Roberts                                           Check all that apply.
          4125 E. Laurel Ridge Drive                                    Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4271   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          John Roberts                                               Check all that apply.
          5481 granada drive                                            Contingent
          mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4272   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Kristina Roberts                                           Check all that apply.
          6086 Wexford Park Dr                                          Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4273   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Maryanne Roberts                                           Check all that apply.
          2623 sandstone path                                           Contingent
          hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4274   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Timothy Roberts                                            Check all that apply.
          606 Sassafras Drive                                           Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4275   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Greg Robertson                                             Check all that apply.
          12 S Hayden Pkwy                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4276   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Deborah Robie                                              Check all that apply.
          12410 Woodin Road                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4277   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Elizabeth Robinette                                        Check all that apply.
          10942 THORESBY CIR NW                                         Contingent
          UNIONTOWN, OH 44685                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4278   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Elizabeth Robinette                                        Check all that apply.
          10942 THORESBY CIR NW                                         Contingent
          UNIONTOWN, OH 44685                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4279   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Elizabeth Robinette                                        Check all that apply.
          10942 THORESBY CIR NW                                         Contingent
          UNIONTOWN, OH 44685                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4280   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Alane Robinson                                             Check all that apply.
          5176 Garmouth Court                                           Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4281   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Emily Robinson                                             Check all that apply.
          1254 Chaucer Pl.                                              Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4282   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Jennifer Robinson                                          Check all that apply.
          8960 North Brown Rd                                           Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4283   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Jennifer Robinson                                          Check all that apply.
          134 Chadbourne drive                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4284   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Kristen Robinson                                           Check all that apply.
          1887 Norton road                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4285   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Porche Robinson                                            Check all that apply.
          10790 Ravenna Road Apartment                                  Contingent
          204                                                           Unliquidated
          Twinsburg, OH 44087                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4286   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Susan Robinson                                             Check all that apply.
          1033 orchard ln                                               Contingent
          Broadview hts, OH 44147                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4287   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Wanda Robinson                                             Check all that apply.
          1977 Eton st                                                  Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4288   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Jose Rocha                                                 Check all that apply.
          112 First Street                                              Contingent
          Addyston, OH 45001                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4289   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Lora Rocha                                                 Check all that apply.
          112 first street                                              Contingent
          Addyston, OH 45001                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4290   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $940.00    $940.00
          Gretchen Roche                                             Check all that apply.
          217 Meadow View Dr                                            Contingent
          Powell, OH 43065                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4291   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Raquel Roddy                                               Check all that apply.
          2525 Middleton Road                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4292   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Alina Rodean                                               Check all that apply.
          5562 Weston Trail Drive                                       Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4293   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Stephanie Rodenbaugh                                       Check all that apply.
          4944 Vicksburg Court                                          Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4294   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Jennifer Rodriguez                                         Check all that apply.
          13685 RADCLIFFE RD                                            Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4295   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Michael Rodriguez                                          Check all that apply.
          6702 Dunheath Circle                                          Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4296   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Christine Roeder                                           Check all that apply.
          5740 Primavera Drive                                          Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4297   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Amy Roediger                                               Check all that apply.
          10375 Wilder Rd                                               Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4298   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Markus Roessler                                            Check all that apply.
          1466 Groton Drive                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4299   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Jason Rogers                                               Check all that apply.
          2777 Hickorywood Dr                                           Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4300   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Ryan Rogers                                                Check all that apply.
          7027 Foxcroft Place                                           Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4301   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Tonia Rohlfs                                               Check all that apply.
          2901 Red Oak Circle                                           Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4302   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $30.00    $30.00
          Vanessa Rollins                                            Check all that apply.
          909 north main st                                             Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4303   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Jessica Roman                                              Check all that apply.
          3086 Chatham Ct                                               Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4304   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Jeanne Romani                                              Check all that apply.
          7677 Winding Way                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4305   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Trisha Romano                                              Check all that apply.
          756 Ashbrooke Way                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4306   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Katharine Romell                                           Check all that apply.
          380 Elmwood Rd.                                               Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4307   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Kathryn Romo                                               Check all that apply.
          7967 Meloria Lane                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4308   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Danielle Romstadt                                          Check all that apply.
          12831 N. Star Dr.                                             Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4309   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Chris Rooney                                               Check all that apply.
          34885 McAfee Dr                                               Contingent
          Solon, OH 44139-1743                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4310   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Carrie Roose                                               Check all that apply.
          6572 Inland Shores Drive                                      Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4311   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Mary Beth Root                                             Check all that apply.
          709 Norbury Dr                                                Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4312   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Tim Root                                                   Check all that apply.
          7531 Akins Rd.                                                Contingent
          North Royaltom, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4313   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Doris Roque                                                Check all that apply.
          7059 Dawson Rd #15                                            Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4314   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Angi Rosa                                                  Check all that apply.
          1151 delverne Ave sw                                          Contingent
          Canton, OH 44710                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4315   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Cammi Rose                                                 Check all that apply.
          4580 Kriggsby Blvd                                            Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4316   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Margaret Rose                                              Check all that apply.
          5402 Links Road                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4317   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jennifer Roseberry                                         Check all that apply.
          8011 Greenridge Ct                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4318   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $230.00    $230.00
          Lisa Rosebrock                                             Check all that apply.
          2955 Daleford Drive                                           Contingent
          Toledo, OH 43614                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4319   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Jeffrey Rosen                                              Check all that apply.
          39780 Patterson Lane                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4320   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Angela Rosenberg                                           Check all that apply.
          6143 Paderborne Dr.                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4321   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Angela Rosenberg                                           Check all that apply.
          6143 Paderborne Dr.                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4322   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Jessica Rosenblitt                                         Check all that apply.
          25119 Wimbledon RD                                            Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4323   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Anna Rosenfeld                                             Check all that apply.
          26091 Shaker Blvd                                             Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4324   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Arthur Rosenfeld                                           Check all that apply.
          25010 Duffield RD                                             Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4325   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $230.00    $230.00
          Jennifer Rosenthal                                         Check all that apply.
          1010 Richland St                                              Contingent
          Maumee, OH 43537                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4326   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Lisa Rosenthal                                             Check all that apply.
          10379 Andover Dr.                                             Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4327   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Barbara Ross                                               Check all that apply.
          425 oneida ave nw                                             Contingent
          Canton, OH 44708                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4328   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Bernadine Ross                                             Check all that apply.
          8255 Mentor Ave                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4329   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Brian Ross                                                 Check all that apply.
          7396 S Meadow Dr                                              Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4330   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Lori Ross                                                  Check all that apply.
          1899 Canal Rd                                                 Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4331   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Mike Ross                                                  Check all that apply.
          157 Cheshire Road                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4332   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Tom Ross                                                   Check all that apply.
          8515 Johnnycake Ridge Road                                    Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4333   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Amy Rothenfeld                                             Check all that apply.
          34800 Forest Lane                                             Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4334   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Angela Roumie                                              Check all that apply.
          344 Cheshire Rd                                               Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4335   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          MaryKay Rouse                                              Check all that apply.
          19310 Riverwood Avenue                                        Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4336   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          David Roush                                                Check all that apply.
          23013 Beachwood Blvd                                          Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4337   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Renee Roush                                                Check all that apply.
          3672 Wood Trail Drive                                         Contingent
          Mason, OH 45040                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4338   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Jennifer Rovito                                            Check all that apply.
          18988 Mitchell Ave                                            Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4339   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Kimberly Rowan                                             Check all that apply.
          6540 Edward Street                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4340   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Alka Roy                                                   Check all that apply.
          34685 seminole way                                            Contingent
          solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4341   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Cori Royer                                                 Check all that apply.
          8749 SURREY PL                                                Contingent
          MAINEVILLE, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4342   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Ginny Royko                                                Check all that apply.
          7010 Sturbridge Drive                                         Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4343   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Ginny Royko                                                Check all that apply.
          7010 Sturbridge Drive                                         Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4344   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Judith Rozic                                               Check all that apply.
          12820 Big Creek Ridge Dr                                      Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4345   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Holly Rubin                                                Check all that apply.
          128 N. Hayden Pkwy.                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4346   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Jeffrey Rubinski                                           Check all that apply.
          8125 Belle Vernon Drive                                       Contingent
          Novelty, OH 44072                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4347   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $700.00    $700.00
          Kelly Ruble                                                Check all that apply.
          509 Woodland Drive                                            Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4348   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $475.00    $475.00
          STEPHANIE RUCKMAN                                          Check all that apply.
          262 CALAHAN RD                                                Contingent
          Columbus, OH 43123                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4349   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Matthew Rudd                                               Check all that apply.
          11249 Lake Forest Drive                                       Contingent
          Chesterland, OH 44026-1334                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4350   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Tina Rudisell                                              Check all that apply.
          105 Western Ridge Dr                                          Contingent
          cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4351   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Pamela Rudler                                              Check all that apply.
          139 Sandstone Drive                                           Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4352   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Michael Rudolph                                            Check all that apply.
          13939 caves rd                                                Contingent
          Novelty, OH 44072                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4353   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Yvonne Rudolph                                             Check all that apply.
          8876 oakbrook circle                                          Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4354   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Amy Ruebsteck                                              Check all that apply.
          18613 E. Shoreland Ave.                                       Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4355   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Eric Ruedrich                                              Check all that apply.
          446 Fairgrounds Rd                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4356   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Donna Ruffer                                               Check all that apply.
          2827 Park Dr S                                                Contingent
          Silver Lake, OH 44224                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4357   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Tracy Ruffner                                              Check all that apply.
          10272 Forestwood Ln                                           Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4358   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Janelle Ruhe                                               Check all that apply.
          4500 Dublin RD SPC 451                                        Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4359   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Maria Ruiz                                                 Check all that apply.
          2697 tylersville rd                                           Contingent
          Hamilton, OH 45015                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4360   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Jeff Rumbarger                                             Check all that apply.
          10715 buckingham                                              Contingent
          concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4361   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Jennifer Runals                                            Check all that apply.
          3344 Anchorage Ln                                             Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4362   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Megan Runion                                               Check all that apply.
          205 N Main Street                                             Contingent
          Van Buren, OH 45889                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4363   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Elise Runyon                                               Check all that apply.
          7820 Holderman St                                             Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4364   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Bethany Rupert                                             Check all that apply.
          3461 Mark Twain Drive                                         Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4365   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Laurelin Rupert                                            Check all that apply.
          4407 Sherwood Drive                                           Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4366   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          LISA RUPERT                                                Check all that apply.
          8247 FAIRFAX DRIVE                                            Contingent
          MENTOR, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4367   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Daniel Rupnow                                              Check all that apply.
          314 Chardon ave                                               Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4368   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Daniel Rupnow                                              Check all that apply.
          314 Chardon ave                                               Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4369   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Stacy Rus                                                  Check all that apply.
          9655 Oxford Glen Dr                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4370   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Jillian Rush                                               Check all that apply.
          1428 Peach Blossom Ct                                         Contingent
          Columbus, OH 43204                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4371   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Kathy Russ                                                 Check all that apply.
          6320 Dawson Blvd                                              Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4372   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $500.00    $500.00
          Donna Russell                                              Check all that apply.
          12875 Pyle South Amherst Road                                 Contingent
          Oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4373   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Sarah Russell                                              Check all that apply.
          85 kensington oval                                            Contingent
          Rocky river, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4374   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $330.00    $330.00
          Shannon Russell                                            Check all that apply.
          2954 ERIN CT                                                  Contingent
          LOVELAND, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4375   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Shannon Russell                                            Check all that apply.
          5919 Birchwood Dr                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4376   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Kara Russo                                                 Check all that apply.
          3175 Kaylyn Ln                                                Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4377   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $475.00    $475.00
          Jessica Rutan                                              Check all that apply.
          3188 Prairie Gardens Dr                                       Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4378   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Beth Rutkowski                                             Check all that apply.
          97 E Belmeadow Ln                                             Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4379   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Amy Rutledge                                               Check all that apply.
          7662 crimson court                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4380   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Jenna Rutt                                                 Check all that apply.
          21135 Southwood Drive                                         Contingent
          Fairview Park, OH 44126                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4381   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Melissa Rutter                                             Check all that apply.
          518 Hinderer Ave Sw                                           Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4382   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          IWONA RUZYCKI                                              Check all that apply.
          6400 CENTER ST.#16 MENTOR                                     Contingent
          OHIO, OH 44060                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4383   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Anne Ryan                                                  Check all that apply.
          3770 Kilbride Ct                                              Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4384   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Dawn Ryan                                                  Check all that apply.
          7486 Ohio St                                                  Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4385   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Denise Ryan                                                Check all that apply.
          2272 Croydon Road                                             Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4386   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Gail Ryan                                                  Check all that apply.
          32840 Pettibone Rd                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4387   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Kelly Ryan                                                 Check all that apply.
          14024 Leroy Center Road                                       Contingent
          Leroy, OH 44077                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4388   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Michelle Ryan                                              Check all that apply.
          281 Harwood Street                                            Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4389   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Natalya Rymko                                              Check all that apply.
          6554 Glenallen Avenue                                         Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4390   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Vikki Rzepka                                               Check all that apply.
          31940 Tracy Lane                                              Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4391   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Shawn Rzeszut                                              Check all that apply.
          2111 PRESIDENTIAL #20                                         Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4392   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Daniela Sa                                                 Check all that apply.
          4816 Lake View Dr.                                            Contingent
          Peninsula, OH 44264                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4393   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Yolla Saad                                                 Check all that apply.
          18501 hilliard blvd. apt.302                                  Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4394   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Nicole Sabatini                                            Check all that apply.
          8615 Mansion blvd                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4395   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Scott Saber                                                Check all that apply.
          7434 St John Ct                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4396   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Tammy Sadler                                               Check all that apply.
          5949 Brewster Drive                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4397   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Brenda Sage                                                Check all that apply.
          12245 S Wintergreen Dr                                        Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4398   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Traci Sage                                                 Check all that apply.
          30 Jefferson Drive                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4399   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Jamie Sagrilla                                             Check all that apply.
          5559 Maple Dell Court                                         Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4400   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Anjana Sahu                                                Check all that apply.
          9607 Greenery Court                                           Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4401   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Ammara Saiyoeun                                            Check all that apply.
          2097 Steffi Dr                                                Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4402   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Sarine Saiyoeun                                            Check all that apply.
          2097 Steffi Dr                                                Contingent
          hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4403   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Donna Sakony                                               Check all that apply.
          10054 Bissell Dr.                                             Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4404   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Kamel Salaani                                              Check all that apply.
          5557 Royal Dublin dr                                          Contingent
          dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4405   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Edgar Saldana                                              Check all that apply.
          1285 Wilhoit Ave                                              Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4406   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Uzma Saleem                                                Check all that apply.
          4902 Princess Diana Ct.                                       Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4407   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $230.00    $230.00
          Kathi Saleh                                                Check all that apply.
          1777 Parkway S                                                Contingent
          Maumee, OH 43537                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4408   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Christine Saley                                            Check all that apply.
          8214 Eastmoor Rd                                              Contingent
          Mentor, OH 44060-7512                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4409   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Tracey Salinas                                             Check all that apply.
          4545 Kriggsby Blvd                                            Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4410   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Dolores Salisbury                                          Check all that apply.
          233 South Hambden Street                                      Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4411   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Marie-Noelle Sallaberry                                    Check all that apply.
          7461 Davis Road                                               Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4412   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Jenny Salyer                                               Check all that apply.
          926 Hilltop Dr                                                Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4413   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Kelly Samardzija                                           Check all that apply.
          564 water st apt 231                                          Contingent
          chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4414   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Nandhini Sambandan                                         Check all that apply.
          35650 Sedge Circle                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4415   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Marcus Sampson                                             Check all that apply.
          6736 Trafalgar Loop                                           Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4416   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $500.00    $500.00
          Alba Sanchez                                               Check all that apply.
          86 berger ct                                                  Contingent
          oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4417   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Nadya Sanchez                                              Check all that apply.
          33180 E Nimrod st                                             Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4418   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Omar Sanchez                                               Check all that apply.
          2200 Omaha place                                              Contingent
          LEWIS CENTER, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4419   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Todd Sandberg                                              Check all that apply.
          608 Denmoor Ct                                                Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4420   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Amy Sander                                                 Check all that apply.
          6416 Walden Ponds Cir                                         Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4421   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Steve Sander                                               Check all that apply.
          7791 Rhumba Dr                                                Contingent
          North Bend, OH 45052                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4422   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Rochelle Sanders                                           Check all that apply.
          7555 Pinecrest Lane                                           Contingent
          Glenwillow, OH 44139                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4423   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Samantha Sanders                                           Check all that apply.
          1033 Shawhan Road                                             Contingent
          Morrow, OH 45152                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4424   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Jasmin Sandhu                                              Check all that apply.
          2831 Jessica Court                                            Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4425   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Nicole Sandor                                              Check all that apply.
          5310 RED FLOWER LN                                            Contingent
          SOUTH LEBANON, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4426   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Joel Sandrey                                               Check all that apply.
          7474 Belvedere dr                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4427   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Michael Sandy                                              Check all that apply.
          20099 parklane dr                                             Contingent
          rocky river, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4428   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Kari Sanford                                               Check all that apply.
          19343 Laurel Ave                                              Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4429   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Shivankari Sanjeevan                                       Check all that apply.
          36900 Pepper Dr                                               Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4430   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Steven Sanker                                              Check all that apply.
          10335 old state rd 9079 ravenna Rd                            Contingent
          chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4431   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Holly SantaMaria                                           Check all that apply.
          11531 Hosford Road                                            Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4432   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Bethany Santavicca                                         Check all that apply.
          5854 Buckeye Ln. Apt #12                                      Contingent
          Mentor on the lake, OH 44060                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4433   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Stacie Santiago                                            Check all that apply.
          701 S Stanfield Rd Apt 184                                    Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4434   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Lori Sarkisian                                             Check all that apply.
          1460 Winchell Drive                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4435   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Lori Sarver                                                Check all that apply.
          24611 South Woodland Rd.                                      Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4436   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Amy Sassano                                                Check all that apply.
          8809 camelot drive                                            Contingent
          chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4437   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Cindi Satayathum                                           Check all that apply.
          19535 Argyle Oval                                             Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4438   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Mark Sattele                                               Check all that apply.
          1671 Goodland Dr                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4439   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Sekhar Satyawada                                           Check all that apply.
          427 Carrington Ln                                             Contingent
          Broadview Hts, OH 44147                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4440   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Jodi Sauerwein                                             Check all that apply.
          208 newpine drive                                             Contingent
          cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4441   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Jessica Saunders                                           Check all that apply.
          9164 Akins Road                                               Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4442   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Daniel Savitt                                              Check all that apply.
          3087 Abrams Dr                                                Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4443   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Desera Savochka                                            Check all that apply.
          11005 Leader Rd                                               Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4444   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jennifer Savor                                             Check all that apply.
          7558 Ruth St                                                  Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4445   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $90.00    $90.00
          Bill Savory                                                Check all that apply.
          726 terex rd                                                  Contingent
          hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4446   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Darla Sawicki                                              Check all that apply.
          7650 Yennicook Way                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4447   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Mary Sawyer                                                Check all that apply.
          2829 Gasser Blvd                                              Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4448   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Kami Sayre                                                 Check all that apply.
          2348 East Sand Road                                           Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4449   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Trisha Sayre                                               Check all that apply.
          5950 Paron Place                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4450   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Michael Scafe                                              Check all that apply.
          7261 Stow Rd.                                                 Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4451   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Francesca Scafidi                                          Check all that apply.
          11525 Bass Lake Road                                          Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4452   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Anne Scalabrino                                            Check all that apply.
          20863 Avalon Drive                                            Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4453   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          John Schaefer                                              Check all that apply.
          11760 Regent Park Dr.                                         Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4454   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          April Schalk                                               Check all that apply.
          8807 south Jefferson st.                                      Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4455   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Amy Scharf                                                 Check all that apply.
          14094 Sweetbriar Lane                                         Contingent
          Novelty, OH 44072                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4456   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          AnneMarie Scharfenort                                      Check all that apply.
          9854 Royal Valley Drive                                       Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4457   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Megan Scharville                                           Check all that apply.
          61 Jefferson Drive                                            Contingent
          Hudson, OH 44326                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4458   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Erica Schatz                                               Check all that apply.
          215 Green Oak Dr                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4459   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Erica Schatz                                               Check all that apply.
          215 Green Oak Dr                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4460   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Barbara Schauer                                            Check all that apply.
          8425 Sanctuary Dr Mentor                                      Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4461   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Barbara Schauer                                            Check all that apply.
          8425 Sanctuary Dr Mentor                                      Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4462   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Mark Schecter                                              Check all that apply.
          1370 county line rd                                           Contingent
          gates mills, OH 44040                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4463   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Valerie Scheibeck                                          Check all that apply.
          2101 Coldharbor Ct                                            Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4464   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Tracy Scheid                                               Check all that apply.
          9895 Tudor place                                              Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4465   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Suzanne Schenkenberger                                     Check all that apply.
          162 South Main Street                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4466   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Catherine Scherer                                          Check all that apply.
          33521 North Burr Oak Drive                                    Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4467   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Alexandra Schiefferle                                      Check all that apply.
          20797 Morewood Pkwy                                           Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4468   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Suzy Schilling                                             Check all that apply.
          518 Pennsylvania Ave.                                         Contingent
          Troy, OH 45380-9319                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4469   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Kristen Schiopota                                          Check all that apply.
          11143 Heritage Dr                                             Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4470   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Brenda Schlabach                                           Check all that apply.
          4816 trafalgar st sw                                          Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4471   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Chad Schmid                                                Check all that apply.
          10773 York RD                                                 Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4472   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Susie Schmid                                               Check all that apply.
          6516 Canterbury Drive                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4473   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Amy Schmidt                                                Check all that apply.
          5519 Kings View Ct                                            Contingent
          Kings Mills, OH 45034                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4474   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Kelly Schmidt                                              Check all that apply.
          9468 Wildwood Drive                                           Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4475   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Robert Schmidt                                             Check all that apply.
          53 Binns Blvd                                                 Contingent
          Columbus, OH 43204                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4476   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Shawn and Ellie Schmidt                                    Check all that apply.
          1058 Twp Rd 179 43311                                         Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4477   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Raymond Schmitz                                            Check all that apply.
          6037 Indian Trace Dr.                                         Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4478   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Tracey Schneeman                                           Check all that apply.
          10014 Ravenna rd                                              Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4479   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Catherine Schneider                                        Check all that apply.
          125 Senlac Hills Drive                                        Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4480   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jennifer Schneider                                         Check all that apply.
          4961 glenlodge rd                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4481   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Keith Schneider                                            Check all that apply.
          960 ashbrooke way                                             Contingent
          hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4482   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Amy Schnipke                                               Check all that apply.
          4377 Schirtzinger Rd.                                         Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4483   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jackie Schonauer                                           Check all that apply.
          6235 Cedarwood Rd                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4484   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Rebecca School                                             Check all that apply.
          7269 Selworthy Lane                                           Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4485   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          WGMS School                                                Check all that apply.
          8611 Cedar Rd.                                                Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4486   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $500.00    $500.00
          JoElla Schrader                                            Check all that apply.
          526 W College St #32                                          Contingent
          Oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4487   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Rosemary Schramm                                           Check all that apply.
          113 1/2 W. Sixth Street                                       Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4488   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Robert Schreckengost                                       Check all that apply.
          823 Earl Rd Nw                                                Contingent
          Massillon, OH 44647                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4489   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Kim Schrode                                                Check all that apply.
          13825 Montclair DR.                                           Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4490   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Joy Schroeder                                              Check all that apply.
          2620 Myrick Lane                                              Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4491   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Christa Schroer                                            Check all that apply.
          11875 township rd 114                                         Contingent
          Van Buren, OH 45889                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4492   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Amy Schroff                                                Check all that apply.
          7492 Hill Gail Ct                                             Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4493   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Laura Schroth                                              Check all that apply.
          21860 Crossbeam Lane                                          Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4494   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Brian Schuckman                                            Check all that apply.
          1240 Ascot Dr                                                 Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4495   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Sara Schuerger                                             Check all that apply.
          6215 Magnolia Dr.                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4496   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Carol Schuler                                              Check all that apply.
          5974 Pinto Pass Dr                                            Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4497   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Mary Schultz                                               Check all that apply.
          10242 Andover Dr                                              Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4498   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Peggy Schultz                                              Check all that apply.
          7215 Sowul Dr.                                                Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4499   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Sandy Schultz                                              Check all that apply.
          11597 Forestview Dr                                           Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4500   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jamie Schulz                                               Check all that apply.
          7923 Walcott Way                                              Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4501   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Robert Schulz                                              Check all that apply.
          12259 Caves                                                   Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4502   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          William Schumacher                                         Check all that apply.
          1647 Cedar Knoll St. NW                                       Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4503   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Stephanie Schumaker                                        Check all that apply.
          5896 Thorngate Dr.                                            Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4504   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Stacy Schurman                                             Check all that apply.
          2251 Victoria Parkway                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4505   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Angela Schuster                                            Check all that apply.
          154 Canterbury Road                                           Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4506   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Traci Schutte                                              Check all that apply.
          1619 Ramblewood Ave                                           Contingent
          Columbus, OH 43235                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4507   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Sarah Schwallie                                            Check all that apply.
          5611 Oakvista Drive                                           Contingent
          Cincinnati, OH 45227                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4508   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Dawn Schwartz                                              Check all that apply.
          251 Symmes Rd                                                 Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4509   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Gary Schwartz                                              Check all that apply.
          12006 waywood dr                                              Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4510   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Shelly Schwarz                                             Check all that apply.
          10095 Foxwood Dr                                              Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4511   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Cara Schweikert                                            Check all that apply.
          8589 Kelso Dr                                                 Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4512   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Jodie Schweitzer                                           Check all that apply.
          6368 Youngland Drive                                          Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4513   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Amy Schweizer                                              Check all that apply.
          523 Highland Ave SW                                           Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4514   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Melissa Schwieterman                                       Check all that apply.
          4873 claymill drive                                           Contingent
          hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4515   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Nomeke Scordos                                             Check all that apply.
          1466 Bell Rd.                                                 Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4516   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jenna Scotese                                              Check all that apply.
          7520 Jasani Ct                                                Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4517   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Adriana Scott                                              Check all that apply.
          953 N Eagle Beach Circle                                      Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4518   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Amanda Scott                                               Check all that apply.
          898 Evergreen Park Lane                                       Contingent
          Lebanon, OH 45036                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4519   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Carrie Scott                                               Check all that apply.
          3826 Farm Brook Ln                                            Contingent
          Columbus, OH 43204-1572                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4520   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Cindy Scott                                                Check all that apply.
          3825 W Surrey Ct                                              Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4521   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Heather Scott                                              Check all that apply.
          615 Jackson Ave NW                                            Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4522   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Jeff Scott                                                 Check all that apply.
          2104 Pleasant Colony Drive                                    Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4523   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Jill Scott                                                 Check all that apply.
          13135 Chillicothe Rd                                          Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4524   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Natalie Scott                                              Check all that apply.
          2441 Limestone Way                                            Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4525   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Shannon Scott                                              Check all that apply.
          872 Phillips RD NE                                            Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4526   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Michelle Sculli                                            Check all that apply.
          5497 Brixston Ct                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4527   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Amber Scully                                               Check all that apply.
          4661 Anthony Wayne                                            Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4528   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Katie Seabeck                                              Check all that apply.
          12271 Meredith Ln                                             Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4529   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Audra Seaman                                               Check all that apply.
          4053 Hickory View Drive                                       Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4530   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Christina Sears                                            Check all that apply.
          145 Hamilton St                                               Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4531   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Michelle Secic                                             Check all that apply.
          9685 Campton Ridge Drive                                      Contingent
          CHARDON, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4532   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Danielle Sedam                                             Check all that apply.
          1719 Saratoga Dr                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4533   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Heather See                                                Check all that apply.
          8392 Union Dr                                                 Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4534   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          NIcole Seger                                               Check all that apply.
          1371 Winchester Dr                                            Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4535   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          NIcole Seger                                               Check all that apply.
          1371 Winchester Dr                                            Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4536   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Elise Seifert                                              Check all that apply.
          5849 North Oval                                               Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4537   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Mike Seifert                                               Check all that apply.
          7655 Salem Drive                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4538   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Rachael Seifert                                            Check all that apply.
          35027 Quartermane Circle                                      Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4539   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Julie Seitz                                                Check all that apply.
          10271 Belmeadow Drive                                         Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4540   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Stefanie Sekas                                             Check all that apply.
          2040 Merrimont Drive                                          Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4541   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Holli Seliskar                                             Check all that apply.
          7682 Pinehurst Drive                                          Contingent
          Mentor on the Lake, OH 44060                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4542   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Dawn Sell                                                  Check all that apply.
          5515 east heisley road                                        Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4543   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Justin Sell                                                Check all that apply.
          5560 Kinvarra Ct                                              Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4544   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Nickol Sell                                                Check all that apply.
          34600 Cannon Rd                                               Contingent
          Solon, OH 44139-1720                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4545   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Janelle Sellet                                             Check all that apply.
          3739 Indian Brave Trl                                         Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4546   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Jamie Semler                                               Check all that apply.
          9160 Auburn Road                                              Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4547   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Cheryl Senger                                              Check all that apply.
          8352 State Rd                                                 Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4548   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Min Seo                                                    Check all that apply.
          5230 towbridge dr                                             Contingent
          hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4549   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Liz Sesar                                                  Check all that apply.
          8830 Dusty Lane                                               Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4550   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Liz Sesar                                                  Check all that apply.
          8830 Dusty Lane                                               Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4551   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $330.00    $330.00
          Melissa Settle                                             Check all that apply.
          460 Sunset Drive                                              Contingent
          South Lebanon, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4552   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Kristina Severino                                          Check all that apply.
          7144 Maple St. Unit A                                         Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4553   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Leslie Severino                                            Check all that apply.
          8118 Broadmoor Rd                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4554   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Erica Sevilla                                              Check all that apply.
          2848 Pleasantdale Drive                                       Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4555   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Steven Sewall                                              Check all that apply.
          9403 harrison rd                                              Contingent
          wakeman, OH 44889                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4556   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Aminda Seymour                                             Check all that apply.
          46 Town Ct.                                                   Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4557   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Laura Sfikas                                               Check all that apply.
          5225 Hollister St.                                            Contingent
          Columbus, OH 43235                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4558   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Lara Shadowens                                             Check all that apply.
          6340 Firestone dr                                             Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4559   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Amanda Shaffer                                             Check all that apply.
          20 Fox Harbor Dr                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4560   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Kelly Shaffer                                              Check all that apply.
          1930 Ridge Meadow Ct.                                         Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4561   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Melissa Shaffer                                            Check all that apply.
          6960 Rings Rd                                                 Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4562   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Suzanne Shaft                                              Check all that apply.
          3171 Evans Way                                                Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4563   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Amisha Shah                                                Check all that apply.
          5826 Fieldcrest Dr                                            Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4564   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Brian Shamblin                                             Check all that apply.
          10035 north surfside circl                                    Contingent
          Aurora, OH 44202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4565   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Jerry Shamblin                                             Check all that apply.
          11640 York Rd                                                 Contingent
          north Royalton, OH 44113                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4566   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Deborah Shandersky                                         Check all that apply.
          427 Old Willow Ct.                                            Contingent
          South Lebaon, OH 45065                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4567   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Lynn Shandle                                               Check all that apply.
          5980 White Oak Drive                                          Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4568   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Nicole Shaner                                              Check all that apply.
          1511 Lakeview Ave                                             Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4569   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Doranne Shank                                              Check all that apply.
          2802 Lombardi Ave SW                                          Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4570   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Stacia Shanley                                             Check all that apply.
          2972 Middleton Rd.                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4571   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Stephanie Shanower                                         Check all that apply.
          1722 Cadbury St. NW                                           Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4572   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Gina Sharapan                                              Check all that apply.
          2257 Omaha Place                                              Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4573   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Amanda Sharp                                               Check all that apply.
          152 Pine Hollow Circle                                        Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4574   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Meredith Sharp                                             Check all that apply.
          23214 E Baintree Road                                         Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4575   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Aaron Sharpley                                             Check all that apply.
          6576 Glenallen ave                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4576   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Tina Shaulis                                               Check all that apply.
          181 Whaley Rd                                                 Contingent
          Peninsula, OH 44264                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4577   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Brandy Shaw                                                Check all that apply.
          543 Ferndale Ave                                              Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4578   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Patricia Shay                                              Check all that apply.
          8700 Morris Rd                                                Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4579   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Brian Shea                                                 Check all that apply.
          1326 Cedar Creek Ct                                           Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4580   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Jill Sheeketski                                            Check all that apply.
          3898 Woodfield Ct                                             Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4581   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Carla Sheeler                                              Check all that apply.
          9632 e idlewood dr                                            Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4582   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Beverly Shenkel                                            Check all that apply.
          5185 E. Schoolhouse Rd                                        Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4583   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Scott Shepard                                              Check all that apply.
          6857 BlueBird pl                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4584   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Jennifer Shepherd                                          Check all that apply.
          1228 Birchview Dr                                             Contingent
          Vermillion, OH 44089                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4585   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Babette Sherer                                             Check all that apply.
          4492 Darley Court                                             Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4586   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Minerva Sherman                                            Check all that apply.
          9181 Boyer lane                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4587   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Ruth Sherman                                               Check all that apply.
          5457 Tretorn Dr                                               Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4588   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Roza Sheykoleslam                                          Check all that apply.
          10203 alger trail                                             Contingent
          twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4589   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Sara Shields                                               Check all that apply.
          3740 Stunsail Lane Apt/Suite                                  Contingent
          COLUMBUS, OH 43221-4815                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4590   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Sara Shields                                               Check all that apply.
          3740 Stunsail Lane Apt/Suite                                  Contingent
          COLUMBUS, OH 43221-4815                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4591   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Christine Shinkawa                                         Check all that apply.
          212 Greenbrier Drive                                          Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4592   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Christine Shinkawa                                         Check all that apply.
          212 Greenbrier Drive                                          Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4593   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Truda Shinker                                              Check all that apply.
          2226 Bold Venture Dr                                          Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4594   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Galina Shinkevich                                          Check all that apply.
          11500 Somerset dr apt 314 B                                   Contingent
          N. Royalton, OH 44133                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4595   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Linda Shinn                                                Check all that apply.
          3933 Tweedsmuir Drive                                         Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4596   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Lara Shiplett                                              Check all that apply.
          15519 Ethan Trail                                             Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4597   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Lara Shiplett                                              Check all that apply.
          15519 Ethan Trail                                             Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4598   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Kimberly Shock                                             Check all that apply.
          2464 pearson way                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4599   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Dawn Shoda                                                 Check all that apply.
          5684 Primavera Drive                                          Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4600   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Juanita Shoemaker                                          Check all that apply.
          6396 Canastota Dr                                             Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4601   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Jayne Sholtz                                               Check all that apply.
          95 Bellmore St.                                               Contingent
          Painesville Twp., OH 44077                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4602   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Stefanie Shomock                                           Check all that apply.
          5862 Rocky Shore Drive                                        Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4603   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Natalia Shorokhova                                         Check all that apply.
          315 Solon Rd #202                                             Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4604   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Kymber Short                                               Check all that apply.
          566 Maplewood Dr                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4605   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Kim Shovlain                                               Check all that apply.
          6733 Trafalgar Loop                                           Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4606   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Kristen Shovlin                                            Check all that apply.
          380 N. Main Street                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4607   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Stacey Shriver                                             Check all that apply.
          7455 Dahlia Dr.                                               Contingent
          Mentor on the Lake, OH 44060                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4608   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $500.00    $500.00
          Erin Shuck                                                 Check all that apply.
          442 West Lorain Street                                        Contingent
          Oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4609   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Bryan Shulaw                                               Check all that apply.
          1014 heritage court                                           Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4610   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Kim Shullick                                               Check all that apply.
          1289 Hollyview dr.                                            Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4611   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $500.00    $500.00
          Jennifer Shults                                            Check all that apply.
          155 Elm St                                                    Contingent
          Oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4612   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Joe Shults                                                 Check all that apply.
          7028 Wallace Avenue                                           Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4613   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Andrea Shumaker                                            Check all that apply.
          1305 Dakota Rd                                                Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4614   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Jessica Shuman                                             Check all that apply.
          4225 McCurdy Rd                                               Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4615   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $330.00    $330.00
          Melanie Shumate                                            Check all that apply.
          3503 Springlake Cir                                           Contingent
          Loveland, OH 45241                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4616   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Christy Shumway                                            Check all that apply.
          1214 lake ave                                                 Contingent
          Elyria, OH 44035-5001                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4617   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Kathy Shupp                                                Check all that apply.
          2725 zoellners ridge                                          Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4618   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Melinda Shurtz                                             Check all that apply.
          728 Bristol Rd                                                Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4619   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Melinda Shurtz                                             Check all that apply.
          728 Bristol Rd                                                Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4620   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Russ Shuster                                               Check all that apply.
          2540 hampton rd                                               Contingent
          rocky river, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4621   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Tatyana Shuster                                            Check all that apply.
          7198 Longview Drive                                           Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4622   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Stephen Shuttleworth                                       Check all that apply.
          12 Pinewood Lane                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4623   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Dana Shutty                                                Check all that apply.
          9625 Juniper Dr.                                              Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4624   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          David Shvartsman                                           Check all that apply.
          7655 Oak Meadow Dr                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4625   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Holly Sidari                                               Check all that apply.
          11292 worthington way                                         Contingent
          north royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4626   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Jessica Sidoti                                             Check all that apply.
          2686 Tonawanda Dr                                             Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4627   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Karen Siegel                                               Check all that apply.
          22362 Sunnyhill Drive                                         Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4628   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Michael Siegel                                             Check all that apply.
          500 Norwich Drive                                             Contingent
          Broadview Heights, OH 44147                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4629   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          DANIEL SIEGRIST                                            Check all that apply.
          1005 BAYRIDGE DRIVE                                           Contingent
          LEWIS CENTER, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4630   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Noelle Sieradzki                                           Check all that apply.
          7984 Daisy Hill Ct                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4631   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          James Sikula                                               Check all that apply.
          8162 tilby                                                    Contingent
          north royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4632   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Jeannette Silk                                             Check all that apply.
          11282 Nicoles Way                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4633   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Marla Silverstein                                          Check all that apply.
          6162 Penfield Ln                                              Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4634   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Courtney Sim n                                             Check all that apply.
          4500 Astral Dr                                                Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4635   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Tracy Simiele                                              Check all that apply.
          11009 Mayfield Rd                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4636   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Carrie Simmerson                                           Check all that apply.
          32526 Lisa Ln                                                 Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4637   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Kimberly Simmons                                           Check all that apply.
          9727 E Idlewood Dr                                            Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4638   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Michelle Simon                                             Check all that apply.
          4476 Shire Mill Rd                                            Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4639   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Pauline Simonek                                            Check all that apply.
          15161 Ridge Rd.                                               Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4640   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Trenton Simonson                                           Check all that apply.
          1062 Cheltenham Place                                         Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4641   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Brian Simpkins                                             Check all that apply.
          2645 Carmel Dr                                                Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4642   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Ryan Simpson                                               Check all that apply.
          1447 Cummings Blvd                                            Contingent
          Madison, OH 44057                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4643   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Sandra Simpson                                             Check all that apply.
          2153 Jeffey Drive                                             Contingent
          HILLIARD, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4644   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Teri Simpson                                               Check all that apply.
          179 Sandstone Drive                                           Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4645   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $700.00    $700.00
          Tricia Simpson                                             Check all that apply.
          311 West William Street                                       Contingent
          Maumee, OH 43537                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4646   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $712.50    $712.50
          Angel Sims                                                 Check all that apply.
          629 S. Detroit St.                                            Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4647   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Connie Sincaglia                                           Check all that apply.
          132 South Franklin Street                                     Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4648   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Pamela Sinclair                                            Check all that apply.
          37314 Grove Ave. Apt. # 101                                   Contingent
          Willoughby, OH 44094                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4649   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Shona Sinclair                                             Check all that apply.
          11257 Thwing Rd                                               Contingent
          chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4650   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Cody Sines                                                 Check all that apply.
          5015 W SCIOTO DR                                              Contingent
          FAIRFIELD, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4651   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Annie Singer                                               Check all that apply.
          34845 Lakeview Dr.                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4652   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Patricia Singh                                             Check all that apply.
          4281 Bluestone Rd                                             Contingent
          South Euclid, OH 44121                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4653   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Vinita Singh                                               Check all that apply.
          8018 gladshire blvd                                           Contingent
          lewis center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4654   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Gia Singleton                                              Check all that apply.
          36551 Meadowdale                                              Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4655   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Toby Singleton                                             Check all that apply.
          9338 Liberty Rd.                                              Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4656   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Timothy Singo                                              Check all that apply.
          115 Anna Avenue NW                                            Contingent
          Canton, OH 44708                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4657   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Prashant Sinha                                             Check all that apply.
          2957 Seeger St                                                Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4658   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Amy Sirkin                                                 Check all that apply.
          7471 Som Center Road                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4659   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $500.00    $500.00
          Bernadette Sirocky                                         Check all that apply.
          12410 Oberlin Road                                            Contingent
          Oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4660   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Didik Siswantoro                                           Check all that apply.
          683 stark ct                                                  Contingent
          columbus, OH 43210                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4661   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Kelly Sivula                                               Check all that apply.
          11465 Glenmora Drive                                          Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4662   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Kathie Sizemore                                            Check all that apply.
          2613 Foxden Dr                                                Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4663   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Emily Skahen                                               Check all that apply.
          687 Foxwoods Drive                                            Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4664   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Catherine Skalla                                           Check all that apply.
          33121 N Burr Oak Drive                                        Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4665   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Tamika Skanes                                              Check all that apply.
          32300A Monroe CT #201                                         Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4666   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Darci Skidmore                                             Check all that apply.
          5989 Anna Lee Dr.                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4667   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Nathan Skidmore                                            Check all that apply.
          519 N Madriver St                                             Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4668   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Dayle Skocic                                               Check all that apply.
          112 Church Street                                             Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4669   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Heidi Skok                                                 Check all that apply.
          6752 Connecticut Colony Circle                                Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4670   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Heidi Skok                                                 Check all that apply.
          6752 Connecticut Colony Circle                                Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4671   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Tasha Skott                                                Check all that apply.
          28 Gold Meadow Drive                                          Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4672   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          DANIELLE SLAPNICKER                                        Check all that apply.
          8370 browning court                                           Contingent
          concord twp., OH 44060                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4673   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $959.60    $959.60
          Jennifer Slater                                            Check all that apply.
          2201 Barnet Ct.                                               Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4674   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Aimee Slater-West                                          Check all that apply.
          1313 E Third                                                  Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4675   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Lori Slates                                                Check all that apply.
          3215 Greenpark St NW                                          Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4676   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Renee Sleeper                                              Check all that apply.
          3892 Pinto Court                                              Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4677   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Susanne Sleeper                                            Check all that apply.
          2300 Tucker Trail                                             Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4678   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Larry Slivon                                               Check all that apply.
          3766 Spur Ln                                                  Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4679   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Michal Slominski                                           Check all that apply.
          2834 Lake Hollow Road                                         Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4680   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Rachel Slomovitz                                           Check all that apply.
          7681 Birchmont Drive                                          Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4681   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $116.00    $116.00
          Jessica Slouffman                                          Check all that apply.
          1504 Northview Road                                           Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4682   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Todd Slowey                                                Check all that apply.
          8260 Mount Royal Dr                                           Contingent
          Concord Twp, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4683   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Todd Slowey                                                Check all that apply.
          8260 Mount Royal Dr                                           Contingent
          Concord Twp, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4684   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Nicole Slusher                                             Check all that apply.
          114 Downing Dr G201                                           Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4685   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Christine Slyman                                           Check all that apply.
          20800 Beaconsfield Blvd                                       Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4686   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Tracy Smalley                                              Check all that apply.
          340 Crestview Dr.                                             Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4687   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Tracey Smallwood                                           Check all that apply.
          6344 Dan Sherri Dr                                            Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4688   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Stacey Smayda-Ockuly                                       Check all that apply.
          7630 Settlers Ct.                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4689   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Christina Smelcer                                          Check all that apply.
          8535 Hilltop Dr                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4690   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Amy Smith                                                  Check all that apply.
          7764 Hidden Hollow Dr.                                        Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4691   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Amy Smith                                                  Check all that apply.
          5019 Devencroft Ct                                            Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4692   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Andrew Smith                                               Check all that apply.
          113 n. Stanley st.                                            Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4693   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Andrew Smith                                               Check all that apply.
          113 n. Stanley st.                                            Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4694   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Arlene Smith                                               Check all that apply.
          5797 Lake Road                                                Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4695   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Brandon Smith                                              Check all that apply.
          32504 North Roundhead Dr                                      Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4696   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Brett Smith                                                Check all that apply.
          1209 Northbrook Lane                                          Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4697   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Brett Smith                                                Check all that apply.
          1209 Northbrook Lane                                          Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4698   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Brooke Smith                                               Check all that apply.
          1120 scenic ct                                                Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4699   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Brooke Smith                                               Check all that apply.
          1120 scenic ct                                                Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4700   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $350.00    $350.00
          Chevon Smith                                               Check all that apply.
          184 e lorain street                                           Contingent
          oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4701   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Christina Smith                                            Check all that apply.
          5792 Leslie Dr                                                Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4702   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Christina Smith                                            Check all that apply.
          10480 Twp. Rd. 114                                            Contingent
          Van Buren, OH 45889                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4703   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Christina Smith                                            Check all that apply.
          10480 Twp. Rd. 114                                            Contingent
          Van Buren, OH 45889                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4704   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Eric Smith                                                 Check all that apply.
          6159 Brambleside Lane                                         Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4705   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Genevieve Smith                                            Check all that apply.
          1785 Garrett House Lane                                       Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4706   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          James Smith                                                Check all that apply.
          6736 Woodland Reserve Ct                                      Contingent
          Madeira, OH 45243                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4707   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Jennifer Smith                                             Check all that apply.
          11670 Gate Post Ln                                            Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4708   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Jessica Smith                                              Check all that apply.
          3027 Landen Farm Rd W                                         Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4709   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Kari Smith                                                 Check all that apply.
          2762 Haggett Dr.                                              Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4710   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Katherine Smith                                            Check all that apply.
          7975 Brichford Road                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4711   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Kathleen Smith                                             Check all that apply.
          5131 Meadowview Lane                                          Contingent
          South Lebanon, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4712   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Kevin Smith                                                Check all that apply.
          1441 Ambrose AveNW                                            Contingent
          Canton, OH 44708                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4713   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Lauren Smith                                               Check all that apply.
          7716 Cemetery Road                                            Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4714   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Laurie Smith                                               Check all that apply.
          320 Elmford Ave SW                                            Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4715   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Leif Smith                                                 Check all that apply.
          8491 Squad Drive                                              Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4716   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Lisa Smith                                                 Check all that apply.
          26 Sussex Road                                                Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4717   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Liza Smith                                                 Check all that apply.
          406 Windsor Drive                                             Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4718   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Michelle Smith                                             Check all that apply.
          314 S. Hambden St.                                            Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4719   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Michelle Smith                                             Check all that apply.
          6233 Navarre Rd SW                                            Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4720   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Nicola Smith                                               Check all that apply.
          7747 Rutland Dr                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4721   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Scott Smith                                                Check all that apply.
          10386 Johnnycake Ridge Rd                                     Contingent
          Concord Twp, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4722   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Shae Smith                                                 Check all that apply.
          9101 Tiffany Dr                                               Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4723   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Sheri Smith                                                Check all that apply.
          9131 Sugarbush Dr                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4724   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Stephanie Smith                                            Check all that apply.
          3408 Ridge Gap Rd                                             Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4725   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Tammy Smith                                                Check all that apply.
          10113 Belmeadow Dr.                                           Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4726   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Wendy Smith                                                Check all that apply.
          6779 North Weatherby Drive                                    Contingent
          mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4727   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Bonnie Smith-Stafford                                      Check all that apply.
          7340 Fern Dr.                                                 Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4728   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Steve Smithingell                                          Check all that apply.
          7626 Cedar Rd                                                 Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4729   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Kim Smrecansky                                             Check all that apply.
          3418 Marl Pl                                                  Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4730   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Joelle Snavely                                             Check all that apply.
          299 Bentleyville Rd.                                          Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4731   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Amanda Snedden                                             Check all that apply.
          2475 Ashdale Dr.                                              Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4732   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Peta Sneek                                                 Check all that apply.
          11231 Hampton Bay Lane                                        Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4733   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Jessica Snell                                              Check all that apply.
          143 Fruitland Avenue                                          Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4734   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Trinidad Snider                                            Check all that apply.
          11350 Grey Friar Way                                          Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4735   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          AnneMarie Snow                                             Check all that apply.
          2816 Lakeview Avenue                                          Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4736   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Jessica Snow                                               Check all that apply.
          10230 Penniman Drive                                          Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4737   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Lisa Snow                                                  Check all that apply.
          3067 Killingworth Ln                                          Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4738   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Tara Snow                                                  Check all that apply.
          750 Lawnview blvd                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4739   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Jodi Snowden                                               Check all that apply.
          8148 Jordan Ridge                                             Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4740   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Andy Snyder                                                Check all that apply.
          4371 Schirtzinger Rd.                                         Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4741   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Candice Snyder                                             Check all that apply.
          7451 Mar Del Drive                                            Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4742   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Christine Snyder                                           Check all that apply.
          8280 Mentor Ave                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4743   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Kathie Snyder                                              Check all that apply.
          12811twp.rd.108                                               Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4744   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Laura Snyder                                               Check all that apply.
          11431 Twin Mills Lane                                         Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4745   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Mary Snyder                                                Check all that apply.
          5690 Alliance Way                                             Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4746   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Michelle Snyder                                            Check all that apply.
          450 kristina dr apt 8b                                        Contingent
          bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4747   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Michelle Snyder                                            Check all that apply.
          19400 Frazier drive                                           Contingent
          Rocky river, OH 44116-1727                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4748   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Shawn Snyder                                               Check all that apply.
          4793 Augustus court                                           Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4749   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Gina Soble                                                 Check all that apply.
          191 Bowhall Road                                              Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4750   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Elyse Sobol                                                Check all that apply.
          19412 Battersea Blvd.                                         Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4751   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Debi Sobonya                                               Check all that apply.
          147 Colonial Dr                                               Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4752   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          April Sockol                                               Check all that apply.
          44 Manor Dr                                                   Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4753   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Stacy Sohner                                               Check all that apply.
          4325 Huntwicke Ct                                             Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4754   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Stephanie Solich                                           Check all that apply.
          110 Cedar Glen                                                Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4755   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Valentina Solorzano                                        Check all that apply.
          175 Cheshire Rd                                               Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4756   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Michael Somers                                             Check all that apply.
          1596 Northview Rd                                             Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4757   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Jennifer Son                                               Check all that apply.
          3700 Grimes Drive                                             Contingent
          Columbus, OH 43204                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4758   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Donna Soncrant                                             Check all that apply.
          13052 Coachman Dr                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4759   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Michelle Soneson                                           Check all that apply.
          887 bates rd                                                  Contingent
          ROCKY RIVER, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4760   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Brenda Sooy                                                Check all that apply.
          84 Hickory Lane                                               Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4761   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Frederick Sopnicar                                         Check all that apply.
          486 E 327th Street                                            Contingent
          Willowick, OH 44095                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4762   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Maria Sorge                                                Check all that apply.
          6542 Inland Shores Dr                                         Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4763   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Nikki Sorrells                                             Check all that apply.
          10594 Lindmar Dr.                                             Contingent
          Concord twp., OH 44077                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4764   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Leanna Sortor                                              Check all that apply.
          3253 Twp Rd 142                                               Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4765   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Khalid SosseyAlaoui                                        Check all that apply.
          2651 Edgewood rd                                              Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4766   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Nancy Soto                                                 Check all that apply.
          950 Varsity Ave                                               Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4767   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Natalie Soto-Burke                                         Check all that apply.
          8 Philip Court                                                Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4768   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Lorrie Sotzing                                             Check all that apply.
          546 Maplewood Drive                                           Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4769   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Greg Soukup                                                Check all that apply.
          11115 courtney ct                                             Contingent
          chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4770   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Greg Soukup                                                Check all that apply.
          11115 courtney ct                                             Contingent
          chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4771   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Kristy Soukup                                              Check all that apply.
          8286 Mentorwood Dr.                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4772   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Millicent Souser                                           Check all that apply.
          6645 Westpoint Drive                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4773   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Mary South                                                 Check all that apply.
          142 Brandywine Drive                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4774   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $775.00    $775.00
          Amy Southard                                               Check all that apply.
          1859 County Road 10                                           Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4775   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Rana Southern                                              Check all that apply.
          7238 STONERUN PL                                              Contingent
          LIBERTY TOWNSHIP, OH 45044                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4776   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Amy Sowards                                                Check all that apply.
          7430 Pamela dr                                                Contingent
          north royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4777   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Denise Sowder                                              Check all that apply.
          6771 Beagle Drive                                             Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4778   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Amber Sowers                                               Check all that apply.
          1105 N Market Street                                          Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4779   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Melissa Spahr                                              Check all that apply.
          2112 Winchester Pl                                            Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4780   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Heather Spakes                                             Check all that apply.
          7510 Bellflower rd                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4781   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Holly Spangler                                             Check all that apply.
          8134 York road                                                Contingent
          north Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4782   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Stacy Spangler                                             Check all that apply.
          124 Bowhall Rd                                                Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4783   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Jill Spano                                                 Check all that apply.
          79 Colony Drive                                               Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4784   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Judd Spaulding                                             Check all that apply.
          7710 Harnessfield Ln                                          Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4785   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Judd Spaulding                                             Check all that apply.
          7710 Harnessfield Ln                                          Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4786   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Paul Speicher                                              Check all that apply.
          7603 Sugarbush Trail                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4787   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Steven Speicher                                            Check all that apply.
          8565 Clover Glade Dr                                          Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4788   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Amanda Spencer                                             Check all that apply.
          514 Laurel Ave.                                               Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4789   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Jessica Spencer                                            Check all that apply.
          4414 East Island Pines Drive                                  Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4790   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Latasha Spencer                                            Check all that apply.
          5560 Elm Hill Dr                                              Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4791   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Chris Sperry                                               Check all that apply.
          6738 Evergreen Rd.                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4792   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Michael Speyer                                             Check all that apply.
          13929 West Willard Dr                                         Contingent
          Novelty, OH 44072                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4793   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Scott Spieker                                              Check all that apply.
          6407 Melshore Drive                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4794   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Karen Spiers                                               Check all that apply.
          970 Stoneyridge Ave                                           Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4795   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Karen Spiers                                               Check all that apply.
          970 Stoneyridge Ave                                           Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4796   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Karen Spiers                                               Check all that apply.
          970 Stoneyridge Ave                                           Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4797   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Jaime Spies                                                Check all that apply.
          7237 Rita Lane                                                Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4798   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Kate Spies                                                 Check all that apply.
          21179 Stratford Ave                                           Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4799   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Kate Spies                                                 Check all that apply.
          21179 Stratford Ave                                           Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4800   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $475.00    $475.00
          Alda Spike                                                 Check all that apply.
          4899 Heath Trails Road                                        Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4801   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Louis Spike                                                Check all that apply.
          7470 Hopkins Road                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4802   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Norine Spoelker                                            Check all that apply.
          5471 Creek Park Dr                                            Contingent
          South Lebanon, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4803   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Diane Spohn                                                Check all that apply.
          5848 Heirship Court                                           Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4804   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Julie Spohn                                                Check all that apply.
          6021 Ogilby Drive                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4805   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Jessica Spooner                                            Check all that apply.
          41485 beechwood dr                                            Contingent
          elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4806   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Stephenie Spotz                                            Check all that apply.
          103 Fox Pointe Dr                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4807   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Jennifer Sprafka                                           Check all that apply.
          7047 Navajo Trail                                             Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4808   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Kelly Sprague                                              Check all that apply.
          10745 Howard Drive                                            Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4809   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Elizabeth Spring                                           Check all that apply.
          5020 15th st sw                                               Contingent
          Canton, OH 44710                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4810   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Robert Springer                                            Check all that apply.
          6803 Sutherland ct                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4811   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Jennifer Squires                                           Check all that apply.
          107 Sugarbush Gln                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4812   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Harjit Sran                                                Check all that apply.
          10276 Laura Lane                                              Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4813   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Rashmi Sreeram                                             Check all that apply.
          38120 Kerrington Way                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4814   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Rashmi Sreeram                                             Check all that apply.
          38120 Kerrington Way                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4815   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Laurie Staab                                               Check all that apply.
          8804 Meadow Grass Lane                                        Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4816   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Beth Stachler                                              Check all that apply.
          104 Organ St                                                  Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4817   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Cindy Stack                                                Check all that apply.
          Hawk Ave 7477                                                 Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4818   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Jennifer Staib                                             Check all that apply.
          612 Kaspar Street                                             Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4819   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Jenny Stallworth                                           Check all that apply.
          7431 Southside Avenue                                         Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4820   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Erin Stamolis                                              Check all that apply.
          9192 Tahoma St.                                               Contingent
          Columbus, OH 43240                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4821   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $929.10    $929.10
          Eric Stamps                                                Check all that apply.
          2610 Blackmore court                                          Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4822   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Eric Stamps                                                Check all that apply.
          2610 Blackmore court                                          Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4823   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Ashley Standley                                            Check all that apply.
          555 Staunton Commons Dr apt 29                                Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4824   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Brandon Standley                                           Check all that apply.
          1313 Dakota Road                                              Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4825   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Kerry Stanley                                              Check all that apply.
          2701 Parkwood Drive                                           Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4826   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Sharon Stanley                                             Check all that apply.
          101 Skidmore                                                  Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4827   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Samantha Stanton                                           Check all that apply.
          35150 Pettibone Road                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4828   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Alexandra Stanziano                                        Check all that apply.
          702 Clinton Street                                            Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4829   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Heather Staples                                            Check all that apply.
          2291 Asics road 302                                           Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4830   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Carson Stark                                               Check all that apply.
          7494 Callow Road                                              Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4831   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Dee Stark-Kurtz                                            Check all that apply.
          206 North Street                                              Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4832   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          ALLISON STARKS                                             Check all that apply.
          10374 BELLEAU DRIVE                                           Contingent
          TWINSBURG, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4833   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Angela Starks                                              Check all that apply.
          5589 Echo Springs Dr                                          Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4834   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Jennifer Starr                                             Check all that apply.
          5551 Kinvarra Lane                                            Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4835   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Brian Starrett                                             Check all that apply.
          6115 Sunny Vale Drive                                         Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4836   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $614.07    $614.07
          State of Ohio                                              Check all that apply.
          Department of Taxation                                        Contingent
          PO Box 530                                                    Unliquidated
          Attn: Bankruptcy Dept.                                        Disputed
          Columbus, OH 43216-0530
          Date or dates debt was incurred                            Basis for the claim:
          2018                                                       withholding
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4837   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Matthew Staten                                             Check all that apply.
          5441 Mirage Drive                                             Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4838   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Tom Staten                                                 Check all that apply.
          211 Leonard ave sw                                            Contingent
          massillom, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4839   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Valli Stauffer                                             Check all that apply.
          2091 Gary Drive Twinsburg                                     Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4840   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Tiffany StClair                                            Check all that apply.
          9449 Altamont Dr Apt A                                        Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4841   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Carolyn Stearns                                            Check all that apply.
          4103 Plain Center Avenue NE                                   Contingent
          Canton, OH 44714                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4842   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Melanie Stebler                                            Check all that apply.
          2525 Augusta Dr SE                                            Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4843   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Christina Stec                                             Check all that apply.
          2644 Blue Heron Drive                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4844   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Michael Stedman                                            Check all that apply.
          407 MEADOW VIEW DR                                            Contingent
          POWELL, OH 43065                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4845   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Priscilla Steele                                           Check all that apply.
          2563 Cosmos Dr                                                Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4846   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Jaime Steen                                                Check all that apply.
          4945 Baker Rd                                                 Contingent
          Leroy, OH 44057                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4847   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Lori Stefanski                                             Check all that apply.
          5331 Winters Run Rd                                           Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4848   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Polly Steffen                                              Check all that apply.
          11949 Burlington Glen Drive                                   Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4849   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $500.00    $500.00
          Jo-Anne Steggall                                           Check all that apply.
          257 Shipherd Cir                                              Contingent
          Oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4850   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $775.00    $775.00
          Susan Steggeman                                            Check all that apply.
          417 E Sandusky                                                Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4851   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Michelle Steggemann                                        Check all that apply.
          1043 Dellwood dr                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4852   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Edward Stein                                               Check all that apply.
          136 Cheshire Road                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4853   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Edward Stein                                               Check all that apply.
          136 Cheshire Road                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4854   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Michele Steinberger                                        Check all that apply.
          7086 Cross Creek Dr.                                          Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4855   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Jacquelyn Steineman                                        Check all that apply.
          125 e high ave                                                Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4856   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Kimberly Steinmann                                         Check all that apply.
          8207 Hamptonshire Drive                                       Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4857   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Michael Stephens                                           Check all that apply.
          8275 PROCTOR RD.                                              Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4858   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          David Sternagle                                            Check all that apply.
          10755 Cottage Hill Ln                                         Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4859   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Sandor Sternberg                                           Check all that apply.
          34 Chadbourne Drive                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4860   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Lori Sternisha                                             Check all that apply.
          3321 River Narrows Rd                                         Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4861   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Kimberly Stevens                                           Check all that apply.
          5350 Crystal Drive                                            Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4862   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Michelle Stevens                                           Check all that apply.
          7388 Silver Creek Road                                        Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4863   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jennifer Stevenson                                         Check all that apply.
          9844 Weathersfield Dr                                         Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4864   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Bobbie Stewart                                             Check all that apply.
          328 E. Brwn Ave                                               Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4865   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Holly Stewart                                              Check all that apply.
          7306 Iuka Ave                                                 Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4866   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Lori Stewart                                               Check all that apply.
          10030 Parmalee Drive                                          Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4867   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Rachel Stewart                                             Check all that apply.
          8223 Russet Lane                                              Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4868   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Rochelle Stewart                                           Check all that apply.
          3820 Schroeder Dr                                             Contingent
          Fairfield, OH 45011                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4869   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Shane Stewart                                              Check all that apply.
          3737 Wanda way                                                Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4870   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Lori Stickler                                              Check all that apply.
          5668 Abbyshire drive                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4871   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Annette Stierwalt                                          Check all that apply.
          8101 Saddleback Place                                         Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4872   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Jenna Stiles                                               Check all that apply.
          4950 Hollow Oak Ct                                            Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4873   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $500.00    $500.00
          Alexandra Still                                            Check all that apply.
          378 Reamer Place                                              Contingent
          Oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4874   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Jewel Still                                                Check all that apply.
          715 State apt3                                                Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4875   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Melissa Stillion                                           Check all that apply.
          4172 Knolls Ave SW                                            Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4876   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Alissa Stinson                                             Check all that apply.
          230 Senlac Hills Drive                                        Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4877   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Jackie Stiteler                                            Check all that apply.
          1417 WILHOIT AVE                                              Contingent
          LEWIS CENTER, OH 43035-7904                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4878   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Morgan Stith                                               Check all that apply.
          5735 Tacoma rd                                                Contingent
          Columbus, OH 43229-4212                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4879   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Tabatha Stitt                                              Check all that apply.
          5018 Piccadilly St SW                                         Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4880   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Barb Stitzer                                               Check all that apply.
          6152 Burr Oak Way                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4881   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Rochelle Stively                                           Check all that apply.
          200 N. Crest Dr.                                              Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4882   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Kimberly Stivers                                           Check all that apply.
          6001 Flaig Dr                                                 Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4883   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Emily Stockard                                             Check all that apply.
          920 Salem Ave                                                 Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4884   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jason Stockmaster                                          Check all that apply.
          6729 N Weatherby Dr                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4885   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Steve Stoiner                                              Check all that apply.
          222 hyder dr                                                  Contingent
          madison, OH 44057                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4886   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Resia Stokes                                               Check all that apply.
          8776 Ray Ct. Apt.1 #1                                         Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4887   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Satetha Stokes                                             Check all that apply.
          422 west 5 th st                                              Contingent
          port clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4888   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Terry Stolly                                               Check all that apply.
          3679 township road 180                                        Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4889   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Patrick Stoneking                                          Check all that apply.
          8880 Chaucer Blvd                                             Contingent
          Broadview Heights, OH 44147                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4890   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Amanda Stout                                               Check all that apply.
          3750 Parkside Reserve st                                      Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4891   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Noreen Stout                                               Check all that apply.
          9373 Clopton Court                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4892   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Jamie Stover                                               Check all that apply.
          5940 Eastham Way                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4893   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Lynn Stover                                                Check all that apply.
          37356 Cherrybank Dr                                           Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4894   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Scott Stover                                               Check all that apply.
          5940 Eastham Way                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4895   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Angela StPierre                                            Check all that apply.
          7450 Wetherburn Way                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4896   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Patricia Strama                                            Check all that apply.
          4550 Newbury Drive                                            Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4897   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Jennifer Strapp                                            Check all that apply.
          7102 TR 243                                                   Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4898   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Jennifer Strapp                                            Check all that apply.
          7102 TR 243                                                   Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4899   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Kevin Strauss                                              Check all that apply.
          7321 Port Royal Court                                         Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4900   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Tanya Streckfuss                                           Check all that apply.
          2263 Candlemakers Ln                                          Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4901   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Christie Strickland                                        Check all that apply.
          2833 Jeanne Ct                                                Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4902   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Christine Strlich                                          Check all that apply.
          136 Ferris Ave.                                               Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4903   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Pamela Strong                                              Check all that apply.
          3706 Concord Dr                                               Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4904   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Stephany Stroth                                            Check all that apply.
          7921 Mentor Ave Apt 101                                       Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4905   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Brittny Strubbe                                            Check all that apply.
          2452 Cambridge Drive                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4906   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Tamara Struk                                               Check all that apply.
          280 Falls Walk Way                                            Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4907   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00     $750.00
          Lesa Strull                                                Check all that apply.
          8543 BRIDGETOWN RD                                            Contingent
          CLEVES, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4908   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00     $455.00
          David Strunk                                               Check all that apply.
          7106 Van Buren Ct                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4909   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00     $490.00
          Shelley Stuart                                             Check all that apply.
          4445 9th St. NW                                               Contingent
          Canton, OH 44708                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4910   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,130.40    $1,130.40
          JasonKassia Studebaker                                     Check all that apply.
          2503 Glasgow Drive                                            Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4911   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Tera Studebaker                                            Check all that apply.
          3030 Meadowwood St NW                                         Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4912   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Julie Studt                                                Check all that apply.
          309 Newpine Dr                                                Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4913   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Jaime Stultz                                               Check all that apply.
          2001 Nicklaus Drive                                           Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4914   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          David Stump                                                Check all that apply.
          4378 Dublin Road                                              Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4915   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Julie Stupi                                                Check all that apply.
          11451 Auburn Rd.                                              Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4916   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Brooke Stutzman                                            Check all that apply.
          2244 Bluestone Drive                                          Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4917   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Ann Stuver                                                 Check all that apply.
          3017 GOLDEN OAK DR                                            Contingent
          HILLIARD, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4918   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Lela Styles                                                Check all that apply.
          446 Fairgrounds Rd                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4919   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $475.00    $475.00
          Teresa Suchecki                                            Check all that apply.
          5366 Carina ct west                                           Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4920   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Keesha Sucher                                              Check all that apply.
          5248 Ritchey Ln                                               Contingent
          South Lebanon, OH 45065-8791                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4921   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Kathy Suhadolnik                                           Check all that apply.
          18921 E Shoreland Ave                                         Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4922   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Frank Sulka                                                Check all that apply.
          11720 Sherman Rd.                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4923   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Linda Sullivan                                             Check all that apply.
          881 Silverberry Lane                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4924   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Randy Sullivan                                             Check all that apply.
          6488 Meadowbrook Dr                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4925   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $475.00    $475.00
          Matthew Suminski                                           Check all that apply.
          4461 Moraine Ave                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4926   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Torre Summers                                              Check all that apply.
          2423 Limestone Way                                            Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4927   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Michelle Sumner                                            Check all that apply.
          325 Garfield Ave                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4928   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Margaret Sumption                                          Check all that apply.
          3838 Equestrian Court                                         Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4929   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Liqun Sun                                                  Check all that apply.
          7332 Glenwillow Pl.                                           Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4930   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Patricia Sun                                               Check all that apply.
          23500 E Silsby Rd                                             Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4931   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Holly Suszynski                                            Check all that apply.
          11175 Beechnut Lane                                           Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4932   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          David Sutton                                               Check all that apply.
          8447 Olenbrook Dr                                             Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4933   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Emily Sutton                                               Check all that apply.
          114 Blackberry Dr                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4934   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Frances Sutton                                             Check all that apply.
          12455 Claridon Troy Road                                      Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4935   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Kelli Sutton                                               Check all that apply.
          7740 Ranett Ave                                               Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4936   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Stephanie Sutton                                           Check all that apply.
          7739 Oxgate Court                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4937   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Michael Suver                                              Check all that apply.
          7857 Lydia Dr                                                 Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4938   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Roberta Suydam                                             Check all that apply.
          1469 Plantation Drive                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4939   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Toshio Suzuki                                              Check all that apply.
          5870 Nicholson Dr                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4940   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Senka Svilar                                               Check all that apply.
          6608 Crossbow Court                                           Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4941   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Colleen Swabby                                             Check all that apply.
          5300 Triple Crown Court                                       Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4942   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Randal Swan                                                Check all that apply.
          6522 Bryson Drive                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4943   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Trina Swaney                                               Check all that apply.
          8234 Rushton Dr                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4944   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Scott Swansiger                                            Check all that apply.
          3236 Sunhaven Oval                                            Contingent
          Parma, OH 44134-5835                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4945   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Jackie Swartz                                              Check all that apply.
          312 N main street                                             Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4946   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Joe Swartz                                                 Check all that apply.
          2393 Oakthorpe Drive                                          Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4947   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Tracy Swartzendruber                                       Check all that apply.
          61 Ambrose Drive                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4948   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Cynthia Swauger                                            Check all that apply.
          9923 Regatta Tr                                               Contingent
          Aurora, OH 44202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4949   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Darren Sweeney                                             Check all that apply.
          19447 Westover Avenue                                         Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4950   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Mary Sweet                                                 Check all that apply.
          11677 Sycamore Rd                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4951   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Christine Swenson                                          Check all that apply.
          2394 Charoe Street                                            Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4952   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Kristi Swentor                                             Check all that apply.
          43 Church St                                                  Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4953   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Jen Swiczkowski                                            Check all that apply.
          220 E 10th St.                                                Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4954   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Lorenda Swindol                                            Check all that apply.
          6209 Campbell Rd                                              Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4955   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Duane Swingley                                             Check all that apply.
          400 wren ave                                                  Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4956   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Heather Switzer                                            Check all that apply.
          5655 Lakeside Drive                                           Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4957   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Nisa Switzer                                               Check all that apply.
          4125 Stonehaven Rd                                            Contingent
          South Euclid, OH 44121                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4958   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Kevin Swope                                                Check all that apply.
          7323 Dog Trot Road                                            Contingent
          Cincinnati, OH 45248                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4959   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Brenna Syphard                                             Check all that apply.
          6791 Ballantrae Pl                                            Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4960   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Heather Syrett                                             Check all that apply.
          5079 Ravenglass Ct                                            Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4961   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Josephine Szabo                                            Check all that apply.
          37153 Deer Run                                                Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4962   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Tammy Szalay                                               Check all that apply.
          9505 roryanna drive                                           Contingent
          chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4963   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Michael Szapowal                                           Check all that apply.
          11117 Chillicothe Rd.                                         Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4964   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Jenny Szucs-Osinski                                        Check all that apply.
          1265 Bell Road                                                Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4965   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Vicky Taddie                                               Check all that apply.
          141 north st                                                  Contingent
          chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4966   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Emma Tadtaeva                                              Check all that apply.
          4895 Cedars Bluff Dr. Unit#5                                  Contingent
          South Lebanon, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4967   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Chris Taglieri                                             Check all that apply.
          6241 Tina Dr                                                  Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4968   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Avivit Taib                                                Check all that apply.
          23305 S Chagrin BLVD #208                                     Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4969   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Melinda Taiclet                                            Check all that apply.
          9318 Wilson Mills Rd                                          Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4970   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Rita Takenaga                                              Check all that apply.
          35 Meadow View Court                                          Contingent
          Powell, OH 43065                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4971   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $330.00    $330.00
          Charles Talbot                                             Check all that apply.
          8939 Primrose Dr.                                             Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4972   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Lauren Talion                                              Check all that apply.
          7050 Topper Dr                                                Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4973   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Beth Talpas                                                Check all that apply.
          7264 Julia Dr                                                 Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4974   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Elizabeth Tambellini                                       Check all that apply.
          2945 Lake Hollow Rd                                           Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4975   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Crystal Tamura                                             Check all that apply.
          7950 Mentor Ave M2                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4976   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Matthew Tarczy                                             Check all that apply.
          1601 Sapphire Drive                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4977   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Kelly Tarnowski                                            Check all that apply.
          1110 Shelton Circle                                           Contingent
          Broadview Hts, OH 44147                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4978   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Bernhard Tauffer                                           Check all that apply.
          10369 Fox Hollow Circle                                       Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4979   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Sheri Tavens                                               Check all that apply.
          33090 Wintergreen Drive                                       Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4980   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Cari Taylor                                                Check all that apply.
          14010 Darrow Road                                             Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4981   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Eddie Taylor                                               Check all that apply.
          69 Hall ST                                                    Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4982   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Frank Taylor                                               Check all that apply.
          4101 Greenwood Oval                                           Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4983   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Jodi Taylor                                                Check all that apply.
          7464 Worlington Drive                                         Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4984   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Kristine Taylor                                            Check all that apply.
          2589 Schafer Knoll Ct                                         Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4985   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          NIKKI TAYLOR                                               Check all that apply.
          544 STAFFORD DR                                               Contingent
          ELYRIA, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4986   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Sarah Taylor                                               Check all that apply.
          6723 Pinebrooke Drive                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4987   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Tracy Taylor                                               Check all that apply.
          3724 County Road 11                                           Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4988   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          LeeAnn Teagno                                              Check all that apply.
          9600 Brayes Manor Drive                                       Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4989   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Jennifer Teale                                             Check all that apply.
          3263 Cheyenne Ct                                              Contingent
          Fairfield Township, OH 45011                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4990   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Wintana Tecle                                              Check all that apply.
          5209 Winsome Way                                              Contingent
          Columbus, OH 43220                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4991   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Jamie Teel                                                 Check all that apply.
          311 Marseilles ave                                            Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4992   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Joao Teixeira                                              Check all that apply.
          23716 E Silsby Rd                                             Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4993   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Paula Telepak                                              Check all that apply.
          32380 W. Nimrod St.                                           Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4994   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Crystal Temple                                             Check all that apply.
          8675 Mentor Rd                                                Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4995   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Lynn Tepper                                                Check all that apply.
          65 Potomac Drive                                              Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4996   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Victoria Terekhova                                         Check all that apply.
          5647 Westminster Drive                                        Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4997   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          CINDY TESKE                                                Check all that apply.
          5455 GOOSEFALLS DR                                            Contingent
          Dubiln, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4998   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Stephanie Teson                                            Check all that apply.
          2157 Weston Dr                                                Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.4999   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Leigh Thacker                                              Check all that apply.
          1212 lost tree dr. n.w.                                       Contingent
          canton, OH 44708                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5000   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Renee Thagard                                              Check all that apply.
          9064 Ellersly Dr                                              Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5001   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Jumana Thaher                                              Check all that apply.
          5895 waterview dr                                             Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5002   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Keerthana Thambireddy                                      Check all that apply.
          2385 Reeves Ave                                               Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5003   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Keerthana Thambireddy                                      Check all that apply.
          2385 Reeves Ave                                               Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5004   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Joseph Theibert                                            Check all that apply.
          519 E 11th St                                                 Contingent
          port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5005   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          William Thesling                                           Check all that apply.
          7332 E Firelands Dr                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5006   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Holly Thibault                                             Check all that apply.
          7042 Ashwood Knolls Dr                                        Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5007   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Jamie Thobe                                                Check all that apply.
          8645 BRAKEMAN RD                                              Contingent
          CHARDON, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5008   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Ramgopal Thodla                                            Check all that apply.
          5777 Frantz Road                                              Contingent
          Dublin, OH 43017                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5009   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Kevin Thom                                                 Check all that apply.
          2626 OAKVIEW ST. NW                                           Contingent
          MASSILLON, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5010   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Erin Thoma                                                 Check all that apply.
          3730 Indian Brave Trail                                       Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5011   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Angie Thomas                                               Check all that apply.
          9287 windy creek drive                                        Contingent
          columbus, OH 43240                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5012   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Belynda Thomas                                             Check all that apply.
          1948 Regan Court                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5013   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Debra Thomas                                               Check all that apply.
          8170 Rainbow Dr.                                              Contingent
          Concord Twp, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5014   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Denise Thomas                                              Check all that apply.
          55 Meadowview Court                                           Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5015   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Fattar Thomas                                              Check all that apply.
          4841 Persimmon Ln                                             Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5016   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Kara Thomas                                                Check all that apply.
          5251 Oakvale St SW                                            Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5017   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Kimberly Thomas                                            Check all that apply.
          384 Pemberton Dr.                                             Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5018   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          L Thomas                                                   Check all that apply.
          9328 Ashcroft Lane                                            Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5019   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Natashia Thomas                                            Check all that apply.
          4165 Shire Cove Road                                          Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5020   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Paul Thomas                                                Check all that apply.
          8392 Master Court                                             Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5021   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Shirley Thomas                                             Check all that apply.
          26374 Annesley Road                                           Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5022   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Syreeta Thomas                                             Check all that apply.
          937 fairwood blvd                                             Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5023   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Tony Thomas                                                Check all that apply.
          32500 Monroe Ct Apt B206                                      Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5024   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Wendy Thomas-Kollar                                        Check all that apply.
          2257 Herrick Circle                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5025   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Wendy Thomas-Kollar                                        Check all that apply.
          2257 Herrick Circle                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5026   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Angela Thompson                                            Check all that apply.
          803 Louise ave                                                Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5027   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Becky Thompson                                             Check all that apply.
          6772 St. James Circle                                         Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5028   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Bethany Thompson                                           Check all that apply.
          3473 Woodland Dr.                                             Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5029   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Carol Thompson                                             Check all that apply.
          289 Crestview Dr                                              Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5030   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Erin Thompson                                              Check all that apply.
          4751 Rossmoor Pl                                              Contingent
          Columbus, OH 43220                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5031   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          JACKIE THOMPSON                                            Check all that apply.
          11400 SOMSERSET DR. #132                                      Contingent
          NORTH ROYALTON, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5032   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Jeff Thompson                                              Check all that apply.
          69 Waterford Drive                                            Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5033   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Jennifer Thompson                                          Check all that apply.
          33330 Rockford Drive                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5034   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Karena Thompson                                            Check all that apply.
          7133 Gauntlet ST SW                                           Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5035   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Keith Thompson                                             Check all that apply.
          2470 Warren Pkwy Apt 18                                       Contingent
          Twinsburg, OH 44087-1364                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5036   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Kirsten Thompson                                           Check all that apply.
          6509 Marsol Road #321                                         Contingent
          Mayfield Heights, OH 44124                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5037   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $500.00    $500.00
          Melissa Thompson                                           Check all that apply.
          251 S. Park Street                                            Contingent
          Oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5038   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Michelle Thompson                                          Check all that apply.
          7251 Mulberry Road                                            Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5039   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $500.00    $500.00
          Vanessa Thompson                                           Check all that apply.
          254 Grafton Street                                            Contingent
          Oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5040   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Karen Thorne                                               Check all that apply.
          277 White Oak Dr.                                             Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5041   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $500.00    $500.00
          Jennifer Thornhill                                         Check all that apply.
          290 N Prospect St                                             Contingent
          Oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5042   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Patricia Thornton                                          Check all that apply.
          2768 Max Ct                                                   Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5043   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Shenoa Thornton                                            Check all that apply.
          2790 Richmond RD                                              Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5044   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Lyndsay Thorpe                                             Check all that apply.
          1984 Stoney Hill Drive                                        Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5045   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Kathleen Thrush                                            Check all that apply.
          3575 Nautilus Trail                                           Contingent
          Reminderville, OH 44202                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5046   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Matthew Thurman                                            Check all that apply.
          117 Lakeview Ln                                               Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5047   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Amanda Tietze                                              Check all that apply.
          5258 Dolores St SW                                            Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5048   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          James Tighe                                                Check all that apply.
          3819 Confluence Dr                                            Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5049   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Michael Tilson                                             Check all that apply.
          515 W 3rd St                                                  Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5050   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Liz Tilton                                                 Check all that apply.
          9610 Fox Meadow Lane                                          Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5051   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Heidi Timko                                                Check all that apply.
          3989 Deacon Court                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5052   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Amy Timm                                                   Check all that apply.
          7821 Mulberry Rd                                              Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5053   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Natalia Timofeyeva                                         Check all that apply.
          3333 Steeplechase Lane apt.2C                                 Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5054   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Jennifer Tindira                                           Check all that apply.
          1405 Durham Drive                                             Contingent
          Broadview Heights, OH 44147                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5055   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          David Tinnerman                                            Check all that apply.
          6760 Trafalgar Loop                                           Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5056   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Peg Tipka                                                  Check all that apply.
          5860 Nicholson drive                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5057   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Michele Titmas                                             Check all that apply.
          2591 Deer Hollow                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5058   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Danielle Tobias                                            Check all that apply.
          4803 Mattox St                                                Contingent
          COLUMBUS, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5059   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Stephanie Toitch                                           Check all that apply.
          1420 Gelbray Ave                                              Contingent
          Columbus, OH 43204                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5060   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Rachel Tokmenko                                            Check all that apply.
          3405 Portside Dr                                              Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5061   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Helen Toledo                                               Check all that apply.
          2893 Gasser Blvd                                              Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5062   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Andrew Tollafield                                          Check all that apply.
          5745 Privilege Dr.                                            Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5063   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Kina Tolliver                                              Check all that apply.
          1713 Glenwood Drive                                           Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5064   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Rajesh TOMAR                                               Check all that apply.
          11488 GLEN ABBEY DR                                           Contingent
          NORTH ROYALTON, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5065   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Angelo Tomarchio                                           Check all that apply.
          7616 Worlington Drive                                         Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5066   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Lidia Tomasic-Borris                                       Check all that apply.
          11742 Ivy Ridge Drive                                         Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5067   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Meghan Tomechak                                            Check all that apply.
          7007 Roespark Blvd                                            Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5068   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Jeanne Tomei                                               Check all that apply.
          113 Waverly Ln                                                Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5069   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Jeanne Tomei                                               Check all that apply.
          113 Waverly Ln                                                Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5070   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Stacy Tomko                                                Check all that apply.
          32700 Seneca Drive                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5071   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $816.40    $816.40
          Amanda Tompkins                                            Check all that apply.
          2794 Meadowpoint Dr                                           Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5072   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Renee Tomsik                                               Check all that apply.
          2775 Wagar Road                                               Contingent
          Rocky River, OH 44102                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5073   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Jeffrey Tong                                               Check all that apply.
          9 Jefferson Drive                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5074   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Shelley Tong                                               Check all that apply.
          8076 Gladshire Blvd                                           Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5075   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Krista Toole                                               Check all that apply.
          21585 Aberdeen Road                                           Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5076   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Jennifer Toothman                                          Check all that apply.
          13105 Kevin Lane                                              Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5077   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Rebecca Tope                                               Check all that apply.
          6633 Thunderhill Ln                                           Contingent
          Cincinnati, OH 45233                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5078   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Dave Torggler                                              Check all that apply.
          6746 Shawnee Run Rd                                           Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5079   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Matina Tornick                                             Check all that apply.
          3446 Live Oak Place                                           Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5080   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Mia Torres                                                 Check all that apply.
          2337 Pleasant Colony Driv                                     Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5081   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Ventura Torres                                             Check all that apply.
          9 cosway ct #107                                              Contingent
          fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5082   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          William Torres                                             Check all that apply.
          241 Windsor Dr                                                Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5083   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Belkis Torres-Cotta                                        Check all that apply.
          24701 Wimbledon RD.                                           Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5084   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Kyoko Tosi                                                 Check all that apply.
          156 Stratford Rd.                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5085   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Ervita Toska                                               Check all that apply.
          4186 Wooster Rd.                                              Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5086   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Lori Toth                                                  Check all that apply.
          38135 Fox Run Dr.                                             Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5087   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Michelle Toth                                              Check all that apply.
          7495 jasani ct                                                Contingent
          mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5088   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Krista Toutant                                             Check all that apply.
          10535 Calico Lane                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5089   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Tracy Townsend                                             Check all that apply.
          3434 Golfview Court                                           Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5090   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Karen Tracy                                                Check all that apply.
          8626 Army Place                                               Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5091   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Binh Tran                                                  Check all that apply.
          5882 Sequoia Ct                                               Contingent
          Mentor-on-the-lake, OH 44060                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5092   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Jennifer Trask                                             Check all that apply.
          7444 Royal Portrush Dr                                        Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5093   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Jennifer Trautmann                                         Check all that apply.
          7520 Andover Way                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5094   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Allen Travis                                               Check all that apply.
          23805 east groveland                                          Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5095   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Angela Treadway                                            Check all that apply.
          5864 Hunting Haven Dr                                         Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5096   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Pamela Trebec                                              Check all that apply.
          9554 Graystone Lane                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5097   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          William Trecarichi                                         Check all that apply.
          11100 kimmeridge trail                                        Contingent
          newbury, OH 44065                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5098   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Nici Trem                                                  Check all that apply.
          6806 PALMERSTON DR                                            Contingent
          MENTOR, OH 44060-3924                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5099   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Jeany Tri                                                  Check all that apply.
          6680 sherwood                                                 Contingent
          north royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5100   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Mary Tripodo                                               Check all that apply.
          6320 Reynolds Rd                                              Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5101   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Chris Tripp                                                Check all that apply.
          562 Deerwood Ct.                                              Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5102   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Tami Trivonovich                                           Check all that apply.
          5000 Corkwood Drive                                           Contingent
          N Royalton, OH 44133                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5103   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Tami Trivonovich                                           Check all that apply.
          5000 Corkwood Drive                                           Contingent
          N Royalton, OH 44133                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5104   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Denise Troha                                               Check all that apply.
          10056 Johnnycake Ridge Rd                                     Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5105   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Denise Troha                                               Check all that apply.
          10056 Johnnycake Ridge Rd                                     Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5106   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Candida Truitt                                             Check all that apply.
          198 Edgefield Drive                                           Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5107   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Stacia Trump                                               Check all that apply.
          519 21st Street NW                                            Contingent
          Canton, OH 44709                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5108   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Olga Tselma                                                Check all that apply.
          32608 haverhill dr                                            Contingent
          solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5109   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Steven Tsourkas                                            Check all that apply.
          4251 Shire Landing Road                                       Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5110   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $95.00    $95.00
          Adele Tucker                                               Check all that apply.
          2154 Lyndway road                                             Contingent
          Beachwood, OH 44122-1280                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5111   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $552.10    $552.10
          Amanda Tucker                                              Check all that apply.
          221 Ellis street                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5112   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Suzy Tucker                                                Check all that apply.
          6120 Lakota Drive                                             Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5113   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Bela Tukkev                                                Check all that apply.
          8244 creekwoods pl                                            Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5114   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Kristin Tull                                               Check all that apply.
          325 Grey Fox Run                                              Contingent
          Bentleyville, OH 44022                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5115   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Andrea Tumler                                              Check all that apply.
          2052 Riverwood Tr                                             Contingent
          Kingsmills, OH 45034                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5116   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Jeannie Tungate                                            Check all that apply.
          406 Creekborough Ct                                           Contingent
          South Lebanon, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5117   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Kate Turic                                                 Check all that apply.
          11420 labrador ln                                             Contingent
          concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5118   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Kate Turic                                                 Check all that apply.
          11420 labrador ln                                             Contingent
          concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5119   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Stephanie Turkal                                           Check all that apply.
          4324 duke cir sw                                              Contingent
          massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5120   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Deena Turnbull                                             Check all that apply.
          2460 Broken Woods Drive                                       Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5121   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Deena Turnbull                                             Check all that apply.
          2460 Broken Woods Drive                                       Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5122   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Danielle Turner                                            Check all that apply.
          7304 Jimmie St SW                                             Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5123   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Jeff Turner                                                Check all that apply.
          765 E Columbus Ave.                                           Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5124   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Karen Turner                                               Check all that apply.
          2677 Bronsons Way                                             Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5125   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Kim Turner                                                 Check all that apply.
          5552 Kinvarra Ct                                              Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5126   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Shelly Turner                                              Check all that apply.
          2663 Ashwood Dr                                               Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5127   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Tiffany Turner                                             Check all that apply.
          9953 Brookhill Circle                                         Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5128   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Timea Turoczi                                              Check all that apply.
          10 Skyline dr                                                 Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5129   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Ryan Tuttle                                                Check all that apply.
          5051 Britton Farms Drive                                      Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5130   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Gladys Twumwaa                                             Check all that apply.
          80 Bent Tree Dr Apt 2D                                        Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5131   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Jacqueline Tynan                                           Check all that apply.
          506 Rachel Cir. N.W.                                          Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5132   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Doug Uchbar                                                Check all that apply.
          11775 Parkwood Dr                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5133   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Charles Uhler                                              Check all that apply.
          3445 palmer dr                                                Contingent
          rocky river, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5134   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Judith Uijtewaal                                           Check all that apply.
          31 Blackberry Drive                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5135   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Christine Ule                                              Check all that apply.
          704 Radford Drive                                             Contingent
          Richmond Heights, OH 44143                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5136   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Michael Uline                                              Check all that apply.
          946 Bates Road                                                Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5137   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Michael Uline                                              Check all that apply.
          946 Bates Road                                                Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5138   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          JENNIFER UNDERWOOD                                         Check all that apply.
          1294 COUNTY RD 236                                            Contingent
          van buren, OH 45889                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5139   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Amy Unger                                                  Check all that apply.
          6524 Dunbarton Drive                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5140   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Claudia Unger                                              Check all that apply.
          7170 Lakeshore blvd                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5141   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Nichole Unger                                              Check all that apply.
          911 Washington St.                                            Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5142   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Lauren Unke                                                Check all that apply.
          33 Nathan CT                                                  Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5143   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Rhonda Unthank                                             Check all that apply.
          3304 Triplecrown Dr.                                          Contingent
          North Bend, OH 45052                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5144   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Shankar Upadhyayula                                        Check all that apply.
          300 HIDDEN LAKE LANE                                          Contingent
          Peninsula, OH 44264                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5145   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Erin Upchurch                                              Check all that apply.
          5099 Sansom Court                                             Contingent
          Columbus, OH 43220                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5146   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Nancy Upholz                                               Check all that apply.
          6252 Inland Shores Drive                                      Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5147   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $475.00    $475.00
          Amy Upp                                                    Check all that apply.
          3202 Terra Drive                                              Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5148   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $475.00    $475.00
          Amy Upp                                                    Check all that apply.
          3202 Terra Drive                                              Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5149   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Lynda Urdzik                                               Check all that apply.
          10274 Sandalwood Lane                                         Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5150   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Inna Ushats                                                Check all that apply.
          32617 Seneca Dr                                               Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5151   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Robert Uy                                                  Check all that apply.
          2648 Forestview Avenue                                        Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5152   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Antonia Uzl                                                Check all that apply.
          417 Wilmington Dr.                                            Contingent
          Broadview Heights, OH 44147                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5153   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Grace Vacca                                                Check all that apply.
          20353 Westhaven Lane                                          Contingent
          ROCKY RIVER, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5154   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Jennifer Vacca                                             Check all that apply.
          2887 Columbia Trl                                             Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5155   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Don Vaccariello                                            Check all that apply.
          5758 Bunker                                                   Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5156   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Antoanela Vaccaro                                          Check all that apply.
          270 Grey Fox Run None                                         Contingent
          Bentleyville, OH 44022                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5157   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Kristy Vagnier                                             Check all that apply.
          1487 Aniko Ave.                                               Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5158   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Ellen Vahue                                                Check all that apply.
          7440 Shewango Way                                             Contingent
          Madeira, OH 45243                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5159   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Meghan Vaillancourt                                        Check all that apply.
          1927 Hyannis Circle                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5160   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Leslie Vajner                                              Check all that apply.
          14795 Lancelot Lane West                                      Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5161   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Melissa Valenti                                            Check all that apply.
          3801 Portside Dr.                                             Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5162   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Ronni Valentino                                            Check all that apply.
          1295 Della Place                                              Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5163   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          JP Valiuls                                                 Check all that apply.
          7904 Norma Court                                              Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5164   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Carla Valles                                               Check all that apply.
          172 Loyola Drive                                              Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5165   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Jennifer Valley                                            Check all that apply.
          6566 Akins Road                                               Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5166   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Scott Valore                                               Check all that apply.
          8630 mansion blvd.                                            Contingent
          mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5167   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Todd Valore                                                Check all that apply.
          7851 Champaign Dr.                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5168   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Anna Valuyskikh                                            Check all that apply.
          5234 Crofton Avenue                                           Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5169   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Linda VanAtta                                              Check all that apply.
          200 E. Bigelow                                                Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5170   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Lori VanBokkelen                                           Check all that apply.
          7638 Hempfield Lane                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5171   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Kristi Vance                                               Check all that apply.
          8603 Lazelle Commons Drive                                    Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5172   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Jillian VanderMerwe                                        Check all that apply.
          8829 Logger Place                                             Contingent
          Mason, OH 45040                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5173   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Daniel VanDeusen                                           Check all that apply.
          5545 KINVARRA CT                                              Contingent
          DUBLIN, OH 43016-6027                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5174   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Kimberly VanGundy                                          Check all that apply.
          3790 Smiley Road                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5175   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Amy VanHoose                                               Check all that apply.
          312 E. High Ave                                               Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5176   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Travis VanNeste                                            Check all that apply.
          85 Wildhurst Road                                             Contingent
          Excelsior, MN 55331                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5177   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Debi Vannoy                                                Check all that apply.
          9965 Darrow Park Dr F106                                      Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5178   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Angela Vannucci                                            Check all that apply.
          3818 Bradfords Gate                                           Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5179   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Michele Vano                                               Check all that apply.
          6145 Althea Dr                                                Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5180   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Patricia Vano                                              Check all that apply.
          9263 Terrace Park Dr.                                         Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5181   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Danielle Vanone                                            Check all that apply.
          12145 sperry                                                  Contingent
          chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5182   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Nate VanSteenvoort                                         Check all that apply.
          7679 FEDER ROAD                                               Contingent
          GALLOWAY, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5183   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Danielle VanVorhis                                         Check all that apply.
          7724 West Watermark Dr                                        Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5184   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Danielle VanVorhis                                         Check all that apply.
          7724 West Watermark Dr                                        Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5185   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Kolin VanWinkle                                            Check all that apply.
          5740 Birdie Lane                                              Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5186   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          John Varga                                                 Check all that apply.
          35 Nantucket drive                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5187   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Melissa Vata                                               Check all that apply.
          6890 Topper dr                                                Contingent
          Hudson, OH 44136                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5188   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Ashleigh Vaughn                                            Check all that apply.
          5860 Katara Drive                                             Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5189   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Barbara Vaughn                                             Check all that apply.
          2221 Tanner Ave S W                                           Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5190   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Julie Vaughn                                               Check all that apply.
          7983 Colonial Dr Apt C                                        Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5191   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $637.00    $637.00
          Maria Vazquez                                              Check all that apply.
          1520 hawk circle apt a                                        Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5192   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Nina Vazquez                                               Check all that apply.
          5595 Autumncrest St SW                                        Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5193   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Yolanda Veasey                                             Check all that apply.
          9931 Darrow Park Drive 110-M                                  Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5194   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Amy Vecchio                                                Check all that apply.
          8089 cloveridge road                                          Contingent
          chagrin falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5195   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Scott Vehar                                                Check all that apply.
          8250 Lancaster Dr.                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5196   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Laurel Velazquez                                           Check all that apply.
          24609 Duffield Road                                           Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5197   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Bonnie Veleba                                              Check all that apply.
          8415 Music st                                                 Contingent
          chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5198   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Luis Velez                                                 Check all that apply.
          1236 kildale sq n                                             Contingent
          columbus, OH 43229                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5199   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Carl Vella                                                 Check all that apply.
          2046 Spring Ridge                                             Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5200   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Ayse Vellky                                                Check all that apply.
          1903 Forestview Lane                                          Contingent
          Delaware, OH 43015                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5201   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Stephanie Vellky                                           Check all that apply.
          3686 Lagoon Ln                                                Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5202   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Shannon Velotta                                            Check all that apply.
          12402 Harold Dr                                               Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5203   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Aneta Velovski                                             Check all that apply.
          96 Purple Leaf Ln                                             Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5204   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Kristen Veltkamp                                           Check all that apply.
          17350 Parkside Drive                                          Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5205   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Natalie Vendetti                                           Check all that apply.
          6521 Sherry Lane                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5206   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Sarah Venezian                                             Check all that apply.
          7724 Shawnee Run Rd                                           Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5207   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          SHANKAR VENKATARAMAN                                       Check all that apply.
          331 HOLLY GROVE ROAD                                          Contingent
          LEWIS CENTER, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5208   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Rachel Venti                                               Check all that apply.
          3066 Ravenna St                                               Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5209   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Sherryl Verceles                                           Check all that apply.
          2200 Shamrock Lane                                            Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5210   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Carol Vernyi                                               Check all that apply.
          3693 Sea Ray Cv                                               Contingent
          Aurora, OH 44202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5211   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Beverly Via                                                Check all that apply.
          26 N. Norwich Rd.                                             Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5212   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Debra Victor                                               Check all that apply.
          36140 PETTIBONE ROAD                                          Contingent
          SOLON, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5213   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Heather Vidmar-McEwen                                      Check all that apply.
          23316 E Groveland Rd                                          Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5214   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jacqueline Vidra                                           Check all that apply.
          4772 Farley Dr.                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5215   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Jeremiah Vigansky                                          Check all that apply.
          208 Greenridge Drive                                          Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5216   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Melissa Villafan                                           Check all that apply.
          4663 Russell Pt                                               Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5217   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Candace Villanueva                                         Check all that apply.
          5386 Crescent Drive                                           Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5218   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Laura Villanueva                                           Check all that apply.
          12860 Mayfield Road Lot 46                                    Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5219   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Chris Vincent                                              Check all that apply.
          9247 Windy Creek                                              Contingent
          Columbus, OH 43240                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5220   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Jim Vitale                                                 Check all that apply.
          10180 Weathersfield Dr.                                       Contingent
          Concord Twp., OH 44060                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5221   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Jim Vitale                                                 Check all that apply.
          10180 Weathersfield Dr.                                       Contingent
          Concord Twp., OH 44060                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5222   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Tamarraw Vitangeli                                         Check all that apply.
          691 Rosecrest Dr                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5223   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Tamarraw Vitangeli                                         Check all that apply.
          691 Rosecrest Dr                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5224   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Timothy Vlach                                              Check all that apply.
          6603 Deer Haven Dr                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5225   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Mimi Vo                                                    Check all that apply.
          3138 merino lane                                              Contingent
          twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5226   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          THY VO                                                     Check all that apply.
          7758 Kingman Place                                            Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5227   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Paula Voegele                                              Check all that apply.
          9660 Kelly Drive                                              Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5228   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Katherine Vogel                                            Check all that apply.
          41 morning song lane                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5229   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Natalie Vogt                                               Check all that apply.
          2461 Arborwood Drive                                          Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5230   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          George Voinovich                                           Check all that apply.
          2749 Middleton Rd.                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5231   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Sheila Vollmer                                             Check all that apply.
          314 Adams St                                                  Contingent
          Port Clinton, OH 43452-1909                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5232   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Joe Volpe                                                  Check all that apply.
          1067 Valewood Ct                                              Contingent
          Painesville Twp, OH 44077                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5233   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Todd Von Ville                                             Check all that apply.
          2677 Ellsworth Hill Drive                                     Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5234   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Gina VonVille                                              Check all that apply.
          2677 Ellsworth Hill Drive                                     Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5235   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Frank Vosicky                                              Check all that apply.
          710 Retford Parkway                                           Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5236   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Eric Voth                                                  Check all that apply.
          8668 Center Drive                                             Contingent
          North Royalton, OH 44087                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5237   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Marianthie Vourliotis                                      Check all that apply.
          5200 Royalton Rd. B3                                          Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5238   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Shelly Vranich                                             Check all that apply.
          5565 Baycrest St SW                                           Contingent
          Canton, OH 45706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5239   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Ana Vucic                                                  Check all that apply.
          2362 Hetter Street                                            Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5240   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Kim Vujaklija                                              Check all that apply.
          8920 Hikers Trail                                             Contingent
          CHARDON, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5241   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Antonija Vukancic                                          Check all that apply.
          6194 Seneca Rd                                                Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5242   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Nick Vunderink                                             Check all that apply.
          205 Goredon Dr                                                Contingent
          Chardon, OH 44024-1513                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5243   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Richard Wachhaus                                           Check all that apply.
          9814 Fawn Court                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5244   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Lisa Wade                                                  Check all that apply.
          8024 Butler Hill Drive                                        Contingent
          Concord Twp, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5245   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Melissa Wadsworth                                          Check all that apply.
          100 Keenan Rd. Lot B38                                        Contingent
          Peninsula, OH 44264                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5246   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $230.00    $230.00
          Colette Wagener                                            Check all that apply.
          1009 W WAYNE ST                                               Contingent
          MAUMEE, OH 43537                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5247   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Diane Wagenhauser                                          Check all that apply.
          3075 Gilridge Dr                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5248   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Daryl Wagner                                               Check all that apply.
          198 Aurora Street                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5249   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Gina Wagner                                                Check all that apply.
          12691 Ravenna Rd                                              Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5250   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Gina Wagner                                                Check all that apply.
          12691 Ravenna Rd                                              Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5251   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Keisha Wagner                                              Check all that apply.
          10346 Merriam Lane                                            Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5252   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Tanya Wagner                                               Check all that apply.
          6299 Cumberland Drive                                         Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5253   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Jennifer Waicak                                            Check all that apply.
          2472 Mary Lou St NW                                           Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5254   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Betce Wainio                                               Check all that apply.
          10641 jubilee drive                                           Contingent
          chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5255   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Holly Waite                                                Check all that apply.
          3926 Kings Mill Run                                           Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5256   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Monica Waite                                               Check all that apply.
          7646 Glenmont Dr. Apt A A                                     Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5257   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Jennifer Walberry                                          Check all that apply.
          336 holly grove road                                          Contingent
          lewis ceneter, OH 43035                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5258   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          JAMES WALCZAK                                              Check all that apply.
          1442 SANFORD ST                                               Contingent
          VERMILION, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5259   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Sarah Wales-McGrath                                        Check all that apply.
          3072 Abrams Drive                                             Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5260   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Annalee Walker                                             Check all that apply.
          1810 Beechwood Dr                                             Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5261   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Annalee Walker                                             Check all that apply.
          1810 Beechwood Dr                                             Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5262   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Danielle Walker                                            Check all that apply.
          6546 Chestwick Lane                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5263   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Danielle Walker                                            Check all that apply.
          6546 Chestwick Lane                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5264   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Deva Walker                                                Check all that apply.
          23305 Chagrin Blvd Apt 310                                    Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5265   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Heather Walker                                             Check all that apply.
          7539 Fern Dr                                                  Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5266   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Holly Walker                                               Check all that apply.
          4577 Marilyn Street                                           Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5267   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Tricia Walker                                              Check all that apply.
          2645 Brooklyn Ave SW                                          Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5268   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $500.00    $500.00
          Barbara Wallace                                            Check all that apply.
          43160 Hastings Rd                                             Contingent
          Oberlin, OH 44074                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5269   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Halle Wallace                                              Check all that apply.
          6318 Bryson drive                                             Contingent
          mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5270   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Amie Walland                                               Check all that apply.
          12830 big creek ridge drive                                   Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5271   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Karena Waller                                              Check all that apply.
          701 S Stanfield Rd Apt 144                                    Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5272   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $230.00    $230.00
          Teri Waller                                                Check all that apply.
          1134 Westfield Dr.                                            Contingent
          Maumee, OH 43537                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5273   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Alisa Walsh                                                Check all that apply.
          6838 Mayapple Circle                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5274   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Maria Walston                                              Check all that apply.
          7714 Garfield Rd.                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5275   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Marlene Walter                                             Check all that apply.
          6598 Ebury Cir                                                Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5276   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Molly Walters                                              Check all that apply.
          3822 Treadway Trail                                           Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5277   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Heather Walton                                             Check all that apply.
          1219 concord ave sw                                           Contingent
          Canton, OH 44720                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5278   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Tammy Walton                                               Check all that apply.
          6609 Limberlost Court                                         Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5279   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Shelly Waltz                                               Check all that apply.
          6766 Ken Arbre Dribet                                         Contingent
          Cincinnati, OH 45236                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5280   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Bo Wang                                                    Check all that apply.
          5370 brooklands drive                                         Contingent
          hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5281   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Haiping Wang                                               Check all that apply.
          2562 Biscayne Blve                                            Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5282   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Kaisheng Wang                                              Check all that apply.
          27555 Tinkers Valley Dr.                                      Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5283   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Nancy Wang                                                 Check all that apply.
          4740 Brookhaven Dr                                            Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5284   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Xiaohong Wang                                              Check all that apply.
          7749 Peck Ct.                                                 Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5285   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Kristin Wanyek                                             Check all that apply.
          1201 waterfront place                                         Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5286   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Kristin Wanyek                                             Check all that apply.
          1201 waterfront place                                         Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5287   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Kristin Wanyek                                             Check all that apply.
          1201 waterfront place                                         Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5288   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Kristin Wanyek                                             Check all that apply.
          1201 waterfront place                                         Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5289   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Michael Warburton                                          Check all that apply.
          3505 Patcon Way                                               Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5290   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Cheryl Ward                                                Check all that apply.
          4911 Menloughwood Dr NW                                       Contingent
          Canton, OH 44708                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5291   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Mark Ward                                                  Check all that apply.
          1141 Edgewater Drive                                          Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5292   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Mark Ward                                                  Check all that apply.
          1141 Edgewater Drive                                          Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5293   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Molly Ward                                                 Check all that apply.
          20783 Avalon Drive                                            Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5294   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Monique Ward                                               Check all that apply.
          5645 HIllcrest Avenue                                         Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5295   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Suzanne Ward                                               Check all that apply.
          11561 Cherry Hollow Drive                                     Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5296   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Tina Ward                                                  Check all that apply.
          7909 PRESTON HILL CT                                          Contingent
          MENTOR, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5297   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Tina Ward                                                  Check all that apply.
          7394 south chestnut commons dr                                Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5298   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Tracy Ward                                                 Check all that apply.
          858 River Forest Drive                                        Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5299   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Hillary Warman                                             Check all that apply.
          5859 Bradford Way                                             Contingent
          Hudson, OH 62025                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5300   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          LeeAnn Warner                                              Check all that apply.
          5673 Nike Dr                                                  Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5301   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Nicole Warner                                              Check all that apply.
          2799 Lakeview Ave                                             Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5302   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Stephanie Warner                                           Check all that apply.
          8586 Clover Glade Dr                                          Contingent
          Lewis Center, OH 43035-8647                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5303   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Tara Warner                                                Check all that apply.
          3257 Havel Drive                                              Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5304   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          April Warstler                                             Check all that apply.
          3060 Perry Dr Nw                                              Contingent
          Canton, OH 44708                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5305   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Laura Washington                                           Check all that apply.
          214 Canfield Dr.                                              Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5306   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Raymond Washio                                             Check all that apply.
          3614 Palmer Drive                                             Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5307   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          John Wasko                                                 Check all that apply.
          7472 Duke Ct.                                                 Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5308   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Tom Wasserman                                              Check all that apply.
          22465 Marlys 22465 Marlys                                     Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5309   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Frank Watkins                                              Check all that apply.
          7606 Allegheny Drive                                          Contingent
          Concord, OH 44060                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5310   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Matthew Watkins                                            Check all that apply.
          906 Governors Rd                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5311   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Matthew Watkins                                            Check all that apply.
          906 Governors Rd                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5312   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Sarah Watkins                                              Check all that apply.
          1142 Washington Road                                          Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5313   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Sarah Watkins                                              Check all that apply.
          1142 Washington Road                                          Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5314   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Crystel WatkinsBates                                       Check all that apply.
          309 Elberta Dr                                                Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5315   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          KARRIE WATROUS                                             Check all that apply.
          328 BIRCHWOOD LANE                                            Contingent
          PAINESVILLE, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5316   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jessica Watson                                             Check all that apply.
          6615 Center St                                                Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5317   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Michelle Watson                                            Check all that apply.
          10950 forest oaks drive                                       Contingent
          chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5318   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Sandi Watson                                               Check all that apply.
          1740 Sedwick NW                                               Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5319   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Tanya Watson                                               Check all that apply.
          2684 Bronsons Way                                             Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5320   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Debbie Watts                                               Check all that apply.
          9480 Sherman Rd                                               Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5321   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Jon Way                                                    Check all that apply.
          5983 Hampton Corners S                                        Contingent
          Hilliard, OH 43206                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5322   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Desiree Waypa                                              Check all that apply.
          1875 Curry Lane                                               Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5323   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Jamie Wearley                                              Check all that apply.
          2560 Victoria Pkwy                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5324   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          TAMMIE WEARSCH                                             Check all that apply.
          1191 SANFORD STREET                                           Contingent
          VERMILION, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5325   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Melissa Weaver                                             Check all that apply.
          4663 Surmay Ave SW                                            Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5326   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Stacey Weaver                                              Check all that apply.
          700 Bowhall road                                              Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5327   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Cheryl Webb                                                Check all that apply.
          418 E. 5th St.                                                Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5328   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Wesley Webb                                                Check all that apply.
          5230 13th st sw                                               Contingent
          canton, OH 44710                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5329   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Celine Webber                                              Check all that apply.
          417 Louisiana Ave.                                            Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5330   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Catherine Weber                                            Check all that apply.
          5039 Sharon Hill Drive                                        Contingent
          Columbus, OH 43235                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5331   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Don Webster                                                Check all that apply.
          10988 Leader RD                                               Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5332   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $330.00    $330.00
          Jennifer Webster                                           Check all that apply.
          373 Old Willow Ct                                             Contingent
          South Lebanon, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5333   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Lyn Webster                                                Check all that apply.
          12831 Balsam Dr                                               Contingent
          Van Buren, OH 45889-9687                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5334   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Lyn Webster                                                Check all that apply.
          12831 Balsam Dr                                               Contingent
          Van Buren, OH 45889-9687                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5335   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Mark Webster                                               Check all that apply.
          221 East 4th St.                                              Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5336   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Scott Webster                                              Check all that apply.
          6570 Newhouse Ct.                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5337   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Diane Wedding                                              Check all that apply.
          8031 Kings Ct.                                                Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5338   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Laura Weemhoff                                             Check all that apply.
          8320 Squad Dr                                                 Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5339   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Wei Wei                                                    Check all that apply.
          32625 Shadowbrook Dr                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5340   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Christine Weiherer                                         Check all that apply.
          3757 Indian Brave Trail                                       Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5341   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Jennifer Weil                                              Check all that apply.
          6833 Fox Hill Lane                                            Contingent
          Cincinnati, OH 45236                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5342   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Cathy Weinberg                                             Check all that apply.
          11387 Worthington Way                                         Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5343   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Halle Weinberg                                             Check all that apply.
          37355 Bunker Hill                                             Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5344   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Sherry Weinhardt                                           Check all that apply.
          857 Barlow rd                                                 Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5345   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Tim Weintraub                                              Check all that apply.
          6164 Norwood                                                  Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5346   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Kris Weir                                                  Check all that apply.
          13798 Fox Hills Dr                                            Contingent
          Novelty, OH 00044-0072                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5347   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Natalie Weir                                               Check all that apply.
          2962 Highwall Way                                             Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5348   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Melissa Weisenburger                                       Check all that apply.
          3183 Kaylyn Lane                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5349   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          David Weiser                                               Check all that apply.
          6391 Glenwillow Dr                                            Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5350   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Lynn Weiss                                                 Check all that apply.
          743 Wynstone Dr                                               Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5351   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Scott Weiss                                                Check all that apply.
          1031 Forestbrook Lane                                         Contingent
          PAINESVILLE, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5352   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Stacey Weister                                             Check all that apply.
          5129 14th St SW                                               Contingent
          Canton, OH 44710                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5353   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Tammy Weitzner                                             Check all that apply.
          16001 Bennett Rd                                              Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5354   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Echo Welch                                                 Check all that apply.
          8910 Dean Rd                                                  Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5355   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Laura Weldon                                               Check all that apply.
          7361 Lascala Drive                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5356   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Amanda Wells                                               Check all that apply.
          1853 Riverwood Trail                                          Contingent
          Kings Mills, OH 45034                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5357   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Kelley Wells                                               Check all that apply.
          6663 Ballantrae Place                                         Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5358   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          PATTI WELLS                                                Check all that apply.
          3662 TREADWAY TRAIL                                           Contingent
          HAMILTON, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5359   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Jenny Welte                                                Check all that apply.
          12179 County Road 109                                         Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5360   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Lauren Welter                                              Check all that apply.
          7141 Cedar Street                                             Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5361   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Lauren Welter                                              Check all that apply.
          7141 Cedar Street                                             Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5362   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Daren Wentz                                                Check all that apply.
          5097 Troyer Dr                                                Contingent
          Kent, OH 44135                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5363   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Joseph Wenzel                                              Check all that apply.
          8231 Sheltered Cove                                           Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5364   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Amy Werling                                                Check all that apply.
          3190 Autumn Applause Dr                                       Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5365   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Cory Wertsch                                               Check all that apply.
          1620 Clipper CV                                               Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5366   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Toni Wesen                                                 Check all that apply.
          7694 Chesterbrook Road                                        Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5367   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00     $750.00
          Maria Wessel                                               Check all that apply.
          3939 Von Rissen Ct                                            Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5368   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00     $165.00
          Christina West                                             Check all that apply.
          2790 Kimberly Drive                                           Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5369   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00     $410.00
          Gretchen West                                              Check all that apply.
          7422 Highwood Way                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5370   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,038.60    $1,038.60
          Lori West                                                  Check all that apply.
          2520 Renwick Way                                              Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5371   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Brock Westbrook                                            Check all that apply.
          9317 creekwood dr                                             Contingent
          mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5372   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Robert Westbrook                                           Check all that apply.
          6613 Apache Circle                                            Contingent
          Cincinnati, OH 45253                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5373   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Cyndi Westfall                                             Check all that apply.
          703 E Main St                                                 Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5374   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Brenda Whalen                                              Check all that apply.
          6279 Dawson Blvd                                              Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5375   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Kristen Whelan                                             Check all that apply.
          7802 Debonaire Dr.                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5376   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Angela Whitaker                                            Check all that apply.
          6716 Forest Hill ln                                           Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5377   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Michael Whitaker                                           Check all that apply.
          2970 Richmond Rd                                              Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5378   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Michael Whitaker                                           Check all that apply.
          2970 Richmond Rd                                              Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5379   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Geoffrey White                                             Check all that apply.
          20040 Parkview Ave                                            Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5380   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          James White                                                Check all that apply.
          122 Tilden Ave                                                Contingent
          CHARDON, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5381   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $90.00    $90.00
          JAMIE WHITE                                                Check all that apply.
          455 A BARLOW RD.                                              Contingent
          HUDSON, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5382   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Jennifer White                                             Check all that apply.
          2764 W Asplin Dr                                              Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5383   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Kimberly White                                             Check all that apply.
          11139 Butternut Road                                          Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5384   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Lori White                                                 Check all that apply.
          221 Canfield Drive                                            Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5385   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Michelle White                                             Check all that apply.
          185 Radley DR                                                 Contingent
          painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5386   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Patricia White                                             Check all that apply.
          5969 Paron Place                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5387   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Katrina Whited                                             Check all that apply.
          6041 Willow Lake Dr.                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5388   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Susan Whitelaw                                             Check all that apply.
          9359 Monticello Drive                                         Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5389   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Natalie Whiting                                            Check all that apply.
          11418 Heath Road                                              Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5390   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Natalie Whiting                                            Check all that apply.
          11418 Heath Road                                              Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5391   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Teresa Whiting                                             Check all that apply.
          1401 e state st                                               Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5392   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Marlene Whitman                                            Check all that apply.
          7579 Rollingbrook Trail                                       Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5393   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Susan Whitmer                                              Check all that apply.
          12792 Sperry Rd                                               Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5394   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Darrin Whitt                                               Check all that apply.
          4916 hollyview dr                                             Contingent
          vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5395   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Rod Whittington                                            Check all that apply.
          10283 Orchard Hill Ln.                                        Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5396   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Tim Wicinski                                               Check all that apply.
          1550 Commodore Cove                                           Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5397   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Amy Wickham                                                Check all that apply.
          6749 Trafalgar Loop                                           Contingent
          Dublin, OH 43016                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5398   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Nicole Wicks                                               Check all that apply.
          2973 E Orange Rd                                              Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5399   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Teresa Widdoes                                             Check all that apply.
          2255 Jesse Drive                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5400   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Yvette Widmar                                              Check all that apply.
          11624 Cambridge Dr.                                           Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5401   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Gina Wiechman                                              Check all that apply.
          907 taft st                                                   Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5402   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Gayleen Wiegand                                            Check all that apply.
          4920 Timberview Dr                                            Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5403   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Susan Wiesemann                                            Check all that apply.
          7301 Shewango Way                                             Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5404   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Jason Wiess                                                Check all that apply.
          9680 Executive Ct                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5405   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Jonathan Wiggins                                           Check all that apply.
          33945 blue heron dr                                           Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5406   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Shannon Wik                                                Check all that apply.
          5117 Meadowview Ln                                            Contingent
          South Lebanon, OH 45065                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5407   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Linda Wiley                                                Check all that apply.
          1492 Plantation Dr                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5408   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Brenda Wilkes                                              Check all that apply.
          4200 Shepler Church Ave SW                                    Contingent
          CANTON, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5409   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Alina Wilkinson                                            Check all that apply.
          5791 Birdie Lane                                              Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5410   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Tracey Wilkinson                                           Check all that apply.
          11460 Glenmora Drive                                          Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5411   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          JON WILLARD                                                Check all that apply.
          8663 CLARKSDALE DR                                            Contingent
          LEWIS CENTER, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5412   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Stacey Willging                                            Check all that apply.
          7863 Strawberry Hill Lane                                     Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5413   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Andrea Williams                                            Check all that apply.
          889 Thomas Lane                                               Contingent
          Columbus, OH 43220                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5414   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Angela Williams                                            Check all that apply.
          2307 Amberwood                                                Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5415   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Bradford Williams                                          Check all that apply.
          1282 Bell Court                                               Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5416   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Carissa Williams                                           Check all that apply.
          2736 Perry Drive SW                                           Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5417   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Carrie Williams                                            Check all that apply.
          795 Coy Ln                                                    Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5418   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Cheryl Williams                                            Check all that apply.
          10565 Hemlock Ridge Dr                                        Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5419   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Cheryl Williams                                            Check all that apply.
          10565 Hemlock Ridge Dr                                        Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5420   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Danielle Williams                                          Check all that apply.
          23511 Chagrin Blvd Apt. 306                                   Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5421   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Jacob Williams                                             Check all that apply.
          1182 Hubbard Road                                             Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5422   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Kelli Williams                                             Check all that apply.
          7781 Royal Park dr                                            Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5423   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Kimberly Williams                                          Check all that apply.
          3258 Shale Drive                                              Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5424   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Kristie Williams                                           Check all that apply.
          1100 Oxfordshire Drive                                        Contingent
          Columbus, OH 43228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5425   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Latisha Williams                                           Check all that apply.
          10803 Ravenna rd Apt 107                                      Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5426   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Laura Williams                                             Check all that apply.
          10700 Butternut Road                                          Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5427   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          LYNETTE WILLIAMS                                           Check all that apply.
          10446 TOWNLEY CT                                              Contingent
          REMINDERVILLE, OH 44202                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5428   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Michelle Williams                                          Check all that apply.
          37205 Halton Ct.                                              Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5429   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Michelle Williams                                          Check all that apply.
          37205 Halton Ct.                                              Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5430   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Raymond Williams                                           Check all that apply.
          1993 Marwell BLVD                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5431   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Shannon Williams                                           Check all that apply.
          5883 Buckeye Lane                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5432   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Shaun Williams                                             Check all that apply.
          43 West Bel Meadow Lane                                       Contingent
          South Russell, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5433   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Sheri Williams                                             Check all that apply.
          7856 Glengate Dr.                                             Contingent
          Broadview Hts, OH 44147                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5434   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Jennifer Williams-Reid                                     Check all that apply.
          10766 Butternut Rd                                            Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5435   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Michelle Willmott                                          Check all that apply.
          8151 Ravenna Road                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5436   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Trisha Wilmoth                                             Check all that apply.
          1774 Marby Dry                                                Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5437   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Trisha Wilmoth                                             Check all that apply.
          1774 Marby Dry                                                Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5438   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          April WIlson                                               Check all that apply.
          420 west 6th street                                           Contingent
          Port clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5439   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Felicia Wilson                                             Check all that apply.
          6488 Hayden Run Road                                          Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5440   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Jennifer Wilson                                            Check all that apply.
          1466 Lee Rd                                                   Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5441   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          JOHN WILSON                                                Check all that apply.
          8188 Dartmoor Rd                                              Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5442   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Nicole Wilson                                              Check all that apply.
          3143 St. Mikala Ct                                            Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5443   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Robin Wilson                                               Check all that apply.
          7502 Whitemarsh Way                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5444   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Shannon Wilson                                             Check all that apply.
          866 Bryant Dr                                                 Contingent
          Vermilion, OH 44089-1098                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5445   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Melanie Wilt                                               Check all that apply.
          7600 Holderman Street                                         Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5446   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Kama WINCHEL                                               Check all that apply.
          1337 Winningham Lane                                          Contingent
          Columbus, OH 43240                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5447   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Steve WindoverNoble                                        Check all that apply.
          2337 Champion Trail                                           Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5448   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Joy Wingader                                               Check all that apply.
          2299 Tyre Dr                                                  Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5449   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Bobbie Winkelman                                           Check all that apply.
          165 Buckingham Drive                                          Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5450   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Erica Winningham                                           Check all that apply.
          23351 Chagrin Blvd Apt 108                                    Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5451   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Thomas Wirsing                                             Check all that apply.
          6586 Dellhaven Ave                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5452   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Dena Wise                                                  Check all that apply.
          9385 Bassett Lane                                             Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5453   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Heather Wise                                               Check all that apply.
          8441 Olenbrook Drive                                          Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5454   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Mary Wise                                                  Check all that apply.
          556 Keys Dr                                                   Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5455   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Scott Wise                                                 Check all that apply.
          5482 Glasgow Place                                            Contingent
          COLUMBUS, OH 43235                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5456   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Chad Wiseman                                               Check all that apply.
          2370 Maxwell Ave.                                             Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5457   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Nellie Wislocki                                            Check all that apply.
          11983 Firefly Drive                                           Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5458   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Dianne Wislon                                              Check all that apply.
          9261 Boyer Lane                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5459   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Jessica Wisniewski                                         Check all that apply.
          119 Caroline street                                           Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5460   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Melissa Wissel                                             Check all that apply.
          2689 Leslie lee court                                         Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5461   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Tarin Withers                                              Check all that apply.
          6472 Ravena Dr.                                               Contingent
          Hamilton, OH 45011                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5462   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Larry Withrow                                              Check all that apply.
          5984 North Turtlecreek Drive                                  Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5463   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Donna Witter                                               Check all that apply.
          5303 Wilshire Park Dr.                                        Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5464   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $230.00    $230.00
          Tami Wittmann                                              Check all that apply.
          1304 Chantilly Dr.                                            Contingent
          Maumee, OH 43537                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5465   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Debbie Wittrup                                             Check all that apply.
          30270 Woodall                                                 Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5466   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Michelle Witzky                                            Check all that apply.
          7597 Capilano Drive                                           Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5467   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $700.00    $700.00
          Heidi Wojtowicz                                            Check all that apply.
          4119 Hurley Drive                                             Contingent
          Toledo, OH 43614                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5468   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Tom Wolak                                                  Check all that apply.
          6218 Carolyn Dr                                               Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5469   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Vanessa Wolcott                                            Check all that apply.
          13633 Radcliffe Rd                                            Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5470   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Vanessa Wolcott                                            Check all that apply.
          13633 Radcliffe Rd                                            Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5471   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Kerry Wolenski                                             Check all that apply.
          55 East Case Drive                                            Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5472   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Kerrie Wolf                                                Check all that apply.
          11243 Exmoor Dr                                               Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5473   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Monica WolfCuadrado                                        Check all that apply.
          2420 Tyre Dr                                                  Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5474   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Amanda Wolfe                                               Check all that apply.
          5273 Frisco dr                                                Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5475   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Amber Wolfe                                                Check all that apply.
          533 S Mulberry                                                Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5476   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Amber Wolfe                                                Check all that apply.
          533 S Mulberry                                                Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5477   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Danielle Wolfe                                             Check all that apply.
          5191 Hialeah Ct                                               Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5478   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Jon Wolfe                                                  Check all that apply.
          1410 Willowood Ct                                             Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5479   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Timothy Wolfe                                              Check all that apply.
          3199 Kaylyn Lane                                              Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5480   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $695.00    $695.00
          Lynn Wolfenberger                                          Check all that apply.
          4955 Reed Rd                                                  Contingent
          Columbus, OH 43220                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5481   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Deanna Wolford                                             Check all that apply.
          5610 Nike Dr.                                                 Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5482   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Amy Wolterman                                              Check all that apply.
          3505 Buckeye Trace                                            Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5483   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Shannon Wong                                               Check all that apply.
          37174 Tidewater Dr.                                           Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5484   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Nicole Wood                                                Check all that apply.
          7613 bellflower rd                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5485   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Timothy Wood                                               Check all that apply.
          3514 Mark Twain Dr.                                           Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5486   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Clint Woodall                                              Check all that apply.
          15316 Bent Tree Dr                                            Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5487   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Clint Woodall                                              Check all that apply.
          15316 Bent Tree Dr                                            Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5488   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Curtis Woodard                                             Check all that apply.
          2823 Pheasant Field Dr                                        Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5489   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Christene Woodley                                          Check all that apply.
          9020 Cabroilet Ave                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5490   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Kelly Woodmancy                                            Check all that apply.
          10781 Bentley Dr.                                             Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5491   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Christine Woods                                            Check all that apply.
          6363 carter blvd                                              Contingent
          mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5492   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Joe Woods                                                  Check all that apply.
          1419 Little Bear Loop                                         Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5493   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Kristie Woods                                              Check all that apply.
          921 Pheasant Grove Ave. NW                                    Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5494   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Kristie Woods                                              Check all that apply.
          921 Pheasant Grove Ave. NW                                    Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5495   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Tiffany Woods                                              Check all that apply.
          9063 Columbia rd                                              Contingent
          Loveland, OH 45140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5496   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Brandy Woodward                                            Check all that apply.
          1370 Sanford St                                               Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5497   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Darlene Woolard                                            Check all that apply.
          10000 Ezra Court                                              Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5498   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Jeffrey Woolf                                              Check all that apply.
          12806 Bass Lake Rd                                            Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5499   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Erin Worth                                                 Check all that apply.
          543 Shaftsbury Road                                           Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5500   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Allison Wouters                                            Check all that apply.
          122 Walnut St                                                 Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5501   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Amy Wrachford                                              Check all that apply.
          7673 Crimson Court                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5502   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          David Wray                                                 Check all that apply.
          9573 Nathanial Ln.                                            Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5503   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $635.00    $635.00
          Marcia Wray                                                Check all that apply.
          5759 Lake Michigan Drive                                      Contingent
          Fairfield, OH 45014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5504   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Melissa Wren                                               Check all that apply.
          2961 Highwall Way                                             Contingent
          Columbus, OH 43221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5505   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Amy Wright                                                 Check all that apply.
          9948 Pebble Beach Cove                                        Contingent
          Reminderville, OH 44202                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5506   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Anita Wright                                               Check all that apply.
          2872 Roanoke St NW                                            Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5507   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Barbara Wright                                             Check all that apply.
          860 Outrigger Cove                                            Contingent
          Painesville, OH 44077                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5508   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.00    $750.00
          Dalanna Wright                                             Check all that apply.
          9 East State Road                                             Contingent
          Cleves, OH 45002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5509   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Gregory Wright                                             Check all that apply.
          754 Sawmill Trail NE                                          Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5510   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $810.00    $810.00
          Jammie Wright                                              Check all that apply.
          216 E Main St                                                 Contingent
          Troy, OH 45373                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5511   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Molly Wright                                               Check all that apply.
          18891 Inglewood Ave                                           Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5512   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Scott Wright                                               Check all that apply.
          7565 Deerpath Trl                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5513   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Stefanie Wroblesky                                         Check all that apply.
          13103 hampton club drive Apt. 102                             Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5514   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Charles Wu                                                 Check all that apply.
          6910 Silkwood Lanbe                                           Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5515   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $780.00    $780.00
          Jianqiang Wu                                               Check all that apply.
          6762 Eleck Pl                                                 Contingent
          Cincinnati, OH 45243                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5516   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Yan Wu                                                     Check all that apply.
          24912 Hazelmere Rd                                            Contingent
          Beachwood, OH 44122-2325                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5517   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Amy Wurst                                                  Check all that apply.
          37540 Delamere Court                                          Contingent
          SOLON, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5518   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Keely Wymer                                                Check all that apply.
          2381 Bluestone Dr.                                            Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5519   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Lynn Wyville                                               Check all that apply.
          203 Monticello Dr                                             Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5520   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Jing Xie                                                   Check all that apply.
          35610 Spicebush Ln                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5521   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Lin Xu                                                     Check all that apply.
          32185 Sedgefield Oval                                         Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5522   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Yanmei Xu                                                  Check all that apply.
          455 Inverness Ct.                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5523   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Zhan Xu                                                    Check all that apply.
          32400 Miles Rd.                                               Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5524   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          EY                                                         Check all that apply.
          6668 Winston lane                                             Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5525   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Lazar Yakubov                                              Check all that apply.
          23210 E Baintree rd                                           Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5526   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Amy Yamamoto                                               Check all that apply.
          10360 Penniman Drive                                          Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5527   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Ruqiang Yan                                                Check all that apply.
          23351 Chagrin Blvd Apt 309                                    Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5528   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Stacey Yanak                                               Check all that apply.
          7324 lacosta dr.                                              Contingent
          hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5529   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Stacey Yanak                                               Check all that apply.
          7324 lacosta dr.                                              Contingent
          hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5530   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          James Yang                                                 Check all that apply.
          35634 Spatterdock Ln                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5531   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Jun Yang                                                   Check all that apply.
          2650 Buckhurst Dr                                             Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5532   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Jun Yang                                                   Check all that apply.
          21703 Halworth Rd                                             Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5533   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Michele Yanosko                                            Check all that apply.
          7760 Litchfield Dr                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5534   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Caiping Yao                                                Check all that apply.
          5740 Ledgebrook Ln                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5535   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Stephanie Yarbrough                                        Check all that apply.
          4787 East Woodland Dr.                                        Contingent
          Port Vlinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5536   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Tonia Yard                                                 Check all that apply.
          2399 Cambridge Drive                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5537   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Shala Yarger                                               Check all that apply.
          868 Master Drive                                              Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5538   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Mindy Yarris                                               Check all that apply.
          1494 wilhoit ave                                              Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5539   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Dalya Yaseen                                               Check all that apply.
          4802 prince charles way                                       Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5540   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Lilit Yavryan                                              Check all that apply.
          3445 Beaver Trail Unit -A                                     Contingent
          Reminderville, OH 44202                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5541   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $230.00    $230.00
          John Yeager                                                Check all that apply.
          654 Stacey Ln                                                 Contingent
          Maumee, OH 43537                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5542   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Michelle Yeager                                            Check all that apply.
          1540 Clearbrook Rd NW                                         Contingent
          Massillon, OH 44646                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5543   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Jeannette Yellen                                           Check all that apply.
          9359 Sarah Court                                              Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5544   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Tracey Yerkey                                              Check all that apply.
          69 Hickory Lane                                               Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5545   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Alper Yilmaz                                               Check all that apply.
          2673 Bold Venture Drive                                       Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5546   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Liya Yin                                                   Check all that apply.
          5378 Duffield Drive                                           Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5547   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Cassandra Yoder                                            Check all that apply.
          72 23rd Street NW                                             Contingent
          Massillon, OH 44647                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5548   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Gavin Yoder                                                Check all that apply.
          1165 Allison Rd                                               Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5549   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Deanna Yoger                                               Check all that apply.
          10430 Sawmill Drive                                           Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5550   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Marcie Yontz                                               Check all that apply.
          1108 West River Rd.                                           Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5551   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $165.00    $165.00
          Sybil York                                                 Check all that apply.
          4904 Riverwalk drive                                          Contingent
          Kings Mills, OH 45034                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5552   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          David Yothers                                              Check all that apply.
          7852 Royal Park Dr.                                           Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5553   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Wendy Youmans                                              Check all that apply.
          110 Pine Hollow Circle                                        Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5554   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Crystal Young                                              Check all that apply.
          4670 fields way                                               Contingent
          lorain, OH 44053                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5555   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Elin Young                                                 Check all that apply.
          24023 Letchworth Rd.                                          Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5556   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Elizabeth Young                                            Check all that apply.
          212 Bentleyville Road                                         Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5557   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $675.00    $675.00
          Gary Young                                                 Check all that apply.
          325 N. Park ST.                                               Contingent
          Bellefontaine, OH 43311                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5558   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Heather Young                                              Check all that apply.
          730 terex road                                                Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5559   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Lisa Young                                                 Check all that apply.
          2342 Moock Ave. S.W.                                          Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5560   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Marcus Young                                               Check all that apply.
          1221 brooklyn ave sw                                          Contingent
          canton, OH 44710                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5561   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          ShaQuanna Young                                            Check all that apply.
          313 Olive St                                                  Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5562   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Tarl Young                                                 Check all that apply.
          1142 Rockwood ave                                             Contingent
          Canton, OH 44710                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5563   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Rikki Youngpeter                                           Check all that apply.
          7532 Township Rd. 212                                         Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5564   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $580.00    $580.00
          Rikki Youngpeter                                           Check all that apply.
          7532 Township Rd. 212                                         Contingent
          Findlay, OH 45840                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5565   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Saideh Yousefi                                             Check all that apply.
          7500 jasani ct                                                Contingent
          mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5566   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Jin Yu                                                     Check all that apply.
          5004 Lake Forest drive                                        Contingent
          Peninsula, OH 44264                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5567   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Zheng Yu                                                   Check all that apply.
          23511 Chagrin Blvd. #210                                      Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5568   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Ray Zack                                                   Check all that apply.
          4151 Morley Dr.                                               Contingent
          Reminderville, OH 44202                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5569   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Cheryl Zadow                                               Check all that apply.
          5602 Sunset Drive                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5570   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Linda Zahn                                                 Check all that apply.
          8440 Mansion Blvd.                                            Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5571   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Annette Zak                                                Check all that apply.
          702 Fairwood                                                  Contingent
          Elyria, OH 44035                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5572   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $645.00    $645.00
          Kristina Zakrzewski                                        Check all that apply.
          2352 Highlandtown Drive                                       Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5573   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Gregory Zalack                                             Check all that apply.
          7414 Yorktown Ct.                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5574   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Julie Zalar                                                Check all that apply.
          2525 Roe Drive                                                Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5575   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Sandra Zalar                                               Check all that apply.
          10485 Locust Grove                                            Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5576   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Allison Zam                                                Check all that apply.
          1761 Douglas Ave                                              Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5577   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Mary Beth Zammataro                                        Check all that apply.
          1647 Callander Drive                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5578   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $385.00    $385.00
          Jennifer Zammikiel                                         Check all that apply.
          10018 Patton ST                                               Contingent
          Twinsburg, OH 44087                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5579   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Peggy Zand                                                 Check all that apply.
          7628 White Oak Drive                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5580   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Lynn Zantopulos                                            Check all that apply.
          3242 Reckman Court                                            Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5581   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Dana Zarcone                                               Check all that apply.
          9820 Rosewood Dr.                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5582   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Jennifer Zaremba                                           Check all that apply.
          14549 west ridge dr                                           Contingent
          novelty, OH 44072                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5583   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $340.00    $340.00
          Diane Zargari                                              Check all that apply.
          12675 Hovey Drive                                             Contingent
          Chesterland, OH 44026                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5584   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Michelle Zarges                                            Check all that apply.
          1633 Norton Road                                              Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5585   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Tracy Zarzour                                              Check all that apply.
          10580 Somerset Dr                                             Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5586   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $700.00    $700.00
          Brian Zattau                                               Check all that apply.
          1710 Eastfield Drive                                          Contingent
          Maumee, OH 43537-2325                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5587   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Scott Zeiger                                               Check all that apply.
          9400 Roryanna Drive                                           Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5588   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Joy Zeiler Courtright                                      Check all that apply.
          60 E. Belmeadow Lane                                          Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5589   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          James Zelazny                                              Check all that apply.
          11430 Holden Ridge Road                                       Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5590   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Andrea Zemanek                                             Check all that apply.
          114 Deepwood Ct                                               Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5591   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Betsy Zemba                                                Check all that apply.
          9970 High Country Dr                                          Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5592   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Betsy Zemba                                                Check all that apply.
          9970 High Country Dr                                          Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5593   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Lezley Zender                                              Check all that apply.
          257 Arundel Rd                                                Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5594   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Erica Zgola                                                Check all that apply.
          8108 risden rd                                                Contingent
          Vermilion, OH 44089                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5595   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Yuening Zhang                                              Check all that apply.
          6894 Glenallen Ave                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5596   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $435.00    $435.00
          Yuming Zhang                                               Check all that apply.
          24958 Hazelmere Rd                                            Contingent
          Beachwood, OH 44122                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5597   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Yuxia Zhang                                                Check all that apply.
          7338 Shelford Drive                                           Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5598   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Julie Zhao                                                 Check all that apply.
          5808 Nicholson Dr                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5599   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Weidong Zhao                                               Check all that apply.
          2146 Weston dr                                                Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5600   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Xia Zhao                                                   Check all that apply.
          36845 Valley Forge Dr                                         Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5601   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          XIAOXIAN ZHAO                                              Check all that apply.
          5985 BUCKBOARD LN.                                            Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5602   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $455.00    $455.00
          Xiaoling Zheng                                             Check all that apply.
          9518 Brinfield Dr                                             Contingent
          Mentor, OH 44060                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5603   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Julia Zhitenev                                             Check all that apply.
          32275 N Roundhead Dr                                          Contingent
          Solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5604   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $440.00    $440.00
          Kimberly Zibert                                            Check all that apply.
          265 S. Meachem Rd. Lot 77                                     Contingent
          Port Clinton, OH 43452                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5605   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Dena Ziegenfuss                                            Check all that apply.
          13560 Walking Stick Ln                                        Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5606   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $520.00    $520.00
          Kristin Ziegler                                            Check all that apply.
          13900 Radcliffe Road                                          Contingent
          Leroy Township, OH 44024                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5607   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $870.00    $870.00
          Darlene Zigmont                                            Check all that apply.
          7876 Charline Ct                                              Contingent
          Lewis Center, OH 43035                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5608   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $330.00    $330.00
          Vanessa Zigos                                              Check all that apply.
          7516 Hamilton Ave                                             Contingent
          Maineville, OH 45039                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5609   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Leslie Zimcosky                                            Check all that apply.
          1072 Sheerbrook Drive                                         Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5610   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Jerome Zimmerer                                            Check all that apply.
          10895 Forest Oaks Drive                                       Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5611   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $465.00    $465.00
          Adam Zimmerman                                             Check all that apply.
          75 Greentree Road                                             Contingent
          Chagrin Falls, OH 44022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5612   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Aric Zimmerman                                             Check all that apply.
          8556 Carbine Place                                            Contingent
          Galloway, OH 43119                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5613   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Catherine Zimmerman                                        Check all that apply.
          11270 highland view dr                                        Contingent
          chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5614   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $140.00    $140.00
          Jeffrey Ziol                                               Check all that apply.
          6160 Nicholson Drive                                          Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5615   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Tracee Zitnik                                              Check all that apply.
          7980 Augusta Lane                                             Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5616   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Tracee Zitnik                                              Check all that apply.
          7980 Augusta Lane                                             Contingent
          Concord, OH 44077                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5617   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Andrea Zmich                                               Check all that apply.
          6321 Hardwick Way                                             Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5618   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $185.00    $185.00
          Robin Znidarsic                                            Check all that apply.
          9591 Holden Court                                             Contingent
          Kirtland Hills, OH 44060                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5619   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $205.00    $205.00
          Robin Znidarsic                                            Check all that apply.
          9591 Holden Court                                             Contingent
          Kirtland Hills, OH 44060                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5620   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $325.00    $325.00
          Stan Zody                                                  Check all that apply.
          4347 Heather Ridge Drive                                      Contingent
          Hilliard, OH 43026                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5621   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $490.00    $490.00
          Heather Zollars                                            Check all that apply.
          4160 Shepler Church Avenue SW                                 Contingent
          Canton, OH 44706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5622   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $505.00    $505.00
          Joseph Zomber                                              Check all that apply.
          32793 arlesford dr                                            Contingent
          solon, OH 44139                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5623   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $495.00    $495.00
          Michele Zombory                                            Check all that apply.
          12015 Britton Lane                                            Contingent
          Chardon, OH 44024                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5624   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $410.00    $410.00
          Natalia Zorkin                                             Check all that apply.
          497 W Streetsboro St C                                        Contingent
          Hudson, OH 44236                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5625   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $470.00    $470.00
          Dritan Zotaj                                               Check all that apply.
          3167 Linden Rd 201                                            Contingent
          Rocky River, OH 44116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5626   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $460.00    $460.00
          Oleksandra Zub                                             Check all that apply.
          7623 creekwood drive                                          Contingent
          North Royalton, OH 44133                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017 or 2018                                               trip deposit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       Discovery Tours Inc.                                                                            Case number (if known)
              Name

 2.5627    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                           $495.00        $495.00
           Lisa Zucco                                                Check all that apply.
           708 North Section Ext.                                       Contingent
           South Lebanon, OH 45065                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5628    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                           $340.00        $340.00
           Angela Zurbuch                                            Check all that apply.
           8346 Lincoln Dr                                              Contingent
           Chesterland, OH 44026                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5629    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                           $140.00        $140.00
           Jeannie Zuydhoek                                          Check all that apply.
           2635 Sandstone path                                          Contingent
           Hudson, OH 44236                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5630    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                           $455.00        $455.00
           Ninette Zuzek                                             Check all that apply.
           5687 Primavera Drive                                         Contingent
           Mentor, OH 44060                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017 or 2018                                              trip deposit
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




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 Debtor       Discovery Tours Inc.                                                                    Case number (if known)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $108,750.00
          Accel Capital Services                                                Contingent
          30 Broad Street, Suite 14108                                          Unliquidated
          New York, NY 10004                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          ADT Security Services                                                 Contingent
          PO Box 371878                                                         Unliquidated
          Pittsburgh, PA 15250
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Beachwood MS                                                          Contingent
          2860 Richmond Road                                                    Unliquidated
          Beachwood, OH 44122
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Bellefontaine MS                                                      Contingent
          1201 Ludlow Road                                                      Unliquidated
          Bellefontaine, OH 43311
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $14,000.00
          Bus Bkg Express Lending CTR PAT                                       Contingent
          PO Box 94831                                                          Unliquidated
          Cleveland, OH 44101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $13,668.32
          Capital One                                                           Contingent
          PO Box 71087                                                          Unliquidated
          Charlotte, NC 28272                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    credit card
          Last 4 digits of account number       7838
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $18,501.36
          Capital One Bank                                                      Contingent
          PO Box 4692                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    credit card
          Last 4 digits of account number       2200
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Discovery Tours Inc.                                                                    Case number (if known)
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $18,674.30
          Cardmember Services                                                   Contingent
          PO Box 6294                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    credit card
          Last 4 digits of account number       4652
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $107,339.46
          Celtic Bank Corporation                                               Contingent
          268 S State Street, Suite 300                                         Unliquidated
          Salt Lake City, UT 84111                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Chagrin Falls MS                                                      Contingent
          400 East Washington Str                                               Unliquidated
          Chagrin Falls, OH 44023
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Chamberlin MS                                                         Contingent
          10270 Ravenna Road                                                    Unliquidated
          Twinsburg, OH 44087
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Chardon MS                                                            Contingent
          424 North Street                                                      Unliquidated
          Chardon, OH 44024
                                                                                Disputed
          Date(s) debt was incurred      2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $195,512.00
          Alfred Cipolletti                                                     Contingent
          24710 Dundee Dr                                                       Unliquidated
          Cleveland, OH 44143                                                   Disputed
          Date(s) debt was incurred      2010 on                             Basis for the claim:    loans and company use of personal credit cards
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $24,250.00
          Chrisopher Cipolletti                                                 Contingent
          1835 Dansy Dr                                                         Unliquidated
          Euclid, OH 44117                                                      Disputed
          Date(s) debt was incurred      2010 on                             Basis for the claim:    loans and company use of personal credit cards
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $31,961.00
          Gerri Cipolletti                                                      Contingent
          625 Hanford Dr                                                        Unliquidated
          Cleveland, OH 44143                                                   Disputed
          Date(s) debt was incurred      2009                                Basis for the claim:    loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $62,000.00
          Robyn Cipolletti                                                      Contingent
          7255 Lascala                                                          Unliquidated
          Hudson, OH 44236                                                      Disputed
          Date(s) debt was incurred      2012                                Basis for the claim:    company use of personal credit cards
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $100,747.06
          Joe Cipolletto                                                        Contingent
          7255 Lascala Dr                                                       Unliquidated
          Hudson, OH 44236                                                      Disputed
          Date(s) debt was incurred      2010 on                             Basis for the claim:    loans and company use of personal credit cards
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $5,520.00
          Danbury Elementary School                                             Contingent
          9451 E Harbor Rd                                                      Unliquidated
          Lakeside Marblehead, OH 43440                                         Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    payment for trip
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Digital Decibels, LLC                                                 Contingent
          79 East Gates Street                                                  Unliquidated
          Columbus, OH 43206
                                                                                Disputed
          Date(s) debt was incurred      2018
                                                                             Basis for the claim:    for precaution
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Dominion Energy Ohio                                                  Contingent
          PO Box 26785                                                          Unliquidated
          Richmond, VA 23261
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Double Tree Largo                                                     Contingent
          9100 Basil Court                                                      Unliquidated
          Largo, MD 20774
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Discovery Tours Inc.                                                                    Case number (if known)
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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Double Tree Oak Brook                                                 Contingent
          1909 Spring Road                                                      Unliquidated
          Oak Brook, IL 60523
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          East Woods ES                                                         Contingent
          120 North Hayden Pkwy                                                 Unliquidated
          Hudson, OH 44236
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Edison MS                                                             Contingent
          4201 13th Street                                                      Unliquidated
          Massillon, OH 44646
                                                                                Disputed
          Date(s) debt was incurred      2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Embassy Suites Deerfied                                               Contingent
          1445 Lake Cook Road                                                   Unliquidated
          Deerfield, IL 60015
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Embassy Suites Dulles North                                           Contingent
          44610 Waxpool Road                                                    Unliquidated
          Ashburn, VA 20147
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Embassy Suuites Williamsburg                                          Contingent
          3006 Mooretown Road                                                   Unliquidated
          Williamsburg, VA 23185
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Fairfield Creekside MS                                                Contingent
          1111 Nilles Road                                                      Unliquidated
          Fairfield, OH 45014
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Discovery Tours Inc.                                                                    Case number (if known)
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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $11,571.92
          First National Bank of Omaha                                          Contingent
          PO Box 2818                                                           Unliquidated
          Omaha, NE 68103                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    credit card
          Last 4 digits of account number       1382
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Hampton Inn Dulles North                                              Contingent
          4050 Westfax Drive                                                    Unliquidated
          Chantilly, VA 20151
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Hilton Gaithersburg                                                   Contingent
          620 Perry Parkway                                                     Unliquidated
          Gaithersburg, MD 20877
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Hilton Washington Dulles                                              Contingent
          13869 Park Center Road                                                Unliquidated
          Herndon, VA 20171
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Holiday Inn Dulles                                                    Contingent
          45425 Holiday Drive                                                   Unliquidated
          Sterling, VA 20166
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Holiday Inn Gaithersburg                                              Contingent
          2 Montgomery Village Ave                                              Unliquidated
          Gaithersburg, MD 20879
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Hudson MS                                                             Contingent
          77 North Oviatt Street                                                Unliquidated
          Hudson, OH 44236
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Discovery Tours Inc.                                                                    Case number (if known)
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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Hyatt Place Dulles South Chantilly                                    Contingent
          4994 Westone Plaza                                                    Unliquidated
          Chantilly, VA 20151
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Hyatt Regency Dulles                                                  Contingent
          2300 Dulles Corner Blvd                                               Unliquidated
          Herndon, VA 20102
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Hyatt Regency Fairfax                                                 Contingent
          12777 Fair Lakes Circle                                               Unliquidated
          Fairfax, VA 22033
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $35,280.00
          Indian Valley Middle School                                           Contingent
          PO Box 356                                                            Unliquidated
          Tuscarawas, OH 44682                                                  Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    payment for trip
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $35,379.32
          Kabbage, Inc.                                                         Contingent
          925B Peachtree Street, NE                                             Unliquidated
          Atlanta, GA 30309                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Keystone Technology Consultants                                       Contingent
          787 Wye Road                                                          Unliquidated
          Akron, OH 44333
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Kings Jr. HS                                                          Contingent
          5620 Columbia Road                                                    Unliquidated
          Kings Mills, OH 45034
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Discovery Tours Inc.                                                                    Case number (if known)
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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Lake Business Products                                                Contingent
          37200 Research Drive                                                  Unliquidated
          Eastlake, OH 44095
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Lamuth MS                                                             Contingent
          6700 Auburn Road                                                      Unliquidated
          Painesville, OH 44077
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Langston MS                                                           Contingent
          150 North Pleasant Street                                             Unliquidated
          Oberlin, OH 44074
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Madeira MS                                                            Contingent
          6612 Miami Avenue                                                     Unliquidated
          Cincinnati, OH 45243
                                                                                Disputed
          Date(s) debt was incurred      2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Marriott Washington Dulles                                            Contingent
          45020 Aviation Drive                                                  Unliquidated
          Dulles, VA 20166
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Maumee HS                                                             Contingent
          1147 Saco Street                                                      Unliquidated
          Maumee, OH 43537
                                                                                Disputed
          Date(s) debt was incurred      2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $105,000.00
          Mayfield Middle School                                                Contingent
          1123 Som Center Rd                                                    Unliquidated
          Cleveland, OH 44124                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    payment for trip
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 1415 of 1420
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 Debtor       Discovery Tours Inc.                                                                    Case number (if known)
              Name

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Memorial MS                                                           Contingent
          5600 Scioto Darby Road                                                Unliquidated
          Hilliard, OH 43026
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Memorial MS                                                           Contingent
          5670 Scioto Darby Road                                                Unliquidated
          Hilliard, OH 43026
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          North Roylaton MS                                                     Contingent
          14709 Ridge Road                                                      Unliquidated
          North Royalton, OH 44133
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Northwood MS                                                          Contingent
          700 Gulf Road                                                         Unliquidated
          Elyria, OH 44035
                                                                                Disputed
          Date(s) debt was incurred      2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Olentangy Orange MS                                                   Contingent
          2680 East Orange Road                                                 Unliquidated
          Lewis Center, OH 43035
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Panzica Realty                                                        Contingent
          PO Box 76144                                                          Unliquidated
          Cleveland, OH 44101
                                                                                Disputed
          Date(s) debt was incurred      2018
                                                                             Basis for the claim:    lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $10,000.00
          Joanne Paonsha                                                        Contingent
          4939 Anderson Rd                                                      Unliquidated
          Cleveland, OH 44124                                                   Disputed
          Date(s) debt was incurred      2017                                Basis for the claim:    company use of credit card
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Discovery Tours Inc.                                                                    Case number (if known)
              Name

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $75,354.91
          PayPal, Inc.                                                          Contingent
          2211 N First Street                                                   Unliquidated
          San Jose, CA 95131                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Port Clinton MS                                                       Contingent
          807 South Jefferson Street                                            Unliquidated
          Port Clinton, OH 43452
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Purchase Power                                                        Contingent
          PO Box 371874                                                         Unliquidated
          Pittsburgh, PA 15250
                                                                                Disputed
          Date(s) debt was incurred      2018
                                                                             Basis for the claim:    postage machine
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Renaissane Chicago Northrbrook                                        Contingent
          933 Skokie Boulevard                                                  Unliquidated
          Northbrook, IL 60062
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Ridge MS                                                              Contingent
          7860 Johnnycake Ridge Rd                                              Unliquidated
          Mentor, OH 44060
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Ridgview MS                                                           Contingent
          4241 Rudy Road                                                        Unliquidated
          Columbus, OH 43214
                                                                                Disputed
          Date(s) debt was incurred      2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Rocky River MS                                                        Contingent
          1631 Lakeview Avenue                                                  Unliquidated
          Rocky River, OH 44116
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Discovery Tours Inc.                                                                    Case number (if known)
              Name

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Sailorway MS                                                          Contingent
          5355 Sailorway Drive                                                  Unliquidated
          Vermilion, OH 44089
                                                                                Disputed
          Date(s) debt was incurred      2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Shore MS                                                              Contingent
          5670 Hopkins Road                                                     Unliquidated
          Mentor, OH 44060
                                                                                Disputed
          Date(s) debt was incurred      2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Solon MS                                                              Contingent
          6835 SOM Center Road                                                  Unliquidated
          Solon, OH 44139
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          St. Gabriel School                                                    Contingent
          9935 Johnnycake Ridge Rd                                              Unliquidated
          Mentor, OH 44060
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Taylor MS                                                             Contingent
          56 Cooper Road                                                        Unliquidated
          Cleves, OH 45002
                                                                                Disputed
          Date(s) debt was incurred      2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Telecom Assurance, LLC                                                Contingent
          3867 W Market Str, Suite 136                                          Unliquidated
          Akron, OH 44333
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          The Distillata Company                                                Contingent
          1608 East 24th Street                                                 Unliquidated
          Cleveland, OH 44114
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 1418 of 1420
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 Debtor       Discovery Tours Inc.                                                                    Case number (if known)
              Name

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          The Illuminating Company                                              Contingent
          PO Box 3687                                                           Unliquidated
          Akron, OH 44309
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $214,500.00
          The Smarter Merchant LLC                                              Contingent
          1115 Broadway                                                         Unliquidated
          New York, NY 10010                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Time Warner Cable                                                     Contingent
          PO Box 223085                                                         Unliquidated
          Pittsburgh, PA 15251
                                                                                Disputed
          Date(s) debt was incurred      2018
                                                                             Basis for the claim:    for precaution
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          U.S. Bank Equipment Finance                                           Contingent
          PO Box 790448                                                         Unliquidated
          St. Louis, MO 63179
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    copy machine
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Van Buren MS                                                          Contingent
          217 South Main Street                                                 Unliquidated
          Van Buren, OH 45889
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Van Cleve 6th Grade School                                            Contingent
          617 East Main Street                                                  Unliquidated
          Troy, OH 45373
                                                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Weaver MS                                                             Contingent
          4600 Avery Road                                                       Unliquidated
          Hilliard, OH 43026
                                                                                Disputed
          Date(s) debt was incurred      2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 1419 of 1420
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 Debtor       Discovery Tours Inc.                                                                    Case number (if known)
              Name

 3.78      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           West Geauga MS                                                       Contingent
           8611 Cedar Road                                                      Unliquidated
           Chesterland, OH 44026
                                                                                Disputed
           Date(s) debt was incurred 2018
                                                                             Basis for the claim:    for precaution - possible breach of contract
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes

 3.79      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Westin Washington Dulles                                             Contingent
           2520 Wasser Terrace                                                  Unliquidated
           Herndon, VA 20171
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    for precaution - possible breach of contract
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes

 3.80      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $19,575.00
           Willard High School                                                  Contingent
           Pme F;asjes Ave                                                      Unliquidated
           Willard, OH 44890                                                    Disputed
           Date(s) debt was incurred     2018                                Basis for the claim:    payment for trip
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Key Bank
           PO Box 94920                                                                               Line     3.5
           Cleveland, OH 44101-4920
                                                                                                             Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                   2,724,746.95
 5b. Total claims from Part 2                                                                            5b.    +     $                   1,207,584.65

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                      3,932,331.60




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 1420 of 1420
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 Fill in this information to identify the case:

 Debtor name         Discovery Tours Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   lease for business
             lease is for and the nature of               premises
             the debtor's interest

                  State the term remaining                2 years

             List the contract number of any                                          Panzica Realty
                   government contract


 2.2.        State what the contract or                   postage machine lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                about 5 years

             List the contract number of any                                          Purchase Power
                   government contract


 2.3.        State what the contract or                   copier lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                36 months

             List the contract number of any                                          US Bank Equipment
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Discovery Tours Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Discovery Tours Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $2,919,002.00
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $6,506,096.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $6,883,122.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Discovery Tours Inc.                                                                      Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               See attached list                                                                                   $0.00         Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    Robyn Cipolletti                                            various -                        $39,217.32         payment on account of
                                                                           Debtor will                                         company use of her credit
               wife of vice president                                      provide                                             cards
                                                                           detail of
                                                                           dates

       4.2.    Gerri Cipolletti                                            various -                        $48,019.00         loan
                                                                           Debtor will
               sister in law of owner                                      provide
                                                                           detail of
                                                                           dates

       4.3.    Joane Paonsha                                               various -                        $15,123.12         payment on account of
                                                                           Debtor will                                         company use of her credit
               sister of owner                                             provide                                             cards
                                                                           detail of
                                                                           dates

       4.4.    Chrisopher Cipolletti                                       various -                        $25,626.19         loan repayment and payment
                                                                           Debtor will                                         on account of company use of
               vice-president                                              provide                                             personal credit cards
                                                                           detail of
                                                                           dates

       4.5.    Alfred Cipolletti                                           various -                       $103,506.18         loan repayment and payment
                                                                           Debtor will                                         on account of company use of
               owner and president                                         provide                                             credit cards
                                                                           detail of
                                                                           dates

       4.6.    Joseph Cipolletti                                           various -                       $537,348.90         loan repayment and payment
                                                                           Debtor will                                         on account of company use of
               vice-president                                              provide                                             personal credit cards -- bulk is
                                                                           detail of                                           repayment of personal AmEx
                                                                           dates                                               card that was being used to
                                                                                                                               finance business operations;
                                                                                                                               amounts repaid were then
                                                                                                                               re-borrowed

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.



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 Debtor      Discovery Tours Inc.                                                                           Case number (if known)



           None

       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case               Court or agency's name and              Status of case
               Case number                                                                    address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                           Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss          Value of property
       how the loss occurred                                                                                                                                    lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




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 Debtor        Discovery Tours Inc.                                                                      Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates               Total amount or
                 the transfer?                                                                                                                              value
                 Address
       11.1.     Rabin & Rabin Co. LPA
                 55 Public Square
                 Suite 1750
                 Cleveland, OH 44113                                                                                           May 2018                $10,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers              Total amount or
                                                                                                                      were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer             Total amount or
                Address                                          payments received or debts paid in exchange             was made                           value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                 the debtor provides                                                      and housing, number of
                                                                                                                                          patients in debtor’s care

 Part 9:       Personally Identifiable Information




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 Debtor        Discovery Tours Inc.                                                                     Case number (if known)



16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.     Key Bank                                        XXXX-                       Checking                 closed by Key                        $0.00
                                                                                             Savings
                                                                                                                      Bank
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
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      Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
      medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Richlak, Lawyer & Co.                                                                                                      over 30 years
                    9140 Tyler Blvd
                    Mentor, OH 44060

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

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              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Joseph A Cipolletti
                    7255 Lascala Dr
                    Hudson, OH 44236

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Alfred A Cipolletti                            24719 Dundee Dr                                     sole shareholder and director         100%
                                                      Richmond Hts, OH 44143                              President

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Joseph A Cipolletti                            7255 Lascala Dr                                     Vice-President
                                                      Hudson, OH 44236

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Christopher Cipolletti                         1835 Eansy Dr                                       Vice-President
                                                      Euclid, OH 44117



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.




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               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1                                                      in additional to amounts set forth in
       .                                                         items SOFA item 4, $125,000 (annual                     various --
               Alfred Cipolletti                                 salary) -- certain expenses were                        company will
                                                                 reimbursed as well                                      provide detail    salary

               Relationship to debtor
               president and owner


       30.2                                                      in additional to amounts set forth in                   various -
       .                                                         items SOFA item 4, $70,000 (annual                      company will
               Joseph Cipolletti                                 salary) -- certain expenses were                        provide
                                                                 reimbursed as well                                      details           salary

               Relationship to debtor
               vice-president


       30.3                                                      in additional to amounts set forth in                   various --
       .                                                         items SOFA item 4, $60,000 (annual                      company will
               Christopher Cipolletti                            salary) -- certain expenses were                        provide
                                                                 reimbursed as well                                      details           salary

               Relationship to debtor
               vice president


       30.4                                                                                                              various -
       .    Joanne Paonsha                                       in additional to amounts set forth in                   company will
                                                                 items SOFA items 4, $10,000 in salary                   provide           salary

               Relationship to debtor
               sister of owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Debtor      Discovery Tours Inc.                                                                       Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         May 7, 2018

 /s/ Alfred A Cipolletti                                                Alfred A Cipolletti
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                        Type           Date          Num              Memo                       Account           Clr                    Split         Amount

Anderson Coach and Travel

                                        Chec             04/13/2018 Bank wir Shore MS                   60360 · Motor Coach              10400 · Citizens Bank / 6085     19,177.88

                                        Chec             04/16/2018 Bank Wi Ridge MS (Mentor)           60360 · Motor Coach              10400 · Citizens Bank / 6085     25,990.27

Total Anderson Coach and Travel                                                                                                                                           45,168.15

Barons Bus Lines

                                        Chec             03/05/2018 MO       Memorial MS                60362 · Charters                 10800 · PNC Bank / 9582          25,000.00

                                        Chec             04/24/2018 MO       Ruffing MS                 60362 · Charters                 10400 · Citizens Bank / 6085     10,640.00

Total Barons Bus Lines                                                                                                                                                    35,640.00

Blue Man Group

                                        Chec             02/23/2018 3264     Deposit - Mayfield MS      60310 · Admissions               10800 · PNC Bank / 9582           6,431.00

Total Blue Man Group                                                                                                                                                       6,431.00

Capital Stack

                                                                                                                                                                          66,649.44

Total Capital Stack                            paid directly by The Smarter Merchant from proceeds of new loan -- within 90 days                                          66,649.44

Cardinal Transportation

                                        Chec             02/09/2018 DC                                  60362 · Charters                 10500 · PayPal Reserve             750.00

                                        Chec             04/03/2018 MO       OLPH                       60362 · Charters                 10400 · Citizens Bank / 6085      5,750.00

Total Cardinal Transportation                                                                                                                                              6,500.00

Double Tree OakBrook

                                        Chec             03/21/2018 MO       WGHS                       60100 · Lodging / Hotels         10400 · Citizens Bank / 6085      5,125.60

Total Double Tree OakBrook                                                                                                                                                 5,125.60

DoubleTree Oakbrook

                                        Chec             03/21/2018 MO       WGHS                       60100 · Lodging / Hotels         10800 · PNC Bank / 9582           5,000.00

Total DoubleTree Oakbrook                                                                                                                                                  5,000.00

Embassy Suites Dulles North

                                        Chec             04/17/2018 7257     Deposit - Bellefontaine MS60100 · Lodging / Hotels          10400 · Citizens Bank / 6085      7,500.00

                                        Chec             04/17/2018 7258     Deposit - Bellefontaine MS60100 · Lodging / Hotels          10400 · Citizens Bank / 6085      7,500.00

Total Embassy Suites Dulles North                                                                                                                                         15,000.00




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                                        Type      Date          Num            Memo                     Account            Clr                    Split         Amount

Embassy Suites W illiamsburg

                                        Cred       05/01/2018         WGMS                      60100 · Lodging / Hotels         33111 · BOA / -6568 (JP)         10,000.00

Total Embassy Suites Williamsburg                                                                                                                                 10,000.00

Fashion Center at Pentagon City

                                        Chec       04/24/2018 MO                                60210 · Client Meals             10400 · Citizens Bank / 6085      6,662.00

Total Fashion Center at Pentagon City                                                                                                                              6,662.00

Hampton Inn & Suites Chicago

                                        Chec       03/05/2018 3275    Balance Due - Old Trail Sc60100 · Lodging / Hotels         10800 · PNC Bank / 9582          13,239.45

Total Hampton Inn & Suites Chicago                                                                                                                                13,239.45

Hilton

                                        Cred       02/20/2018                                   60100 · Lodging / Hotels         33101 · AMEX / 73006 (JAC)        7,519.20

                                        Cred       02/21/2018                                   60100 · Lodging / Hotels         33101 · AMEX / 73006 (JAC)        6,500.00

Total Hilton                                                                                                                                                      14,019.20

Hilton Dulles

                                        Cred       02/22/2018                                   60100 · Lodging / Hotels         33101 · AMEX / 73006 (JAC)       -7,519.20

                                        Cred       02/22/2018                                   60100 · Lodging / Hotels         33101 · AMEX / 73006 (JAC)        7,519.20

                                        Chec       04/09/2018 Bank Wi Edison MS                 60100 · Lodging / Hotels         10400 · Citizens Bank / 6085     11,397.12

Total Hilton Dulles                                                                                                                                               11,397.12

Holiday Inn Alexandria

                                        Chec       03/02/2018 MO      Elmwood MS                60100 · Lodging / Hotels         10800 · PNC Bank / 9582          20,891.72

Total Holiday Inn Alexandria                                                                                                                                      20,891.72

Holiday Inn Capital

                                        Cred       02/08/2018                                   60100 · Lodging / Hotels         33101 · AMEX / 73006 (JAC)        7,500.00

                                        Chec       04/27/2018 WIRE T Jones MS                   60100 · Lodging / Hotels         10400 · Citizens Bank / 6085     25,000.00

Total Holiday Inn Capital                                                                                                                                         32,500.00

Holiday Inn Capitol

                                        Chec       03/05/2018 MO      Hastings MS / Jones MS 60100 · Lodging / Hotels            10800 · PNC Bank / 9582          40,000.00

                                        Chec       04/26/2018 WIRE T Hastings MS                60100 · Lodging / Hotels         10400 · Citizens Bank / 6085     49,927.80




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                                        Type      Date          Num            Memo                     Account            Clr                    Split         Amount

Total Holiday Inn Capitol                                                                                                                                         89,927.80

Holiday Inn Dulle Airport

                                        Chec       04/16/2018 7124    MVMS                      60100 · Lodging / Hotels         10400 · Citizens Bank / 6085     32,663.78

Total Holiday Dulles Airport                                                                                                                                      32,663.78

Hollon Tour Consultants

                                        Chec       04/10/2018         Mount Vernon MS           60310 · Admissions               10500 · PayPal Reserve            5,350.80

Total Hollon Tour Consultants                                                                                                                                      5,350.80

Hyatt Fair Lakes

                                        Cred       03/07/2018                                   60100 · Lodging / Hotels         33101 · AMEX / 73006 (JAC)        5,860.00

Total Hyatt Fair Lakes                                                                                                                                             5,860.00

Hyatt Regency Dulles

                                        Chec       03/19/2018 MO                                60100 · Lodging / Hotels         10400 · Citizens Bank / 6085     43,990.54

                                        Chec       04/11/2018 7252    Grizzell MS (2017)        60100 · Lodging / Hotels         10400 · Citizens Bank / 6085     56,625.11

                                        Chec       04/13/2018 MO      Memorial MS (2017)        60100 · Lodging / Hotels         10400 · Citizens Bank / 6085     46,085.68

                                        Cred       04/16/2018         Gesu School               60100 · Lodging / Hotels         33101 · AMEX / 73006 (JAC)       11,397.12

                                        Chec       04/24/2018 MO      Mentor City Schools       60100 · Lodging / Hotels         10400 · Citizens Bank / 6085     32,715.20

Total Hyatt Regency Dulles                                                                                                                                       190,813.65

Hyatt Regency Fairfax

                                        Chec       02/12/2018 MO      No.: 2923538              60100 · Lodging / Hotels         10800 · PNC Bank / 9582          17,500.00

                                        Chec       02/16/2018 MO      Northeastern Local School 60100 · Lodging / Hotels         10800 · PNC Bank / 9582          20,000.00

                                        Chec       03/05/2018 MO      Northeastern Local School 60100 · Lodging / Hotels         10800 · PNC Bank / 9582           9,232.00

                                        Cred       04/24/2018         Ruffing MS                60100 · Lodging / Hotels         33101 · AMEX / 73006 (JAC)       11,500.00

                                        Cred       04/27/2018                                   60100 · Lodging / Hotels         33101 · AMEX / 73006 (JAC)         269.92

Total Hyatt Regency Fairfax                                                                                                                                       58,501.92

Lakefront Lines, Inc.

                                        Chec       02/06/2018 MO                                60362 · Charters                 10800 · PNC Bank / 9582          11,980.00

                                        Cred       02/23/2018                                   60362 · Charters                 33101 · AMEX / 73006 (JAC)        6,107.60

                                        Chec       02/26/2018 MO      Northeastern              60362 · Charters                 10800 · PNC Bank / 9582          15,030.00




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                                         Type      Date          Num            Memo                     Account           Clr                    Split              Amount

                                         Chec       04/03/2018 MO      Deer Park                60362 · Charters                 10400 · Citizens Bank / 6085           7,260.00

                                         Chec       04/03/2018 MO      Jones MS                 60362 · Charters                 10400 · Citizens Bank / 6085          24,850.00

                                         Chec       04/06/2018 MO      Hastings MS              60362 · Charters                 10400 · Citizens Bank / 6085          30,190.00

                                         Cred       04/17/2018         Van Buren MS             60362 · Charters                 33101 · AMEX / 73006 (JAC)             7,000.00

                                         Chec       04/19/2018 MO      Indian Valley MS / Chambe60362 · Charters                 10400 · Citizens Bank / 6085          62,839.83

                                         Chec       04/24/2018 MO      Shaker Heights MS        60362 · Charters                 10400 · Citizens Bank / 6085          24,960.00

Total Lakefront Lines, Inc.                                                                                                                                           190,217.43

PayPal

                                         Gene       02/28/2018 PAYPALPayment Fees               70920 · Merchant Account Fees 10500 · PayPal Reserve                    9,667.57

                                         Gene       03/31/2018 PAYPALPayment Fees               70920 · Merchant Account Fees 10500 · PayPal Reserve                   15,661.22

Total PayPal                                                                                                                                                           25,328.79

Precious Cargo Trailways

                                         Chec       03/09/2018 7123    Final Payment - Charter N 60362 · Charters                10400 · Citizens Bank / 6085          17,500.00

                                         Cred       03/20/2018         Account 60362            60362 · Charters                 33101 · AMEX / 73006 (JAC)            11,000.00

                                         Chec       04/11/2018 6132    Invoice No.: 18/0023 (Gesu60362 · Charters                10400 · Citizens Bank / 6085           8,550.00

                                         Chec       04/24/2018 MO                               60362 · Charters                 10400 · Citizens Bank / 6085          11,010.00

Total Precious Cargo Trailways                                                                                                                                         48,060.00

Princess Cruises

                                         Cred       04/10/2018                                  60510 · Cruises                  33101 · AMEX / 73006 (JAC)            10,278.02

Total Princess Cruises                                                                                                                                                 10,278.02

Renaissance Chicago North Shore

                                         Chec       03/07/2018 7110    Deposit - Chardon MS     60100 · Lodging / Hotels         10400 · Citizens Bank / 6085          10,000.00

Total Renaissance Chicago North Shore                                                                                                                                  10,000.00

Spirit of Chicago

                                         Cred       04/02/2018         Mayfield MS              60310 · Admissions               33101 · AMEX / 73006 (JAC)             9,048.22

Total Spirit of Chicago                                                                                                                                                 9,048.22

SPM

                                         Cred       02/28/2018                                  60100 · Lodging / Hotels         33101-P · AMEX / 73006 (Personal)      6,897.90




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                                         Type      Date        Num             Memo                     Account            Clr                    Split         Amount

Total SPM                                                                                                                                                          6,897.90

Springhill Suites

                                         Chec       04/19/2018 7262   Balance Due - St. Paul Sch60100 · Lodging / Hotels         10400 · Citizens Bank / 6085     15,732.99

Total Springhill Suites                                                                                                                                           15,732.99

The Henry Ford Museum

                                         Chec       04/20/2018 7286   Reservation No.: 4229304160310 · Admissions                10400 · Citizens Bank / 6085      6,290.00

Total The Henry Ford Museum                                                                                                                                        6,290.00




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Ohio
 In re       Discovery Tours Inc.                                                                             Case No.
                                                                                Debtor(s)                     Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 10,000.00
             Prior to the filing of this statement I have received                                        $                 10,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 See Fee Agreement

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               See Fee Agreement
                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 7, 2018                                                               /s/ Julie E. Rabin
     Date                                                                      Julie E. Rabin (0006592)Ohio
                                                                               Signature of Attorney
                                                                               Rabin & Rabin Co. LPA
                                                                               55 Public Square
                                                                               Suite 1750
                                                                               Cleveland, OH 44113
                                                                               216-771-8084 Fax: (216) 771-4615
                                                                               jrabin@rabinandrabin.com
                                                                               Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Northern District of Ohio
 In re      Discovery Tours Inc.                                                                      Case No.
                                                                                 Debtor(s)            Chapter     7




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       May 7, 2018                                              /s/ Alfred A Cipolletti
                                                                      Alfred A Cipolletti/President
                                                                      Signer/Title




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d
i
t
o
A
s
M
a
x




                             Raja Abbennagari
                             3098 Willowbrook Drive
                             Reminderville, OH 44202


                             Cassandra Abbott
                             14429 Hillside Dr
                             North Royalton, OH 44133


                             Mary Abbott
                             6190 Seminole Trail
                             Mentor, OH 44060


                             Lynnette Abbuhl
                             5344 Pisces ST SW
                             Canton, OH 44706


                             Lisa Abdelmalak
                             12169 Springview Dr.
                             Burton, OH 44021


                             LaShonda Abdussatar
                             45 Bellmore Street
                             Painesville, OH 44077


                             Demesew Abebe
                             2706 Hartfield Lane
                             Mason, OH 45040


                             Linda Abel
                             63 main Po box 611
                             Addyston, OH 45001


                             LaToya Abercrombie
                             1383 Silverdale Circle
                             Twinsburg, OH 44087


                             Melissa Abhyankar
                             213 White Pines Dr
                             Bellefontaine, OH 43311


                             Daniel Abood
                             1544 carriage hill dr
                             Hudson, OH 44236




    18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1452 of 1944
                         Carolyn Abrams
                         10400 Andover Dr
                         Twinsburg, OH 44087-3328


                         Eric Absten
                         5080 west lake shore drive
                         Port clinton, OH 43452


                         Hazar AbuTaleb
                         27050 Cedar RD Apt 611
                         Beachwood, OH 44122


                         Cheryl Acapulco
                         8968 Emerald Hill Dr
                         Lewis Center, OH 43035


                         Accel Capital Services
                         30 Broad Street, Suite 14108
                         New York, NY 10004


                         Jill Acitelli
                         980 Tradewinds Cove
                         Painesville, OH 44077


                         Jill Acitelli
                         980 Tradewinds Cove
                         Painesville, OH 44077


                         GADDIEL ACKAH
                         58 PROVIDENCE DR
                         FAIRFIELD, OH 45014


                         Denise Ackerman
                         2992 Chamberlin Blvd.
                         Hudson, OH 44236


                         Ellen Ackerman
                         7360 Valerie Lane
                         Hudson, OH 44236


                         Sara Ackerman
                         400 Sylvia Dr
                         Chardon, OH 44024




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                         Dwayne Ackley
                         4892 Arbomont Rd
                         Hilliard, OH 43026


                         Caryn Acuff
                         6075 Sidley Road
                         Thompson, OH 44086


                         Tony Adamic
                         11610 woodiebrook rd
                         chardon, OH 44024


                         Bret Adams
                         200 glen rd
                         moreland hills, OH 44022


                         Cheree Adams
                         6980 Som Center Road
                         Solon, OH 44139


                         Donna Adams
                         6609 Madeira Hills Dr
                         Cincinnati, OH 45243


                         ELLIS ADAMS
                         8676 Hadden Rd
                         Twinsburg, OH 44087


                         Greg Adams
                         531 Centerfield Dr
                         Maumee, OH 43537


                         Gwennan Adams
                         1187 Royal Oak Drive
                         Lewis Center, OH 43035


                         Jennifer Adams
                         1692 Riverwood Tr
                         Kings Mills, OH 45034


                         Lawrence Adams
                         3908 Everett Dr 45140
                         Loveland, OH 45140




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                         Lori Adams
                         6059 Johnson St
                         Cincinnati, OH 45243


                         Sherry Adams
                         153 Mount Nebo Rd
                         Cleves, OH 45002


                         Stacey Adams
                         90 Shawondassee
                         Timberlake, OH 44095


                         Thomas Adams
                         7945 Wildwood Dr
                         Mentor, OH 44060


                         Lisa Adcock
                         5228 Edgerton Rd.
                         North Royalton, OH 44133


                         Katherine Adick
                         9372 Sarah Court
                         Twinsburg, OH 44087


                         Paula Adkins
                         714 Jackson Drive
                         Port Clinton, OH 43452


                         Amy Adler
                         7308 Winchester Drive
                         Solon, OH 44139


                         Christina Adler
                         5395 Towbridge Dr
                         Hudson, OH 44236


                         Jill Adler
                         4135 Oak Tree Court
                         Loveland, OH 45140


                         Patricia Adornetto
                         5467 Brainard Rd
                         Solon, OH 44139




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                         ADT Security Services
                         PO Box 371878
                         Pittsburgh, PA 15250


                         Elizabeth Adu-Gyamfi
                         6192 Spring Lake Drive
                         Hamilton, OH 45011


                         Mukesh Agarwal
                         38745 flanders dr None
                         Solon, OH 44139


                         Laetitia Agnew
                         6141 Iroquois Trl
                         Mentor, OH 44060


                         Beth Agourrame
                         2634 bold venture dr
                         Lewis center, OH 43035


                         Hilda Aguirre
                         639 Academy Dr
                         Galloway, OH 43119


                         Erin Ahrens
                         6056 Rothchester Dr
                         Galloway, OH 43119


                         Kimberly Aikey
                         6393 Meadowbrook Dr
                         Mentor, OH 44060


                         Elise Aitken
                         312 Karen Dr. none
                         Chardon, OH 44024


                         Shannon Ake
                         135 W Summit St
                         Chagrin Falls, OH 44022


                         Maggie Akerley
                         6225 Richmond Rd.
                         Solon, OH 44139




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                         Jennifer Akers
                         13974 Oak Brook Drive
                         North Royalton, OH 44133


                         Shawn Akers
                         312 South Park Street
                         Bellefontaine, OH 43311


                         Tania Alamir
                         5461 Banbury Drive
                         Solon, OH 44139


                         Amy Alan
                         6613 North Palmerston dr
                         Mentor, OH 44060


                         Carrie Albrecht
                         7590 Bendleton Drive
                         Hudson, OH 44236


                         Kevin Albrecht
                         1323 Sharonbrook
                         Twinsburg, OH 44087


                         Michael Albrecht
                         1574 Christine Drive
                         Fairfield, OH 45014


                         Jeanette Albright
                         13834 Oak Brook Drive
                         North Royatlon, OH 44133


                         Beth Albu
                         104 Hawthorne Dr
                         Painesville, OH 44077


                         Maria Alers
                         5012 Lake View Dr
                         Peninsula, OH 44264


                         Jamie Alesci
                         6431 Meadowbrook Dr.
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1457 of 1944
                         Kiersten Alexander
                         12895 Walden Oaks Dr
                         Chardon, OH 44024


                         Megan Alexander
                         643 S. Kensington Rd.
                         Rocky River, OH 44116


                         Shasta Alexander
                         1048 heritage court
                         Bellefontaine, OH 43311


                         Tisha Alexander
                         6666 Feder Rd
                         Galloway, OH 43119


                         Amber Algeri
                         4732 Edgerton Road
                         North Royalton, OH 44133


                         Jennifer Alheit
                         134 Bellfield Ave
                         Elyria, OH 44035


                         Sajid Ali
                         2334 Walborn Dr
                         Hilliard, OH 43026


                         Alicia Allen
                         9039 rich woods ct
                         Loveland, OH 45140


                         Bronwyn Allen
                         3456 Berrywood Ct
                         Hamilton, OH 45011


                         Cathi Allen
                         5530 Houchard Rd
                         Dublin, OH 43016


                         Chris Allen
                         1749 Westport Drive
                         Kings Mills, OH 45054




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                         Christina Allen
                         15000 Bates Creek Drive
                         Chardon, OH 44024


                         Cynthia Allen
                         1817 E Haymarket Way
                         Hudson, OH 44236


                         Gwen Allen
                         6330 Dodge Rd SW
                         Canton, OH 44706


                         Linda Allen
                         265 s mary ellen
                         south lebanon, OH 45065


                         Lora Allen
                         3163 Roesch Blvd. #5
                         Fairfield, OH 45014


                         Ruthann Allen
                         4009 walker drive
                         Cleves, OH 45002


                         Lisa Allender
                         2833 Pleasant Colony Dr
                         Lewis Center, OH 43035


                         Sean Allio
                         8699 Oak Creek Dr
                         Lewis Center, OH 43035


                         Lisa Allison
                         62 stratford road
                         hudson, OH 44236


                         Shana Allison
                         2050 Shenandoah Drive
                         Troy, OH 45373


                         Ginger Allmon
                         1000 garfield ave. lot 91
                         bellefontaine, OH 43311




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                         Aneta Almajali
                         13626 oak brook dr
                         North royalton, OH 44133


                         Katia Almanzar
                         12982 CHILLICOTHE RD
                         CHESTERLAND, OH 44026


                         Julie Almeida
                         2755 Silver Maple Ct
                         Troy, OH 45373-4565


                         Rhoda Alnazer
                         12823 Kingston way
                         North royalton, OH 44133


                         Zainab Alobosi
                         3065 hemlock edge drive
                         hilliard, OH 43026


                         Christine Alt
                         1208 Anderson
                         Maumee, OH 43537


                         Sandra Alter
                         5359 Rentschler Estates Dr.
                         Hamilton, OH 45011


                         Lisa Althouse
                         8077 Thornhurst Drive
                         North Royalton, OH 44133


                         Samuel Altimore
                         716 Western Ave SW
                         Canton, OH 44710


                         Kelli Alting
                         5896 Collier Hill Drive
                         Hilliard, OH 43026


                         David Altman
                         341 Meadow Ash Dr.
                         Lewis Center, OH 43035




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                         Melissa Altman
                         114 Sugarbush glen
                         Chardon, OH 44024


                         Ketaki Alurkar
                         32778 S Roundhead Dr
                         Solon, OH 44139


                         Martha Alvarado
                         4114 kenridge rd
                         Columbus, OH 43220


                         Mohyeddin Alyounes
                         5243 Lexi Lane South
                         Dublin, OH 43016


                         Breydi Amador
                         4665 Brixshire Dr
                         Hilliard, OH 43026


                         Cheryl Amans
                         12425 Harold Dr.
                         Chesterland, OH 44026


                         Anne Amata
                         516 Woodland Ct
                         Chagrin Falls, OH 44022


                         Kathleen Amato
                         10565 Alyssa Court
                         Concord Twp, OH 44077


                         Lori Ambriola
                         2650 Meadoway Drive
                         Beachwood, OH 44122


                         Lillian Ammons
                         111 Chardon Ave.
                         Chardon, OH 44024


                         Jason Amos
                         2722 Twp Rd. 236
                         Van Buren, OH 45889




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                         Hemlata Anand
                         304 Olentangy Meadows
                         Lewis Center, OH 43035


                         Molly Anders
                         4118 State Rd.
                         Vermilion, OH 44089


                         Amie Anderson
                         4514 River Cv
                         Kings Mills, OH 45034


                         Errin Anderson
                         7978 Orange Station Loop
                         Lewis Center, OH 43035


                         Laura Anderson
                         23600 East Groveland Road
                         Beachwood, OH 44122


                         Monica Anderson
                         330 e 3rd st
                         port Clinton, OH 43452


                         Sandra Anderson
                         1780 Westwood Drive
                         Twinsburg, OH 44087


                         Stephanie Anderson
                         3111 Buckwalter Dr SW
                         Massillon, OH 44646


                         Karen Andrachik
                         5691 Abbyshire Dr
                         Hudson, OH 44236


                         Jean Andre
                         7431 Juler Ave
                         Cincinnati, OH 45243


                         Lena Andrea
                         950 tollis pkwy apt 514
                         Broadview Heights, OH 44147




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                         Greg Andrews
                         2778 Southside Dr
                         Troy, OH 45373


                         Heidi Andrews
                         6778 Melridge Drive
                         Concord Twp, OH 44077


                         Karen Andrews
                         12841 Tradewinds Dr
                         North Royalton, OH 44133


                         Lita Andrews
                         4767 Marigold Rd
                         Mentor, OH 44060


                         Colleen Angel
                         100 anglers dr
                         south russell, OH 44022


                         Daniela Angel
                         412 N Main St
                         Bellefontaine, OH 43311


                         Heide Antequisa
                         3317 Blossom Trail
                         Twinsburg, OH 44087


                         Rachael Anthony
                         7712 frailey rd
                         Vermilion, OH 44089


                         ELIZABETH APPIAH
                         9097 misty dawn drive Columbus Ohio
                         Columbus, OH 43240


                         William Appleton
                         395 Cummings Road
                         Vermilion, OH 44089


                         Eugenia Aranovsky
                         115 Oberlin Rd
                         Oberlin, OH 44074




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                         Jennifer Archambeau
                         1610 Eastfield Dr
                         Maumee, OH 43537


                         Joan Archer
                         5705 Young Rd
                         Hudson, OH 44236


                         Tonya Arellano
                         2900 Bailey St NW
                         Massillon, OH 44646


                         Jennifer Arenschield
                         6495 Solon Blvd
                         Solon, OH 44139


                         Luda Arkhipov
                         10311 Foxwood Drive
                         North Royalton, OH 44133


                         Ernest Arkorful
                         5369 Valley lane East
                         Columbus, OH 43231


                         Elizabeth Armstrong-Stamey
                         7870 Surreywood Drive
                         North Bend, OH 45052


                         Shawn Arnett
                         5090 Breckenhurst Drive
                         Hilliard, OH 43026


                         Jen Arnone
                         561 Beechwood Lane
                         Painesville, OH 44077


                         Rachel Arnopolin
                         33281 Popham Ln
                         Solon, OH 44139


                         Alfred Arockiasamy
                         7743 Royal Park Dr
                         Lewis Center, OH 43035




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                         Heather Arredondo
                         6450 Dawson Rd
                         Cincinnati, OH 45243


                         Jennifer Arth
                         35599 Aurora Rd
                         Solon, OH 44139


                         Stacey Artino
                         7570 Hunting Lake
                         Concord, OH 44077


                         Sherri Artis
                         4859 Driffield Ct
                         Columbus, OH 43221


                         Danielle Aruri
                         4138 Oak Tree Court
                         Loveland, OH 45140


                         Daniel Asante
                         8680 Olenbrook Dr
                         Lewis Center, OH 43035


                         Sarah Asbury
                         6880 Waterpepper Circle
                         Solon, OH 44139


                         Patricia Ashburn
                         75 Country Lane
                         Painesville, OH 44077


                         Kathleen Ashton
                         109 Bentwood drive
                         Chardon, OH 44024


                         Leah Ashton
                         332 east 6th
                         Port Clinton, OH 43452


                         David Ashurst
                         168 Atterbury Blvd
                         Hudson, OH 44236




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                         Candice Askwith
                         4360 SHIRE COVE ROAD
                         HILLIARD, OH 43026


                         Jason Aspinall
                         2414 Sandalwood Dr
                         Twinsburg, OH 44087


                         Heidi Asplin
                         1116 Sheerbrook Drive
                         Chagrin Falls, OH 44022


                         Nancy Astacio
                         7554 Marsh Creek Lane
                         Maineville, OH 45039


                         Veronika Astapenko
                         8736 Hedgerow Ln
                         Maineville, OH 45039


                         KATHRYN ASTON
                         8003 CARRIAGE CIR APT B
                         MENTOR, OH 44060


                         Antoinette Atchley
                         12435 Fowlers Mill Rd
                         Chardon, OH 44024


                         Jacki Atienza
                         3872 Nautilus Trail
                         Reminderville, OH 44202


                         Suzanne Atkinson
                         7834 Bridgetown Road
                         North Bend, OH 45052


                         Maher Atwah
                         37860 Flanders Drive
                         Solon, OH 44139


                         Valeri Audino
                         6625 Crossbow Ct.
                         North Royalton, OH 44133




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                         Sharon Audretch
                         7276 Rita Lane
                         Cincinnati, OH 45243


                         Tisha Augustyniak
                         226 West Wayne Street
                         Maumee, OH 43537


                         Ronald Aukerman
                         1003 Taft St
                         Port Clinron, OH 43452


                         Mary Aulisio
                         19970 Roslyn Dr
                         Rocky River, OH 44116


                         Melanie Ault
                         3153 Cassey St.
                         Hilliard, OH 43026


                         Wendi Austerman
                         2995 calusa dr
                         hamitlon, OH 45011


                         May Austin
                         338 13th Street
                         Elyria, OH 44035


                         Nicole Auvil
                         750 Kaspar St
                         Port Clinton, OH 43452


                         Ana A Avalos
                         1105 Lost Creek Drive
                         Bellefontaine, OH 43311


                         Lisa Aveni
                         7235 Sowul Drive
                         Concord, OH 44077


                         Lauren Avery
                         170 GREY FOX RUN
                         Chagrin Falls, OH 44022-3397




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                         Jamie Avis
                         521 east 2nd street
                         Port clinton, OH 43453


                         Ann Aycock
                         2337 Reeves Ave
                         Lewis Center, OH 43035


                         Mike Aziz
                         7386 ceadercreast trl
                         Chesterland, OH 44026


                         Corrado Azzarita
                         6230 Kenwood Road
                         Cincinnati, OH 45243


                         Darlene Baad
                         1942 University commons drive SE
                         Massillon, OH 44646


                         Lynn Babcock
                         6901 Shawnee Run Road
                         Cincinnati, OH 45243-2519


                         DERIKA BABICS
                         3327 CROWNPOINT N.W.
                         MASSILLON, OH 44646


                         Carrie Babitsky
                         2060 Jesse Drive
                         Hudson, OH 44236


                         Katie Bach
                         9883 E Idlewood Dr
                         Twinsburg, OH 44087


                         Daniel Bachnicki
                         6330 Dawson Blvd.
                         Mentor, OH 44060


                         Lisa Bacon
                         7919 Manorgate Street
                         Lewis Center, OH 43035




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                         Amy Badertscher
                         3111 Wattova Dr NW
                         Massillon, OH 44646


                         Quiana Badley
                         8804 ray court #1
                         Twinsburg, OH 44087


                         Eunny Bae
                         251 Boston Mills Rd
                         Hudson, OH 44236


                         Sarah Baggott
                         115 Maple Ave
                         Chardon, OH 44024-9681


                         Amanda Bahe
                         3271 Greenwich Dr
                         Fairfield, OH 45014


                         Jodie Bailey
                         5967 Winslow Ct.
                         Dublin, OH 43016


                         Kelly Bailey
                         2943 steffan woods drive
                         twinsburg, OH 44087


                         Laura Bailey
                         6162 Seminole Trl
                         Mentor, OH 44060


                         Tara Bailey
                         2818 RED TAIL LN
                         MASON, OH 45040


                         Stephanie Baily
                         8027 Roberts Road
                         Hilliard, OH 43026


                         Melissa Bair
                         700 Marburn Dr
                         Columbus, OH 43214




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                         Jane Baird
                         3268 Darbyshire Dr.
                         Hilliard, OH 43026


                         John Baird
                         12646 Lovers Lane
                         Spencer, OH 44275


                         Rene Bajarias
                         2226 Sherwin Drive
                         Twinsburg, OH 44087


                         Angel Baker
                         804 Ridgeview Drive
                         Bellefontaine, OH 43311


                         David Baker
                         214 North Hambden Street
                         Chardon, OH 44024


                         Evelyn Baker
                         410 ontario st
                         Huron, OH 44839


                         Heather Baker
                         2725 Broken Woods Drive
                         Troy, OH 45373


                         Julie Baker
                         12075 summerwood dr
                         Concord, OH 44077


                         Liana Baker
                         6741 Duneden Ave
                         Solon, OH 44139


                         Mendy Baker
                         2553 Charoe Street
                         Lewis Center, OH 43035


                         Michele Baker
                         7155 south Meadow drive
                         Concord, OH 44077




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                         Patricia Baker
                         49 East Summit Street
                         Chagrin Falls, OH 44022


                         Roshana Baker
                         21921 River Oaks
                         Rocky River, OH 44116


                         Taryn Baker
                         769 Parkgrove Way
                         Lewis Center, OH 43035


                         Stacey Bakos
                         305 Hilliard Road
                         Elyria, OH 44035


                         Arun Balakrishnan
                         5705 Eden Bridge Drive
                         Dublin, OH 43016


                         Jennifer Ball
                         781 Georgetown Ave.
                         Elyria, OH 44035


                         Mary Balla
                         22389 Bartlett dr
                         Rocky river, OH 44116


                         Michael Ballard
                         4465 Blue Jay Way
                         Mason, OH 45040


                         Misty Ballard
                         8377 Island Lane
                         Maineville, OH 45039


                         Sarah Ballard
                         313 Wilson Mills Rd
                         Chardon, OH 44024


                         Tina Ballash
                         438 North Street 5B
                         Chardon, OH 44024




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                         Leslie Baltimore
                         7701 Morris Rd
                         Hilliard, OH 43026


                         Meghan Bando
                         1541 Bell Road
                         Chagrin Falls, OH 44022


                         Kaustab Banerjee
                         10266 Belmeadow Drive
                         Twinsburg, OH 44087


                         Denise Bangasser
                         11435 Saddlewood Ln
                         Concord Twp, OH 44077


                         Matthew Bangerter
                         8 Meadowlawn Drive #18
                         Mentor, OH 44060


                         Sharon Banko
                         5970 Brewster Drive
                         Hudson, OH 44236


                         Kelly Banks
                         4477 Swenson St
                         Hilliard, OH 43026


                         Janet Bannerman
                         457 Bell Street
                         Chagrin Falls, OH 44022


                         Erica Banta
                         4164 Maystar Way
                         Hilliard, OH 43026


                         Leslie Banweg
                         7533 Whitemarsh Way
                         Hudson, OH 44236


                         Reka Barabas
                         81 Clairhaven Dr.
                         Hudson, OH 44236




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                         Heather Barajas-Anguiano
                         10326 Auburn Rd
                         Chardon, OH 44024


                         Terry Barbera
                         5938 Perry Hills Drive
                         Canton, OH 44706


                         Regina Barger
                         261 Fox Ridge Circle
                         Powell, OH 43065


                         Ginni Baris
                         3426 Old green 201
                         Beachwood, OH 44122


                         Cate Barker
                         2210 Weir Drive
                         Hudson, OH 44236


                         Eva Barker
                         10690 Locust Grove Dr.
                         Chardon, OH 44024


                         Michelle Barkoot
                         222 South Settlers Lane
                         Painesville, OH 44077


                         Crystal Barnes
                         6991 Woodthrush Ave
                         Painesville, OH 44077-2309


                         Carolyn Barnett
                         7805 Strawberry Hill Ln
                         Maineville, OH 45039


                         Kristi Barnett
                         8510 Ethan Ct
                         Fairfield, OH 45014


                         Lori Barnett
                         1517 Beekman Dr
                         Troy, OH 45373




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1473 of 1944
                         Adrian Barnhart
                         1211 Westwood Dr.
                         Lewis Center, OH 43035


                         Ron Barnicoat
                         1022 Carson Street
                         Painesville Twp, OH 44077


                         Debby Barone
                         2433 Maxwell Avenue
                         Lewis Center, OH 43035


                         Jennifer Baroni
                         9470 Whalers Cove
                         Mentor, OH 44060


                         Anna Barrett
                         5560 Kingsbury Road
                         Fairfield, OH 45014


                         Kim Barrett
                         5938 Groff Court
                         Hilliard, OH 43026


                         Tanya Barrett
                         1430 Fireside Trail
                         Broadview Heights, OH 44147


                         Tonia Barry
                         2708 Blue Heron Drive
                         Hudson, OH 44236


                         Tara Bartholomew
                         9001 Marchbank ln
                         Lewis Center, OH 43035


                         Michael Bartle
                         1003 Cliff Creek Drive
                         Columbus, OH 43228


                         Dawn Bartlebaugh
                         78 Berger Ct.
                         oberlin, OH 44074




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1474 of 1944
                         Jennifer Bartlebaugh
                         1241 Beechview Dr.
                         Vermilion, OH 44089


                         Christopher Bartlett
                         13083 Stratford Trail
                         Chesterland, OH 44026


                         Elizabeth Bartlett
                         6156 Althea Dr
                         Concord Twp, OH 44077


                         Kelly Bartlett
                         68 Nantucket Drive
                         Hudson, OH 44236


                         CHRISTY BARTON
                         917 MONASTERY ST
                         CINCINNATI, OH 45202


                         Nicole Barton
                         2030 Westgate Drive
                         Findlay, OH 45840


                         Michele Barton-Verdi
                         6111 Brownstone Court
                         Mentor, OH 44060


                         Sheryl Barylak
                         4832 Lake View Drive
                         Peninsula, OH 44264


                         Jack Basford
                         148 Coen rd
                         vermilion, OH 44089


                         Amy Bashforth
                         5446 Hessler Cir
                         Hilliard, OH 43026


                         Erica Basich
                         1772 Rhoda Ave
                         Columbus, OH 43212




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1475 of 1944
                         Maged Baskhron
                         13151 morning star drive
                         north royalton, OH 44133


                         Pamela Bast
                         6833 Cincinnat Dr SW
                         Massillon, OH 44646


                         Deanna Bateman
                         6036 E Valley View Ct
                         Mentor, OH 44060


                         Jenny Bates
                         12875 Vista Pointe Dr.
                         Chardon, OH 44024


                         Mark Battistelli
                         830 Master Dr
                         Galloway, OH 43119


                         Christina Bauer
                         10454 Ravenwood Lane
                         Painesville, OH 44077


                         Nancy Bauer
                         11262 chillicothe rd
                         chesterland, OH 44026


                         Roger Bauer
                         3357 Fishinger road
                         Columbus, OH 43221


                         David Baughman
                         2400 Danbury Lane
                         Hudson, OH 44236


                         Kendra Baumann
                         5880 Sedgwick Road
                         Columbus, OH 43235


                         Melinda Baumann
                         1797 Gloucester Dr.
                         Fairfield, OH 45014




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1476 of 1944
                         Donna Baumiller
                         1342 Gill Court
                         Twinsburg, OH 44087


                         Dawn Baur
                         4185 River road
                         Fairfield, OH 45014


                         Jamie Baur
                         8064 Hackney Court Apt D
                         Mentor, OH 44060


                         Natalie Baxter
                         1649 River Shore Ct
                         Kings Mills, OH 45034


                         Angie Bayer
                         8135 Jordan Club Court
                         Cleves, OH 45002


                         Jackie Bayes
                         1201 Muirfield Dr
                         Findlay, OH 45840


                         Callie Baylor
                         839 Virginia Dr
                         Hudson, OH 44236


                         Lori Baylor
                         2098 Jonathan Court
                         Hudson, OH 44236


                         Jill Bazzone
                         624 Falls Rd
                         Chagrin Falls, OH 44022


                         Beachwood MS
                         2860 Richmond Road
                         Beachwood, OH 44122


                         Audrey Beacom
                         232 Hideaway Ct
                         Powell, OH 43065




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1477 of 1944
                         Mollie Beam
                         1751 Branton Court
                         Broadview Heights, OH 44147


                         Michelle Beard
                         1789 Haymarket Way
                         Hudson, OH 44236


                         Patricia Beard
                         13043 Livery Lane
                         Chardon, OH 44024


                         Nancy Beasley
                         750 Graylock Ct
                         Galloway, OH 43119


                         Amy Beaver
                         1730 Pinecone Ct
                         Lewis Center, OH 43035


                         Elena Beber
                         7481 Marsh Creek Ln
                         Maneville, OH 45039


                         Anthony Bebie
                         3975 Mark Ave.
                         Rocky River, OH 44116


                         Lauren Bebout
                         3104 Stony Hollow Ct
                         Loveland, OH 45140


                         Mark Bechtel
                         5561 Bertram Dr.
                         Port Clinton, OH 42452


                         Molly Beck
                         2203 Bold Venture Drive
                         Lewis Center, OH 43045


                         Eileen Becker
                         8088 Fernway Court
                         Concord, OH 44077




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1478 of 1944
                         James Becker
                         211 Basquin Dr
                         Chardon, OH 44024


                         Jennifer Becker
                         7988 Bellflower rd
                         Mentor, OH 44060


                         Alice Beckett
                         13711 Oak Brook Dr Apt 208
                         North Royalton, OH 44133


                         Theresa Beckett
                         119 Huntington Circle
                         Elyria, OH 44035


                         LISA BEDNARSKI
                         32751 BALDWIN RD
                         SOLON, OH 44139


                         Lisa Bedrick
                         8188 Timberlane
                         Concord, OH 44077


                         Susan Beebe
                         5315 Wilshire Park Drive
                         Hudson, OH 44236


                         Colleen Beegle
                         2217 Middleton Road
                         Hudson, OH 44236


                         Jodi Beekman
                         9030 Tabernash Dr
                         Columbus, OH 43240


                         Sherry Beetler
                         64 North Park Street
                         Oberlin, OH 44074


                         Samantha Begley
                         7532 Red Coat Dr
                         Hamilton, OH 45011




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1479 of 1944
                         Christine Begovic
                         6070 Nature View Court
                         Concord Township, OH 44077


                         Moriom Begum
                         7208 Selworthey lane
                         Solon, OH 44139


                         David Behre
                         2108 Hayer Court
                         Lewis Center, OH 43035


                         Jeffrey Belcher
                         33210 Arlesford Dr
                         Solon, OH 44139


                         Jean Belfiore
                         24925 Hilltop Dr.
                         Beachwoow, OH 44122


                         Aimee Bell
                         5635 Nicholson Drive
                         Hudson, OH 44236


                         April Bell
                         240 Morgan Dr
                         Painesville, OH 44077


                         Elizabeth Bell
                         7825 Greenbriar Lane
                         Cincinnati, OH 45243


                         Gordon Bell
                         3200 Shadow Ridge Dr
                         Loveland, OH 45140


                         Portia Bell
                         2721 Nadir Ct.
                         Hamilton, OH 45011


                         Bellefontaine MS
                         1201 Ludlow Road
                         Bellefontaine, OH 43311




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1480 of 1944
                         Cynthia Beltran
                         467 Inverness Ct
                         Hudson, OH 44236


                         Loren Bendall
                         5401 Liberty Road
                         Chagrin Falls, OH 44022


                         Ashley Bender
                         133 Roosevelt St
                         Elyria, OH 44035


                         Brian Bender
                         8280 Jordan ridge dr
                         Cleves, OH 45002


                         Tina Bender
                         15098 Rock Creek Rd
                         Chardon, OH 44024


                         Amy Benefiel
                         11801 Nottingham Pkwy
                         North Royalton, OH 44133


                         Patricia Benevento
                         971 Howard Dr
                         Vermilion, OH 44089


                         Melinda Benford
                         892 Oakwood Blvd
                         Painesville, OH 44077


                         Jill Benintendi
                         7034 Dawson Road
                         Cincinnati, OH 45243


                         Nancy Benitez
                         4977 Avery Rd #39
                         Dublin, OH 43016


                         Marijana Benjamin
                         113 Middle Post Pointe
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1481 of 1944
                         Amy Benkert
                         7314 Bridgetown rd
                         Cincinnati, OH 45248


                         Lorrie Bennett
                         1375 Sterling Dr
                         Troy, OH 45373


                         Rebecca Bennett
                         9970 Rosewood Drive
                         Chardon, OH 44024


                         Tracy Bennett
                         13518 painesville Warren rd
                         Painesville, OH 44077


                         Michael Bennici
                         5733 Williamsburg circle
                         Hudson, OH 44236


                         Jennifer Benore
                         1679 East Sapphire Dr
                         Hudson, OH 44236


                         Don Benson
                         7815 Salem Dr
                         Hudson, OH 44236


                         Lindsay Benz
                         65 Church Street
                         Chagrin Falls, OH 44022


                         Sasikumar Benzigar
                         9927 Darrow Park Drive Apt #209N
                         Twinsburg, OH 44087


                         Sandy Beorn
                         9892 Old State Road
                         Chardon, OH 44024


                         Denise Berdis
                         8550 Sharp Ln
                         Chesterland, OH 44026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1482 of 1944
                         JENNIFER BEREND
                         2252 MAXWELL AVE.
                         LEWIS CENTER, OH 43035


                         Oxana Berezkina
                         9246 Windy Creek Dr.
                         Columbus, OH 43240


                         Aaron Berg
                         20563 Beachwood Drive
                         Rocky River, OH 44116


                         Jamie BERG
                         4009 Riley st
                         South lebanon, OH 45065


                         Ellen Bergman
                         24375 Woodside Lane
                         Beachwood, OH 44122


                         Aimee Bergquist
                         21358 Endsley Avenue
                         Rocky River, OH 44116


                         BOB BERICHON
                         1695 GOSHEN DR
                         HUDSON, OH 44236


                         Kristie Berish
                         19 N Oviatt St
                         Hudson, OH 44236


                         KaWa Berman
                         827 Claycross Ct
                         Galloway, OH 43119


                         Leonid Berman
                         2654 Blue Heron Drive
                         Hudson, OH 44236


                         Michael Berman
                         6765 Forest Glen Ave
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1483 of 1944
                         Melanie Bernava
                         893 Candy Ln
                         Galloway, OH 43119


                         Paola Bernazzani
                         80 West Washington
                         Chagrin Falls, OH 44022


                         Jodi Bernhard
                         28697 North Village Lane
                         Solon, OH 44139


                         Dianne BERNS
                         36985 PETTIBONE RD
                         SOLON, OH 44139


                         Tracy Bernstein
                         24119 Woodway Road
                         Beachwood, OH 44122


                         Lindsey Berrigan
                         3447 Bryant St
                         Hilliard, OH 43026


                         Danita Berry
                         1975 Augusta Circle SE
                         Massillon, OH 44646


                         Kate Berry
                         949 Master Drive
                         Galloway, OH 43119


                         John Bertke
                         1114 mystic ln S
                         Troy, OH 45373


                         Stacey Bertleff
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                         Twinsburg, OH 44087


                         Carol Bertone
                         668 Second St. #4
                         Fairport Harbor, OH 44077




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1484 of 1944
                         Gennine Berwald
                         6068 West Valleyview Ct.
                         Mentor, OH 44060


                         Michelle Besett
                         12077 Riley Court
                         Twinsburg, OH 44087


                         Amy Beskid
                         7976 Deborah Ct
                         Mentor, OH 44060


                         Janell Bess
                         5115 13th Street SW
                         Canton, OH 44710


                         Becky Besselman
                         1226 Foxfire Drive
                         Painesville Township, OH 44077


                         Amy Best
                         1832 Cadbury St. NW
                         Massillon, OH 44646


                         Gary Best
                         14847 Glen Valley Dr
                         Middlefield, OH 44062


                         Kimberly Bethel
                         1751 Glenwood Dr.
                         Twinsburg, OH 44087


                         Kelly Betlejewski
                         12754 Gardenside Dr
                         North Royalton, OH 44133


                         Ramesh Bettaiah
                         37795 Flanders Drive
                         Solon, OH 44139


                         Jerry Betts
                         44 Township Road 229
                         North Baltimore, OH 45872




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1485 of 1944
                         Sara Beucler
                         50 S Hayden Pkwy
                         Hudson, OH 44236


                         Yogish Bevinahallyshivabasappa
                         5989 Varwyne Dr
                         Dublin, OH 43016


                         Mandeep Bhargava
                         37138 Tidewater Dr
                         Solon, OH 44139


                         Simran Bhullar
                         9919 darrow prk dr.apt.211P
                         twinsburg, OH 44087


                         MaryAnn Bibro
                         7370 Creekwood Dr
                         North Royalton, OH 44130


                         Kim Bican
                         14620 Chatham Glen Drive
                         Novelty, OH 44072


                         Michelle Bice
                         729 Hubbard Rd
                         Galloway, OH 43119


                         Adrienne Bickerstaff
                         6830 som center rd
                         solon, OH 44139


                         Shannon Biehl
                         2640 Fairfield Ridge Dr
                         Hamilton, OH 45011


                         Beth Bigham
                         2284 Herrick Cr.
                         Hudson, OH 44236


                         Ina Biliunas
                         7614 Palmerston Dr.
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1486 of 1944
                         Sabrina Billman
                         2430 Brooklyn Ave SW
                         Canton, OH 44706


                         LaToya Binford
                         5584 Cherrywood Road
                         COLUMBUS, OH 43229


                         Elizabeth Binns
                         7349 Wellfleet Drive
                         Hudson, OH 44236


                         Michelle Biondi
                         5770 birdie lane
                         mentor, OH 44060


                         Jeffrey Birdwell
                         300 Portland Dr.
                         Vermilion, OH 44089


                         Kim Bischof
                         7435 Harding St
                         Mentor, OH 44060


                         Brian Bishop
                         2357 Hudson Aurora Rd
                         Hudson, OH 44236


                         Erika Bishop
                         2009 Nicklaus Drive
                         Findlay, OH 45840


                         Tim Bittner
                         10223 Danvers Dr
                         Concord Twp, OH 44077


                         Erin Bivens
                         110 Quartz Ave
                         Peninsula, OH 44264


                         Courtney Bixby
                         12 Steepleview Drive
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1487 of 1944
                         Jennifer Bixler
                         515 East Dudley
                         Maumee, OH 43537


                         Heather Bizub
                         2141 Hiram Lane
                         Hudson, OH 44236


                         Nina Bjerkreim-Hanssen
                         24610 Duffield Rd.
                         BEACHWOOD, OH 44122


                         Jamie Black
                         11851 Whitestone Court
                         North Royalton, OH 44133


                         Suzy Black
                         102 Pepperbush Dr
                         Bellefontaine, OH 43311


                         Ericka Blackburn
                         7449 Trotwood Drive
                         Painesville, OH 44077


                         Cinthia Blackman
                         7581 Fern Dr.
                         Mentor on the Lake, OH 44060


                         Carolyn Blackmon
                         6001 Conneaut Light Dr.
                         Vermilion, OH 44089


                         Tracey Blackwelder
                         6751 Rosecrest Ave
                         Cincinnati, OH 45243


                         Belinda Blackwell
                         9791 Firelands Drive
                         Twinsburg, OH 44087


                         Pam Blaich
                         5120 Riverview Dr
                         South Lebanon, OH 45065




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1488 of 1944
                         Cleva Blair
                         450 Kristina Dr Apt 11D
                         Bellefontaine, OH 43311


                         Kevin Blair
                         47 Cleveland St.
                         Chagrin Falls, OH 44022


                         Tracey Blair
                         2678 Arroyo Ridge Court
                         Hamilton, OH 45011


                         Christina Blankenship
                         732 University Ave
                         Elyria, OH 44035


                         Catherina Blann
                         1768 Messner Dr
                         Hilliard, OH 43026


                         Darci Blaskis
                         12550 Bass Lake Road
                         Chardon, OH 44024


                         Nikki Blasko
                         8237 Albion Road
                         North Royalton, OH 44133


                         Jamie Blatnik
                         13133 Hampton Club Drive 103
                         North Royalton, OH 44133


                         Michelle Blaugrund
                         31851 N. Roundhead Dr
                         Solon, OH 44139


                         Jason Blevens
                         117 Lindale Dr.
                         Fairfield, OH 45014


                         Caryn Blevins
                         6823 esther ln
                         Cincinnati, OH 45243




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1489 of 1944
                         Greg Bleyl
                         10022 Bissell Dr.
                         Twinsburg, OH 44087


                         Gina Blickenderfer
                         219 Marion Ave
                         Massillon, OH 44646


                         Regina Block
                         720 S Clay St
                         Troy, OH 45373


                         Christine Blogna
                         2225 Eastwood Ave
                         Massillon, OH 44646


                         Hazel Bloomfield
                         5088 Riverbend Dr
                         Kings Mills, OH 45034


                         Christina Blow
                         34616 South Side Park Drive
                         Solon, OH 44139


                         Thomas Blue
                         20520 Detroit Rd
                         Rocky River, OH 44116


                         Darlene Blum
                         269 Miles Rd
                         Chagrin Falls, OH 44022


                         Alan Blumenthal
                         2397 Allen Blvd
                         Beachwood, OH 44122


                         Nicole Bluso
                         6254 Paderborne Drive
                         Hudson, OH 44236


                         Cassandra Blyler
                         1456 Timber Trail
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1490 of 1944
                         Marianne Blystone
                         8050 Harbor Creek Dr Unit 2302
                         Mentor, OH 44060


                         Samantha Boardwine
                         16011 Sperry Rd.
                         Vermilion, OH 44089


                         Kelly Bobeczko
                         8010 Butler Hill Drive
                         Concord Twp, OH 44077


                         Jennifer Bock
                         2411 Candlemakers Lane
                         Maineville, OH 45039


                         Carrie Bode
                         423 Creekborough Court
                         South Lebanon, OH 45065


                         Megan Bodley
                         2828 RED TAIL LN
                         MASON, OH 45040


                         Bernadette Bodzenta
                         3091 Stoney Creek Drive
                         North Royalton, OH 44133


                         Samantha Boehringer
                         1210 S Mulberry St
                         Troy, OH 45373


                         Michelle Boerger
                         1177 Aintree Ct
                         Maineville, OH 45039


                         Ramona Boggins
                         22449 Lake Rd. F403
                         Rocky River, OH 44116


                         Sharon Bohland
                         11007 Drake Road
                         North Royalton, OH 44133




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1491 of 1944
                         Stephen Bohm
                         396 Karen Drive
                         Chardon, OH 44024


                         Cheryl Bohr
                         10985 Stonewycke dr
                         Concord, OH 44077


                         Samantha Bojc
                         7512 Dahlia Dr
                         Mentor, OH 44060


                         Kristen Boka
                         116 Fernwood Rd
                         Chagrin Falls, OH 44022


                         Kristen Bolam
                         240 Albany Dr NW
                         Canton, OH 44708


                         Kathy Boldt
                         1531Newton Pass
                         Broadview Hts, OH 44147


                         Jessica Boling
                         1004 S Market St
                         Troy, OH 45373


                         Melissa Bolte
                         4756 Idleview Dr.
                         Vermilion, OH 44089


                         Michelle BOLTON
                         8766 Arrowood Dr
                         Mentor, OH 44060


                         Kasey Bonifacio
                         1730 S County Rd 25a
                         Troy, OH 45373


                         Jack Bonnette
                         6595 Ebury Cir
                         hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1492 of 1944
                         Stephanie Bonnizzio
                         1503 Waynesboro Drive
                         Hudson, OH 44236


                         Alicia Booker
                         6235 Arbor Glen Ct
                         Solon, OH 44139


                         Cynthia Booker
                         10350
                         Twinsburg, OH 44087


                         Shelley Bookheimer
                         130 Edgefield Drive
                         Cleves, OH 45002


                         DYLAN BOOKMAN
                         21235 LAKE RD
                         ROCKY RIVER, OH 44116


                         Robyn Bookman
                         5822 Hopkins Rd
                         Mentor, OH 44060


                         Jeanne Boral
                         531 Manorbrook Drive
                         Chagrin Falls, OH 44022


                         Nancy Bordo
                         5728 Parkside Crossing
                         Dublin, OH 43016


                         Elizabeth Borkosky
                         1033 Twp Rd 142
                         Van Buren, OH 45889


                         Christine Borlaug
                         1328 Birchview dr
                         Vermilion, OH 44089


                         Nikki Bornhorst
                         5569 Reebok Drive
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1493 of 1944
                         Jean Boron
                         10211 Regatta Trail
                         Reminderville, OH 44202


                         Shannon Borris
                         675 Outrigger Cove
                         Painesville, OH 44077


                         Sherry Bortnick
                         9371 Jordan Drive
                         Mentor, OH 44060


                         Becki Bosson
                         2046 Maxwell Ave
                         Lewis Center, OH 43035


                         Brad Bostelman
                         5671 Birdie Ln.
                         Mentor, OH 44060


                         Susan Boswell
                         7615 Brakeman rd
                         Painesville, OH 44077


                         Lori Botkins
                         1078 merrimar circle n A
                         Columbus, OH 43220


                         Natalie Bottomley
                         1460 Fireside Trail
                         Broadview Heights, OH 44147


                         Renelle Bouffard
                         8280 Cambden Crossing Way
                         Concord Township, OH 44077


                         Kimberly Boumis
                         1187 Craig Court
                         Maineville, OH 45039


                         Jackie Bourgeix
                         202 Ohio st
                         Elyria, OH 44035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1494 of 1944
                         Frances Bourne
                         103 Locust Lane
                         Chagrin Falls, OH 44022


                         Nichole Bourquin
                         999 Prescot Ave
                         Massillon, OH 44646


                         Coshell Boustani
                         9457 Pam Court
                         Twinsburg, OH 44087


                         Kimberly Bova
                         10038 Primrose Circle
                         Twinsburg, OH 44087


                         Theresa Bowen
                         27655 Pergl Rd.
                         Solon, OH 44139


                         Charles Bowers
                         3870 East Surrey Court
                         Rocky River, OH 44116


                         Lindsay Bowers
                         1016 Nutmeg Sq S
                         Troy, OH 45373


                         Mary Bowersock
                         44 S Hayden Pkwy
                         Hudson, OH 44236


                         Lilian Bowing
                         3597 Beacon Drive
                         Beachwood, OH 44122


                         Andrea Bowling
                         7715 jandaracres dr Apt c
                         Cincinnati, OH 45248


                         Jillian Bowman
                         2471 Charles Mill Drive
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1495 of 1944
                         Shannon Bowman
                         6383 Sara Court
                         Hamilton, OH 45011


                         Brenda Bowser
                         102 North Street
                         Chardon, OH 44024


                         Leslie Bowser
                         1685 GROTON DR
                         HUDSON, OH 44236


                         Gregory Box
                         7392 Burntwood Way
                         Hudson, OH 44236


                         Casey Boyd-Swan
                         2224 Jesse Drive
                         Hudson, OH 44236


                         Christine Boyko
                         3406 magnolia way
                         BroadviewHeights, OH 44147


                         Cindy Boyle
                         8030 Sweetgum Trail
                         Mentor, OH 44060


                         Jason Bozarth
                         3384 Ridge Gap Rd
                         Columbus, OH 43221


                         Cheryl Bracken
                         6283 Hopkins Rd
                         Mentor, OH 44060


                         Heather Bracken
                         2485 wilmington ave se
                         massillon, OH 44646


                         Bethany Bradford
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                         Massillon, OH 44646




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1496 of 1944
                         Donna Bradley
                         6014 Hampton Corners North
                         Hilliard, OH 43026


                         Juwonna Bradley
                         1220 Midway Avenue
                         Columbus, OH 43207


                         Renee Bradley
                         12135 Quartermane Circle
                         Chardon, OH 44024


                         Charles Bradshaw
                         6250 Bryson Dr
                         Mentor, OH 44060


                         Amanda Brady
                         7607 Manor Drive
                         Mentor, OH 44060


                         Carol Brafford
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                         Painesville, OH 44077


                         Kaleelah Branche
                         6615 Solon Blvd.
                         Solon, OH 44139


                         Tammy Brand
                         3032 Cabot Way
                         Twinsburg, OH 44087


                         Lea Brandt
                         40 4th street
                         MADISON, OH 44057


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                         Danielle Brass
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18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1497 of 1944
                         Michael Brass
                         1115 Arrowhead dr
                         vermilion, OH 44089


                         Mandy Braun
                         714 Erin St
                         Lewis Center, OH 04305


                         Suzanne Braun
                         7379 Sharonlee Dr.
                         Mentor, OH 44060


                         Nikki Brauning
                         3943 Parkside Court
                         Hilliard, OH 43026


                         Jenny Braunstein
                         18 Highmeadows Circle
                         Powell, OH 43065


                         Silvia Bravo
                         2504 Country Ridge Dr
                         Hilliard, OH 43026


                         Danielle Breach
                         12954 Carter Rd
                         Painesville, OH 44077


                         Patricia Breedlove
                         14252 Rock Creek Rd P.O. Box 475
                         Chardon, OH 44024


                         Karen Breit
                         7176 Juniperview Lane
                         Madeira, OH 45243


                         Renee Breit
                         5881 Benjamin St SW
                         Canton, OH 44706


                         Jamie Bremer
                         5940 Heritage Farms Dr
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1498 of 1944
                         Hazel Brendler
                         3077 descent ct
                         hilliard, OH 43026


                         Stephanie Breneman
                         947 Ascot Dr
                         Maineville, OH 45039


                         Danielle Brennan
                         7692 Keystone Drive
                         Concord Twp, OH 44077


                         Christine Brenner
                         1107 Jackson Drive
                         Port Clinton, OH 43452


                         Dana Bresser
                         4054 Durango Green Dr
                         Cleves, OH 45002


                         Jason Brewer
                         6912 Fox Hill Ln
                         Cincinnati, OH 45236


                         Jason Brewer
                         970 Jackson st.
                         Vermilion, OH 44089


                         Megan Brewer
                         2016 Wren Haven Drive
                         Hudson, OH 44236


                         Sarah Brewer
                         3715 Hamilton Mason Rd
                         Hamilton, OH 45011


                         APRIL BREWSTER
                         12090 S Wintergreen Dr
                         Chardon, OH 44024


                         Shannon Brewster
                         521 Shaftsbury Rd
                         Troy, OH 45373




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1499 of 1944
                         Nicole Brey
                         6289 GLENWOOD DR
                         MENTOR, OH 44060-2455


                         Barb Breznay
                         10999 Bridle Trl.
                         Chardon, OH 44024


                         Ivonne Brickell
                         10446 Buckeye Rd
                         Painesville, OH 44077


                         Pamela Brickey
                         1246 Warble Dr
                         Columbus, OH 43204


                         Tina Brickman
                         209 fox pointe dr
                         chardon, OH 44024


                         Dionne Bridges
                         4777 Ascot Dr
                         Columbus, OH 43229


                         DeAnn Brierley
                         9594 Vista Drive
                         North Royalton, OH 44133


                         Marty Briggs
                         5126 Ridgeglen Cir NW
                         Canton, OH 44708


                         Olga Briggs
                         5330 Dellbrook Drive
                         Fairfield, OH 45014


                         Cary Bright
                         7403 Southwood Dr
                         Mentor, OH 44060


                         Maria Bright
                         6497 Lafayette Dr
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1500 of 1944
                         Scott Brihn
                         14130 Florence Lane
                         North Royalton, OH 44133


                         Charles Brill
                         10675 Butternut Road
                         Chesterland, OH 44026


                         David Brill
                         6065 Homewell Street
                         Hilliard, OH 43026


                         Yevette Brinegar
                         3686 Lebanon Road
                         South Lebanon, OH 45065


                         Kimberly Brinson
                         3469 south green rd apt 10b
                         Beachwood, OH 44122


                         Amy Britnell
                         10030 Stone Hollow Rd.
                         Mentor, OH 44060


                         Jennifer Brletic
                         579A Woodside Avenue
                         Vermilion, OH 44089


                         Amy Broadwater
                         314 Bucknell Court
                         Broadview Heights, OH 44147


                         Robert Brockman
                         5399 Sherry Lane
                         Fairfield, OH 45014


                         Tammy Brodbeck
                         5794 Bradford Way
                         hudson, OH 44236


                         Amy Brodsky
                         10000 Windjammer Trail
                         Reminderville, OH 44202




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1501 of 1944
                         Hope Brogan
                         6315 Meaghan dr.
                         Dublin, OH 43016


                         Elena Brokhman
                         28870 Blue Pond Trail
                         Solon, OH 44139


                         Janell Brookes
                         127 Miles Ave NW
                         Canton, OH 44708


                         Millissa Brosch
                         11870 Stonegate Drive
                         Chardon, OH 44024


                         Caroline Brosnan
                         555 Solon Rd.
                         Chagrin Falls, OH 44022


                         Sarah Bross
                         213 Newpine Drive
                         Cleves, OH 45002


                         Jaclyn Brossia
                         7726 Hickory Ln
                         Findlay, OH 45840


                         Susan Brothers
                         6991 Hayden Run Rd
                         Hilliard, OH 43026


                         Kristy Brough
                         416 Washington St
                         Port Clinton, OH 43452


                         Tracy Browder
                         5928 Emerald Lake Dr.
                         Fairfield, OH 45014


                         Amy Brown
                         2132 East Sand road
                         Port Clinton, OH 43452




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1502 of 1944
                         Anthony Brown
                         23511 Chagrin Blvd 510
                         Beachwood, OH 44122


                         Bradley Brown
                         1184 Catawba Bay Dr
                         Port Clinton, OH 43452


                         Christie Brown
                         9855 Breckenridge Dr.
                         Chardon, OH 44024


                         Daniel Brown
                         430 S. Walnut St.
                         Troy, OH 45373


                         Dave Brown
                         12307 Carroll Dr
                         Chardon, OH 44024


                         David Brown
                         4782 Circle Drive
                         Fairfield, OH 45014


                         Jackie Brown
                         6577 Solon blvd
                         Solon, OH 44139


                         Jacque Brown
                         115 Bard Dr
                         Hudson, OH 44236


                         Jacque Brown
                         115 Bard Dr
                         Hudson, OH 44236-3921


                         Kara Brown
                         13450 walking stick lane
                         Chardon, OH 44024


                         Kathleen Brown
                         3665 Glenbar Dr
                         Fairview Park, OH 44126




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1503 of 1944
                         Kevin Brown
                         217 Claridon Road
                         Chardon, OH 44024


                         Kimlicia Brown
                         9977 Darrow Park Drive 212A
                         Twinsburg, OH 44087


                         Marcia Brown
                         7116 Hearthwood Drive
                         Hamilton, OH 45011


                         Patrick Brown
                         829 Bayberry Dr NW
                         Massillon, OH 44646


                         Patti Brown
                         12025 Clark Rd
                         Chardon, OH 44024


                         Roynette Brown
                         3711 Mack Road H5
                         Fairfield, OH 45014


                         Ryan Brown
                         1835 Bishop Ln
                         Findlay, OH 45840


                         Sandy Brown
                         3478 Arbor Hill Lane
                         Maineville, OH 45039


                         Sara Brown
                         412 pepper tree lane
                         Painesville, OH 44077


                         Steven Brown
                         2317 Leo ave sw
                         Canton, OH 44706


                         Tracy Brown
                         251 Ohio st.
                         Elyria, OH 44035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1504 of 1944
                         Doug Brubaker
                         14778 Thornton Dr.
                         North Royalton, OH 44133


                         Yayoi Brubeck
                         3694 Kilkenny Dr.
                         Columbus, OH 43221


                         Kristy Brueggeman
                         6585 ivana ct
                         Mentor, OH 44060


                         Mindy Brueggemann
                         309 Reamer Place
                         Oberlin, OH 44074


                         Patricia Bruemmer
                         6208 Caribou Ct
                         Cincinnati, OH 45243-2906


                         Heather Brumfield
                         4697 crystal lake dr
                         hilliard, OH 43026


                         Michael Bruner
                         2862 Lakeview Ave
                         Rocky River, OH 44116


                         Jessica Brunn
                         8557 Akins Road
                         North Royalton, OH 44133


                         Rhonda Brunney
                         3411 Column Dr
                         Columbus, OH 43221


                         Melissa Bruns
                         3037 walnut grove dr
                         Loveland, OH 45140


                         Ashley Bryant
                         1406 Red Maple Drive
                         Painesville, OH 44077




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1505 of 1944
                         Bethany Bryant
                         10172 Bissell Drive
                         Twinsburg, OH 44087


                         Danielle Bryant
                         33860 Country View Lane
                         Solon, OH 44139


                         Nikia Bryant
                         5633 Van Wer Dr
                         Hilliard, OH 43026


                         Ross Bryndal
                         4680 Marigold Rd
                         Mentor, OH 44060


                         Meganne Brzygot
                         5753 Piper Glen Drive
                         Maineville, OH 45039


                         Courtney Buchner
                         10234 Johnnycake Ridge Rd
                         Painesville, OH 44077


                         Jennifer Buckey
                         8090 Conestoga Trl
                         Mentor, OH 44060-6870


                         Craig Buckner
                         4599 Brixshire Dr
                         Hilliard, OH 43026


                         Naomi Buehrle
                         19781 Riverview Ave.
                         Rocky River, OH 44116


                         Patti Buell
                         7361 cedar rd
                         Chesterland, OH 44026


                         Angela Buerger
                         3516 Alfred Ct
                         Columbus, OH 43221




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1506 of 1944
                         Lisa Buescher
                         419 Bentleyville rd
                         Chagrin falls, OH 44022


                         Emily Buffa
                         12745 Kingston Way
                         North Royalton, OH 44133


                         Sheri Buirley
                         8121 Jordan Valley Court
                         Cleves, OH 45002


                         Jayna Bukvic
                         2575 Easthaven dr.
                         Hudson, OH 44236


                         Patty Bumbalough
                         5954 state route 292 north
                         zanesfield, OH 43360


                         Alisha Bumgarner
                         10144 Flagstone Dr.
                         Reminderville, OH 44087


                         Emily Bundy
                         7514 Forthampton Cir
                         Hudson, OH 44236


                         Andrea Bunting
                         6652 Springmeadow Drive
                         Hamilton, OH 45011


                         Mariya Burban
                         6821 iron gate drive
                         north royalton, OH 44133


                         John Burchard
                         264 Monticello Dr.
                         Chagrin Falls, OH 44022


                         Christopher Burdick
                         11932 Greyfriars Circle
                         North Royalton, OH 44133-6129




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1507 of 1944
                         Cindy Burdick
                         3273 Triplecrown Dr
                         North Bend, OH 45052


                         Nicole Burgbacher
                         1300 Red Maple Drive
                         Troy, OH 45373


                         Randy Burge
                         107 Creswell Drive
                         Van Buren, OH 45889


                         Steve Burger
                         3937 Durango Green Dr.
                         Cleves, OH 45002


                         Andrea Burgess
                         1770 WRIGHT AVE
                         ROCKY RIVER, OH 44116


                         BevAnn Burgess
                         216 Belle Ave NW
                         Massillon, OH 44646


                         Kasie Burgess
                         178 Sorrelwood Lane
                         Chagrin Falls, OH 44022


                         Marie Burgess
                         10362 Merriam Lane
                         Twinsburg, OH 44087


                         Roland Burghardt
                         303 S. Ridge Ave
                         Troy, OH 45373


                         Bob Burke
                         5876 Ogilby Drive
                         Hudson, OH 44236


                         Jennifer Burke
                         5745 Argyle Drive
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1508 of 1944
                         Katy Burke
                         35780 Brushwood Dr.
                         Solon, OH 44139


                         Valerie Burke
                         9444 Johnnycake Ridge
                         Mentor, OH 44060


                         Jennifer Burkholder
                         239 Park Road
                         Painesville, OH 44077


                         Margaret Burling
                         6009 Heather Lane
                         Hudson, OH 44236


                         Christine Burlison
                         11539 Woodiebrook rd.
                         Chardon, OH 44024


                         Janet Burnett
                         429 Hilliard Rd.
                         Elyria, OH 44035


                         Matt Burnett
                         770 Outrigger Cove
                         Painesville, OH 44077


                         Denene Burnette
                         1790 Parker Lane
                         Twinsburg, OH 44087


                         Dawn Burney
                         7585 Pinecrest Lane
                         Solon, OH 44139


                         Amy Burns
                         2075 Maxwell Ave
                         Lewis Center, OH 43035


                         Megan Burns
                         7879 Woodview Ct.
                         Maineville, OH 45039




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1509 of 1944
                         Shelley Burns
                         7663 Diagonal Rd
                         Kent, OH 44240


                         Angelique Burnside
                         2684 Columbia Trail
                         Loveland, OH 45140


                         Kathy Burnside
                         661 Morris Rd.
                         Vermilion, OH 44089


                         Michelle Burr
                         4051 Alton Darby Creek Rd
                         Hilliard, OH 43026


                         BRIAN BURTON
                         106 FLORAL COURT
                         ELYRIA, OH 44035


                         Bus Bkg Express Lending CTR PAT
                         PO Box 94831
                         Cleveland, OH 44101


                         Karl Busch
                         10216 Stonehedge Dr
                         Concord Township, OH 44077


                         Francie Buschur
                         6244 George Fox Drive
                         Galloway, OH 43119


                         Allyson Bussey
                         2887 Cheshire Cir SW
                         Canton, OH 44706


                         Maleeka Bussey
                         2984 Trisch Cir
                         Twinsburg, OH 44087


                         Amanda Bustle
                         196 king ave
                         south lebanon, OH 45065




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1510 of 1944
                         Breanne Buterbaugh
                         2445 Olde Farm Lane
                         Hudson, OH 44236


                         Sharon Butina
                         3001 Mayapple Drive
                         Hudson, OH 44236


                         Racheal Butschie
                         9818 Hickory Dr
                         Loveland, OH 45140


                         Alison Buza
                         11300 Somersetv Dr. #242D
                         North Royalton, OH 44133


                         Kara Buzzelli
                         316 Simon Rd.
                         Hudson, OH 44236


                         Kara Buzzelli
                         316 Simon Rd
                         Hudson, OH 44236


                         Jim Byall
                         21101 Morewood Pkwy
                         Rocky River, OH 44116


                         Hillary Byrer
                         2320 Neff Lane
                         Troy, OH 45373


                         Erin Byrne
                         3180 Scioto Estates Court
                         Columbus, OH 43221


                         Patricia Byrnes
                         6963 Pennywhistle Circle
                         Concord Twp, OH 44077


                         Junior Cabrera
                         1346 Mentor Ave # 514
                         Painsville, OH 44077




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1511 of 1944
                         Aizel Cabungcal
                         2145 Omaha Place
                         Lewis Center, OH 43035


                         Francisco Caceres
                         6110 LAKOTA DR
                         CINCINNATI, OH 45243


                         Dan Cahl
                         164 Nottingham Drive
                         Elyria, OH 44035


                         Dee Cain
                         3035 Abrams dr
                         Twinsburg, OH 44087


                         Karen Cain
                         1220 Orchard Park Dr.
                         Rocky River, OH 44116


                         Hanna Cajan
                         7427 Woodyard Rd
                         Hudson, OH 44236


                         Lindsey Cake
                         251 Princeton Ave
                         Elyria, OH 44035


                         JIM CALABRESE
                         4293 charles ct
                         hilliard, OH 43026


                         Samuel Calabrese
                         302 Fox Way
                         Chagrin Falls, OH 44022


                         Chuck Calder
                         91 W. Belmeadow Ln
                         Chagrin Falls, OH 44022


                         Anabel Calderon
                         201 N Hayes St
                         Bellefontaine, OH 43311




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1512 of 1944
                         Michelle Calderwood
                         1269 Homeland Drive
                         Rocky River, OH 44116


                         Julia Caldwell
                         250 east state rd.
                         cincinnati, OH 45002


                         Mollie Caldwell
                         8882 Lakefield ct
                         Galloway, OH 43119


                         Mike Calhoun
                         14005 Painesville Warren Road
                         Painesville, OH 44077


                         Teresa Calhoun
                         1925 Buchtel Street
                         Twinsburg, OH 44087


                         Amy Call
                         5613 Primavera Drive
                         Mentor, OH 44060


                         Faith Call
                         2921 Delaware circle
                         Piqua, OH 45356


                         Michelle Callahan
                         9954 Windjammer Trail
                         Aurora, OH 44202


                         Paula Campanelli
                         98 Aurora St
                         Hudson, OH 44236


                         Heidi Campbell
                         13117 Kevin ln.
                         Chardon, OH 44024


                         Deborah Campbell-sauer
                         3537 oarlock ct
                         hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1513 of 1944
                         Jessica Campi
                         2069 Jesse Dr
                         Hudson, OH 44236


                         Dina Campola
                         11447 Viceroy Street
                         Painesville, OH 44077


                         Ruth Campos
                         10409 Fox Hollow Circle
                         Twinsburg, OH 44087


                         Becky Camposo
                         12111 Arborwood Way
                         Chardon, OH 44024


                         Jen Canary
                         4417 Knickel Dr
                         Hilliard, OH 43026


                         Amy Candella
                         560 Riverbend Ct
                         Fairfield, OH 45014


                         Monica Canestraro
                         6618 Baronscourt Loop
                         Dublin, OH 43016


                         Jennie Canganelli
                         7425 Jeremy Ave
                         Mentor, OH 44060


                         Melinda Canino
                         3365 Wessex Ct.
                         Loveland, OH 45140


                         Cristina Canseco
                         73 N Pleasant St
                         oberlin, OH 44074


                         Amy Cantor
                         6883 Silkwood Ln
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1514 of 1944
                         Giovanna Cantor
                         37 SUGAR BUSH LN
                         Chagrin Falls, OH 44022


                         Hope Cantrall
                         8558 High Trail Ct
                         Mason, OH 45040


                         Nicole Cantrell
                         501 Manhattan Pkwy
                         Painesville, OH 44077


                         Jayme Cantu
                         9793 west oak harbor southeast road
                         Oak harbor, OH 43449


                         Shannon Capers
                         5977 Paron Place
                         Hilliard, OH 43026


                         Capital One
                         PO Box 71087
                         Charlotte, NC 28272


                         Capital One Bank
                         PO Box 4692
                         Carol Stream, IL 60197


                         Thomas Cappello
                         12049 Clay Street
                         Huntsburg, OH 44046


                         Anthony Capuozzo
                         26200 Zeman Avenue
                         Euclid, OH 44132


                         Patricia Caputo
                         7400 VALERIE LN
                         HUDSON, OH 44236-1824


                         Patricia Caputo
                         7400 Valerie Lane
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1515 of 1944
                         Miguel Caraballo
                         P.O. Box 602748
                         Cleveland, OH 44102


                         Phil Carbone
                         451 Birchwood Lane
                         Painesville, OH 44077


                         Jodi Carcamo
                         7965 Gladshire Blvd
                         Lewis Center, OH 43035


                         Tara Carcioppolo
                         6910 S Camelot Dr
                         Mentor, OH 44060


                         Cardmember Services
                         PO Box 6294
                         Carol Stream, IL 60197


                         Angela Cardwell
                         8826 Crestwater Dr
                         Galloway, OH 43119


                         Krista Carl
                         5221 LYNNCREST STREET SW
                         Canton, OH 44706


                         Krista Carlozzi
                         6480 Liberty Rd
                         Solon, OH 44139


                         Ronald Carlson
                         850 Outrigger Cove
                         Painesville, OH 44077


                         Shelly Carlson
                         9900 Pebble Beach Cove
                         Aurora, OH 44202


                         Roberta Carlton
                         6275 Sharondale Dr
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1516 of 1944
                         JoEllen Carlucci
                         1467 GOLDEN LN
                         BROADVIEW HEIGHTS, OH 44147


                         LaVona Carpenter
                         22674 Halburton Road
                         Beachwood, OH 44122


                         Stacey Carpenter
                         116 E. Spruce Ave.
                         Bellefontaine, OH 43311


                         Peter Carper
                         129 Wrexham ave sw C
                         Massillon, OH 44646


                         Elaine Carr
                         1620 Deer Creek Dr
                         Findlay, OH 45840


                         Shari Carr
                         12430 willshire ln
                         chardon, OH 44024


                         Erica Carrano
                         3700 Fox Hunt Trail
                         Columbus, OH 43221


                         Tammy Carrington
                         2203 Pebble creek dr apt 102I
                         Twinsburg, OH 44087


                         Christin Carroll
                         10171 Weathersfield Drive
                         Mentor, OH 44060


                         Elizabeth Carroll
                         433 north Main street
                         Hudson, OH 44236


                         LETITIA CARROLL
                         13026 HAMPTON CLUB DRIVE #103
                         NORTH ROYALTON, OH 44133




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1517 of 1944
                         Michele Carroll
                         1888 Lakeshore Drive
                         Troy, OH 45373


                         Kim Carson
                         8815 Meadow Grass Ln
                         Lewis Center, OH 43035


                         Roberta Carson
                         8691 Camelot Dr
                         Chesterland, OH 44026


                         Theresa Carson
                         11120 Clark Rd
                         Chardon, OH 44024


                         Jessica Carter
                         611 Perry Dr NW
                         Canton, OH 44708


                         JULIE CARTER
                         17 E. Water St.
                         Troy, OH 45373


                         Scott Carter
                         21261 Maplewood Ave
                         Rocky River, OH 44116


                         Susan Carter
                         205 newpine drive
                         CLEVES, OH 45002


                         Wayne Carter
                         725 N Detroit st
                         Bellefontaine, OH 43311


                         Lindsay Caruso
                         1161 Bunker Hill Blvd Apt B
                         Columbus, OH 43220


                         Orestes Carvalho
                         5016 Lake View Dr
                         Peninsula, OH 44264




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1518 of 1944
                         Becky Carver
                         5301 Royalwood Rd Apt 202
                         North Royalton, OH 44133


                         Deena Casagrande
                         4572 Wyndtree Drive #161
                         West Chester, OH 45069


                         Rachel Casanta
                         1746 River Shore ct
                         Kings Mills, OH 45034


                         MARINA CASEY
                         10622 YORK ROAD
                         NORTH ROYALTON, OH 44133


                         Jeff Cashell
                         4754 Coltview Ct
                         Hilliard, OH 43026


                         Michelle Cashier
                         7271 Julia Dr
                         North Royalton, OH 44133


                         Alicia Cassady
                         276 Bon air ave
                         Elyria, OH 44035


                         Jennifer Casselberry
                         4111 Shepler Church Ave SW
                         Canton, OH 44706


                         Brittney Cassell
                         7680 Dog Trot rd
                         Cincinnati, OH 45248


                         Tracy Castelluccio
                         135 Grey Fox Run
                         Chagrin Falls, OH 44022


                         Tara Catalano
                         13123 Marilyn Dr
                         Chesterland, OH 44026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1519 of 1944
                         Kristen Catania
                         41 Ambrose Drive
                         Hudson, OH 44236


                         Jenny Catoe
                         100 Ambrose Drive
                         Hudson, OH 44236


                         Jennifer Catri
                         7605 Berks Way
                         Hudson, OH 44236


                         CHRIS CATRON
                         2624 RUNWAY AVE
                         BETHEL, OH 45106


                         Ernie Cavasinni
                         12610 Hovey Drive
                         Chesterland, OH 44026


                         Kris Cave
                         3793 Wenwood Dr
                         Hilliard, OH 43026


                         Angie Cavera
                         520 McKinley Dr.
                         Bowling Green, OH 43402


                         Julie Ceccanese
                         2671 Lombardi Ave
                         Canton, OH 44706


                         Michelle Cecconi
                         7358 Beechwood Dr
                         Mentor, OH 44060


                         Tonya Cecil
                         7727 Feder Rd
                         Galloway, OH 43119


                         Rubina Celeste
                         5872 Birch Lane
                         Mentor-on-the-Lake, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1520 of 1944
                         Romi Celleghin
                         23580 Bryden Rd.
                         Beachwood, OH 44122


                         Celtic Bank Corporation
                         268 S State Street, Suite 300
                         Salt Lake City, UT 84111


                         Karen Censoprano
                         7574 Elderkin Court
                         Hudson, OH 44236


                         Katrina Centeno
                         1029 Eileen ave. Sw
                         Massillon, OH 44646


                         April Centric
                         3167 Kaylyn lane
                         Hilliard, OH 43026


                         Susan Cerny
                         13951 Aspen Oval
                         North Royalton, OH 44133


                         Tanya Cerrato
                         10155 Foxwood Dr.
                         North Royalton, OH 44133


                         Andrea Cerutti
                         2211 Jesse Drive 2211 Jesse Drive
                         Hudson, OH 44236


                         Tammera Cervi
                         8011 Coldharbor Blvd
                         Lewis Center, OH 43035


                         Ilene Cesa
                         14024 Sweetbriar Lane
                         Novelty, OH 44072


                         Lacy Chadwick
                         1276 Glen cove way
                         Columbus, OH 43204




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1521 of 1944
                         Shannon Chadwick
                         12665 Hovey Dr
                         chesterland, OH 44026


                         Chagrin Falls MS
                         400 East Washington Str
                         Chagrin Falls, OH 44023


                         JAGANNATH Chalasani
                         8836 Emerald hill dr
                         Lewis Center, OH 43035


                         Brian Chalfin
                         9426 Concord Ct
                         Twinsburg, OH 44087


                         Chamberlin MS
                         10270 Ravenna Road
                         Twinsburg, OH 44087


                         Heidi Chambers
                         14050 West Rd.
                         Oberlin, OH 44074


                         Keiona Chambers
                         1135 Reese ave
                         Lima, OH 45804


                         Amylynn Chamblin
                         2975 stonequarry rd
                         Dayton, OH 45414


                         Caijian Chan
                         6549 Copley Ave
                         Solon, OH 44139


                         Tamara Chandler
                         54 Cohasset Drive
                         Hudson, OH 44236


                         Amy Chaney
                         4656 Crystal Ball Drive
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1522 of 1944
                         Christina Chaney
                         728 N Dorset Drive
                         Troy, OH 45373


                         Niki Chaney
                         740 Chappel Creek Court
                         Vermilion, OH 44089


                         Ann Chang
                         28937 N. Village Ln.
                         Solon, OH 44139


                         Amy Chapman
                         1535 Greenfield LN
                         Painesville, OH 44077


                         Elizabeth Chapman
                         7853 Zion Hill Rd
                         Cleves, OH 45002


                         Janel Chapman
                         7525 Hayden Run Rd
                         Hilliard, OH 43026


                         Sarah Chapman
                         312 W Third St
                         Port Clinton, OH 43452


                         Tamra Chapman
                         6174 Meadow Wood Ln
                         Columbus, OH 43228


                         Chardon MS
                         424 North Street
                         Chardon, OH 44024


                         Maria Charles
                         13295 Spruce Run Dr Apt 102
                         North Royalton, OH 44133


                         Dianne Charlton
                         6235 Chagrin River Rd
                         Bentleyville, OH 44022




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1523 of 1944
                         Linda Charlton
                         1572 Valley Crest Drive
                         Columbus, OH 43228


                         Courtney Charney
                         8 Eleven River
                         Rocky River, OH 44116


                         Erica Charriere
                         7190 Jonathan Drive
                         Hudson, OH 44236


                         Catherine Chase
                         1511 lyndhurst rd
                         Lyndhurst, OH 44124


                         Rebecca Chatman
                         153 Edgefield Drive
                         Cleves, OH 45002


                         Sara Cheeseman
                         787 Mary Lane Ext
                         South Lebanon, OH 45065


                         Enxin Chen
                         6190 Glade Run Rd
                         Hilliard, OH 43026


                         Su Chen
                         6216 Tall Oaks Dr
                         Mentor, OH 44060


                         Shirley Cheng
                         23402 Greenlawn Ave.
                         Beachwood, OH 44122


                         Victoria Chepelsky
                         1400 SEARAY CV
                         PAINESVILLE, OH 44077-7916


                         Rachel Cherubini
                         7477 Bent Oak Court
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1524 of 1944
                         Jason Chesko
                         1880 Quail Nest Ct
                         Troy, OH 45373


                         Mark Chesser
                         382 wilson mills rd.
                         chardon, OH 44024


                         Virgil Chichernea
                         7692 St. James Dr.
                         Mentor, OH 44060


                         Samantha Childress
                         6001 marine parkway Apt G106
                         Mentor on the lake, OH 44060


                         Ellen Childs
                         8605 Doris Place
                         Cleves, OH 45002


                         Adam Chioromonte
                         12574 ward drive
                         Chesterland, OH 44026


                         Ryan Chipley
                         2431 RENWICK WAY
                         TROY, OH 45373


                         Umesh Chitnis
                         33085 Seneca Dr
                         Solon, OH 44139


                         Jeff CHITWOOD
                         7870 DEERHURST PL
                         MAINEVILLE, OH 45039


                         David Chizek
                         23919 edgehill dr
                         Beachwood, OH 44122


                         Seung Choi
                         13258 SPRUCE RUN DR Apt.102
                         North Royalton, OH 44133




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1525 of 1944
                         Heather Chollett
                         112 Gentry Ct
                         Chardon, OH 44024


                         Sonja Chom-Cesen
                         130 Hickory Hill Rd
                         Painesville, OH 44077-5138


                         Vikas Chopra
                         8801 Honey Ash
                         Lewis Center, OH 43035


                         Colleen Christensen
                         1354 Bridget Lane
                         Twinsburg, OH 44087


                         Matt Christian
                         7360 Davis Rd
                         Hilliard, OH 43026


                         Natalie Christie
                         11780 Julie Drive
                         Chardon, OH 44024


                         Michael Chuparkoff
                         196 Brandywine Drive
                         Hudson, OH 44236


                         Niki Churchwell
                         7752 Oxgate Ct.
                         Hudson, OH 44236


                         Heather Cigoi
                         1461 Parkview Lane
                         Broadview Hts, OH 44147


                         Jennifer Cimperman
                         33 Westover Dr.
                         Chagrin Falls, OH 44022


                         Alieta Ciocea
                         9801 Sunrise Blvd. O-30
                         North Royalton, OH 44133




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1526 of 1944
                         Rochelle Ciora
                         11820 Jason Ave
                         Concord, OH 44077


                         Alfred Cipolletti
                         24710 Dundee Dr
                         Cleveland, OH 44143


                         Chrisopher Cipolletti
                         1835 Dansy Dr
                         Euclid, OH 44117


                         Gerri Cipolletti
                         625 Hanford Dr
                         Cleveland, OH 44143


                         Joe Cipolletti
                         6501 wilson mills rd
                         Mayfield Village, OH 44143


                         Robyn Cipolletti
                         7255 Lascala
                         Hudson, OH 44236


                         Joe Cipolletto
                         7255 Lascala Dr
                         Hudson, OH 44236


                         City of Mayfield Heights
                         6154 Mayfield Road
                         Mayfield Heights, OH 44124


                         Andrea Ciulli
                         3193 Meadow Lane
                         North Royalton, OH 44133


                         Tammy Clague
                         489 Crocker Blvd.
                         Chardon, OH 44024


                         Kate Clancy-LeVan
                         139 Bersham Dr
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1527 of 1944
                         Jennifer Clapper
                         2247 Olde Farm Lane
                         Hudson, OH 44236


                         Chris Clark
                         65 Greentree Road
                         Moreland Hills, OH 44022


                         Christine Clark
                         9815 TUDOR PL
                         CHARDON, OH 44024-8514


                         Christine Clark
                         7626 Manor Dr
                         Mentor-on-the-Lake, OH 44060


                         Crystal Clark
                         1770 Township Road 232
                         Van Buren, OH 45889


                         Dawn Clark
                         8680 Camelot Drive
                         Chesterland, OH 44026


                         Jeff Clark
                         100 Greentree Rd
                         Chagrin Falls, OH 44022


                         Keith Clark
                         24106 e baintree
                         Beachwood, OH 44122


                         Krista Clark
                         6242 Fulsher Lane
                         Cincinnati, OH 45243


                         Mark Clark
                         5800 Springwood Court
                         Mentor on the Lake, OH 44060


                         Marsha Clark
                         4679 RAVEN CT
                         HILLIARD, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1528 of 1944
                         Nickolas Clark
                         8090 Royalton Rd 185
                         North Royalton, OH 44133


                         Paul Clark
                         11090 abbey rd
                         North Royalton, OH 44133


                         Rebecca Clark
                         9394 Old Village Drive
                         Loveland, OH 45140


                         Roy Clark
                         9505 Hinsdale
                         Chardon, OH 44024


                         Tiffany Clark
                         383 barlow
                         hudson, OH 44236


                         William Clark
                         809 w third st
                         Port Clinton, OH 43452


                         Cathie Clarke
                         7146 N Jester Pl
                         Concord Twp, OH 44077


                         Jeffrey Clarke
                         7095 Windmill Lane
                         Concord, OH 44060


                         Mary Clarke
                         67 great oak drive
                         Hudson, OH 44236


                         Cathy Clary
                         1375 Aniko Ave
                         Lewis Center, OH 43035


                         Becky Clawson
                         763 E Lorain St
                         Oberlin, OH 44074




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1529 of 1944
                         Dave Clawson
                         1955 Fox Run
                         Troy, OH 45373


                         Danielle Clay
                         23513 Fairmount Blvd
                         Shaker Heights, OH 44122-2261


                         Josh Clay
                         3282 Jupiter Dr
                         North Royalton, OH 44133


                         Holly Clayton
                         635 Georgetown Ave.
                         Elyria, OH 44035


                         Kimberly Clayton
                         7643 Bridgetown Road
                         Cincinnati, OH 45248


                         Stacey Clayton
                         1224 Reservoir Road
                         Bellefontaine, OH 43311


                         Natalie Clemens
                         7615 Yennicook Way
                         Hudson, OH 44236


                         Danielle Clement
                         1711 Poplar Lane
                         Painesville, OH 44077


                         Kent Clemson
                         14732 rock creek
                         Chardon, OH 44024


                         Margaret Cleveland
                         10111 Pirates Trl
                         Aurora, OH 44202


                         Debra Clevenger
                         107 Kings Chapel DR S
                         Troy, OH 45373




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1530 of 1944
                         Tom Clifford
                         7395 Ravenna Rd
                         Painesville, OH 44077


                         Astrid Cline
                         4380 river rd
                         fairfield, OH 45014


                         JoEllen Cline
                         4365 Kendale Court
                         Columbus, OH 43220


                         Joy Cline
                         3105 Andrew James Dr
                         Hilliard, OH 43026


                         LAURA CLINE
                         9436 MONTICELLO DRIVE
                         TWINSBURG, OH 44087


                         Kelli Close
                         347 Scala Drive
                         Stow, OH 44224


                         Nicole Clouser
                         7590 Pelham Drive
                         Chesterland, OH 44026


                         Sherri Clute
                         2418 Rufus Ct.
                         Lewis Center, OH 43035


                         Maria Coble
                         12906 WOODIN RD
                         CHARDON, OH 44024


                         Ellen Cochran
                         13965 Chillicothe Road
                         Novelty, OH 44072


                         Renee Cochran
                         10477 Penton Court
                         Reminderville, OH 44202




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1531 of 1944
                         Andrei Cocieru
                         35 Steepleview Dr
                         Hudson, OH 44236


                         Dawn Cockerham
                         336 Pleasant Dr
                         South Lebanon, OH 45065


                         Tara Codella
                         91 Keswick Dr
                         Hudson, OH 44236


                         KC Coe
                         3500 Turnberry Dr.
                         Findlay, OH 45840


                         Sandra Coelho
                         3484 Darby Glen Blvd
                         Hilliard, OH 43026


                         Anne Coffey
                         180 Kenton Road
                         Chagrin Falls, OH 44022


                         JOLIE COFFEY
                         13535 TOWNSHIP ROAD 218
                         VAN BUREN, OH 45889


                         Kelly Coffey
                         3 Desales ct
                         Fairfield, OH 45014


                         Jeffrey Cohen
                         7547 MIAMI AVE
                         CINCINNATI, OH 45243


                         Robert Cohen
                         32693 jefferson dr
                         solon, OH 44139


                         Linda Cohn
                         6681 Edgemoor Avenue
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1532 of 1944
                         Kimberly Cola
                         6355 Clearair Dr
                         Mentor, OH 44060


                         Michael Colabianchi
                         9531 Rainbow Lane
                         NORTH ROYALTON, OH 44133


                         Meg Colafella
                         289 Bicknell Drive
                         Hudson, OH 44236


                         Scott Colburn
                         2857 Standish Ave SW
                         Canton, OH 44706


                         Kelly Cole
                         2457 Middleton Road
                         Hudson, OH 44236


                         William Cole
                         1904 Westwood Drive
                         Lewis CENTER, OH 43035


                         Ben Collado
                         10 Bryn Mawr Dr
                         Painesville, OH 44077


                         Isabel Collica
                         10252 Spinnaker Run
                         Aurora, OH 44202


                         Dan Collins
                         8060 Barberry Hill Dr.
                         Mentor, OH 44060


                         Elizabeth Collins
                         7330 Dixon dr
                         Hamilton, OH 45011


                         Jessie Collins
                         3054 Dunlavin Glen Rd.
                         Columbus, OH 43221




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1533 of 1944
                         Kelly Collins
                         24 Prescott Drive
                         Hudson, OH 44236


                         Kristin Collins
                         5175 Devontry Ln.
                         Columbus, OH 43220


                         Mark Collins
                         1051 Arrowhead Drive
                         Vermilion, OH 44089


                         Megan Collins
                         8352 Union Drive
                         Galloway, OH 43119


                         Tammi Collins
                         3447 S Green Rd apt 12B
                         Beachwood, OH 44122


                         Tara Colombini
                         2770 Lake Hollow Rd
                         Hilliard, OH 43026


                         Melissa Colucci-Hayes
                         8488 Misty Woods Cir
                         Powell, OH 43065


                         Nancy Colvin
                         5155 BRITTON FARMS DR
                         HILLIARD, OH 43026


                         Jane Comber
                         36895 Halton Court
                         Solon, OH 44139


                         Steve Combs
                         3550 Townsley Drive
                         Loveland, OH 45140


                         Paul Comfort
                         726 Coy Ln
                         Chagrin Falls, OH 44022




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1534 of 1944
                         Julie Compliment
                         2520 State Route 718
                         Troy, OH 45373


                         Jim Compton
                         8150 Chadwick Ct.
                         Mentor, OH 44060


                         Melanie Comstock
                         7623 Newton Drive
                         Mentor, OH 44060


                         Melanie Conaway
                         689 Mystic Pointe Drive
                         Lewis Center, OH 43035


                         Marica Condric
                         7865 St. James Dr.
                         Mentor, OH 44060


                         Kim Coneglio
                         13024 W Geauga Trail
                         Chesterland, OH 44026


                         Melissa Confer
                         7010 BEAGLE CT
                         HAMILTON, OH 45011


                         Jennifer Congdon
                         7640 Northwick Court
                         Novelty, OH 44072


                         Amanda Conley
                         565 Linwood Dr
                         Troy, OH 45373


                         Holly Conley
                         1517 White Ash Dr.
                         Painesville, OH 44077


                         Lena Conley
                         3205 Longspur Drive
                         Columbus, OH 43228




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1535 of 1944
                         Traci Conley
                         16191 Sherwood road
                         Findlay, OH 45840


                         Heather Conn-Lawrence
                         1756 Hickory Hill Dr
                         Columbus, OH 43228


                         Elizabeth Connell
                         3663 GOLDENROD ST
                         HILLIARD, OH 43026


                         Tiffany Connelly
                         21114 Stratford Ave
                         Rocky River, OH 44116


                         Laura Conner
                         6511 Euclid Avenue
                         Cincinnati, OH 45243


                         Brian Connor
                         26310 North Woodland Rd
                         Beachwood, OH 44122


                         Charles Conrad
                         1603 Orchard Grove Avenue
                         Lakewood, OH 44107


                         Heather Conrad
                         4984 Britton Farms Dr
                         Hilliard, OH 43026


                         Michael Conrad
                         1725 Blempoton Rd NW
                         Massillion, OH 44646


                         Alex Constable
                         7332 Granby
                         Hudson, OH 44236


                         Barbara Contorno
                         6350 Fay rd
                         Painesville, OH 44077




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1536 of 1944
                         Amy H Conway
                         11 Chelsea Court
                         Chagrin Falls, OH 44022


                         Letra Conwell
                         938 forestbrook
                         Painesville, OH 44077


                         Eric Coode
                         10120 Pinecrest Rd
                         Painesville, OH 44077


                         Ann Cook
                         2655 Aikin Circle South
                         Lewis Center, OH 43035


                         Barbara Cook
                         6494 Glenallen Ave
                         Solon, OH 44139-4007


                         Christine Cook
                         7644 Appleblossom Lane
                         Chesterland, OH 44026


                         Jennifer Cook
                         7427 Hudson Park Dr
                         Hudson, OH 44236


                         Violet Cook
                         100 Keenan Rd. Lot Cedar 29
                         Penisnula, OH 44264


                         Amanda Cooke
                         1077 Hornsby Dr
                         Columbus, OH 43240


                         Julia Cooke
                         415 Creekborough Ct.
                         South Lebanon, OH 45065


                         Jonathan Coombes
                         8418 E WOODLAND TRL
                         FINDLAY, OH 45840-7745




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1537 of 1944
                         David Cooney
                         10531 Bentley Drive
                         North Royalton, OH 44133


                         Christina Cooper
                         3352 Mill Run Drive
                         Hilliard, OH 43026


                         Danielle Cooper
                         7834 Curberry Dr
                         Mentor, OH 44060


                         Michael Cooper
                         242 Roxboro Rd
                         Vermilion, OH 44089


                         Stephanie Cooper
                         5975 Dunlap Rd
                         Cincinnati, OH 45252


                         Sarah Corbett
                         1124 Michigan
                         Bellefontaine, OH 43311


                         Laurie Corbin
                         1250 Manor Ave SW
                         Canton, OH 44710


                         Amanda Corcino
                         901 Douglas St
                         Vermilion, OH 44089


                         Aubrey Corcoran
                         424 Creekborough Ct.
                         South Lebanon, OH 45065


                         Michelle Cordle
                         3880 Farm Brook Lane
                         Columbus, OH 43204


                         Curt Cordray
                         5452 Grace drive
                         mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1538 of 1944
                         Clifton Core
                         517 East Brown Avenue
                         Bellefontaine, OH 43311


                         Effie Core
                         5999 Waterview Drive
                         Hilliard, OH 43026


                         Roger Corey
                         2360 Rufus Court
                         Lewis Center, OH 43035


                         Bevin Cormack
                         12855 Opalocka Dr
                         Chesterland, OH 44026


                         Jessica Cornell
                         123 Elm Street
                         Port Clinton, OH 43452


                         Debbie Corona
                         13061 Mariner Dr.
                         North Royalton, OH 44133


                         Lindsey Corrigan
                         8 Meadowlawn Drive Unit 22
                         Mentor, OH 44060


                         Natasha Corrigan
                         1128 westridge dr
                         Troy, OH 45373-3831


                         Billie Corson
                         3047 Gilridge Drive
                         Hilliard, OH 43026


                         Doug Corwin
                         105 Beech Ave
                         Bellefontaine, OH 43311


                         Douglas Corwin
                         7589 Bishop Court
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1539 of 1944
                         Leonard Cosentino
                         7640 Holyoke Avenue
                         Hudson, OH 44236


                         Tabitha Cote
                         1411 Rolling Meadows Drive
                         Vermilion, OH 44089


                         Mary Cottom
                         19463 Rye Gate Dr
                         North Royalton, OH 44133


                         Candice Cottongim
                         254 Ilene Avenue
                         South Lebanon, OH 45065


                         Jill Cottrill
                         4653 Crystal Clear Drive
                         Hilliard, OH 43026


                         Kimberly Couch
                         7594 Fern Drive
                         Mentor on the Lake, OH 44060-3213


                         Margaret Couch
                         5238 Maple Springs Dr
                         Chagrin Falls, OH 44022


                         Jodi Coughlin
                         9942 High Country Drive
                         Chardon, OH 44024


                         Sheila Counts
                         3487 Topgallant Ct
                         Columbus, OH 43221


                         Christine Courtwright
                         1050 Bates Road
                         Rocky River, OH 44116


                         Rhonda Coutinho
                         7334 Township Road 212
                         Findlay, OH 45840




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1540 of 1944
                         Heather Covill
                         1801 sedwick ave nw
                         Massillon, OH 44646


                         Krystal Covington
                         2285 Rockingham Dr
                         Troy, OH 45373


                         Rich Cowie
                         6138 Norwood Dr
                         Mentor, OH 44060


                         James Cowin
                         681 Spring Valley Dr
                         Lewis Center, OH 43035


                         Diane Cowles
                         12628 Harold Drive
                         Chesterland, OH 44026


                         Michael Cox
                         1326 Chelsea Rd
                         Troy, OH 45373


                         Betsy Coy
                         190 Senlac Hills Drive
                         Chagrin Falls, OH 44022


                         Matthew Coy
                         7846 Pinehill Road
                         Lewis Center, OH 43035


                         Catherine Coyne
                         6036 Reynolds Road
                         Mentor on the Lake, OH 44060


                         Colin Coyne
                         20995 Hilliard Blvd.
                         ROCKY RIVER, OH 44116-3310


                         Monica Cozmyk
                         9621 Applewood Dr
                         North Royalton, OH 44133




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1541 of 1944
                         Rebecca Cozzens
                         9361 Chesapeake Drive
                         North Royalton, OH 44133


                         Darren Craddock
                         6035 Heritage Farms Drive
                         HILLIARD, OH 43026


                         Donna Craddock
                         PO Box 563
                         Hudson, OH 44236


                         Ronald Craft
                         150 Littlejohn Road
                         Troy, OH 45373


                         Donn Craig
                         810 Branford Rd
                         Troy, OH 45373


                         Kim Craig
                         113 Tinkers Trail
                         Chardon, OH 44024


                         Mark Craig
                         5120 Leona Ave SW
                         Navarre, OH 44662


                         Jaclyn Cramer
                         4207 Pueblo drive
                         Lorain, OH 44053


                         Pam Cramer
                         6121 Glenworth Ct.
                         Galloway, OH 43119


                         Stephanie Cramer
                         8600 Township Road 112
                         McComb, OH 45858


                         Roleen Crane
                         6400 CREEKSIDE TRL
                         SOLON, OH 44139-3104




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1542 of 1944
                         Angela Crawford
                         4777 Hoseah St
                         Columbus, OH 43228


                         Danielle Crawford
                         5799 Privilege Dr
                         Hilliard, OH 43026


                         Elizabeth Crawford
                         6400 center st #89
                         Mentor, OH 44060


                         Jennifer Crawford
                         2505 Seneca Dr.
                         Troy, OH 45373


                         Sandee Crawford
                         1196 Autumn Run Drive
                         Maineville, OH 45039


                         Paul Creel
                         23206 Cedar rd
                         Beachwood, OH 44122


                         Katie Creveling
                         63 Lincoln Blvd.
                         Painesville, OH 44077


                         Maria Creviston
                         13630 Braeburn Lane
                         Russell Center, OH 44072


                         Crystal Crews
                         6402 Brooks Blvd
                         Mentor, OH 44060


                         Lacee Cripe
                         410 Old Willow Ct.
                         South Lebanon, OH 45065


                         Anita Crnjac
                         11580 Moon Beam
                         Painesville, OH 44077




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1543 of 1944
                         Kathryn Croasdaile
                         315 Grey Fox Run
                         chagrin falls, OH 44022


                         Chet Croce
                         5880 Privilege Dr.
                         Hilliard, OH 43026


                         Raylene Crofts
                         873 Wilder Ave
                         Elyria, OH 44035


                         Chad Cron
                         9635 Kelly Dr
                         Loveland, OH 45140


                         Jason Crook
                         828 Ashbrooke Way
                         Hudson, OH 44236


                         Tarra Crook
                         2810 E. Cove Ct.
                         Maineville, OH 45039


                         Becki Crookston
                         3128 Roanoke St. NW
                         Massillon, OH 44646


                         Bunista Cropenbaker
                         3050 Drew Dr.
                         Hamilton, OH 45011


                         James Crosby
                         2530 Richmond Rd
                         Beachwood, OH 44122


                         Kimberly Cross
                         6055 Hampton Corners South
                         Hilliard, OH 43026


                         Scott Cross
                         6406 Westward Drive
                         Loveland, OH 45140




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1544 of 1944
                         Heather Crossin
                         3397 Ridge Gap Rd
                         Columbus, OH 43221


                         Cynthia Crowder
                         811 Miles Ave. NW
                         Canton, OH 44708


                         Fei Crowe
                         1972 Aurora Ave
                         Lewis Center, OH 43035


                         Susan Crowe
                         9431 Langdon lane
                         North royalton, OH 44133


                         Beverly Crowley
                         128 Downing Dr. Chardon Ohio
                         Chardon, OH 44024


                         Patrick Crtalic
                         9463 Whalers Cove
                         Mentor, OH 44060


                         Carla Crumley
                         9284 HELEN LN
                         TWINSBURG, OH 44087


                         Jennifer Cruze
                         227 Eldon Ave
                         Columbus, OH 43204


                         Rebecca Crysler
                         1777 Pinecone Ct
                         Lewis Center, OH 43035


                         Amy Cseh
                         10080 HOBBY HORSE LANE
                         MENTOR, OH 44060


                         Kristen Csincsar
                         8521 albion rd
                         NORTH ROYALTON, OH 44133




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1545 of 1944
                         Carlos Cuadrado
                         2420 Tyre Dr
                         Hudson, OH 44236


                         Andrea Cuff
                         7087 Dogwood Ln
                         Mentor, OH 44060


                         Michael Cullers
                         37980 Flanders Drive
                         SOLON, OH 44139


                         Jim Cummings
                         338 Northview Drive
                         Powell, OH 43065


                         Julie Cummings
                         2160 Lyndway Rd
                         Beachwood, OH 44122


                         Laura Cummins
                         6275 Miami road
                         CINCINNATI, OH 45243


                         Lori Cundiff
                         301 Freeman ave nw
                         Massillon, OH 44646


                         Darcy Cunningham
                         5112 Riverview Dr.
                         South Lebanon, OH 45065


                         Don Cunningham
                         7398 hart st
                         Mentor, OH 44060


                         Justin Cunningham
                         5368 Sandstone Dr
                         Fairfield, OH 45014


                         Kurtisene Cunningham
                         3136 Liberty Ledges
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1546 of 1944
                         Michele Cunningham
                         6598 Minnewaukan Dr
                         Cincinnati, OH 45243


                         Rae Cunningham
                         7246 Davis Rd
                         Hilliard, OH 43026


                         Heather Currall
                         6983 Ridgemont Ct
                         Hudson, OH 44236


                         Tracy Curry
                         5782 Beech Dr.
                         Mentor on the Lake, OH 44060


                         Tricia Cusick
                         5595 Chateau Way
                         Fairfield, OH 45014


                         Tricia Cusma
                         1655 Jennifer dr
                         Twinsburg, OH 44087


                         Jennifer Custer
                         1775 Hickory Hill Dr
                         Columbus, OH 43228


                         Kathleen Custy
                         64 N Hayden Pkwy
                         Hudson, OH 44236


                         David Cutright
                         5450 Little Turtle Drive
                         South Lebanon, OH 45065


                         Jill Cutwright
                         14885 Crimson King Trail
                         Chardon, OH 44024


                         David Cuxil
                         4004 Atwood terrace
                         Columbus, OH 43224




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1547 of 1944
                         Jennifer Cvetichan
                         8273 Beaumont Dr.
                         Mentor, OH 44060


                         Kathleen Daberko
                         2508 Cedarwood Ct.
                         Hudson, OH 44236


                         Marchell Dace
                         5 Pinehurst ct.
                         Fairfield, OH 45014


                         Daniela Dadante
                         9558 Graystone Lane
                         Mentor, OH 44060


                         Maryann Daffeh
                         3711 Lifford Ct
                         Columbus, OH 43221


                         PAM DAFFNER
                         1130 SUMMIT AVE
                         TROY, OH 45373


                         Maria Dahl-Rosa
                         PO Box 531
                         Grand River, OH 44045


                         Jennifer Dahmen
                         12684 Ponderosa Dr
                         North Royalton, OH 44133


                         Lori Dailey
                         127 Bard Dr
                         Hudson, OH 44236


                         Heather Dalessandro
                         57 Olive Street
                         Chagrin Falls, OH 44022


                         Angie Daley
                         2988 Pleasant Colony Dr
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1548 of 1944
                         Shawna Dallas-Rose
                         621 N. Detroit St.
                         Bellefontaine, OH 43311


                         Sara Damante
                         1681 Mayflower Lane
                         Hudson, OH 44236


                         Lisa Dame
                         6147 Woodsboro Drive
                         Columbus, OH 43228


                         Danbury Elementary School
                         9451 E Harbor Rd
                         Lakeside Marblehead, OH 43440


                         Erin Dance
                         6779 Dawson Rd
                         Cincinnati, OH 45243


                         Revathi Danda
                         8152 S. Chariot St
                         Mentor, OH 44060


                         Gretchen Daniel
                         11135 Beechnut Lane
                         Chardon, OH 44024


                         Kristie Daniel
                         328 Locke Ave SW
                         Massillon, OH 44646


                         Tracey Daniel
                         6324 Riverstone Dr
                         Columbus, OH 43228


                         Jack Daniels
                         35287 quartermane cir
                         solon, OH 44139


                         Matt Daniluk
                         764 Delverne ace sw
                         Canton, OH 44710




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1549 of 1944
                         Brian Danison
                         10216 Mayfield Rd
                         Chesterland, OH 44026


                         Daniel Danszczak
                         9255 Gem Rd
                         Chesterland, OH 44026


                         Erin Darah
                         517 meadow springs rd
                         Maumee, OH 43537


                         Heather Dardeen
                         765 Mary Lane Extension
                         South Lebanon, OH 45065


                         Debbie Darden
                         137 Teaberry Circle
                         Chagrin Falls, OH 44022


                         Paul Daro
                         139 Antioch Dr
                         Elyria, OH 44035


                         Annie Darone
                         11810 clark road
                         chardon, OH 44024


                         Teresa Dart
                         8118 jordan valley court
                         cleves, OH 45002


                         Stacy DaSilva
                         7295 Partridge Dr
                         Dublin, OH 21873


                         Janeen Daugherty
                         426 Falls Road
                         Chagrin Falls, OH 44022


                         Stacy Daugherty
                         3165 Buckwalter Dr. SW
                         Massillon, OH 44646




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1550 of 1944
                         Stefanie Daugherty
                         115 South Pleasant Street
                         Oberlin, OH 44074


                         John Davenport
                         6233 Karl Rd
                         Columbus, OH 43229


                         Heather Davey
                         1640 Surrey Rd
                         Troy, OH 45373


                         Kristine Davidson
                         5175 Homestead dr
                         South Lebanon, OH 45065


                         Kyle Davidson
                         7353 Hillendale Rd
                         Chesterland, OH 44026


                         Amy Davies
                         7475 Jasani Ct.
                         Mentor, OH 44060


                         Michelle Davies
                         314 Amber Wood Way
                         Lewis Center, OH 43035


                         Pete Davies
                         465 ATTERBURY BLVD
                         HUDSON, OH 44236


                         Adam Davis
                         125 Woodland Rd
                         Painesville, OH 44077


                         Akacia Davis
                         302 Pennslyvania Ave
                         Troy, OH 45373


                         AN'DREA DAVIS
                         9961 DARROW PK DR 221 D
                         TWINSBURG, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1551 of 1944
                         Brenda Davis
                         4555 Marcellus St NW
                         Canton, OH 44708


                         Bryan Davis
                         3215 Honeysuckle Drive
                         Troy, OH 45373


                         Carrie Davis
                         1325 Bridget Lane
                         Twinsburg, OH 44087


                         Cathy Davis
                         4600 Astral Drive
                         Hilliard, OH 43026


                         Christina Davis
                         6214 Coachlite Way
                         Cincinnati, OH 45243


                         Dan Davis
                         11410 Woodiebrook Rd.
                         Chardon, OH 44024


                         Dana Davis
                         4349 Jennydawn Place
                         Hilliard, OH 43026


                         Denise Davis
                         7341 Ridgestone Dr
                         Madeira, OH 45243


                         Gabrielle Davis
                         3152 shadow Creek Court
                         Hamilton, OH 45011


                         Janice Davis
                         5975 Liberty Fairfield Rd.
                         Hamilton, OH 45011


                         Jennifer Davis
                         22349 Bartlett Drive
                         Rocky River, OH 44116




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1552 of 1944
                         Jenny Davis
                         7441 Shewango Way
                         Cincinnati, OH 45243


                         Kathleen Davis
                         7270 Summerhill Drive
                         Concord Twp, OH 44077


                         MaryJo Davis
                         7520 Chillicothe Rd
                         mentor, OH 44060


                         Allyson Davy
                         1953 baltic ave
                         lewis center, OH 43035


                         Mohammad Dawood
                         6790 sherwood trail
                         north royalton, OH 44133


                         Carla Dawson
                         8454 Markwood Dr.
                         Mentor, OH 44060


                         Chris Dawson
                         321 Chardon Ave..
                         Chardon, OH 44024


                         Stephanie Dawson
                         3731 Mack Road
                         Fairfield, OH 45014


                         Lisa Dawson-Knight
                         9215 Windy Creek Drive
                         Columbus, OH 43240


                         Angela Day
                         11775 Auburn rd
                         Chardon, OH 44024


                         Steve Dayonchik
                         36323 Derby Downs Dr
                         Solon, OH 44139




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                         Alan Dayringer
                         11645 lyman rd
                         chesterland, OH 44124


                         Valeria Dazey
                         2264 Perry Dr S.W.
                         CANTON, OH 44706


                         Angeles De ~La ~Rosa
                         7059 Dawson Rd. Lot 49
                         Cincinnati, OH 45243


                         Jessica Dean
                         276 Berkshire Rd
                         Vermilion, OH 44089


                         Meredith Dean
                         2057 Maxwell Ave
                         Lewis Center, OH 43035


                         Kitty DeBella
                         1517 Covent Road
                         TROY, OH 45373


                         Jennifer DeBoo
                         1717 County Road 139
                         McComb, OH 45858


                         Heather DeCarlo
                         8449 Squad Drive
                         Galloway, OH 43119


                         Laurie Deck
                         2062 Aurora Ave
                         Lewis Center, OH 43035


                         Dana Decker
                         390 Thomas Alva Dr
                         Vermilion, OH 44089


                         Angela Defranco
                         7055 Sturbridge dr
                         Concord Twp, OH 44077




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1554 of 1944
                         Antonia Deignan
                         16405 majestic oaks dr
                         chagrin falls, OH 44023


                         Jennifer Deiter
                         13939 Township Road 215
                         Findlay, OH 45840


                         Christine Dekowski
                         930 Marion AVE NW
                         MASSILLON, OH 44646


                         Jaime Delapaz
                         6558 dunbarton dr
                         Hudson, OH 44236


                         Sasha Delarosa
                         1832 Ridgebury dr
                         Hilliard, OH 43026


                         Kelly Delegram
                         1103 Waldo Way
                         Twinsburg, OH 44087


                         Lourdes DeLeon
                         893 Pebble Beach Cove
                         Painesville, OH 44077


                         Stacy DeLeone
                         8305 Kylie Court
                         Concord, OH 44077


                         Regina Delphia
                         6470 Som Center Road
                         Solon, OH 44139


                         Jessyca DeLuna
                         443 Bat Road Apt. 202
                         Hudson, OH 44236


                         Mark Delventhal
                         46 Buckingham Rd
                         Rocky River, OH 44116




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1555 of 1944
                         Stacey DelZoppo
                         8799 Arrowood Drive
                         Mentor, OH 44060


                         Jeffrey Demaree
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                         Cleves, OH 45002


                         Olga Dembek
                         5875 Sequoia Ct.
                         Mentor on the Lake, OH 44060


                         Stephanie Dembski
                         5888 Thorngate Dr
                         Galloway, OH 43119


                         Jennifer Demianenko
                         8584 Squad Dr
                         Galloway, OH 43119


                         Joyce DeMichele
                         10568 Ridgewater Dr.
                         Painesville, OH 44077


                         Cher DeMore
                         10049 Bissell Dr
                         Twinsburg, OH 44087


                         Lisa DeMore
                         802 Lost Pond Pkwy
                         Chardon, OH 44024


                         Todd Demshar
                         8280 Ravenna Road
                         Concord Twp, OH 44077


                         Kim Den Braber
                         5159 Chillicothe Rd
                         Chagrin Falls, OH 44022


                         Danielle Denney
                         4580 Paxton Dr S
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1556 of 1944
                         Erika Dennison
                         8223 Morris Rd.
                         Hilliard, OH 43026


                         Terese Denton
                         32087 hamilton ct
                         solon, OH 44139


                         Tamara DeProfio
                         648 Riverbend Ave
                         Powell, OH 43065


                         Kendra Derganc
                         7979 independence dr unit D
                         Mentor, OH 44060


                         Erinn Dersom
                         7903 Norma Court
                         Lewis Center, OH 43035


                         Michelle Deruytter
                         113 Spring Drive
                         C.F., OH 44022


                         Al DeSalvo
                         11532 Worthington Way
                         North Royalton, OH 44133


                         Brant Desatnik
                         24014 east silsby rd
                         beachwood, OH 44122


                         Domenic Desciscio
                         14535 Caves Road
                         Novelty, OH 44072


                         Sonya DeSilva
                         3438 St Charles Lane
                         Hilliard, OH 43026


                         Jim Destro
                         94 Hamden Dr
                         Hudson, OH 44236




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                         Christine Destry
                         2783 Martin Rd #325
                         Dublin, OH 43017


                         Mike Detherage
                         8909 Eagleview Drive #4
                         West Chester, OH 45069


                         Greg Detweiler
                         13054 Coachman Dr
                         Chardon, OH 44024


                         Lori Deuberry
                         71 Fox Trace Lane
                         Hudson, OH 44236


                         Lori Deuberry
                         71 Fox Trace Ln
                         Hudson, OH 44236


                         Erica Deutsch
                         7562 Foxdale Circle
                         Hudson, OH 44236


                         Gina DeVito-Staub
                         32977 Charmwood Oval
                         Solon, OH 44139


                         Kaymarie Devorace
                         21625 Hilliard Blvd
                         ROCKY RIVER, OH 44116


                         Tracy Devries
                         1045 Scribner St
                         Maumee, OH 43537


                         Sanjeev Dewangan
                         2198 Reeves Ave
                         Lewis Center, OH 43035


                         Kimberly DeZellar
                         5837 Glendavon Ct
                         Dublin, OH 43016




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1558 of 1944
                         Narinderjit Dhaliwal
                         3286 Darien Lane
                         Twinsburg, OH 44087


                         Kavitha Dhayananth
                         5716 Lakeside Xing
                         Dublin, OH 43016


                         Manjit Dhillon
                         26785 Fairmount BLVD
                         Beachwood, OH 44122


                         Assita Diarra
                         656 Riverview Dr Apt B
                         Columbus, OH 43202


                         Amanda DiBenedetto
                         2121 Valley View Dr.
                         Rocky River, OH 44116


                         Christopher Dick
                         7155 Hart Str Apartment D25
                         Mentor, OH 44060


                         Lynn Dickens
                         50 Ambrose Dr.
                         Hudson, OH 44236


                         Christopher Dickerson
                         5313 Red Flower Ln.
                         South Lebanon, OH 45065


                         Kelly Dickerson
                         3001 Ravenna Street
                         Hudson, OH 44236


                         Micah Dickerson
                         5576 Edie Dr
                         HILLIARD, OH 43026


                         Shawn Dickess
                         8135 San Marco Court
                         Cincinnati, OH 45243




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1559 of 1944
                         Kim Dickson
                         11259 Heritage Dr
                         Twinsburg, OH 44087


                         Nathalie Dickson
                         1596 Woodland Ct
                         Twinsburg, OH 44087


                         Madhuri Diddi
                         943 little bear loop
                         lewis center, OH 43035


                         Kurt Dieckmann
                         1819 Storrow Drive
                         Lewis Center, OH 43035


                         Janice Diederich
                         2324 Croydon Rd
                         Twinsburg, OH 44087


                         Christy Diegel
                         515 Arlene Drive
                         Maumee, OH 43537


                         Tona Diehl
                         2919 Legionary Street Unit 303
                         Columbus, OH 43207


                         Tim Diehr
                         2176 Omaha Place
                         Lewis Center, OH 43035


                         Craig Diekmann
                         9578 Graystone Lane
                         Mentor, OH 44060


                         Jill DIETZ
                         5597 Liberty Rd
                         Bentleyville, OH 44022-3525


                         Scott DiFranco
                         39147 Johnnycake Ridge Rd
                         Willoughby, OH 44094




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1560 of 1944
                         Vanessa Difranco
                         12345 valley vista drive
                         Chesterland, OH 44026


                         Dessa DiGeronimo
                         7327 Burntwood Way
                         Hudson, OH 44236


                         Angela DiGiacomo
                         7438 Wetherburn Way
                         Hudson, OH 44236


                         Digital Decibels, LLC
                         79 East Gates Street
                         Columbus, OH 43206


                         Summer Dilbone
                         1655 Fox Run
                         Troy, OH 45373


                         Donna DiLiberto
                         6582 Dellhaven Ave
                         Mentor, OH 44060


                         Kevin Dilley
                         1660 Mayflower Lane
                         Hudson, OH 44236


                         George Dillon
                         6224 Chestnut St.
                         Painesville, OH 44077


                         Susan DiMassa
                         11293 Abbey Road
                         North Royalton, OH 44133


                         Jennifer DiMuzio
                         6399 Deerglen Drive
                         Hilliard, OH 43026


                         Kim DiMuzio
                         10407 Oviatt Lane
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1561 of 1944
                         Wendi Dines
                         2021 Presidential Pkwy 56
                         Twinsburg, OH 44087


                         Tang Ding
                         6006 Nicholson Dr.
                         Hudson, OH 44236


                         Tracy Dingrs
                         12220 Huntoon Rd
                         Concord, OH 44077


                         Wendy Diotale
                         4432 11th st nw
                         Canton, OH 44708


                         Teresa DiRenzo
                         6173 Firwood Rd
                         Mentor, OH 44060


                         Melissa DiRienzo
                         3719 Kilmuir Drive
                         Columbus, OH 43221


                         April Dirker
                         2466 Cottager Dr
                         Hudson, OH 44236


                         Jacqueline Disidoro
                         9987 Parkland Dr.
                         Twinsburg, OH 44087


                         Sam Dispenza
                         6795 Georgetown Dr
                         Mentor, OH 44060


                         Colleen DiStefano
                         13147 Woodcrest Lane
                         Chesterland, OH 44026


                         Mike Dittman
                         8893 Pembrooke Street
                         Maineville, OH 45039




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1562 of 1944
                         Stephanie Dittman
                         5172 Tallawanda Drive
                         Fairfield, OH 45014


                         Amy DiTullio
                         58 Jefferson Drive
                         Hudson, OH 44236


                         Sabrina Dix
                         31698 Sedgefield Oval
                         Solon, OH 44139


                         Wanda Dixon
                         5184 Southminster Road
                         Columbus, OH 43221


                         Predrag Djordjevic
                         8231 Ridge Road
                         North Royalton, OH 44133


                         Quyen Do
                         1600 E 34th Cleveland ohio 44114
                         Cleveland, OH 44114


                         Elizabeth Doan
                         2801 Sulgrave Rd
                         Beachwood, OH 44122


                         Ken Dobay
                         1827 Westwood Drive
                         Lewis Center, OH 43035


                         Anthony Dobbert
                         9419 Grace Dr
                         Twinsburg, OH 44087


                         Angela Dobbins-Rivera
                         9435 lost pond drive 46d
                         Twinsburg, OH 44087


                         Kelly Dobek
                         700 Jackson Dr
                         Port Clinton, OH 43452




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                         Deb Dobelhoff
                         6200 Margo Lane
                         Cincinnati, OH 45227


                         Stacey Dodgion
                         3880 smiley rd
                         Hilliard, OH 43026


                         Kristi Doerflein
                         3392 Alta Vista Ave.
                         Cincinnati, OH 45211


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                         57 Water Street
                         Chagrin Falls, OH 44022


                         Angela Dolney
                         11439 Ravenna road
                         Twinsburg, OH 44087


                         Monica Dominguez
                         149 napoli ct
                         Fairfield, OH 45014


                         Dominion Energy Ohio
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                         Richmond, VA 23261


                         Chad Donahue
                         1520 valerie ave n.e.
                         massillon, OH 44646


                         Jeff Donohoe
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                         Solon, OH 44139


                         Julie Donovan
                         7491 Madeira Pines Dr.
                         Cincinnati, OH 45243


                         Jessica Dooley
                         4763 Eastport Drive
                         Kings Mills, OH 45034




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1564 of 1944
                         Tiffani Dorfmueller
                         8526 Southland Drive
                         Maineville, OH 45039


                         Julie Dorko
                         6354 Brooks Blvd
                         Mentor, OH 44060


                         Kristen Dorony
                         828 Norbury Drive
                         Hudson, OH 44236


                         Allyson Dorsey
                         6004 Collins rd
                         Mentor, OH 44060


                         Samantha Dotson
                         112 Cedar Glen
                         Chardon, OH 44024


                         Double Tree Largo
                         9100 Basil Court
                         Largo, MD 20774


                         Double Tree Oak Brook
                         1909 Spring Road
                         Oak Brook, IL 60523


                         Anne Douglas
                         22160 Detroit Rd
                         Rocky River, OH 44116


                         Colleen Douglas
                         11510 Boxwood Circle
                         Chardon, OH 44024


                         Windy Douglas
                         2842 Lombardi Ave Sw
                         Canton, OH 44706


                         Molly Douglass
                         10249 Mayfield Rd
                         Chesterland, OH 44026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1565 of 1944
                         Stephanie Dowling
                         2628 Pickerington Way
                         Hudson, OH 44236


                         Derrick Downie
                         7600 Herrick Park Dr
                         Hudson, OH 44236


                         Hugh Downs
                         9873 Gabriel's Way
                         Concord Twp, OH 44060


                         Lisa Downs
                         2133 Ben Brush Place
                         Lewis Center, OH 43035


                         Melissa Downs
                         108 North St.
                         Chardon, OH 44024


                         Lauri Doxsey
                         9719 E. Idlewood Dr.
                         Twinsburg, OH 44087


                         Danielle Doyle
                         1651 Ridgewood CT
                         Twinsbuer, OH 44087


                         Cheryl Drake
                         4371 County Road 220
                         findlay, OH 45840


                         Dana Drayer
                         12966 Chillicothe Rd
                         Chesterland, OH 44026


                         Dan Drees
                         2542 Arborwood Dr
                         Loveland, OH 45140


                         Jason Dreier
                         1006 Stonyridge Ave
                         Troy, OH 45373




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1566 of 1944
                         Kurt Drescher
                         4867 wiltshire rd
                         north royalton, OH 44133


                         Michelle Drew
                         107 Western Hill Drive
                         Cleves, OH 45002


                         Carrie Dreyer
                         7847 Zion Hill Road
                         Cleves, OH 45002


                         Lauren Drobnjak
                         929 Silverberry Lane
                         Hudson, OH 44236


                         Vel Drobnjak
                         929 Silverberry Lane
                         Hudson, OH 44236


                         Connie Drochak
                         166 Lafayette street
                         Elyria, OH 44035


                         Juliet Drotleff
                         113 Squires Ln
                         Chardon, OH 44024


                         Holly Dryer
                         12895 Greenbrier Dr
                         Chardon, OH 44024


                         Fei Duan
                         23511 E.Silsby
                         Beachwood, OH 44122


                         Kimberly Duchon
                         10010 Ravenna Rd
                         Chardon, OH 44024


                         Laura Duckett
                         924 Salem ave
                         Elyria, OH 44035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1567 of 1944
                         Michelle Dudas
                         10164 Chipmunk Ridge Drive
                         Concord, OH 44077


                         Michele Duer
                         228 Wrexham Ave SW
                         MASSILLON, OH 44646


                         Rebecca Duesenberg
                         19856 Roslyn Drive Rocky River
                         Rocky River, OH 44116


                         David Duesing
                         1208 Waterfront Pl
                         Painesville, OH 44077


                         Deborah Duffy
                         1558 Jennifer Drive
                         Twinsburg, OH 44087


                         Candace Duke
                         7246 Juler Ave
                         Cincinnati, OH 45243


                         Jamie Dulcie
                         1646 CARRIAGE HILL AVE NW
                         Massillon, OH 44646


                         Chris Duliga
                         5688 Abbyshire Dr.
                         Hudson, OH 44236


                         Colleen Dumm
                         15065 GAR HWY
                         CHARDON, OH 44024


                         Rebecca Duncan
                         23040 Halburton Road
                         Beachwood, OH 44122


                         Charise Dunewood
                         9151 Tahoma Street
                         Columbus, OH 43240




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1568 of 1944
                         Lisa Dunlap
                         7320 morley rd 2
                         PAINESVILLE, OH 44077


                         Yvonne Dunlap
                         1021 Bayridge Drive
                         Lewis Center, OH 43035


                         Anne Dunn
                         7177 Juniperview Lane
                         Cincinnati, OH 45243


                         Mathew Dunn
                         27853 Edgepark Dr
                         North Olmsted, OH 44070


                         Aimee Dunphy
                         4475 Hemingway Ct
                         Hudson, OH 44236


                         Linh Duong
                         35914 Spatterdock Ln
                         Solon, OH 44139


                         Rebecca Dupaix
                         3406 Waterpoint Dr
                         Columbus, OH 43221


                         Nicole Durachinsky
                         2365 Woodacre Dr
                         Hudson, OH 44236


                         Michael Durbin
                         4605 12th St NW
                         Canton, OH 44708


                         Steve Durian
                         510 Kitts Hill Ct
                         Centerville, OH 45459


                         Kathy Duricky
                         9262 Thomas Ct
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1569 of 1944
                         Michelle Duricky
                         6330 RAMBLEWOOD DR
                         MENTOR, OH 44060


                         Lisa Durkin
                         1525 Winchell Dr
                         Hudson, OH 44236


                         Laura Durliat
                         4369 CR 140
                         Findlay, OH 45840


                         ELISA Duron
                         5216 Ritchey Lane
                         SOUTH LEBANON, OH 45065


                         Lori Dutton
                         5968 Hamton Corners North
                         Hilliard, OH 43026


                         Tonya Dutton
                         4127 N Main St
                         Findlay, OH 45840


                         Sastry Duvvuri
                         9180 Davis Way
                         Twinsburg, OH 44087


                         Bill Dvorak
                         15180 bates creek dr
                         chardon, OH 44024


                         Elizabeth Dvorscak
                         956 Wilder Ave.
                         Elyria, OH 44035


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                         Hilliard, OH 43026


                         Catherine Dye
                         2586 Haines Rd.
                         Madison, OH 44057




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1570 of 1944
                         John Dye
                         3599 Darby Knolls Blvd
                         Hilliard, OH 43026


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                         4817 larwell dr
                         columbus, OH 43220


                         Steve Dzanko
                         7477 Harding
                         Mentor, OH 44060


                         Kristen Dziedziak
                         5286 White Swan Court
                         North Royalton, OH 44133


                         Jaycee Dzugan
                         497 N ASHWOOD LN
                         Painesville, OH 44077


                         Diane Dzurik
                         17239 Waterbridge Dr
                         North Royalton, OH 44133


                         Holly Dzurko
                         13091 County Line Road
                         Chesterland, OH 44026


                         Lyubov Dzyuban
                         11980 Harbour Light Dr.
                         North Royalton, OH 44133


                         Rachel Lang Eader
                         730 E. Columbus Ave
                         Bellefontaine, OH 43311


                         Aimie Earle
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                         Canton, OH 44708


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18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1571 of 1944
                         East Woods ES
                         120 North Hayden Pkwy
                         Hudson, OH 44236


                         Amy Eberlein
                         21891 Avalon Drive
                         Rocky River, OH 44116


                         Katherine Eberlein
                         310 Argyle Rd
                         Rocky River, OH 44116


                         Katie Eckles
                         7368 button road
                         Mentor, OH 44060


                         Brian Eckliff
                         504 Beechwood lane
                         painesville, OH 44077


                         Denise Eckman
                         21199 Kenwood Avenue
                         Rocky River, OH 44116


                         Christy Eckstein
                         815 Claycross Court
                         Galloway, OH 43119


                         David Eddy
                         19781 Westover Ave
                         Rocky River, OH 44116


                         Diana Edgar
                         7901 Crescent Drive
                         Lewis Center, OH 43035


                         Jennifer Edgell
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                         Mentor, OH 44060


                         Jenn Edger
                         1329 Lee Rd.
                         Troy, OH 45373




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1572 of 1944
                         Edison MS
                         4201 13th Street
                         Massillon, OH 44646


                         Josh Edmonds
                         8393 Cedar Rd
                         Chesterland, OH 44026


                         Jennifer Edwards
                         8206 Baythorne Dr.
                         Mentor, OH 44060


                         Jill Edwards
                         6701 spicewood Ct
                         columbus, OH 43228


                         Laura Edwards
                         2699 Stone Mill Way
                         Hamilton, OH 45011


                         Nicole Edwards
                         10365 Penniman Dr
                         Chardon, OH 44024


                         Amy Eells
                         5621 Abbyshire Dr
                         Hudson, OH 44236


                         Kristin Egan
                         16233 Waterford Dr.
                         North Royalton, OH 44133


                         Maria Eggert
                         9973 Lynn Dr
                         North Royalton, OH 44133


                         ALAN EGOLF
                         6296 CORLEY DR
                         DUBLIN, OH 43016


                         Lori Ehinger
                         7391 Briarwood Dr.
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1573 of 1944
                         Terri Ehrie
                         7755 Orange Station Loop
                         Lewis Center, OH 43035


                         Janice Eichelberger
                         3286 Triplecrown
                         North Bend, OH 45052


                         Kevin Eichelberger
                         13004 Mason Road
                         Vermilion, OH 44089


                         Kristen Eickert
                         4325 e laurel ridge drive 43452
                         port clinton, OH 43452


                         Lisa Eickman
                         2411 New Castle Dr
                         Troy, OH 45373


                         Rachel Eiding
                         7985 Brichford Rd
                         Mentor, OH 44060


                         Courtney Eisel
                         585 salisbury rd
                         Columbus, OH 43204


                         Jennifer Elam
                         1249 Harkers Run
                         Maineville, OH 45039


                         Hollie Elam-LaMar
                         5831 Coldcreek Dr
                         Hilliard, OH 43026


                         Wally Elayan
                         10983 Spear rd
                         Concord, OH 44077


                         George Elbel
                         6414 Glenallen Ave
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1574 of 1944
                         Charlotte Elconin
                         75 Grey Fox Run
                         Chagrin Falls, OH 44022


                         Reem Elgemiey
                         481 Wilmington drive
                         Broadview Heights, OH 44147-4405


                         Jennifer Elias
                         2640 Myrick Lane
                         Twinsburg, OH 44087


                         Ashley Elleman
                         177 a mckeestown rd
                         bellefontaine, OH 43311


                         Dustin Ellenberger
                         7565 Highgate Drive
                         Hudson, OH 44236


                         Tess Ellenberger
                         7565 Highgate Drive
                         Hudson, OH 44236


                         Chris Elliott
                         4839 Glenhurst St SW
                         Canton, OH 44706


                         Janet Elliott
                         7686 Oxgate Ct
                         Hudson, OH 44236


                         Shana Elliott
                         3017 Seeger Street
                         Columbus, OH 43228


                         Shanna Elliott
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                         Troy, OH 45373


                         Tara Elliott
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                         Canton, OH 44708




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1575 of 1944
                         Theresa Elliott-Bryant
                         10514 Old State Road
                         Chardon, OH 44024


                         Jennifer Ellis
                         14714 Darrow Road
                         Vermilion, OH 44089


                         Lisa Ellis
                         1970 Masters Point Circle SE
                         Massillon, OH 44646


                         Mario Ellis
                         6155 Loch Lomond Ct.
                         Solon, OH 44139


                         KIMBERLY ELLISON
                         2863 Quailview Ln
                         Hilliard, OH 43026


                         Renee Ellman
                         6529 Copley Ave.
                         Solon, OH 44139


                         Melissa Ellsworth
                         2768 Kingsbury Dr.
                         Rocky River, OH 44116


                         Christi Elly
                         640 Lanark Lane
                         Painesville, OH 44077


                         Theresa Elmajdoubi
                         5697 Pleasant Hill Drive
                         Hilliard, OH 43026


                         Carmel Elmer
                         4425 Huntwicke Dr.
                         Hilliard, OH 43026


                         Daren Elosh
                         3232 Benbrook Pond Dr.
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1576 of 1944
                         John Elseser
                         8003 Dovegate Circle
                         Mentor, OH 44060


                         Embassy Suites Deerfied
                         1445 Lake Cook Road
                         Deerfield, IL 60015


                         Embassy Suites Dulles North
                         44610 Waxpool Road
                         Ashburn, VA 20147


                         Embassy Suuites Williamsburg
                         3006 Mooretown Road
                         Williamsburg, VA 23185


                         Elizabeth Embrescia
                         484 Laurelbrook Drive
                         Chagrin Falls, OH 44022


                         Michael Emch
                         740 Newport Lane Apt 107
                         Streetsboro, OH 44241


                         Erin Emerich
                         10949 Oberlin Rd
                         Oberlin, OH 44074


                         Carrie Emerick
                         1244 Fairlane Ave SW
                         Canton, OH 44710


                         Daniel Emerine
                         7630 Westwood Road
                         Findlay, OH 45840


                         Jessica Emerson
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                         Morrow, OH 45152


                         ALISHA EMMERT
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                         columbus, OH 43204




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1577 of 1944
                         Christopher Endl
                         4606 crystal clear dr
                         Hilliard, OH 43026


                         Jewel Engle
                         740 Timberview Dr
                         Findlay, OH 45840


                         Chris English
                         7628 Mountain Park Drive
                         Mentor, OH 44060


                         Kathy English
                         4812 Vinson Court
                         Hilliard, OH 43026


                         Molly English
                         4139 Duffy Ct
                         Fairfield Twp, OH 45011


                         Hope Engroff
                         812 Heritage Court #21
                         Bellefontaine, OH 43311


                         Lisa Enneking
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                         Hilliard, OH 43026


                         Sheila Enneking
                         2882 Red Oak Circle
                         Troy, OH 45373


                         Diane Ensinger-Trottnow
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                         North Royalton, OH 44133


                         Jenea Epstein
                         6473 Elmwood Road
                         Mentor, OH 44060


                         Raquel Erb
                         12185 Parker Drive
                         Chesterland, OH 44026-1912




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1578 of 1944
                         Tom Erdy
                         4248 Wayne St
                         Hilliard, OH 43026


                         Angie Erhard
                         977 Master Dr
                         Galloway, OH 43119


                         Kelly Erickson
                         891 shady lane
                         Fairfield, OH 45014


                         VESNA ERNJAKOVIC
                         3596 Mercury Dr.
                         North Royalton, OH 44133


                         Heather Erwin
                         809 Thorncrest Ct
                         Galloway, OH 43119


                         Karrie Erwin
                         8900 PENFIELD WAY
                         MAINEIVILLE, OH 45039


                         Kelli Eschbach
                         1296 Avalon Dr
                         MAINEVILLE, OH 45039


                         Lisa Eschbacher
                         3244 Brendan Drive
                         Columbus, OH 43221


                         Matthew Eschenauer
                         928 Howard Drive
                         Vermilion, OH 44089


                         Deborah Escobar
                         5925 Beaty Lane
                         Hamilton, OH 45011


                         Tom Eshelman
                         6323 keller Dr S.W.
                         Canton, OH 44706




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1579 of 1944
                         Sara Eskins
                         8540 Mansion Blvd
                         Mentor, OH 44060


                         Lisa Eslinger
                         4604 farley dr
                         mentor, OH 44060


                         Teresa Ess
                         2217 11th Street
                         Cuyahoga Falls, OH 44221


                         Kristine Essinger
                         950 Bayberry str nw
                         Massillon, OH 44646


                         Cathy Estes
                         1417 Barberry Court
                         Troy, OH 45373


                         Sheila Etmans
                         275 Sycamore LN apt 146
                         South Lebanon, OH 45065


                         Cole Ettinger
                         103 Lakeview Ln
                         Chagrin Falls, OH 44022-4229


                         Stephanni Eubanks
                         712 perry dr nw
                         canton, OH 44708


                         Dawn Eustache
                         7265 Butternut Lane
                         Mentor, OH 44060


                         Nellie Evan
                         14833 Overlook Drive
                         Newbury, OH 44065


                         Sarah Evangelista
                         11731 Jennifer Court
                         Painesville, OH 44077




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1580 of 1944
                         Chelsy Evans
                         735 Sawmill TRl NE
                         Massillon, OH 44646


                         Christina Evans
                         625 DushaneDr
                         Bellefontaine, OH 43311


                         Dawn Evans
                         6792 Perennial Lanr
                         Mentor, OH 44060


                         Jeff Evans
                         3201 Grand Falls Blvd.
                         Maineville, OH 45039


                         Jennifer Evans
                         254 Woodiebrook Rd.
                         Chardon, OH 44024


                         Kristen Evans
                         2272 Herrick Circle
                         Hudson, OH 44236


                         Megan Evans
                         203 E Weber Road
                         Columbus, OH 43202


                         Michelle Evans
                         7543 Woodland Ave.
                         Hudson, OH 44236


                         Sheri Evans
                         921 Livermore Lane
                         Elyria, OH 44035


                         Alex Evdokimenko
                         5625 Janet Blvd.
                         Solon, OH 44139


                         Jonetta Eversole
                         3759 Treadway Trail
                         Hamilton, OH 45011




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1581 of 1944
                         Amy Eves
                         105 Tilden Ave
                         CHARDON, OH 44024


                         Cheri Eyink
                         9124 CHAMBERLIN RD
                         TWINSBURG, OH 44087


                         Jill Faber
                         105 Middle Post Pointe
                         Chardon, OH 44024


                         Gina Fabregas
                         3706 Shattuck Ave
                         Columbus, OH 43220


                         Hudson Fagan
                         6092 Nicholson Dr
                         Hudson, OH 44236


                         Sarah Fahrni
                         300 Wrexham Ave SW
                         Massillon, OH 44646


                         Scott Faini
                         2830 Myrick Lane
                         Twinsburg, OH 44087


                         Diana Fair
                         5648 Van Wert Dr
                         Hilliard, OH 43026


                         Keith Fair
                         8329 edgewood rd
                         Mentor, OH 44060


                         Nick Fairbanks
                         975 outrigger cove
                         painesville, OH 44077


                         Fairfield Creekside MS
                         1111 Nilles Road
                         Fairfield, OH 45014




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1582 of 1944
                         Travis Fankhauser
                         6000 Buckboard Lane
                         Solon, OH 44139


                         Colleen Fantini
                         8878 Pembrooke St.
                         Maineville, OH 45039


                         James Farabaugh
                         4758 Drayton Rd.
                         Hilliard, OH 43026


                         Mary Farley
                         264 Cheshire Road
                         Hudson, OH 44236


                         Michelle Farley
                         5699 Grovewood Dr
                         Mentor, OH 44060-2056


                         Lisa Farmer
                         3220 Sulgrave Rd
                         Beachwood, OH 44122


                         Kristin Farrell
                         6720 Eleck Place
                         Cincinnati, OH 45243


                         Erick Farrier
                         480 N.Dorset Rd
                         Troy, OH 45373


                         Kris Farrow
                         11828 Auburn Rd
                         Chardon, OH 44024


                         Jennifer Farthing
                         30700 Miles Road
                         Solon, OH 44139


                         Jill Fate
                         2415 Pleasant Colony Dr
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1583 of 1944
                         Vicki Fatur
                         108 Middle Post Pt
                         Chardon, OH 44024


                         Laura Faust
                         5750 Nicholson Dr.
                         Hudson, OH 44236


                         Lori Fauver
                         7397 Hudson park drive
                         Hudson, OH 44236


                         Yetunde Fawole
                         8550 Clover Glade drive
                         Lewis Center, OH 43035


                         Darren Fay
                         1105 Ascot Drive
                         Maineville, OH 45039


                         Jenny Fay
                         10478 Wilson Mills Road
                         Chardon, OH 44024


                         Alissa Fazio
                         12761 North Star Dr.
                         North Royalton, OH 44133


                         Jessica Feal
                         8825 Canoe Dr.
                         Galloway, OH 43119


                         Lorie Fearing
                         3106 Gilridge Drive
                         Hilliard, OH 43026


                         Kimberly Feasel
                         841 Bright Rd.
                         Findlay, OH 45840


                         Lance Fecher
                         1840 quail nest ct
                         troy, OH 45373




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1584 of 1944
                         Todd Fecto
                         1500 Rolling Meadows Dr.
                         Vermilion, OH 44089


                         Maria Federico
                         8403 Chagrin Mills Rd
                         Novelty, OH 44072


                         Michelle Federico
                         7859 Champaign Dr
                         Mentor, OH 44060


                         Margaret Fedio
                         7954 Holderman St.
                         Lewis Center, OH 43035


                         Robert Fedorko
                         1682 E Sapphire Dr
                         Hudson, OH 44236


                         Gary Fee
                         7980 stoneybrook
                         Mentor, OH 44060


                         Matt Fehr
                         8526 Honor Ct
                         Galloway, OH 43119


                         Brian Fehrenbach
                         19945 Laurel Ave.
                         Rocky River, OH 44116


                         Qing Fei
                         27030 Cedar Road Apt.420
                         Beachwood, OH 44122


                         Jeffrey Feiler
                         4828 McGreevy Drive
                         Fairfield, OH 45014


                         Matthew Fein
                         1312 Shawnee Dr
                         Morrow, OH 45152




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1585 of 1944
                         Barbara Feisthamel
                         1748 E Sapphire Dr
                         Hudson, OH 44236


                         Ryan Felchlin
                         2291 Omaha Pl.
                         Lewis Center, OH 43035


                         Beth Felger
                         11140 Courtney Ct.
                         Chardon, OH 44024


                         Kelly Feller
                         215 canfield drive
                         chardon, OH 44024


                         Christina Fellows
                         7416 Sherwood Dr
                         Mentor, OH 44060


                         Angie Fenstermaker
                         12528 TR 114
                         Van Buren, OH 45889


                         Melissa Ferchill
                         21017 Aberdeen Rd Rocky River
                         Rocky River, OH 44116


                         Heather Ferencie
                         34731 PETTIBONE RD
                         SOLON, OH 44139


                         Leigh Ann Ferguson
                         83 West Belmeadow Lane
                         Chagrin Falls, OH 44022


                         Wanda Ferguson
                         145 Edgefield Dr.
                         Cleves, OH 45002


                         Brunilda Ferko
                         5478 pearson court
                         hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1586 of 1944
                         Adelia Fernandes
                         36965 Valley Forge Dr
                         Solon, OH 44139


                         Rudolph Fernandes
                         283 meadow view drive 283
                         Powell, OH 43065


                         Cathy Fernandez
                         65 CLAYTON CT
                         HUDSON, OH 44236-4728


                         Amy Ferrell
                         11421 Labrador Lane
                         Painesville, OH 44077


                         Heather Ferris
                         5869 Briarhill Dr
                         Solon, OH 44139


                         Tonya Ferritto
                         7960 Newell Creek Drive
                         Mentor, OH 44060


                         Bradley Fertig
                         7280 thomas dr
                         Cincinnati, OH 45243


                         Julie Fetchik
                         12155 Arbrowood Way
                         Chardon, OH 44024


                         Erin Fetzer
                         3152 BENBROOK POND DR
                         HILLIARD, OH 43026


                         Lisa Feucht
                         14 W Bel Meadow Lane
                         Chagrin Falls, OH 44022


                         Brenda Feudo
                         6269 N. Huntington Dr.
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1587 of 1944
                         James Field
                         1445 White Ash Drive
                         Painesville, OH 44077


                         Ossian Field
                         18055 Kenston lake dr
                         Chagrin falls, OH 44023


                         Calvinia Fields
                         27150 Tinkers Valley Drive
                         Solon, OH 44139


                         Shawn Fields
                         P.O. Box 952
                         Hilliard, OH 43026


                         Scott Fierman
                         109 waverly lane
                         south russell, OH 44022


                         Alexander Figurov
                         3015 Highpoint Dr
                         Columbus, OH 43221


                         Kathleen Filippelli
                         10002 Sweetleaf Lane
                         North Royalton, OH 44133


                         Melissa Fink
                         10760 Nollwood Dr
                         Chardon, OH 44024


                         Jason Finneran
                         9003 newmills ln
                         Lewis center, OH 43035


                         Diane Finnerty
                         226 Turner Drive
                         Chardon, OH 44024


                         Scott Finney
                         6192 Durban Drive
                         Galloway, OH 43119




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1588 of 1944
                         Eric Finnicum
                         1042 Pheasant Grove
                         Massillion, OH 44646


                         Renee Finucan
                         8960 Perkins Dr
                         Mentor, OH 44060


                         Cherese Fiorina
                         34725 Sherbrook Park Dr. Solon
                         Solon, OH 44139


                         DAN FIORTA
                         8251 JohnnyCake Ridge Rd
                         Mentor, OH 44060


                         Suzette Firehammer
                         98 Hall Street
                         Chagrin Falls, OH 44022


                         First National Bank of Omaha
                         PO Box 2818
                         Omaha, NE 68103


                         Allison Fischer
                         7220 Cardinal Lane
                         Chagrin Falls, OH 44022


                         Carol Fischer
                         8849 Honey Ash Rd
                         Lewis Center, OH 43035


                         KIMBERLY FISCHER
                         328 e pike st
                         south lebanon, OH 45065


                         Rachel Fischione
                         6773 WATERFORD LN
                         MENTOR, OH 44060


                         Amy Fisher
                         144 Fairlawn ave. S.W.
                         Massillon, OH 44646




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1589 of 1944
                         Dean Fisher
                         219 Walnut Street
                         Port Clinton, OH 43452


                         Jennifer Fisher
                         5636 Londonairy Blvd
                         Hudson, OH 44236


                         Quentin Fisher
                         11840 Stonegate Drive
                         Chardon, OH 44024


                         Samantha Fisher
                         5891 Briarhill Dr.
                         Solon, OH 44139


                         Danielle Fishleigh
                         6061 Maplewood Rd
                         MENTOR ON LK, OH 44060


                         Meghan Fiske
                         6858 Beacon Dr. Apt 71-A
                         Mentor, OH 44060


                         Crystal Fitch
                         475 N DORSET Rd
                         Troy, OH 45373


                         Rebecca Fitz
                         2110 Samson Circle
                         Hudson, OH 44236


                         Laurie Flagel
                         9727 Country Trail
                         Loveland, OH 45140


                         Chris Flanagan
                         8135 Oakbrook Court
                         Cincinnati, OH 45243


                         Marsha Fledderjohn
                         2845 Saturn Dr
                         Fairfield, OH 45014




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1590 of 1944
                         Nicole Flesher
                         1771 SOM Center rd
                         Gates Mills, OH 44040


                         Suzanne Fletcher
                         13777 Marlin dr
                         hambden, OH 44024


                         Shanna Flick
                         9244 Ravenna Rd.
                         Chardon, OH 44024


                         Julie Flinchbaugh
                         9709 FIrelands Drive
                         Twinsburg, OH 44087


                         Sheila Flores
                         5762 Glendavon Place
                         Dublin, OH 43016


                         Tieraney Flores
                         7450 S. Timberlane Dr.
                         Cincinnati, OH 45243


                         Dawn Florio
                         8136 Maplegrove Avenue
                         North Royalton, OH 44133


                         Heather Floro
                         9354 Ashcroft Lane
                         Twinsburg, OH 44087


                         Daniel Flottemesch
                         7812 Buckeye Crescent
                         Cincinnati, OH 45243


                         Gregg Flowers
                         1770 Pinecone Ct
                         Lewis Center, OH 43035


                         Sheila Floyd
                         9403 Hyde Park dr
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1591 of 1944
                         Charesia Foley
                         5985 Kingslake Drive
                         Hilliard, OH 43026


                         Kara Folkerth
                         321 Glenwood Ave Kara
                         Piqua, OH 45356


                         Tracy Fondale
                         4001 Wallings Road
                         North Royalton, OH 44133


                         Michelle Fontalbert
                         595 Hedgebrooke Ave. Unit D
                         Columbus, OH 43214


                         Bonnie Forbes
                         7774 CHANCE DR
                         CLEVES, OH 45002-8615


                         Sharon Forchione
                         921 Bayberry St. N.W.
                         Massillon, OH 44646


                         Connie Ford
                         1970 Kirtstone Terrace
                         Painesville, OH 44077


                         Diane Ford
                         9550 Grantham lane
                         Chardon, OH 44024


                         Laura Ford
                         150 E Forest Ave
                         South Lebanon, OH 45065


                         Susan Ford
                         6626 Hopkins rd
                         Mentor, OH 44060


                         Mark Forker
                         224 N. Hambden St.
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1592 of 1944
                         Beth Forst
                         1778 East Sapphire Dr
                         Hudson, OH 44236


                         Brooke Forsyth
                         1410 Hollow Tree Drive
                         Findlay, OH 45840


                         Amy Foster
                         9672 OLD STATE RD
                         CHARDON, OH 44024-9260


                         Bridgette Foster
                         608 Scott Street
                         Troy, OH 45373


                         Chris Foster
                         9453 Whalers Cove
                         Mentor, OH 44060


                         Sara Foster
                         1380 Sterling Dr
                         Troy, OH 45373


                         Tammy Fouts
                         284 Ilene Avenue
                         South Lebanon, OH 45065


                         Allison Fowler
                         14793 Thornton Dr.
                         North Royalton, OH 44133


                         Alyson Fowler
                         7926 Deerhurst Place
                         Maineville, OH 45039


                         Bryan Fowler
                         3162 Rowmont Ave SW
                         Massillon, OH 44646


                         Amanda Fox
                         10750 Ellison creek dr
                         Painesville, OH 44077




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1593 of 1944
                         Jennifer Fox
                         7627 Buchanan Court
                         Mentor, OH 44060


                         Marlinda Fox
                         202 Edgefield Dr.
                         Cleves, OH 45002


                         Theresa Frabotta
                         1160 Fireside Trail
                         Broadview Heights, OH 44147


                         Cassandra Fraker
                         2227 Greenrose Court
                         Toledo, OH 43614


                         Kathryn Francis
                         11560 Twin Oaks Trail
                         Chardon, OH 44024


                         Courtney Franco
                         3 Stratford rd
                         Hudson, OH 44236


                         Vincenzo Franco
                         293 W Prospect St None
                         Hudson, OH 44236


                         Delphine Francois
                         18771 e shoreland av
                         rocky river, OH 44116


                         Lisa Frank
                         838 Eddy Court
                         Galloway, OH 43119


                         Monica Frank
                         298 east college street
                         Oberlin, OH 44074


                         Patty Frank
                         89 Stratford Road
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1594 of 1944
                         Susan E Frank
                         15765 North Ridge Drive
                         Novelty, OH 44072


                         Wendy Frankmann
                         12727 Barfield Drive
                         Chesterland, OH 44026


                         Brian Frantz
                         1459 Greenfield Lane
                         Painesville, OH 44077


                         Rachel Franz
                         5456 Port Chester Drive
                         Hudson, OH 44236


                         Kim Fraser
                         9500 Graystone Lane
                         Mentor, OH 44060


                         Amy Frazer
                         8718 prairie frost lane
                         Lewis Center, OH 43035


                         Al Frazier
                         14508 Alder ave
                         East Cleveland, OH 44112


                         Jenna Frazier
                         15507 Hallauer Rd
                         Oberlin, OH 44074


                         Mary Frazier
                         3507 Beulah Road
                         Columbus, OH 43224


                         Heidi Freas
                         318 west LORAIN street
                         Oberlin, OH 44074


                         Karen Frecker
                         4143 Spring Mill Way
                         Maineville, OH 45039




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1595 of 1944
                         Christina Frederick
                         15775 Brookview Trail
                         Findlay, OH 45840


                         Chris Freeman
                         P.O. Box 263
                         twinsburg, OH 44087


                         Debbie Freeman
                         236 Northfield dr
                         elyria, OH 44035


                         Kelly Freeman
                         1221 Shaker Dr
                         Maumee, OH 43537


                         Sharon Freeman
                         2789 southside dr.
                         Troy, OH 45373


                         Tonya Freeman
                         5115 Cheswick Drive
                         Solon, OH 44139


                         John Freese
                         5824 Heirship Court
                         Hilliard, OH 43026


                         Angela Frentzel
                         1634 Miles Ave NW
                         Canton, OH 44708


                         Dan Frey
                         13206 State Route 613
                         Van Buren, OH 45889


                         Kimberly Frias
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                         Port Clinton, OH 43452


                         Kelly Fricano
                         223 Elmwood Road
                         Rocky River, OH 44116




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1596 of 1944
                         Todd Friedberg
                         4551 Glenmawr Ave
                         Columbus, OH 43224


                         Kristy Frieden
                         14970 Crimson King Trail
                         Chardon, OH 44024


                         Becky Frim
                         8931 Stillwater Drive
                         Galloway, OH 43119


                         Jennifer Frimel
                         9070 Arden Drive
                         Mentor, OH 44060


                         Colleen Fritz
                         30 skyline drive
                         chagrin falls, OH 44022


                         Kristen Fritz
                         723 Inwood Pl
                         Maumee, OH 43537


                         Shannon Fritz
                         58 East Washington Street
                         Chagrin Falls, OH 44022


                         Shelly Fritz
                         431 Parklawn Drive
                         Rocky River, OH 44116


                         Andrea Froah
                         4942 Whispering Creek Court
                         Maineville, OH 45039


                         Todd Frohnapfel
                         109 Overlook rd
                         Painesville, OH 44077


                         Shon Frost
                         846 Madter Drive
                         Galloway, OH 43119




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1597 of 1944
                         Susan Frost
                         20032 frazier dr
                         rocky river, OH 44116


                         Kathlene Fruscella
                         10236 Belmeadow Drive
                         Twinsburg, OH 44087


                         Lance Fry
                         40125 Bainbridge Rd.
                         Solon, OH 44139


                         Kelly Fryan
                         7197 CHILLICOTHE RD
                         MENTOR, OH 44060


                         Lisa Fuentes
                         9463 Lister Ln
                         Twinsburg, OH 44087


                         Migiwa Fujita
                         1335 Trade winds Dr #205
                         Columbus, OH 43204


                         Amiee Fulker
                         135 S. Oxford St.
                         Troy, OH 45373


                         Jenny Fullum
                         11575 Hosford Road
                         Chardon, OH 44024


                         Pamela Fulmer
                         769 Township Road 190 W
                         Bellefontaine, OH 43311


                         Lisa Fulton
                         490 Crickett Rd
                         Chardon, OH 44024


                         Serena Funai
                         8959 Holquest Drive
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1598 of 1944
                         Robert Funk
                         7733 Salem Drive
                         Hudson, OH 44236


                         Brandy Funni
                         10024 Delsy Dr
                         North Royalton, OH 44133


                         Lee Furbeck
                         9256 West Hampton Drive
                         North Royalton, OH 44133


                         Desiree Furcron
                         128 Louisiana ave
                         Elyria, OH 44035


                         Susan Gabanic
                         9962 High Country Drive
                         Chardon, OH 44024


                         Erin Gabay
                         5880 Deepwood Trail
                         Solon, OH 44139


                         Julie Gable
                         7700 Mary Lane
                         Mentor, OH 44060


                         Mary Gadd
                         2368 Limestone Way
                         Columbus, OH 43228


                         Meredith GadsbyPeterson
                         283 Morgan Street
                         OBERLIN, OH 44074


                         Michael Gaewsky
                         70 Ravine Rd
                         Powell, OH 43065


                         Charisse Gage
                         33050 Aurora Rd Apt 3
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1599 of 1944
                         Louis Gagliano
                         10256 Foxwood Dr
                         North Royalton, OH 44133


                         Lisa Gaines
                         3067 Scioto Estates court
                         Columbus, OH 43221


                         Kellann GainesEl
                         31375 Arthur Road
                         Solon, OH 44139


                         Charles Galati
                         424 N. Hambden St.
                         Chardon, OH 44024


                         Edie Galiardi
                         9170 sarah ct
                         Mentor, OH 44060


                         Cynthia Galindo
                         4565 Crystal Clear Dr.
                         Hilliard, OH 43026


                         Jeanne Gallagher
                         20863 Stratford Avenue
                         Rocky River, OH 44116


                         Katie Gallagher
                         7951 Willowbrook Drive
                         Chesterland, OH 44026


                         Marianne Gallagher
                         25 high court
                         Chagrin Falls, OH 44022


                         Mary Gallagher
                         12520 Deer Creek Dr 312
                         North Royalton, OH 44133


                         Michelle Gallite
                         2981 Socialville Foster RD
                         Maineville, OH 45039




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1600 of 1944
                         Lauren Galloway
                         7427 S Chestnut Commons Drive
                         Mentor, OH 44060


                         Michele Galluppi
                         2790 Haggett Dr.
                         Twinsburg, OH 44087


                         Lisa Galvin
                         10271 W Sprague Road
                         North Royalton, OH 44133


                         Tricia Galvin
                         8204 Dartmoor
                         Mentor, OH 44060


                         Christopher Gamble
                         160 Virginia Dr.
                         West Liberty, OH 43357


                         Julie Gambrell
                         2500 Greenlawn Drive
                         Troy, OH 45373


                         Ashish Gandhi
                         po box 36389
                         cincinnati, OH 45236


                         Jack Gangadin
                         1191 Craig Court
                         Maineville, OH 45039


                         Christine Gangale
                         12609 Athena Dr
                         North Royalton, OH 44133


                         Heather Gansler
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                         Twinsburg, OH 44087


                         Dorit Ganson
                         144 Shipherd Circle
                         Oberlin, OH 44074




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1601 of 1944
                         YELENA GANTMAN
                         32462 SPRINGSIDE LANE
                         SOLON, OH 44139


                         Meizhu Gao
                         7631 pleasant colony ct
                         Lewis center, OH 43035


                         Kristine Garber
                         1136 Winchester Dr
                         Troy, OH 45373


                         Julie Garcia
                         5542 Navarre rd se
                         Canton, OH 44706


                         Liz Garcia
                         3720 N Hogan Dr
                         lorain, OH 44053


                         Oscar Garcia
                         7204 hosbrook rd
                         Cincinnati, OH 45243


                         ANTHONY GARDNER
                         5594 WANDA WAY
                         HAMILTON, OH 45011


                         Steve Garfield
                         6809 Mayapple Circle
                         Solon, OH 44139


                         Laura Gariety
                         2361 Girard Ln W
                         Troy, OH 45373


                         Iris Garman
                         1797 Normandy Lane
                         Troy, OH 45373


                         Amy Garner
                         1412 Perry Dr SW
                         Canton, OH 44710




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1602 of 1944
                         John Garrabrant
                         9666 Old State Rd
                         Chardon, OH 44024


                         Holly Garrard
                         8850 S Hartshorn Rd
                         Lakeside Marblehead, OH 43440-2563


                         Denise Garrett
                         8550 Kirkwood Dr.
                         Chesterland, OH 44026


                         Jaclyn Garrett
                         218 TUCKMERE DR
                         PAINESVILLE, OH 44077-2472


                         John Garter
                         1706 Kings Court
                         Kings Mills, OH 45034


                         Dawn Gartner
                         33150 Rockford Drive
                         Solon, OH 44139


                         Michelle Gaskins
                         7032 Ashwood Knolls Dr
                         Hamilton, OH 45011


                         Hrach Gasparyan
                         South Harbor Drive
                         Maineville, OH 45039


                         Ann Gasser
                         213 Monticello Dr.
                         Chagrin Falls, OH 44022


                         Jefferson Gaston
                         3745 Grosvenor RD
                         South Euclid, OH 44118


                         Lindsay Gatchel
                         2137 Ben Brush Pl
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1603 of 1944
                         Adam Gatts
                         180 Overmont Avenue SW
                         Massillon, OH 44646


                         Mary Gause
                         959 Kenwood Lane
                         Columbus, OH 43220


                         Jodie Gaut
                         4921 Kemary Ave SW
                         Navarre, OH 44662


                         Devin Gaymon
                         32875 Aspen Glen Dr
                         Solon, OH 44139


                         Amber Geary
                         4876 15th St SW
                         Canton, OH 44710


                         Andrew Gebby
                         9236 Helen Lane
                         Twinsburg, OH 44087


                         Lisa Geber
                         12130 hotchkiss rd
                         Burton, OH 44021


                         Orjada Gecaj
                         2450 Jameston dr Rocky River
                         Rocky River, OH 44116


                         Tammy Geckle
                         4510 cr 236
                         arcadia, OH 44804


                         Liz Gee
                         549 Chardonnay Ln
                         Lewis Center, OH 43035


                         Gregg Gehring
                         6768 Trafalgar Loop
                         Dublin, OH 43016




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1604 of 1944
                         Stephanie Gehring
                         7513 Creekwood Drive
                         North Royalton, OH 44133


                         Pat Gehrisch
                         7137 TR 212
                         findlay, OH 45840


                         Cathy Gehrke
                         12130 Falls Rd
                         Chardon, OH 44024


                         Alison Geiser
                         9609 St Rt 613
                         Van Buren, OH 45889


                         Amanda Geiser
                         370 Windsor Drive
                         Elyria, OH 44035


                         Cassie Geizer
                         4794 marigold rd
                         Mentor, OH 44060


                         Rebecca Gellin
                         283 miles rd
                         chagrin falls, OH 44022


                         Bev Genova
                         1632 Kasserine
                         Twinsburg, OH 44087


                         Carlee Genovese
                         1346 Sharonbrook Dr.
                         Twinsburg, OH 44087


                         Abby Gentis
                         3499 Wilson Woods Drive
                         columbus, OH 43204


                         Catherine George
                         18902 Colahan Drive
                         Rocky River, OH 44116




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1605 of 1944
                         Jennifer George
                         1809 Pine Knoll Avenue NW
                         Massillon, OH 44646


                         Kari George
                         1143 Lee Ave
                         Port Clinton, OH 43452


                         Samuel Georgejr
                         8751 oakvillage blvd
                         lewis center, OH 43035


                         Steven Georgiadi
                         5653 Spring Grove Dr
                         Solon, OH 44139


                         Missy Gerbick
                         5028 Lakeview Drive
                         Peninsula, OH 44264


                         Michael Geregach
                         3025 Valley Lane Dr
                         North Royalton, OH 44133


                         Janet Gerity
                         4932c friar rd
                         Stow, OH 44224


                         RACHEL GERLICA
                         10183 CHARDON RD
                         CHARDON, OH 44024


                         Sandi Germ-Dewey
                         308 sylvia dr
                         chardon, OH 44024


                         Brooke Germaine
                         3062 Walkerview dr.
                         Hilliard, OH 43026


                         Holly German
                         5376 Ohio St
                         Vermilion, OH 44089




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1606 of 1944
                         Karen German
                         33720 Carriage Park Drive
                         Solon, OH 44139


                         Christina Germovsek
                         10925 Copperleaf Drive
                         Chardon, OH 44024


                         Marti Gerome
                         32140 tracy lane
                         solon, OH 44139


                         Nora Gerson
                         8002 Dovegate Circle
                         Mentor, OH 44060


                         Jessica Gerwels
                         321 E Chillicothe Ave
                         Bellefontaine, OH 43311


                         Lisa Getz-Cammel
                         2541 Wildflower Lane NE
                         Massillon, OH 44646


                         Anindita Ghosh
                         37282 tidewater drive
                         solon, OH 44139


                         MARIA GIALLANZA
                         3432 HERON COURT
                         REMINDERVILLE, OH 44202


                         Amanda Giannattasio
                         119 E. Summit Street
                         Chagrin Falls, OH 44022


                         Kristy Gibbs
                         424 North Park Street
                         Bellefontaine, OH 43311


                         Amanda Gibson
                         992 linwood Drive
                         Troy, OH 45373




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1607 of 1944
                         Laura Gibson
                         5044 Belle Meadow Rd.
                         Mentor, OH 44060


                         Megan Gibson
                         4827 corduroy Rd
                         mentor, OH 44060


                         Michelle Gibson
                         2541 Dale Ave
                         Rocky River, OH 44116


                         Seana Gibson
                         917 South Walnut Street
                         Troy, OH 45373


                         Troy Gibson
                         7664 Lydia Drive
                         Lewis Center, OH 43035-8078


                         Emily Gielink
                         10089 Patton St
                         Twinsburg, OH 44087-1011


                         Barbara Gifford
                         19948 Purnell Ave
                         Rocky river, OH 44116


                         Al Gilbert
                         6226 Dawson Blvd
                         Mentor, OH 44060


                         Vicky Gilbey
                         6855 Georgetown Drive
                         Mentor, OH 44060


                         Elizabeth Gill
                         2540 Trillium Cir NE
                         Massillon, OH 44646


                         Melissa Gill
                         5759 Thorngate Drive
                         Galloway, OH 43119




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1608 of 1944
                         Russell Gill
                         8025 Patterson Rd
                         Hilliard, OH 43026


                         Michael Gillen
                         2228 croydon rd
                         twinsburg, OH 44087


                         Jennifer Gilles
                         11583 Auburn Road
                         Chardon, OH 44024


                         Cheryl Gillespie
                         11239 prouty rd
                         concord, OH 44077


                         Chris Gillespie
                         1306 westwood drive
                         lewis center, OH 43035


                         Tina Gilliand
                         3039 elora lane
                         Hamilton, OH 45011


                         Beth Gillman
                         714 taft st
                         port clinton, OH 43452


                         Kathryn Giltz
                         514 Rachel Cir NW
                         Massillon, OH 44646


                         Silvana Gina
                         2830 Carmen Drive
                         Rocky River, OH 44116


                         Beth Ginther
                         2536 Cedarwood Court
                         Hudson, OH 44236


                         Karen Gioffredo
                         928 State Street
                         Vermilion, OH 44089




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1609 of 1944
                         Scott Giomini
                         20342 Parkview Ave
                         Rocky River, OH 44116


                         Laura Giordano
                         9787 Barnswood Lane
                         Loveland, OH 45140


                         Luann Gips
                         24600 S. Woodland Rd.
                         Beachwood, OH 44122


                         Julie Gittins
                         10501 sawmill drive
                         chardon, OH 44024


                         Kristina Glassford
                         3795 Fallen Timbers Way
                         Cleves, OH 45002


                         Mark Glatley
                         7039 Navajo Trail
                         Solon, OH 44139


                         Mike Glatzer
                         3823 Tuxedo
                         Parma, OH 44134


                         Mary Glauser
                         125 Claridon Rd
                         Chardon, OH 44024


                         Darren Glenn
                         32147 Hamilton court #106
                         Solon, OH 44139


                         Jeannette Glenn
                         10243 Sandalwood Ln
                         Twinsburg, OH 44087


                         Tiffany Glenn
                         2711 Sheila Dr.
                         Loveland, OH 45140




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1610 of 1944
                         Nicola Glew
                         13345 Foxmoor Tr
                         Chesterland, OH 44026


                         Caroline Glickberg
                         14147 kimrose LN
                         North Royalton, OH 44133


                         Rick Glime
                         455 Olivet Dr
                         Elyria, OH 44035


                         Doxie Glinatsis
                         326 Northcliff Dr 326 Northcliff Dr
                         Rocky River, OH 44116


                         Kristina Glusauskas
                         6395 Liberty Rd
                         Solon, OH 44139


                         Michelle Goad
                         7438 Andover Way
                         Hudson, OH 44236


                         Krista Godwin
                         1150 Pond View Dr
                         Troy, OH 45373


                         Dawn Goedde
                         5800 Saucony Dr
                         Hilliard, OH 43026


                         Janet Goeldner
                         7625 Zion Hill Rd
                         Cleves, OH 45002-9609


                         Kim Goellner
                         10620 Alyssa court
                         Painesville, OH 44077


                         Chrissy Goelz
                         8682 Sweetwater Ct
                         Powell, OH 43065




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1611 of 1944
                         Heather Goetz
                         2015 Edgewood Drive
                         Twinsburg, OH 44087


                         Kelly Goff
                         3762 Kilbride Ct.
                         Columbus, OH 43221


                         Rena Golan
                         24326 Maidstone LN
                         Beachwood, OH 44122


                         Marjorie Gold
                         174 Smith Street
                         Oberlin, OH 44074


                         Steven Goldberg
                         5680 Woodsmore Drive
                         Solon, OH 44139


                         Igor Goldman
                         3363 Shale Dr
                         Twinsburg, OH 44087


                         Rhoda Goldschmidt
                         25085 Twickenham Dr.
                         Beachwood, OH 44122


                         Joanna Goldslager
                         236 N. Hayden Parkway
                         HUDSON, OH 44236


                         Inga Golubitsky
                         6712 Winston ln
                         Solon, OH 44139


                         Rebecca Gomersal
                         6161 Willow Lake Dr.
                         Hudson, OH 44236


                         Paul Gonder
                         2855 Roanoke st nw
                         Massillon, OH 44646




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1612 of 1944
                         Xiong Gong
                         6628 Westpoint Dr.
                         Hudson, OH 44236


                         Leah Gonia
                         7857 Rutland Drive
                         Mentor, OH 44060


                         Virginia Gonzales
                         506 Falls Rd
                         Chagrin Falls, OH 44022


                         Angela Gonzalez
                         429 N. Finley St.
                         Cleves, OH 45002


                         Antonio Gonzalez
                         2051 Garden Ln
                         Hudson, OH 44236


                         Jesus Gonzalez
                         149 bellfield avenue
                         Elyria, OH 44035


                         Karin Gonzalez
                         7393 Hollywood Drive
                         West Chester, OH 45069


                         Sharon Gonzalez
                         218 Ellis St.
                         Troy, OH 45373


                         Christine Good
                         2880 Chippendale Dr.
                         Hudson, OH 44236


                         Jeremy Good
                         6090 Reynolds Road
                         Mentor On the Lake, OH 44060


                         Dawn Goodfield
                         8247 Hemingway Ln
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1613 of 1944
                         Julie Goodill
                         2307 winfield ave
                         Rocky river, OH 44116


                         Mindy Goodin
                         148 Paw Paw Lake Drive
                         Chagrin Falls, OH 44022


                         Sandra Goodin
                         161 S. Franklin Street
                         Chagrin Falls, OH 44022


                         Jenny Goodman
                         8860 Edgewood Drive
                         North Royalton, OH 44133


                         Kristine Goodman
                         3092 ADENA POINT CT
                         COLUMBUS, OH 43221-4709


                         Laura Goodman
                         7771 Carriage House Ct
                         Hudson, OH 44236


                         Cherise Goodrich
                         9485 Hinsdale Dr
                         Chardon, OH 44024


                         Betsy Goodrum
                         10060 College Park Dr
                         Mentor, OH 44060


                         Kristen Goodson
                         2781 Lombardi Ave SW
                         Canton, OH 44706


                         Mike Goodwin
                         906 Lost Pond Pkwy
                         Chardon, OH 44024


                         Ann Gordos
                         491 Bell Rd
                         Chagrin Falls, OH 44022




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1614 of 1944
                         Holly Gorski
                         27900 Cannon Road
                         Solon, OH 44139


                         Jeff Goss
                         7647 Goldenrod Dr
                         Mentor on the Lake, OH 44060


                         Sally Goss
                         518 Falls Rd
                         Chagrin Falls, OH 44022


                         Shannon Goss
                         5673 Londonairy Blvd
                         Hudson, OH 44236


                         Corinne Gostel
                         7139 Overton Way
                         Maineville, OH 45039


                         David Gottlieb
                         6185 Penfield Lane
                         Solon, OH 44139


                         Ed Gottschalk
                         200 Industrial Pkwy Ste 1
                         Chagrin Falls, OH 44022


                         Suresh Govindarajulu
                         865 Claytonbend dr.
                         Galloway, OH 43119


                         Andrea Grabowski
                         138 Preston St
                         Elyria, OH 44035


                         Marnie Grabowski
                         2995 Pirates Cove
                         Reminderville, OH 44202


                         Laura Gracon
                         11153 Winding Brook Lane
                         Chesterland, OH 44026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1615 of 1944
                         Heidi Grady
                         6414 Canterbury Drive
                         Hudson, OH 44236


                         Paul Graf
                         1300 Cottonwood Drive
                         Lewis Center, OH 43035


                         David Graham
                         1603 Bristol Commons Pl
                         Columbusbus, OH 43240


                         Melissa Graham
                         6582 Iroquois tr
                         Mentor, OH 44060


                         Amy Grainger
                         6332 Durban Dr
                         Galloway, OH 43119


                         Kristen Grande
                         7052 Merlin Way
                         Hamilton, OH 45011


                         David Granger
                         2038 Edgewood Drive
                         Twinsburg, OH 44087


                         Cindy Gray
                         12255 waterfowl lane
                         chardon, OH 44024


                         Megan Graybill
                         64 Blackberry Dr
                         Hudson, OH 44236


                         Starshine Graziadei
                         7040 Cherrywood Cir
                         Mentor, OH 44060


                         Kassi Greaf
                         612 Mckaig Ave
                         Troy, OH 45373




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1616 of 1944
                         Christina Greco
                         2647 Sandstone Path
                         Hudson, OH 44236


                         Janice Greco
                         15020 Steelhead Run
                         Chardon, OH 44024


                         Lisa Greco
                         9925 Gabriella Drive
                         North Royalton, OH 44133


                         Ed Grecol
                         121 Atterbury Blvd
                         Hudson, OH 44236


                         Andrea Green
                         115 Bath Street
                         Elyria, OH 44035


                         Cecelia Green
                         530 Canford Ave NW
                         Massillon, OH 44646


                         Marilyn Green
                         34900 Park E Dr A-201
                         Solon, OH 44139


                         Shawn Green
                         3955 Euclid Ave (Quincy Place)
                         Cleveland, OH 44115


                         Tom Green
                         12760 Big Creek Ridge
                         Chardon, OH 44024


                         Vickie Green
                         6108 Jimson Drive
                         Galloway, OH 43119


                         Kristina Greene
                         4110 Kropf Avenue SW
                         Canton, OH 44706




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1617 of 1944
                         Aimee Greenfield
                         20851 Endsley Ave
                         Rocky River, OH 44116


                         Piper Greenlee
                         5652 Primavera Drive
                         Mentor, OH 44060


                         Ann Greenwood
                         6318 Morrisey PL
                         Dublin, OH 43016


                         Heather Greenwood
                         10353 Madison Rd
                         Montville, OH 44064


                         Jennifer Grega
                         241 Boston Mills Road
                         Hudson, OH 44236


                         Dale Gregan
                         1016 Barclay Dr
                         GALLOWAY, OH 43119


                         Susan Gregory
                         1659 Sheffield Terrace
                         Painesville, OH 44077


                         Laura Greiner
                         11754 Ivy Ridge Drive
                         North Royalton, OH 44133


                         Melissa Gremm
                         8250 Crystal Creek Dr
                         North Royalton, OH 44133


                         Tamara Grether
                         1600 Amboy Drive
                         Hudson, OH 44236


                         Tyra Grier-Coleman
                         3320 Darien Lane
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1618 of 1944
                         Chad Grieser
                         12752 Chickory Drive
                         Van Buren, OH 45889


                         Traci Grieser
                         115 east 11th st
                         Port Clinton, OH 43452


                         Brandi Griffin
                         5572 Wind Drift Dr
                         Powell, OH 43065


                         Danielle Griffin
                         9415 Sarah Court
                         Twinsburg, OH 44087


                         Nicole Griffin
                         120 Arrowfeather Lane
                         Lewis Center, OH 43035


                         Marlene Grigger
                         11356 Albion Road
                         North Royalton, OH 44133


                         Amy Griggs
                         527 S. Market st.
                         Troy, OH 45373


                         Melissa Grignon
                         5620 Spring Grove Dr.
                         Solon, OH 44139


                         Gwendolyn Grimes
                         1916 Stanford St
                         Twinsburg, OH 44087


                         Sarah Grimm
                         2470 Renwick Way
                         Troy, OH 45373


                         Stephanie Gripp
                         893 Silverberry Lane
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1619 of 1944
                         Kimberly Grise-Smith
                         7100 Fowler Ave
                         Cincinnati, OH 45243


                         Julie Groenke
                         3381 Blossom Trail
                         Twinsburg, OH 44087


                         Chi-hua Groff
                         7238 Selworthy Lane
                         Solon, OH 44139


                         Janelle Groff
                         908 River Forest Drive
                         Maineville, OH 45039


                         Tiffany Groff
                         3272 Persia cir sw
                         massillon, OH 44646


                         Sarah Grogan
                         5235 Concord Mill Place
                         Fairfield, OH 45014


                         Kathleen Groger
                         1080 Pebble Brook Dr
                         Columbus, OH 43240


                         Monique Groot
                         2980 Pine Trails Circle
                         Hudson, OH 44236


                         Elizabeth Gross
                         7783 ranett ave
                         Hudson, OH 44236


                         Beth Grossberg
                         7096 Southwoods lane
                         Solon, OH 44139


                         Eric Grothaus
                         2434 Poppy Dr
                         Loveland, OH 45140




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1620 of 1944
                         Jessica Grove
                         4418 Chevron circle sw
                         massillon, OH 44646


                         Tiffany Grow
                         520 E. Sandusky Ave.
                         Bellefontaine, OH 43311


                         Jeanne Gruden
                         4811 Trailpath dr
                         Dublin, OH 43016


                         Denise Grugle
                         13048 Hampton Club Drive #103
                         North Royalton, OH 44133


                         Naomi Grunzweig
                         36311 Blue Grass Oval
                         Solon, OH 44139


                         Kelly Gruver
                         2506 Thornhill dr
                         Troy, OH 45373


                         Ronghui Gu
                         3838 River Lane
                         Rocky River, OH 44116


                         Carl Guendelsberger
                         8012 risden road
                         vermilion, OH 44089


                         Rosario Guerrero
                         12860 Mayfield Rd Lot 122
                         Chardon, OH 44024


                         Kim Guerrieri
                         6150 Firwood Rd
                         Mentor, OH 44060


                         Zhiwu Gui
                         6845 Silkwood ln
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1621 of 1944
                         Liz Guibord
                         219 Stone Brook Way
                         South Lebanon, OH 45065


                         Michele Guiffre
                         2388 Mount Union Ave SE
                         Massillon, OH 44646


                         Nicki Guistino
                         89 Bard Dr.
                         Hudson, OH 44236


                         Mike Gulitz
                         1355 Fireside Trail
                         Broadview Heights, OH 44147


                         Jessica Gullett
                         404R South Walnut Street
                         Troy, OH 45373


                         Timothy Gullo
                         10767 Chardon Road
                         Chardon, OH 44024


                         VIRGINIA GUNN
                         138 W. Lincoln Street
                         OBERLIN, OH 44074


                         Susan Gura
                         20030 Parkview Ave.
                         Rocky River, OH 44116


                         Brenda Gurepko
                         12744 Ridge road
                         North Royalton, OH 44133


                         Victoria Guscoff
                         4885 auroura 4885 auroura
                         canton, OH 44708


                         Catrina Guthrie
                         301 W 6th St
                         Port Clinton, OH 43452




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1622 of 1944
                         Lisa Guttman
                         8793 Creekwood Ln
                         Maineville, OH 45039


                         Shelby Guttu
                         9115 Sugarbush Dr.
                         Mentor, OH 44060


                         Dorothy Gyekenyesi
                         2670 Carmen Dr
                         Rocky River, OH 44116


                         Christine Haas
                         234 Colonial Drive
                         Painesville, OH 44077


                         Jodi Habel
                         1338 Briarshore Way
                         Lewis Center, OH 43035


                         Heather Haberman
                         11486 Viceroy St.
                         Concord Twp, OH 44077


                         Kristin Hackenbracht
                         3878 Groveland Ave SW
                         Navarre, OH 44662


                         Wendy Hacker
                         2635 Arborwood Dr.
                         Loveland, OH 45140


                         Margie Hackett
                         2493 Gasser Blvd.
                         Rocky River, OH 44116-2532


                         Pascale Hadchiti
                         11138 Hempstead Lane
                         North Royalton, OH 44133


                         Lisa Haddix
                         10122 Timothy Ln
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1623 of 1944
                         Joanne Hadfield
                         1564 Carriage Hill Drive
                         Hudson, OH 44236


                         Naoual Hadri
                         1336 palmer house court
                         columbus, OH 43235


                         Tammie Hagedorn
                         2581 Westmoor Road
                         Rocky River, OH 44116


                         Hodge Hager
                         617 N. Main St.
                         Bellefontaine, OH 43311


                         Sara Haggard
                         4417 Jennydawn Pl
                         Hilliard, OH 43026


                         Nicole Hahn
                         909 Wagar Rd
                         Rocky River, OH 44116


                         Daniel Haines
                         3014 Landen Farm Rd. E.
                         Hilliard, OH 43026


                         Robert Haines
                         7570 Dahlia Dr.
                         Mentor-on-the-Lake, OH 44060


                         Tracy Hajjar
                         11175 Clark Road
                         Chardon, OH 44024


                         Melinda Hale
                         122 creemer st
                         cleves, OH 45002


                         Jami Haley
                         9768 Scottsdale Drive
                         Broadview Heights, OH 44147




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1624 of 1944
                         Tabatha Haley
                         9778 Hayfield Ct
                         Loveland, OH 45140


                         Sarah Halford
                         1921 Regan Ct.
                         Hudson, OH 44236


                         Adam Hall
                         7673 Daytona st
                         Massillon, OH 44646


                         Cindy Hall
                         108 E. Tenth Street
                         Port Clinton, OH 43452


                         Cynthia Hall
                         865 Barnhart Road
                         Troy, OH 45373


                         Deborah Hall
                         5915 Longview St. SW
                         Massillon, OH 44646


                         Katie Hall
                         5010 Hollow Oak Court
                         Hilliard, OH 43026


                         Kim Hall
                         35 Cohasset Drive
                         Hudson, OH 44236


                         Rebecca Hall
                         451 Whitman Blvd
                         Elyria, OH 44035


                         Suzanne Hall
                         35755 solon rd
                         solon, OH 44139


                         Tamara Hall
                         6134 Willow Lake Drive
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1625 of 1944
                         Cindy Hallgren
                         2432 Libra Cir SW
                         Canton, OH 44706


                         Cheryl Halsey
                         1483 N. Edgewater Dr.
                         Port Clinton, OH 43452


                         Kory Halstead
                         2286 Wellington Cir
                         Hudson, OH 44236


                         Marlo Hamby
                         5832 Island Dr
                         Cleves, OH 45002


                         Moe Hamdan
                         30 Martingale CT
                         Bentleyville, OH 44022


                         Susan Hamdan
                         20773 evergreen trail
                         North Royalton, OH 44133


                         Sonya Hamed
                         2399 Oakthorpe Drive
                         Hilliard, OH 43026


                         Jeremy Hamel
                         3732 Charfield Ln.
                         Hamilton, OH 45011


                         Dana Hamilton
                         6221 Barley Oaks road
                         Hilliard, OH 43026


                         Lori Hamm
                         7244 Osceoloa Dr
                         Madeira, OH 45243


                         Jennifer Hammarlund
                         20020 Mercedes Avenue
                         Rocky River, OH 44116




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1626 of 1944
                         Darlena Hammons
                         26 Edison Street
                         Oberlin, OH 44074


                         Melisssa Hamms
                         7505 Storrington Place
                         Lewis Center, OH 43035


                         Manar Hamodeh
                         1800 Wooster Rd
                         Rocky River, OH 44116


                         Pam Hamor
                         27 Hickory Lane
                         Hudson, OH 44236


                         Pamela Hamor
                         27 Hickory Lane
                         Hudson, OH 44236


                         Tracy Hamor
                         12120 Caves Rd
                         Chesterland, OH 44026


                         Dan Hampshire
                         1590 Beechwood Dr.
                         Troy, OH 45373


                         Hampton Inn Dulles North
                         4050 Westfax Drive
                         Chantilly, VA 20151


                         Matt Hamulak
                         106 Sugarbush Glen
                         Chardon, OH 44024


                         Sunyoung Han
                         90 hidden lake ln
                         peninsula, OH 44264


                         Chris Hancock
                         425 east franklin street
                         Troy, OH 45373




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1627 of 1944
                         MARY HANCOCK
                         9572 RIDGE RD
                         NORTH ROYALTON, OH 44133


                         JulieAnn Hancsak
                         60 Division St
                         Hudson, OH 44236


                         Shawna Haney
                         5480 Hiawatha ct
                         Fairfield, OH 45014


                         Natalie Hanks
                         3357 woodland dr
                         Hilliard, OH 43026


                         Krystal Hanley
                         4545 Coolbrook Dr.
                         hilliard, OH 43026


                         Audrey Hanlin
                         936 Forestbrook Lane
                         Painesville, OH 44077


                         Gina Hann
                         7610 Westcot Lane
                         Novelty, OH 44072


                         Jennifer Hann
                         7620 Westcot Lane
                         Novelty, OH 44072


                         Patricia Hanna
                         9345 WINCHESTER VLY
                         CHESTERLAND, OH 44026


                         Tamela Hanna
                         1527 SANFORD ST
                         VERMILION, OH 44089-1556


                         Andrea Hannan
                         725 Delverne Ave SW
                         Canton, OH 44710




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1628 of 1944
                         Greg Hannan
                         129 s Hayden. Pkwy
                         Hudson, OH 44236


                         Mollie Hannon
                         584 Indian Summer Dr.
                         Columbus, OH 43214


                         Karen Hannum
                         70 College Street
                         Hudson, OH 44236


                         Debra Hanslik
                         8011 Colonial Drive Unit C
                         Mentor, OH 44060


                         Greg Hanson
                         8588 Carter Road
                         Hilliard, OH 43026


                         Melissa Hanson
                         3655 E Oak Lake Drive
                         Port Clinton, OH 43452


                         Anne Hanzel
                         22340 Hilliard Blvd
                         Rocky River, OH 44116


                         Dina Harder
                         4685 Hayden Run Rd
                         Columbus, OH 43221


                         Jim Harjo
                         4050 Millikin Rd
                         Hamilton, OH 45011


                         Sanna Harjusola-Webb
                         17 Blackberry Dr
                         Hudson, OH 44236


                         Laura Harlan
                         1646 Cedar Knoll St. NW
                         Massillon, OH 44646




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1629 of 1944
                         Kim Harland
                         410 Cayuga Circle NW
                         Canton, OH 44708


                         Kerry Harman
                         3192 Menzola Drive
                         Columbus, OH 43228


                         Christi Harmer
                         26520 N. Woodland Rd.
                         Beachwood, OH 44122


                         Heather Harmon
                         15755 Harmony Falls Lane
                         Novelty, OH 44072


                         Wendy Harmon
                         5944 longview st sw
                         massillon, OH 44646


                         HEATHER HARNIST
                         89 CLAIRMONT DR
                         PAINESVILLE, OH 44077


                         Dianna Harrahill
                         856 Shawhan Rd.
                         MOrrow, OH 45152


                         Sonya Harrell
                         389 South Professor St
                         Oberlin, OH 44074


                         Robyn Harrigan
                         3075 Andrew James Dr
                         Hilliard, OH 43026


                         Sarah Harrington
                         7903 Dellinger Rd
                         Galloway, OH 43119


                         Amanda Harris
                         6342 Morrisey Place
                         Dublin, OH 43016




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1630 of 1944
                         Chad Harris
                         4917 Farber Row
                         Columbus, OH 43221


                         Chris Harris
                         1251 Homeland Drive
                         Rocky River, OH 44116


                         Elliott Harris
                         1775 Galleon Blvd
                         HILLIARD, OH 43026-8468


                         Lesli Harris
                         3793 Township Rd 180
                         Bellefontaine, OH 43311


                         Paul Harris
                         916 pebble beach cove
                         painesville, OH 44077


                         Shana Harris
                         3330 Honeysuckle dr
                         Troy, OH 45373


                         Steve Harris
                         4329 fangboner rd.
                         fremont, OH 43420


                         Victoria Harris
                         1330 Golden Eagle Dr
                         Troy, OH 45373


                         Felicia Harrison
                         6705 willow tree lane
                         glenwillow, OH 44139


                         Jessica Harrison
                         912 Orchardglow Close
                         Fairfield, OH 45014


                         Terence Harrison
                         165 Mill Morr Dr
                         Painesville TWP, OH 44077




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1631 of 1944
                         Chenette Hart
                         10994 Kile rd
                         Chardon, OH 44024


                         Jen Harte
                         313 e auburn ave
                         bellefontaine, OH 43311


                         Rebecca Hartline
                         2226 Tamarisk Court
                         Hudson, OH 44236


                         Anne Hartman
                         21297 Endsley Ave
                         Rocky River, OH 44116


                         Jeffrey Hartwig
                         3708 Rivervail Dr
                         Columbus, OH 43221


                         Charlene Harvey
                         3090 neille lane
                         Twinsburg, OH 44087


                         Christina Harvey
                         9034 Jordan Rd
                         Cleves, OH 45002


                         Elizabeth Harvey
                         5671 Abbyshire dr
                         Hudson, OH 44236


                         Gretchen Harwood
                         27020 Cedar Rd. #101
                         Beachwood, OH 44122


                         Shannon Hasak
                         9695 Alder Ct.
                         Mentor, OH 44060


                         Abul Hashem
                         5311 Towbridge Drive
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1632 of 1944
                         Heather Hashman
                         5797 Camhurst Court
                         Galloway, OH 43119


                         Veronica Hatcher
                         3330 Mill Run Dr.
                         Hilliard, OH 43026


                         Kristen Hatchett
                         36 Jefferson Dr
                         Hudson, OH 44236


                         Christiopher Hatfield
                         11630 Lawnview Ave
                         cincinnati, OH 45246


                         Tim Hatridge
                         13188 Paddock Dr.
                         Chardon, OH 44024


                         Shannon Hatt
                         315 W Fifth St
                         Port Clinton, OH 43452


                         Bridget Hauser
                         5538 Wanda Way
                         Hamilton, OH 45011


                         Kim Hauser
                         11585 Mayfield rd
                         Chardon, OH 44024


                         Monica Havens
                         7563 Lakedge Ct.
                         Hudson, OH 44236


                         Rebecca Haverstick
                         32539 Seneca Drive
                         Solon, OH 44139


                         Tricia Haviland
                         136 Colonial Drive
                         Painesville, OH 44077




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1633 of 1944
                         Carrie Hawk
                         147 Hawthorne Dr.
                         Chagrin Falls, OH 44022


                         Windy Hawkins
                         5451 Old Coble St
                         Canal Winchester, OH 43110


                         Adriana Hawks
                         1671 Glenwood Dr
                         Twinsburg, OH 44087


                         Jennifer Hawley
                         6044 Paula Blvd
                         north ridgeville, OH 44039


                         Julie Hawrylo
                         6191 Brooks blvd
                         Mentor, OH 44060


                         Jennifer Hayes
                         2976 Pirates Cove
                         Reminderville, OH 44202


                         Lucinda Hayes
                         5440 Ramblehurst Ct
                         Columbus, OH 43221


                         Megan Hayes
                         4797 Seeman St Sw
                         Navarre, OH 44662


                         Melissa Hayes
                         5754 Nike Dr
                         Hilliard, OH 43026


                         Stacey Hayes
                         126 caroline st
                         Elyria, OH 44035


                         Judson Haynes
                         6653 Clovis Drive
                         Hamilton, OH 45011




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1634 of 1944
                         Tarah Haynes
                         305 Lincoln Drive
                         Port Clinton, OH 43452


                         Amber Hays
                         12908 Westchester Trl
                         Chesterland, OH 44026


                         Brittany Hays
                         129 Horizon Court
                         Delaware, OH 43015


                         Shane Hayslett
                         731 Meadow Lane
                         Troy, OH 45373


                         Suzie Hazel
                         8506 Olenbrook Dr.
                         Lewis Center, OH 43035


                         Tao He
                         33201 Ashdown Dr
                         Solon, OH 44139


                         Sherry Headen
                         6730 Andre Lane
                         Solon, OH 44139


                         Jennifer Healan
                         8142 Yorkshire Drive
                         Mentor, OH 44060


                         Seana Heard
                         Cedar road 27020
                         Beachwood, OH 44122


                         Tenisha Heard
                         26200 George Zeinger Dr. Apt.103
                         Beachwood, OH 44122


                         Amanda Hearn
                         7331 Striker Rd
                         Maineville, OH 45039




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1635 of 1944
                         Victoria Heasley
                         8256 Rushton Dr
                         Mentor, OH 44060


                         Heather Heater
                         4746 Beth Ave SW
                         Canton, OH 44706


                         Amy and Steve Heath
                         116 Greenridge Drive
                         Bellefontaine, OH 43311


                         Tara Heath
                         5953 Ancestor Dr
                         Hilliard, OH 43026


                         Alexandra Hebner
                         7473 Belvedere Dr.
                         Mentor, OH 44060


                         Heather Heckathorn
                         315 1/5 Wilson Ave
                         Port Clinton, OH 43452


                         Suzanne Heckroth
                         2007 Weston Dr
                         Hudson, OH 44236


                         Tiffani Hedgepeth
                         3191 Andrew James Dr
                         Hilliard, OH 43026


                         Timothy Hedrick
                         6340 Riverstone dr
                         Columbus, OH 43228


                         Jerry Heffner
                         2522 Aberdeen court
                         Troy, OH 45373


                         Vishvas Hegde
                         6343 Canterbury Drive
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1636 of 1944
                         Gregg Heidrick
                         5535 Richmond Road
                         Solon, OH 44139


                         Kurt Heilmann
                         3664 North Delwood Drive
                         Port Clinton, OH 43452


                         Laurie Heintz
                         11652 Clark Road
                         Chardon, OH 44024


                         Donna Heinz
                         1963 Boxwood Trl
                         Painesville, OH 44077


                         Nikki Held
                         9901 Cynthia Dr.
                         Twinsburg, OH 44087


                         Katy Heller
                         4049 Bremen Pass
                         Cleves, OH 45002


                         Amy Helm
                         5297 Chateau Way
                         Fairfield, OH 45014


                         Juliet Helmer
                         2415 Rufus Ct.
                         Lewis Center, OH 43035


                         Katy Helms
                         21727 Walnut Lane
                         rocky river, OH 44116


                         Tearany Helms
                         102 East Market St.
                         VanBuren, OH 45889


                         Kelsey Helton
                         5753 Reswin Drive
                         Fairfield, OH 45014




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1637 of 1944
                         Melinda Helton
                         505 Virginia Ave
                         Troy, OH 45373


                         Suzette Heltzel
                         5353 Portland St 103
                         Columbus, OH 43235


                         Jennifer Hembree
                         260 Cummings rd
                         Vermilion, OH 44089


                         Angie Hemly
                         10535 penniman dr
                         chardon, OH 44024


                         Ann Hemm
                         2720 Huntington Dr
                         Troy, OH 45373


                         Stephanie Hemmerick
                         6239 Caribou Ct.
                         Cincinnati, OH 45243


                         Stacie Hemmert
                         4421 Chukbuk Court
                         Hilliard, OH 43026


                         Aimee Hempker
                         321 N. West St.
                         Bellefontaine, OH 43311


                         Heidi Henderhan
                         731 Buckwalter Dr.
                         Massillon, OH 44646


                         Tom Hendershot
                         1429 Hawthorne Ct
                         Vermilion, OH 44089


                         Jamie Henderson
                         9348 South Brown RD
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1638 of 1944
                         Michael Henderson
                         6898 Traymore Court
                         Mentor, OH 44060


                         Tracy Henderson
                         961 Lee Rd
                         Troy, OH 45373


                         Matt Henneman
                         12510 Deer Creek Dr #312
                         North Royalton, OH 44133


                         Christopher Henry
                         1028 Co. Rd. 257
                         Fostoria, OH 44830


                         Doug Henry
                         25901 Annesley Rd
                         Beachwood, OH 44122


                         Michael Hensler
                         154 Western Ridge Dr
                         Cleves, OH 45002


                         Amy Hensley
                         71 Manor Drive
                         Hudson, OH 44236


                         Becky Hensley
                         65 Colony Drive
                         Hudson, OH 44236


                         Dennis Hensley
                         65 Colony Drive
                         Hudson, OH 44236


                         Tracy Hensley
                         100 Keenan rd Lot A-14
                         Peninsula, OH 44264


                         Valerie Hensley
                         932 North Main Street
                         Bellefontaine, OH 43311




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1639 of 1944
                         Jennifer Henson
                         10645 Fincherie Dr.
                         Chardon, OH 44024


                         Kera Hepke
                         3080 Neille Ln
                         Twinsburg, OH 44087


                         Stephanie Herbert
                         708thornwoodst.
                         elyria, OH 44035


                         Tammy Herbruck
                         12175 Waterfowl ln
                         Chardon, OH 44024


                         Joshua Herchl
                         5819 Bradford Way
                         Hudson, OH 44236


                         Angela Herczeg
                         7629 morley rd
                         Mentor, OH 44060


                         David Herman
                         222 High Street
                         Chargin Falls, OH 44022


                         Carmen Hernandez
                         12860 Mayfield Rd. #140
                         Chardon, OH 44024


                         Sara Hernandez
                         94 South Street
                         Chagrin Falls, OH 44022


                         Kristie Heron
                         9951 Juniper Ct
                         Mentor, OH 44060


                         Angela Hershberger
                         114 Lagoon Cir.
                         Vermilion, OH 44089




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1640 of 1944
                         Candice Herst
                         11001 Leader Rd
                         Chardon, OH 44024


                         Lora Hertel
                         19800 State Road
                         North Royalton, OH 44133


                         Jennifer Hertzfeld
                         2236 Omaha Place
                         Lewis Center, OH 43035


                         Michelle Hervey
                         816 Norbury Dr
                         Hudson, OH 44236


                         Dusti Herz
                         1477 Township Road 14
                         Van Buren, OH 45889


                         Paul Heslep
                         244 n. professor st
                         oberlin, OH 44074


                         Jenny Hess
                         1098 Chatham Place
                         Rocky River, OH 44116


                         Katherine Hess
                         7866 Manorgate Street
                         Lewis Center, OH 43035


                         Reyma Hess
                         5865 Saucony Drive
                         Hilliard, OH 43026


                         Michael Hessler
                         5710 Canehill Lane
                         Hilliard, OH 43026


                         Elizabeth Hester
                         34545 Bainbridge Road
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1641 of 1944
                         CONNIE HEUBLEIN
                         8120 HUMPHREY HILL DRIVE
                         CONCORD, OH 44077


                         Kimberly Heyman
                         6321 Corley Dr
                         DUBLIN, OH 43016


                         Theresa Hibbard
                         5562 Monica Drive
                         Fairfield, OH 45014


                         Taleia Hibdon
                         9939 Darrow Park Dr Apt 207K
                         Twinsburg, OH 44087


                         Jackie Hicks
                         34200 Ada Dr.
                         Solon, OH 44139


                         Rachel Hicks
                         9573 Ridge Rd
                         North Royalton, OH 44133


                         Angela Higgins
                         524 Highmeadows Village Drive
                         Powell, OH 43065


                         MaryAnn Higgins
                         744 Knight Court
                         Galloway, OH 43119


                         Linda High
                         6265 Corley Dr
                         Dublin, OH 43016


                         Bill Hildebrand
                         10136 Valleydale St
                         Magnolia, OH 44646


                         Stephanie Hileman
                         1775 Barlow Road
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1642 of 1944
                         Annette Hill
                         1824 Messner Drive
                         Hilliard, OH 43026


                         James Hill
                         2618 Barlow Road
                         Hudson, OH 44236


                         Jay Hill
                         7471 Woodspring Ln
                         Hudson, OH 44236


                         Jenneva Hill
                         1780 Wright Ave.
                         Rocky River, OH 44116


                         Kimberly Hill
                         894 Barwick Court
                         Painesville, OH 44077


                         Susan Hill
                         20880 Beaconsfield Blvd
                         Rocky River, OH 44116


                         Teresa Hill
                         6756 Forest Glen
                         Solon, OH 44139


                         Tiffany Hill
                         3090 Gilridge Dr
                         Hilliard, OH 43026


                         Timothy Hilt
                         1601 Bending Willow Lane
                         Hilliard, OH 43026


                         Hilton Gaithersburg
                         620 Perry Parkway
                         Gaithersburg, MD 20877


                         Hilton Washington Dulles
                         13869 Park Center Road
                         Herndon, VA 20171




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1643 of 1944
                         Billi Hinkle
                         850 Bonnie Lane Apt 718
                         Bellefontaine, OH 43311


                         Alex Hirsh
                         7058 Southwoods Ln
                         Solon, OH 44139


                         Kelley Hixson
                         10323 Johnnycake Ridge Rd
                         Concord, OH 44077


                         Neilson Hixson
                         301 S Ridge Ave
                         Troy, OH 45373


                         Lea Hlifka
                         11480 Aquilla Rd
                         Chardon, OH 44024


                         Susann Hocanson
                         1161 Claudia Lane Apt. C
                         Findlay, OH 45840


                         Evanthia Hocevar
                         2790 Loreto Dr.
                         Willoughby Hills, OH 44094


                         Lisa Hocking
                         2310 valley View Dr
                         Rocky River, OH 44116


                         Sarah Hockman
                         768 Range Dr
                         Galloway, OH 43119


                         Steve Hockstra
                         119 Keswick Drive
                         Hudson, OH 44236


                         Melvia Hodges
                         1535 gelhot dr #141
                         Fairfield, OH 45014




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1644 of 1944
                         Karen Hodgkiss
                         2216 Reeves Avenue
                         Lewis Center, OH 43035


                         Kristin Hodgson
                         4065 Schirtzinger Rd
                         Hilliard, OH 43026


                         Lisa Hoefer
                         493 Shepherds Way
                         Morrow, OH 45152


                         Kelly Hoellein
                         9397 Canterbury Ln
                         Mentor, OH 44060


                         Ann Hoelzel
                         54 Morningside Dr.
                         Chagrin Falls, OH 44022


                         Tammie Hoerig
                         15389 Bent Tree Drive
                         Findlay, OH 45840


                         Eric Hofacker
                         316 W 6th St
                         Port Clinton, OH 43452


                         Matt Hofacre
                         12090 PHEASANT CT
                         CHARDON, OH 44024


                         Lisa Hoffman
                         6518 Coen Road
                         Vermilion, OH 44089


                         Lori Hoffman
                         1313 Nantucket Ave
                         Columbus, OH 43235


                         Margaret Hoffman
                         220 East Streetsboro Street
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1645 of 1944
                         Nathan Hoffman
                         P.O. Box 141505
                         Columbus, OH 43224


                         Kimberly Hoffmann
                         10055 Brookfield Dr.
                         Mentor, OH 44060


                         Matthew Hoffmann
                         10019 Ezra Court
                         Twinsburg, OH 44087


                         Michelle Hofmeister
                         8211 Coldharbor Blvd.
                         Lewis Center, OH 43035


                         Andrea Hogan
                         1787 river shore court
                         Kings mills, OH 45034


                         Rebecca Hogue
                         479 Thistleview Drive
                         Lewis Center, OH 43035


                         Amy Hoinke
                         8110 Jordan Ridge Dr
                         Cleves, OH 45002


                         Amy Holbrook
                         117 central court street
                         BELLEFONTAINE, OH 43311


                         Heather Holbrook
                         8938 fairmount road
                         novelty, OH 44072


                         Jacob Holbrook
                         3432 Lilac ln
                         Troy, OH 45373


                         Heather Holcomb
                         3014 Simecek Drive
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1646 of 1944
                         Michele Holcomb
                         2315 herrick cir
                         Hudson, OH 44236


                         Scott Holdren
                         10113 Patton Street
                         Twinsburg, OH 44087


                         Holiday Inn Dulles
                         45425 Holiday Drive
                         Sterling, VA 20166


                         Holiday Inn Gaithersburg
                         2 Montgomery Village Ave
                         Gaithersburg, MD 20879


                         Ellen Holland
                         5720 Bonaly ct
                         Dublin, OH 43016


                         Jen Hollinger
                         1031 Minuteman Ave NW
                         Massillon, OH 44646


                         Joan Hollis
                         103 Alderwood Trail
                         Chagrin Falls, OH 44022


                         Marie Holloway
                         8511 forestview ave
                         Mentor, OH 44060


                         Len Hollowell
                         6844 Meadowdale Circle
                         Madeira, OH 45243


                         Ron Hollowell
                         10010 Kile Rd.
                         Chardon, OH 44024


                         Erica Holman
                         7533 Estate Ave
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1647 of 1944
                         Judy Holman
                         138 West Prospect St.
                         Hudson, OH 44236


                         Heather Holmes
                         7895 Wilderness Drive
                         Mentor, OH 44060


                         Nichol Holpuch
                         130 Center St 6B
                         Chardon, OH 44024


                         Melissa Holt
                         13016 KEVIN LN F 11
                         CHARDON, OH 44024


                         Teala Holt
                         134 Belle ave nw
                         Massillon, OH 44646


                         Kelly Holtz
                         402 Deer Court
                         Chagrin Falls, OH 44022


                         Paula Holubek
                         13101 Mariner Drive
                         North Royalton, OH 44133


                         Erika Holubetz
                         1877 RIVERWOOD TRAIiL
                         Kings Mills, OH 45034


                         Stephanie Homorody
                         7595 Pinehill Rd.
                         Lewis Center, OH 43035


                         Krissy Honeycutt
                         2626 Shady Tree Dr.
                         Troy, OH 45373


                         Justin Hons
                         2567 Edgewood rd
                         Beachwood, OH 44122




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1648 of 1944
                         Susan Hoover
                         12841 Patricia Dr
                         North Royalton, OH 44133


                         Jen Hopkins
                         412 Chardon Ave
                         Chardon, OH 44024


                         Karen Hopkins
                         6950 LONGVIEW DR
                         SOLON, OH 44139


                         Angela Hoppes
                         6161 Burr Oak Way
                         Hudson, OH 44236


                         Bridgette Hopson
                         1781 Rolling Hills Dr. Apt E
                         Twinsburg, OH 44087


                         Shawnlisa Hopson
                         9013 Gettysburg Dr.
                         Twinsburg, OH 44087


                         Sherry Horan
                         5840 Buckeye Ln Apt 3
                         Mentor on the lake, OH 44060


                         Jason Horne
                         700 Township Road 179 Apt7C
                         Bellefontaine, OH 43311


                         CRISTINA HORNIK
                         12822 KINGSTON WAY
                         NORTH ROYALTON, OH 44133


                         Hileri Hornyak
                         8711 carmichael drive
                         chesterland, OH 44026


                         Laura Horoszko
                         7215 Allendale Dr.
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1649 of 1944
                         Robert Horrocks
                         9655 Shadow Hill Trail
                         Chesterland, OH 44026


                         Tina Horschler
                         37785 Aurora Rd
                         Solon, OH 44139


                         Debbie Horton
                         406 Downing Drive
                         Chardon, OH 44024


                         Lori Horton
                         4809 Parkside Dr --
                         South Lebanon, OH 45065


                         Rachel Horton
                         698 Washington Ave
                         Elyria, OH 44035


                         Brent Horvath
                         2173 Dorset Ln
                         Hudson, OH 44236


                         Ashley Hoschar
                         2008 E Highgate Ct
                         Hudson, OH 44236


                         Edward Hosni
                         6581 Sherry Ln
                         Hilliard, OH 43026


                         Mohammad Hossain
                         10570 Penny Ln
                         Reminderville, OH 44202


                         Christina Hough
                         1592 Bending Willow Ln
                         Hilliard, OH 43026


                         Lisa Housley
                         1610 Arlington Ave
                         Troy, OH 45373




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1650 of 1944
                         Alex Hove
                         9100 Terrace Park Drive
                         Mentor, OH 44060


                         Carrie Hover
                         2328 Charoe St.
                         Lewis Center, OH 43035


                         Renee Howard
                         23511 Chagrin Blvd Apt #516
                         Beachwood, OH 44122


                         Brian Howell
                         9901 Beechwood Drive
                         North Royalton, OH 44133


                         Donna Howell
                         820 Sugarbush Court
                         Bellefontaine, OH 43311


                         Nicole Howell
                         7970 Mentor Ave. K4 K4
                         Mentor, OH 44060


                         Allison Howenstine
                         3947 Cedric Ln
                         Dublin, OH 43016


                         Marci Hower
                         3250 Nelson Park Dr
                         Rocky River, OH 44116


                         Donna Howes
                         2448 Candlemakers Ln.
                         Maineville, OH 45039


                         Lindita Hoxha-Kocinare
                         1470 Wagar Rd #310
                         Rocky River, OH 44116


                         Kelly Hoy
                         308 Fox Way
                         Chagrin Falls, OH 44022




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1651 of 1944
                         Jennifer Hoying
                         4783 Coltview Court
                         Hilliard, OH 43026


                         Jeannine Hoynes
                         12275 Bean Road
                         Chardon, OH 44024


                         Katrina Hruby
                         33851 linden dr
                         Solon, OH 44139


                         Jin Hu
                         2567 Cedarwood Ct
                         Hudson, OH 44236


                         Jyh-Tzong Huang
                         5770 Elm Hill Dr.
                         Solon, OH 44139


                         Xuan Huang
                         103 Champion Lane
                         Chagrin Falls, OH 44022


                         Xuemei Huang
                         32560 Stony Brook Lane
                         Solon, OH 44139


                         Ying Huang
                         2684 Dale Ave
                         Rocky River, OH 44116


                         Virgil Hubbard
                         3728 Quadrant Drive
                         North Bend, OH 45052


                         Annie Huber
                         6535 Sherborne Lane
                         Hudson, OH 44236


                         Heather Huber
                         5224 ritchey lane
                         south lebanon, OH 45065




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1652 of 1944
                         Mari Hudgel
                         2349 Rose Road
                         Loveland, OH 45140


                         Kristin Hudok
                         109 Elm
                         Van Buren, OH 45889


                         Hudson MS
                         77 North Oviatt Street
                         Hudson, OH 44236


                         Barbie Hudson
                         870 Oberlin Dr.
                         Fairfield, OH 45014


                         Erin Hudy
                         5614 Weeping Willow Dr.
                         Hudson, OH 44236


                         Amanda Huecker
                         9708 Kelly Drive
                         Loveland, OH 45140


                         Chad Huffman
                         4398 Jennydawn place
                         Hilliard, OH 43026


                         Brandon Hughes
                         1828 Milden Rd
                         Columbus, OH 43221


                         Jennifer Hughes
                         4979 Edgeley Dr
                         Hilliard, OH 43026


                         Jessica Hughes
                         481 Manhattan Pkwy
                         Painesville, OH 44077


                         Maria Hughes
                         1325 Sunflower st
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1653 of 1944
                         Robert Humbarger
                         7891 Jessies
                         Fairfield Township, OH 45011


                         Rola Humeidan
                         2993 Hemlock edge drive
                         hilliard, OH 43026


                         Heidi Huminsky
                         2662 Ellsworth Hill Drive
                         Hudson, OH 44236


                         Jean Humphrey
                         10880 Forest Oaks Drive
                         Chardon, OH 44024


                         Karen Hunady
                         6025 Bayleaf Lane
                         North Royalton, OH 44133


                         Andrea Hunkar
                         4012 Deacon Court
                         Hudson, OH 44236


                         James Hunnell
                         1010 Sweetbriar Drive
                         Vermilion, OH 44089


                         Jason Hunt
                         1260 Tw Rd 186
                         Westliberty, OH 43357


                         Jennifer Hunt
                         5693 Stockton Way
                         Dublin, OH 43016


                         Sally Hunter
                         10116 Brookfield Dr.
                         MENTOR, OH 44060


                         Lindsey Huntley
                         10790 Mulberry Rd
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1654 of 1944
                         Lori Hunziker
                         5661 Alliance Way
                         Columbus, OH 43228


                         Krista Hupp
                         7090 E Jefferson Dr
                         Mentor, OH 44060


                         Stacey Hupp
                         2275 Cyprus Dr SE
                         Massillon, OH 44646


                         Susan Hura
                         200 Pheasant Run Drive
                         Chagrin Falls, OH 44022


                         Chad Hurley
                         1148 Arbor Ln
                         Troy, OH 45373


                         Roxanne Hurley
                         7803 Locust Lane
                         Cincinnati, OH 45243


                         Vasyl Husar
                         7684 Creekwood ln.
                         North Royalton, OH 44133-3863


                         Doris Huskey
                         203 w. 3rd st.
                         Port clintion, OH 43452


                         Patricia Huskey
                         408 West 3rd Street
                         Port Clinton, OH 43452


                         Lala Hussain
                         308 Forest EdgeDrive
                         South Lebanon, OH 45065


                         Hamdi Hussein
                         1437 crossing green ln
                         Columbus, OH 43228




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1655 of 1944
                         Roxann Hustek
                         8111 Coronada Dr
                         Mentor, OH 44060


                         Amy Huston
                         7277 Hayward Rd
                         Hudson, OH 44236


                         Elizabeth Huston
                         4717 Farley Dr
                         Mentor, OH 44060


                         Dartel Hutcherson
                         6257 Dunbar Dr
                         Mentor, OH 44060


                         Connie Hutchins
                         9418 State Route 613
                         Van Buren, OH 45889


                         Tameshia Hutchinson
                         6526 Som Center Road
                         Solon, OH 44139


                         Kristen Hutson
                         8129 Jordan Rd
                         Cleves, OH 45002


                         Ted Huziak
                         789 solverberry
                         Hudson, OH 44236


                         Ted Huziak
                         789 silverberry
                         Hudson, OH 44236


                         Hyatt Place Dulles South Chantilly
                         4994 Westone Plaza
                         Chantilly, VA 20151


                         Hyatt Regency Dulles
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                         Herndon, VA 20102




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1656 of 1944
                         Hyatt Regency Fairfax
                         12777 Fair Lakes Circle
                         Fairfax, VA 22033


                         Krystel Hyer
                         7431 Madeira Pines Dr
                         Maderia, OH 45243


                         Shoshana Hyer
                         27020 Cedar Rd Apt 304
                         Beachwood, OH 44122


                         Amy Hyland
                         6596 MADEIRA HILLS DR
                         CINCINNATI, OH 45243-3124


                         Nicki Ice
                         7923 Gallowae C
                         Mentor, OH 44060


                         Frank Ignazzitto
                         6565 SEMINOLE TRAIL
                         MENTOR, OH 44060


                         Violet Imre
                         9705 State Road
                         North Royalton, OH 44133


                         Noelia Inacua
                         2083 Maxwell Ave
                         Lewis Center, OH 43035


                         Indian Valley Middle School
                         PO Box 356
                         Tuscarawas, OH 44682


                         Nitin Ingale
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                         Lewis Center, OH 43035


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18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1657 of 1944
                         Erika Ingram
                         151 Bard Dr 151
                         Hudson, OH 44236


                         Renee Ingram
                         9057 Ravenna Road
                         Twinsburg, OH 44087


                         Internal Revenue Service
                         PO Box 7346
                         Philadelphia, PA 19101-7346


                         Teresa Ionno
                         7332 Burntwood Way
                         Hudson, OH 44236


                         Rose Ioppolo
                         11530 Monarch Ct
                         Concord Twp, OH 44077


                         Mary Iovine
                         93-B Meadows Dr
                         Painesville, OH 44077


                         Thomas Irick
                         601 N. Main Street
                         Bellefontaine, OH 43311


                         Jennifer Irwin
                         1156 Sunset
                         Mayfield Heights, OH 44124


                         Latrice Isaac
                         8796 Ray court #1
                         Twinsburg, OH 44087


                         Timothy Isabella
                         11719 Harrow Place
                         North Royalton, OH 44133


                         Joanne Ischay
                         14855 Crimson King Trail
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1658 of 1944
                         Masaki Ishizaka
                         26900 George Zeiger DR #308
                         Beachwood, OH 44122


                         BETH IVANOVICS
                         11466 OAK HOLLOW DR
                         CHARDON, OH 44024


                         Jennifer Ives
                         35599 Quartermane Circle
                         Bentleyville, OH 44139


                         Deonna Ivey
                         7385 Foxmill Rd B
                         Mentor, OH 44060


                         Leigha Ivey
                         169 North Hayden Pkwy
                         Hudson, OH 44236


                         Jodie Izzo
                         7604 Worlington Drive
                         Solon, OH 44139


                         Fadi Jabbour
                         5387 Wilshire Park Drive
                         Hudson, OH 44236


                         Ann Jackson
                         1428 Hollow Tree Drive
                         Findlay, OH 45840


                         Ashley Jackson
                         10347 Dugan gap rd
                         North bend, OH 45052


                         Chelsie Jackson
                         111 Bentwood Dr
                         Chardon, OH 44024-1398


                         Cynthia Jackson
                         2057 Co Rd 11
                         Bellefontaine, OH 43311




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1659 of 1944
                         Elisha Jackson
                         1257 W. FREMONT RD. AptB
                         Port Clinton, OH 43452


                         Sandy Jackson
                         1614 Cedar Knoll NW
                         Massillon, OH 44646


                         Valerie Jackson
                         6965 W. Lakeshore Drive
                         Port Clinton, OH 43452


                         Becki Jacob
                         2339 Ratcliff Ct
                         Lewis Center, OH 43035


                         Krista Jacob
                         5676 Stockton Way
                         Dublin, OH 43016


                         Amanda Jacobs
                         70 Township Road 14
                         Van Buren, OH 45889


                         Catherine Jacobs
                         3088 Liberty Ledges Dr
                         Twinsburg, OH 44087


                         Shana Jacobs
                         4425 baunach st nw
                         Canton, OH 44708


                         Carol Jacoby
                         11240 Somerset Dr 251
                         North Royalton, OH 44133


                         Merrill Jacques
                         21516 Hilliard Blvd
                         Rocky River, OH 44116


                         Leesa Jacubenta
                         11352 Worthington Way
                         North Royalton, OH 44133




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1660 of 1944
                         Ruba Jadallah
                         943 ashbrooke way
                         Hudson, OH 44236


                         Frederick Jahn
                         26 Chadbourne Dr.
                         Hudson, OH 44236


                         Greg Jahnke
                         11428 Auburn Road
                         Chardon, OH 44024


                         Jamie Jahnke
                         7398 Cadle Ave
                         Mentor, OH 44060


                         Padma Jambunath
                         27030 Cedar Road #504-2
                         Beachwood, OH 44122


                         Asia James
                         8820 Ray Ct #2
                         Twinsburg, OH 44087


                         Diane James
                         71 Steepleview Drive
                         Hudson, OH 44236


                         Laurie James
                         122 Geoppert Road
                         Peninsula, OH 44264


                         Nyesha James
                         3465 Berrywood Ct.
                         Hamilton, OH 45011


                         Therese James
                         1857 MESSNER DRIVE
                         HILLIARD, OH 43026


                         Matt Jamison
                         1973 Trailwood Drive
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1661 of 1944
                         Darlene Janke
                         8301 Cedar Rd
                         Chesterland, OH 44026


                         Amy Jansen
                         110 South Franklin Street
                         Chagrin Falls, OH 44022


                         Allison Jantonio
                         6170 ravenhill road
                         Hilliard, OH 43026


                         James Jarrell
                         2026 Jasper Lane
                         Hilliard, OH 43026


                         Linsey Jasinski
                         11579 Moonbeam Ln.
                         Concord Twp., OH 44077


                         Jamie Jazbec
                         113 Pine Hollow Circle
                         Chardon, OH 44024


                         Tina Jelen
                         4919 McKenna Court
                         Columbus, OH 43221


                         Antony Jenkin
                         67 fairgrounds rd
                         painesville townshio, OH 44077


                         April Jenkins
                         112 E. Palmer Rd
                         Bellefontaine, OH 43311


                         Jennifer Jenkins
                         2314 Amity Rd.
                         Hilliard, OH 43026


                         Jill Jenkins
                         3853 Stonesthrow Ct W
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1662 of 1944
                         Kristine Jenkins
                         7625 Vinemont Ct.
                         Hudson, OH 44236


                         Michael Jenkins
                         412north madriver street
                         bellefontaine, OH 43311


                         Marla Jenks
                         6597 Regal Woods Dr
                         Hudson, OH 44236


                         Stephan Jennings
                         6248 cherokee dr
                         Cincinnati, OH 45243


                         Monica Jensen
                         2736 E Sand Rd
                         Port Clinton, OH 43452


                         Hyojin Jeong
                         10601 Worrell Rd.
                         Kirtland, OH 44060


                         Kelly Jervis
                         6300 George Fox Dr.
                         Galloway, OH 43119


                         Rachele Jeunnette
                         11962 Sandgate Drive
                         Chesterland, OH 44026


                         Milind Jhaveri
                         4085 Morley Drive
                         Reminderville, OH 44202


                         Tina Jira
                         2267 Gary Dr.
                         Twinsburg, OH 44087


                         John Joaquin
                         213 Woodbridge Lane
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1663 of 1944
                         Kelly Johanssen
                         4448 Anchorage Ct
                         Hilliard, OH 43026


                         Sarah Johanssen
                         3854 Stonesthrow Ln.
                         Hilliard, OH 43026


                         Amy Johns
                         2508 Foxchase Ct W
                         Troy, OH 45373


                         Barbara Johnson
                         1116 bayridge dr
                         Lewis center, OH 43035


                         Beth Johnson
                         11550 Bass Lake rd
                         Chardon, OH 44024


                         Beth Johnson
                         8225 Coldharbor Blvd.
                         Lewis Center, OH 43035


                         Charles Johnson
                         186 Sandstone Drive
                         Painesville, OH 44077


                         Christine Johnson
                         1865 Carver Lane
                         Hudson, OH 44236


                         Christopher Johnson
                         7241 berwood drive
                         cincinnati, OH 45243


                         Ebony Johnson
                         9939 Darrow Park Dr Apt 108
                         Twinsburg, OH 44087


                         Emily Johnson
                         32927 Lisa Lane
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1664 of 1944
                         Hallie Johnson
                         2994 Mathers Way Twinsburg
                         Twinsburg, OH 44087


                         Jeffrey Johnson
                         715 Harrison Street
                         Port Clinton, OH 43452


                         Jessie Johnson
                         350 Boone Dr
                         Troy, OH 45373


                         Jodi Johnson
                         9950 Weathersfield Dr
                         Mentor, OH 44060


                         Kate Johnson
                         2718 Stonebridge Court
                         Hudson, OH 44236


                         Leedella Johnson
                         1518 Covent Road
                         Troy, OH 45373


                         Leigh Johnson
                         7102 Fox Hill Drive
                         Solon, OH 44139


                         Liz Johnson
                         13415 Walnut Trace
                         Chardon, OH 44024


                         Loren Johnson
                         8099 valley view rd
                         Hudson, OH 44236


                         Mary Johnson
                         167 Spicewood Ln
                         Powell, OH 43065


                         Michele Johnson
                         518 Locke Ave SW
                         Massillon, OH 44646




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1665 of 1944
                         Natalie Johnson
                         6580 Dalmore Lane
                         Dublin, OH 43016


                         Nettie Johnson
                         8785 Foothill Road
                         Mentor, OH 44060


                         Rancia Johnson
                         34890 Solon Rd
                         Solon, OH 44139


                         Sharee Johnson
                         12146 Waywood Drive
                         Twinsburg, OH 44087


                         Shavonne Johnson
                         10216 Pirates Trail
                         Aurora, OH 44202


                         Shelley Johnson
                         9462 Lister Lane
                         Twinsburg, OH 44087


                         Stephanie Johnson
                         3655 Tammy Rae Ct.
                         Hamilton, OH 45011


                         Stephanie Johnson
                         5294 Triple Crown Ct.
                         Columbus, OH 43221


                         Tara Johnson
                         2811 co rd 220
                         van buren, OH 45889


                         Venessa Johnson
                         12 chelsea ct
                         Chagrin falls, OH 44022


                         Rachel Johnston
                         2411 N Main St. Apt A
                         Findlay, OH 45840




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1666 of 1944
                         Ingrid Johnstone
                         321 S EAST ST
                         LEBANON, OH 45036


                         Arunas Joksas
                         5850 Mallard Ct
                         Mentor, OH 44060


                         Lisa Joles
                         6408 Fay Rd
                         Painesville, OH 44077


                         Anissa Jones
                         5958 Pepperridge Court
                         Maineville, OH 45039-7270


                         Beverly Jones
                         158 Indiana Ave
                         Elyria, OH 44035


                         Bobby Jones
                         1010 EAGENS CREEK CT
                         OVIEDO, FL 32765-5653


                         Brad Jones
                         7555 Foxdale Cir.
                         Hudson, OH 44236


                         Brian Jones
                         1917 E Beaumont Rd
                         Columbus, OH 43224


                         Jenell Jones
                         11819 Harrow place
                         North Royalton, OH 44133


                         Jennifer Jones
                         218 essex rd.
                         vermilion, OH 44089


                         Joy Jones
                         2136 Campus Road
                         Beachwood, OH 04412




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1667 of 1944
                         Kelly Jones
                         5033 Riverwalk Dr
                         Kings Mills, OH 45034


                         Lauren Jones
                         1076 Sheerbrook Dr.
                         Chagrin Falls, OH 44022


                         Mark Jones
                         2388 Pleasant Colony Dr
                         Lewis Center, OH 43035


                         Melissa Jones
                         1724 Stonington Drive
                         Hudson, OH 44236


                         Nicole Jones
                         1665 Beechwood Dr
                         Troy, OH 45373


                         Patty Jones
                         714 Edgewood Ave SW
                         Massillon, OH 44646


                         Treasa Jones
                         7471 Victoria Falls Ave
                         Maineville, OH 45039


                         Trenda Jones
                         6476 Coleridge Rd.
                         Concord Township, OH 44077


                         Jennifer Jordan
                         907 Stone Court
                         Milford, OH 45150


                         Mindy Jordan
                         6087 Edson St
                         Vermilioin, OH 44089


                         Beth Joseph
                         6217 Lampton Pond Drive
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1668 of 1944
                         Douglas Joseph
                         5 hopewell
                         moreland hills, OH 44022


                         Nevenka Josipovic
                         7398 Truman Court
                         Mentor, OH 44060


                         Mike Jost
                         13468 Bass Lake Rd
                         Chardon, OH 44024


                         John Joyce
                         18716 Inglewood Avenue
                         Rocky River, OH 44116


                         Kristen Joyce
                         506 N. Main St
                         Chagrin Falls, OH 44022


                         Anita Judy
                         2100 Augusta Blvd #138
                         Fairfield, OH 45014


                         Heather Juker
                         12260 Bradfaord Dr.
                         Chardon, OH 44024


                         Tiffanie Julian
                         12662 harold
                         chesterland, OH 44026


                         Meredith Junko
                         6760 pheasants ridge
                         hudson, OH 44236


                         Traci Just
                         7570 Hudson Park Drive
                         Hudson, OH 44236


                         Allison Kaas
                         105 Waverly Lane
                         Chagrin Falls, OH 44022




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1669 of 1944
                         Jennifer Kabat
                         78 york dr
                         hudson, OH 44236


                         Kabbage, Inc.
                         925B Peachtree Street, NE
                         Atlanta, GA 30309


                         Amy Kabealo
                         7879 Charline Court
                         Lewis Center, OH 43035


                         Elizabeth Kachele
                         2894 Mossy Brink Ct.
                         Maineville, OH 45039


                         Tim Kachmarik
                         11739 Ivy Ridge Drive
                         North Royalton, OH 44133


                         Tracie Kacir
                         1093 Sheerbrook Drive
                         Chagrin Falls, OH 44022


                         Cindy Kadas
                         9127 Leah ct
                         Mentor, OH 44060


                         Lisa Kafka
                         4548 Brixshire Drive
                         Hilliard, OH 43026


                         Kris Kaiser
                         1213 Red Maple Drive
                         Troy, OH 45373


                         Paul Kaiser
                         2667 Stonebridge
                         Troy, OH 45373


                         Vidyasagar Kalahasti
                         37280 Cherrybank drive
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1670 of 1944
                         Renee Kalis
                         10945 copperleaf
                         chardon, OH 44024


                         Thomas Kall
                         7385 Goldenrod dr.
                         Mentor, OH 44060


                         Shaun Kallay
                         925 NEWELL ST
                         PAINESVILLE, OH 44077


                         Amy Kaminski
                         2501 reeves ave
                         lewis center, OH 43035


                         Jordan Kaminsky
                         24549 Meldon Blvd
                         Beachwood, OH 44122


                         Carrie Kandes
                         4999 Lake View Drive
                         Peninsula, OH 44264


                         Kristin Kane
                         6544 Westpoint Drive
                         Hudson, OH 44236


                         Wendy Kang
                         38360 flanders drive
                         solon, OH 44139


                         Valerie Kanieski
                         9561 Tilby Road
                         North Royalton, OH 44133


                         Emmanuel Kaodiechi
                         2124 RIPPLE ROAD
                         HILLIARD, OH 43026


                         Madhavi Kapa
                         3050 Cabot Way
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1671 of 1944
                         Dori Kaplansky
                         255-B Solon Road
                         Chagrin Falls, OH 44022


                         Lavanya Karanam
                         33128 S Roundhead Dr
                         Solon, OH 44139


                         EVA KARAS
                         7778 VALLEY VIEW RD
                         HUDSON, OH 44236


                         Rebecca Karb
                         3720 Simpson Trace
                         Maineville, OH 45039


                         Erin Karchefsky
                         10180 S Hampton Ct
                         Mentor, OH 44060


                         Umidakhan Karimova
                         3513 Montgomery Rd. Apt. 11
                         Loveland, OH 45140


                         Charlotte Karmilowicz
                         5573 Tayside Cir
                         Dublin, OH 43016-9433


                         Michelle Karsama
                         7247 Osceola Dr.
                         Cincinnati, OH 45243


                         Kelly Kashmarek
                         22269 Blossom Drive
                         Rocky River, OH 44116


                         Sastry Kasibhatla
                         10098 Dayflower Dr.
                         Twinsburg, OH 44087


                         Kellie Kasten
                         1429 Peach tree Ct
                         Columbus, OH 43204




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1672 of 1944
                         Sharon Kastor
                         11820 Sun Ridge Circle
                         Chardon, OH 44024


                         Kellie Kasubienski
                         15203 Darrow Rd
                         Vermilion, OH 44089


                         Aaron Kauffman
                         1120 Hilary Ln Apt M
                         Findlay, OH 45840


                         Andria Kauffman
                         7472 Bridgetown Road
                         Cincinnati, OH 45248


                         Jamie Kauffman
                         7601 Juler Ave
                         Madeira, OH 45243


                         Dana Kaufman
                         8676 Cliffwood Ct.
                         Mentor, OH 44060


                         Gregory Kaufman
                         4631 Cutwater Ln
                         Hilliard, OH 43026


                         Melissa Kaufman
                         3630 Dayspring Dr
                         Hilliard, OH 43026


                         Amandeep Kaur
                         7550pinecrest Ln
                         Solon, OH 44139


                         Baljeet Kaur
                         2052 Meadowood Blvd
                         Twinsburg, OH 44087


                         Malkeet Kaur
                         White Marsh Dr.
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1673 of 1944
                         Susan Kautz
                         12555 Valley View Drive
                         Chesterland, OH 44026


                         Jen Kay
                         25505 Halburton
                         Beachwood, OH 44122


                         Michelle Kazemaini
                         8292 Hemingway lane
                         mentor, OH 44060


                         Usman Kazim
                         355 solon rd #303 355 solon rd #303
                         Chagrin Falls, OH 44022


                         ERic Keener
                         6435 Old Barn Ct.
                         Maderia, OH 45243


                         Veronica Keeney
                         4346 Jennydawn Place
                         Hilliard, OH 43026


                         Malati Keerthipati
                         7600 Affirmed Ct
                         Lewis center, OH 43035


                         Jennifer Keith
                         1599 Bridle Path
                         Painesville, OH 44077


                         Jennifer Keith
                         3735 Durango Green Dr.
                         Cleves, OH 45002


                         Jessica Keith
                         2111 Bluestone Dr.
                         Findlay, OH 45840


                         Gail Keitlen
                         1020 Hamilton Drive
                         Broadview Heights, OH 44147




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1674 of 1944
                         David Kekish
                         11435 Clearfield Lane
                         Chardon, OH 44024-9051


                         Jennifer Kelch
                         7483 Madeira Pines Drive
                         Cincinnati, OH 45243


                         Shelli Kellar
                         3464 Ensign Cove
                         Reminderville, OH 44202


                         Erin Keller
                         1580 Becker Dr
                         Fairfield, OH 45014


                         Kathleen Keller
                         20595 Stratford Ave
                         Rocky River, OH 44116


                         Kerri Keller
                         2241 Jesse Drive
                         Hudson, OH 44236


                         Lisa Keller
                         5542 Grace Dr
                         Mentor, OH 44060


                         Traci Keller
                         11721 Concord Hambden Rd
                         Painesville, OH 44077


                         Sonja KellerBircher
                         7568 Deerpath Trail
                         Hudson, OH 44236


                         Lisa Kelley
                         4437 E. Terrace Circle
                         Port Clinton, OH 43452


                         Maria Kellis
                         118 Bell Tower Court
                         Chagrin Falls, OH 44022




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1675 of 1944
                         Stephanie Kellner
                         7970 mentor ave j8
                         Mentor, OH 44060


                         Virginia Kellum
                         188 King Ave
                         South Lebanon, OH 45065


                         Brian Kelly
                         6717 Elmer Drive
                         Harborcreek, PA 16421


                         Cadi Kelly
                         8644 Kelso Dr
                         Maineville, OH 45039


                         CAROL KELLY
                         19240 BATTERSEA
                         ROCKY RIVER, OH 44116


                         Dawn Kelly
                         1586 Royalwood rd
                         Broadview Heights, OH 44147


                         Jennifer Kelly
                         230 east king st
                         Chardon, OH 44024


                         Patricia Kelly
                         861 Kimberly Circle
                         Oberlin, OH 44074


                         Patricia Kelly
                         387 Cornwall Road
                         Rocky River, OH 44116


                         Sueanne Kelly
                         1391 county rd 5 north
                         Zanesfield, OH 43360


                         Valarie Kelly
                         1560 Tree Fern Court
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1676 of 1944
                         Cera Kemeliotis
                         6640 Harborside Landing
                         Mentor, OH 44060


                         Brian Kemp
                         1527 North Rd A
                         Troy, OH 45373


                         Robin Kempf
                         2449 Cambridge Dr.
                         Hudson, OH 44236


                         Laurie Kendel
                         7052 Cornell lane
                         Mentor, OH 44060


                         Hollie Kennedy
                         5842 BRADFORD WAY
                         HUDSON, OH 44236


                         Kristy Kennedy
                         4010 Bremen Pass
                         Cleves, OH 45002


                         Mary Kennedy
                         5048 Highland Meadows Dr
                         Hilliard, OH 43026


                         Heather Kenneweg
                         7535 Angel Falls Ln
                         Maineville, OH 45039


                         Becky Kent
                         7871 Morris Road
                         Hilliard, OH 43026


                         LaTanya Kent
                         32407 Hamilton Court Apt 205B
                         Solon, OH 44139


                         Danielle Keown
                         330 Abels Ave
                         Painesville, OH 44077




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1677 of 1944
                         Rick Kepler
                         1638 Bramblebush St. NW
                         Massillon, OH 44646


                         Andrew Kern
                         19438 Battersea Blvd
                         Rocky River, OH 44116


                         Shawna Kern
                         5195 Horseshoe Bend Rd.
                         Troy, OH 45373


                         Nancy Kerniskey
                         5881 S Shandle Blvd
                         Mentor, OH 44060


                         Lauri Kerr
                         22807 Halburton Road
                         Beachwood, OH 44122


                         Katie Kerrey
                         7061 Juniperview Lane
                         Cincinnati, OH 45243


                         Aimee Kessick
                         5893 suNSET DRIVE
                         HUDSON, OH 44236


                         Barb Kessler
                         13005 Bass Lake Rd
                         Chardon, OH 44024


                         Anne Kesterson
                         7011 Ballantrae Loop
                         Dublin, OH 43016


                         Key Bank
                         PO Box 94920
                         Cleveland, OH 44101-4920


                         Keystone Technology Consultants
                         787 Wye Road
                         Akron, OH 44333




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1678 of 1944
                         Fouad Khalife
                         21481 Hilliard Blvd
                         Rocky River, OH 44116


                         Ghazala Khan
                         6212 Chagrin Highlands Dr.
                         Solon, OH 44139


                         Rajashree Khedekar
                         1803 Little Bear Loop
                         Lewis Center, OH 43035


                         Jennifer Kick
                         10830 claridon troy rd
                         Chardon, OH 44024


                         Jennifer Kidd
                         8921 Auburn Rd.
                         Chardon, OH 44024


                         Tina Kidd
                         5617 washington ave
                         mentor, OH 44060


                         Kristan Kidder
                         4166 Townsley Dr
                         Loveland, OH 45140


                         Cheryl Kienle
                         5455 Riverport Dr
                         Hilliard, OH 43221


                         Jeff Kiggins
                         7506 Crossfield Ave
                         Mentor, OH 44060


                         Joe Kiggins
                         15975 Moseley Rd.
                         Madison, OH 44057


                         Kimberly Kilby
                         78 Paw Paw Lake Dr.
                         Chagrin Falls, OH 44022




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1679 of 1944
                         Heather Kilfoyle
                         11370 Parkside Rd.
                         Chardon, OH 44024


                         Kristen Kilfoyle
                         249 Ravenna St
                         Hudson, OH 44236


                         Beth Killeen
                         300 Bicknell Drive
                         Hudson, OH 44236


                         Jill Kilpeck
                         8492 Hilltop Dr.
                         Mentor, OH 44060


                         Brenda Kim
                         33107 Springside Lane
                         Solon, OH 44139


                         Esther Kim
                         510 Glenside Lane
                         Powell, OH 43065


                         Eunjoo Kim
                         3157 Heather Meadow Pl
                         Hilliard, OH 43026


                         Jinsub Kim
                         33017 Springside Ln
                         Solon, OH 44139


                         Narith Kim
                         799 GRAYLOCK CT
                         GALLOWAY, OH 43119


                         Thomas Kim
                         8653 smokey hollow drive
                         Lewis Center, OH 43035


                         Nancy Kimmel
                         10035 Parmalee Dr
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1680 of 1944
                         Rachel Kincaid
                         126 Edgefield Drive
                         Cleves, OH 45002


                         Alan King
                         1613 Carrol Court
                         Lebanon, OH 45036


                         Allison King
                         116 MOUNT NEBO RD
                         CLEVES, OH 45002


                         Amanda King
                         7569 Bendleton Dr.
                         Hudson, OH 44236


                         Bobbie King
                         7403 Wesselman Road
                         Cleves, OH 45002


                         Carmelita King
                         977 tradewinds cove
                         painesville, OH 44077


                         Deanna King
                         44143 Russia Rd
                         Elyria, OH 44035


                         Dorothy King
                         525 South Abbe M8
                         Elyria, OH 44035


                         Linda King
                         7840 Wilderness Dr
                         Mentor, OH 44060-7142


                         Rick King
                         4948 13TH SW
                         CANTON, OH 44710


                         Stacy King
                         801 s clay st
                         Troy, OH 45373




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1681 of 1944
                         Kings Jr. HS
                         5620 Columbia Road
                         Kings Mills, OH 45034


                         Allison Kingsley
                         4696 BRITTONHURST DR
                         HILLIARD, OH 43026


                         Gary Kinney
                         8259 Faller Rd
                         Maineville, OH 45039


                         Denise Kintop
                         5681 Birdie Ln
                         Mentor, OH 44060


                         Dave Kinzel
                         7446 Highwood Way
                         Hudson, OH 44236


                         Kacy Kirby
                         324 E. Auburn Avenue
                         Bellefontaine, OH 43311


                         SUZANNE KIRCHNER
                         30 N. Westhaven Dr.
                         Hudson, OH 44236


                         Sherri Kirk
                         755 Military Drive
                         Galloway, OH 43119


                         Bruce Kirkbride
                         1314 41st. St. NW
                         Canton, OH 44709


                         Sandra Kirkpatrick
                         509 Cooper avenue
                         Bellefontaine, OH 43311


                         Linda Kirkwood
                         5103Rockport Cove
                         Stow, OH 44224




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1682 of 1944
                         Alan Kirsh
                         12095 Burlington Glen Dr
                         Chardon, OH 44024


                         Jacki Kirtley
                         433 S Dorset Rd
                         Troy, OH 45373


                         Michelle Kiser
                         1317 Gettysburg Dr
                         Maumee, OH 43537


                         Sam Kish
                         9065 Johnnycake Ridge Rd
                         Mentor, OH 44060


                         Monica Kisley
                         10480 Locust Grove
                         Chradon, OH 44024


                         Jonna Kisor
                         3137 Sullivant Ave
                         Columbus, OH 43204


                         Jeffrey Kissinger
                         9485 Glen Drive
                         Brecksville, OH 44141


                         Abby Kitay
                         33240 coachman lane
                         solon, OH 44139


                         Catherine Kitchen
                         8411 Military Ct.
                         Galloway, OH 43119


                         Stacy Kitchen
                         1191 Swailes Rd.
                         Troy, OH 45373


                         Tamara Kitko
                         12165 Waterfowl Lane
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1683 of 1944
                         Sarah Klausing
                         306 W Barrington Dr
                         Chardon, OH 44024


                         Sharon Klausing
                         14901 County Road 109
                         Van Buren, OH 45889


                         Casey Kleckner
                         9007 White Oak Drive
                         Twinsburg, OH 44087


                         Danielle Klein
                         11801 Christian Ave
                         Concord, OH 44077


                         Jennifer Klein
                         836 Ridgewood Blvd
                         Hudson, OH 44236


                         Jennifer Klein
                         9341 Trillium lane
                         Mentor, OH 44060


                         Kerri Klein
                         7712 Callow Rd
                         Painesville, OH 44077


                         Melisa Klein
                         9956 Johnnycake Ridge Rd Unit E-10
                         Concord, OH 44077


                         Rebecca Kleinhenz
                         100 Swailes Road
                         Troy, OH 45373


                         Chad Klemens
                         2557 Brunswick Ln
                         Hudson, OH 44236


                         Amy Kline
                         5951 Stow Road
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1684 of 1944
                         Heather Kline-Ruminski
                         11380 Mourning Dove
                         Concord, OH 44077


                         Staci Kling
                         8200 Ripley road
                         North Royalton, OH 44133


                         Debra Klocker
                         12882 Heath Road
                         Chesterland, OH 44026


                         Jolee Klugherz
                         6683 Winston Lane
                         Solon, OH 44139


                         Lisa Knapp
                         228 Hideaway Ct.
                         Powell, OH 43065


                         Jenny Knarr
                         7657 Squirrel Creek
                         Cincinnati, OH 45247


                         Michele Kneisel
                         1167 Waldo Way
                         Twinsburg, OH 44087


                         Misty Knepp
                         5649 Londonairy Blvd
                         Hudson, OH 44236


                         Roman Kniahynyckyj
                         4870 Oak Hill Blvd.
                         Lorain, OH 44053


                         Danielle Knight
                         8371 Hermitage Rd
                         Painesville, OH 44077


                         Heather Knisley
                         116 S. Short St.
                         Troy, OH 45373




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1685 of 1944
                         Melissa Knodel
                         7474 Hill Gail Ct
                         Lewis Center, OH 43035


                         LINDA KOBIE
                         868 W RIVER RD N
                         ELYRIA, OH 44035


                         Nicole Kochensparger
                         324 Laurel Ave
                         Port Clinton, OH 43452


                         Amie Kocher
                         9624 Old Village Drive
                         Loveland, OH 45140


                         Kristin Koczan
                         7383 Dahlia Dr
                         Mentor, OH 44060


                         Erin Koehler
                         573 Deerwood Ct
                         Painesville, OH 44077


                         Rachelle Koehnke
                         2140 Township Road 232
                         Van Buren, OH 45889


                         Stacey Koelsch
                         PO BOX 1134
                         Hudson, OH 44236


                         Ellen Koenig
                         9659 Country Trail
                         Loveland, OH 45140


                         Michelle Koenig
                         11454 Viceroy St.
                         Painesville, OH 44077


                         Emily Kolakowski
                         2384 Murphy Ln W
                         Troy, OH 45373




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1686 of 1944
                         Karen Kolar
                         4411 Sir John Ave
                         North Royalton, OH 44133


                         Kristen Kolar
                         2297 Kate Cir
                         Hudson, OH 44236


                         Tim Kolek
                         9775 Ridgeview Trail
                         Mentor, OH 44060


                         Laurie Kolenz
                         440 Carrington Lane
                         Broadview Heights, OH 44147


                         John Koll
                         11180 Somerset Drive Apt 256
                         North Royalton, OH 44133


                         Thaddeus Kollar
                         2591 Bridgeton Dr.
                         Hudson, OH 44236


                         Leslie Kolschetzky
                         6539 Carter Blvd.
                         Mentor, OH 44060


                         Rebecca Koluder
                         10515 Locust Grove Dr
                         CHARDON, OH 44024-8862


                         Dennis Komm
                         32951 CHARMWOOD OVAL
                         SOLON, OH 44139


                         DeAnna Konick
                         9516 Fairmount Rd
                         Novelty, OH 44072


                         Todd Kooken
                         37775 Flanders Dr
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1687 of 1944
                         Erica Koons
                         4637 Heather Ridge Dr
                         Hilliard, OH 43026


                         Miki Kopocs
                         13201 Darrow Rd.
                         Vermilion, OH 44089


                         Christine Koprowski
                         11381 Villa Grande Dr.
                         N Royalton, OH 44133


                         Christopher Korff
                         107 Cheshire Road
                         HUDSON, OH 44236


                         Eric Korley
                         3069 Rainier Avenue
                         Columbus, OH 43231


                         Lisa Kornspan
                         25227 Duffield Rd.
                         Beachwood, OH 44122


                         Tiffany Kort
                         2244 Times Ave SW
                         Canton, OH 44706


                         Susanne Kortan
                         15070 Waterford Dr
                         North Royalton, OH 44133


                         Marianne Kosa
                         5930 Eastham Way
                         Hudson, OH 44236


                         Mindy Kosir
                         11275 Woodie Glen Drive
                         Chardon, OH 44024


                         Lisa Koski
                         6507 Creekside Trail
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1688 of 1944
                         Jennifer Kostik
                         910 Bates Rd.
                         Rocky River, OH 44116


                         Letvia Kotchkoski
                         8108 Orange Station Loop
                         Lewis Center, OH 43035


                         Angela Kotek
                         10614 Cutty Sark Dr
                         Chardon, OH 44024


                         Wendy Kotnik
                         8334 Windsong Trail
                         Concord Township, OH 44077


                         Katie Kovac
                         4505 10th St NW
                         Canton, OH 44708


                         Shelley Kovach
                         911 Douglas St
                         Vermilion, OH 44089


                         Michelle Kovacs
                         685 Sedgwick Way
                         Troy, OH 45373


                         Kristy Kovalak
                         112 Larchwood Dr
                         Painesville, OH 44077


                         Kristy Kovalak
                         1341 Hamilton Dr
                         Broadview Hts, OH 44147


                         Michael Kovalak
                         9402 Euclid Chardon Road
                         Kirtland, OH 44094


                         Callene Kovats
                         11100 Courtney Ct
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1689 of 1944
                         Michael Kowalski
                         942 Salem Ave
                         Elyria, OH 44035


                         Keith Kozak
                         10283 Clipper Cove
                         Aurora, OH 44202


                         Milan Kozul
                         3234 Fallen Brook Ln
                         Brunswick, OH 44212


                         Michelle Kraft
                         6042 Morganwood Square
                         Hilliard, OH 43026


                         Dina Krakora
                         11430 Linden Way
                         Chardon, OH 44024


                         Heather Kramer
                         15695 Chillicothe Rd
                         Chagrin Falls, OH 44022


                         Michelle Kramer
                         5002 Lake forest dr
                         Peninsula, OH 44264


                         Patrick Kramer
                         9079 Hidden Glen Drive
                         Mentor, OH 44060


                         Michele Krampitz
                         3640 Archwood Drive
                         Rocky River, OH 44116


                         Sterrin Kraska
                         10165 Candlestick Lane
                         Concord Township, OH 44077


                         Amy Kraus
                         4626 15th St SW
                         Canton, OH 44710




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1690 of 1944
                         Barak Kraus
                         5763 Reserve Ln
                         Hudson, OH 44236


                         Brian Kraus
                         160 Bersham Drive
                         Hudson, OH 44236


                         John Krause
                         19131 Tanglewood Dr
                         North Royalton, OH 44133


                         Aimee Kremser
                         2254 Jesse Dr.
                         Hudson, OH 44236


                         Rainie Krenn
                         3500 adaline drive
                         Stow, OH 44224


                         Stacy Kresic
                         7321 Hunters Tr
                         Concord, OH 44077


                         Elisa Kretschman
                         11300 Pine Acres Ln
                         Chesterland, OH 44026


                         Danielle Krider
                         508 w.
                         W. Main St., OH 45858


                         Kym Krimmel
                         372 Far Hill dr
                         Charodn, OH 44024


                         Nicole Krish
                         2334 Valley View Dr
                         Rocky River, OH 44116


                         Subha Krishnamoorthy
                         28974 North Village Lane
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1691 of 1944
                         Amy Krissinger
                         32287 Hamilton Court Apt 203
                         Solon, OH 44139


                         Wess Kroll
                         7383 Windsor Meadow Dr
                         Maineville, OH 45039


                         Allison Kronenfeld
                         36425 Churchill Dr
                         SOLON, OH 44139


                         Renee Kroto
                         8127 Butler Hill Drive
                         Concord Twp., OH 44077


                         Allison Krueger
                         37159 Deer Run
                         Solon, OH 44139


                         Mark Krueger
                         6767 camelot dr
                         mentor, OH 44060


                         Stephanie Krummel
                         6089 Broadwell Ct
                         Galloway, OH 43119


                         Todd Kruse
                         38 Ridgecrest Drive
                         Chagrin Falls, OH 44022


                         Donajean Kubacki
                         11501 Hunt Road
                         Huntsburg, OH 44046


                         Jennifer Kubinski
                         52 Trumbull Drive
                         Hudson, OH 44236


                         Michelle Kuch
                         6085 Iroquois Trail
                         Mentor on the Lake, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1692 of 1944
                         Elaine Kuhl
                         10340 Mayfield Road
                         Chesterland, OH 44026


                         Amy Kuhn
                         517 Hillcrest Drive
                         Bellefontaine, OH 43311


                         Jamie Kuhn
                         3374 Brendan Drive
                         Columbus, OH 43221


                         Kristi Kuhnle
                         12105 Pheasant Ct
                         Chardon, OH 44024


                         PRAVEEN KUMAR
                         7978 Crescent Drive
                         Lewis Center, OH 43035


                         Brian Kuminkoski
                         1322 Atterbury dr
                         Macedonia, OH 45056


                         Enrique Kundla
                         3467 Vintage Woods Dr
                         Hilliard, OH 43026


                         Kelly Kundla
                         2316 croydon rd
                         twinsburg, OH 44087


                         Monique Kundtz
                         7715 Chillicothe Rd
                         Mentor, OH 44060


                         Rachael Kunkel
                         33103 Cromwell Drive
                         Solon, OH 44139


                         Gina Kupczyk
                         4618 Boston Road
                         Brecksville, OH 44141




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1693 of 1944
                         Tomoko Kuramoto
                         2369 Meadowpoint Drive Apt D
                         Troy, OH 45373


                         Anthony Kurz
                         7229 Camargowoods Dr
                         Cincinnati, OH 45243


                         Jeffrey Kurzawa
                         7395 Portage Street
                         Solon, OH 44139


                         Sally Kuss
                         6943 hunting hollow lane east
                         Hudson, OH 44236


                         Mary Kutchin
                         5346 Port Chester Drive
                         Hudson, OH 44236


                         De Anna Kuzma
                         620 Kaspar
                         Port Clinton, OH 43452


                         Andrea Kwan
                         14150 Caves Rd
                         Novelty, OH 44072


                         Deanna Kwiatkowski
                         609 Orchard View Drive
                         Maumee, OH 43537


                         ALLAN KWIZERA
                         8723 Arrowtip Lane
                         Lewis Center, OH 43035


                         Megan Kyser
                         666 Lucille Drive
                         Elyria, OH 44035


                         Angela Laanani
                         5807 Chanwick Drive
                         Galloway, OH 43119




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1694 of 1944
                         Susan LaChapelle
                         1013 W Wayne St.
                         Maumee, OH 43537


                         AMIL LADADWA
                         11989 FIREFLY DR
                         NORTH ROYALTON, OH 44133


                         Jill Lagerstedt
                         11530 Riding Trail
                         Painesville, OH 44077


                         BETHANY LAGROTTERIA
                         221 PINEHURST AVE
                         ELYRIA, OH 44035


                         Sarah Lahmann
                         422 VINNEDGE ave
                         FAIRFIELD, OH 45014


                         Brian Laird
                         6354 Carolyn Dr
                         Mentor, OH 44060


                         Lake Business Products
                         37200 Research Drive
                         Eastlake, OH 44095


                         Jennifer Lakes
                         8240 Deepwood Blvd #14
                         Mentor, OH 44060


                         Jose Lalama
                         5765 Parkside Crossing
                         DUBLIN, OH 43016


                         Amber Lally
                         2706 boron st
                         Massillon, OH 44646


                         Elizabeth Lally
                         6600 Brookland Avenue
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1695 of 1944
                         Lynn Lally
                         3432 Middle Post Lane
                         Rocky River, OH 44116


                         David Lam
                         12803 Kingston Way
                         North Royalton, OH 44133


                         Danielle LaMadeleine
                         121 Maple Ave
                         Chardon, OH 44024


                         Heather LaManna
                         9958 aspen court
                         concord, OH 44060


                         Jillian Lamb
                         439 morrow rd 114
                         South Lebanon, OH 45065


                         Kelly Lambrych
                         4408 Swenson St
                         Hilliard, OH 43026


                         Jill Lammi
                         6990 Roespark Blvd
                         Lewis Center, OH 43035


                         Lamuth MS
                         6700 Auburn Road
                         Painesville, OH 44077


                         Sarah Lance
                         728 Delverne Ave sw
                         canton, OH 44710


                         Tonya Landgraf
                         919 Balboa Ct
                         Painesville, OH 44077


                         Laurie Landies
                         108 Allynd Blvd
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1696 of 1944
                         Michael Landsberg
                         4259 Rowanne Rd
                         Columbus, OH 43214


                         Michael Lanese
                         25350 Briardale avenue
                         Euclid, OH 44132


                         Sarah Lang
                         19530 Argyle Oval
                         Rocky River, OH 44116


                         Patrick Lange
                         3725 Chrisfield Drive
                         Rocky River, OH 44116


                         Tom Lange
                         7356 Pickway Drive
                         Cincinnati, OH 45233


                         William Lange
                         279 Hayer Drive
                         Painesville, OH 44077


                         Adam Langham
                         5832 South st
                         Vermilion, OH 44089


                         Mark Langlois
                         251 Copperfield ct
                         Painesville, OH 44077


                         Brian Langlotz
                         10296 Mayfield Rd
                         Chesterland, OH 44026


                         Langston MS
                         150 North Pleasant Street
                         Oberlin, OH 44074


                         Katie Lanham
                         8162 Jordan Ridge Drive
                         Cleves, OH 45002




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1697 of 1944
                         Ronald Lanham
                         5410 Wilshire Park Dr
                         Hudson, OH 44236


                         Elizabeth Lanning
                         75 cedar glen dr
                         painesville, OH 44077


                         Melissa Lanza
                         9795 Burton Drive
                         Twinsburg, OH 44087


                         Brian Lapikas
                         24 David Ave NE
                         Massillon, OH 44646


                         KERRY LAPKA
                         12807 Darrow Road
                         vermilion, OH 44089


                         Denise Larbes
                         385 Blackburn Ave.
                         Fairfield, OH 45014


                         Andrea Larick
                         8267 Hemingway Lane
                         Mentor, OH 44060


                         Bianca Lark
                         10459 Woodchuck Ct
                         Twinsburg, OH 44087


                         Richard Larouere
                         6269 highland meadows dr
                         medina, OH 44256


                         Soledad Larry
                         4668 anderson road
                         South Euclid, OH 44121


                         Anne Larsen
                         62 Lake Forest dr
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1698 of 1944
                         Jeanette Larsen
                         1114 Hunt St
                         Maumee, OH 43537


                         Monica Larsen
                         1521 Royal Oak Drive
                         Lewis Center, OH 43035


                         Nicole Lascko
                         8261 Royalton Rd
                         North Royalton, OH 44133


                         Katie LaScola
                         242 Olive Street
                         Elyria, OH 44035


                         Sarah Lasko
                         7594 Greenthorn Dr
                         Hudson, OH 44236


                         Kristi Laslo
                         6227 Kingview Dr.
                         Hilliard, OH 43026


                         Peter Laszlo
                         11237 Worthington Way
                         North Royalton, OH 44133


                         Julie Lather
                         1736 Cottonwood Drive
                         Lewis Center, OH 43035


                         Zachary Latimer
                         1183 Township Road 190 E
                         Bellefontaine, OH 43311


                         Whitney Latour
                         3328 McGuffey rd
                         Columbus, OH 43224


                         Heather Lauderback
                         7511 Tall Pine Dr
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1699 of 1944
                         Jennifer Laughlin
                         7350 Connie Dr.
                         Mentor, OH 44060


                         Joey Laughman
                         1565 Saratoga Drive
                         Troy, OH 45373


                         Andy Laurel
                         1483 E. Lockwood Rd.
                         Port Clinton, OH 43452


                         Matthew Laurich
                         6674 Edgemoor Avenue
                         Solon, OH 44139


                         Jamie Lautenschlager
                         514 w. Main St.
                         Troy, OH 45373


                         Jill Laverdiere
                         3106 Willowbrook Dr
                         Reminderville, OH 44202


                         Cynthia Lavo
                         15055 Bates Creek Drive
                         Chardon, OH 44024


                         Richard Lavoie
                         7165 Colesbrooke Drive
                         Hudson, OH 44236


                         Melinda Lawhead
                         5806 Clover Groff Drive
                         Hilliard, OH 43026


                         Dennis Lawler
                         89 Division St
                         Hudson, OH 44236


                         Cathleen Lawlor
                         5950 Liberty Road
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1700 of 1944
                         Kimberly Lawrence
                         1204 central ave
                         Sandusky, OH 44870


                         Stephanie Lawrence
                         3703 Kilkenny Dr
                         Columbus, OH 43221


                         William Lawrence
                         7301 Windsor Park Dr.
                         Maineville, OH 45039


                         Meghan Laws
                         826 Sun Ridge Lane
                         Chagrin Falls, OH 44022


                         Brian Lawson
                         5368 tallawanda dr
                         fairfield, OH 45014


                         Laura Lazzaro
                         1201 Woodside Drive
                         Rocky River, OH 44116


                         Grace Leach
                         7901 Wildwood drive
                         Mentor, OH 44060


                         Sarah Leach
                         5186 Driftwood Dr.
                         Vermilion, OH 44089


                         Stephanie Leach
                         5671 Preston Woods Rd
                         Columbus, OH 43235


                         Amy Leacock
                         2513 Punderson Dr.
                         Hilliard, OH 43026


                         Ellen Leamon
                         3849 East Surrey Ct.
                         Rocky River, OH 44116




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1701 of 1944
                         Gina Lear
                         528 Hartford drive
                         Elyria, OH 44035


                         Michelle Leatherman
                         113 North Stanley Street
                         Bellefontaine, OH 43311


                         Molly LeBel
                         7880 Pinehill Road
                         Lewis Center, OH 43035


                         Shelly Leck
                         10951 Burlington Ridge Dr.
                         Chardon, OH 44024


                         Linn Leclair
                         1910 lakeview ave
                         rocky river, OH 44116


                         Chrishone LEE
                         5252 Copper Creek Drive
                         DUBLIN, OH 43016


                         CHRISTINE LEE
                         2804 RICHMOND RD
                         BEACHWOOD, OH 44122


                         Christine Lee
                         305 Stewart Ave NW
                         Massillon, OH 44646


                         Craig Lee
                         5920 PORTSIDE DR
                         HILLIARD, OH 43026


                         Holly Lee
                         8072 Rainbow Drive
                         Concord, OH 44077


                         Jessica Lee
                         11825 Wellesley Lane
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1702 of 1944
                         Jong Lee
                         5732 Stockton Way
                         Dublin, OH 43016


                         Mija Lee
                         5691 Nicholson dr
                         Hudson, OH 44236


                         Andi Leesburg
                         2552 Punderson Drive
                         Hilliard, OH 43026


                         Eric Lefebvre
                         7335 Iuka Ave
                         Madeira, OH 45243


                         Kelly Lehmkuhl
                         6642 Buttonbush Ct
                         Hilliard, OH 43026


                         Andrew Lehner
                         803 Outrigger Cove
                         Painesville, OH 44077


                         Mary Leibold
                         166 Lakeview Lane
                         South Russell, OH 44022


                         Jennifer Leigey
                         8253 Winthrop Ct
                         Mentor, OH 44060


                         Kathleen Leigh
                         82 E Streetsboro St
                         Hudson, OH 44236


                         Lisa Leighton
                         7183 Jonathan Drive
                         Hudson, OH 44236


                         Dawn Leko
                         7032 kingswood drive
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1703 of 1944
                         Laura Lekson
                         7276 Waterfowl Way
                         Concord, OH 44077


                         Vincent Lemle
                         5597 Cabot Cove Dr
                         Hilliard, OH 43026


                         Joshua Lemr
                         9726 Martinique Dr.
                         Mentor, OH 44060


                         Sherry Lenehan
                         5331 River Rd.
                         Fairfield, OH 45014


                         Julie Lenhart
                         204 Miami Ave
                         Bellefontaine, OH 43311


                         Aimee Lennerth
                         3839 Nautilus Trail
                         Reminderville, OH 44202


                         Leslie Lenney
                         5729 Walnut St
                         Kings Mills, OH 45034


                         Michelle Leo
                         3990 Wiltshire Road
                         North Royalton, OH 44133


                         Jennifer Leopold
                         850 Tappan Circle Vermilion
                         Vermilion, OH 44089


                         Mark Leopold
                         138 Lee Road
                         Painesville Twp, OH 44077


                         Christy Leow
                         924 Madison St
                         Port Clinton, OH 43452




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1704 of 1944
                         Kim Lesko
                         1054 Rosealee Ave
                         Elyria, OH 44035


                         Stephanie Lessick
                         9500 Tanager Dr.
                         Chardon, OH 44024


                         LeAnne Letany
                         72 Meadowview Ct.
                         Fairfield, OH 45014


                         Cathy Letterio
                         10629 Buckingham Pl
                         Painesville, OH 44077


                         Amy LeVan
                         1010 Dellwood Drive
                         Troy, OH 45373


                         Megann LeVan
                         649 Cooper Ave.
                         Bellefontaine, OH 43311


                         Abigail Levi
                         136 Ravine Rd.
                         Powell, OH 43065


                         Peter Levites
                         5136 Pebble Lane
                         Columbus, OH 43220


                         Kelley Levy
                         1890 Middleton Rd.
                         Hudson, OH 44236


                         Susan Levy
                         38505 Mcdowell Dr
                         solon, OH 44139


                         Amy Lewis
                         5908 Saucony Drive
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1705 of 1944
                         Cassandra Lewis
                         22134 River Oaks Drive apt 2c
                         Rocky River, OH 44116


                         Catalina Lewis
                         640 Georgetown ave.
                         ElyriaElyria, OH 44035


                         Jessica Lewis
                         7757 Emmanuel Drive
                         Lewis Center, OH 43035


                         Joanna Lewis
                         14741 Hitching Post Ln
                         Novelty, OH 44072


                         Kara Lewis
                         7579 Berks Way
                         Hudson, OH 44236


                         Karen Lewis
                         8695 Royale Oak Ct
                         Mentor, OH 44060


                         KRISTEN LEWIS
                         6041 DRENTA CIR SW
                         NAVARRE, OH 44662


                         Lora Lewis
                         23671 Letchworth Road
                         Beachwood, OH 44122


                         Paul Lewis
                         6955 Richmond Rd
                         Solon, OH 44139


                         Sarita Lewis
                         1943 Fowl Road C11
                         Elyria, OH 44035


                         Stoney Lewis
                         5357 sunlight ct
                         Dublin, OH 43016




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1706 of 1944
                         David Lex
                         163 N. Hayden Pkwy
                         Hudson, OH 44236


                         Rebecca Leydon
                         32 King St.
                         Oberlin, OH 44074


                         David Leyva
                         350 Washington Cir.
                         Oberlin, OH 44074


                         Deborah Li
                         7219 Winchester Dr.
                         Solon, OH 44139


                         Hua Li
                         35980 Michael Drive
                         Solon, OH 44139


                         Jianbo Li
                         5334 Denise CT
                         Solon, OH 44139


                         Qing Liang
                         2174 Weston Dr.
                         Hudson, OH 44236


                         Haijiao Liao
                         6573 Forest Glen Ave.
                         Solon, OH 44139


                         Amy Libby
                         359 W. Streetsboro Street
                         Hudson, OH 44236


                         Leigha Libecap
                         1325 S.Clay St
                         Troy, OH 45373


                         Edward Libens
                         22375 Sunnyhill Drive
                         Rocky River, OH 44116




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1707 of 1944
                         Laura Licek
                         318 Bucknell Court
                         Broadview Heights, OH 44147


                         Mui Lie
                         13841 Oakbrook dr. #206
                         North Royalton, OH 44133


                         Stephen Lieber
                         37105 Deer Run
                         Solon, OH 44139


                         Aimee Liebert
                         7830 Thomas Drive
                         Madeira, OH 45243


                         Karlyn Liebhardt
                         9090 oakstone trail
                         chardon, OH 44024


                         Joanna Liedel
                         2366 Woodacre Dr.
                         Hudson, OH 44236


                         Tammy Lieu
                         10296 smugglers cove
                         Aurora, OH 44202


                         John Lifford
                         8875 Mulberry Rd
                         Chesterland, OH 44026


                         Joshua Lightle
                         915 rush avenue
                         Bellefontaine, OH 43311


                         Michael Likovetz
                         333 Oldham Way
                         Hudson, OH 44236


                         Tracy Limbert
                         93 East Case Drive
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1708 of 1944
                         YanBing Lin
                         98 South settlers Ln.
                         Painesville, OH 44077


                         Joe Linahan
                         8729 Landen Drive
                         Maineville, OH 45039


                         Tom Lindberg
                         3232 Crownpoint St NW
                         Massillon, OH 44646


                         Melissa Lindley
                         5784 Timberline Trail
                         Hudson, OH 44236


                         Jeri Lindner
                         6620 River Road
                         Fairfield, OH 45014


                         Haritha Lingichetty
                         1821 little bear loop
                         lewis center, OH 43035


                         JILL LINGO
                         6065 Havenwood Ct.
                         Hamilton, OH 45011


                         Lori Lingo
                         1940 N Ridge Rd
                         Painesville, OH 44077


                         Karla Lining
                         5965 South Shandle Blvd.
                         Mentor, OH 44060


                         Brian Link
                         4811 Willowbrook drive
                         Mentor, OH 44060


                         Ed Link
                         5673 Marine Parkway
                         Mentor on the Lake, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1709 of 1944
                         Annemarie Linnert
                         8068 Rainbow Dr.
                         Concord, OH 44077


                         Stacey Lipchek
                         3531 Hawthorne trail
                         broadview Heights, OH 44147


                         Jessica Lippoli
                         1272 Deer Lake Court
                         Columbus, OH 43204


                         Cheryl Liptak
                         3060 Bear Oval
                         North Royalton, OH 44133


                         Jason Lisy
                         9601 Brayes Manor Dr
                         Mentor, OH 44060


                         Blossom Litteken
                         6455 Taylor Trace Lane
                         Hamilton, OH 45011


                         Andrea Littlejohn
                         1195 Longwood dr
                         Troy, OH 45373


                         Bo Liu
                         38963 Glenlivet CT
                         solon, OH 44139


                         Hongyan Liu
                         5360 Wilshire Park Drive
                         Hudson, OH 44236


                         Qin Liu
                         790 Patriot Ct
                         Hudson, OH 44236


                         Todd Livengood
                         10430 Locust Grove Dr
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1710 of 1944
                         Amarda Llanaj
                         22449 Lake Rd. Apt.305f
                         Rocky River, OH 44116


                         Shawn Lloyd
                         564 N. Park St.
                         Bellefontaine, OH 43311


                         Jessie Lobaza
                         10281 Foxwood Dr.
                         North Royalton, OH 44133


                         Charles LoBello
                         13831 Rustic Dr
                         North Royalton, OH 44133


                         Brandon Loboschefski
                         1330 Old Trail Rd
                         Maumee, OH 43537


                         Cynthia Lockemer
                         3271 Darien Ln
                         Twinsburg, OH 44087


                         Rhonda Lockett
                         32500 Monroe Court # 102
                         Solon, OH 44139


                         Michele Lockhart
                         5204 13th st sw
                         Canton, OH 44710


                         Nelly Lockhart
                         9844 Old Johnnycake Ridge Road
                         Mentor, OH 44060


                         George Locklear
                         44863 Parsons Rd.
                         Oberlin, OH 44074


                         Karen Lockman
                         6533 copley avenue
                         solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1711 of 1944
                         Sharon Lockman
                         32935 Charmwood Oval
                         Solon, OH 44139


                         Gina Lococo
                         10901 Bridle Trail
                         Chardon, OH 44024


                         Lisa LoConti
                         8140 Mount Royal Drive
                         Concord, OH 44077


                         Deborah Lodewyck
                         3270 Myrtle Dr.
                         Loveland, OH 45140


                         Samantha LoDuca
                         7630 Brainard Ct
                         Mentor, OH 44060


                         Tia Loduca
                         12010 sperry rd.
                         chesterland, OH 44026


                         Melissa Loera
                         261 Elberta Drive
                         Vermilion, OH 44089


                         John Logan
                         4612 Barbie Ave SW
                         Massillon, OH 44646


                         Ante Logarusic
                         897 Pebble Beach Cove
                         Painesville Twp, OH 44077


                         Erin Logsdon
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                         Columbus, OH 43202


                         Rebecca Logston
                         6740 Duneden Avenue
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1712 of 1944
                         Jonathan Logue
                         365 Edison Dr
                         Vermilion, OH 44089


                         VERA LOGVYNETS
                         1742 Wagar Rd #211
                         Rocky River, OH 44116


                         Brent Lohr
                         10425 Barchester Dr.
                         Concord Twp., OH 44077-2262


                         Stacy Loizos
                         21755 Lake rd
                         Rocky River, OH 44116


                         Robyn Lojek
                         6231 Tina Dr
                         Mentor, OH 44060


                         Lisa Lombardo
                         10224 Wilson Mills Rd
                         Chardon, OH 44024


                         Nancy London
                         46984 W. Hamilton St
                         Oberlin, OH 44074


                         Clarice Long
                         4436 Akins Rd
                         North Royalton, OH 44133


                         Debra Long
                         6700 Auburn Rd.
                         Painesville, OH 44077


                         Lisa Long
                         1872 Dooridge Drive Dooridge
                         Twinsburg, OH 44087


                         Lorrie Long
                         217 Stone Ridge Blvd.
                         South Lebanon, OH 45065




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1713 of 1944
                         Tammy Long
                         135 Saratoga Ave SW
                         Canton, OH 44710


                         Rondallyn Longley
                         2891 Bold Venture Dr.
                         Lewis Center, OH 43035


                         Jennifer Longo
                         116 Walnut Street
                         Chagrin Falls, OH 44022


                         Jennifer Looks
                         615 Woodside Avenue
                         Vermilion, OH 44089


                         Juana Lopez
                         3109 lynch st sw
                         Massillon, OH 44646


                         Lissa Lopez
                         317 Longfellow St.
                         Elyria, OH 44035


                         Maria Lopez
                         141 Westland ave nw
                         Massillon, OH 44646


                         Maria Lopez
                         447 Windamere ave nw
                         Massillon, OH 44646


                         Norma Lopez
                         5579 Farmhouse ln
                         Hilliard, OH 43026


                         Steven Lopez
                         1089 Sedgwick Court
                         Columbus, OH 43235


                         Valerie Lopez
                         2725 Blue Heron Drive
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1714 of 1944
                         Chena Lord
                         1030 Citadel Ave NW
                         Massillon, OH 44646


                         Christine Loretan
                         884 Ridgewood Blvd.
                         Hudson, OH 44236


                         Elisa Loring
                         7674 bergen court
                         hudson, OH 44236


                         Donna Losiewicz
                         15405 Bent Tree Drive
                         Findlay, OH 45840


                         Latika Lott
                         6480 Zoellners Place
                         Hamilton, OH 45011


                         Tina Lotts
                         316 East Brown Avenue
                         BELLEFONTAINE, OH 43311


                         Chris Loucks
                         6232 richville drive sw
                         Navarre, OH 44662


                         Kelley Love
                         651 Rothmoore
                         Galloway, OH 43119


                         Tracy Love
                         27255 Tinkers Valley Dr
                         Solon, OH 44139


                         Paul Lovell
                         3242 Springview Dr
                         Hamilton, OH 45011


                         Pete Lowe
                         2831 Bold Venture Dr
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1715 of 1944
                         Aimee Lowrance
                         4221 Chatsworth Dr.
                         Mason, OH 45040


                         Charles Loy
                         1800 barnhart rd
                         troy, OH 45373


                         Michelle Lozina
                         82 Sussex Rd
                         Hudson, OH 44236


                         Amy Lucas
                         2406 Highland Court
                         Troy, OH 45373


                         Kim Lucas
                         8752 Cliffwood Ct
                         Mentor, OH 44060


                         Linnea Lucas
                         414 Peppertree Lane
                         Painesville, OH 44077


                         Lori Lucas
                         322 Olentangy Meadows Drive
                         Lewis Center, OH 43035


                         Nicole Lucas
                         2574 Brooklyn ave sw
                         Canton, OH 44706


                         Wayne Lucas
                         1641 cedarcrest ave s.w.
                         massillon, OH 44646


                         Jacquelyn Luczywo
                         180 Salt Creek Run
                         Peninsula, OH 44264


                         Penny Luda
                         8216 Edgerton Rd
                         North Royalton, OH 44133




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1716 of 1944
                         Tami Ludewig
                         7050 Kate Dr.
                         Hudson, OH 44236


                         Christopher Ludwig
                         8624 Ravenna Road
                         Chardon, OH 44024


                         Jeff Lugar
                         113 Lafayette St
                         Elyria, OH 44035


                         Monica Lujan
                         8082 Mayfield Rd
                         Chesterland, OH 44026


                         Cari Lukcso
                         3485 Nautilus Trail
                         Reminderville, OH 44202


                         Bonnie Luker
                         5851 Brewster Dr.
                         Hudson, OH 44236


                         Tara Luling
                         7929 Pinehill Road
                         Lewis Center, OH 43035


                         Heather Lulow
                         6968 Auburn RD
                         Concord, OH 44077


                         Natasha Luma
                         616 Laurel Avenue
                         Port Clinton, OH 43452


                         Julie Lundin
                         22790 Laramie Dr.
                         Rocky River, OH 44116


                         Krista Lung
                         2378 Omaha Pl
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1717 of 1944
                         Doan Luong
                         3607 Hoskins Circle
                         Fairfield, OH 45011


                         Angelique Luptak
                         9956 Johnnycake Ridge Rd. E5
                         Concord Twp, OH 44077


                         Brian Lutes
                         7901 Locust Lane
                         Cincinnati, OH 45243


                         Karen Luther
                         7410 Madeira Pines Dr
                         Madeira, OH 45243


                         Tammy Lutterbie
                         3741 Winter Hill Drive
                         Hamilton, OH 45011


                         Amy Luttrell
                         6526 Vonnie Vale Ct
                         Hamilton, OH 45011


                         Kristin Lutzke
                         6041 Nature View Ct
                         Painesville, OH 44077


                         VICKY LUVISON
                         8331 Sheltered Cove
                         Mentor, OH 44060


                         MItch Luxenburg
                         2166 Lyndway Road
                         Beachwood, OH 44122


                         Christine Lyden
                         2904 Alling Drive
                         Twinsburg, OH 44087


                         Caroline Lydon
                         20695 Stratford
                         Rocky River, OH 44116




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1718 of 1944
                         Brenda Lynch
                         9362 Clopton Court
                         Mentor, OH 44060


                         Douglas Lynch
                         3587 Dockside Ct.
                         Hilliard, OH 43026


                         Jill Lynch
                         7876 Wainwright Lane
                         Maineville, OH 45039


                         Margaret Lynch
                         15 DAISY LN
                         CHAGRIN FALLS, OH 44022


                         Michael Lynch
                         7930 Newell Creek
                         Mentor, OH 44060


                         Mindy Lynch
                         9663 Kelly Dr.
                         Loveland, OH 45140


                         Stacie Lynch
                         5509 Tayside Circle
                         Dublin, OH 43016


                         Stacy Lynch
                         6804 Glencairn Ct.
                         Mentor, OH 44060


                         Barry Lynn
                         7985 Sweetgum Trail
                         Mentor, OH 44060


                         Monica Lynn
                         7557 Woodland Avenue
                         Hudson, OH 44236


                         Patti Lysaght
                         8265 Jordan Ridge Drive
                         Cleves, OH 45002




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1719 of 1944
                         Casondra Lytle
                         7066 Constantine Court
                         Mentor, OH 44060


                         Jin Ma
                         5229 Wilshire Park Drive
                         Hudson, OH 44236


                         Susan Ma
                         38495 Flanders dr
                         Solon, OH 44139


                         Tetyana Maciech
                         7097 Cedar St
                         Chagrin Falls, OH 44022


                         Heather Macik
                         170 W Carriage Dr APT # 204
                         Chagrin Falls, OH 44022


                         Dannielle Mack
                         1679 Jennifer Drive Twinsburg
                         Twinsburg, OH 44087


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                         7831 Kingman Place
                         Lewis Center, OH 43035


                         Lisa MacKay
                         6484 Olde Eight Road
                         Peninsula, OH 44264


                         Tammy Macke
                         3687 Wood Trail Drive
                         Mason, OH 45040


                         Randall MacKim
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                         Massillon, OH 44646


                         Bill Madan
                         8850 Camelot Dr
                         Chesterland, OH 44026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1720 of 1944
                         Kathy Madar
                         5800 Bridgewater Blvd.
                         Hudson, OH 44236


                         Mariea Madea
                         7559 King Memorial Road
                         Mentor, OH 44060


                         Madeira MS
                         6612 Miami Avenue
                         Cincinnati, OH 45243


                         Mary Madeja
                         6405 Vrooman Rd
                         Painesville, OH 44077


                         Heather Mader
                         408 W MARKET ST
                         TROY, OH 45373-3964


                         Karl Maersch
                         100 CHURCH STREET
                         Chagrin Falls, OH 44022


                         Laurie Maersch
                         5110 Lansdowne Drive
                         Solon, OH 44139


                         Melissa Maghes
                         2855 Hudson Aurora Road
                         Hudson, OH 44236


                         Mia Mahaffee
                         8556 juniper drive
                         lewis center, OH 43035


                         Megan Maher
                         20932 Morewood Pkwy
                         Rocky River, OH 44116


                         Sara Mahon
                         4807 Slade Dr
                         Fairfield, OH 45014




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1721 of 1944
                         Amanda Mahoney
                         7405 Jeremy Avenue
                         Mentor, OH 44060


                         Litz Main
                         9539 Old Village Dr
                         Loveland, OH 45140


                         Denise Maiorana
                         38170 McDowell Drive
                         Solon, OH 44139


                         Shahina Majed
                         810 Prairie Rd
                         Galloway, OH 43119


                         Nancy MAKSOUD-WALLACE
                         7819 Maple Leaf Dr
                         Cincinnati, OH 45243


                         Kevin Malarkey
                         8640 West Point Drive
                         Galloway, OH 43119


                         Sabrina Malcolm
                         7640 Pinecrest Ln
                         Solon, OH 44139


                         Sherri Malek
                         25100 Bryden RD
                         Beachwood, OH 44122


                         Melinda Malicki
                         2670 Jameston Drive
                         Rocky River, OH 44116


                         Hanan Maliki
                         139 Meadowlands Dr. E1
                         Chardon, OH 44024


                         Nizzar Malkieh
                         12927 Hampton Club Dr Apt 103
                         North Royalton, OH 44133




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1722 of 1944
                         Kathleen Mallott
                         4376 darrow road #7
                         stow, OH 44224


                         Antonia Malnar
                         5266 corduroy road
                         mentor, OH 44060


                         Mike Malnar
                         9616 Venus dr
                         Chardon, OH 44024


                         Jennifer Malone
                         11725 Overlook Rd
                         Chardon, OH 44024


                         Annette Malott
                         2390 Seneca Drive
                         Troy, OH 45373


                         Deana Maltby
                         689 Bowhall Road
                         Painesville, OH 44077


                         Melissa Maltry
                         7817 Ellington Place
                         Mentor, OH 44060


                         Barbara Mancari
                         7696 Ellington Place
                         Mentor, OH 44060


                         Stacy Mancuso
                         6577 forest glen ave
                         solon, OH 44139


                         Melannie Maneri
                         7609 King Memorial Rd
                         Mentor, OH 44060


                         Sam Maniar
                         5208 Wilshire Park Drive
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1723 of 1944
                         Terri Mankin
                         4591 Richville Dr SW
                         Canton, OH 44706


                         Sarah Mann
                         9636 Kim Drive
                         Chesterland, OH 44026


                         AnneMarie MAnngard
                         7715 Lydia Dr
                         Lewis Center, OH 43035


                         Kelly Manning
                         6547 Willow Hollow Lane
                         Cincinnati, OH 45243


                         Laura Mantle
                         4701 Wiltshire Rd
                         North Royalton, OH 44133


                         Octavia Manuel
                         2380 Croydon Road
                         Twinsburg, OH 44087


                         Kristie Marbury
                         6618 Copley Ave
                         Solon, OH 44139


                         Elena Marcano
                         1549 Little Bear Loop
                         Lewis Center, OH 43035


                         David Marcum
                         113 north Springhill street
                         Bellefontaine, OH 43311


                         Paul Mardula
                         11800 Julie drive
                         Chardon, OH 44024


                         MICHAEL MARES
                         510 E. THIRD ST.
                         PORT CLINTON, OH 43452-3971




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1724 of 1944
                         Kelley Marginean
                         4890 Pondloop dr
                         Dublin, OH 43016


                         Enrico Mariani
                         1446 Bordner Ave SW
                         Canton, OH 44710


                         Kelly Marigney
                         37135 Deer Run
                         Son, OH 44139


                         Aaron Marinelli
                         150 Quail Hollow Drive
                         Moreland Hills, OH 44022


                         Amy Marino
                         12120 W Shiloh Drive
                         Chesterland, OH 44026


                         Melissa Marino
                         8720 Summer Wind Lane
                         Mentor, OH 44060


                         Alyssa Markell
                         9 Meadowlawn Dr #8
                         Mentor, OH 44060


                         Kristina Marker
                         9309 Brakeman Rd
                         Chardon, OH 44024


                         Stephanie Marker
                         528 Brookwood Dr
                         Bellefontaine, OH 43311


                         Neil Markey
                         113 Church Street
                         Chagrin Falls, OH 44022


                         Becky Markley
                         8324 Dartmoor Rd
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1725 of 1944
                         Hallie Markowitz
                         3426 Old Green Rd
                         Beachwood, OH 44122


                         Kelly Markowitz
                         28975 North Park Blvd
                         Solon, OH 44139


                         Todd Markowski
                         5496 Primavera Dr
                         Mentor, OH 44060


                         Dimitri Marku
                         21012 Halworth Rd
                         Beachwood, OH 44122


                         Alissa Markusic
                         655 Academy Dr
                         Galloway, OH 43119


                         Danielle Marn
                         7584 hunting lake dr
                         painesville, OH 44077


                         Kelly Maron
                         401 Greenfield lane
                         Painesville, OH 44077


                         Carrie Maronde
                         15040 Regents Way
                         chardon, OH 44024


                         Kathleen Maroon
                         3360 Delmar Drive
                         Rocky River, OH 44116


                         Marietta Marquart
                         333 Simon Road
                         Hudson, OH 44236


                         Wendy Marquez
                         946 Midway Blvd
                         Painesville, OH 44077




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1726 of 1944
                         Kara Marquis
                         1758 glenwood dr
                         twinsburg, OH 44087


                         Robert Marquis
                         1513 Saratoga Dr
                         Troy, OH 45373


                         Ryan Marquis
                         7842 Hidden Hollow Dr
                         MENTOR, OH 44060


                         Gina Marrali
                         9990 Forest Drive
                         Twinsburg, OH 44087


                         Marriott Washington Dulles
                         45020 Aviation Drive
                         Dulles, VA 20166


                         Jerald Marshall
                         131 Prentice Rd
                         Painesville, OH 44077


                         Melanie Marshall
                         7454 Andover Way
                         Hudson, OH 44236


                         Rachel Marshall
                         8035 Plains Road
                         Mentor, OH 44060


                         Robin Marshall
                         120 North Street
                         Chardon, OH 44024


                         Tara Marshall
                         1455 Hunter Ct
                         Troy, OH 45373


                         Christine Marsiglio
                         6193 Dunbar Drive
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1727 of 1944
                         Charles Martin II
                         430 Fulton Street
                         Port Clinton, OH 43452


                         Christine Martin
                         10262 Pratt Lane
                         Twinsburg, OH 44087


                         Erica Martin
                         365 Chestnut St.
                         Painesville, OH 44077


                         Heather Martin
                         3239 Rayanna St NW
                         Massillon, OH 44646-3011


                         Janelle Martin
                         5208 sara way
                         hilliard, OH 43026


                         MaryPat Martin
                         9211 Brakeman Rd.
                         Chardon, OH 44024


                         Scott Martin
                         8351 Twin Creek Ct
                         Mentor, OH 44060


                         Edgar Martinez
                         8168 Appleridge Dr.
                         Lewis Center, OH 43035


                         Jill Martinez
                         5497 North Fairway Drive
                         Port Clinton, OH 43452


                         Lori Martini
                         7591 Dog Trot Rd.
                         Cincinnati, OH 45248


                         Sharlene Marty
                         2727 Hampton Road
                         Rocky River, OH 44116




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1728 of 1944
                         Tracie Maschke
                         405 Reserve Trail
                         Chagrin Falls, OH 44022


                         Deya Mashal
                         7224 Holderman St
                         Lewis Center, OH 43035


                         Scott Masiella
                         388 Oldham Way
                         Hudson, OH 44236


                         Jennifer Masink
                         1509 Callander Dr.
                         Hudson, OH 44236


                         Carey Mason
                         8695 Old Village Ln
                         Mentor, OH 44060


                         Paul Mason
                         5635 Mapleridge Drive
                         Cincinnati, OH 45227


                         Peter Mason
                         298 Forest Edge Drive
                         South Lebanon, OH 45065


                         Margaret Massaro
                         2116 Aurora Ave.
                         Lewis Center, OH 43035


                         JESSE MASSEY
                         201 WINDSOR DR
                         ELYRIA, OH 44035


                         Kelly Massie
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                         Fairfield, OH 45014


                         Jason Massingill
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                         Troy, OH 45373




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1729 of 1944
                         Qiana Massingill
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                         Twinsburg, OH 44087


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                         8803 evergreen dr
                         Mentor, OH 44060


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                         massillon, OH 44646


                         Nicole Matanin
                         2340 Lakeview Ave
                         Rocky river, OH 44116


                         Kim Matasich
                         5064 Dresden Dr. NW
                         Canton, OH 44708


                         Karie Matejka
                         6446 Deer Haven Dr.
                         Concord, OH 44077


                         Kerry Matejka
                         1533 Clipper Cove
                         Painesville Twp., OH 44077


                         Laura Mateyo
                         90 Bishop Dr.
                         Chagrin Falls, OH 44022


                         Dale Matheny
                         8356 Finch Shelter Drive
                         Columbus, OH 43235


                         Johanna Matheny
                         5691 Pleasant Hill Dr.
                         Hilliard, OH 43026


                         Sam Mathew
                         1430 Hunting Hollow
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1730 of 1944
                         Amy Mathews
                         3261 prairie gardens ct
                         Hilliard, OH 43026


                         Denise Mathews
                         3414 River Landings Blvd.
                         Hilliard, OH 43026


                         James Mathews
                         1161 E337th st
                         Eastlake, OH 44095


                         Michelle Mathews
                         3350 Wind Song Ln
                         Twinsburg, OH 44087


                         Carolina Mathis
                         7321 Granby Drive
                         Hudson, OH 44236


                         Karen Matier
                         6712 pinebrooke
                         hudson, OH 44236


                         Lindsey Matlack
                         6568 Westpoint Dr
                         Hudson, OH 44236


                         Tiffany Matlock
                         4984 Dublin Dr
                         North Royalton, OH 44133


                         Sharon Matolka
                         7640 Hudson Park Drive
                         Hudson, OH 44236


                         Heidi Mattlin
                         7321 Shelford Dr
                         Solon, OH 44139


                         Diana Mattson
                         3670 Shadow Ridge Drive
                         Loveland, OH 45140




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1731 of 1944
                         Jerrel Mattson
                         111 Fox Trail
                         Chagrin Falls, OH 44022


                         Guido Matuschek
                         26205 Seville Drive Appartment #302
                         Beachwood, OH 44122


                         Scott Matyac
                         7587 Affirmed ct
                         Lewis Center, OH 43035


                         Mike Mauceri
                         7172 Bunker Cv
                         Mentor, OH 44060-5336


                         Kelly Mauk
                         1865 Pheasant Pt CT
                         Troy, OH 45373


                         Mark Mauldin
                         5767 SOM Center Road
                         Solon, OH 44139


                         Maumee HS
                         1147 Saco Street
                         Maumee, OH 43537


                         Amanda Maus
                         5800 Brooke Meadows Ct
                         Hamilton, OH 45011


                         Bridgette Mauter
                         220 Wintergreen Hill Drive
                         Painesville, OH 44077


                         Julie Mawaka
                         6178 Burr Oak Way
                         Hudson, OH 44236


                         Amy Maxwell
                         716 N High St
                         Maumee, OH 43537




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1732 of 1944
                         Gwen Maxwell
                         3616 Spencer Rd.
                         Rocky River, OH 44116


                         Holli Maxwell
                         333 18th St.
                         Elyria, OH 44035


                         Chris May
                         4605 Jessica Lane
                         North Royalton, OH 44133


                         Kelly May
                         62 Walnut Street
                         Oberlin, OH 44074


                         Michele May
                         11293 Wilson Mills Rd
                         Chardon, OH 44024


                         Mayfield Middle School
                         1123 Som Center Rd
                         Cleveland, OH 44124


                         Stephanie Mayle
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                         Canton, OH 44708


                         Craig Mayo
                         5561 orchid ave.
                         mentor, OH 44060


                         Nicole Mazon
                         2806 Pheasant Field Dr
                         Hilliard, OH 43026


                         Gwyn Mazuk
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                         Hamilton, OH 45011-5139


                         Ron Mazurek
                         9426 FREEPORT LN
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18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1733 of 1944
                         Angela McAtee
                         3067 Maddie Ct
                         Lewis Center, OH 43035


                         Dawn McBain
                         3954 Medford Sq
                         Hilliard, OH 43026


                         Renee McCabe
                         2755 Parkside Drive
                         Hudson, OH 44236


                         Bill Mccale
                         4984 timberview dr.
                         vermilion, OH 44089


                         Jean McCall
                         7425 Herrick Park Dr
                         Hudson, OH 44236


                         Nicole McCallCash
                         2165 White Marsh Dr
                         Twinsburg, OH 44087


                         Carrie McCallister
                         444 Windamere Ave.
                         Massillon, OH 44646


                         Barbara McCann
                         5513 Primavera Dr
                         Mentor, OH 44060


                         Kevin McCann
                         1064 Evadell Dr
                         Lewis Center, OH 43035


                         Carol McCarthy
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                         Maumee, OH 43537


                         Kathryn McCartney
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18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1734 of 1944
                         Nancy McCauley
                         8900 Auburn Rd
                         Chardon, OH 44024


                         CIELO MCCLAIN
                         9 River Side Drive
                         Rocky River, OH 44116


                         Joseph McClanahan
                         10772 Collins Riley Rd
                         Blanchester, OH 45107


                         Daniel McClelland
                         233 BERSHAM DR
                         HUDSON, OH 44236


                         Gloria McClendon
                         1497 mallard cove
                         twinsburg, OH 44087


                         Deborah McClure
                         8109 Puritan Dr. Unit A
                         Mentor, OH 44060


                         Rebecca Mccollum
                         5601 Planet Dr
                         Fairfield, OH 45014


                         Susan McCollum
                         8129 Jordan Valley Ct.
                         Cleves, OH 45002


                         Michelle McComas
                         1462 Silver Pine Lane
                         Findlay, OH 45840


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                         5500 Reebok Drive
                         Hilliard, OH 43026


                         Stephanie McConoughey
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18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1735 of 1944
                         Jim McCorkle
                         8319 Woodbridge Ln
                         Maineville, OH 45039


                         Kristi McCormick
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                         Pam McCormick
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                         Hudson, OH 44236


                         Jani McCoy
                         346 Lake St.
                         Troy, OH 45373


                         Julie McCoy
                         2236 Croydon Rd.
                         Twinsburg, OH 44087


                         Timothy McCracken
                         947 Martini Rd.
                         Cincinnati, OH 45233


                         Melissa McCray
                         6000 Bradford Way
                         Hudson, OH 44236


                         Ben McDavid
                         8895 Emerald Hill Dr
                         Lewis Center, OH 43035


                         Alexander McDonald
                         14401 Radcliffe Rd
                         Chardon, OH 44024


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                         Mentor, OH 44060


                         Cassandra McDonald
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                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1736 of 1944
                         Dawn McDonald
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                         Peninsula, OH 44264


                         Kim McDonald
                         1341 Shawnee Trace
                         Bellefontaine, OH 43311


                         Vickie McDonald
                         7180 Green Valley Dr
                         Mentor, OH 44060


                         Wendy Mcdonnellwe
                         6630 Queens way
                         North royalton, OH 44133


                         Brittany McDonough
                         3930 Cidermill drive
                         Columbus, OH 43204


                         James McDonough
                         4710 Brittonhurst Drive
                         Hilliard, OH 43026


                         Shannon McDonough
                         2764 Goldwood Drive
                         Rocky River, OH 44116


                         John McDougal
                         5770 OHIO ST
                         VERMILION, OH 44089


                         Kirsta McElfresh
                         708 W. Market St
                         Troy, OH 45373


                         Karen McFee
                         7973 Stillwater Court
                         Concord, OH 44077




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1737 of 1944
                         Andrea McGee
                         12828 Pearl Rd
                         Chardon, OH 44024


                         Melissa McGee
                         325 Saratoga Ave. NW
                         Canton, OH 44708


                         Nichole McGee
                         6578 Seminole Trail
                         Mentor, OH 44060


                         AnneLisa McGinnis
                         193 Boston Mills Rd
                         Hudson, OH 44236


                         Laura McGinnis
                         11307 West Walnut Ridge
                         Chesterland, OH 44026


                         Tom McGinty
                         7837 Lynford Way
                         Mentor, OH 44060


                         Corinne McGowan
                         7913 Gallowae Ct
                         Mentor, OH 44060


                         Meghan McGowan
                         9044 Charles Court
                         TWINSBURG, OH 44087


                         Kasondra McGrady
                         2871 Lombardi Ave SW
                         Canton, OH 44706


                         Michelle McGreevy
                         12926 Ravenna Road
                         Chardon, OH 44024


                         Thomas McGuire
                         134 Miami Ave
                         Elyria, OH 44035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1738 of 1944
                         Connie McIntire
                         438 W Chillicothe Ave
                         Bellefontaine, OH 43311


                         Cathy McKee
                         13781 Rustic Dr
                         North Royalton, OH 44133


                         Craig McKee
                         6308 Kenwood Rd
                         Cincinnati, OH 45243


                         Jennifer McKee
                         537 Falls Rd.
                         Chagrin Falls, OH 44022


                         Erica McKelvey
                         10590 Locust Grove Drive
                         Chardon, OH 44024


                         Jesse McKendry
                         91 Bishop Dr
                         Chagrin Falls, OH 44022


                         Melissa McKenna
                         3847 County Road 220
                         Findlay, OH 45840


                         Megan McKeown
                         21348 Stratford Ave.
                         Rocky River, OH 44116


                         Scott McKeown
                         14101 Township Road 213
                         Findlay, OH 45840


                         Mark Mckibbin
                         2425 Merrimont Dr
                         Troy, OH 45373


                         Karen McKinney
                         412 Westgate Drive
                         Cleves, OH 45002




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1739 of 1944
                         Shawn McKinney
                         2771 Chatham Dr
                         Troy, OH 45373


                         Erin McKnight
                         10609 Jubilee Drive
                         Chardon, OH 44024


                         Richard McLaughlin
                         6358 W LITTLE PORTAGE EAST RD
                         OAK HARBOR, OH 43449


                         Patricia McLean
                         730 Mohawk Ave NW
                         Canton, OH 44708


                         Mary McMichael-Liston
                         652 E Whittier St
                         Columbus, OH 43206


                         Nancy McMillin
                         9780 Hoose Rd.
                         Mentor, OH 44060


                         Andrea McMullen
                         10155 Timothy Lane
                         Twinsburg, OH 44087


                         JENNIFER McMullen
                         8644 Olenbrook Dr
                         Lewis Center, OH 43035


                         Kimberly McNally
                         2818 Kingsbury Drive
                         Rocky River, OH 44116


                         Amber McNeal
                         28820 Naylor dr.
                         Solon, OH 44139


                         Maureen McNulty
                         20042 Laurel Avenue
                         Rocky River, OH 44116




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1740 of 1944
                         Kim McPherson
                         809 Lost Pond Pkwy
                         Chardon, OH 44024


                         Karen McStay
                         845 Virginia Drive
                         Hudson, OH 44236


                         Kevin McSween
                         938 Fremont Ave
                         Painesville, OH 44077


                         Wendy Meadors
                         9472 Lawnfield
                         Twinsburg, OH 44087


                         Codie Mealey
                         1297 Birchview dr
                         VERMILION, OH 44089


                         Nicole Mealle
                         5980 Marine Parkway apt E107
                         Mentor, OH 44060


                         SUSAN MEDALIS
                         20844 EVERGREEN TRAIL
                         NORTH ROYALTON, OH 44133


                         Andrea Mediate
                         21246 Maplewood Ave
                         Rocky River, OH 44116


                         Christina Medinger
                         6377 mentor park blvd
                         Mentor, OH 44060


                         Jessica Medvec
                         12666 Ravenna Road
                         Chardon, OH 44024


                         Robyn Meeker
                         33 E. Main Street
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1741 of 1944
                         Beth Meese
                         266 S. Main St.
                         Hudson, OH 44236


                         MaryCay Megyesi
                         7129 N Nightingale Pl
                         Concord Township, OH 44077-9588


                         Deana Meinke
                         5800 Birdie Lane
                         Mentor, OH 44060


                         Ellie Meisenbach
                         3469 Lakewood Ct.
                         Hamilton, OH 45011


                         Holly Meister
                         5962 Morganwood Sq
                         Hilliard, OH 43026


                         Michelle Meleski
                         301 Water St
                         Chardon, OH 44024


                         Brittany Melick
                         4237 Winterringer St
                         Hilliard, OH 43026


                         Kellie Melin
                         11290 Brentwood Lane
                         Chardon, OH 44024


                         Lesia Mellie
                         5200 4th st nw
                         Canton, OH 44708


                         Katina Mellon
                         115 Blackberry Dr.
                         Hudson, OH 44236


                         Memorial MS
                         5600 Scioto Darby Road
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1742 of 1944
                         Memorial MS
                         5670 Scioto Darby Road
                         Hilliard, OH 43026


                         Xiaozhong Men
                         6920 Silkwood Ln
                         Solon, OH 44139


                         Honorio Mendoza
                         55 Chatham Dr
                         Painesville, OH 44077


                         Julie Menendez
                         16 Blackberry Drive
                         Hudson, OH 44236


                         Ronn Meredith
                         3279 Fairhill Drive
                         Rocky River, OH 44116


                         MaryBeth Merinar
                         5485 Mooreland
                         Mentor on the Lake, OH 44060


                         Jennifer Merklin
                         7015 Jennifer Ann Dr
                         Lewis Center, OH 43035


                         Nicole Merriman
                         3379 Paxton Ct
                         Hilliard, OH 43026


                         Lisa Merritt
                         2645 Shady Tree Drive
                         Troy, OH 45373


                         Teresa Mers
                         1608 Old Schoolhouse Rd
                         Troy, OH 45373


                         Thomas Mersch
                         3769 Tower Rd
                         Cincinnati, OH 45248




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1743 of 1944
                         Jennifer Mertes
                         4990 Lake View Drive
                         Peninsula, OH 44264


                         Cheryl Messenger
                         2859 Bold Venture Drive
                         Lewis Center, OH 43035


                         Michele Messmer
                         37091 Tidewater Drive
                         Solon, OH 44139


                         Tonya Mestemaker
                         5379 Kings Ridge Way
                         Kings Mills, OH 45034


                         Lori Metoki
                         5606 Londonairy Blvd
                         Hudson, OH 44236


                         Cheryl Mettler
                         704 Westbrook Way
                         Hudson, OH 44236


                         Maria Metzler
                         4344 Creekbend
                         Hilliard, OH 43026


                         Marilu Metzler
                         8812 Emerald Hill Dr.
                         Lewis Center, OH 43035


                         Maria Metzung
                         9982 Concord Pt Ct
                         Mentor, OH 44060


                         ANDREA MEYER
                         7591 OAK HILL DR
                         CHESTERLAND, OH 44026


                         Debora Meyer
                         10430 Locust Grove Dr
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1744 of 1944
                         Steve Meyer
                         5989 White Oak Drive
                         Mentor, OH 44060


                         Ashley Michael
                         3230 Myrtle Dr
                         Loveland, OH 45140


                         Carla Michael
                         4166 Stargrass Ct
                         Hilliard, OH 43026


                         Donald Michaels
                         5667 King Rd SW
                         Stone Creek, OH 43840


                         Heather Michalski
                         8215 Eastmoor Road
                         Mentor, OH 44060


                         Judi Michalski
                         2334 Croydon Road
                         Twinsburg, OH 44087


                         DiAnna Michel
                         6033 Morganwood Square
                         Hilliard, OH 43026


                         Leigh Michelsen
                         7312 Osceola Dr
                         Cincinnati, OH 45243


                         Cathy Middaugh
                         251 Oak Drive
                         West Liberty, OH 43357


                         Katie Miele
                         1761 Forest Oaks Dr
                         hudson, OH 44236


                         RAUL MieryTeran
                         180 sammy drive
                         fairfield, OH 45014




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1745 of 1944
                         Tom Mignogna
                         7760 e washington
                         chagrin falls, OH 44023


                         Joe Mihalek
                         1845 ASHLEY DR
                         HUDSON, OH 44236


                         Rebecca Mihevic
                         10315 Locust Grove
                         Hambden, OH 44024


                         Natalie Mikes
                         12650 Chesterfield Lane
                         Chesterland, OH 44026


                         Lori Mikulka
                         9355 Gettysburg
                         Twinsburg, OH 44087


                         Tatjana Milenkovich
                         9508 Scottsdale Drive
                         Broadview Heights, OH 44147


                         Elia Milite
                         8690 Sherman Rd.
                         Chesterland, OH 44026


                         Erin Milius
                         20051 Beach Cliff Blvd.
                         Rocky River, OH 44116


                         Andrea Miller
                         11830 TR 109
                         Van Buren, OH 45889


                         Angie Miller
                         5336 Oakvale St SW
                         Canton, OH 44706


                         April Miller
                         8669 oak creek dr
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1746 of 1944
                         Ashley Miller
                         11Lois Lane
                         Chardon, OH 44065


                         Barb Miller
                         143 woodrush circle
                         chagrin falls, OH 44022


                         Brian Miller
                         12600 Ashton Trail
                         Chardon, OH 44024


                         Catherine Miller
                         10669 Devonshire Drive
                         North Royalton, OH 44133


                         Charr Miller
                         7422 Avon Dr.
                         Mentor, OH 44060


                         Christine Miller
                         1278 Bear Run Way
                         Maineville, OH 45039


                         Elizabeth Miller
                         509 West Race Street
                         Troy, OH 45373


                         Francis Miller
                         8179 JOHNNYCAKE RIDGE RD
                         MENTOR, OH 44060


                         Guendolyn Miller
                         3059 Cabot Way
                         Twinsburg, OH 44087


                         Jeanne Miller
                         8759 Warrendale Dr
                         Mentor, OH 44060


                         Jeffrey Miller
                         5209 Headgates Road
                         Hamilton, OH 45011




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1747 of 1944
                         Jennifer Miller
                         120 E 11th Street
                         Port Clinton, OH 43452


                         Jeremy Miller
                         668 Wynstone Dr
                         Lewis Center, OH 43035


                         Jonathan Miller
                         1345 Mckaign Ave
                         Troy, OH 45373


                         Kelly Miller
                         6057 Manshire Ct
                         Galloway, OH 43119


                         Kristi Miller
                         2364 Victoria Parkway
                         Hudson, OH 44236


                         Laura Miller
                         4117 Ford Lane Vermilion
                         Vermilion, OH 44089


                         Lisa Miller
                         6960 Mildon Dr
                         Painesville, OH 44077


                         Lisa Miller
                         3391 Watersilk Court
                         Columbus, OH 43221


                         Liz Miller
                         13382 Walnut Trace
                         Chardon, OH 44024


                         Margaret Miller
                         85 Manor Drive
                         Hudson, OH 44236


                         Margaret Miller
                         7505 Mountain Park Dr
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1748 of 1944
                         Mark Miller
                         1211 BATES RD
                         Rocky River, OH 44116


                         Mary Miller
                         3057 List St NW
                         Massillon, OH 44646


                         Michelle Miller
                         4933 Forest road
                         Mentor, OH 44060


                         Michelle Miller
                         6599 Glenallen Ave
                         Solon, OH 44139


                         Peggy Miller
                         2115 Presidential Parkway Unit 2
                         Twinsburg, OH 44087


                         Ryan Miller
                         1294 Nantucket Ave
                         Columbus, OH 43235


                         Sallie Miller
                         8914 Lakefield Ct
                         Galloway, OH 43119


                         Tara Miller
                         119 Penn Rd.
                         Troy, OH 45373


                         Traci Miller
                         2991 Ravenna St
                         Hudson, OH 44236


                         William Miller
                         1491 Greystone Lane
                         Milford, OH 45150


                         Kelly Millet
                         5114 Cheswick Drive
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1749 of 1944
                         Dana Mills
                         8854 Pembroke St
                         Maineville, OH 45039


                         Kelly Millstone
                         36675 Pepper Dr
                         Solon, OH 44139


                         Hope Milthaler
                         3237 South Cove Ct
                         Maineville, OH 45039


                         Michelle Minadeo
                         8229 Johnnycake Ridge Rd.
                         Mentor, OH 44060


                         Jessica Mindlin
                         4360 E. Chatham Drive Port Clinton
                         Port Clinton, OH 43452


                         Sarah Mindlin
                         49 Lyndale Dr
                         Chagrin Falls, OH 44022


                         Deidra Minerd
                         8881 Mountain View Drive
                         Mentor, OH 44060


                         Kimberly Mingus
                         347 36th St NW
                         Canton, OH 44709


                         Ann Minor
                         6021 Baronscourt way
                         Dublin, OH 43016


                         Denise Minor
                         16131 West 130th Street
                         North Royalton, OH 44133


                         Jennifer Minor
                         3209 Darien Lane
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1750 of 1944
                         Joy Minor
                         5340 Briggle Ave SW
                         East Sparta, OH 44626


                         Katy Miozzi
                         6187 Richmond Rd
                         Solon, OH 44139


                         Ayman Mirghani
                         8323 Orange Station Loop
                         Lewis Center, OH 43035


                         Darlene Mismas
                         1421 Barlow Rd
                         Hudson, OH 44236


                         Rebecca Missig
                         5489 Haley Street
                         Vermilion, OH 44089


                         HISASHI MITAMURA
                         7479 Lascala Dr
                         Hudson, OH 44236


                         Ann Mitchell
                         380 Bell Street
                         Chagrin Falls, OH 44022


                         Brian Mitchell
                         10272 Wildflower Way
                         Broadview Heights, OH 44147


                         Chaundria Mitchell
                         27050 cedar rd
                         Beachwood, OH 44122


                         Cynthia Mitchell
                         10648 Prouty rd
                         concord, OH 44077


                         Danna Mitchell
                         121 Smith St.
                         Oberlin, OH 44074




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1751 of 1944
                         Jennie Mitchell
                         10098 Welk Rd
                         Chardon, OH 44024


                         Julie Mitchell
                         9454 Meadow Trl
                         Loveland, OH 45140


                         Robert Mitchell
                         213 Greenridge
                         Bellefontaine, OH 43311


                         Teala Mitchell
                         7587 goldenrod
                         Mentor on the lake, OH 44060


                         Jill Mitrey
                         36650 Pepper Dr
                         Solon, OH 44139


                         Mike Mobley
                         13144 Dorothy Dr
                         Chesterland, OH 44026


                         Brian Mocny
                         7933 Stockbridge Rd.
                         Mentor, OH 44060


                         Michelle Moegling
                         7704 Ohio St
                         mentor, OH 44060


                         VAL MOFFA
                         202 BRANDYWINE DRIVE
                         HUDSON, OH 44236


                         Carolyn Moffitt
                         5938 Stone Road
                         Hudson, OH 44236


                         Naimo Mohamed
                         1295 wild oats dr
                         columbus, OH 43204




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1752 of 1944
                         Zahra Mohamed
                         8143 apple ridge drive
                         lewis center, OH 43035


                         Ashraf Mohammed
                         187 Boulder Blvd
                         Peninsula, OH 44264


                         Jennifer Moissis
                         15914 Laurel Rd
                         Chagrin Falls, OH 44022


                         Shelley Molchak
                         36455 Pettibone Road
                         Solon, OH 44139


                         Patty Mold
                         10418 Belmeadow Dr.
                         Twinsburg, OH 44087


                         Allison Molesky
                         10104 Brookfield Dr.
                         Mentor, OH 44060


                         Lori Molfenter
                         8746 Simpson CT
                         Mason, OH 45040


                         Denise Molinari
                         939 Summerdale Ave NW
                         Massillon, OH 44646


                         Julie Molinyawe
                         8091 Lakeshore Blvd
                         Mentor-on-the-lake, OH 44060


                         Laura Mommers
                         2547 Hampton Road
                         Rocky River, OH 44116


                         Anthony Monago
                         7895 Norma Ct
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1753 of 1944
                         Amy Mondi
                         8888 falls ln
                         Broadview hts, OH 44147


                         Michelle Mondora
                         7573 Woodland Ave
                         Hudson, OH 04436


                         Cynthia Mong
                         4415 Chukbuk Court
                         Hilliard, OH 43026


                         Lisa Montag
                         9769 Silverleaf Drive
                         North Royalton, OH 44133


                         Jennifer Montique
                         10320 Flagstone Drive
                         Twinsburg, OH 44087


                         Nicole Montoney
                         5899 Shadow Lake Circle
                         Columbus, OH 43234


                         Anne Harvey Montowski
                         2157 N. Wedgewood Circle
                         Port Clinton, OH 43452


                         Joanne Montz
                         5300 Liberty Rd.
                         Chagrin Falls, OH 44022


                         Christopher Moody
                         9423 Meadow Trail
                         Loveland, OH 45140


                         Loretta Moody
                         777 Township Road 190 East
                         Bellefontaine, OH 43311


                         Annette Moon
                         13314 green drive
                         Chesterland, OH 44026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1754 of 1944
                         Sujin Moon
                         32255 Tracy Ln.
                         Solon, OH 44139


                         Jamey Mooney
                         5311 Porter St
                         Port Clinton, OH 43452


                         Belinda Moore
                         80 west broadway st
                         South Lebanon, OH 45065


                         Danielle Moore
                         206 Linway Ave NW
                         Massillon, OH 44646


                         Dave Moore
                         6000 Nob Hill Rd. #116
                         Chagrin Falls, OH 44022


                         Diana Moore
                         5224 Hollister Street
                         Columbus, OH 43235


                         Elaine Moore
                         13711 Chillicothe Road
                         Novelty, OH 44072


                         Jen Moore
                         3712 N Karwood Dr
                         Port clinton, OH 43452


                         Kristen Moore
                         821 Purdue Ave
                         Elyria, OH 44035


                         Mary Moore
                         20560 Erie Road
                         Rocky River, OH 44116


                         Lynelle Moore-Zahler
                         9581 Amberwood Ct.
                         Broadview Hts, OH 44147




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1755 of 1944
                         Samuel Mora
                         1621 Corrib Ave NW
                         Canton, OH 44708


                         Amy Moran
                         3138 Rosemont ave sw
                         Massillon, OH 44646


                         Katy Moran
                         9070 Cabriolet Avenue
                         Mentor, OH 44060


                         Kelly Moran
                         34085 Pettibone Road
                         Solon, OH 44139


                         Rocio Moran
                         145 Grey Fox Run
                         Bentleyville, OH 44022


                         Ashley Moreno
                         501 S. Mulberry St.
                         Troy, OH 45373


                         Deysi Moreno
                         480 Nelmar Dr
                         Painesville, OH 44077


                         Betsy Morgan
                         9219 Cherrystone Dr.
                         Mentor, OH 44060


                         David Morgan
                         430 Longfellow st
                         Elyria, OH 44035


                         Gail Morgan
                         6336 Canterbury Dr
                         Hudson, OH 44236


                         Jodi Morgan
                         7579 Herrick Park
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1756 of 1944
                         Sandi Morgan
                         5816 Glendavon Loop
                         Dublin, OH 43016


                         Mary Moriarity
                         7866 Mulberry Road
                         Chesterland, OH 44026


                         Amy Morley
                         10442 White Ash Trail Twinsburg
                         Twinsburg, OH 44087


                         Amanda Mormino
                         6215 Simon Ln
                         Hudson, OH 44236


                         Erica Morris
                         1626 County Road 11
                         Bellefontaine, OH 43311


                         Heidi Morris
                         12110 Cora Ct
                         Painesville, OH 44077


                         Jennifer Morris
                         8119 MIDLAND RD
                         MENTOR, OH 44060


                         Mary Morris
                         6775 Perennial Lane
                         Mentor, OH 44060


                         Michael Morris
                         2380 Wittenberg Ave SE
                         Massillon, OH 44646


                         Michael Morris
                         3040 Conover St NW
                         Massillon, OH 44646


                         Shannon Morris
                         1500 Hunting Hollow Dr
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1757 of 1944
                         Shari Morris
                         4965 lake view dr
                         peninsula, OH 44264


                         Tom Morris
                         2697 E. Asplin Drive
                         Rocky River, OH 44116


                         Vanessa Morris
                         6414 Antoinette Drive
                         Mentor, OH 44060


                         Anna Morrison
                         20 Woodside Rd
                         Chagrin Falls, OH 44022


                         Chad Morrison
                         9058 Longstone Dr
                         Lewis Center, OH 43035


                         Desiree Morrison
                         13006 Meadowood Dr
                         Chardon, OH 44024


                         Matt Morrison
                         110 Virginia ave
                         Elyria, OH 44035


                         Elizabeth Morscher
                         5707 Ivy Drive
                         Mentor on the lake, OH 44060


                         BENJAMIN MORSE
                         587 Hidden Harbor Dr
                         Fairport Harbor, OH 44077-5592


                         Eric Morse
                         44482 Butternut Ridge
                         Oberlin, OH 44074


                         Shelly Morvay
                         3080 Landen Farm Rd E
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1758 of 1944
                         Bethany Moseley
                         1476 Park Ridge Ave
                         Twinsburg, OH 44087-4324


                         Michelle Moser
                         8991 Barley Loft drive
                         Columbus, OH 43240


                         ELIZABETH MOSES
                         7648 Goldenrod Dr
                         Mentor-on-the-Lake, OH 44060


                         Erin Moses
                         7670 king Memorial
                         Mentor, OH 44060


                         Elena Mosley
                         2170 Apt 201A Pebble Creek Drive
                         Twinsburg, OH 44087


                         LaCola Mosley
                         3606 Concord Dr
                         Beachwood, OH 44122


                         James Moss
                         7422 Woodyard Road
                         Hudson, OH 44236


                         Shadi Motasem
                         3210 Cassey Street
                         Hilliard, OH 43026


                         Kari Mott
                         6208 George Fox Drive
                         Galloway, OH 43119


                         Leah Motz
                         6385 Seneca tr 6366 Iroquois tr
                         mentor, OH 44060


                         Penny Mouse
                         136 Sunset Drive
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1759 of 1944
                         Kristin Movius
                         19558 Battersea Blvd
                         Rocky River, OH 44116


                         Shelly Mudry
                         14860 Thornton Drive
                         North Royalton, OH 44133


                         LeeAnn Mueller
                         5389 Little Turtle Dr
                         South Lebanon, OH 45065


                         Jill Muencz
                         24912 Wimbledon
                         Beachwood, OH 44122


                         Niki Muenz
                         4826 Marigold Road
                         Mentor, OH 44060


                         Heather Muhlenthaler
                         2549 Carla Drive
                         Lewis Center, OH 43035


                         Kathy Mukherjee
                         721 Norbury Dr.
                         Hudson, OH 44236


                         Lucille Muldrow
                         6364 Stonewall Ln
                         Fairfield, OH 45014


                         Alison Mulholland
                         7206 Osceola dr
                         Cincinnati, OH 45243


                         ANIL KUMAR MULLAPUDI
                         7712 Blackford Dr
                         Chagrin Falls, OH 44022


                         Marilee Mullen
                         8746 hilltop drive
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1760 of 1944
                         Sandra Mullet
                         5695 Rachel ct
                         Hilliard, OH 43026


                         David Mullett
                         13356 Auburn Rd.
                         Chardon, OH 44024


                         Dawn Mullins
                         32519 jefferson drive
                         solon, OH 44139


                         Stephanie Mullins
                         3597 Newell Dr
                         Columbus, OH 43228


                         Shannon Mullner
                         7636 Oxgate Court
                         Hudson, OH 44236


                         Nicole Mulloy
                         14413 Watt Road
                         Novelty, OH 44072


                         Laura Mulvaney
                         34370 Seminole Way
                         Solon, OH 44139


                         Christine Munroe
                         131 Beverly Court
                         Elyria, OH 44035


                         Jacqueline Munroe
                         36374 Lakeshore Avenue
                         Eastlake, OH 44095


                         Sheryl Munson
                         3700 Rivervail Dr.
                         Columbus, OH 43221


                         Nicole Muntean
                         530 Elizabeth ave sw
                         Massillon, OH 44646




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1761 of 1944
                         Valerie Munz
                         6015 Parkland Dr.
                         Chagrin falls, OH 44022


                         Maya Muralidharan
                         33905 Camberly Ct
                         Solon, OH 44139


                         Lindsey Muranda
                         7489 Primrose
                         mentor on the lake, OH 44060


                         Krista Muro
                         260 Crestview Dr
                         Elyria, OH 44035


                         Jamie Murphy
                         736 Berkshire Rd.
                         Troy, OH 45373


                         Marla Murphy
                         3202 Woodlake Court
                         Loveland, OH 45140


                         Mary Murphy
                         1740 Wooster rd
                         Rocky river, OH 44116


                         Rawn Murphy
                         23305 Greenlawn Ave
                         Cleveland, OH 44122


                         Shannon Murphy
                         116 Ashleigh Drive
                         Chagrin Falls, OH 44022


                         Brannon Murray
                         32178 South Roundhead Dr
                         Solon, OH 44139


                         Elizabeth Murray
                         8991 Lake Overlook Drive
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1762 of 1944
                         Jennifer Murray
                         8870 Ravenna Rd
                         Chardon, OH 44024


                         Kristi Murray
                         8569 Carbine Place
                         Galloway, OH 43119


                         Roxie Murray
                         3705 Middle Post Lane
                         Rocky River, OH 44116


                         Sawsan Musa
                         5989 Pinto Pass Dr
                         Columbus, OH 43026


                         Shannan Musgrove
                         2358 Pleasant Colony Dr
                         Lewis Center, OH 43035


                         Scott Mussari
                         5367 Riverwalk Drive
                         Kings Mills, OH 45034


                         Daniella Mustafa
                         8950 State Rd
                         North Royalton, OH 44133


                         Ashley Muth
                         3456 Nautilus Trail
                         Aurora, OH 44202


                         Amy Myers
                         210 Grey Fox Run
                         Bentleyville, OH 44022


                         Coleen Myers
                         2190 Pleasant View Drive
                         Troy, OH 45373


                         Eric Myers
                         9181 Robinson Rd
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1763 of 1944
                         Jennifer Myers
                         5316 Bay Meadows Ct
                         Columbus, OH 43221


                         Jessica Myers
                         1176 Sharonbrook Dr
                         Twinsburg, OH 44087


                         KATHY MYERS
                         1334 CEDAR CREEK CT
                         PAINESVILLE, OH 44077


                         Matthew Myers
                         2234 Cross Creek Court
                         Lewis Center, OH 43035


                         Chris Myslenski
                         20026 Parklane Drive
                         Rocky River, OH 44116


                         Jason Naber
                         8391 Payson Dr
                         Lewis Center, OH 43035


                         Adelle Nader
                         696 Morris Drive
                         Vermilion, OH 44089


                         Ken Nadsady
                         4353 Westchester Ct
                         Hudson, OH 44236


                         Katy Nagaj
                         100 Middle Post Pt
                         Chardon, OH 44024


                         Tracy Nagaj
                         1941 E. Hines Hill Rd
                         Hudson, OH 44236


                         Tsugumi Nagase
                         2630Alexander ct
                         Troy, OH 45373




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1764 of 1944
                         Nancy Naghavi
                         897 Ridgewood Blvd
                         Hudson, TX 44236


                         Dawn Naglich
                         8721 Ranch Dr
                         Chesterland, OH 44026


                         Alyson Nagy
                         9658 E. Idlewood Dr
                         Twinsburg, OH 44087


                         Eileen Nagy
                         5512 Mooreland Avenue
                         Mentor, OH 44060


                         Shishir Naik
                         2428 Tucker trl
                         Lewis center, OH 43035


                         Charles Nail
                         7267 Winchester Dr
                         Solon, OH 44139


                         Kavitha Nallathambi
                         655 Stinchcomb Dr. Apt 7
                         Columbus, OH 43202


                         Terri Nameth-Thomas
                         5261 Brookhaven drive
                         North Royalton, OH 44133


                         Demeatrice Nance
                         27060 Cedar Rd Apt. 210-3
                         Beachwood, OH 44122


                         Erin Nanni
                         1487 Rockland Avenue
                         Rocky River, OH 44116


                         Navaneethakrishnan Narayanasamy
                         7409 Jamaica Way Apt 4
                         Maineville, OH 45039




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1765 of 1944
                         Maria Narvaez
                         8513 herrick Dr #4
                         Chesterland, OH 44026


                         Angel Nash
                         7215 pinehill rd
                         Painesville, OH 44077


                         Vincent Naska
                         7336 Lascala Drive
                         Hudson, OH 44236


                         Premalatha Natarajan
                         5456 Stone Creek Drive
                         Solon, OH 44139


                         Joshua Nathanson
                         38465 McDowell Drive
                         Solon, OH 44139


                         Susan Nault
                         5434 Larkwood Road
                         Columbus, OH 43229


                         Tonia Naunheimer
                         1699 Cottonwood Drive
                         Lewis Center, OH 43035


                         Bledi Ndoni
                         22460 Berry Dr
                         Rocky River, OH 44116


                         Angela Nebe
                         7980 Morley Road
                         Mentor, OH 44060


                         Ellen Nedlik
                         7129 Andover Dr
                         Mentor, OH 44060


                         Corrine Needham
                         4817 East Miami River Road Apt G
                         Cleves, OH 45002




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1766 of 1944
                         Jonathan Neeld
                         1329 Turner Rd
                         Bellefontaine, OH 43311


                         Andy Neer
                         513 Center Avenue
                         Bellefontaine, OH 43311


                         Misty Neff
                         3037 West River Rd. North Apt. 1
                         Elyria, OH 44035


                         Mary Nehls
                         2974 NE Catawba Road
                         Port Clinton, OH 43452


                         Amanda Neill
                         994 Jimson Court
                         Galloway, OH 43119


                         Christina Neill
                         616 Heritage Dr
                         Bellefontaine, OH 43311


                         Lori Neill
                         721 Township Road 190 E
                         Bellefontaine, OH 43311


                         Kara Neimeister
                         5961 Vandeleur Pl
                         Dublin, OH 43016


                         Hollie Nejad
                         336 Cornwall Road
                         Rocky River, OH 44116


                         MaryLou Nellett
                         231 Lincoln Drive
                         Port Clinton, OH 43452


                         Julie Nelligan
                         4644 Aurora St NW
                         Canton, OH 44708




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1767 of 1944
                         CYNTHIA NELLS
                         8321 Cambden Crossing Way
                         Concord Township, OH 44077


                         Amy Nelson
                         7199 Chillicothe Road
                         Mentor, OH 44060


                         Kevin Nelson
                         72 Clairhaven Dr
                         Hudson, OH 44236


                         Kristie Nelson
                         9835 Tudor Place
                         Chardon, OH 44024


                         Michelle Nelson
                         310 South St
                         Chardon, OH 44024


                         Valerie Nelson
                         8156 Leeshore Dr.
                         Maineville, OH 45039


                         Loida Nemec
                         10668 Durrey Court
                         Reminderville, OH 44202


                         Jennifer Nemeth
                         4839 Orchard Rd
                         Mentor, OH 44060


                         Cheryl Nemunaitis
                         25 Pine River Dr
                         Bentleyville, OH 44022


                         Tabitha Neth
                         154 Floral Ave
                         Troy, OH 45373


                         Wendy Neto
                         9171 Davis way
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1768 of 1944
                         April Neu-Fausnaugh
                         645 Darlene pl
                         Galloway, OH 43119


                         David Neumann
                         425 Norwich Drive
                         Broadview Heights, OH 44147


                         Elke Neumeyer
                         33 SUGAR BUSH LN
                         CHAGRIN FALLS, OH 44022


                         Courtney Neville
                         912 ASHBROOKE WAY
                         HUDSON, OH 44236


                         David Neville
                         2456 Bold Venture Drive
                         Lewis Center, OH 43035


                         Kerry Neville
                         444 Meadow View Dr
                         Powell, OH 43065


                         Christine New
                         19285 Bennett Rd
                         North Royalton, OH 44133


                         Jerome Newby
                         5765 Elm Hill Drive
                         Solon, OH 44139


                         Robert Newby
                         2167 Weston Drive
                         Hudson, OH 44236


                         Sharyce Newby
                         9390 Goodell Ct
                         Mentor, OH 44060


                         Joan Newell
                         22 chelsea ct
                         chagrin falls, OH 44022




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1769 of 1944
                         Brandy Newland
                         2723 twp rd 179
                         Bellefontaine, OH 43311


                         Heather Newman
                         7346 Presley Ave
                         Mentor, OH 44060


                         Tamara Newton
                         2400 Winfield ave
                         Rocky River, OH 44126


                         Anthony Nguyen
                         3225 Prairie Gardens Drive
                         Hilliard, OH 43026


                         Tim Nguyen
                         Willowbrook Dr. 3064
                         Aurora, OH 44202


                         Trish Nguyen
                         7822 orange station loop
                         lewis center, OH 43035


                         Douglas Nicholl
                         7616 Palmerston Drive
                         Mentor, OH 44060


                         Christy Nichols
                         452 Bayberry Ct
                         Painesville, OH 44077


                         Lisa Nichols
                         408 Washington Ave
                         Bellefontaine, OH 43311


                         Cathy Nicholson
                         153 Overmont Ave SW
                         Massillon, OH 44646


                         Richard NIckels
                         12170 catalpa Dr
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1770 of 1944
                         Nicole Niebauer
                         1178 Craig Ct.
                         Maineville, OH 45039


                         Laura Niederst
                         14845 GAR Hwy.
                         Chardon, OH 44024


                         Scott Niederst
                         38125 Flanders Drive
                         Solon, OH 44139


                         Jessa Niemeyer
                         3701 Chestnut Park
                         Cleves, OH 45002


                         Krista Nightwine
                         128 Fairview Rd
                         ChAgrin Falls, OH 44022


                         Tony Niksick
                         15105 GAR hwy
                         chardon, OH 44024


                         Amy Nilsen
                         3244 Vinton Park Place
                         Hilliard, OH 43026


                         James Niple
                         8835 Patterson Rd
                         Hilliard, OH 43026


                         Yingren Niu
                         22350 Bartlett Drive
                         Rocky River, OH 44116


                         Justin Noble
                         7050 Walters Rd
                         Hudson, OH 44236


                         Naomi Noble
                         13620 Quarry RD
                         Oberlin, OH 44074




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1771 of 1944
                         Kristin Nock
                         21295 Stratford Ave.
                         Rocky River, OH 44116


                         Karie Nodar
                         280 Ravenna Street
                         Hudson, OH 44236


                         Heidi Noerr
                         11145 courtney court
                         Chardon, OH 44024


                         Deanna Noertker
                         5193 Ritchey Lane
                         South Lebanon, OH 45065


                         Kelly Noeth
                         594 Laurelwood Dr
                         Cleves, OH 45002


                         Shana Nold
                         5757 Bridgewater Blvd
                         Hudson, OH 44236


                         Jaime Nordman
                         208 Olentangy Meadows Dr
                         Lewis Center, OH 43035


                         Shannon Norris
                         702 Netherwood Ave NW
                         Canton, OH 44708


                         North Roylaton MS
                         14709 Ridge Road
                         North Royalton, OH 44133


                         Lance North
                         187 oneida nw
                         canton, OH 44708


                         Shannon North
                         5741 Hargus Ct
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1772 of 1944
                         Johanna Northcutt
                         828 Bright Rd
                         Findlay, OH 45840


                         Northwood MS
                         700 Gulf Road
                         Elyria, OH 44035


                         Mike Norwalk
                         4770 Oakridge Dr.
                         North Royalton, OH 44133


                         Jeffrey Norwood
                         9785 Old Johnnycake Ridge Rd
                         Mentor, OH 44060


                         Michelle Nosker
                         2586 Peebles Road
                         Troy, OH 45373


                         Angela Notturno
                         717 whipple ave Sw
                         Canton, OH 44710


                         Joy Novak
                         1181 Dartmouth Dr.
                         Painesville, OH 44077


                         Kimberly Novak
                         11023 Old State Road
                         Chardon, OH 44024


                         Sandy Novak
                         7504 Demshar Dr
                         Mentor, OH 44060


                         Stephanie Novak
                         9115 Jody Lynn Lane
                         Twinsburg, OH 44087


                         Shannon Novaria
                         5332 Portland St
                         Columbus, OH 43235




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1773 of 1944
                         Erik Novey
                         11697 Harbour Light Dr
                         North Royalton, OH 44133


                         Barney Nowicki
                         4409 Kenwood Drive
                         Broadview Heights, OH 44147


                         Tiffany Null
                         2415 Augusta dr se
                         Massillon, OH 44646


                         Kalyani Numburi
                         7338 Glenwillow Pl
                         solon, OH 44139


                         Almira Nurmuhamedova
                         3515 Montgomery Rd #10
                         Loveland, OH 45140


                         Dave Nurre
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                         Maineville, OH 45039


                         Michelle Nurrenbrock
                         428 west market street
                         Troy, OH 45373


                         Amy Nutt
                         3298 HeatherStone Drive
                         Troy, OH 45737


                         Tena Nutting
                         6330 Cambridge Park Dr
                         Mentor, OH 44060


                         Valerie Nuttle
                         4314 crestview dr
                         loveland, OH 45140


                         Devon Nyktas
                         3892 Tweedsmuir Dr
                         Columbus, OH 43221




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1774 of 1944
                         Erin O'Brien
                         11420 Woodiebrook Rd
                         Chardon, OH 44024


                         Carol O'Connell
                         800 Ashbrooke Way
                         Hudson, OH 44236


                         Holly O'Connor
                         30 Paw Paw Lake Dr
                         Chagrin Falls, OH 44022


                         Sherry O'Donnell
                         9269 Old Village Dr.
                         Loveland, OH 45140


                         Iris O'Malley
                         2225 Nettleton Lane
                         Broadview Heights, OH 44147


                         Maureen O'Malley
                         4161 Leona Drive
                         Rocky River, OH 44116


                         Katharine O'Neil
                         602 Doe Court
                         Chagrin Falls, OH 44022


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                         Chardon, OH 44024


                         Katie O'Toole
                         107 W Pointe Ct
                         Chardon, OH 44024


                         Dawn Oates
                         1227 S Mulberry St
                         Troy, OH 45373


                         Chatia Obeng
                         785 Oberlin dr
                         Fairfield, OH 45014




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1775 of 1944
                         Jessie Obert
                         76 Parmelee Drive
                         Hudson, OH 44236


                         Kim Oblinger
                         4852 Augustus Ct
                         Hilliard, OH 43026


                         Mary Oblisk
                         323 N.Miami Ave. Apt A
                         Cleves, OH 45002


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                         4888 Wake Robin Rd
                         Mentor, OH 44060


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                         5236 Captains Ct
                         Columbus, OH 43220-2463


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                         1027 Kinder
                         Toledo, OH 43615


                         MiHui Ochsenbein
                         47 Sussex
                         HUDSON, OH 44236


                         David Ocker
                         155 Chadwick Ct
                         Chagrin Falls, OH 44023


                         Patrick OConnell
                         6061 Willow Lake Drive
                         Hudson, OH 44236


                         Thomas OConnor
                         9275 Breezy Way Dr
                         Belle Center, OH 43310


                         Jennifer Oddenino
                         2871 Chamberlin Blvd
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1776 of 1944
                         Karen Odetallah
                         15050 Waterford Drive
                         North Royalton, OH 44133


                         Jennifer ODonnell
                         18500 High Parkway
                         Rocky River, OH 44116


                         Carol Oelker
                         9604 Brower road
                         North Bend, OH 45052


                         David Oen
                         7829 Strawberry Hill Lane
                         Maineville, OH 45039


                         Rachel Oettinger
                         379 Bell Street
                         Chagrin Falls, OH 44022


                         Shannon Ogden
                         7586 Deerpath Tr
                         Hudson, OH 44236


                         Lyudmila Ogonovskiy
                         4940 Bunker Road
                         North Royalton, OH 44133


                         Cheryl Oh
                         11274 Wilson Mills Rd
                         Chardon, OH 44024


                         Kyounghwa Oh
                         3156 Richmond Rd
                         Beachwood, OH 44122


                         Ohio Department of Jobs & Fam Srvs
                         Attn: Collections Department
                         PO Box 182404
                         Columbus, OH 43218-2404


                         Roseline Okon
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                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1777 of 1944
                         Sandy Oldenburg
                         forest glen 6622 forest glen 6622
                         solon, OH 44139


                         Olentangy Orange MS
                         2680 East Orange Road
                         Lewis Center, OH 43035


                         Joshua Olgin
                         7415 Capilanio Dr
                         Solon, OH 44139


                         Andrea Oliver-Burkey
                         4888 Pineview Dr
                         Vermilion, OH 44089


                         Robyn Olivo
                         5531 Crestview Drive
                         Fairfield, OH 45014


                         Terri Olix
                         8025 edgewood
                         mentor, OH 44060


                         Susan Ollila
                         74 Paw Paw Lake Dr
                         Chagrin Falls, OH 44022


                         Richard Olsafsky
                         143 Boston Mills Rd.
                         Hudson, OH 44236


                         Daniela Olson-Perko
                         5914 Winslow Court
                         Dublin, OH 43016


                         CONNIE Olthaus
                         515 E. STATE RD
                         CLEVES, OH 45002


                         Janet Olvera
                         38800 Willoughby Hills Chardon rd
                         Willoughby, OH 44094




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1778 of 1944
                         Bryan OMaley
                         8828 Logger Place
                         Mason, OH 45040


                         Katherine Omlor
                         207 Elm St
                         Van Buren, OH 45889


                         Tamzin ONeil
                         21151 West Wagar Circle None
                         Rocky River, OH 44116


                         Kristin Onesko
                         241 Prestwick Drive
                         Broadview Heights, OH 44147


                         Grace Onimoe
                         30430 woodall drive
                         solon, OH 44139


                         Susan Oppelt
                         1535 E Hines hill Rd
                         Hudson, OH 44236


                         DANIEL OPRIS
                         22074 RIVER OAKS DR. # 8-C
                         ROCKY RIVER, OH 44116


                         Laurie Organiscak
                         11300 Stratford Ridge Lane
                         Chardon, OH 44024


                         Dina Oriani
                         12110 Arborwood Way
                         Chardon, OH 44024


                         Heather Orlando
                         5220 Edgerton Rd
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                         Cindy Orley
                         175 Kendall Park Rd
                         Peninsula, OH 44264




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1779 of 1944
                         Michael Orloski
                         11689 Lyman Rd.
                         Chesterland, OH 44026


                         Andrea Orlowski
                         9399 Monticello Drive
                         Twinsburg, OH 44087


                         Andrea Orr
                         11633 Harbour Light Drive
                         North Royalton, OH 44133


                         Angela Orr
                         3610 Smiley Road
                         Hilliard, OH 43026


                         Darrin Orr
                         3379 Noreen Drive
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                         RICHARD ORSULIC
                         31500 RONALD DR
                         WILLOWICK, OH 44095


                         Silvia Orsulic-Jeras
                         7670 Keystone Drive
                         Painesville, OH 44077


                         Christopher Osborne
                         1100 Fanwood Court
                         Painesville, OH 44077


                         Daniel Osborne
                         9019 East Mountain View dr
                         Chardon, OH 44024


                         Richard Osbourne
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                         Hilliard, OH 43026


                         Frances Osowski
                         13951 Stoney Creek Drive
                         North Royalton, OH 44133




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1780 of 1944
                         Valerie Ott
                         5912 Chatham Way
                         Hudson, OH 44236


                         Tami Otteson
                         6619 Winston Lane
                         Solon, OH 44139


                         Barbara Ottman
                         11819 Caves Road
                         Chesterland, OH 44026


                         Jodi Ours
                         8665 Johnnycake Ride Road
                         Mentor, OH 44060


                         Elizabeth Overbay
                         1352 Sheridan CT
                         Troy, OH 45373


                         Darrin Overly
                         821 Eastern Ave
                         Bellefontaine, OH 43311


                         Amanda Overmyer
                         8164 Newberry Drive
                         Findlay, OH 45840


                         Stacy Overmyer
                         215 Carriage Crossing Way
                         Troy, OH 45373


                         Amy Owen
                         613 Carson Farms Blvd
                         Delaware, OH 43015


                         Denise Owens
                         5161 Portage dr
                         vermilion, OH 44089


                         Kathy Owens
                         2550 Tucker Trail
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1781 of 1944
                         Matthew Owens
                         1110 Sheerbrook Drive
                         Chagrin Falls, OH 44022


                         William Owens
                         25466 Bryden Road
                         Beachwood, OH 44122


                         Meiko Ozanich
                         5238 towbridge drive
                         hudson, OH 44236


                         Lisa Ozello
                         7638 Stow Road
                         Hudson, OH 44236


                         John Pacholski
                         1421 Hamilton Dr
                         Brodview Hts, OH 44147


                         Sheila Pacsi
                         2486 Victoria Parkway
                         Irvine, CA 92603


                         Claudia Padilla
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                         Hilliard, OH 43026


                         Angel Padillo
                         13326 Spruce Run Dr 311
                         North Royalton, OH 44133


                         Devendrakumar Padole
                         32445 Franklin Drive Apt. 108
                         Solon, OH 44139


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                         Mentor, OH 44060


                         Michelle Pagan
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18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1782 of 1944
                         ERIN PAGLIO
                         7540 HOBBY HORSE LANE
                         MENTOR, OH 44060


                         Shawn Pagniano
                         1039 Barclay Drive
                         Galloway, OH 43119


                         Leanne Pairan
                         911 Slagle Place
                         Galloway, OH 43119


                         Munirah Paknazhad
                         2392 Walborn Drive
                         Hilliard, OH 43026


                         Elena Pal-Wal
                         2435 Brian drive
                         Beachwood, OH 44122


                         Elizabeth Palchick
                         11730 Pinewood Trail
                         Chesterland, OH 44026


                         Kim Palivec
                         8716 mulberry road
                         chesterland, OH 44026


                         Crystal Paller
                         9655 Juniper Drive
                         Chardon, OH 44024


                         Kimberly Palmer
                         5486 Port Chester Drive
                         Hudson, OH 44236


                         Jennifer Palmieri
                         1716 MAYFLOWER LN
                         HUDSON, OH 44236


                         Silvia Palmiero
                         9394 Chesapeake Drive
                         North Royalton, OH 44133




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1783 of 1944
                         Melissa Palmisano
                         2690 Coshocton Court
                         Cincinnati, OH 45233


                         Kelly Pamer
                         6514 Dunbarton Dr.
                         Hudson, OH 44236


                         Kimberly Pandy
                         48 E Bel Meadow Lane
                         Chagrin Falls, OH 44022


                         Dolleen Panichi
                         8520 Yorkview Drive
                         North Royalton, OH 44133


                         Panzica Realty
                         PO Box 76144
                         Cleveland, OH 44101


                         Maureen Paoletta
                         7157 Sugar Bush Lane
                         Chagrin Falls, OH 44022


                         Giulia Paolino
                         11950 Nottingham Parkway
                         North Royalton, OH 44133


                         Joanne Paonsha
                         4939 Anderson Rd
                         Cleveland, OH 44124


                         Tammi Pape
                         6994 Mayfield Ave
                         Cincinnati, OH 45243


                         John Papini
                         680 cornell drive
                         broadview heights, OH 44147


                         Suzanne Pappano
                         180 Aurora Street
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1784 of 1944
                         Pam Paradiso
                         6170 Thunderbird Dr.
                         Mentor, OH 44060


                         Vanitha Param
                         10886 Shawnee Circle
                         North Royalton, OH 44133


                         Alford Parish
                         6575 Edgemoor Ave
                         Solon, OH 44139


                         Andrew Park
                         31500 Cheswick Place
                         Solon, OH 44139


                         Mun Park
                         2618 Deptford Drive
                         Beachwood, OH 44122


                         TAEWAN PARK
                         6725 Duneden Ave
                         Solon, OH 44139-4049


                         Jennifer Parker
                         1659 Miami St Apt A
                         Kings Mills, OH 45034


                         Jennifer Parker
                         13285 Spruce Run Dr. #310
                         North Royalton, OH 44133


                         Kelly Parker
                         7588 stow rd
                         hudson, OH 44236


                         Laura Parker
                         6567 Copley Avenue
                         Solon, OH 44139


                         NICOLE PARKER
                         417 EAST SPRING AVENUE
                         BELLEFONTAINE, OH 43311




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1785 of 1944
                         Sally Parker
                         4553 river cove
                         Kings mills, OH 45034


                         Luellen Parkinson
                         7121 Maple St.
                         Mentor, OH 44060


                         Tiffany Parks
                         8432 Grenway Dr.
                         Mentor, OH 44060


                         Mirjana Parlov
                         8866 Meadow Dr
                         Mason, OH 45040


                         Sheri Parnell
                         1564 Carriage Hill Dr.
                         Hudson, OH 44236


                         Suzy Parnell
                         21669 Kenwood Ave
                         Rocky RIver, OH 44116


                         Kathleen Parrino
                         7051 Pine Street
                         Chagrin Falls, OH 44022


                         Nicole Parsell
                         8391 Squad Drive
                         Galloway, OH 43119


                         Roxanne Parsell
                         11820 Buckeye Ridge Road
                         Van Buren, OH 45889


                         John Parsons
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                         Vermilion, OH 44089


                         Tiffany Parsons
                         8898 Sedona Ct
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1786 of 1944
                         Christine Partain
                         83 Maple Hill Dr.
                         Chagrin Falls, OH 44022


                         Abbey Partee
                         955 Amity Rd
                         Galloway, OH 43119


                         Beth Partin
                         5589 Lake Michigan
                         Fairfield, OH 45014


                         Shannon Partin
                         98 Cortland Cir
                         Amherst, OH 44001


                         Christie Partlow
                         7599 Goldenrod
                         Mentor, OH 44060


                         Coby Pascoe
                         12229 Shiloh Dr.
                         Chesterland, OH 44026


                         Deborah Paskell
                         5159 Hemmington Blvd.
                         Solon, OH 44139


                         Joan Paskert
                         7295 Royal Portrush Drive
                         Solon, OH 44139


                         Paula Pason
                         9611 Gratham LN
                         Chardon, OH 44024


                         Petra Paspalovski
                         5865 Heritage Ct
                         Hudson, OH 44236


                         Thomas Pastijn
                         29 Clayton Court
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1787 of 1944
                         Bhavna Patel
                         4530 Howard drive
                         Vermilion, OH 44089


                         Chirag Patel
                         6784 Stow Rd.
                         Hudson, OH 44236


                         Hinaben Patel
                         5530 Mirage Dr.
                         Hilliard, OH 43026


                         Jayshree Patel
                         9930 Campton ridge drive
                         Chardon, OH 44024


                         Jessica Patel
                         3250 Walkerview Dr
                         Hilliard, OH 43026


                         KAL PATEL
                         8257 JOHNNYCAKE RIDGE RD
                         mentor, OH 44060


                         KINTESH PATEL
                         2994 AUTUMN APPLAUSE DRIVE
                         LEWIS CENTER, OH 43035


                         Rajesh Patel
                         7535 Harley Hills Dr
                         North Royalton, OH 44133


                         RITESH PATEL
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                         Mentor, OH 44060


                         Sonal Patel
                         6852 Kings Way
                         Hudson, OH 44236


                         Cherie Paterson
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                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1788 of 1944
                         Robert Patete
                         13111 Westchester Trail
                         Chesterland, OH 44026


                         Dayna Patrick
                         1789 Westport Drive
                         Kings Mills, OH 45034


                         Monica Patrick
                         8868 Williams Rd
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                         Cynthia Patrzyk
                         10124 Andover Drive
                         Twinsburg, OH 44087


                         Bill Patterson
                         11380 Caves Rd
                         Chesterland, OH 44026


                         Carla Patterson
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                         Massillon, OH 44646


                         Denise Patterson
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                         North Royalton, OH 44133


                         Jen Patterson
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                         Loveland, OH 45140


                         Joseph Patterson
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18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1789 of 1944
                         Susan Patterson
                         14620 Russell Lane
                         Russell, OH 44072


                         Tanneil Patterson
                         9345 Sherman Lane
                         North Royalton, OH 44133


                         Nick Patti
                         10995 Forest Oaks Dr.
                         Chardon, OH 44024


                         Shannon Paul
                         1651 Mentor Ave. apt. 1512
                         Painesville, OH 44077


                         Dino Paulesc
                         2147 Nettleton Ln
                         Broadview Heights, OH 44147


                         Christen Pavia
                         977 Ashbrooke Way
                         Hudson, OH 44236


                         Christy Pavia
                         977 Ashbrooke Way
                         Hudson, OH 44236


                         Lesley Pawar
                         35365 Quartermane Circle
                         Bentleyville, OH 44139


                         David Pawlowski
                         20252 Westhaven Lane
                         Rocky River, OH 44116


                         Julie Pawlowski
                         6548 Canterbury Drive
                         Hudson, OH 44236


                         Bethany Payne
                         3191 Neille Lane
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1790 of 1944
                         Bobbi Payne
                         1505 corrib ave nw
                         Canton, OH 44708


                         Kathleen Payne
                         9749 Silverleaf Drive
                         North Royalton, OH 44133


                         Natosha Payne
                         268 Vincent Ave
                         Troy, OH 45373


                         Tina Payne
                         2051 Presidential Pkwy 32
                         Twinsburg, OH 44087


                         Edward Paynter
                         104 W Pointe Court
                         Chardon, OH 44024


                         PayPal, Inc.
                         2211 N First Street
                         San Jose, CA 95131


                         Fouseena Pazheri
                         6235 Lochmoor ct
                         Solon, OH 44139


                         Matt Pazzelli
                         5634 Tynecastle Loop
                         Dublin, OH 43016


                         NICOLE Pearce
                         11505 Bass Lake Rd
                         Chardon, OH 44024


                         Christina Pearson
                         416 s. Detroit st.
                         Bellefontaine, OH 43311


                         Laura Pearson
                         606 Ledgeview Ct
                         Cleves, OH 45002




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1791 of 1944
                         Melissa Pece
                         6985 Woodlands Lane
                         Solon, OH 44139


                         MICHAEL PECJAK
                         498 CHERRYWOOD LN
                         PAINESVILLE, OH 44077


                         Kelly Peck
                         8574 Sugar Tree Drive
                         Novelty, OH 44072


                         Marlo Peck
                         50 Heather Ct
                         Chagrin Falls, OH 44022


                         Cesar Pedraza
                         1781 e 34th street
                         lorain, OH 44055


                         Dana Peeden
                         1791 Curry Lane
                         Twinsburg, OH 44087


                         Kari Peek
                         12702 Heath Rd
                         Chesterland, OH 44026


                         Denise Peel
                         1718 Royal Oaks Cir
                         Hudson, OH 44236


                         Cynthia Peeples
                         2010 Abner Lane
                         Hudson, OH 44236


                         Jessica Pelini
                         2483 Renwick Way
                         Troy, OH 45373


                         Michelle Pelles
                         8418 Haines Ct
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1792 of 1944
                         Michelle Pelleschi
                         4931 Calico Court
                         Hilliard, OH 43026


                         Charity Pelletier
                         2138 Samson Circle
                         Hudson, OH 44236


                         Kristine Peltz
                         12788 Lynn Dr
                         Chesterland, OH 44026


                         Lea Pemberton
                         8526 Misty Woods Circle
                         Powell, OH 43065


                         Shulan Peng
                         22614 Halburton Road
                         Beachwood, OH 44122


                         Joanne Penkalski
                         9554 Vista Drive
                         North Royalton, OH 44133


                         Geri Penkowski
                         7917 Glen Arbor Court
                         Mentor, OH 44060


                         Ann Penn
                         4519 Earman Dr
                         Hilliard, OH 43026-3801


                         Michael Pennell
                         438 north st apt 1a
                         Chardon, OH 44024


                         Allen Pennington
                         8280 Starburst Road
                         Mentor, OH 44060


                         Edward Pennington
                         3893 Wood Trail Dr
                         Mason, OH 45040




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1793 of 1944
                         Jennifer Penny
                         6398 Brooks Blvd
                         Mentor, OH 44060


                         Lesli Peoples
                         12-4 Meadowlawn Drive
                         Mentor, OH 44060


                         Suzana Pepanian
                         2005 Presidential Parkway Apt 83
                         Twinsburg, OH 44087


                         Michael Perdue
                         1350 Briarshore Way
                         Lewis Center, OH 43035


                         Khema Perera
                         2215 Pebble Creek Drive APT 201J
                         Twinsburg, OH 44087


                         Marian Perez
                         8793 Evergreen Drive
                         Mentor, OH 44060


                         Sonia Perez
                         2376 north star rd. Apt. 3 e
                         Columbus s, OH 43221


                         Rebecca Perich
                         9765 Parkland Drive
                         Twinsburg, OH 44087


                         Joyce Perrico
                         408 Chardon Avenue
                         Chardon, OH 44024


                         Saundra Perrin
                         1196 waldoway
                         twinsburg, OH 44087


                         Angela Perry
                         4491 Sir John Avenue
                         North Royalton, OH 44133




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1794 of 1944
                         Grace Perryman
                         23719 woodway road
                         Beachwood, OH 44122


                         Selina Persad
                         4945 wallington dr
                         Hilliard, OH 43026


                         Sheila Persall
                         6610 Strathern Court
                         Dublin, OH 43016


                         Jaime Perz
                         11855 Clarkwood Drive
                         Chardon, OH 44024


                         Kristine Pesho
                         7625 Westcot Lane
                         Novelty, OH 44072


                         Tom Pessler
                         590 Laurelwood Dr
                         Cleves, OH 45002


                         Angela Peters
                         5088 Wainfleet Court
                         Columbus, OH 43221


                         Katina Peters
                         9036 Country View Lane
                         Loveland, OH 45140


                         Holly Petersen
                         11580 regent park drive
                         Chardon, OH 44024


                         Lisa Petersen
                         8121 Butler Hill Dr
                         Painesville, OH 44077


                         Vicki Petersen
                         6017 Macnabb Ct.
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1795 of 1944
                         Kelli Peterson
                         1206 Wagar Rd
                         Rocky River, OH 44116


                         Leah Peterson
                         124 Keswick Drive
                         Hudson, OH 44236


                         Shawna Peterson
                         2386 Old Mill Rd
                         Hudson, OH 44236


                         SaraJean Petite
                         19425 Telbir Ave
                         Rocky River, OH 44116


                         Marla Petti
                         25465 Cardington Drive
                         Beachwood, OH 44122


                         Yolanda Pettiegrew
                         12660 Pebblebrook Trail
                         North Royalton, OH 44133


                         Joan Pettinelli
                         4491 Sir Robert Avenue
                         North Royalton, OH 44133


                         April Petty
                         5805 Patrick St SW
                         Canton, OH 44706


                         Tiffanie Petty
                         11225 Elk Run Road
                         Chardon, OH 44024


                         Melissa Pettyjohn
                         13173 Redcliffe rd
                         Chardon, OH 44024


                         Jen Pezzuto
                         101 sawmill bnd
                         chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1796 of 1944
                         Michelle Pfaff
                         22415 Berry Drive
                         Rocky River, OH 44116


                         Max Pfeifer
                         7438 Cadle Ave
                         Mentor, OH 44060


                         Nyioka Phalen
                         4649 Cox-Smith Road
                         Mason, OH 45040


                         DU PHAM
                         6439 Dorset Lane
                         Solon, OH 44139


                         Devona Phares
                         3917 Kul Circle South
                         Hilliard, OH 43026


                         Chris Pheiffer
                         7808 Gladshire Blvd
                         Lewis Center, OH 43035


                         Carrie Phelan
                         14747 Sisson Rd.
                         Chardon, OH 44024


                         Lisa Phelps
                         7708 Storrington Place
                         Lewis Center, OH 43035


                         Saysong Phetlasymongkhon
                         2575 Punderson Drive
                         Hilliard, OH 43026


                         Amanda Phillips
                         309 Lawrence St
                         Bellefontaine, OH 43311


                         Amy Phillips
                         2318 Pleasant Colony Drive
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1797 of 1944
                         Beth Phillips
                         2610 Amberwick Place
                         Hilliard, OH 43026


                         Carolina Phillips
                         22134 River Oaks Dr Apt 2c
                         Rocky River, OH 44116


                         Christina Phillips
                         3426 Woodland Drive
                         Hilliard, OH 43026


                         Erika Phillips
                         11435 Glenmora Dr.
                         Chardon, OH 44024


                         Lori Piazza
                         13824 oakbrook dr
                         north royalton, OH 44133


                         Leslie Piccolomini
                         13831 Lodge Drive
                         North Royalton, OH 44133


                         Marjorie Piccolomini
                         15397 Ridge
                         North Royalton, OH 44133


                         Lori Pickering
                         674 Oxford Dr
                         Broadview Heights, OH 44147


                         Adrienne Pierce
                         2584 Lombardi Ave SW
                         Canton, OH 44706


                         Cathy Pierce
                         9818 hickory dr
                         Loveland, OH 45140


                         Kelly Pierce
                         436 Meadow View Dr
                         Powell, OH 43065




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1798 of 1944
                         Lisa Pierce
                         6776 St. Regis Blvd
                         Hudson, OH 44236


                         Lisa Pierce
                         6102 Dodge Rd sw
                         Canton, OH 44706


                         Tara Pierce
                         29 W. Market St.
                         Troy, OH 45373


                         Lori Pierce-Cohen
                         14781 Caves Road
                         Novelty, OH 44072


                         Jennifer Pierson
                         4490 HIGHLAND MEADOWS CT
                         HILLIARD, OH 43026


                         Angela Pigman
                         9010 Emerald Hill Dr
                         Lewis Center, OH 43035


                         Valerie Piguet
                         1287 Chatham Pl
                         Rocky River, OH 44116


                         Mike Piks
                         7381 Hart St.
                         Mentor, OH 44060


                         Mike Pilotti
                         6970 Sturbridge Dr.
                         Painesville, OH 44077


                         John Pina
                         2899 Cr 18
                         Arcadia, OH 44804


                         Rosario Pina
                         5919 Portside Dr 5919 Portside Dr
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1799 of 1944
                         Anna Pineda
                         4824 Lakeview Drive
                         Mentor, OH 44060


                         Jeffrey Pinkerton
                         5001 Northview Ct
                         Vermilion, OH 44089


                         Michele Pirc
                         5301 e heisley rd
                         mentor, OH 44060


                         Mary Pisano
                         9080 Cabriolet Ave
                         Concord, OH 44060


                         Alisa Pistone
                         8900 Ranch Dr
                         Chesterland, OH 44026


                         Jason Pitteroff
                         6058 Joneswood Drive
                         Hilliard, OH 43026


                         Shelley Pittman
                         556 Aston View Ln
                         Cleves, OH 45002


                         Amanda Pitts
                         12614 w lake rd
                         Vermilion, OH 44089


                         Rose Pitzer
                         3959 Bear Lane
                         Cleves, OH 45002


                         Sandra Piwinski
                         5103 Driftwood Dr
                         Vermilion, OH 44089


                         Kim Pizzuti
                         3944 Kul Circle North
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1800 of 1944
                         Chris Place
                         2911 Maureen Ct
                         loveland, OH 45140


                         Jason Place
                         7969 Champaign Dr.
                         Mentor, OH 44060


                         Andrea Planck
                         1832 Walker Rd.
                         Hilliard, OH 43026


                         Michael Plant
                         7855 Chillicothe Rd
                         MENTOR, OH 44060


                         Jeffrey Platko
                         6949 Highview Drive
                         Solon, OH 44139


                         Mark Platt
                         314 Wilson Mills Rd.
                         Chardon, OH 44024


                         Jan Plaxico
                         7155 Hart Street F-43
                         Mentor, OH 44060


                         Michele Plessinger
                         6626 Shawnee Run Road
                         Cincinnati, OH 45243


                         Christie Plickert
                         3784 Pleasantbrook dr
                         Hilliard, OH 43026


                         Jennifer Plikerd
                         517 East Sandusky Ave
                         Bellefontaine, OH 43311


                         Lori Plinke
                         4001
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1801 of 1944
                         Courtney Ploskunak
                         7555 Huntington Rd
                         Hudson, OH 44236


                         Amanda Plymel
                         5870 Birch Lane
                         Mentor on the lake, OH 44060


                         Rob Poelking
                         8370 Kinsman Road
                         Novelty, OH 44072


                         Kelly Pohto-Bush
                         7882 Richwood Drive
                         Mentor on the Lake, OH 44060


                         Danielle Poirier
                         1209 Whipple Ave SW
                         Canton, OH 44710


                         Tara Polanco
                         6985 Charlesfield Ln
                         Cincinnati, OH 45243


                         Jennifer Polar
                         1978 Thornwood ln
                         Painesville, OH 44077


                         Arthur Poling
                         240 Columbus st.
                         Elyria, OH 44035


                         Philip Pollitt
                         2129 Jeffey Drive
                         Hilliard, OH 43026


                         Coleen Pollock
                         2665 Brunswick Lane
                         Hudson, OH 44236


                         Erin Pollock
                         7415 Hillside lane
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1802 of 1944
                         Rachelle Pollock
                         10078 N Surfside Cir
                         Reminderville, OH 44202


                         Sarah Polly
                         19764 Riverview
                         Rocky River, OH 44116


                         Jessica Polverini
                         255 floral acres dr
                         Tipp city, OH 45371


                         Beth Pong
                         846 Winding River Blvd
                         Maineville, OH 45039


                         Natasha Pongonis
                         2765 Lake Hollow Rd
                         HILLIARD, OH 43026


                         Aaron Pool
                         750 CR 32 North
                         Bellefontaine, OH 43311


                         Christa Poole
                         23809 East Silsby Rd
                         Beachwood, OH 44122


                         Erica Pooler
                         1115 long st
                         Troy, OH 45373


                         Aimee Pope
                         401 E. Brown Ave
                         Bellefontaine, OH 43311


                         Lisa Pope
                         67 May Court
                         Chagrin Falls, OH 44022


                         Sheri Popik
                         9899 East Idlewood Dr.
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1803 of 1944
                         Julie Popovich
                         31866 S. Roundhead Drive
                         Solon, OH 44139


                         Debbie Porach
                         7586 Estate Ave.
                         hudson, OH 44236


                         Christina Porinchok
                         722 MALLARD CIR NW
                         MASSILLON, OH 44646


                         Port Clinton MS
                         807 South Jefferson Street
                         Port Clinton, OH 43452


                         Cynthia Porter
                         4616 Winterset dr
                         Columbus, OH 43220


                         Jennifer Porter
                         9373 Chesapeake Dr.
                         North Royalton, OH 44133


                         Greg Portier
                         1356 deerlick dr
                         columbus, OH 43228


                         Patty Posante
                         7675 Oak Hill Drive
                         Chesterland, OH 44026


                         Julie Post
                         3108 Killingworth Lane
                         Twinsburg, OH 44087


                         Jennifer Potoczak
                         6505 Bryson Drive
                         Mentor, OH 44060


                         Rosanne Potter
                         1300 Bridget Lane
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1804 of 1944
                         Heather Potts
                         6539 Canterbury Dr
                         Hudson, OH 44236


                         Justin Powell
                         2579 Bernice Ct.
                         Melbourne, FL 32935


                         Karie Powell
                         5120 Grosse Pointe Ln.
                         Cincinnati, OH 45238


                         Michele Powell
                         2159 Hayer Court
                         Lewis Center, OH 43035


                         Rebecca Powell
                         336 South Hambden St
                         Chardon, OH 44024


                         Thomas Powell
                         8835 Oakbrook Circle
                         Twinsburg, OH 44087


                         Tina Powell
                         5291 Taylor Lane Ave.
                         Hilliard, OH 43026


                         Amanda Powers
                         5633 Maple Dell Ct.
                         Hilliard, OH 43026


                         Gary Powers
                         2139 fenway
                         Beachwood, OH 44122


                         Swati Pradhan
                         1848 little bear loop
                         Lewis Center, OH 43035


                         Ashley Prado
                         2288 Kate Circle
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1805 of 1944
                         Nicole Prater
                         3651 Stoneboat Ct
                         Maineville, OH 45039


                         Danielle Pratt
                         2089 Steffi Drive
                         Hilliard, OH 43026


                         Sean Pratt
                         4961 Glennlodge rd.
                         Mentor, OH 44060


                         Shannon Prendergast
                         6804 palmerston dr
                         mentor, OH 44060


                         John Prentice
                         7340 Colt Drive
                         Mentor, OH 44060


                         Tina Preseren
                         7622 Gentry Circle
                         Cocord Twp, OH 44077


                         Chris Preslock
                         1 Owens Corning Parkway
                         Toledo, OH 43659


                         Angel Preston
                         10147 Pirates Trail
                         Reminderville, OH 44202


                         Silvia Pretto
                         5350 Camelot Dr. #7
                         Cincinnati, OH 45014


                         Amy Preuer
                         8688 prairie grass lane
                         mentor, OH 44060


                         Stacey Prevost
                         PO Box 953
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1806 of 1944
                         Nadis Prewitt
                         2995 Steffan Woods Dr
                         Twinsburg, OH 44087


                         Krista Prexta
                         14725 Russell Lane
                         Novelty, OH 44072


                         Brian Price
                         5723 Williamsburg Cir
                         Hudson, OH 44236


                         Linda Price
                         3790 Wenwood Dr
                         Hilliard, OH 43026


                         TERRI PRICE
                         5613 TOWNSHIP ROAD 243
                         FINDLAY, OH 45840


                         Kodi Pride
                         7896 Wildel Dr
                         Twinsburg, OH 44087


                         Victoria Priester
                         12715 Carter Rd
                         Painesville, OH 44077


                         Ranicia Prisock
                         3470 crooked tree circle
                         Hamilton, OH 45011


                         Cassandra Pritikin
                         980 Bernard Road
                         Columbus, OH 43221


                         Lisa Proffitt
                         2618 Copperwood Rd
                         Hilliard, OH 43026


                         Beth Prontiker
                         4593 Cox Drive Unit B
                         Stow, OH 44224




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1807 of 1944
                         Katie Proszek
                         14531 Sisson Road
                         Chardon, OH 44024


                         Allison Prucha
                         340 Cheshire Rd.
                         Hudson, OH 44236


                         Tricia Ptak
                         12000 Firefly Dr
                         N Royalton, OH 44133-6100


                         Liz Puffenbarger
                         1085 Outrigger Cove
                         Painesville, OH 44077


                         Christina Pugh
                         805 Lost Pond Pkwy
                         Chardon, OH 44024


                         Jennifer Puhl
                         888 Ashbrooke way
                         Hudson, OH 44236


                         Monica Puleo
                         14137 Kimrose Lane
                         North Royalton, OH 44133


                         Amy Pulfer
                         116 East Williams avenue
                         Bellefontaine, OH 43311


                         Raul Pulido
                         5476 Lakeside Dr
                         Fairfield, OH 45014


                         THOMAS PULLUMPALLIL
                         4878 Davidson Run Dr
                         Hilliard, OH 43026


                         Alison Pulte
                         40 Quail Ridge Drive
                         Bentleyville, OH 44022




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1808 of 1944
                         Barbara Pulte
                         6549 Sherborne Lane
                         Hudson, OH 44236


                         Lynda Pumphrey
                         8544 Louise Dr
                         Mentor, OH 44060


                         Damaris Punales-Alpizar
                         7446 Kinsman Road
                         Novelty, OH 44072


                         Joenee Purcell
                         1332 Turner Road
                         Bellefontaine, OH 43311


                         Purchase Power
                         PO Box 371874
                         Pittsburgh, PA 15250


                         Jennifer Purchase
                         13370 Green Dr
                         Chesterland, OH 44026


                         Tiesha Purnell
                         815 Frost Road 1203
                         Streetsboro, OH 44241


                         Mara Purnhagen
                         39 Forest Drive
                         Chagrin Falls, OH 44022


                         Michelle Putney
                         5723 Charmar Drive
                         Mentor, OH 44060


                         Mark Quaiser
                         1250 Eriewood Dr.
                         Rocky River, OH 44116


                         Sabra Qualls
                         8411 Morris Road
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1809 of 1944
                         Jennifer Quinn
                         9909 State Rd
                         North Royalton, OH 44133


                         Kellie Quinn
                         1573 Greenfield Ln.
                         Painesville, OH 44077


                         Kristan Quinn
                         9642 Mentor Rd
                         Chardon, OH 44024


                         Sherri Racine
                         1375 Lee Rd
                         Troy, OH 45373


                         Mindaugas Rackaitis
                         1549 Plantation Dr.
                         Hudson, OH 44236


                         Michelle Radatz
                         11625 county line road
                         gates mills, OH 44040


                         Barbara Radekevich
                         9307 Jovanna Court
                         Mentor, OH 44060


                         Stephanie Radziewicz
                         7468 Mckinley St.
                         Mentor, OH 44060


                         Robert Rafalke
                         5001 Oakview Dr
                         Vermilion, OH 44089


                         Tonya Rafalke
                         4912 orchard rd
                         Mentor, OH 44060


                         Ann Raglow
                         8807 Pinewood Ct.
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1810 of 1944
                         Tania Rahaman
                         1315 prentis house CT
                         Columbus, OH 43235


                         Michelle Rahija
                         5392 Lorrey Place
                         Mentor, OH 44060


                         Nicole Rainsberger
                         4394 Chevron Circle SW
                         Massillon, OH 44646


                         Priya Raj
                         2169 Halcyon Road
                         Beachwood, OH 44122


                         Andjela Rajic
                         7970 Mentor Ave. D3
                         Mentor, OH 44060


                         Kim Rako
                         1779 Stoney Hill Drive
                         Hudson, OH 44236


                         Tracey Ralph
                         13082 Fairfield Trail
                         Chesterland, OH 44026


                         Rakesh Ramachandran
                         7123 Longview Dr
                         Solon, OH 44139


                         Gopal Ramakrishnan
                         5164 Hemmington Blvd
                         Solon, OH 44139


                         Joe RAMEY
                         266 BRENTWOOD DR
                         HUDSON, OH 44236-1656


                         Meghan Ramey
                         6335 Bryson dr
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1811 of 1944
                         Lorena Ramirez
                         2226 Puma Place
                         Hilliard, OH 43026


                         STACIA RAMIREZ
                         1250 ANIKO AVENUE
                         Lewis Center, OH 43035


                         Chad Ramlow
                         7509 Berks Way
                         Hudson, OH 44236


                         Melissa Rammel
                         890 Farnham Way
                         Hudson, OH 44236


                         Sue Ramming
                         12381 Summerwood Dr.
                         Concord Township, OH 44077


                         Steven Ramos
                         10211 Chipmunk Ridge Road
                         Concord, OH 44077


                         Jeff Rampe
                         12531 County Rd 109
                         Findlay, OH 45840


                         Karen Rampe
                         5450 Pinehill Dr
                         Mentor, OH 44060


                         Cindy Ramsey
                         2299 Wellington Circle
                         Hudson, OH 44236


                         Jacque Ramsey
                         5826 Privilege Drive
                         Hilliard, OH 43026


                         Jaime Ramsey
                         4881 Parkmoor Drive
                         Dublin, OH 43016




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1812 of 1944
                         Angie Ranallo
                         9721 mayfield rd
                         chesterland, OH 44026


                         Tai Ranallo
                         11075 spear rd
                         painesville, OH 44077


                         Jennifer Randolph
                         246 Fox Ridge Circle
                         Powell, OH 43065


                         Jen Randulic
                         6703 List St NW
                         Canton, OH 44708


                         Faith Ransom
                         8014 Peardale Dr
                         Lewis Center, OH 43035


                         Beth Rapien
                         3837 Bremen Pass
                         Cleves, OH 45002


                         Georgeanna Rapp
                         3734 Tillman St. NW
                         Massillon, OH 44646


                         Shannon Raquet
                         3399 Muskopf ct
                         fairfield, OH 45014


                         Lydia Raser
                         9611 Brayes Manor Dr
                         Mentor, OH 44060


                         Amir Rashid
                         6705 Edgemoor Ave
                         Solon, OH 44139


                         Nancy Rasoul
                         4484 McCullough Ln
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1813 of 1944
                         Paulina Raspovic
                         7441 Ford Dr
                         Mentor, OH 44060


                         Jamie Ratcliffe
                         12281 Girdled Rd
                         Painesville, OH 44077


                         Maryanne Ratka
                         6572 Copley Avenue
                         Solon, OH 44139


                         Samantha Ratleff
                         3984 Clayford Dr
                         Columbus, OH 43204


                         John Ratliff
                         2423 southway st sw
                         massillon, OH 44646


                         Jennifer Raubenolt
                         7956 Augusta Ln
                         Painesville, OH 44077


                         Michelle Rauer
                         11801 Jason Avenue
                         Painesville, OH 44077


                         Jane Rawlings
                         2954 Pine Grove Lane
                         Maineville, OH 45039


                         Heather Rawlins
                         715 Lindridge Dr
                         Galloway, OH 43119


                         Lynda Ray
                         5112 Sassafras Rd
                         Columbus, OH 43229


                         Malinda Ray
                         601 S. Dorset Rd.
                         Troy, OH 45373




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1814 of 1944
                         Colleen Raynewater
                         21368 BEACHWOOD DR
                         ROCKY RIVER, OH 44116


                         Angela Razidlo
                         5938 Galleon Court
                         Hilliard, OH 43026


                         Melissa Read
                         8594 Baker Ave
                         Mentor, OH 44060


                         Colleen Ready
                         7563 Red Fox Trail
                         Hudson, OH 44236


                         Patrick Reagan
                         13902 Sweetbriar Ln
                         Novelty, OH 44072


                         Kelley Ream
                         2438 OLDE FARM LN
                         HUDSON, OH 44236


                         Erin Reaper
                         2278 Jesse Dr
                         Hudson, OH 44236


                         Kate Reber
                         6164 Burr Oak Way
                         Hudson, OH 44236


                         Michelle Recker
                         4769 E wood duck ct
                         Port Clinton, OH 43452


                         Samantha Reda
                         8539 Oak Village Blvd
                         Lewis Center, OH 43035


                         Alice Redd
                         1700 Beckwith Drive
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1815 of 1944
                         Harish Reddy
                         5661 Gadston way
                         Columbus, OH 43228


                         Andrea Reed
                         13994 E. Willard Rd.
                         Novelty, OH 44072


                         Brittany Reed
                         1342 Mckaig 1342mckaig
                         troy, OH 45373


                         Eileen Reed
                         464 Whitman Blvd
                         elyria, OH 44035


                         Joe Reed
                         8265 Kristin Ct.
                         Lewis Center, OH 43035


                         Stacy Reed
                         8116 Saddleback Pl
                         Maineville, OH 45039


                         Tonya Reed
                         413 Superior St
                         Bellefontaine, OH 43311


                         Kendra Reeg
                         5611 Deerborn Ave
                         Mentor, OH 44060


                         Joanna Reese
                         6640 Westpoint Drive
                         Hudson, OH 44236


                         Kimberly Reese
                         11950 Abbey Road
                         North Royalton, OH 44133


                         Michelle Reese
                         25434 Wimbledon Rd.
                         Beachwood, OH 44122




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                         Catherine Reesman
                         5409 Banbury Dr
                         Columbus, OH 43235


                         Mary Reeves
                         2018 Levelgreen Dr
                         Columbus, OH 43219


                         Denise Regenbogen
                         4750 Coolbrook Drive
                         Hilliard, OH 43026


                         Kristine Regula-Ness
                         4334 Huntwicke Court
                         Hilliard, OH 43026


                         Kelly Reich
                         2534 Blue Heron Drive
                         Hudson, OH 44236


                         Christina Reid
                         21 Kenton Road
                         Chagrin Falls, OH 44022


                         M Reider
                         2321 North Park Boulevard -
                         Cleveland Heights, OH 44106


                         Carol Reidy
                         411 Peppertree ln
                         Painesville, OH 44077


                         Kristy Reifinger
                         576 Riverside Dr
                         Painesville, OH 44077


                         Amber Reigelsperger
                         325 Dye Mill Rd
                         Troy, OH 45373


                         Karen Reinart
                         20980 Morewood Pkwy
                         Rocky River, OH 44116




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                         Angela Reineck
                         4534 E Laurel Ridge Dr
                         Port Clinton, OH 43452-4005


                         Cheryl Reineke
                         1820 Silver Creek Dr
                         Findlay, OH 45840


                         Jill Reiter
                         697 Dogwood Lane
                         Vermilion, OH 44089


                         Beth Reitz
                         131 Woodview Drive
                         Elyria, OH 44035


                         Thomas Rembowski
                         4851 Persimmon Lane
                         North Royalton, OH 44133


                         James Reminder
                         10570 Fincherie Dr
                         Chardon, OH 44024


                         Carolyn Remington
                         8325 Sumner Rd.
                         Chardon, OH 44024


                         LIHONG REN
                         2350 Twickenham Dr
                         Beachwood, OH 44122


                         Renaissane Chicago Northrbrook
                         933 Skokie Boulevard
                         Northbrook, IL 60062


                         Jordan Renna
                         144 Keswick Dr.
                         Hudson, OH 44236


                         Dan Renner
                         8140 Edgerton Road
                         North Royalton, OH 44133




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1818 of 1944
                         Gary Rensi
                         6049 MANSHIRE COURT
                         GALLOWAY, OH 43119


                         Michelle Renton
                         939 riverbend ave
                         powell, OH 43065


                         Daniel Renz
                         5737 Bonaly Court
                         Dublin, OH 43016


                         Kate Repola
                         1550 Sanford Street
                         Vermilion, OH 44089


                         Kristen Reppeto
                         325 Forest Edge Dr
                         South Lebanon, OH 45065


                         Debra Reske
                         6041 Heather Lane
                         Hudson, OH 44236


                         Nicki Resko
                         7911 Cemetery Rd
                         Vermilion, OH 44089


                         Gregory Resnick
                         2404 Allen Blvd
                         Beachwood, OH 44122


                         Judy Ressler
                         6264 Stonewood Lane
                         Solon, OH 44139


                         Kara Restorick
                         5252 Tyner Ave NW
                         Canton, OH 44708


                         Tricia Retallick
                         15085 Steelhead Run
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1819 of 1944
                         Kara Reutter
                         10776 Ellison creek dr
                         Concors, OH 44077


                         Heather Reynolds
                         9622 Lasalle Lane
                         Mentor, OH 44060


                         Nicole Reynolds
                         5834 Lake Rd
                         Mentor, OH 44060


                         Patrice Reynolds
                         11300 Palmer Lane
                         Twinsburg, OH 44087


                         Victoria Reznik
                         9279 HELEN LN TWINSBURG TWINSBURG
                         TWINSBURG, OH 44087


                         Tonya Reznor
                         826 Branford Rd
                         Troy, OH 45373


                         Heidi Rhoades
                         1512 S Main St
                         Bellefontaine, OH 43311


                         Victoria Rhoades
                         429 Cherrywood Lane
                         Painesville, OH 44077


                         Andrea Rhodes
                         71 parmelee dr
                         hudson, OH 44236


                         Kelli Rhyan
                         954 Chara Lane
                         Columbus, OH 43240


                         Adrian Ribovich
                         7988 Princewood Drive
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1820 of 1944
                         Tiffany Ricci
                         7071 Brightwood Dr.
                         Concord, OH 44077


                         Christine Rice
                         6091 thunderbird dr
                         Mentor on the lake, OH 44060


                         Nick Rice
                         8475 roberts rd
                         galloway, OH 43119


                         Judy Rich
                         7260 Dursley Court
                         Solon, OH 44139


                         Mark Rich
                         8522 Argee Dr
                         Mentor, OH 44060


                         Jennifer Richard
                         878 Overbrook Ave
                         Maineville, OH 45039


                         Brenda Richards
                         9882 High Country Drive
                         Chardon, OH 44024


                         Danette Richards
                         342 Plum St.
                         Fairport Harbor, OH 44077


                         Aaron Richardson
                         6188 Timberbrook Ln
                         Columbus, OH 43228


                         Brenda Richardson
                         23305 Chagrin Blvd #301s
                         Beachwood, OH 44122


                         Chevae Richardson
                         24205 East Groveland Road
                         Beachwood, OH 44122




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1821 of 1944
                         Deryck Richardson
                         4843 Drayton Rd
                         Hilliard, OH 43026


                         MARISSA RICHARDSON
                         1871 HICKORY HILL DR
                         COLUMBUS, OH 43228


                         Tonya Rick
                         5016 Brooksdale Rd
                         Mentor, OH 44060


                         Meagan Ricketti-AlGhamdi
                         21621 Detroit
                         Rocky river, OH 44116


                         Adriana Rickon
                         1731 Arbutus Dr.
                         Hudson, OH 44236


                         Ridge MS
                         7860 Johnnycake Ridge Rd
                         Mentor, OH 44060


                         JENNIFER Ridgley
                         4546 Huntwicke Dr
                         Hilliard, OH 43026


                         Ridgview MS
                         4241 Rudy Road
                         Columbus, OH 43214


                         Jennifer Riegle
                         12320 County Rd 109
                         Findlay, OH 45840


                         Mary Riga
                         3372 Muskopf Ct
                         Fairfield, OH 45014


                         Colleen Rigo
                         5782 Nearing Circle
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1822 of 1944
                         Beth Riley
                         23416 E. Baintree RD
                         Beachwood, OH 44122


                         Cathy Riley
                         6600 Miami Avenue
                         Cincinnati, OH 45243


                         Elizabeth Riley
                         34875 Lakeview Dr.
                         Solon, OH 44139


                         Erica Riley
                         3551 Banyan St. NW
                         Massillon, OH 44646


                         Susan Riley
                         1895 Case Western dr. SE
                         Massillon, OH 44646


                         Ione Rindler
                         2720 Southside Dr.
                         Troy, OH 45373


                         Brooke Ringler
                         3375 Lake Crest Drive
                         Hamilton, OH 45011


                         Bridget Rini
                         97 Elm Court
                         Chagrin Falls, OH 44022


                         Kimbelry Rinkes
                         13488 Ravenna Road
                         Chardon, OH 44024


                         Kathy RiordanPfeifer
                         3560 Kings Post Parkway
                         Rocky River, OH 44116


                         Candelario Rios
                         12860 Mayfield Road lot 74
                         Chardon, OH 44024




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                         Jen Rischitelli
                         7604 Bendleton Drive
                         Hudson, OH 44236


                         Laurel Risko
                         7858 Rutland
                         Mentor, OH 44060


                         Kristy Ristoff
                         152 Cayuga Ave nw
                         Canton, OH 44708


                         Susan Ritt
                         8230 Yorkshire Dr.
                         Mentor, OH 44060


                         JOSEPH RITTER
                         2088 MAXWELL AVE
                         LEWIS CENTER, OH 43035


                         Brittany Rittgers
                         3009 Seeger Street
                         Columbus, OH 43228


                         Michelle Ritz
                         117 Middle Post Pointe
                         Chardon, OH 44024


                         Anthony Rivers
                         8842 Crestwater Drive
                         GALLOWAY, OH 43119


                         Marland Rivers
                         3226 Bidlington Dr.
                         Columbus, OH 43224


                         Guadalupe Rizo
                         6615 st AptC112
                         Mentor, OH 44060


                         Ali Rizvi
                         2101 Eton St
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1824 of 1944
                         Brenda Robbins
                         9900 Nantucket Cove
                         Twinsburg, OH 44087


                         Karen Robejsek
                         8296 Fairfax Drive
                         Mentor, OH 44060


                         Christine Roberts
                         7410 Capilano Dr
                         Solon, OH 44139


                         Doug Roberts
                         3724 Stunsail Lane
                         Columbus, OH 43221


                         Jennifer Roberts
                         7569 Ruth St.
                         Mentor, OH 44060


                         Jennifer Roberts
                         4125 E. Laurel Ridge Drive
                         Port Clinton, OH 43452


                         John Roberts
                         5481 granada drive
                         mentor, OH 44060


                         Kristina Roberts
                         6086 Wexford Park Dr
                         Columbus, OH 43228


                         Maryanne Roberts
                         2623 sandstone path
                         hudson, OH 44236


                         Timothy Roberts
                         606 Sassafras Drive
                         Vermilion, OH 44089


                         Greg Robertson
                         12 S Hayden Pkwy
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1825 of 1944
                         Deborah Robie
                         12410 Woodin Road
                         Chardon, OH 44024


                         Elizabeth Robinette
                         10942 THORESBY CIR NW
                         UNIONTOWN, OH 44685


                         Alane Robinson
                         5176 Garmouth Court
                         Columbus, OH 43221


                         Emily Robinson
                         1254 Chaucer Pl.
                         Maineville, OH 45039


                         Jennifer Robinson
                         8960 North Brown Rd
                         Chardon, OH 44024


                         Jennifer Robinson
                         134 Chadbourne drive
                         Hudson, OH 44236


                         Kristen Robinson
                         1887 Norton road
                         Hudson, OH 44236


                         Porche Robinson
                         10790 Ravenna Road Apartment 204
                         Twinsburg, OH 44087


                         Susan Robinson
                         1033 orchard ln
                         Broadview hts, OH 44147


                         Wanda Robinson
                         1977 Eton st
                         Twinsburg, OH 44087


                         Jose Rocha
                         112 First Street
                         Addyston, OH 45001




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                         Lora Rocha
                         112 first street
                         Addyston, OH 45001


                         Gretchen Roche
                         217 Meadow View Dr
                         Powell, OH 43065


                         Rocky River MS
                         1631 Lakeview Avenue
                         Rocky River, OH 44116


                         Raquel Roddy
                         2525 Middleton Road
                         Hudson, OH 44236


                         Alina Rodean
                         5562 Weston Trail Drive
                         Hilliard, OH 43026


                         Stephanie Rodenbaugh
                         4944 Vicksburg Court
                         Hilliard, OH 43026


                         Jennifer Rodriguez
                         13685 RADCLIFFE RD
                         Chardon, OH 44024


                         Michael Rodriguez
                         6702 Dunheath Circle
                         Dublin, OH 43016


                         Christine Roeder
                         5740 Primavera Drive
                         Mentor, OH 44060


                         Amy Roediger
                         10375 Wilder Rd
                         Chardon, OH 44024


                         Markus Roessler
                         1466 Groton Drive
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1827 of 1944
                         Jason Rogers
                         2777 Hickorywood Dr
                         Troy, OH 45373


                         Ryan Rogers
                         7027 Foxcroft Place
                         Painesville, OH 44077


                         Tonia Rohlfs
                         2901 Red Oak Circle
                         Troy, OH 45373


                         Vanessa Rollins
                         909 north main st
                         Bellefontaine, OH 43311


                         Jessica Roman
                         3086 Chatham Ct
                         Maineville, OH 45039


                         Jeanne Romani
                         7677 Winding Way
                         Hudson, OH 44236


                         Trisha Romano
                         756 Ashbrooke Way
                         Hudson, OH 44236


                         Katharine Romell
                         380 Elmwood Rd.
                         Rocky River, OH 44116


                         Kathryn Romo
                         7967 Meloria Lane
                         Mentor, OH 44060


                         Danielle Romstadt
                         12831 N. Star Dr.
                         North Royalton, OH 44133


                         Chris Rooney
                         34885 McAfee Dr
                         Solon, OH 44139-1743




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1828 of 1944
                         Carrie Roose
                         6572 Inland Shores Drive
                         Mentor, OH 44060


                         Mary Beth Root
                         709 Norbury Dr
                         Hudson, OH 44236


                         Tim Root
                         7531 Akins Rd.
                         North Royaltom, OH 44133


                         Doris Roque
                         7059 Dawson Rd #15
                         Cincinnati, OH 45243


                         Angi Rosa
                         1151 delverne Ave sw
                         Canton, OH 44710


                         Cammi Rose
                         4580 Kriggsby Blvd
                         Hilliard, OH 43026


                         Margaret Rose
                         5402 Links Road
                         Mentor, OH 44060


                         Jennifer Roseberry
                         8011 Greenridge Ct
                         Mentor, OH 44060


                         Lisa Rosebrock
                         2955 Daleford Drive
                         Toledo, OH 43614


                         Jeffrey Rosen
                         39780 Patterson Lane
                         Solon, OH 44139


                         Angela Rosenberg
                         6143 Paderborne Dr.
                         Hudson, OH 44236




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                         Jessica Rosenblitt
                         25119 Wimbledon RD
                         Beachwood, OH 44122


                         Anna Rosenfeld
                         26091 Shaker Blvd
                         Beachwood, OH 44122


                         Arthur Rosenfeld
                         25010 Duffield RD
                         Beachwood, OH 44122


                         Jennifer Rosenthal
                         1010 Richland St
                         Maumee, OH 43537


                         Lisa Rosenthal
                         10379 Andover Dr.
                         Twinsburg, OH 44087


                         Barbara Ross
                         425 oneida ave nw
                         Canton, OH 44708


                         Bernadine Ross
                         8255 Mentor Ave
                         Mentor, OH 44060


                         Brian Ross
                         7396 S Meadow Dr
                         Painesville, OH 44077


                         Lori Ross
                         1899 Canal Rd
                         Hamilton, OH 45011


                         Mike Ross
                         157 Cheshire Road
                         Hudson, OH 44236


                         Tom Ross
                         8515 Johnnycake Ridge Road
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1830 of 1944
                         Amy Rothenfeld
                         34800 Forest Lane
                         Solon, OH 44139


                         Angela Roumie
                         344 Cheshire Rd
                         Hudson, OH 44236


                         MaryKay Rouse
                         19310 Riverwood Avenue
                         Rocky River, OH 44116


                         David Roush
                         23013 Beachwood Blvd
                         Beachwood, OH 44122


                         Renee Roush
                         3672 Wood Trail Drive
                         Mason, OH 45040


                         Jennifer Rovito
                         18988 Mitchell Ave
                         Rocky River, OH 44116


                         Kimberly Rowan
                         6540 Edward Street
                         Mentor, OH 44060


                         Alka Roy
                         34685 seminole way
                         solon, OH 44139


                         Cori Royer
                         8749 SURREY PL
                         MAINEVILLE, OH 45039


                         Ginny Royko
                         7010 Sturbridge Drive
                         Concord, OH 44077


                         Judith Rozic
                         12820 Big Creek Ridge Dr
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1831 of 1944
                         Holly Rubin
                         128 N. Hayden Pkwy.
                         Hudson, OH 44236


                         Jeffrey Rubinski
                         8125 Belle Vernon Drive
                         Novelty, OH 44072


                         Kelly Ruble
                         509 Woodland Drive
                         Bellefontaine, OH 43311


                         STEPHANIE RUCKMAN
                         262 CALAHAN RD
                         Columbus, OH 43123


                         Matthew Rudd
                         11249 Lake Forest Drive
                         Chesterland, OH 44026-1334


                         Tina Rudisell
                         105 Western Ridge Dr
                         cleves, OH 45002


                         Pamela Rudler
                         139 Sandstone Drive
                         Painesville, OH 44077


                         Michael Rudolph
                         13939 caves rd
                         Novelty, OH 44072


                         Yvonne Rudolph
                         8876 oakbrook circle
                         Twinsburg, OH 44087


                         Amy Ruebsteck
                         18613 E. Shoreland Ave.
                         Rocky River, OH 44116


                         Eric Ruedrich
                         446 Fairgrounds Rd
                         Painesville, OH 44077




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1832 of 1944
                         Donna Ruffer
                         2827 Park Dr S
                         Silver Lake, OH 44224


                         Tracy Ruffner
                         10272 Forestwood Ln
                         North Royalton, OH 44133


                         Janelle Ruhe
                         4500 Dublin RD SPC 451
                         Columbus, OH 43221


                         Maria Ruiz
                         2697 tylersville rd
                         Hamilton, OH 45015


                         Jeff Rumbarger
                         10715 buckingham
                         concord, OH 44077


                         Jennifer Runals
                         3344 Anchorage Ln
                         Hilliard, OH 43026


                         Megan Runion
                         205 N Main Street
                         Van Buren, OH 45889


                         Elise Runyon
                         7820 Holderman St
                         Lewis Center, OH 43035


                         Bethany Rupert
                         3461 Mark Twain Drive
                         Hilliard, OH 43026


                         Laurelin Rupert
                         4407 Sherwood Drive
                         Hilliard, OH 43026


                         LISA RUPERT
                         8247 FAIRFAX DRIVE
                         MENTOR, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1833 of 1944
                         Daniel Rupnow
                         314 Chardon ave
                         Chardon, OH 44024


                         Stacy Rus
                         9655 Oxford Glen Dr
                         Mentor, OH 44060


                         Jillian Rush
                         1428 Peach Blossom Ct
                         Columbus, OH 43204


                         Kathy Russ
                         6320 Dawson Blvd
                         Mentor, OH 44060


                         Donna Russell
                         12875 Pyle South Amherst Road
                         Oberlin, OH 44074


                         Sarah Russell
                         85 kensington oval
                         Rocky river, OH 44116


                         Shannon Russell
                         2954 ERIN CT
                         LOVELAND, OH 45140


                         Shannon Russell
                         5919 Birchwood Dr
                         Mentor, OH 44060


                         Kara Russo
                         3175 Kaylyn Ln
                         Hilliard, OH 43026


                         Jessica Rutan
                         3188 Prairie Gardens Dr
                         Hilliard, OH 43026


                         Beth Rutkowski
                         97 E Belmeadow Ln
                         Chagrin Falls, OH 44022




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1834 of 1944
                         Amy Rutledge
                         7662 crimson court
                         Mentor, OH 44060


                         Jenna Rutt
                         21135 Southwood Drive
                         Fairview Park, OH 44126


                         Melissa Rutter
                         518 Hinderer Ave Sw
                         Massillon, OH 44646


                         IWONA RUZYCKI
                         6400 CENTER ST.#16 MENTOR
                         OHIO, OH 44060


                         Anne Ryan
                         3770 Kilbride Ct
                         Columbus, OH 43221


                         Dawn Ryan
                         7486 Ohio St
                         Mentor, OH 44060


                         Denise Ryan
                         2272 Croydon Road
                         Twinsburg, OH 44087


                         Gail Ryan
                         32840 Pettibone Rd
                         Solon, OH 44139


                         Kelly Ryan
                         14024 Leroy Center Road
                         Leroy, OH 44077


                         Michelle Ryan
                         281 Harwood Street
                         Elyria, OH 44035


                         Natalya Rymko
                         6554 Glenallen Avenue
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1835 of 1944
                         Vikki Rzepka
                         31940 Tracy Lane
                         Solon, OH 44139


                         Shawn Rzeszut
                         2111 PRESIDENTIAL #20
                         Twinsburg, OH 44087


                         Daniela Sa
                         4816 Lake View Dr.
                         Peninsula, OH 44264


                         Yolla Saad
                         18501 hilliard blvd. apt.302
                         Rocky River, OH 44116


                         Nicole Sabatini
                         8615 Mansion blvd
                         Mentor, OH 44060


                         Scott Saber
                         7434 St John Ct
                         Mentor, OH 44060


                         Tammy Sadler
                         5949 Brewster Drive
                         Hudson, OH 44236


                         Brenda Sage
                         12245 S Wintergreen Dr
                         Chardon, OH 44024


                         Traci Sage
                         30 Jefferson Drive
                         Hudson, OH 44236


                         Jamie Sagrilla
                         5559 Maple Dell Court
                         Hilliard, OH 43026


                         Anjana Sahu
                         9607 Greenery Court
                         Loveland, OH 45140




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1836 of 1944
                         Sailorway MS
                         5355 Sailorway Drive
                         Vermilion, OH 44089


                         Ammara Saiyoeun
                         2097 Steffi Dr
                         Hilliard, OH 43026


                         Sarine Saiyoeun
                         2097 Steffi Dr
                         hilliard, OH 43026


                         Donna Sakony
                         10054 Bissell Dr.
                         Twinsburg, OH 44087


                         Kamel Salaani
                         5557 Royal Dublin dr
                         dublin, OH 43016


                         Edgar Saldana
                         1285 Wilhoit Ave
                         Lewis Center, OH 43035


                         Uzma Saleem
                         4902 Princess Diana Ct.
                         Hilliard, OH 43026


                         Kathi Saleh
                         1777 Parkway S
                         Maumee, OH 43537


                         Christine Saley
                         8214 Eastmoor Rd
                         Mentor, OH 44060-7512


                         Tracey Salinas
                         4545 Kriggsby Blvd
                         Hilliard, OH 43026


                         Dolores Salisbury
                         233 South Hambden Street
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1837 of 1944
                         Marie-Noelle Sallaberry
                         7461 Davis Road
                         Hilliard, OH 43026


                         Jenny Salyer
                         926 Hilltop Dr
                         Bellefontaine, OH 43311


                         Kelly Samardzija
                         564 water st apt 231
                         chardon, OH 44024


                         Nandhini Sambandan
                         35650 Sedge Circle
                         Solon, OH 44139


                         Marcus Sampson
                         6736 Trafalgar Loop
                         Dublin, OH 43016


                         Alba Sanchez
                         86 berger ct
                         oberlin, OH 44074


                         Nadya Sanchez
                         33180 E Nimrod st
                         Solon, OH 44139


                         Omar Sanchez
                         2200 Omaha place
                         LEWIS CENTER, OH 43035


                         Todd Sandberg
                         608 Denmoor Ct
                         Galloway, OH 43119


                         Amy Sander
                         6416 Walden Ponds Cir
                         Hamilton, OH 45011


                         Steve Sander
                         7791 Rhumba Dr
                         North Bend, OH 45052




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1838 of 1944
                         Rochelle Sanders
                         7555 Pinecrest Lane
                         Glenwillow, OH 44139


                         Samantha Sanders
                         1033 Shawhan Road
                         Morrow, OH 45152


                         Jasmin Sandhu
                         2831 Jessica Court
                         Loveland, OH 45140


                         Nicole Sandor
                         5310 RED FLOWER LN
                         SOUTH LEBANON, OH 45065


                         Joel Sandrey
                         7474 Belvedere dr
                         Mentor, OH 44060


                         Michael Sandy
                         20099 parklane dr
                         rocky river, OH 44116


                         Kari Sanford
                         19343 Laurel Ave
                         Rocky River, OH 44116


                         Shivankari Sanjeevan
                         36900 Pepper Dr
                         Solon, OH 44139


                         Steven Sanker
                         10335 old state rd 9079 ravenna Rd
                         chardon, OH 44024


                         Holly SantaMaria
                         11531 Hosford Road
                         Chardon, OH 44024


                         Bethany Santavicca
                         5854 Buckeye Ln. Apt #12
                         Mentor on the lake, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1839 of 1944
                         Stacie Santiago
                         701 S Stanfield Rd Apt 184
                         Troy, OH 45373


                         Lori Sarkisian
                         1460 Winchell Drive
                         Hudson, OH 44236


                         Lori Sarver
                         24611 South Woodland Rd.
                         Beachwood, OH 44122


                         Amy Sassano
                         8809 camelot drive
                         chesterland, OH 44026


                         Cindi Satayathum
                         19535 Argyle Oval
                         Rocky River, OH 44116


                         Mark Sattele
                         1671 Goodland Dr
                         Hudson, OH 44236


                         Sekhar Satyawada
                         427 Carrington Ln
                         Broadview Hts, OH 44147


                         Jodi Sauerwein
                         208 newpine drive
                         cleves, OH 45002


                         Jessica Saunders
                         9164 Akins Road
                         North Royalton, OH 44133


                         Daniel Savitt
                         3087 Abrams Dr
                         Twinsburg, OH 44087


                         Desera Savochka
                         11005 Leader Rd
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1840 of 1944
                         Jennifer Savor
                         7558 Ruth St
                         Mentor, OH 44060


                         Bill Savory
                         726 terex rd
                         hudson, OH 44236


                         Darla Sawicki
                         7650 Yennicook Way
                         Hudson, OH 44236


                         Mary Sawyer
                         2829 Gasser Blvd
                         Rocky River, OH 44116


                         Kami Sayre
                         2348 East Sand Road
                         Port Clinton, OH 43452


                         Trisha Sayre
                         5950 Paron Place
                         Hilliard, OH 43026


                         Michael Scafe
                         7261 Stow Rd.
                         Hudson, OH 44236


                         Francesca Scafidi
                         11525 Bass Lake Road
                         Chardon, OH 44024


                         Anne Scalabrino
                         20863 Avalon Drive
                         Rocky River, OH 44116


                         John Schaefer
                         11760 Regent Park Dr.
                         Chardon, OH 44024


                         April Schalk
                         8807 south Jefferson st.
                         Port Clinton, OH 43452




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1841 of 1944
                         Amy Scharf
                         14094 Sweetbriar Lane
                         Novelty, OH 44072


                         AnneMarie Scharfenort
                         9854 Royal Valley Drive
                         North Royalton, OH 44133


                         Megan Scharville
                         61 Jefferson Drive
                         Hudson, OH 44326


                         Erica Schatz
                         215 Green Oak Dr
                         Troy, OH 45373


                         Barbara Schauer
                         8425 Sanctuary Dr Mentor
                         Mentor, OH 44060


                         Mark Schecter
                         1370 county line rd
                         gates mills, OH 44040


                         Valerie Scheibeck
                         2101 Coldharbor Ct
                         Lewis Center, OH 43035


                         Tracy Scheid
                         9895 Tudor place
                         Chardon, OH 44024


                         Suzanne Schenkenberger
                         162 South Main Street
                         Hudson, OH 44236


                         Catherine Scherer
                         33521 North Burr Oak Drive
                         Solon, OH 44139


                         Alexandra Schiefferle
                         20797 Morewood Pkwy
                         Rocky River, OH 44116




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1842 of 1944
                         Suzy Schilling
                         518 Pennsylvania Ave.
                         Troy, OH 45380-9319


                         Kristen Schiopota
                         11143 Heritage Dr
                         Twinsburg, OH 44087


                         Brenda Schlabach
                         4816 trafalgar st sw
                         Canton, OH 44706


                         Chad Schmid
                         10773 York RD
                         North Royalton, OH 44133


                         Susie Schmid
                         6516 Canterbury Drive
                         Hudson, OH 44236


                         Amy Schmidt
                         5519 Kings View Ct
                         Kings Mills, OH 45034


                         Kelly Schmidt
                         9468 Wildwood Drive
                         Chardon, OH 44024


                         Robert Schmidt
                         53 Binns Blvd
                         Columbus, OH 43204


                         Shawn and Ellie Schmidt
                         1058 Twp Rd 179 43311
                         Bellefontaine, OH 43311


                         Raymond Schmitz
                         6037 Indian Trace Dr.
                         Hamilton, OH 45011


                         Tracey Schneeman
                         10014 Ravenna rd
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1843 of 1944
                         Catherine Schneider
                         125 Senlac Hills Drive
                         Chagrin Falls, OH 44022


                         Jennifer Schneider
                         4961 glenlodge rd
                         Mentor, OH 44060


                         Keith Schneider
                         960 ashbrooke way
                         hudson, OH 44236


                         Amy Schnipke
                         4377 Schirtzinger Rd.
                         Hilliard, OH 43026


                         Jackie Schonauer
                         6235 Cedarwood Rd
                         Mentor, OH 44060


                         Rebecca School
                         7269 Selworthy Lane
                         Solon, OH 44139


                         WGMS School
                         8611 Cedar Rd.
                         Chesterland, OH 44026


                         JoElla Schrader
                         526 W College St #32
                         Oberlin, OH 44074


                         Rosemary Schramm
                         113 1/2 W. Sixth Street
                         Port Clinton, OH 43452


                         Robert Schreckengost
                         823 Earl Rd Nw
                         Massillon, OH 44647


                         Kim Schrode
                         13825 Montclair DR.
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1844 of 1944
                         Joy Schroeder
                         2620 Myrick Lane
                         Twinsburg, OH 44087


                         Christa Schroer
                         11875 township rd 114
                         Van Buren, OH 45889


                         Amy Schroff
                         7492 Hill Gail Ct
                         Lewis Center, OH 43035


                         Laura Schroth
                         21860 Crossbeam Lane
                         Rocky River, OH 44116


                         Brian Schuckman
                         1240 Ascot Dr
                         Maineville, OH 45039


                         Sara Schuerger
                         6215 Magnolia Dr.
                         Mentor, OH 44060


                         Carol Schuler
                         5974 Pinto Pass Dr
                         Hilliard, OH 43026


                         Mary Schultz
                         10242 Andover Dr
                         Twinsburg, OH 44087


                         Peggy Schultz
                         7215 Sowul Dr.
                         Painesville, OH 44077


                         Sandy Schultz
                         11597 Forestview Dr
                         Chardon, OH 44024


                         Jamie Schulz
                         7923 Walcott Way
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1845 of 1944
                         Robert Schulz
                         12259 Caves
                         Chesterland, OH 44026


                         William Schumacher
                         1647 Cedar Knoll St. NW
                         Massillon, OH 44646


                         Stephanie Schumaker
                         5896 Thorngate Dr.
                         Galloway, OH 43119


                         Stacy Schurman
                         2251 Victoria Parkway
                         Hudson, OH 44236


                         Angela Schuster
                         154 Canterbury Road
                         Elyria, OH 44035


                         Traci Schutte
                         1619 Ramblewood Ave
                         Columbus, OH 43235


                         Sarah Schwallie
                         5611 Oakvista Drive
                         Cincinnati, OH 45227


                         Dawn Schwartz
                         251 Symmes Rd
                         Fairfield, OH 45014


                         Gary Schwartz
                         12006 waywood dr
                         Twinsburg, OH 44087


                         Shelly Schwarz
                         10095 Foxwood Dr
                         North Royalton, OH 44133


                         Cara Schweikert
                         8589 Kelso Dr
                         Maineville, OH 45039




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1846 of 1944
                         Jodie Schweitzer
                         6368 Youngland Drive
                         Columbus, OH 43228


                         Amy Schweizer
                         523 Highland Ave SW
                         Massillon, OH 44646


                         Melissa Schwieterman
                         4873 claymill drive
                         hilliard, OH 43026


                         Nomeke Scordos
                         1466 Bell Rd.
                         Chagrin Falls, OH 44022


                         Jenna Scotese
                         7520 Jasani Ct
                         Mentor, OH 44060


                         Adriana Scott
                         953 N Eagle Beach Circle
                         Port Clinton, OH 43452


                         Amanda Scott
                         898 Evergreen Park Lane
                         Lebanon, OH 45036


                         Carrie Scott
                         3826 Farm Brook Ln
                         Columbus, OH 43204-1572


                         Cindy Scott
                         3825 W Surrey Ct
                         Rocky River, OH 44116


                         Heather Scott
                         615 Jackson Ave NW
                         Massillon, OH 44646


                         Jeff Scott
                         2104 Pleasant Colony Drive
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1847 of 1944
                         Jill Scott
                         13135 Chillicothe Rd
                         Chesterland, OH 44026


                         Natalie Scott
                         2441 Limestone Way
                         Columbus, OH 43228


                         Shannon Scott
                         872 Phillips RD NE
                         Massillon, OH 44646


                         Michelle Sculli
                         5497 Brixston Ct
                         Hilliard, OH 43026


                         Amber Scully
                         4661 Anthony Wayne
                         Fairfield, OH 45014


                         Katie Seabeck
                         12271 Meredith Ln
                         Concord, OH 44077


                         Audra Seaman
                         4053 Hickory View Drive
                         Hamilton, OH 45011


                         Christina Sears
                         145 Hamilton St
                         Elyria, OH 44035


                         Michelle Secic
                         9685 Campton Ridge Drive
                         CHARDON, OH 44024


                         Danielle Sedam
                         1719 Saratoga Dr
                         Troy, OH 45373


                         Heather See
                         8392 Union Dr
                         Galloway, OH 43119




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1848 of 1944
                         NIcole Seger
                         1371 Winchester Dr
                         Troy, OH 45373


                         Elise Seifert
                         5849 North Oval
                         Solon, OH 44139


                         Mike Seifert
                         7655 Salem Drive
                         Hudson, OH 44236


                         Rachael Seifert
                         35027 Quartermane Circle
                         Solon, OH 44139


                         Julie Seitz
                         10271 Belmeadow Drive
                         Twinsburg, OH 44087


                         Stefanie Sekas
                         2040 Merrimont Drive
                         Troy, OH 45373


                         Holli Seliskar
                         7682 Pinehurst Drive
                         Mentor on the Lake, OH 44060


                         Dawn Sell
                         5515 east heisley road
                         Mentor, OH 44060


                         Justin Sell
                         5560 Kinvarra Ct
                         Dublin, OH 43016


                         Nickol Sell
                         34600 Cannon Rd
                         Solon, OH 44139-1720


                         Janelle Sellet
                         3739 Indian Brave Trl
                         Cleves, OH 45002




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1849 of 1944
                         Jamie Semler
                         9160 Auburn Road
                         Chardon, OH 44024


                         Cheryl Senger
                         8352 State Rd
                         North Royalton, OH 44133


                         Min Seo
                         5230 towbridge dr
                         hudson, OH 44236


                         Liz Sesar
                         8830 Dusty Lane
                         Chardon, OH 44024


                         Melissa Settle
                         460 Sunset Drive
                         South Lebanon, OH 45065


                         Kristina Severino
                         7144 Maple St. Unit A
                         Mentor, OH 44060


                         Leslie Severino
                         8118 Broadmoor Rd
                         Mentor, OH 44060


                         Erica Sevilla
                         2848 Pleasantdale Drive
                         Lewis Center, OH 43035


                         Steven Sewall
                         9403 harrison rd
                         wakeman, OH 44889


                         Aminda Seymour
                         46 Town Ct.
                         Fairfield, OH 45014


                         Laura Sfikas
                         5225 Hollister St.
                         Columbus, OH 43235




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1850 of 1944
                         Lara Shadowens
                         6340 Firestone dr
                         Fairfield, OH 45014


                         Amanda Shaffer
                         20 Fox Harbor Dr
                         Troy, OH 45373


                         Kelly Shaffer
                         1930 Ridge Meadow Ct.
                         Twinsburg, OH 44087


                         Melissa Shaffer
                         6960 Rings Rd
                         Dublin, OH 43016


                         Suzanne Shaft
                         3171 Evans Way
                         Twinsburg, OH 44087


                         Amisha Shah
                         5826 Fieldcrest Dr
                         Galloway, OH 43119


                         Brian Shamblin
                         10035 north surfside circl
                         Aurora, OH 44202


                         Jerry Shamblin
                         11640 York Rd
                         north Royalton, OH 44113


                         Deborah Shandersky
                         427 Old Willow Ct.
                         South Lebaon, OH 45065


                         Lynn Shandle
                         5980 White Oak Drive
                         Mentor, OH 44060


                         Nicole Shaner
                         1511 Lakeview Ave
                         Rocky River, OH 44116




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1851 of 1944
                         Doranne Shank
                         2802 Lombardi Ave SW
                         Canton, OH 44706


                         Stacia Shanley
                         2972 Middleton Rd.
                         Hudson, OH 44236


                         Stephanie Shanower
                         1722 Cadbury St. NW
                         Massillon, OH 44646


                         Gina Sharapan
                         2257 Omaha Place
                         Lewis Center, OH 43035


                         Amanda Sharp
                         152 Pine Hollow Circle
                         Chardon, OH 44024


                         Meredith Sharp
                         23214 E Baintree Road
                         Beachwood, OH 44122


                         Aaron Sharpley
                         6576 Glenallen ave
                         Solon, OH 44139


                         Tina Shaulis
                         181 Whaley Rd
                         Peninsula, OH 44264


                         Brandy Shaw
                         543 Ferndale Ave
                         Vermilion, OH 44089


                         Patricia Shay
                         8700 Morris Rd
                         Hilliard, OH 43026


                         Brian Shea
                         1326 Cedar Creek Ct
                         Painesville, OH 44077




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1852 of 1944
                         Jill Sheeketski
                         3898 Woodfield Ct
                         Hamilton, OH 45011


                         Carla Sheeler
                         9632 e idlewood dr
                         Twinsburg, OH 44087


                         Beverly Shenkel
                         5185 E. Schoolhouse Rd
                         Port Clinton, OH 43452


                         Scott Shepard
                         6857 BlueBird pl
                         Hilliard, OH 43026


                         Jennifer Shepherd
                         1228 Birchview Dr
                         Vermillion, OH 44089


                         Babette Sherer
                         4492 Darley Court
                         Hilliard, OH 43026


                         Minerva Sherman
                         9181 Boyer lane
                         Mentor, OH 44060


                         Ruth Sherman
                         5457 Tretorn Dr
                         Hilliard, OH 43026


                         Roza Sheykoleslam
                         10203 alger trail
                         twinsburg, OH 44087


                         Sara Shields
                         3740 Stunsail Lane Apt/Suite
                         COLUMBUS, OH 43221-4815


                         Christine Shinkawa
                         212 Greenbrier Drive
                         Chagrin Falls, OH 44022




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1853 of 1944
                         Truda Shinker
                         2226 Bold Venture Dr
                         Lewis Center, OH 43035


                         Galina Shinkevich
                         11500 Somerset dr apt 314 B
                         N. Royalton, OH 44133


                         Linda Shinn
                         3933 Tweedsmuir Drive
                         Columbus, OH 43221


                         Lara Shiplett
                         15519 Ethan Trail
                         North Royalton, OH 44133


                         Kimberly Shock
                         2464 pearson way
                         Hilliard, OH 43026


                         Dawn Shoda
                         5684 Primavera Drive
                         Mentor, OH 44060


                         Juanita Shoemaker
                         6396 Canastota Dr
                         Hamilton, OH 45011


                         Jayne Sholtz
                         95 Bellmore St.
                         Painesville Twp., OH 44077


                         Stefanie Shomock
                         5862 Rocky Shore Drive
                         Lewis Center, OH 43035


                         Shore MS
                         5670 Hopkins Road
                         Mentor, OH 44060


                         Natalia Shorokhova
                         315 Solon Rd #202
                         Chagrin Falls, OH 44022




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1854 of 1944
                         Kymber Short
                         566 Maplewood Dr
                         Troy, OH 45373


                         Kim Shovlain
                         6733 Trafalgar Loop
                         Dublin, OH 43016


                         Kristen Shovlin
                         380 N. Main Street
                         Hudson, OH 44236


                         Stacey Shriver
                         7455 Dahlia Dr.
                         Mentor on the Lake, OH 44060


                         Erin Shuck
                         442 West Lorain Street
                         Oberlin, OH 44074


                         Bryan Shulaw
                         1014 heritage court
                         Bellefontaine, OH 43311


                         Kim Shullick
                         1289 Hollyview dr.
                         Vermilion, OH 44089


                         Jennifer Shults
                         155 Elm St
                         Oberlin, OH 44074


                         Joe Shults
                         7028 Wallace Avenue
                         Cincinnati, OH 45243


                         Andrea Shumaker
                         1305 Dakota Rd
                         Bellefontaine, OH 43311


                         Jessica Shuman
                         4225 McCurdy Rd
                         Troy, OH 45373




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1855 of 1944
                         Melanie Shumate
                         3503 Springlake Cir
                         Loveland, OH 45241


                         Christy Shumway
                         1214 lake ave
                         Elyria, OH 44035-5001


                         Kathy Shupp
                         2725 zoellners ridge
                         Hamilton, OH 45011


                         Melinda Shurtz
                         728 Bristol Rd
                         Troy, OH 45373


                         Russ Shuster
                         2540 hampton rd
                         rocky river, OH 44116


                         Tatyana Shuster
                         7198 Longview Drive
                         Solon, OH 44139


                         Stephen Shuttleworth
                         12 Pinewood Lane
                         Hudson, OH 44236


                         Dana Shutty
                         9625 Juniper Dr.
                         Chardon, OH 44024


                         David Shvartsman
                         7655 Oak Meadow Dr
                         Hudson, OH 44236


                         Holly Sidari
                         11292 worthington way
                         north royalton, OH 44133


                         Jessica Sidoti
                         2686 Tonawanda Dr
                         Rocky River, OH 44116




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1856 of 1944
                         Karen Siegel
                         22362 Sunnyhill Drive
                         Rocky River, OH 44116


                         Michael Siegel
                         500 Norwich Drive
                         Broadview Heights, OH 44147


                         DANIEL SIEGRIST
                         1005 BAYRIDGE DRIVE
                         LEWIS CENTER, OH 43035


                         Noelle Sieradzki
                         7984 Daisy Hill Ct
                         Painesville, OH 44077


                         James Sikula
                         8162 tilby
                         north royalton, OH 44133


                         Jeannette Silk
                         11282 Nicoles Way
                         Chardon, OH 44024


                         Marla Silverstein
                         6162 Penfield Ln
                         Solon, OH 44139


                         Courtney Sim n
                         4500 Astral Dr
                         Hilliard, OH 43026


                         Tracy Simiele
                         11009 Mayfield Rd
                         Chardon, OH 44024


                         Carrie Simmerson
                         32526 Lisa Ln
                         Solon, OH 44139


                         Kimberly Simmons
                         9727 E Idlewood Dr
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1857 of 1944
                         Michelle Simon
                         4476 Shire Mill Rd
                         Hilliard, OH 43026


                         Pauline Simonek
                         15161 Ridge Rd.
                         North Royalton, OH 44133


                         Trenton Simonson
                         1062 Cheltenham Place
                         Maineville, OH 45039


                         Brian Simpkins
                         2645 Carmel Dr
                         Lewis Center, OH 43035


                         Ryan Simpson
                         1447 Cummings Blvd
                         Madison, OH 44057


                         Sandra Simpson
                         2153 Jeffey Drive
                         HILLIARD, OH 43026


                         Teri Simpson
                         179 Sandstone Drive
                         Painesville, OH 44077


                         Tricia Simpson
                         311 West William Street
                         Maumee, OH 43537


                         Angel Sims
                         629 S. Detroit St.
                         Bellefontaine, OH 43311


                         Connie Sincaglia
                         132 South Franklin Street
                         Chagrin Falls, OH 44022


                         Pamela Sinclair
                         37314 Grove Ave. Apt. # 101
                         Willoughby, OH 44094




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1858 of 1944
                         Shona Sinclair
                         11257 Thwing Rd
                         chardon, OH 44024


                         Cody Sines
                         5015 W SCIOTO DR
                         FAIRFIELD, OH 45014


                         Annie Singer
                         34845 Lakeview Dr.
                         Solon, OH 44139


                         Patricia Singh
                         4281 Bluestone Rd
                         South Euclid, OH 44121


                         Vinita Singh
                         8018 gladshire blvd
                         lewis center, OH 43035


                         Gia Singleton
                         36551 Meadowdale
                         Solon, OH 44139


                         Toby Singleton
                         9338 Liberty Rd.
                         Twinsburg, OH 44087


                         Timothy Singo
                         115 Anna Avenue NW
                         Canton, OH 44708


                         Prashant Sinha
                         2957 Seeger St
                         Columbus, OH 43228


                         Amy Sirkin
                         7471 Som Center Road
                         Solon, OH 44139


                         Bernadette Sirocky
                         12410 Oberlin Road
                         Oberlin, OH 44074




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1859 of 1944
                         Didik Siswantoro
                         683 stark ct
                         columbus, OH 43210


                         Kelly Sivula
                         11465 Glenmora Drive
                         Chardon, OH 44024


                         Kathie Sizemore
                         2613 Foxden Dr
                         Hudson, OH 44236


                         Emily Skahen
                         687 Foxwoods Drive
                         Vermilion, OH 44089


                         Catherine Skalla
                         33121 N Burr Oak Drive
                         Solon, OH 44139


                         Tamika Skanes
                         32300A Monroe CT #201
                         Solon, OH 44139


                         Darci Skidmore
                         5989 Anna Lee Dr.
                         Hudson, OH 44236


                         Nathan Skidmore
                         519 N Madriver St
                         Bellefontaine, OH 43311


                         Dayle Skocic
                         112 Church Street
                         Chagrin Falls, OH 44022


                         Heidi Skok
                         6752 Connecticut Colony Circle
                         Mentor, OH 44060


                         Tasha Skott
                         28 Gold Meadow Drive
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1860 of 1944
                         DANIELLE SLAPNICKER
                         8370 browning court
                         concord twp., OH 44060


                         Jennifer Slater
                         2201 Barnet Ct.
                         Lewis Center, OH 43035


                         Aimee Slater-West
                         1313 E Third
                         Port Clinton, OH 43452


                         Lori Slates
                         3215 Greenpark St NW
                         Massillon, OH 44646


                         Renee Sleeper
                         3892 Pinto Court
                         Columbus, OH 43221


                         Susanne Sleeper
                         2300 Tucker Trail
                         Lewis Center, OH 43035


                         Larry Slivon
                         3766 Spur Ln
                         Columbus, OH 43221


                         Michal Slominski
                         2834 Lake Hollow Road
                         Hilliard, OH 43026


                         Rachel Slomovitz
                         7681 Birchmont Drive
                         Chagrin Falls, OH 44022


                         Jessica Slouffman
                         1504 Northview Road
                         Rocky River, OH 44116


                         Todd Slowey
                         8260 Mount Royal Dr
                         Concord Twp, OH 44077




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1861 of 1944
                         Nicole Slusher
                         114 Downing Dr G201
                         Chardon, OH 44024


                         Christine Slyman
                         20800 Beaconsfield Blvd
                         Rocky River, OH 44116


                         Tracy Smalley
                         340 Crestview Dr.
                         Elyria, OH 44035


                         Tracey Smallwood
                         6344 Dan Sherri Dr
                         Dublin, OH 43016


                         Stacey Smayda-Ockuly
                         7630 Settlers Ct.
                         Mentor, OH 44060


                         Christina Smelcer
                         8535 Hilltop Dr
                         Mentor, OH 44060


                         Amy Smith
                         7764 Hidden Hollow Dr.
                         Mentor, OH 44060


                         Amy Smith
                         5019 Devencroft Ct
                         Hilliard, OH 43026


                         Andrew Smith
                         113 n. Stanley st.
                         Bellefontaine, OH 43311


                         Arlene Smith
                         5797 Lake Road
                         Mentor, OH 44060


                         Brandon Smith
                         32504 North Roundhead Dr
                         Solon, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1862 of 1944
                         Brett Smith
                         1209 Northbrook Lane
                         Troy, OH 45373


                         Brooke Smith
                         1120 scenic ct
                         Troy, OH 45373


                         Chevon Smith
                         184 e lorain street
                         oberlin, OH 44074


                         Christina Smith
                         5792 Leslie Dr
                         Fairfield, OH 45014


                         Christina Smith
                         10480 Twp. Rd. 114
                         Van Buren, OH 45889


                         Eric Smith
                         6159 Brambleside Lane
                         Mentor, OH 44060


                         Genevieve Smith
                         1785 Garrett House Lane
                         Fairfield, OH 45014


                         James Smith
                         6736 Woodland Reserve Ct
                         Madeira, OH 45243


                         Jennifer Smith
                         11670 Gate Post Ln
                         Chardon, OH 44024


                         Jessica Smith
                         3027 Landen Farm Rd W
                         Hilliard, OH 43026


                         Kari Smith
                         2762 Haggett Dr.
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1863 of 1944
                         Katherine Smith
                         7975 Brichford Road
                         Mentor, OH 44060


                         Kathleen Smith
                         5131 Meadowview Lane
                         South Lebanon, OH 45065


                         Kevin Smith
                         1441 Ambrose AveNW
                         Canton, OH 44708


                         Lauren Smith
                         7716 Cemetery Road
                         Vermilion, OH 44089


                         Laurie Smith
                         320 Elmford Ave SW
                         Massillon, OH 44646


                         Leif Smith
                         8491 Squad Drive
                         Galloway, OH 43119


                         Lisa Smith
                         26 Sussex Road
                         Hudson, OH 44236


                         Liza Smith
                         406 Windsor Drive
                         Elyria, OH 44035


                         Michelle Smith
                         314 S. Hambden St.
                         Chardon, OH 44024


                         Michelle Smith
                         6233 Navarre Rd SW
                         Canton, OH 44706


                         Nicola Smith
                         7747 Rutland Dr
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1864 of 1944
                         Scott Smith
                         10386 Johnnycake Ridge Rd
                         Concord Twp, OH 44077


                         Shae Smith
                         9101 Tiffany Dr
                         North Royalton, OH 44133


                         Sheri Smith
                         9131 Sugarbush Dr
                         Mentor, OH 44060


                         Stephanie Smith
                         3408 Ridge Gap Rd
                         Columbus, OH 43221


                         Tammy Smith
                         10113 Belmeadow Dr.
                         Twinsburg, OH 44087


                         Wendy Smith
                         6779 North Weatherby Drive
                         mentor, OH 44060


                         Bonnie Smith-Stafford
                         7340 Fern Dr.
                         Mentor, OH 44060


                         Steve Smithingell
                         7626 Cedar Rd
                         Chesterland, OH 44026


                         Kim Smrecansky
                         3418 Marl Pl
                         Columbus, OH 43221


                         Joelle Snavely
                         299 Bentleyville Rd.
                         Chagrin Falls, OH 44022


                         Amanda Snedden
                         2475 Ashdale Dr.
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1865 of 1944
                         Peta Sneek
                         11231 Hampton Bay Lane
                         Painesville, OH 44077


                         Jessica Snell
                         143 Fruitland Avenue
                         Painesville, OH 44077


                         Trinidad Snider
                         11350 Grey Friar Way
                         Chardon, OH 44024


                         AnneMarie Snow
                         2816 Lakeview Avenue
                         Rocky River, OH 44116


                         Jessica Snow
                         10230 Penniman Drive
                         Chardon, OH 44024


                         Lisa Snow
                         3067 Killingworth Ln
                         Twinsburg, OH 44087


                         Tara Snow
                         750 Lawnview blvd
                         Chardon, OH 44024


                         Jodi Snowden
                         8148 Jordan Ridge
                         Cleves, OH 45002


                         Andy Snyder
                         4371 Schirtzinger Rd.
                         Hilliard, OH 43026


                         Candice Snyder
                         7451 Mar Del Drive
                         Cincinnati, OH 45243


                         Christine Snyder
                         8280 Mentor Ave
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1866 of 1944
                         Kathie Snyder
                         12811twp.rd.108
                         Findlay, OH 45840


                         Laura Snyder
                         11431 Twin Mills Lane
                         Chardon, OH 44024


                         Mary Snyder
                         5690 Alliance Way
                         Columbus, OH 43228


                         Michelle Snyder
                         450 kristina dr apt 8b
                         bellefontaine, OH 43311


                         Michelle Snyder
                         19400 Frazier drive
                         Rocky river, OH 44116-1727


                         Shawn Snyder
                         4793 Augustus court
                         Hilliard, OH 43026


                         Gina Soble
                         191 Bowhall Road
                         Painesville, OH 44077


                         Elyse Sobol
                         19412 Battersea Blvd.
                         Rocky River, OH 44116


                         Debi Sobonya
                         147 Colonial Dr
                         Painesville, OH 44077


                         April Sockol
                         44 Manor Dr
                         Hudson, OH 44236


                         Stacy Sohner
                         4325 Huntwicke Ct
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1867 of 1944
                         Stephanie Solich
                         110 Cedar Glen
                         Chardon, OH 44024


                         Solon MS
                         6835 SOM Center Road
                         Solon, OH 44139


                         Valentina Solorzano
                         175 Cheshire Rd
                         Hudson, OH 44236


                         Michael Somers
                         1596 Northview Rd
                         Rocky River, OH 44116


                         Jennifer Son
                         3700 Grimes Drive
                         Columbus, OH 43204


                         Donna Soncrant
                         13052 Coachman Dr
                         Chardon, OH 44024


                         Michelle Soneson
                         887 bates rd
                         ROCKY RIVER, OH 44116


                         Brenda Sooy
                         84 Hickory Lane
                         Hudson, OH 44236


                         Frederick Sopnicar
                         486 E 327th Street
                         Willowick, OH 44095


                         Maria Sorge
                         6542 Inland Shores Dr
                         Mentor, OH 44060


                         Nikki Sorrells
                         10594 Lindmar Dr.
                         Concord twp., OH 44077




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1868 of 1944
                         Leanna Sortor
                         3253 Twp Rd 142
                         Findlay, OH 45840


                         Khalid SosseyAlaoui
                         2651 Edgewood rd
                         Beachwood, OH 44122


                         Nancy Soto
                         950 Varsity Ave
                         Columbus, OH 43221


                         Natalie Soto-Burke
                         8 Philip Court
                         Elyria, OH 44035


                         Lorrie Sotzing
                         546 Maplewood Drive
                         Troy, OH 45373


                         Greg Soukup
                         11115 courtney ct
                         chardon, OH 44024


                         Kristy Soukup
                         8286 Mentorwood Dr.
                         Mentor, OH 44060


                         Millicent Souser
                         6645 Westpoint Drive
                         Hudson, OH 44236


                         Mary South
                         142 Brandywine Drive
                         Hudson, OH 44236


                         Amy Southard
                         1859 County Road 10
                         Bellefontaine, OH 43311


                         Rana Southern
                         7238 STONERUN PL
                         LIBERTY TOWNSHIP, OH 45044




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1869 of 1944
                         Amy Sowards
                         7430 Pamela dr
                         north royalton, OH 44133


                         Denise Sowder
                         6771 Beagle Drive
                         Hamilton, OH 45011


                         Amber Sowers
                         1105 N Market Street
                         Troy, OH 45373


                         Melissa Spahr
                         2112 Winchester Pl
                         Fairfield, OH 45014


                         Heather Spakes
                         7510 Bellflower rd
                         Mentor, OH 44060


                         Holly Spangler
                         8134 York road
                         north Royalton, OH 44133


                         Stacy Spangler
                         124 Bowhall Rd
                         Painesville, OH 44077


                         Jill Spano
                         79 Colony Drive
                         Hudson, OH 44236


                         Judd Spaulding
                         7710 Harnessfield Ln
                         Painesville, OH 44077


                         Paul Speicher
                         7603 Sugarbush Trail
                         Hudson, OH 44236


                         Steven Speicher
                         8565 Clover Glade Dr
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1870 of 1944
                         Amanda Spencer
                         514 Laurel Ave.
                         Port Clinton, OH 43452


                         Jessica Spencer
                         4414 East Island Pines Drive
                         Port Clinton, OH 43452


                         Latasha Spencer
                         5560 Elm Hill Dr
                         Solon, OH 44139


                         Chris Sperry
                         6738 Evergreen Rd.
                         Hudson, OH 44236


                         Michael Speyer
                         13929 West Willard Dr
                         Novelty, OH 44072


                         Scott Spieker
                         6407 Melshore Drive
                         Mentor, OH 44060


                         Karen Spiers
                         970 Stoneyridge Ave
                         Troy, OH 45373


                         Jaime Spies
                         7237 Rita Lane
                         Cincinnati, OH 45243


                         Kate Spies
                         21179 Stratford Ave
                         Rocky River, OH 44116


                         Alda Spike
                         4899 Heath Trails Road
                         Hilliard, OH 43026


                         Louis Spike
                         7470 Hopkins Road
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1871 of 1944
                         Norine Spoelker
                         5471 Creek Park Dr
                         South Lebanon, OH 45065


                         Diane Spohn
                         5848 Heirship Court
                         Hilliard, OH 43026


                         Julie Spohn
                         6021 Ogilby Drive
                         Hudson, OH 44236


                         Jessica Spooner
                         41485 beechwood dr
                         elyria, OH 44035


                         Stephenie Spotz
                         103 Fox Pointe Dr
                         Chardon, OH 44024


                         Jennifer Sprafka
                         7047 Navajo Trail
                         Solon, OH 44139


                         Kelly Sprague
                         10745 Howard Drive
                         Chardon, OH 44024


                         Elizabeth Spring
                         5020 15th st sw
                         Canton, OH 44710


                         Robert Springer
                         6803 Sutherland ct
                         Mentor, OH 44060


                         Jennifer Squires
                         107 Sugarbush Gln
                         Chardon, OH 44024


                         Harjit Sran
                         10276 Laura Lane
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1872 of 1944
                         Rashmi Sreeram
                         38120 Kerrington Way
                         Solon, OH 44139


                         St. Gabriel School
                         9935 Johnnycake Ridge Rd
                         Mentor, OH 44060


                         Laurie Staab
                         8804 Meadow Grass Lane
                         Lewis Center, OH 43035


                         Beth Stachler
                         104 Organ St
                         Bellefontaine, OH 43311


                         Cindy Stack
                         Hawk Ave 7477
                         Mentor, OH 44060


                         Jennifer Staib
                         612 Kaspar Street
                         Port Clinton, OH 43452


                         Jenny Stallworth
                         7431 Southside Avenue
                         Cincinnati, OH 45243


                         Erin Stamolis
                         9192 Tahoma St.
                         Columbus, OH 43240


                         Eric Stamps
                         2610 Blackmore court
                         Troy, OH 45373


                         Ashley Standley
                         555 Staunton Commons Dr apt 29
                         Troy, OH 45373


                         Brandon Standley
                         1313 Dakota Road
                         Bellefontaine, OH 43311




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1873 of 1944
                         Kerry Stanley
                         2701 Parkwood Drive
                         Troy, OH 45373


                         Sharon Stanley
                         101 Skidmore
                         Cleves, OH 45002


                         Samantha Stanton
                         35150 Pettibone Road
                         Solon, OH 44139


                         Alexandra Stanziano
                         702 Clinton Street
                         Port Clinton, OH 43452


                         Heather Staples
                         2291 Asics road 302
                         Hilliard, OH 43026


                         Carson Stark
                         7494 Callow Road
                         Painesville, OH 44077


                         Dee Stark-Kurtz
                         206 North Street
                         Chardon, OH 44024


                         ALLISON STARKS
                         10374 BELLEAU DRIVE
                         TWINSBURG, OH 44087


                         Angela Starks
                         5589 Echo Springs Dr
                         Hamilton, OH 45011


                         Jennifer Starr
                         5551 Kinvarra Lane
                         Dublin, OH 43016


                         Brian Starrett
                         6115 Sunny Vale Drive
                         Columbus, OH 43228




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1874 of 1944
                         State of Ohio
                         Department of Taxation
                         PO Box 530
                         Attn: Bankruptcy Dept.
                         Columbus, OH 43216-0530


                         Matthew Staten
                         5441 Mirage Drive
                         Hilliard, OH 43026


                         Tom Staten
                         211 Leonard ave sw
                         massillom, OH 44646


                         Valli Stauffer
                         2091 Gary Drive Twinsburg
                         Twinsburg, OH 44087


                         Tiffany StClair
                         9449 Altamont Dr Apt A
                         Twinsburg, OH 44087


                         Carolyn Stearns
                         4103 Plain Center Avenue NE
                         Canton, OH 44714


                         Melanie Stebler
                         2525 Augusta Dr SE
                         Massillon, OH 44646


                         Christina Stec
                         2644 Blue Heron Drive
                         Hudson, OH 44236


                         Michael Stedman
                         407 MEADOW VIEW DR
                         POWELL, OH 43065


                         Priscilla Steele
                         2563 Cosmos Dr
                         Loveland, OH 45140


                         Jaime Steen
                         4945 Baker Rd
                         Leroy, OH 44057



18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1875 of 1944
                         Lori Stefanski
                         5331 Winters Run Rd
                         Dublin, OH 43016


                         Polly Steffen
                         11949 Burlington Glen Drive
                         Chardon, OH 44024


                         Jo-Anne Steggall
                         257 Shipherd Cir
                         Oberlin, OH 44074


                         Susan Steggeman
                         417 E Sandusky
                         Bellefontaine, OH 43311


                         Michelle Steggemann
                         1043 Dellwood dr
                         Troy, OH 45373


                         Edward Stein
                         136 Cheshire Road
                         Hudson, OH 44236


                         Michele Steinberger
                         7086 Cross Creek Dr.
                         Mentor, OH 44060


                         Jacquelyn Steineman
                         125 e high ave
                         Bellefontaine, OH 43311


                         Kimberly Steinmann
                         8207 Hamptonshire Drive
                         Cleves, OH 45002


                         Michael Stephens
                         8275 PROCTOR RD.
                         Painesville, OH 44077


                         David Sternagle
                         10755 Cottage Hill Ln
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1876 of 1944
                         Sandor Sternberg
                         34 Chadbourne Drive
                         Hudson, OH 44236


                         Lori Sternisha
                         3321 River Narrows Rd
                         Hilliard, OH 43026


                         Kimberly Stevens
                         5350 Crystal Drive
                         Fairfield, OH 45014


                         Michelle Stevens
                         7388 Silver Creek Road
                         Cleves, OH 45002


                         Jennifer Stevenson
                         9844 Weathersfield Dr
                         Mentor, OH 44060


                         Bobbie Stewart
                         328 E. Brwn Ave
                         Bellefontaine, OH 43311


                         Holly Stewart
                         7306 Iuka Ave
                         Cincinnati, OH 45243


                         Lori Stewart
                         10030 Parmalee Drive
                         Twinsburg, OH 44087


                         Rachel Stewart
                         8223 Russet Lane
                         Maineville, OH 45039


                         Rochelle Stewart
                         3820 Schroeder Dr
                         Fairfield, OH 45011


                         Shane Stewart
                         3737 Wanda way
                         Findlay, OH 45840




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1877 of 1944
                         Lori Stickler
                         5668 Abbyshire drive
                         Hudson, OH 44236


                         Annette Stierwalt
                         8101 Saddleback Place
                         Maineville, OH 45039


                         Jenna Stiles
                         4950 Hollow Oak Ct
                         Hilliard, OH 43026


                         Alexandra Still
                         378 Reamer Place
                         Oberlin, OH 44074


                         Jewel Still
                         715 State apt3
                         Port Clinton, OH 43452


                         Melissa Stillion
                         4172 Knolls Ave SW
                         Massillon, OH 44646


                         Alissa Stinson
                         230 Senlac Hills Drive
                         Chagrin Falls, OH 44022


                         Jackie Stiteler
                         1417 WILHOIT AVE
                         LEWIS CENTER, OH 43035-7904


                         Morgan Stith
                         5735 Tacoma rd
                         Columbus, OH 43229-4212


                         Tabatha Stitt
                         5018 Piccadilly St SW
                         Canton, OH 44706


                         Barb Stitzer
                         6152 Burr Oak Way
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1878 of 1944
                         Rochelle Stively
                         200 N. Crest Dr.
                         Port Clinton, OH 43452


                         Kimberly Stivers
                         6001 Flaig Dr
                         Fairfield, OH 45014


                         Emily Stockard
                         920 Salem Ave
                         Elyria, OH 44035


                         Jason Stockmaster
                         6729 N Weatherby Dr
                         Mentor, OH 44060


                         Steve Stoiner
                         222 hyder dr
                         madison, OH 44057


                         Resia Stokes
                         8776 Ray Ct. Apt.1 #1
                         Twinsburg, OH 44087


                         Satetha Stokes
                         422 west 5 th st
                         port clinton, OH 43452


                         Terry Stolly
                         3679 township road 180
                         Bellefontaine, OH 43311


                         Patrick Stoneking
                         8880 Chaucer Blvd
                         Broadview Heights, OH 44147


                         Amanda Stout
                         3750 Parkside Reserve st
                         Vermilion, OH 44089


                         Noreen Stout
                         9373 Clopton Court
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1879 of 1944
                         Jamie Stover
                         5940 Eastham Way
                         Hudson, OH 44236


                         Lynn Stover
                         37356 Cherrybank Dr
                         Solon, OH 44139


                         Scott Stover
                         5940 Eastham Way
                         Hudson, OH 44236


                         Angela StPierre
                         7450 Wetherburn Way
                         Hudson, OH 44236


                         Patricia Strama
                         4550 Newbury Drive
                         Vermilion, OH 44089


                         Jennifer Strapp
                         7102 TR 243
                         Findlay, OH 45840


                         Kevin Strauss
                         7321 Port Royal Court
                         Mentor, OH 44060


                         Tanya Streckfuss
                         2263 Candlemakers Ln
                         Maineville, OH 45039


                         Christie Strickland
                         2833 Jeanne Ct
                         Lewis Center, OH 43035


                         Christine Strlich
                         136 Ferris Ave.
                         Chardon, OH 44024


                         Pamela Strong
                         3706 Concord Dr
                         Beachwood, OH 44122




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1880 of 1944
                         Stephany Stroth
                         7921 Mentor Ave Apt 101
                         Mentor, OH 44060


                         Brittny Strubbe
                         2452 Cambridge Drive
                         Hudson, OH 44236


                         Tamara Struk
                         280 Falls Walk Way
                         Chagrin Falls, OH 44022


                         Lesa Strull
                         8543 BRIDGETOWN RD
                         CLEVES, OH 45002


                         David Strunk
                         7106 Van Buren Ct
                         Mentor, OH 44060


                         Shelley Stuart
                         4445 9th St. NW
                         Canton, OH 44708


                         JasonKassia Studebaker
                         2503 Glasgow Drive
                         Troy, OH 45373


                         Tera Studebaker
                         3030 Meadowwood St NW
                         Massillon, OH 44646


                         Julie Studt
                         309 Newpine Dr
                         Cleves, OH 45002


                         Jaime Stultz
                         2001 Nicklaus Drive
                         Findlay, OH 45840


                         David Stump
                         4378 Dublin Road
                         Columbus, OH 43221




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1881 of 1944
                         Julie Stupi
                         11451 Auburn Rd.
                         Chardon, OH 44024


                         Brooke Stutzman
                         2244 Bluestone Drive
                         Findlay, OH 45840


                         Ann Stuver
                         3017 GOLDEN OAK DR
                         HILLIARD, OH 43026


                         Lela Styles
                         446 Fairgrounds Rd
                         Painesville, OH 44077


                         Teresa Suchecki
                         5366 Carina ct west
                         Hilliard, OH 43026


                         Keesha Sucher
                         5248 Ritchey Ln
                         South Lebanon, OH 45065-8791


                         Kathy Suhadolnik
                         18921 E Shoreland Ave
                         Rocky River, OH 44116


                         Frank Sulka
                         11720 Sherman Rd.
                         Chardon, OH 44024


                         Linda Sullivan
                         881 Silverberry Lane
                         Hudson, OH 44236


                         Randy Sullivan
                         6488 Meadowbrook Dr
                         Mentor, OH 44060


                         Matthew Suminski
                         4461 Moraine Ave
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1882 of 1944
                         Torre Summers
                         2423 Limestone Way
                         Columbus, OH 43228


                         Michelle Sumner
                         325 Garfield Ave
                         Troy, OH 45373


                         Margaret Sumption
                         3838 Equestrian Court
                         Columbus, OH 43221


                         Liqun Sun
                         7332 Glenwillow Pl.
                         Solon, OH 44139


                         Patricia Sun
                         23500 E Silsby Rd
                         Beachwood, OH 44122


                         Holly Suszynski
                         11175 Beechnut Lane
                         Chardon, OH 44024


                         David Sutton
                         8447 Olenbrook Dr
                         Lewis Center, OH 43035


                         Emily Sutton
                         114 Blackberry Dr
                         Hudson, OH 44236


                         Frances Sutton
                         12455 Claridon Troy Road
                         Chardon, OH 44024


                         Kelli Sutton
                         7740 Ranett Ave
                         Hudson, OH 44236


                         Stephanie Sutton
                         7739 Oxgate Court
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1883 of 1944
                         Michael Suver
                         7857 Lydia Dr
                         Lewis Center, OH 43035


                         Roberta Suydam
                         1469 Plantation Drive
                         Hudson, OH 44236


                         Toshio Suzuki
                         5870 Nicholson Dr
                         Hudson, OH 44236


                         Senka Svilar
                         6608 Crossbow Court
                         North Royalton, OH 44133


                         Colleen Swabby
                         5300 Triple Crown Court
                         Columbus, OH 43221


                         Randal Swan
                         6522 Bryson Drive
                         Mentor, OH 44060


                         Trina Swaney
                         8234 Rushton Dr
                         Mentor, OH 44060


                         Scott Swansiger
                         3236 Sunhaven Oval
                         Parma, OH 44134-5835


                         Jackie Swartz
                         312 N main street
                         Bellefontaine, OH 43311


                         Joe Swartz
                         2393 Oakthorpe Drive
                         Hilliard, OH 43026


                         Tracy Swartzendruber
                         61 Ambrose Drive
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1884 of 1944
                         Cynthia Swauger
                         9923 Regatta Tr
                         Aurora, OH 44202


                         Darren Sweeney
                         19447 Westover Avenue
                         Rocky River, OH 44116


                         Mary Sweet
                         11677 Sycamore Rd
                         Chardon, OH 44024


                         Christine Swenson
                         2394 Charoe Street
                         Lewis Center, OH 43035


                         Kristi Swentor
                         43 Church St
                         Chagrin Falls, OH 44022


                         Jen Swiczkowski
                         220 E 10th St.
                         Port Clinton, OH 43452


                         Lorenda Swindol
                         6209 Campbell Rd
                         Mentor, OH 44060


                         Duane Swingley
                         400 wren ave
                         Bellefontaine, OH 43311


                         Heather Switzer
                         5655 Lakeside Drive
                         Fairfield, OH 45014


                         Nisa Switzer
                         4125 Stonehaven Rd
                         South Euclid, OH 44121


                         Kevin Swope
                         7323 Dog Trot Road
                         Cincinnati, OH 45248




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1885 of 1944
                         Brenna Syphard
                         6791 Ballantrae Pl
                         Dublin, OH 43016


                         Heather Syrett
                         5079 Ravenglass Ct
                         Columbus, OH 43221


                         Josephine Szabo
                         37153 Deer Run
                         Solon, OH 44139


                         Tammy Szalay
                         9505 roryanna drive
                         chardon, OH 44024


                         Michael Szapowal
                         11117 Chillicothe Rd.
                         Chesterland, OH 44026


                         Jenny Szucs-Osinski
                         1265 Bell Road
                         Chagrin Falls, OH 44022


                         Vicky Taddie
                         141 north st
                         chardon, OH 44024


                         Emma Tadtaeva
                         4895 Cedars Bluff Dr. Unit#5
                         South Lebanon, OH 45065


                         Chris Taglieri
                         6241 Tina Dr
                         Mentor, OH 44060


                         Avivit Taib
                         23305 S Chagrin BLVD #208
                         Beachwood, OH 44122


                         Melinda Taiclet
                         9318 Wilson Mills Rd
                         Chesterland, OH 44026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1886 of 1944
                         Rita Takenaga
                         35 Meadow View Court
                         Powell, OH 43065


                         Charles Talbot
                         8939 Primrose Dr.
                         Loveland, OH 45140


                         Lauren Talion
                         7050 Topper Dr
                         Hudson, OH 44236


                         Beth Talpas
                         7264 Julia Dr
                         North Royalton, OH 44133


                         Elizabeth Tambellini
                         2945 Lake Hollow Rd
                         Hilliard, OH 43026


                         Crystal Tamura
                         7950 Mentor Ave M2
                         Mentor, OH 44060


                         Matthew Tarczy
                         1601 Sapphire Drive
                         Hudson, OH 44236


                         Kelly Tarnowski
                         1110 Shelton Circle
                         Broadview Hts, OH 44147


                         Bernhard Tauffer
                         10369 Fox Hollow Circle
                         Twinsburg, OH 44087


                         Sheri Tavens
                         33090 Wintergreen Drive
                         Solon, OH 44139


                         Taylor MS
                         56 Cooper Road
                         Cleves, OH 45002




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1887 of 1944
                         Cari Taylor
                         14010 Darrow Road
                         Vermilion, OH 44089


                         Eddie Taylor
                         69 Hall ST
                         Chagrin Falls, OH 44022


                         Frank Taylor
                         4101 Greenwood Oval
                         North Royalton, OH 44133


                         Jodi Taylor
                         7464 Worlington Drive
                         Solon, OH 44139


                         Kristine Taylor
                         2589 Schafer Knoll Ct
                         Hamilton, OH 45011


                         NIKKI TAYLOR
                         544 STAFFORD DR
                         ELYRIA, OH 44035


                         Sarah Taylor
                         6723 Pinebrooke Drive
                         Hudson, OH 44236


                         Tracy Taylor
                         3724 County Road 11
                         Bellefontaine, OH 43311


                         LeeAnn Teagno
                         9600 Brayes Manor Drive
                         Mentor, OH 44060


                         Jennifer Teale
                         3263 Cheyenne Ct
                         Fairfield Township, OH 45011


                         Wintana Tecle
                         5209 Winsome Way
                         Columbus, OH 43220




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1888 of 1944
                         Jamie Teel
                         311 Marseilles ave
                         Elyria, OH 44035


                         Joao Teixeira
                         23716 E Silsby Rd
                         Beachwood, OH 44122


                         Telecom Assurance, LLC
                         3867 W Market Str, Suite 136
                         Akron, OH 44333


                         Paula Telepak
                         32380 W. Nimrod St.
                         Solon, OH 44139


                         Crystal Temple
                         8675 Mentor Rd
                         Mentor, OH 44060


                         Lynn Tepper
                         65 Potomac Drive
                         Chagrin Falls, OH 44022


                         Victoria Terekhova
                         5647 Westminster Drive
                         Solon, OH 44139


                         CINDY TESKE
                         5455 GOOSEFALLS DR
                         Dubiln, OH 43016


                         Stephanie Teson
                         2157 Weston Dr
                         Hudson, OH 44236


                         Leigh Thacker
                         1212 lost tree dr. n.w.
                         canton, OH 44708


                         Renee Thagard
                         9064 Ellersly Dr
                         Lewis Center, OH 43035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1889 of 1944
                         Jumana Thaher
                         5895 waterview dr
                         Hilliard, OH 43026


                         Keerthana Thambireddy
                         2385 Reeves Ave
                         Lewis Center, OH 43035


                         The Distillata Company
                         1608 East 24th Street
                         Cleveland, OH 44114


                         The Illuminating Company
                         PO Box 3687
                         Akron, OH 44309


                         The Smarter Merchant LLC
                         1115 Broadway
                         New York, NY 10010


                         Joseph Theibert
                         519 E 11th St
                         port Clinton, OH 43452


                         William Thesling
                         7332 E Firelands Dr
                         Hudson, OH 44236


                         Holly Thibault
                         7042 Ashwood Knolls Dr
                         Hamilton, OH 45011


                         Jamie Thobe
                         8645 BRAKEMAN RD
                         CHARDON, OH 44024


                         Ramgopal Thodla
                         5777 Frantz Road
                         Dublin, OH 43017


                         Kevin Thom
                         2626 OAKVIEW ST. NW
                         MASSILLON, OH 44646




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1890 of 1944
                         Erin Thoma
                         3730 Indian Brave Trail
                         Cleves, OH 45002


                         Angie Thomas
                         9287 windy creek drive
                         columbus, OH 43240


                         Belynda Thomas
                         1948 Regan Court
                         Hudson, OH 44236


                         Debra Thomas
                         8170 Rainbow Dr.
                         Concord Twp, OH 44077


                         Denise Thomas
                         55 Meadowview Court
                         Fairfield, OH 45014


                         Fattar Thomas
                         4841 Persimmon Ln
                         North Royalton, OH 44133


                         Kara Thomas
                         5251 Oakvale St SW
                         Canton, OH 44706


                         Kimberly Thomas
                         384 Pemberton Dr.
                         Elyria, OH 44035


                         L Thomas
                         9328 Ashcroft Lane
                         Twinsburg, OH 44087


                         Natashia Thomas
                         4165 Shire Cove Road
                         Hilliard, OH 43026


                         Paul Thomas
                         8392 Master Court
                         Galloway, OH 43119




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1891 of 1944
                         Shirley Thomas
                         26374 Annesley Road
                         Beachwood, OH 44122


                         Syreeta Thomas
                         937 fairwood blvd
                         Elyria, OH 44035


                         Tony Thomas
                         32500 Monroe Ct Apt B206
                         Solon, OH 44139


                         Wendy Thomas-Kollar
                         2257 Herrick Circle
                         Hudson, OH 44236


                         Angela Thompson
                         803 Louise ave
                         Fairfield, OH 45014


                         Becky Thompson
                         6772 St. James Circle
                         Hudson, OH 44236


                         Bethany Thompson
                         3473 Woodland Dr.
                         Hilliard, OH 43026


                         Carol Thompson
                         289 Crestview Dr
                         Elyria, OH 44035


                         Erin Thompson
                         4751 Rossmoor Pl
                         Columbus, OH 43220


                         JACKIE THOMPSON
                         11400 SOMSERSET DR. #132
                         NORTH ROYALTON, OH 44133


                         Jeff Thompson
                         69 Waterford Drive
                         Chagrin Falls, OH 44022




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1892 of 1944
                         Jennifer Thompson
                         33330 Rockford Drive
                         Solon, OH 44139


                         Karena Thompson
                         7133 Gauntlet ST SW
                         Massillon, OH 44646


                         Keith Thompson
                         2470 Warren Pkwy Apt 18
                         Twinsburg, OH 44087-1364


                         Kirsten Thompson
                         6509 Marsol Road #321
                         Mayfield Heights, OH 44124


                         Melissa Thompson
                         251 S. Park Street
                         Oberlin, OH 44074


                         Michelle Thompson
                         7251 Mulberry Road
                         Chesterland, OH 44026


                         Vanessa Thompson
                         254 Grafton Street
                         Oberlin, OH 44074


                         Karen Thorne
                         277 White Oak Dr.
                         Elyria, OH 44035


                         Jennifer Thornhill
                         290 N Prospect St
                         Oberlin, OH 44074


                         Patricia Thornton
                         2768 Max Ct
                         Twinsburg, OH 44087


                         Shenoa Thornton
                         2790 Richmond RD
                         Beachwood, OH 44122




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1893 of 1944
                         Lyndsay Thorpe
                         1984 Stoney Hill Drive
                         Hudson, OH 44236


                         Kathleen Thrush
                         3575 Nautilus Trail
                         Reminderville, OH 44202


                         Matthew Thurman
                         117 Lakeview Ln
                         Chagrin Falls, OH 44022


                         Amanda Tietze
                         5258 Dolores St SW
                         Canton, OH 44706


                         James Tighe
                         3819 Confluence Dr
                         Hilliard, OH 43026


                         Michael Tilson
                         515 W 3rd St
                         Port Clinton, OH 43452


                         Liz Tilton
                         9610 Fox Meadow Lane
                         Chardon, OH 44024


                         Time Warner Cable
                         PO Box 223085
                         Pittsburgh, PA 15251


                         Heidi Timko
                         3989 Deacon Court
                         Hudson, OH 44236


                         Amy Timm
                         7821 Mulberry Rd
                         Chesterland, OH 44026


                         Natalia Timofeyeva
                         3333 Steeplechase Lane apt.2C
                         Loveland, OH 45140




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1894 of 1944
                         Jennifer Tindira
                         1405 Durham Drive
                         Broadview Heights, OH 44147


                         David Tinnerman
                         6760 Trafalgar Loop
                         Dublin, OH 43016


                         Peg Tipka
                         5860 Nicholson drive
                         Hudson, OH 44236


                         Michele Titmas
                         2591 Deer Hollow
                         Hudson, OH 44236


                         Danielle Tobias
                         4803 Mattox St
                         COLUMBUS, OH 43228


                         Stephanie Toitch
                         1420 Gelbray Ave
                         Columbus, OH 43204


                         Rachel Tokmenko
                         3405 Portside Dr
                         Vermilion, OH 44089


                         Helen Toledo
                         2893 Gasser Blvd
                         Rocky River, OH 44116


                         Andrew Tollafield
                         5745 Privilege Dr.
                         Hilliard, OH 43026


                         Kina Tolliver
                         1713 Glenwood Drive
                         Twinsburg, OH 44087


                         Rajesh TOMAR
                         11488 GLEN ABBEY DR
                         NORTH ROYALTON, OH 44133




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1895 of 1944
                         Angelo Tomarchio
                         7616 Worlington Drive
                         Solon, OH 44139


                         Lidia Tomasic-Borris
                         11742 Ivy Ridge Drive
                         North Royalton, OH 44133


                         Meghan Tomechak
                         7007 Roespark Blvd
                         Lewis Center, OH 43035


                         Jeanne Tomei
                         113 Waverly Ln
                         Chagrin Falls, OH 44022


                         Stacy Tomko
                         32700 Seneca Drive
                         Solon, OH 44139


                         Amanda Tompkins
                         2794 Meadowpoint Dr
                         Troy, OH 45373


                         Renee Tomsik
                         2775 Wagar Road
                         Rocky River, OH 44102


                         Jeffrey Tong
                         9 Jefferson Drive
                         Hudson, OH 44236


                         Shelley Tong
                         8076 Gladshire Blvd
                         Lewis Center, OH 43035


                         Krista Toole
                         21585 Aberdeen Road
                         Rocky River, OH 44116


                         Jennifer Toothman
                         13105 Kevin Lane
                         Chardon, OH 44024




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1896 of 1944
                         Rebecca Tope
                         6633 Thunderhill Ln
                         Cincinnati, OH 45233


                         Dave Torggler
                         6746 Shawnee Run Rd
                         Cincinnati, OH 45243


                         Matina Tornick
                         3446 Live Oak Place
                         Columbus, OH 43221


                         Mia Torres
                         2337 Pleasant Colony Driv
                         Lewis Center, OH 43035


                         Ventura Torres
                         9 cosway ct #107
                         fairfield, OH 45014


                         William Torres
                         241 Windsor Dr
                         Elyria, OH 44035


                         Belkis Torres-Cotta
                         24701 Wimbledon RD.
                         Beachwood, OH 44122


                         Kyoko Tosi
                         156 Stratford Rd.
                         Hudson, OH 44236


                         Ervita Toska
                         4186 Wooster Rd.
                         Rocky River, OH 44116


                         Lori Toth
                         38135 Fox Run Dr.
                         Solon, OH 44139


                         Michelle Toth
                         7495 jasani ct
                         mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1897 of 1944
                         Krista Toutant
                         10535 Calico Lane
                         Chardon, OH 44024


                         Tracy Townsend
                         3434 Golfview Court
                         Fairfield, OH 45014


                         Karen Tracy
                         8626 Army Place
                         Galloway, OH 43119


                         Binh Tran
                         5882 Sequoia Ct
                         Mentor-on-the-lake, OH 44060


                         Jennifer Trask
                         7444 Royal Portrush Dr
                         Solon, OH 44139


                         Jennifer Trautmann
                         7520 Andover Way
                         Hudson, OH 44236


                         Allen Travis
                         23805 east groveland
                         Beachwood, OH 44122


                         Angela Treadway
                         5864 Hunting Haven Dr
                         Hilliard, OH 43026


                         Pamela Trebec
                         9554 Graystone Lane
                         Mentor, OH 44060


                         William Trecarichi
                         11100 kimmeridge trail
                         newbury, OH 44065


                         Nici Trem
                         6806 PALMERSTON DR
                         MENTOR, OH 44060-3924




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1898 of 1944
                         Jeany Tri
                         6680 sherwood
                         north royalton, OH 44133


                         Mary Tripodo
                         6320 Reynolds Rd
                         Mentor, OH 44060


                         Chris Tripp
                         562 Deerwood Ct.
                         Painesville, OH 44077


                         Tami Trivonovich
                         5000 Corkwood Drive
                         N Royalton, OH 44133


                         Denise Troha
                         10056 Johnnycake Ridge Rd
                         Concord, OH 44077


                         Candida Truitt
                         198 Edgefield Drive
                         Cleves, OH 45002


                         Stacia Trump
                         519 21st Street NW
                         Canton, OH 44709


                         Olga Tselma
                         32608 haverhill dr
                         solon, OH 44139


                         Steven Tsourkas
                         4251 Shire Landing Road
                         Hilliard, OH 43026


                         Adele Tucker
                         2154 Lyndway road
                         Beachwood, OH 44122-1280


                         Amanda Tucker
                         221 Ellis street
                         Troy, OH 45373




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1899 of 1944
                         Suzy Tucker
                         6120 Lakota Drive
                         Cincinnati, OH 45243


                         Bela Tukkev
                         8244 creekwoods pl
                         Maineville, OH 45039


                         Kristin Tull
                         325 Grey Fox Run
                         Bentleyville, OH 44022


                         Andrea Tumler
                         2052 Riverwood Tr
                         Kingsmills, OH 45034


                         Jeannie Tungate
                         406 Creekborough Ct
                         South Lebanon, OH 45065


                         Kate Turic
                         11420 labrador ln
                         concord, OH 44077


                         Stephanie Turkal
                         4324 duke cir sw
                         massillon, OH 44646


                         Deena Turnbull
                         2460 Broken Woods Drive
                         Troy, OH 45373


                         Danielle Turner
                         7304 Jimmie St SW
                         Massillon, OH 44646


                         Jeff Turner
                         765 E Columbus Ave.
                         Bellefontaine, OH 43311


                         Karen Turner
                         2677 Bronsons Way
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1900 of 1944
                         Kim Turner
                         5552 Kinvarra Ct
                         Dublin, OH 43016


                         Shelly Turner
                         2663 Ashwood Dr
                         Loveland, OH 45140


                         Tiffany Turner
                         9953 Brookhill Circle
                         Twinsburg, OH 44087


                         Timea Turoczi
                         10 Skyline dr
                         Chagrin Falls, OH 44022


                         Ryan Tuttle
                         5051 Britton Farms Drive
                         Hilliard, OH 43026


                         Gladys Twumwaa
                         80 Bent Tree Dr Apt 2D
                         Fairfield, OH 45014


                         Jacqueline Tynan
                         506 Rachel Cir. N.W.
                         Massillon, OH 44646


                         U.S. Bank Equipment Finance
                         PO Box 790448
                         St. Louis, MO 63179


                         Doug Uchbar
                         11775 Parkwood Dr
                         Chardon, OH 44024


                         Charles Uhler
                         3445 palmer dr
                         rocky river, OH 44116


                         Judith Uijtewaal
                         31 Blackberry Drive
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1901 of 1944
                         Christine Ule
                         704 Radford Drive
                         Richmond Heights, OH 44143


                         Michael Uline
                         946 Bates Road
                         Rocky River, OH 44116


                         JENNIFER UNDERWOOD
                         1294 COUNTY RD 236
                         van buren, OH 45889


                         Amy Unger
                         6524 Dunbarton Drive
                         Hudson, OH 44236


                         Claudia Unger
                         7170 Lakeshore blvd
                         Mentor, OH 44060


                         Nichole Unger
                         911 Washington St.
                         Troy, OH 45373


                         Lauren Unke
                         33 Nathan CT
                         Hudson, OH 44236


                         Rhonda Unthank
                         3304 Triplecrown Dr.
                         North Bend, OH 45052


                         Shankar Upadhyayula
                         300 HIDDEN LAKE LANE
                         Peninsula, OH 44264


                         Erin Upchurch
                         5099 Sansom Court
                         Columbus, OH 43220


                         Nancy Upholz
                         6252 Inland Shores Drive
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1902 of 1944
                         Amy Upp
                         3202 Terra Drive
                         Columbus, OH 43228


                         Lynda Urdzik
                         10274 Sandalwood Lane
                         Twinsburg, OH 44087


                         Inna Ushats
                         32617 Seneca Dr
                         Solon, OH 44139


                         Robert Uy
                         2648 Forestview Avenue
                         Rocky River, OH 44116


                         Antonia Uzl
                         417 Wilmington Dr.
                         Broadview Heights, OH 44147


                         Grace Vacca
                         20353 Westhaven Lane
                         ROCKY RIVER, OH 44116


                         Jennifer Vacca
                         2887 Columbia Trl
                         Loveland, OH 45140


                         Don Vaccariello
                         5758 Bunker
                         North Royalton, OH 44133


                         Antoanela Vaccaro
                         270 Grey Fox Run None
                         Bentleyville, OH 44022


                         Kristy Vagnier
                         1487 Aniko Ave.
                         Lewis Center, OH 43035


                         Ellen Vahue
                         7440 Shewango Way
                         Madeira, OH 45243




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1903 of 1944
                         Meghan Vaillancourt
                         1927 Hyannis Circle
                         Hudson, OH 44236


                         Leslie Vajner
                         14795 Lancelot Lane West
                         North Royalton, OH 44133


                         Melissa Valenti
                         3801 Portside Dr.
                         Vermilion, OH 44089


                         Ronni Valentino
                         1295 Della Place
                         Columbus, OH 43228


                         JP Valiuls
                         7904 Norma Court
                         Lewis Center, OH 43035


                         Carla Valles
                         172 Loyola Drive
                         Elyria, OH 44035


                         Jennifer Valley
                         6566 Akins Road
                         North Royalton, OH 44133


                         Scott Valore
                         8630 mansion blvd.
                         mentor, OH 44060


                         Todd Valore
                         7851 Champaign Dr.
                         Mentor, OH 44060


                         Anna Valuyskikh
                         5234 Crofton Avenue
                         Solon, OH 44139


                         Van Buren MS
                         217 South Main Street
                         Van Buren, OH 45889




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1904 of 1944
                         Van Cleve 6th Grade School
                         617 East Main Street
                         Troy, OH 45373


                         Linda VanAtta
                         200 E. Bigelow
                         Findlay, OH 45840


                         Lori VanBokkelen
                         7638 Hempfield Lane
                         Hudson, OH 44236


                         Kristi Vance
                         8603 Lazelle Commons Drive
                         Lewis Center, OH 43035


                         Jillian VanderMerwe
                         8829 Logger Place
                         Mason, OH 45040


                         Daniel VanDeusen
                         5545 KINVARRA CT
                         DUBLIN, OH 43016-6027


                         Kimberly VanGundy
                         3790 Smiley Road
                         Hilliard, OH 43026


                         Amy VanHoose
                         312 E. High Ave
                         Bellefontaine, OH 43311


                         Travis VanNeste
                         85 Wildhurst Road
                         Excelsior, MN 55331


                         Debi Vannoy
                         9965 Darrow Park Dr F106
                         Twinsburg, OH 44087


                         Angela Vannucci
                         3818 Bradfords Gate
                         Rocky River, OH 44116




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1905 of 1944
                         Michele Vano
                         6145 Althea Dr
                         Painesville, OH 44077


                         Patricia Vano
                         9263 Terrace Park Dr.
                         Mentor, OH 44060


                         Danielle Vanone
                         12145 sperry
                         chesterland, OH 44026


                         Nate VanSteenvoort
                         7679 FEDER ROAD
                         GALLOWAY, OH 43119


                         Danielle VanVorhis
                         7724 West Watermark Dr
                         Findlay, OH 45840


                         Kolin VanWinkle
                         5740 Birdie Lane
                         Mentor, OH 44060


                         John Varga
                         35 Nantucket drive
                         Hudson, OH 44236


                         Melissa Vata
                         6890 Topper dr
                         Hudson, OH 44136


                         Ashleigh Vaughn
                         5860 Katara Drive
                         Galloway, OH 43119


                         Barbara Vaughn
                         2221 Tanner Ave S W
                         Canton, OH 44706


                         Julie Vaughn
                         7983 Colonial Dr Apt C
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1906 of 1944
                         Maria Vazquez
                         1520 hawk circle apt a
                         Troy, OH 45373


                         Nina Vazquez
                         5595 Autumncrest St SW
                         Canton, OH 44706


                         Yolanda Veasey
                         9931 Darrow Park Drive 110-M
                         Twinsburg, OH 44087


                         Amy Vecchio
                         8089 cloveridge road
                         chagrin falls, OH 44022


                         Scott Vehar
                         8250 Lancaster Dr.
                         Mentor, OH 44060


                         Laurel Velazquez
                         24609 Duffield Road
                         Beachwood, OH 44122


                         Bonnie Veleba
                         8415 Music st
                         chagrin Falls, OH 44022


                         Luis Velez
                         1236 kildale sq n
                         columbus, OH 43229


                         Carl Vella
                         2046 Spring Ridge
                         Twinsburg, OH 44087


                         Ayse Vellky
                         1903 Forestview Lane
                         Delaware, OH 43015


                         Stephanie Vellky
                         3686 Lagoon Ln
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1907 of 1944
                         Shannon Velotta
                         12402 Harold Dr
                         Chesterland, OH 44026


                         Aneta Velovski
                         96 Purple Leaf Ln
                         Lewis Center, OH 43035


                         Kristen Veltkamp
                         17350 Parkside Drive
                         North Royalton, OH 44133


                         Natalie Vendetti
                         6521 Sherry Lane
                         Hilliard, OH 43026


                         Sarah Venezian
                         7724 Shawnee Run Rd
                         Cincinnati, OH 45243


                         SHANKAR VENKATARAMAN
                         331 HOLLY GROVE ROAD
                         LEWIS CENTER, OH 43035


                         Rachel Venti
                         3066 Ravenna St
                         Hudson, OH 44236


                         Sherryl Verceles
                         2200 Shamrock Lane
                         Troy, OH 45373


                         Carol Vernyi
                         3693 Sea Ray Cv
                         Aurora, OH 44202


                         Beverly Via
                         26 N. Norwich Rd.
                         Troy, OH 45373


                         Debra Victor
                         36140 PETTIBONE ROAD
                         SOLON, OH 44139




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1908 of 1944
                         Heather Vidmar-McEwen
                         23316 E Groveland Rd
                         Beachwood, OH 44122


                         Jacqueline Vidra
                         4772 Farley Dr.
                         Mentor, OH 44060


                         Jeremiah Vigansky
                         208 Greenridge Drive
                         Bellefontaine, OH 43311


                         Melissa Villafan
                         4663 Russell Pt
                         Hilliard, OH 43026


                         Candace Villanueva
                         5386 Crescent Drive
                         Hilliard, OH 43026


                         Laura Villanueva
                         12860 Mayfield Road Lot 46
                         Chardon, OH 44024


                         Chris Vincent
                         9247 Windy Creek
                         Columbus, OH 43240


                         Jim Vitale
                         10180 Weathersfield Dr.
                         Concord Twp., OH 44060


                         Tamarraw Vitangeli
                         691 Rosecrest Dr
                         Troy, OH 45373


                         Timothy Vlach
                         6603 Deer Haven Dr
                         Painesville, OH 44077


                         Mimi Vo
                         3138 merino lane
                         twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1909 of 1944
                         THY VO
                         7758 Kingman Place
                         Lewis Center, OH 43035


                         Paula Voegele
                         9660 Kelly Drive
                         Loveland, OH 45140


                         Katherine Vogel
                         41 morning song lane
                         Hudson, OH 44236


                         Natalie Vogt
                         2461 Arborwood Drive
                         Loveland, OH 45140


                         George Voinovich
                         2749 Middleton Rd.
                         Hudson, OH 44236


                         Sheila Vollmer
                         314 Adams St
                         Port Clinton, OH 43452-1909


                         Joe Volpe
                         1067 Valewood Ct
                         Painesville Twp, OH 44077


                         Todd Von Ville
                         2677 Ellsworth Hill Drive
                         Hudson, OH 44236


                         Gina VonVille
                         2677 Ellsworth Hill Drive
                         Hudson, OH 44236


                         Frank Vosicky
                         710 Retford Parkway
                         Painesville, OH 44077


                         Eric Voth
                         8668 Center Drive
                         North Royalton, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1910 of 1944
                         Marianthie Vourliotis
                         5200 Royalton Rd. B3
                         North Royalton, OH 44133


                         Shelly Vranich
                         5565 Baycrest St SW
                         Canton, OH 45706


                         Ana Vucic
                         2362 Hetter Street
                         Columbus, OH 43228


                         Kim Vujaklija
                         8920 Hikers Trail
                         CHARDON, OH 44024


                         Antonija Vukancic
                         6194 Seneca Rd
                         Mentor, OH 44060


                         Nick Vunderink
                         205 Goredon Dr
                         Chardon, OH 44024-1513


                         Richard Wachhaus
                         9814 Fawn Court
                         Mentor, OH 44060


                         Lisa Wade
                         8024 Butler Hill Drive
                         Concord Twp, OH 44077


                         Melissa Wadsworth
                         100 Keenan Rd. Lot B38
                         Peninsula, OH 44264


                         Colette Wagener
                         1009 W WAYNE ST
                         MAUMEE, OH 43537


                         Diane Wagenhauser
                         3075 Gilridge Dr
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1911 of 1944
                         Daryl Wagner
                         198 Aurora Street
                         Hudson, OH 44236


                         Gina Wagner
                         12691 Ravenna Rd
                         Chardon, OH 44024


                         Keisha Wagner
                         10346 Merriam Lane
                         Twinsburg, OH 44087


                         Tanya Wagner
                         6299 Cumberland Drive
                         Mentor, OH 44060


                         Jennifer Waicak
                         2472 Mary Lou St NW
                         Massillon, OH 44646


                         Betce Wainio
                         10641 jubilee drive
                         chardon, OH 44024


                         Holly Waite
                         3926 Kings Mill Run
                         Rocky River, OH 44116


                         Monica Waite
                         7646 Glenmont Dr. Apt A A
                         North Royalton, OH 44133


                         Jennifer Walberry
                         336 holly grove road
                         lewis ceneter, OH 43035


                         JAMES WALCZAK
                         1442 SANFORD ST
                         VERMILION, OH 44089


                         Sarah Wales-McGrath
                         3072 Abrams Drive
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1912 of 1944
                         Annalee Walker
                         1810 Beechwood Dr
                         Troy, OH 45373


                         Danielle Walker
                         6546 Chestwick Lane
                         Hudson, OH 44236


                         Deva Walker
                         23305 Chagrin Blvd Apt 310
                         Beachwood, OH 44122


                         Heather Walker
                         7539 Fern Dr
                         Mentor, OH 44060


                         Holly Walker
                         4577 Marilyn Street
                         Hilliard, OH 43026


                         Tricia Walker
                         2645 Brooklyn Ave SW
                         Canton, OH 44706


                         Barbara Wallace
                         43160 Hastings Rd
                         Oberlin, OH 44074


                         Halle Wallace
                         6318 Bryson drive
                         mentor, OH 44060


                         Amie Walland
                         12830 big creek ridge drive
                         Chardon, OH 44024


                         Karena Waller
                         701 S Stanfield Rd Apt 144
                         Troy, OH 45373


                         Teri Waller
                         1134 Westfield Dr.
                         Maumee, OH 43537




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1913 of 1944
                         Alisa Walsh
                         6838 Mayapple Circle
                         Solon, OH 44139


                         Maria Walston
                         7714 Garfield Rd.
                         Mentor, OH 44060


                         Marlene Walter
                         6598 Ebury Cir
                         Hudson, OH 44236


                         Molly Walters
                         3822 Treadway Trail
                         Hamilton, OH 45011


                         Heather Walton
                         1219 concord ave sw
                         Canton, OH 44720


                         Tammy Walton
                         6609 Limberlost Court
                         Solon, OH 44139


                         Shelly Waltz
                         6766 Ken Arbre Dribet
                         Cincinnati, OH 45236


                         Bo Wang
                         5370 brooklands drive
                         hudson, OH 44236


                         Haiping Wang
                         2562 Biscayne Blve
                         Beachwood, OH 44122


                         Kaisheng Wang
                         27555 Tinkers Valley Dr.
                         Solon, OH 44139


                         Nancy Wang
                         4740 Brookhaven Dr
                         North Royalton, OH 44133




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1914 of 1944
                         Xiaohong Wang
                         7749 Peck Ct.
                         Lewis Center, OH 43035


                         Kristin Wanyek
                         1201 waterfront place
                         Painesville, OH 44077


                         Michael Warburton
                         3505 Patcon Way
                         Hilliard, OH 43026


                         Cheryl Ward
                         4911 Menloughwood Dr NW
                         Canton, OH 44708


                         Mark Ward
                         1141 Edgewater Drive
                         Troy, OH 45373


                         Molly Ward
                         20783 Avalon Drive
                         Rocky River, OH 44116


                         Monique Ward
                         5645 HIllcrest Avenue
                         Mentor, OH 44060


                         Suzanne Ward
                         11561 Cherry Hollow Drive
                         Chardon, OH 44024


                         Tina Ward
                         7909 PRESTON HILL CT
                         MENTOR, OH 44060


                         Tina Ward
                         7394 south chestnut commons dr
                         Mentor, OH 44060


                         Tracy Ward
                         858 River Forest Drive
                         Maineville, OH 45039




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1915 of 1944
                         Hillary Warman
                         5859 Bradford Way
                         Hudson, OH 62025


                         LeeAnn Warner
                         5673 Nike Dr
                         Hilliard, OH 43026


                         Nicole Warner
                         2799 Lakeview Ave
                         Rocky River, OH 44116


                         Stephanie Warner
                         8586 Clover Glade Dr
                         Lewis Center, OH 43035-8647


                         Tara Warner
                         3257 Havel Drive
                         Beachwood, OH 44122


                         April Warstler
                         3060 Perry Dr Nw
                         Canton, OH 44708


                         Laura Washington
                         214 Canfield Dr.
                         Chardon, OH 44024


                         Raymond Washio
                         3614 Palmer Drive
                         Rocky River, OH 44116


                         John Wasko
                         7472 Duke Ct.
                         Mentor, OH 44060


                         Tom Wasserman
                         22465 Marlys 22465 Marlys
                         Rocky River, OH 44116


                         Frank Watkins
                         7606 Allegheny Drive
                         Concord, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1916 of 1944
                         Matthew Watkins
                         906 Governors Rd
                         Troy, OH 45373


                         Sarah Watkins
                         1142 Washington Road
                         Troy, OH 45373


                         Crystel WatkinsBates
                         309 Elberta Dr
                         Vermilion, OH 44089


                         KARRIE WATROUS
                         328 BIRCHWOOD LANE
                         PAINESVILLE, OH 44077


                         Jessica Watson
                         6615 Center St
                         Mentor, OH 44060


                         Michelle Watson
                         10950 forest oaks drive
                         chardon, OH 44024


                         Sandi Watson
                         1740 Sedwick NW
                         Massillon, OH 44646


                         Tanya Watson
                         2684 Bronsons Way
                         Twinsburg, OH 44087


                         Debbie Watts
                         9480 Sherman Rd
                         Chesterland, OH 44026


                         Jon Way
                         5983 Hampton Corners S
                         Hilliard, OH 43206


                         Desiree Waypa
                         1875 Curry Lane
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1917 of 1944
                         Jamie Wearley
                         2560 Victoria Pkwy
                         Hudson, OH 44236


                         TAMMIE WEARSCH
                         1191 SANFORD STREET
                         VERMILION, OH 44089


                         Weaver MS
                         4600 Avery Road
                         Hilliard, OH 43026


                         Melissa Weaver
                         4663 Surmay Ave SW
                         Canton, OH 44706


                         Stacey Weaver
                         700 Bowhall road
                         Painesville, OH 44077


                         Cheryl Webb
                         418 E. 5th St.
                         Port Clinton, OH 43452


                         Wesley Webb
                         5230 13th st sw
                         canton, OH 44710


                         Celine Webber
                         417 Louisiana Ave.
                         Elyria, OH 44035


                         Catherine Weber
                         5039 Sharon Hill Drive
                         Columbus, OH 43235


                         Don Webster
                         10988 Leader RD
                         Chardon, OH 44024


                         Jennifer Webster
                         373 Old Willow Ct
                         South Lebanon, OH 45065




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1918 of 1944
                         Lyn Webster
                         12831 Balsam Dr
                         Van Buren, OH 45889-9687


                         Mark Webster
                         221 East 4th St.
                         Port Clinton, OH 43452


                         Scott Webster
                         6570 Newhouse Ct.
                         Mentor, OH 44060


                         Diane Wedding
                         8031 Kings Ct.
                         Maineville, OH 45039


                         Laura Weemhoff
                         8320 Squad Dr
                         Galloway, OH 43119


                         Wei Wei
                         32625 Shadowbrook Dr
                         Solon, OH 44139


                         Christine Weiherer
                         3757 Indian Brave Trail
                         Cleves, OH 45002


                         Jennifer Weil
                         6833 Fox Hill Lane
                         Cincinnati, OH 45236


                         Cathy Weinberg
                         11387 Worthington Way
                         North Royalton, OH 44133


                         Halle Weinberg
                         37355 Bunker Hill
                         Solon, OH 44139


                         Sherry Weinhardt
                         857 Barlow rd
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1919 of 1944
                         Tim Weintraub
                         6164 Norwood
                         Mentor, OH 44060


                         Kris Weir
                         13798 Fox Hills Dr
                         Novelty, OH 00044-0072


                         Natalie Weir
                         2962 Highwall Way
                         Columbus, OH 43221


                         Melissa Weisenburger
                         3183 Kaylyn Lane
                         Hilliard, OH 43026


                         David Weiser
                         6391 Glenwillow Dr
                         North Royalton, OH 44133


                         Lynn Weiss
                         743 Wynstone Dr
                         Lewis Center, OH 43035


                         Scott Weiss
                         1031 Forestbrook Lane
                         PAINESVILLE, OH 44077


                         Stacey Weister
                         5129 14th St SW
                         Canton, OH 44710


                         Tammy Weitzner
                         16001 Bennett Rd
                         North Royalton, OH 44133


                         Echo Welch
                         8910 Dean Rd
                         Vermilion, OH 44089


                         Laura Weldon
                         7361 Lascala Drive
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1920 of 1944
                         Amanda Wells
                         1853 Riverwood Trail
                         Kings Mills, OH 45034


                         Kelley Wells
                         6663 Ballantrae Place
                         Dublin, OH 43016


                         PATTI WELLS
                         3662 TREADWAY TRAIL
                         HAMILTON, OH 45011


                         Jenny Welte
                         12179 County Road 109
                         Findlay, OH 45840


                         Lauren Welter
                         7141 Cedar Street
                         Chagrin Falls, OH 44022


                         Daren Wentz
                         5097 Troyer Dr
                         Kent, OH 44135


                         Joseph Wenzel
                         8231 Sheltered Cove
                         Mentor, OH 44060


                         Amy Werling
                         3190 Autumn Applause Dr
                         Lewis Center, OH 43035


                         Cory Wertsch
                         1620 Clipper CV
                         Painesville, OH 44077


                         Toni Wesen
                         7694 Chesterbrook Road
                         Chesterland, OH 44026


                         Maria Wessel
                         3939 Von Rissen Ct
                         Cleves, OH 45002




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1921 of 1944
                         West Geauga MS
                         8611 Cedar Road
                         Chesterland, OH 44026


                         Christina West
                         2790 Kimberly Drive
                         Maineville, OH 45039


                         Gretchen West
                         7422 Highwood Way
                         Hudson, OH 44236


                         Lori West
                         2520 Renwick Way
                         Troy, OH 45373


                         Brock Westbrook
                         9317 creekwood dr
                         mentor, OH 44060


                         Robert Westbrook
                         6613 Apache Circle
                         Cincinnati, OH 45253


                         Cyndi Westfall
                         703 E Main St
                         Troy, OH 45373


                         Westin Washington Dulles
                         2520 Wasser Terrace
                         Herndon, VA 20171


                         Brenda Whalen
                         6279 Dawson Blvd
                         Mentor, OH 44060


                         Kristen Whelan
                         7802 Debonaire Dr.
                         Mentor, OH 44060


                         Angela Whitaker
                         6716 Forest Hill ln
                         Hamilton, OH 45011




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1922 of 1944
                         Michael Whitaker
                         2970 Richmond Rd
                         Beachwood, OH 44122


                         Geoffrey White
                         20040 Parkview Ave
                         Rocky River, OH 44116


                         James White
                         122 Tilden Ave
                         CHARDON, OH 44024


                         JAMIE WHITE
                         455 A BARLOW RD.
                         HUDSON, OH 44236


                         Jennifer White
                         2764 W Asplin Dr
                         Rocky River, OH 44116


                         Kimberly White
                         11139 Butternut Road
                         Chardon, OH 44024


                         Lori White
                         221 Canfield Drive
                         Chardon, OH 44024


                         Michelle White
                         185 Radley DR
                         painesville, OH 44077


                         Patricia White
                         5969 Paron Place
                         Hilliard, OH 43026


                         Katrina Whited
                         6041 Willow Lake Dr.
                         Hudson, OH 44236


                         Susan Whitelaw
                         9359 Monticello Drive
                         Twinsburg, OH 44087




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1923 of 1944
                         Natalie Whiting
                         11418 Heath Road
                         Chesterland, OH 44026


                         Teresa Whiting
                         1401 e state st
                         Port Clinton, OH 43452


                         Marlene Whitman
                         7579 Rollingbrook Trail
                         Solon, OH 44139


                         Susan Whitmer
                         12792 Sperry Rd
                         Chesterland, OH 44026


                         Darrin Whitt
                         4916 hollyview dr
                         vermilion, OH 44089


                         Rod Whittington
                         10283 Orchard Hill Ln.
                         Twinsburg, OH 44087


                         Tim Wicinski
                         1550 Commodore Cove
                         Painesville, OH 44077


                         Amy Wickham
                         6749 Trafalgar Loop
                         Dublin, OH 43016


                         Nicole Wicks
                         2973 E Orange Rd
                         Lewis Center, OH 43035


                         Teresa Widdoes
                         2255 Jesse Drive
                         Hudson, OH 44236


                         Yvette Widmar
                         11624 Cambridge Dr.
                         Chesterland, OH 44026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1924 of 1944
                         Gina Wiechman
                         907 taft st
                         Port Clinton, OH 43452


                         Gayleen Wiegand
                         4920 Timberview Dr
                         Vermilion, OH 44089


                         Susan Wiesemann
                         7301 Shewango Way
                         Cincinnati, OH 45243


                         Jason Wiess
                         9680 Executive Ct
                         Mentor, OH 44060


                         Jonathan Wiggins
                         33945 blue heron dr
                         Solon, OH 44139


                         Shannon Wik
                         5117 Meadowview Ln
                         South Lebanon, OH 45065


                         Linda Wiley
                         1492 Plantation Dr
                         Hudson, OH 44236


                         Brenda Wilkes
                         4200 Shepler Church Ave SW
                         CANTON, OH 44706


                         Alina Wilkinson
                         5791 Birdie Lane
                         Mentor, OH 44060


                         Tracey Wilkinson
                         11460 Glenmora Drive
                         Chardon, OH 44024


                         Willard High School
                         Pme F;asjes Ave
                         Willard, OH 44890




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1925 of 1944
                         JON WILLARD
                         8663 CLARKSDALE DR
                         LEWIS CENTER, OH 43035


                         Stacey Willging
                         7863 Strawberry Hill Lane
                         Maineville, OH 45039


                         Andrea Williams
                         889 Thomas Lane
                         Columbus, OH 43220


                         Angela Williams
                         2307 Amberwood
                         Massillon, OH 44646


                         Bradford Williams
                         1282 Bell Court
                         Elyria, OH 44035


                         Carissa Williams
                         2736 Perry Drive SW
                         Canton, OH 44706


                         Carrie Williams
                         795 Coy Ln
                         Chagrin Falls, OH 44022


                         Cheryl Williams
                         10565 Hemlock Ridge Dr
                         Chardon, OH 44024


                         Danielle Williams
                         23511 Chagrin Blvd Apt. 306
                         Beachwood, OH 44122


                         Jacob Williams
                         1182 Hubbard Road
                         Galloway, OH 43119


                         Kelli Williams
                         7781 Royal Park dr
                         Lewis Center, OH 43035




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                         Kimberly Williams
                         3258 Shale Drive
                         Twinsburg, OH 44087


                         Kristie Williams
                         1100 Oxfordshire Drive
                         Columbus, OH 43228


                         Latisha Williams
                         10803 Ravenna rd Apt 107
                         Twinsburg, OH 44087


                         Laura Williams
                         10700 Butternut Road
                         Chesterland, OH 44026


                         LYNETTE WILLIAMS
                         10446 TOWNLEY CT
                         REMINDERVILLE, OH 44202


                         Michelle Williams
                         37205 Halton Ct.
                         Solon, OH 44139


                         Raymond Williams
                         1993 Marwell BLVD
                         Hudson, OH 44236


                         Shannon Williams
                         5883 Buckeye Lane
                         Mentor, OH 44060


                         Shaun Williams
                         43 West Bel Meadow Lane
                         South Russell, OH 44022


                         Sheri Williams
                         7856 Glengate Dr.
                         Broadview Hts, OH 44147


                         Jennifer Williams-Reid
                         10766 Butternut Rd
                         Chesterland, OH 44026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1927 of 1944
                         Michelle Willmott
                         8151 Ravenna Road
                         Hudson, OH 44236


                         Trisha Wilmoth
                         1774 Marby Dry
                         Troy, OH 45373


                         April WIlson
                         420 west 6th street
                         Port clinton, OH 43452


                         Felicia Wilson
                         6488 Hayden Run Road
                         Hilliard, OH 43026


                         Jennifer Wilson
                         1466 Lee Rd
                         Troy, OH 45373


                         JOHN WILSON
                         8188 Dartmoor Rd
                         Mentor, OH 44060


                         Nicole Wilson
                         3143 St. Mikala Ct
                         Twinsburg, OH 44087


                         Robin Wilson
                         7502 Whitemarsh Way
                         Hudson, OH 44236


                         Shannon Wilson
                         866 Bryant Dr
                         Vermilion, OH 44089-1098


                         Melanie Wilt
                         7600 Holderman Street
                         Lewis Center, OH 43035


                         Kama WINCHEL
                         1337 Winningham Lane
                         Columbus, OH 43240




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1928 of 1944
                         Steve WindoverNoble
                         2337 Champion Trail
                         Twinsburg, OH 44087


                         Joy Wingader
                         2299 Tyre Dr
                         Hudson, OH 44236


                         Bobbie Winkelman
                         165 Buckingham Drive
                         Elyria, OH 44035


                         Erica Winningham
                         23351 Chagrin Blvd Apt 108
                         Beachwood, OH 44122


                         Thomas Wirsing
                         6586 Dellhaven Ave
                         Mentor, OH 44060


                         Dena Wise
                         9385 Bassett Lane
                         North Royalton, OH 44133


                         Heather Wise
                         8441 Olenbrook Drive
                         Lewis Center, OH 43035


                         Mary Wise
                         556 Keys Dr
                         Elyria, OH 44035


                         Scott Wise
                         5482 Glasgow Place
                         COLUMBUS, OH 43235


                         Chad Wiseman
                         2370 Maxwell Ave.
                         Lewis Center, OH 43035


                         Nellie Wislocki
                         11983 Firefly Drive
                         North Royalton, OH 44133




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1929 of 1944
                         Dianne Wislon
                         9261 Boyer Lane
                         Mentor, OH 44060


                         Jessica Wisniewski
                         119 Caroline street
                         Elyria, OH 44035


                         Melissa Wissel
                         2689 Leslie lee court
                         Hamilton, OH 45011


                         Tarin Withers
                         6472 Ravena Dr.
                         Hamilton, OH 45011


                         Larry Withrow
                         5984 North Turtlecreek Drive
                         Fairfield, OH 45014


                         Donna Witter
                         5303 Wilshire Park Dr.
                         Hudson, OH 44236


                         Tami Wittmann
                         1304 Chantilly Dr.
                         Maumee, OH 43537


                         Debbie Wittrup
                         30270 Woodall
                         Solon, OH 44139


                         Michelle Witzky
                         7597 Capilano Drive
                         Solon, OH 44139


                         Heidi Wojtowicz
                         4119 Hurley Drive
                         Toledo, OH 43614


                         Tom Wolak
                         6218 Carolyn Dr
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1930 of 1944
                         Vanessa Wolcott
                         13633 Radcliffe Rd
                         Chardon, OH 44024


                         Kerry Wolenski
                         55 East Case Drive
                         Hudson, OH 44236


                         Kerrie Wolf
                         11243 Exmoor Dr
                         Concord, OH 44077


                         Monica WolfCuadrado
                         2420 Tyre Dr
                         Hudson, OH 44236


                         Amanda Wolfe
                         5273 Frisco dr
                         Hilliard, OH 43026


                         Amber Wolfe
                         533 S Mulberry
                         Troy, OH 45373


                         Danielle Wolfe
                         5191 Hialeah Ct
                         Columbus, OH 43221


                         Jon Wolfe
                         1410 Willowood Ct
                         Painesville, OH 44077


                         Timothy Wolfe
                         3199 Kaylyn Lane
                         Hilliard, OH 43026


                         Lynn Wolfenberger
                         4955 Reed Rd
                         Columbus, OH 43220


                         Deanna Wolford
                         5610 Nike Dr.
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1931 of 1944
                         Amy Wolterman
                         3505 Buckeye Trace
                         Cleves, OH 45002


                         Shannon Wong
                         37174 Tidewater Dr.
                         Solon, OH 44139


                         Nicole Wood
                         7613 bellflower rd
                         Mentor, OH 44060


                         Timothy Wood
                         3514 Mark Twain Dr.
                         Hilliard, OH 43026


                         Clint Woodall
                         15316 Bent Tree Dr
                         Findlay, OH 45840


                         Curtis Woodard
                         2823 Pheasant Field Dr
                         Hilliard, OH 43026


                         Christene Woodley
                         9020 Cabroilet Ave
                         Mentor, OH 44060


                         Kelly Woodmancy
                         10781 Bentley Dr.
                         North Royalton, OH 44133


                         Christine Woods
                         6363 carter blvd
                         mentor, OH 44060


                         Joe Woods
                         1419 Little Bear Loop
                         Lewis Center, OH 43035


                         Kristie Woods
                         921 Pheasant Grove Ave. NW
                         Massillon, OH 44646




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1932 of 1944
                         Tiffany Woods
                         9063 Columbia rd
                         Loveland, OH 45140


                         Brandy Woodward
                         1370 Sanford St
                         Vermilion, OH 44089


                         Darlene Woolard
                         10000 Ezra Court
                         Twinsburg, OH 44087


                         Jeffrey Woolf
                         12806 Bass Lake Rd
                         Chardon, OH 44024


                         Erin Worth
                         543 Shaftsbury Road
                         Troy, OH 45373


                         Allison Wouters
                         122 Walnut St
                         Chagrin Falls, OH 44022


                         Amy Wrachford
                         7673 Crimson Court
                         Mentor, OH 44060


                         David Wray
                         9573 Nathanial Ln.
                         Fairfield, OH 45014


                         Marcia Wray
                         5759 Lake Michigan Drive
                         Fairfield, OH 45014


                         Melissa Wren
                         2961 Highwall Way
                         Columbus, OH 43221


                         Amy Wright
                         9948 Pebble Beach Cove
                         Reminderville, OH 44202




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1933 of 1944
                         Anita Wright
                         2872 Roanoke St NW
                         Massillon, OH 44646


                         Barbara Wright
                         860 Outrigger Cove
                         Painesville, OH 44077


                         Dalanna Wright
                         9 East State Road
                         Cleves, OH 45002


                         Gregory Wright
                         754 Sawmill Trail NE
                         Massillon, OH 44646


                         Jammie Wright
                         216 E Main St
                         Troy, OH 45373


                         Molly Wright
                         18891 Inglewood Ave
                         Rocky River, OH 44116


                         Scott Wright
                         7565 Deerpath Trl
                         Hudson, OH 44236


                         Stefanie Wroblesky
                         13103 hampton club drive Apt. 102
                         North Royalton, OH 44133


                         Charles Wu
                         6910 Silkwood Lanbe
                         Solon, OH 44139


                         Jianqiang Wu
                         6762 Eleck Pl
                         Cincinnati, OH 45243


                         Yan Wu
                         24912 Hazelmere Rd
                         Beachwood, OH 44122-2325




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1934 of 1944
                         Amy Wurst
                         37540 Delamere Court
                         SOLON, OH 44139


                         Keely Wymer
                         2381 Bluestone Dr.
                         Findlay, OH 45840


                         Lynn Wyville
                         203 Monticello Dr
                         Chagrin Falls, OH 44022


                         Jing Xie
                         35610 Spicebush Ln
                         Solon, OH 44139


                         Lin Xu
                         32185 Sedgefield Oval
                         Solon, OH 44139


                         Yanmei Xu
                         455 Inverness Ct.
                         Hudson, OH 44236


                         Zhan Xu
                         32400 Miles Rd.
                         Solon, OH 44139


                         E Y
                         6668 Winston lane
                         Solon, OH 44139


                         Lazar Yakubov
                         23210 E Baintree rd
                         Beachwood, OH 44122


                         Amy Yamamoto
                         10360 Penniman Drive
                         Chardon, OH 44024


                         Ruqiang Yan
                         23351 Chagrin Blvd Apt 309
                         Beachwood, OH 44122




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1935 of 1944
                         Stacey Yanak
                         7324 lacosta dr.
                         hudson, OH 44236


                         James Yang
                         35634 Spatterdock Ln
                         Solon, OH 44139


                         Jun Yang
                         2650 Buckhurst Dr
                         Beachwood, OH 44122


                         Jun Yang
                         21703 Halworth Rd
                         Beachwood, OH 44122


                         Michele Yanosko
                         7760 Litchfield Dr
                         Mentor, OH 44060


                         Caiping Yao
                         5740 Ledgebrook Ln
                         Solon, OH 44139


                         Stephanie Yarbrough
                         4787 East Woodland Dr.
                         Port Vlinton, OH 43452


                         Tonia Yard
                         2399 Cambridge Drive
                         Hudson, OH 44236


                         Shala Yarger
                         868 Master Drive
                         Galloway, OH 43119


                         Mindy Yarris
                         1494 wilhoit ave
                         Lewis Center, OH 43035


                         Dalya Yaseen
                         4802 prince charles way
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1936 of 1944
                         Lilit Yavryan
                         3445 Beaver Trail Unit -A
                         Reminderville, OH 44202


                         John Yeager
                         654 Stacey Ln
                         Maumee, OH 43537


                         Michelle Yeager
                         1540 Clearbrook Rd NW
                         Massillon, OH 44646


                         Jeannette Yellen
                         9359 Sarah Court
                         Twinsburg, OH 44087


                         Tracey Yerkey
                         69 Hickory Lane
                         Hudson, OH 44236


                         Alper Yilmaz
                         2673 Bold Venture Drive
                         Lewis Center, OH 43035


                         Liya Yin
                         5378 Duffield Drive
                         Hudson, OH 44236


                         Cassandra Yoder
                         72 23rd Street NW
                         Massillon, OH 44647


                         Gavin Yoder
                         1165 Allison Rd
                         Bellefontaine, OH 43311


                         Deanna Yoger
                         10430 Sawmill Drive
                         Chardon, OH 44024


                         Marcie Yontz
                         1108 West River Rd.
                         Vermilion, OH 44089




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1937 of 1944
                         Sybil York
                         4904 Riverwalk drive
                         Kings Mills, OH 45034


                         David Yothers
                         7852 Royal Park Dr.
                         Lewis Center, OH 43035


                         Wendy Youmans
                         110 Pine Hollow Circle
                         Chardon, OH 44024


                         Crystal Young
                         4670 fields way
                         lorain, OH 44053


                         Elin Young
                         24023 Letchworth Rd.
                         Beachwood, OH 44122


                         Elizabeth Young
                         212 Bentleyville Road
                         Chagrin Falls, OH 44022


                         Gary Young
                         325 N. Park ST.
                         Bellefontaine, OH 43311


                         Heather Young
                         730 terex road
                         Hudson, OH 44236


                         Lisa Young
                         2342 Moock Ave. S.W.
                         Canton, OH 44706


                         Marcus Young
                         1221 brooklyn ave sw
                         canton, OH 44710


                         ShaQuanna Young
                         313 Olive St
                         Elyria, OH 44035




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1938 of 1944
                         Tarl Young
                         1142 Rockwood ave
                         Canton, OH 44710


                         Rikki Youngpeter
                         7532 Township Rd. 212
                         Findlay, OH 45840


                         Saideh Yousefi
                         7500 jasani ct
                         mentor, OH 44060


                         Jin Yu
                         5004 Lake Forest drive
                         Peninsula, OH 44264


                         Zheng Yu
                         23511 Chagrin Blvd. #210
                         Beachwood, OH 44122


                         Ray Zack
                         4151 Morley Dr.
                         Reminderville, OH 44202


                         Cheryl Zadow
                         5602 Sunset Drive
                         Hudson, OH 44236


                         Linda Zahn
                         8440 Mansion Blvd.
                         Mentor, OH 44060


                         Annette Zak
                         702 Fairwood
                         Elyria, OH 44035


                         Kristina Zakrzewski
                         2352 Highlandtown Drive
                         Hilliard, OH 43026


                         Gregory Zalack
                         7414 Yorktown Ct.
                         Mentor, OH 44060




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1939 of 1944
                         Julie Zalar
                         2525 Roe Drive
                         Lewis Center, OH 43035


                         Sandra Zalar
                         10485 Locust Grove
                         Chardon, OH 44024


                         Allison Zam
                         1761 Douglas Ave
                         Port Clinton, OH 43452


                         Mary Beth Zammataro
                         1647 Callander Drive
                         Hudson, OH 44236


                         Jennifer Zammikiel
                         10018 Patton ST
                         Twinsburg, OH 44087


                         Peggy Zand
                         7628 White Oak Drive
                         Solon, OH 44139


                         Lynn Zantopulos
                         3242 Reckman Court
                         North Royalton, OH 44133


                         Dana Zarcone
                         9820 Rosewood Dr.
                         Chardon, OH 44024


                         Jennifer Zaremba
                         14549 west ridge dr
                         novelty, OH 44072


                         Diane Zargari
                         12675 Hovey Drive
                         Chesterland, OH 44026


                         Michelle Zarges
                         1633 Norton Road
                         Hudson, OH 44236




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1940 of 1944
                         Tracy Zarzour
                         10580 Somerset Dr
                         Chardon, OH 44024


                         Brian Zattau
                         1710 Eastfield Drive
                         Maumee, OH 43537-2325


                         Scott Zeiger
                         9400 Roryanna Drive
                         Chardon, OH 44024


                         Joy Zeiler Courtright
                         60 E. Belmeadow Lane
                         Chagrin Falls, OH 44022


                         James Zelazny
                         11430 Holden Ridge Road
                         Chardon, OH 44024


                         Andrea Zemanek
                         114 Deepwood Ct
                         Chardon, OH 44024


                         Betsy Zemba
                         9970 High Country Dr
                         Chardon, OH 44024


                         Lezley Zender
                         257 Arundel Rd
                         Rocky River, OH 44116


                         Erica Zgola
                         8108 risden rd
                         Vermilion, OH 44089


                         Yuening Zhang
                         6894 Glenallen Ave
                         Solon, OH 44139


                         Yuming Zhang
                         24958 Hazelmere Rd
                         Beachwood, OH 44122




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                         Yuxia Zhang
                         7338 Shelford Drive
                         Solon, OH 44139


                         Julie Zhao
                         5808 Nicholson Dr
                         Hudson, OH 44236


                         Weidong Zhao
                         2146 Weston dr
                         Hudson, OH 44236


                         Xia Zhao
                         36845 Valley Forge Dr
                         Solon, OH 44139


                         XIAOXIAN ZHAO
                         5985 BUCKBOARD LN.
                         Solon, OH 44139


                         Xiaoling Zheng
                         9518 Brinfield Dr
                         Mentor, OH 44060


                         Julia Zhitenev
                         32275 N Roundhead Dr
                         Solon, OH 44139


                         Kimberly Zibert
                         265 S. Meachem Rd. Lot 77
                         Port Clinton, OH 43452


                         Dena Ziegenfuss
                         13560 Walking Stick Ln
                         Chardon, OH 44024


                         Kristin Ziegler
                         13900 Radcliffe Road
                         Leroy Township, OH 44024


                         Darlene Zigmont
                         7876 Charline Ct
                         Lewis Center, OH 43035




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                         Vanessa Zigos
                         7516 Hamilton Ave
                         Maineville, OH 45039


                         Leslie Zimcosky
                         1072 Sheerbrook Drive
                         Chagrin Falls, OH 44022


                         Jerome Zimmerer
                         10895 Forest Oaks Drive
                         Chardon, OH 44024


                         Adam Zimmerman
                         75 Greentree Road
                         Chagrin Falls, OH 44022


                         Aric Zimmerman
                         8556 Carbine Place
                         Galloway, OH 43119


                         Catherine Zimmerman
                         11270 highland view dr
                         chardon, OH 44024


                         Jeffrey Ziol
                         6160 Nicholson Drive
                         Hudson, OH 44236


                         Tracee Zitnik
                         7980 Augusta Lane
                         Concord, OH 44077


                         Andrea Zmich
                         6321 Hardwick Way
                         Hudson, OH 44236


                         Robin Znidarsic
                         9591 Holden Court
                         Kirtland Hills, OH 44060


                         Stan Zody
                         4347 Heather Ridge Drive
                         Hilliard, OH 43026




18-12734-jps   Doc 1   FILED 05/07/18   ENTERED 05/07/18 13:30:30   Page 1943 of 1944
                         Heather Zollars
                         4160 Shepler Church Avenue SW
                         Canton, OH 44706


                         Joseph Zomber
                         32793 arlesford dr
                         solon, OH 44139


                         Michele Zombory
                         12015 Britton Lane
                         Chardon, OH 44024


                         Natalia Zorkin
                         497 W Streetsboro St C
                         Hudson, OH 44236


                         Dritan Zotaj
                         3167 Linden Rd 201
                         Rocky River, OH 44116


                         Oleksandra Zub
                         7623 creekwood drive
                         North Royalton, OH 44133


                         Lisa Zucco
                         708 North Section Ext.
                         South Lebanon, OH 45065


                         Angela Zurbuch
                         8346 Lincoln Dr
                         Chesterland, OH 44026


                         Jeannie Zuydhoek
                         2635 Sandstone path
                         Hudson, OH 44236


                         Ninette Zuzek
                         5687 Primavera Drive
                         Mentor, OH 44060




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